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                               IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO
     In re:                                                                  PROMESA
                                                                             Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,                                       No. 17 BK 3283-LTS

              as representative of                                           (Jointly Administered)1

     THE COMMONWEALTH OF PUERTO RICO, THE
     EMPLOYEES RETIREMENT SYSTEM OF THE
     GOVERNMENT OF THE COMMONWEALTH OF
     PUERTO RICO, AND THE PUERTO RICO PUBLIC
     BUILDINGS AUTHORITY,

              Debtors.

          DISCLOSURE STATEMENT FOR THE AMENDED TITLE III JOINT PLAN
          OF ADJUSTMENT OF THE COMMONWEALTH OF PUERTO RICO, ET AL.
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              Attorneys for the Financial Oversight and Management Board for Puerto Rico
                         as Representative for the Debtors in their Title III Cases

 Dated: February 28, 2020




 1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
      digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
      (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
      Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
      8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
      (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
      Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
      ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last
      Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
      No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801). (Title III case numbers are listed as Bankruptcy
      Case numbers due to software limitations). The Oversight Board submits this Disclosure Statement in Cases No.
      17 BK-1283-LTS (Commonwealth), 17 BK-3566-LTS (ERS), and 17 BK-5523-LTS (PBA).


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     THIS IS NOT A SOLICITATION OF VOTES ON THE PLAN OF ADJUSTMENT. VOTES MAY NOT
     BE SOLICITED UNTIL THE TITLE III COURT HAS APPROVED A DISCLOSURE STATEMENT.
     THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL, BUT HAS NOT YET
     BEEN APPROVED BY THE TITLE III COURT. THE INFORMATION IN THIS DISCLOSURE
     STATEMENT IS SUBJECT TO CHANGE. THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO
     SELL ANY SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.


     NO OTHER INFORMATION HAS BEEN JUDICIALLY APPROVED.
     THE OVERSIGHT BOARD, AS THE DEBTORS’ REPRESENTATIVE IN THESE TITLE III CASES
     PURSUANT TO PROMESA SECTION 315(b), HAS NOT AUTHORIZED ANY PARTY TO GIVE ANY
     INFORMATION CONCERNING THE PLAN OR THE DEBTORS, OR THE VALUE OF THE
     DEBTORS’ PROPERTY, OTHER THAN AS SET FORTH IN THIS DISCLOSURE STATEMENT OR
     THE DISCLOSURE STATEMENT ORDER.2 HOLDERS OF CLAIMS SHOULD UNDERSTAND THAT
     ANY INFORMATION, REPRESENTATIONS, WARRANTIES, OR INDUCEMENTS MADE TO
     OBTAIN ACCEPTANCE OR REJECTION OF, OR OBTAIN AN ELECTION TO SETTLE CERTAIN
     CLAIMS PURSUANT TO, THE PLAN HAVE NOT BEEN APPROVED BY THE TITLE III COURT.
     FURTHER, HOLDERS OF CLAIMS SHOULD NOT RELY ON ANY INFORMATION DISTRIBUTED
     VIA SOCIAL MEDIA, INCLUDING, BUT NOT LIMITED TO, FACEBOOK, TWITTER, AND
     INSTAGRAM.



     THE PLAN IS THE PRODUCT OF SUBSTANTIAL NEGOTIATIONS AMONG THE
     OVERSIGHT BOARD (AS THE SOLE REPRESENTATIVE OF THE DEBTORS IN
     THEIR RESPECTIVE TITLE III CASES), PARTIES TO THE PLAN SUPPORT
     AGREEMENTS (COLLECTIVELY, THE “SUPPORTING PARTIES”), AND OTHER
     PARTIES. THE OVERSIGHT BOARD AND THE SUPPORTING PARTIES BELIEVE
     THE PLAN REPRESENTS A FAIR AND REASONABLE OUTCOME FOR ALL
     CREDITORS OF THE DEBTORS AND, THEREFORE, CONFIRMATION OF THE
     PLAN IS IN THE BEST INTERESTS OF THE DEBTORS AND THEIR CREDITORS.
     THE OVERSIGHT BOARD AND THE SUPPORTING PARTIES RECOMMEND
     THAT YOU VOTE TO ACCEPT THE PLAN.

     FOR THE AVOIDANCE OF DOUBT, THIS DISCLOSURE STATEMENT WAS
     DRAFTED BY THE OVERSIGHT BOARD, AND SOME OF THE STATEMENTS
     HEREIN MAY BE DISPUTED BY CERTAIN CREDITORS OR THE GOVERNMENT,
     INCLUDING, WITHOUT LIMITATION, STATEMENTS REGARDING THE
     INTERPRETATION OF PROMESA AND RIGHTS AND REMEDIES OF THE
     DEBTORS AND CREDITORS. EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
     HEREIN, THE VIEWS EXPRESSED IN THIS DISCLOSURE STATEMENT ARE THE
     VIEWS OF THE OVERSIGHT BOARD AND THE DEBTORS ONLY AND MAY NOT
     BE ATTRIBUTED TO ANY OF THE SUPPORTING PARTIES OR ANY OTHER
     PARTY.



 2
     Capitalized terms used but not defined in this Disclosure Statement have the respective meanings given to them in
      the Plan.


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                         IMPORTANT INFORMATION

            OVERSIGHT BOARD AUTHORITY. THE PUERTO RICO OVERSIGHT,
 MANAGEMENT, AND ECONOMIC STABILITY ACT (“PROMESA”) PROVIDES
 THAT THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO
 RICO (THE “OVERSIGHT BOARD”) MAY TAKE ANY ACTION NECESSARY TO
 PROSECUTE A CASE UNDER TITLE III OF PROMESA OF A DEBTOR, INCLUDING
 FILING A TITLE III PETITION, SUBMITTING A PLAN OF ADJUSTMENT FOR A
 DEBTOR, AND OTHERWISE GENERALLY SUBMITTING FILINGS IN RELATION
 TO THE TITLE III CASE. PROMESA ALSO PROVIDES THAT ONLY THE
 OVERSIGHT BOARD MAY FILE A PLAN OF ADJUSTMENT OF THE DEBTS OF A
 DEBTOR. PROMESA REQUIRES THAT THE PLAN OF ADJUSTMENT FOR A TITLE
 III DEBTOR BE FILED IN ITS TITLE III CASE TOGETHER WITH A DOCUMENT
 CALLED A DISCLOSURE STATEMENT.

           PURPOSE OF DISCLOSURE STATEMENT. THIS DOCUMENT IS THE
 DISCLOSURE STATEMENT (THE “DISCLOSURE STATEMENT”) FOR THE
 AMENDED TITLE III JOINT PLAN OF ADJUSTMENT OF THE COMMONWEALTH
 OF PUERTO RICO, ET AL. DESCRIBED HEREIN (THE “PLAN”). THE FUNCTION
 OF A DISCLOSURE STATEMENT IS TO PROVIDE A HYPOTHETICAL INVESTOR
 TYPICAL OF THE CLAIMHOLDERS IN THE CASE INFORMATION REASONABLY
 PRACTICABLE IN LIGHT OF THE NATURE AND HISTORY OF THE DEBTORS AND
 CONDITIONS OF THEIR BOOKS AND RECORDS TO ENABLE THE
 HYPOTHETICAL INVESTOR TO MAKE AN INFORMED JUDGMENT TO ACCEPT
 OR TO REJECT THE PLAN.

            LIST OF DEBTORS. THIS DISCLOSURE STATEMENT ACCOMPANIES
 A JOINT PLAN OF ADJUSTMENT FOR THE FOLLOWING DEBTORS:

         THE COMMONWEALTH OF PUERTO RICO (THE “COMMONWEALTH”
          OR “PUERTO RICO”),

         THE EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF
          THE COMMONWEALTH OF PUERTO RICO (“ERS”), AND

         THE PUERTO RICO PUBLIC BUILDINGS AUTHORITY (“PBA”).

          SOURCE OF DATA. THIS DISCLOSURE STATEMENT INCLUDES
 CERTAIN EXHIBITS, EACH OF WHICH ARE INCORPORATED INTO THIS
 DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.   THIS
 DISCLOSURE STATEMENT HAS BEEN PREPARED AND FILED BY THE
 OVERSIGHT BOARD ON BEHALF OF THE DEBTORS.

           THE UNITED STATES GOVERNMENT CREATED THE OVERSIGHT
 BOARD ON JUNE 30, 2016. THE PRESIDENT OF THE UNITED STATES (THEN
 PRESIDENT BARACK OBAMA) APPOINTED THE OVERSIGHT BOARD’S SEVEN

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 VOTING MEMBERS ON AUGUST 31, 2016. AT ITS INCEPTION, THE OVERSIGHT
 BOARD HAD NO INFORMATION OR DATABASE OF ITS OWN, BUT HAD THE
 LEGAL RIGHT TO PROCURE INFORMATION AND DATA FROM THE
 COMMONWEALTH.

            ORIGIN OF FINANCIAL INFORMATION.        ALL FINANCIAL
 INFORMATION HEREIN IS BASED ON DATA THE OVERSIGHT BOARD HAS
 EITHER    RECEIVED    FROM     THE   COMMONWEALTH        AND    ITS
 INSTRUMENTALITIES, OR THAT IS PUBLICLY AVAILABLE. AS OF THE DATE OF
 THIS DISCLOSURE STATEMENT, THE COMMONWEALTH HAD NOT YET
 PUBLISHED AUDITED FINANCIAL STATEMENTS FOR ITS 2017, 2018, AND 2019
 FISCAL YEARS. IN SOME CASES, SUCH AS FOR PENSION LIABILITIES AND
 DETERMINATIONS OF AVAILABLE CASH, THE OVERSIGHT BOARD RETAINED
 EXPERTS TO HELP VERIFY AND UNDERSTAND THE DATA. ACCORDINGLY,
 WHILE THE OVERSIGHT BOARD HAS USED ITS BEST EFFORTS TO PROCURE
 ACCURATE AND COMPLETE INFORMATION, IT IS LIMITED TO USING THE
 COMMONWEALTH’S SYSTEMS AND DATA AS ITS SOURCES AND CANNOT
 INDEPENDENTLY VOUCH FOR THE CORRECTNESS OF SUCH DATA. THIS
 DISCLOSURE STATEMENT AND THE ECONOMIC AND FINANCIAL
 INFORMATION PROVIDED HEREIN HAVE NOT BEEN APPROVED BY THE
 COMMONWEALTH’S FISCAL AGENT, THE PUERTO RICO FISCAL AGENCY AND
 FINANCIAL ADVISORY AUTHORITY.3

           COURT REVIEW. THE UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF PUERTO RICO (THE “TITLE III COURT”) HAS REVIEWED THIS
 DISCLOSURE STATEMENT, AND HAS DETERMINED IT CONTAINS ADEQUATE
 INFORMATION PURSUANT TO BANKRUPTCY CODE SECTION 1125(b)4 AND MAY
 BE SENT TO YOU TO SOLICIT YOUR VOTE ON, ELECTION TO SETTLE CERTAIN
 CLAIMS UNDER, OR ELECTION OF THE FORM OF DISTRIBUTION TO BE
 RECEIVED UNDER, THE PLAN. THE COURT HAS NOT, HOWEVER, DETERMINED
 THE CORRECTNESS OR COMPLETENESS OF ANY INFORMATION HEREIN.

            VOTE AFTER CONSIDERING RISK FACTORS. ALL HOLDERS OF
 CLAIMS ENTITLED TO VOTE ON THE PLAN, OR MAKE AN ELECTION
 THEREUNDER, ARE ENCOURAGED TO READ AND CAREFULLY CONSIDER THIS
 ENTIRE DISCLOSURE STATEMENT, INCLUDING THE RISK FACTORS CITED
 HEREIN AND THE PLAN ATTACHED HERETO, BEFORE VOTING TO ACCEPT OR
 REJECT THE PLAN OR MAKING AN ELECTION THEREUNDER. SEE SECTION VIII
 OF THIS DISCLOSURE STATEMENT, ENTITLED “CERTAIN RISK FACTORS TO BE
 CONSIDERED.”


 3
     The Government of Puerto Rico, and its agencies and instrumentalities (including AAFAF), have not
     independently verified or approved the information contained or the statements made in this Disclosure Statement.
 4
     All provisions of Title 11 of the United States Code (the “Bankruptcy Code”) referenced herein are made applicable
     to these Title III cases by PROMESA section 301(a).


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           FORWARD LOOKING STATEMENTS.             THIS DISCLOSURE
 STATEMENT CONTAINS STATEMENTS THAT ARE “FORWARD-LOOKING
 STATEMENTS” WITHIN THE MEANING OF CERTAIN FEDERAL SECURITIES
 LAWS. ALL STATEMENTS CONTAINED HEREIN THAT ARE NOT CLEARLY
 HISTORICAL IN NATURE ARE FORWARD-LOOKING AND THE WORDS
 “ANTICIPATE,” “BELIEVE,” “COULD,” “SHOULD,” “EXPECT,” “ESTIMATE,”
 “FORECAST,” “INTEND,” “POTENTIAL,” “PROJECT,” “TARGET,” AND SIMILAR
 EXPRESSIONS ARE GENERALLY INTENDED TO IDENTIFY FORWARD-LOOKING
 STATEMENTS.     ALL STATEMENTS CONTAINED IN THIS DISCLOSURE
 STATEMENT, OTHER THAN STATEMENTS OF HISTORICAL FACT, INCLUDING
 STATEMENTS ABOUT THE PLAN, STRATEGIES, PROSPECTS, AND
 EXPECTATIONS REGARDING FUTURE EVENTS AND THE DEBTORS’ FINANCIAL
 PERFORMANCE, ARE FORWARD-LOOKING STATEMENTS THAT INVOLVE
 CERTAIN RISKS AND UNCERTAINTIES.        WHILE THESE STATEMENTS
 REPRESENT THE DEBTORS’ CURRENT JUDGMENT ON WHAT THE FUTURE MAY
 HOLD, AND THE DEBTORS BELIEVE THESE JUDGMENTS ARE BASED UPON
 REASONABLE ASSUMPTIONS UNDER THE CIRCUMSTANCES, THESE
 STATEMENTS ARE NOT GUARANTEES OF ANY EVENTS OR FINANCIAL
 RESULTS, AND THE DEBTORS’ ACTUAL RESULTS MAY DIFFER MATERIALLY.
 THE INFORMATION INCLUDED IN THIS DISCLOSURE STATEMENT, INCLUDING
 THE FORWARD-LOOKING STATEMENTS AND PROJECTIONS OF CERTAIN
 FINANCIAL DATA FOLLOWING CONSUMMATION OF THE PLAN, ARE MADE
 ONLY AS OF THE DATE OF THIS DISCLOSURE STATEMENT, UNLESS
 OTHERWISE SPECIFIED. THE DEBTORS UNDERTAKE NO OBLIGATION TO
 UPDATE PUBLICLY THE INFORMATION CONTAINED IN THIS DISCLOSURE
 STATEMENT, INCLUDING ANY FORWARD-LOOKING STATEMENTS, TO
 REFLECT NEW INFORMATION, FUTURE EVENTS OR OTHERWISE, EXCEPT AS
 REQUIRED BY LAW. ALL FORWARD-LOOKING STATEMENTS INVOLVE RISKS
 AND UNCERTAINTIES, MANY OF WHICH ARE BEYOND THE DEBTORS’
 CONTROL, WHICH MAY CAUSE ACTUAL RESULTS, PERFORMANCE, OR
 ACHIEVEMENTS TO DIFFER MATERIALLY FROM ANTICIPATED RESULTS,
 PERFORMANCE, OR ACHIEVEMENTS. THE DEBTORS CANNOT GUARANTEE
 THAT PROJECTED RESULTS OR EVENTS WILL BE ACHIEVED. FACTORS THAT
 COULD CAUSE THE DEBTORS’ ACTUAL RESULTS TO BE MATERIALLY
 DIFFERENT FROM THE DEBTORS’ EXPECTATIONS INCLUDE THOSE FACTORS
 DESCRIBED HEREIN UNDER SECTION VIII, “CERTAIN RISK FACTORS TO BE
 CONSIDERED.” THE DEBTORS URGE HOLDERS OF CLAIMS TO CONSIDER
 THESE FACTORS CAREFULLY IN EVALUATING THE FORWARD-LOOKING
 STATEMENTS AND NOT TO PLACE UNDUE RELIANCE ON THESE FORWARD-
 LOOKING STATEMENTS.

            FACTS CAN CHANGE.       THE STATEMENTS AND OTHER
 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT WERE MADE AS
 OF THE DATE SET FORTH ON THE COVER PAGE, UNLESS OTHERWISE
 SPECIFIED. HOLDERS OF CLAIMS REVIEWING THIS DISCLOSURE STATEMENT
 SHOULD NOT INFER THAT THE FACTS SET FORTH HEREIN ARE UNCHANGED

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 SINCE THE DATE SET FORTH ON THE COVER PAGE HEREOF. EACH HOLDER
 OF A CLAIM ENTITLED TO VOTE ON, OR MAKE AN ELECTION WITH RESPECT
 TO, THE PLAN MUST RELY ON ITS OWN EVALUATION OF THE DEBTORS AND
 ITS OWN ANALYSIS OF THE TERMS OF THE PLAN IN DECIDING WHETHER TO
 ACCEPT OR REJECT, OR MAKE AN ELECTION PURSUANT TO, THE PLAN.

             PLAN SUPPLEMENT. A PLAN SUPPLEMENT CONTAINING DRAFT
 OR FINAL VERSIONS OF PRIMARY DOCUMENTS REQUIRED TO CONSUMMATE
 THE TRANSACTIONS CONTEMPLATED BY THE PLAN WILL BE FILED WITH THE
 TITLE III COURT AS SOON AS PRACTICABLE (BUT IN NO EVENT LATER THAN
 SEVEN (7) DAYS) PRIOR TO THE VOTING DEADLINE,5 OR ON SUCH OTHER DATE
 AS THE TITLE III COURT ESTABLISHES. THE PLAN SUPPLEMENT SHALL BE
 DEEMED INCORPORATED INTO AND PART OF THE PLAN AS IF SET FORTH
 THEREIN IN FULL.

           DISCLOSURE STATEMENT IS SOLELY FOR VOTING. THE DEBTORS
 ARE PROVIDING THE INFORMATION IN THIS DISCLOSURE STATEMENT
 SOLELY FOR PURPOSES OF SOLICITING HOLDERS OF CLAIMS ENTITLED TO
 VOTE TO ACCEPT OR REJECT, ELECT TO SETTLE CERTAIN CLAIMS PURSUANT
 TO, OR ELECT THE FORM OF DISTRIBUTION PURSUANT TO, THE PLAN.
 NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY PERSON
 FOR ANY OTHER PURPOSE. THE CONTENTS OF THIS DISCLOSURE STATEMENT
 SHALL NOT BE DEEMED AS PROVIDING ANY LEGAL, FINANCIAL, SECURITIES,
 TAX, BUSINESS, OR OTHER ADVICE. THE DEBTORS URGE EACH HOLDER OF A
 CLAIM TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY SUCH
 LEGAL, FINANCIAL, SECURITIES, TAX, BUSINESS, OR OTHER ADVICE IN
 REVIEWING THIS DISCLOSURE STATEMENT AND THE PLAN.

               JUDICIAL APPROVAL DOES NOT MEAN ALL FACTS ARE CORRECT.
 THIS DISCLOSURE STATEMENT AND THE TITLE III COURT’S APPROVAL OF
 THE ADEQUACY OF THIS DISCLOSURE STATEMENT DO NOT CONSTITUTE, AND
 MAY NOT BE CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY,
 STIPULATION, OR WAIVER.6 FURTHER, THE TITLE III COURT’S APPROVAL OF
 THE ADEQUACY OF THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE
 THE TITLE III COURT’S DETERMINATION THAT THE INFORMATION HEREIN IS
 CORRECT OR COMPLETE AND DOES NOT MEAN THE COURT WILL CONFIRM
 THE PLAN. THE TITLE III COURT HAS SCHEDULED A HEARING ON [OCTOBER
 13-23, 2020] TO CONSIDER CONFIRMATION OF THE PLAN UNDER PROMESA AND



 5
     The “Voting Deadline” is defined as 5:00 pm (Atlantic Standard Time) on [September 18, 2020], unless such time
      is extended.
 6
     For the avoidance of doubt, the use of the term “clawback” in this Disclosure Statement shall not constitute, and may
      not be construed as, an admission of fact, liability, stipulation, or waiver in current or future litigation regarding
      monies historically conditionally appropriated by the Commonwealth to certain Commonwealth instrumentalities.


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 THOSE SPECIFIC BANKRUPTCY CODE PROVISIONS MADE APPLICABLE TO THE
 TITLE III CASES PURSUANT TO PROMESA SECTIONS 301 AND 314.

           NO GOVERNMENTAL APPROVAL. NEITHER THE UNITED STATES
 SECURITIES AND EXCHANGE COMMISSION NOR ANY FOREIGN OR STATE
 SECURITIES COMMISSION HAS APPROVED OR DISAPPROVED OF THE
 SECURITIES DESCRIBED HEREIN OR THIS DISCLOSURE STATEMENT OR
 OPINED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
 CONTAINED HEREIN. ANY REPRESENTATION TO THE CONTRARY MAY BE A
 CRIMINAL OFFENSE.

            UNREGISTERED SECURITIES. NONE OF THE SECURITIES TO BE
 ISSUED TO HOLDERS OF ALLOWED CLAIMS PURSUANT TO THE PLAN WILL
 HAVE BEEN REGISTERED WITH THE SECURITIES & EXCHANGE COMMISSION
 (THE “SEC”) UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR UNDER
 ANY STATE “BLUE SKY” LAWS, AND SUCH SECURITIES WILL BE ISSUED IN
 RELIANCE UPON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF
 THE SECURITIES ACT AND EQUIVALENT STATE LAWS.

           CONSEQUENCES OF HOLDING SECURITIES ISSUED PURSUANT TO
 THE PLAN OF ADJUSTMENT. THE DEBTORS RECOMMEND POTENTIAL
 RECIPIENTS OF NEW GO BONDS AND COFINA JUNIOR LIEN BONDS
 (COLLECTIVELY, “NEW BONDS”) TO BE ISSUED PURSUANT TO THE PLAN
 CONSULT THEIR OWN ADVISORS CONCERNING ANY RESTRICTIONS ON
 HOLDING OR THE TRANSFERABILITY OF SUCH SECURITIES, OR ANY OTHER
 POTENTIAL CONSEQUENCE OF HOLDING SUCH SECURITIES.

            TAX CONSIDERATIONS. THE TAX CONSEQUENCES OF THE PLAN
 TO HOLDERS OF CLAIMS ARE COMPLEX, AND DEPEND IN PART ON BOTH THE
 TYPE OF CLAIM HELD AND THE INDIVIDUAL CIRCUMSTANCES OF EACH
 HOLDER OF A CLAIM. THE DEBTORS RECOMMEND THAT ALL HOLDERS OF
 CLAIMS CONSULT THEIR OWN RESPECTIVE TAX ADVISORS CONCERNING THE
 U.S. FEDERAL, STATE, TERRITORIAL (INCLUDING PUERTO RICO), LOCAL AND
 NON-U.S. TAX CONSEQUENCES OF THE PLAN IN THEIR RESPECTIVE
 INDIVIDUAL CIRCUMSTANCES.

           PLAN OF ADJUSTMENT CONTROLS OVER THIS DISCLOSURE
 STATEMENT.    THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN
 PROVISIONS OF THE PLAN, CERTAIN OTHER DOCUMENTS, AND CERTAIN
 FINANCIAL INFORMATION RELATING TO THE DEBTORS. THE DEBTORS
 BELIEVE THESE SUMMARIES ARE FAIR AND ACCURATE. NO OTHER PARTY,
 INCLUDING ANY PARTY TO A PLAN SUPPORT AGREEMENT, MAKES ANY
 REPRESENTATION AS TO THE FAIRNESS OR ACCURACY OF THESE SUMMARIES
 OR THE DESCRIPTIONS OF PARTIES’ LEGAL RIGHTS AND REMEDIES
 CONTAINED HEREIN. IF THERE IS ANY INCONSISTENCY OR DISCREPANCY
 BETWEEN A DESCRIPTION CONTAINED IN THIS DISCLOSURE STATEMENT AND


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 THE TERMS AND PROVISIONS OF THE PLAN OR ANY OF THE OTHER
 DOCUMENTS OR FINANCIAL INFORMATION REFERENCED HEREIN, THE
 TERMS AND PROVISIONS OF THE PLAN, OR SUCH OTHER DOCUMENT OR
 FINANCIAL INFORMATION, AS APPLICABLE, SHALL GOVERN FOR ALL
 PURPOSES.

           PLAN OF ADJUSTMENT MAY BE AMENDED. THE OVERSIGHT
 BOARD RESERVES THE RIGHT TO AMEND, MODIFY, OR WITHDRAW THE PLAN
 AT ANY TIME, IN ACCORDANCE WITH THE TERMS OF THE PLAN SUPPORT
 AGREEMENTS, THE PLAN, AND PROMESA TITLE III.




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                                                 Table of Exhibits

 Exhibit A – Amended Title III Joint Plan of Adjustment of the Commonwealth of Puerto Rico, et
 al.
 Exhibit B – Plan Support Agreement (the “PSA”), dated as of February 9, 2020, by and among
 the Financial Oversight and Management Board for Puerto Rico, as representative of the
 Commonwealth of Puerto Rico, the Puerto Rico Public Buildings Authority, and the Employee
 Retirement System of the Government of the Commonwealth of Puerto Rico, and certain GO
 Bondholders and PBA Bondholders
 Exhibit C – Plan Support Agreement (“Retiree Committee PSA”), dated as of June 7, 2019, by
 and between the Financial Oversight and Management Board for Puerto Rico, as representative of
 the Commonwealth of Puerto Rico, and the Official Committee of Retirees appointed in the
 Commonwealth’s Title III Case
 Exhibit D – Plan Support Agreement (“AFSCME PSA,” and together with the PSA and the
 Retiree Committee PSA, the “Plan Support Agreements”), dated as of June 7, 2019, by and
 between the Financial Oversight and Management Board for Puerto Rico, as representative of the
 Commonwealth of Puerto Rico, and the American Federation of State, County, and Municipal
 Employees International Union, AFL-CIO
 Exhibit E – Certified Commonwealth Fiscal Plan (which includes ERS and PBA)
 Exhibit F – Certified Commonwealth Budget (which includes ERS and PBA)
 Exhibit G – Oversight Board Report on Pensions
 Exhibit H – Summary Chart of the Debtors’ Outstanding Bonds
 Exhibit I – List of Entities that Comprise the Commonwealth Central Government
 Exhibit J – List of Debtors’ Bank Accounts, Balances, and Preliminary Restriction
 Categorizations as of December 31, 2019
 Exhibit K – Latest Audited Financial Statements for the Debtors
 Exhibit L – Best Interests Test Reports7
 Exhibit M – Certified COFINA Fiscal Plan
 Exhibit N – Certified COFINA Budget
 Exhibit O – Latest Audited Financial Statement for COFINA



 7
     The certification of a new Commonwealth fiscal plan is currently expected on April 30, 2020. Letter from Natalie
      A. Jaresko to Governor Vázquez Garced, President Rivera Schatz, and Speaker Méndez Núñez, Jan. 30, 2020,
      https://drive.google.com/file/d/1Y81ivGjzA8kqtIyqtRSIW9gkZs-1k_Ew/view. To the extent necessary, the
      Debtors will submit revised best interests test reports reflecting the new fiscal plan data.

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     THE FOLLOWING STATEMENTS IN THESE SECTIONS I AND II ARE QUALIFIED
     IN THEIR ENTIRETY BY THE MORE DETAILED INFORMATION CONTAINED
     ELSEWHERE IN THIS DISCLOSURE STATEMENT AND IN THE PLAN AND THE
     EXHIBITS TO EACH.

                                                   I.      Preface8

         The Commonwealth’s Economic Decline. Over the last several decades, a multitude of
 factors contributed to the steep economic downturn of the Commonwealth of Puerto Rico (the
 “Commonwealth”), including a contracting economy, population decline, and changes in tax status
 and available credits under the U.S. tax code. From the early 2000s through 2016, Puerto Rico’s
 public debt rose rapidly, in part from borrowing to cover deficits including to pay debt service,
 and the outlook for Puerto Rico’s economy continued declining.

         By 2016, Puerto Rico was “in the midst of a fiscal crisis.”9 The Commonwealth was “being
 crushed under the weight of a public debt that [was] larger” than its gross national product, “it
 ha[d] started to default on its debt obligations,” and it had lost access to external financing.10 The
 Commonwealth had over $120 billion in combined debt and unfunded pension liabilities. Even
 worse, these calamitous financial circumstances threatened a humanitarian crisis for the over
 3 million U.S. citizens living on the island of Puerto Rico. As the United States Secretary of the
 Treasury observed, the Commonwealth’s ability to provide “basic healthcare, legal, and education
 services” was in serious doubt.11

          Enactment of PROMESA. Consequently, on June 30, 2016, the President signed into law
 legislation passed by Congress, the Puerto Rico Oversight, Management, and Economic Stability
 Act (“PROMESA”), 48 U.S.C. § 2101 et seq., to work toward a remedy to the ongoing fiscal and
 humanitarian crisis in Puerto Rico. The goal of PROMESA is to meet Puerto Rico’s immediate
 need to provide its citizens effective services, to formulate a debt restructuring, and to implement
 fiscal reform leading to a sustainable economy, fiscal responsibility, and market access.

         Main Components of PROMESA. PROMESA establishes two primary mechanisms for
 restoring fiscal responsibility. First, Titles I, II, IV, and V of PROMESA create the Financial
 Oversight and Management Board for Puerto Rico (the “Oversight Board”) and provide it powers
 and duties governing the review and certification of multi-year fiscal plans, annual budgets, and
 infrastructure revitalization, and fast-tracking key infrastructure projects.12 Second, Titles III and

 8
      Capitalized terms used herein not otherwise defined shall have the meaning ascribed to such term in the Plan (as
      defined below).
 9
      Puerto Rico v. Franklin Cal. Tax–Free Tr., 136 S. Ct. 1938, 1942 (2016).
 10
      Wal-Mart Puerto Rico, Inc. v. Zaragoza-Gómez, 174 F. Supp. 3d 585, 602 (D.P.R. 2016); H.R. Rep. No. 114- 602,
      at 40 (2016).
 11
      Letter from Jacob L. Lew, Secretary of the Treasury, to Paul Ryan, Speaker, U.S. House of Representatives (Jan.
      15, 2016), https://www.treasury.gov/connect/blog/Pages/Secretary-Lew-Sends-Letter-to-Congress-on-Puerto-
      Rico.aspx.
 12
      On July 31, 2019, U.S. House Natural Resources Committee Chairman Raúl Grijalva, D-Ariz., circulated a
      “discussion draft” of possible amendments to PROMESA. The amendments would allow the Commonwealth to
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 VI of PROMESA provide for debt restructurings, similar to bankruptcy cases and out-of-court
 restructurings, respectively, for Puerto Rico and its instrumentalities.13 By incorporating many
 provisions of Title 11 of the United States Code (the “Bankruptcy Code”) into Title III of
 PROMESA, which provides for restructurings similar to restructurings under chapters 9 and 11 of
 the Bankruptcy Code, the statute also protects the debtors from creditor debt-enforcement actions14
 that otherwise could extract billions of dollars from the Commonwealth and inflict irreparable
 damage on Puerto Rico’s economy. The statute includes unique attributes, such as an automatic
 stay triggered once the bill was signed into law. The Oversight Board is the sole representative of
 any debtor entity in a Title III case, with the exclusive authority to propose a plan of adjustment.
 PROMESA Title VI provides an alternate, out-of-court restructuring process conditioned on
 voting thresholds.

          Historic Problems Leading to Oversight Board. To overcome decades of severe economic
 decline, operating deficits, lack of financial transparency, management inefficiencies, and
 excessive borrowing,15 PROMESA established an independent entity within Puerto Rico’s
 government—the Oversight Board.16 The Oversight Board is “an entity within the territorial
 government,” rather than a “department, agency, establishment, or instrumentality of the Federal
 Government.”17 The Oversight Board is statutorily charged with restoring to the Commonwealth
 fiscal responsibility and market access.18 To achieve success in carrying out its statutory mission,
 the Oversight Board is granted authority to oversee the restructuring of the Commonwealth’s and
 its instrumentalities’ debt and to require fiscal reforms. Elements of this authority have been
 challenged,19 but have been confirmed by the United States District Court for the District of Puerto
 Rico (the “Title III Court”) and the United States Court of Appeals for the First Circuit (the “First
 Circuit”).20


       discharge unsecured debt once every seven years, create an office of reconstruction coordinator, establish a
       revitalization coordinator within PREPA, fund the Oversight Board out of the U.S. Treasury, and change several
       definitions.
 13
       48 U.S.C. § 2161.
 14
      11 U.S.C. § 362(a) (incorporated into the Title III case by 48 U.S.C. § 2161(a)).
 15
       PROMESA § 405(m)(1).
 16
       48 U.S.C. § 2121(a)(1).
 17
       Id. § 2121(c)(2); see also 48 U.S.C. § 2194(i)(2) (defining the term “Government of Puerto Rico” to include the
       Oversight Board for purposes of that section); 48 U.S.C. § 2127(b) (providing that the Oversight Board is funded
       exclusively by the territorial government of Puerto Rico).
 18
       PROMESA § 101(a).
 19
      The summaries of court filings in this Disclosure Statement are fully qualified by the corresponding publicly filed
      documents.
 20
      As further described in section IV.C.3, on July 5, 2018, then-Governor Ricardo Rosselló Nevares (“Governor
      Rosselló”) sued the Oversight Board, contending, among other things, that “any matters that constitute
      recommendations (whether or not styled as recommendations) under the Fiscal Plan that the Government has
      rejected or may rejected [sic] in the future (whether set forth herein or otherwise) are non-binding on the
      Government and do not need to be implemented by the Government.” Governor’s Complaint against Oversight
      Board, dated July 5, 2018, Adv. Proc. No. 18-00080-LTS in 17 BK 3283-LTS (D.P.R.), at ¶ 83. By opinion and
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         Oversight Board’s Initial Actions to Fulfill PROMESA’s Mandate. On August 31, 2016,
 President Obama appointed the seven voting members of the Oversight Board, who under
 PROMESA serve with no compensation, but are entitled to reimbursement of reasonable and
 necessary expenses incurred by reason of their service.21 When appointed, the Oversight Board
 had no staff, no office, and no data. It commenced assembling the facilities and expertise it needed
 to carry out its statutory functions. At the time, the Commonwealth had approximately $74 billion
 of funded debt, estimated pension liabilities of approximately $51.5 billion, and insufficient
 resources to meet those obligations. On September 30, 2016, the Oversight Board (i) announced
 a process for the development, submission, approval, and certification of fiscal plans for the
 Commonwealth and for covered territorial instrumentalities, (ii) designated an initial group of 63
 entities as covered entities under PROMESA,22 (iii) requested a significant amount of financial
 and budgetary information from the Governor as a first step to develop improvements to the
 Government’s fiscal governance, accountability, internal controls and financial affairs, and (iv)
 began the critical projects process authorized under Title V of PROMESA by developing selection
 criteria and processes for expediting certain critical energy and infrastructure projects.
 Furthermore, the Oversight Board commenced meetings with representatives of multiple groups
 of creditors ranging from retirees to holders of general obligation bonds (the “GO Bonds,” and the
 holders of GO Bonds, the “GO Bondholders”), bond insurers, insured and uninsured bondholders,
 on-island bondholders, Government Development Bank for Puerto Rico (“GDB”) bondholders,
 Puerto Rico Highways and Transportation Authority (“HTA”) bondholders and insurers, Puerto
 Rico Aqueduct and Sewer Authority (“PRASA”) bondholders, Puerto Rico Electric Power
 Authority (“PREPA”) bondholders and insurers, and many others.

        First Commonwealth Certified Fiscal Plan. The development of the first certified fiscal
 plan for the Commonwealth stretched over two administrations. On October 14, 2016, then
 Governor Alejandro Javier García Padilla submitted his administration’s fiscal plan proposal for

      order dated August 7, 2018, the United States District Court for the District of Puerto Rico (the “Title III Court”)
      ruled against the then-Governor on that issue, explaining: “The power bestowed on the Oversight Board by Section
      205(b)(1)(K) of PROMESA allows the Oversight Board to make binding policy choices for the Commonwealth,
      notwithstanding the Governor’s rejection of Section 205 recommendations . . .” Rosselló Nevares v. Fin. Oversight
      & Mgmt. Bd. for P.R. [Adv. Proc. No. 18-00080-LTS ECF No. 33], at 25. On appeal brought by then-Governor
      Rosselló, the United States Court of Appeals for the First Circuit affirmed the District Court decision, confirming
      there is nothing in PROMESA section 205 “suggesting that, by first seeking the Governor’s agreement on a matter,
      the Board somehow loses whatever ability it otherwise had to act unilaterally on the matter,” and the Oversight
      Board has the power to adopt “a rejected recommendation if it otherwise has the power to adopt the recommended
      action on its own.” Vázquez-Garced v. Fin. Oversight & Mgmt. Bd. for P.R. (In re Fin. Oversight & Mgmt. Bd. for
      P.R.), 945 F.3d 3, 5 (1st Cir. 2019). The Legislative Assembly of Puerto Rico (the “Legislature”) also contested
      the Oversight Board’s budget power. It claimed “the Board’s decision to certify its Budget over the Legislative
      Assembly’s was an ‘unlawful[] encroach[ment] upon the Legislative Assembly’s exclusive legislative power under
      the Puerto Rico Constitution.’” Méndez-Núñez v. Fin. Oversight & Mgmt. Bd. for P.R. (In re Fin. Oversight &
      Mgmt. Bd. for P.R.), 916 F.3d 98, 116 (1st Cir. 2019). The Title III Court ruled against the Legislature and the
      United States Court of Appeals for the First Circuit affirmed, ruling: “. . . Under PROMESA’s preemption
      provision, the grants of authority to the Board at §§ 201 and 202 to approve Fiscal Plans and Budgets ‘prevail over
      any general or specific provisions of territory law,’ including provisions of Puerto Rico’s Constitution that are
      ‘inconsistent with [PROMESA].’” Id.
 21
       PROMESA § 101(g).
 22
      On May 9, 2019, the Oversight Board also designated 78 municipalities as covered entities.

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 the Commonwealth. By letter dated November 29, 2016, then Governor García Padilla rejected
 the Oversight Board’s request for certain fiscal plan revisions to be submitted by December 15,
 2016, asserting that any efforts to reduce government spending would worsen the economic crisis
 and should be abandoned. Then, on January 1, 2017, Governor Rosselló took office and submitted
 a proposed Commonwealth fiscal plan on February 28, 2017. The Oversight Board and its advisors
 had worked with the then Governor and his administration for months on developing fiscal plans
 for the Commonwealth and certain of its instrumentalities. On March 13, 2017, the Oversight
 Board certified a Commonwealth fiscal plan comprised of the Governor’s fiscal plan with certain
 amendments added by the Oversight Board. The Oversight Board also worked with the
 Government to develop and eventually certify fiscal plans for other covered instrumentalities,
 including GDB, HTA, PRASA, and PREPA on April 28, 2017.

         Commencement of Title III Cases. When PROMESA was enacted, it imposed a
 temporary automatic stay protecting the Commonwealth and its instrumentalities from creditor
 actions to enforce debt against them until May 1, 2017.23 After the expiration of the PROMESA
 stay, the Oversight Board commenced Title III cases for the Commonwealth on May 3, 2017, for
 the Puerto Rico Sales Tax Financing Corporation (“COFINA”) on May 5, 2017, for the Employees
 Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) and HTA
 on May 21, 2017, for PREPA on July 2, 2017, and for PBA on September 27, 2019. The
 commencement of Title III cases triggered the operation of the automatic stay in Bankruptcy Code
 section 362, thereby providing those entities continued protection from enforcement actions for
 the duration of their Title III cases.24

         A New Landscape – Hurricanes Irma and Maria. In September 2017, the difficulty of
 improving the financial status of the island worsened as Puerto Rico was devastated by Hurricanes
 Irma and Maria. The hurricanes destroyed much of the island’s infrastructure and upended the
 daily lives of all Puerto Ricans and the work of the Oversight Board.

         Immediately after the hurricanes struck, the Oversight Board provided the Government
 with the flexibility to reapportion up to $1 billion in budgeted expenditures to cover disaster-
 related expenses. Through several meetings, letters, Congressional testimony, and other
 interactions with the federal government and authorities in Puerto Rico, the Oversight Board
 actively advocated for the necessary resources to support Puerto Rico’s recovery, critical
 rebuilding efforts, and necessary liquidity.

        New Fiscal Plans. Because the hurricanes created a new reality for Puerto Rico, the
 Oversight Board initiated a process for rewriting the fiscal plans for the Commonwealth and its
 covered instrumentalities. During the nine months following Hurricanes Irma and Maria, the
 Oversight Board collaborated with the Government to develop new fiscal plans with the
 overarching goal of fulfilling PROMESA’s mandates. To do so, the fiscal plans would require a



 23
      PROMESA §§ 5(11), 405(b). The PROMESA stay was initially set to expire on February 15, 2017 but the Oversight
      Board extended the stay by 75 days as permitted under PROMESA section 405(d)(1)(B).
 24
      PROMESA § 301(a).
                                                          4
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 series of ambitious structural reforms and fiscal measures to restore growth and opportunity to the
 people and businesses of Puerto Rico.

         While the Oversight Board and the Government eventually reached broad agreement on
 several aspects of each fiscal plan, including agreed labor and welfare reform, ease of doing
 business reform, energy reform, and infrastructure reform, among other things, the Government
 disagreed with some of the reforms, including at-will employment for private sector employees.
 The Oversight Board eventually reached an accommodation with then Governor Rosselló to
 change the law of Puerto Rico to make it an employment at-will jurisdiction for private sector
 employees, the same as in 49 of the 50 states. The Legislature, however, did not pass the necessary
 legislation, leaving Puerto Rico’s labor law as-is.

        At the conclusion of this months-long process with the Government, the Oversight Board
 developed and certified its own fiscal plan for the Commonwealth, which contained many fiscal
 measures necessary to right-size the Government. The Oversight Board’s fiscal plan did not
 include a comprehensive reform of the private sector labor market because that proposal had failed
 to garner the necessary legislative support as described above

        Changes in Government and Other Recent Events. Progress on the development of
 revised fiscal plans was further delayed by the resignation of Governor Rosselló and several
 members of his cabinet. More recently, a series of seismic events (including earthquakes, tremors,
 and swarms) starting in December 2019 have caused significant damage in the south of the island
 and led to many school closures, further diverting resources and attention of government officials.
 The Oversight Board included a $130 million annual appropriation in its certified budgets for fiscal
 years 2018 and 2019 to build an Emergency Reserve over time, which allowed the Commonwealth
 to have access to $260 million when the seismic events occurred.

         Oversight Board’s Policy Reforms. Concurrently with the development of the fiscal plans
 and budgets, the Oversight Board and the Government worked together to enact significant legal
 and governance reforms. These legislative actions have resulted in Puerto Rico undertaking
 significant reform projects, including an operational and structural transformation of the island’s
 electric grid, measures to increase the Government’s financial transparency, and budgetary
 controls.25 In fiscal year 2019, the Oversight Board implemented a consolidated budget review
 process for the General Fund,26 Special Revenue Funds,27 other funds, and federal funds, along
 with public agencies without independent fiscal plans, to increase transparency of funding,
 monitoring of funds, and understanding of operational trends of the Government.

      The Oversight Board sought to achieve cost savings by consolidating many of the
 Commonwealth’s over 100 government agencies, while ensuring the delivery of more efficient
 25
      FOMB, Annual Report, Fiscal Year 2018, at 8-11.5; FOMB, Annual Report, Fiscal Year 2019, at 37-52.
 26
      The term “General Fund” is an accounting term used throughout the Disclosure statement to describe the
      Commonwealth’s primary operating fund.
 27
      The term “Special Revenue Fund” is an accounting term used throughout this Disclosure Statement, and does not
      imply that monies in Special Revenue Funds are special revenues. The Debtors reserve all their rights with respect
      thereto.

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 government services. Consolidation would also have the effect of making the Government more
 manageable over time. The policy reforms also reinvest a portion of those savings in areas with
 the highest needs. The Oversight Board authorized, for instance, a considerable increase in teacher
 and police salaries.

         The Oversight Board also made major strides in promoting financial transparency within
 the Government by providing the people of Puerto Rico better access to higher quality information
 on government reforms, government spending, and government administration. The Oversight
 Board has required financial transparency so that the general public has full access to information
 about the spending of taxpayer dollars. The public reports now available online include budget-
 to-actual reporting, cash reporting, bank balances, and attendance reporting. The Oversight Board
 certified budgets for the Commonwealth and certain of its instrumentalities and public
 corporations now include more detail about the nature of Government spending. The Oversight
 Board also mandated oversight over all outside contracting and new debt issuances. Finally, the
 Oversight Board posts online all progress on implementation plans submitted by Government
 agencies.

        Transparency and accountability of public finances are critical to responsible governance.
 Where transparency was not possible, the Oversight Board pursued building the database to make
 it so. The Oversight Board commissioned a report detailing the bank and investment account
 balances of certain entities and instrumentalities of the Commonwealth. The analysis of the cash
 is ongoing and is described further in section III.D.1.

         In 2017, the Oversight Board hired the law firm Kobre & Kim to provide a complete,
 independent review of the Government’s debt. In August 2018, the Oversight Board received the
 result of this investigation and presented the Kobre & Kim report. Subsequently, the Oversight
 Board created a Special Claims Committee which has challenged approximately $6 billion worth
 of GO Bonds, among other debt, issued by the Commonwealth and its instrumentalities and public
 corporations.

         The Debtors’ Title III Cases. Throughout the course of the Title III cases, the Oversight
 Board has led debt restructuring negotiations with the view that consensual negotiations are often
 better than contested resolutions. To that end, the Oversight Board and the Government made
 significant progress with COFINA’s stakeholders regarding a gating issue over whether certain
 sales and use taxes (“SUTs”) were property of the Commonwealth or COFINA. These
 negotiations led to a consensual allocation of SUT revenues and ultimately the successful
 confirmation of a plan of adjustment for COFINA on February 5, 2019, reducing COFINA’s debt
 from approximately $17 billion to $12 billion. With the SUT issue settled, the Commonwealth
 was one step closer to restructuring its debt in that it knew which SUT revenues it could use. This
 eliminated uncertainty over billions of dollars claimed by both the Commonwealth and COFINA.

        Reasons for Disagreements. While the Oversight Board took on the challenges identified
 by Congress in PROMESA accrued from prior decades, exacerbated by Hurricanes Irma and
 Maria, various creditors, stakeholders, and, at times, the Government, disagreed with the Oversight
 Board’s reforms and sought to challenge the Oversight Board’s exercise of its authority and
 mandate pursuant to PROMESA to bring the Commonwealth and its covered instrumentalities to

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 economic stability and access to capital markets. Because PROMESA was a new statute, some of
 the disputes arose out of differing interpretations of the statute, while other disputes arose because
 certain stakeholders believed they would ultimately attain better results for themselves if the
 Oversight Board changed course. For the most part, reasonable people could differ, and they did
 differ and brought their disputes to court.

         Litigation Affecting the Debt Restructurings. In a Title III case under PROMESA, the
 plan of adjustment is required to be consistent with the debtor’s certified fiscal plan.28 In turn the
 fiscal plan must contain, among other things, a debt sustainability analysis.29 Creditors who
 believed the Commonwealth’s certified fiscal plan contained a debt sustainability analysis showing
 the Commonwealth could issue less new debt to pay creditors’ claims than the creditors believed
 was adequate, sued and sought to enjoin the Oversight Board from proposing any plan of
 adjustment consistent with the Commonwealth’s certified fiscal plan. Some creditors also asked
 to nullify the Commonwealth’s certified fiscal plan, and to compel turnovers of billions of dollars
 of revenues critical to the provision of public services and the viability of the Commonwealth,
 especially in the wake of the hurricanes. See section V.F of this Disclosure Statement for a
 summary of litigation against the Oversight Board.

         PROMESA expressly provides “[t]here shall be no jurisdiction in any United States district
 court to review challenges to the Oversight Board’s certification determinations under this
 chapter.”30 No creditor procured any injunction against the Oversight Board, and creditors’ claims
 for turnovers of revenues were either dismissed for lack of jurisdiction or denied on the merits.
 Specifically, the trial and appellate courts ruled Bankruptcy Code section 922(d) does not require
 application of pledged special revenues, to special revenue debt during the Title III Cases, and the
 United States Supreme Court denied two petitions for certiorari requesting further review.31

         Initial Agreements with Creditor Groups Leading to the Initial Plan of Adjustment. In
 May 2019, the Oversight Board reached agreements with several major creditor groups on the
 treatments of their claims, pursuant to separate plan support agreements, which treatments were
 embodied in the proposed plan of adjustment dated September 27, 2019 [ECF No. 8765] (the
 “Initial Plan”). Those groups included: (a) the Official Committee of Retirees (the “Retiree
 Committee”), whose constituency asserts outstanding obligations in excess of $50 billion in
 connection with pension claims, (b) the American Federation of State, County, and Municipal
 Employees (“AFSCME”), which represents more than 10,900 current employees of the
 Commonwealth and its instrumentalities, and (c) bondholder groups owning bonds issued by the
 Public Buildings Authority (“PBA Bonds,” and the holders of PBA Bonds, “PBA Bondholders”)
 and guaranteed by the good faith, credit and taxing power of the Commonwealth, and GO Bonds
 issued by the Commonwealth. The Plan Support Agreement, dated as of May 31, 2019 (the “Initial

 28
      PROMESA § 314(b)(7).
 29
      PROMESA § 201(b)(1)(I).
 30
      PROMESA § 106(e).
 31
      Assured Guar. Corp. v. Carrion (In re Fin. Oversight & Mgmt. Bd. for P.R.), 919 F.3d 121 (1st Cir. 2019), cert.
      denied, No. 19-391, 2020 U.S. LEXIS 237 (Jan. 13, 2020).

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 PSA”), among the Oversight Board, and certain holders of GO Bonds and PBA Bondholders,
 included the compromise and settlement of a key dispute between the Commonwealth and PBA
 as to whether the leases between the two entities were leases for purposes of Bankruptcy Code
 section 365 or were actually financings, and the optional settlement of certain challenges to GO
 Bonds, including validity, priority, and secured status.

 Amended Plan of Adjustment with Significant Creditor Support. Following the filing of the
 Initial Plan, the Oversight Board continued to engage stakeholders in negotiations to build greater
 support for the Plan. Those negotiations, facilitated by the Mediation Team,32 culminated in an
 agreement in principle with groups holding a majority of outstanding PBA Bonds and GO Bonds,
 and providing a framework for the treatment of PBA Bonds and GO Bonds, and the proposed
 settlement of all challenges to the validity, priority, and secured status of such bonds. This
 agreement in principle was memorialized in the Plan Support Agreement, dated February 9, 2020
 (the “PSA”), among the Oversight Board, as representative of the Commonwealth, ERS, and PBA,
 certain holders of GO Bonds, and certain holders of PBA Bonds.33 The PSA was signed by the
 holders of approximately $8 billion in claims of GO Bonds and PBA bonds. The PSA also allows
 each holder of GO Bonds or PBA Bonds with a face amount of such bonds in excess of one million
 dollars to join the PSA. Since its execution, holders of an additional $2 billion in GO Bonds or
 PBA Bonds have joined the PSA. As further described below, the PSA contemplates, among other
 things:

            (a) total nominal, principal consideration of $14.478 billion, which consists of

                     1. $3.809 billion of cash (all of which will be distributed to holders of GO Bonds
                        and PBA Bonds pursuant to the Plan), and

                     2. $10.669 billion of new bonds ($10.142 billion of which will be distributed to
                        holders of GO Bonds and CW Guarantee Claims pursuant to the Plan);34

            (b) the issuance of New GO Bonds by the Commonwealth in an aggregate original
                principal amount of $5,334,295,000 of the above-described new bonds consideration,
                and the issuance of COFINA Junior Lien Bonds by COFINA in an aggregate original
                principal amount of $5,334,615,000 of the above-described new bonds consideration;

            (c) payment of a PSA Restriction Fee to the initial parties to the PSA, and certain parties
                who join the PSA on or before February 28, 2020, up to an aggregate of $350 million
                and the payment of up to an aggregate of $50 million to classes of retail investors



 32
      The “Mediation Team” is the mediation team led by Chief Judge Barbara J. Houser of the United States Bankruptcy
      Court for the Northern District of Texas (the “Mediation Team Leader”) as established by the Title III Court under
      its Order Appointing Mediation Team, dated June 23, 2017 [ECF No. 430].
 33
      In connection with the execution of the PSA, the Initial PSA was terminated on February 9, 2020.
 34
      The remaining New GO Bonds and COFINA Junior Lien Bonds will be available to classes of unsecured
      claimholders pursuant to the Plan.

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                holding GO Bonds or PBA Bonds in aggregate face amount equal to or less than one
                million dollars ($1,000,000) each if such class accepts the Plan; and

            (d) the global settlement of all issues and disputes among all GO/PBA bondholders,
                holders of PRIFA BANs,35 the Oversight Board, the Commonwealth, and PBA,
                including the validity, priority, and secured status of the GO/PBA/PRIFA BANs
                claims, in exchange for the consideration proposed in the Plan.

         If the Plan is confirmed, the Oversight Board believes no further litigation of any dispute
 regarding the validity, priority, or secured status of the GO/PBA/PRIFA BANs claims is necessary
 as the Plan will effect a global settlement of any such dispute, binding on all parties in interest in
 the Title III Cases. The Mediation Team has recommended that any litigation regarding the
 validity, priority, and secured status of the GO/PBA/PRIFA BANs claims be stayed pending a
 decision on confirmation of the Plan.36

         The Government currently does not support the PSA and the Plan. The Oversight Board
 and the Government, however, continue to engage in meaningful discussions with every hope that
 a resolution will be reached to obtain a consensual outcome.




                                 [Remainder of Page Left Intentionally Blank]




 35
      PRIFA BANs refer to that certain indebtedness issued by PRIFA pursuant to that certain Trust Agreement, dated
      March 1, 2015, between PRIFA and The Bank of New York Mellon, as trustee.
 36
      Amended Report and Recommendation of the Mediation Team [ECF No. 10756], pp. 9-10.

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                                                II.      Introduction

        Commencement of Title III Cases. On May 3, 2017 (the “Commonwealth Petition Date”),
 the Oversight Board issued a restructuring certification for the Commonwealth pursuant to
 PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for the Commonwealth
 pursuant to PROMESA section 304(a) with the Title III Court, commencing a case under Title III
 of PROMESA (the “Commonwealth Title III Case”).

         On May 21, 2017 (the “ERS Petition Date”), the Oversight Board issued a restructuring
 certification for ERS pursuant to PROMESA sections 104(j) and 206 and filed a voluntary petition
 for relief for ERS pursuant to PROMESA section 304(a) with the Title III Court, commencing a
 case under Title III of PROMESA (the “ERS Title III Case”).

          On September 27, 2019 (the “PBA Petition Date”), the Oversight Board issued a
 restructuring certification for PBA pursuant to PROMESA sections 104(j) and 206 and filed a
 voluntary petition for relief for PBA pursuant to PROMESA section 304(a) with the Title III Court,
 commencing a case under Title III of PROMESA (the “PBA Title III Case,” and together with the
 Commonwealth Title III Case, and the ERS Title III Case, the “Title III Cases”). Pursuant to
 PROMESA section 315, the Oversight Board is the sole representative of the Debtors37 in their
 Title III cases.

         Certification of Proposed Plan of Adjustment. On February 28, 2020, pursuant to
 PROMESA section 104(j), the Oversight Board certified the submission of the amended joint plan
 of adjustment for the Debtors (the “Plan”). On February 28, 2020, the Debtors filed (a) the
 Amended Title III Joint Plan of Adjustment of the Commonwealth of Puerto Rico, et al. [ECF No.
 ___], (b) this disclosure statement [ECF No.____] (the “Disclosure Statement”), and (c) the Motion
 for Order (I) Approving Notice of Disclosure Statement Hearing; (II) Approving Disclosure
 Statement; (III) Fixing Voting Record Date; (IV) Scheduling Plan Confirmation Hearing and
 Approving Form and Manner of Related Notice and Objection Procedures; (V) Approving
 Solicitation Packages and Procedures for the Distribution Thereof; (VI) Approving Forms of
 Ballots and Voting Procedures; (VII) Fixing Voting Deadline; and (VIII) Approving Vote
 Tabulation Procedures (the “Disclosure Statement Approval Motion”). 38

        Disclosure Statement Approval and Confirmation Hearing Date.39 On _______, the Title
 III Court entered the Disclosure Statement Order approving the Disclosure Statement (the

 37
      The Oversight Board, in its capacity as representative of the Commonwealth, ERS, and PBA is referred to
      collectively as the “Debtors” and individually as “Commonwealth Debtor,” “ERS Debtor,” or “PBA Debtor,” as
      applicable.
 38
      References to the docket are to Case No. 17-BK-3283-LTS, unless otherwise specified.
 39
      On February 11, 2020, the Debtors filed the Joint Motion of the Commonwealth of Puerto Rico, the Employees
      Retirement System of the Government of the Commonwealth of Puerto Rico, and the Puerto Rico Public Buildings
      Authority for an Order (I) Scheduling a Hearing to Consider the Adequacy of Information Contained in the
      Disclosure Statement, (II) Establishing the Deadline for Filing Spanish Translation of the Disclosure Statement,
      (III) Establishing the Deadline to File Objections to the Disclosure Statement and Replies Thereto, and (IV)
      Granting Related Relief [ECF No. 10808].

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 “Disclosure Statement Order”). APPROVAL OF THIS DISCLOSURE STATEMENT DOES
 NOT, HOWEVER, CONSTITUTE A DETERMINATION BY THE TITLE III COURT AS
 TO THE FAIRNESS OR MERITS OF THE PLAN. THE TITLE III COURT WILL
 CONSIDER CONFIRMATION OF THE PLAN AT THE CONFIRMATION HEARING
 SCHEDULED FOR [OCTOBER 13-23, 2020].

         The Confirmation Hearing may be adjourned or continued from time to time. Therefore,
 parties in interest should check the online docket at https://cases.primeclerk.com/puertorico to
 confirm the latest scheduled date and time of the Confirmation Hearing.

        [The Title III Court has set the following schedule in connection with the confirmation
 proceedings:

              June 3, 2020: Hearing to consider the adequacy of the information contained in the
               amended Disclosure Statement;
              June 30, 2020: Commencement of confirmation discovery;
              July 2, 2020: Deadline to mail approved solicitation package;
              July to mid-September, 2020: Deadline to file objections to confirmation of the
               plan and confirmation discovery;
              September 16, 2020: Plan confirmation pretrial hearing;
              September 18, 2020: Voting and election deadline; and
              October 13-23, 2020: Confirmation hearing.]

         The Debtors are furnishing this Disclosure Statement as the proponents of the Plan pursuant
 to Bankruptcy Code section 1125 and in connection with the solicitation of votes to accept or
 reject, elections to settle certain claims pursuant to, and elections of the form of distributions
 pursuant to, the Plan, as it may be amended or supplemented from time to time in accordance with
 PROMESA Title III and the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), as
 made applicable to Title III pursuant to PROMESA section 310.

         This Disclosure Statement provides the information required by Bankruptcy Code section
 1125 and summarizes the Plan, the Debtors’ operations, their financial condition, including
 financial projections, as well as other related matters, including the treatment of holders of Claims
 against the Debtors. This Disclosure Statement also describes certain potential federal and Puerto
 Rico income tax consequences to holders of Claims, voting and settlement election procedures,
 and the confirmation process.

         Ballot and Election Forms. A ballot for the acceptance or rejection of the Plan (a “Ballot”)
 and/or a notice of election pursuant to the Plan (an “Election Notice”) is enclosed with the copy of
 this Disclosure Statement distributed to the holders of Claims in the Classes entitled to vote to
 accept or reject the Plan, elect to settle certain claims pursuant to the Plan, and/or elect the form of
 distributions pursuant to the Plan. The Ballot includes information regarding the voting deadlines
 and detailed instructions for voting to accept or reject the Plan. The Election Notice includes
 information regarding the election deadline and detailed instructions for making an election to
 settle certain claims and/or to elect the form of distributions pursuant to the Plan. Before voting
 and/or making the applicable election, each holder of a Claim entitled to vote and/or make an

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 election should read this Disclosure Statement (including the exhibits and documents incorporated
 by reference herein) and the instructions accompanying the Ballot and Election Notice. These
 documents contain, among other things, important information concerning the classification of
 Claims for voting and tabulation of votes. No solicitation of votes on the Plan may be made except
 pursuant to this Disclosure Statement, as it may be amended, the Disclosure Statement Order, and
 Bankruptcy Code section 1125.

         Exhibits to Disclosure Statement. This Disclosure Statement includes the following
 exhibits and supplements:

           Exhibit A – Amended Title III Joint Plan of Adjustment of the Commonwealth of
            Puerto Rico, et al.

           Exhibit B – Plan Support Agreement (the “PSA”), dated as of February 9, 2020, by
            and among the Financial Oversight and Management Board for Puerto Rico, as
            representative of the Commonwealth of Puerto Rico, the Puerto Rico Public Buildings
            Authority, and the Employee Retirement System of the Government of the
            Commonwealth of Puerto Rico, and certain GO Bondholders and PBA Bondholders

           Exhibit C – Plan Support Agreement (“Retiree Committee PSA”), dated as of June 7,
            2019, by and between the Financial Oversight and Management Board for Puerto Rico,
            as representative of the Commonwealth of Puerto Rico, and the Official Committee of
            Retirees appointed in the Commonwealth’s Title III Case

           Exhibit D – Plan Support Agreement (“AFSCME PSA”), dated as of June 7, 2019, by
            and between the Financial Oversight and Management Board for Puerto Rico, as
            representative of the Commonwealth of Puerto Rico, and the American Federation of
            State, County, and Municipal Employees International Union, AFL-CIO

           Exhibit E – Certified Commonwealth Fiscal Plan (which includes ERS and PBA)

           Exhibit F – Certified Commonwealth Budget (which includes ERS and PBA)

           Exhibit G – Oversight Board Report on Pensions

           Exhibit H – Summary Chart of the Debtors’ Outstanding Bonds

           Exhibit I – List of Entities that Comprise the Commonwealth Central Government

           Exhibit J – List of Debtors’ Bank Accounts, Balances, and Preliminary Restriction
            Categorizations as of December 31, 2019

           Exhibit K – Latest Audited Financial Statements for the Debtors

           Exhibit L – Best Interests Test Reports

           Exhibit M – Certified COFINA Fiscal Plan
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           Exhibit N – Certified COFINA Budget

           Exhibit O – Latest Audited Financial Statement for COFINA

        To the extent any inconsistencies exist between this Disclosure Statement, any of the Plan
 Support Agreements (and any exhibit or term sheet attached thereto), and the Plan, the terms and
 provisions of the Plan will govern.

 A.     PROMESA Title III Plan of Adjustment: An Overview

         Confirmation of a Title III plan of adjustment by the Title III Court binds the debtor, any
 issuer of securities under the plan of adjustment, any person acquiring property under the plan of
 adjustment, and any creditor of a debtor. Except as provided in PROMESA, the plan of adjustment
 or the confirmation order, confirmation of a plan of adjustment discharges a debtor from any debt
 that arose prior to the date of confirmation of the plan and substitutes therefor the applicable
 obligations specified in the confirmed plan of adjustment.

         The Title III Court will confirm a plan of adjustment if it satisfies both PROMESA section
 314(b) and the incorporated subsections of Bankruptcy Code section 1129, which are further
 discussed in section VII.C. of this Disclosure Statement, entitled “Requirements for Confirmation
 of the Plan of Adjustment.” Among other things, PROMESA section 314(b) requires that (i) the
 plan of adjustment comply with the provisions of PROMESA and the applicable provisions of the
 Bankruptcy Code, (ii) all the required legislative, regulatory, or electoral approvals necessary to
 carry out any provision of the plan of adjustment shall have been obtained, or such provision is
 conditioned upon such approval, (iii) the plan of adjustment is feasible and in the best interests of
 creditors, and (iv) the plan of adjustment is consistent with the applicable fiscal plan certified by
 the Oversight Board under PROMESA Title II.

          While the Debtors believe all classes of Claims should vote to accept the Plan, the Plan
 may be confirmed without acceptance by all classes. Bankruptcy Code section 1129(b)(1)
 provides that, if all the applicable requirements of section 1129(a) (including the requirement that
 at least one impaired class accepts the plan of adjustment) other than acceptance by all classes (as
 provided in section 1129(a)(8)) are met with respect to a plan of adjustment, the Title III Court, on
 request of the proponents, shall confirm the plan of adjustment if it does not discriminate unfairly
 and is fair and equitable with respect to each class of claims that is impaired under and has not
 accepted the plan of adjustment.

 B.     Summary of Key Components of the Plan of Adjustment

         Except for Administrative Claims and Professional Claims, which are not classified and do
 not vote on the Plan, all Claims that existed on the Petition Date are divided into classes under the
 Plan. Under the Bankruptcy Code, a plan may place a claim in a particular class only if such claim
 is substantially similar to the other claims of such class. Under section 301(e) of PROMESA, in
 determining whether claims are “substantially similar” to one another, the Oversight Board shall
 consider whether such claims are secured and whether such claims have priority over other claims.
 The following table shows the classes of claims against the Debtors and approximates the

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 percentage return or range of percentage returns proposed to be paid to the claims in each class.
 The amount a creditor may actually recover could vary materially from the estimates below.

                                                                                       Approx.
                                                                 Estimated Claim                        Form of
                    Claim40                         Class                              Recovery
                                                                     Amount                           Consideration
                                                                                         (%)
Vintage PBA Bond Claims                          Class 1         $2,257,221,339.10         23.0%†         Cash
Vintage PBA Bond Claims (Insured)                Class 2           404,018,537.96          23.0%†         Cash
Retail Vintage PBA Bond Claims                   Class 3                41
                                                                                           23.0%†         Cash
                                                                                                  ‡
2011 PBA Bond Claims                             Class 4          1,335,422,892.78         23.0%          Cash
                                                                        42                        ‡
Retail 2011 PBA Bond Claims                      Class 5                                   23.0%          Cash
                                                                                                  *
2012 PBA Bond Claims                             Class 6           674,308,470.06          23.0%          Cash
                                                                        43                        *
Retail 2012 PBA Bond Claims                      Class 7                                   23.0%          Cash
PBA/DRA Secured Claim                            Class 8               66,222,028              0%           -
PBA General Unsecured Claims                     Class 9                     [_____]        100%          Cash
PBA/DRA Unsecured Claim                          Class 10             134,357,497              0%           -

Vintage CW Bond Claims                           Class 11         4,109,703,562.03       74.874%      New GO Bonds /
                                                                                                        COFINA Jr.



 40
      Preliminary and subject to revision.
 †
      Estimate excludes recovery on account of an Allowed Vintage CW Guarantee Claim against the Commonwealth.
      Total recovery on account of both (I) (a) an Allowed Vintage PBA Bond Claim, (b) an Allowed Vintage PBA Bond
      Claim (Insured), or (c) a Retail Vintage PBA Bond Claim, as applicable, and (II) (x) an Allowed Vintage CW
      Guarantee Bond Claim, (y) an Allowed Vintage CW Guarantee Bond Claim (Insured), or (z) an Allowed Vintage
      CW Guarantee Bond Claim (Taxable Election), as applicable, estimated to be 77.582%.
 ‡
      Estimate excludes recovery on account of an Allowed 2011 CW Guarantee Claim against the Commonwealth. Total
      recovery on account of both (I) (a) an Allowed 2011 PBA Bond Claim, or (b) a Retail 2011 PBA Bond Claim, as
      applicable, and (II) (x) an Allowed 2011 CW Guarantee Bond Claim or (y) an Allowed 2011 CW Guarantee Bond
      Claim (Taxable Election), as applicable, estimated to be 76.810%.

 * Estimate excludes recovery on account of an Allowed 2012 CW Guarantee Claim against the Commonwealth. Total
   recovery on account of both (I) (a) an Allowed 2012 PBA Bond Claim, or (b) a Retail 2012 PBA Bond Claim, as
   applicable, and (II) (x) an Allowed 2012 CW Guarantee Claim, or (y) an Allowed 2012 CW Guarantee Bond Claim
   (Taxable Election), as applicable, estimated to be 72.217%.
 §
      Amount depends upon how many holders of Allowed Claims are eligible and elect to be treated under such class.

 ± Total recovery on account of both (I) (a) an Allowed Vintage PBA Bond Claim, (b) an Allowed Vintage PBA Bond
   Claim (Insured), or (c) a Retail Vintage PBA Bond Claim, as applicable, and (II) (x) an Allowed Vintage CW
   Guarantee Bond Claim, (y) an Allowed Vintage CW Guarantee Bond Claim (Insured), or (z) an Allowed Vintage
   CW Guarantee Bond Claim (Taxable Election), as applicable, estimated to be 77.582%.
 41
      Included in Vintage PBA Bond Claims Amount.
 42
      Included in 2011 PBA Bond Claims Amount.
 43
      Included in 2011 PBA Bond Claims Amount.

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                                                                                   Approx.
                                                                Estimated Claim                     Form of
                   Claim40                         Class                           Recovery
                                                                    Amount                        Consideration
                                                                                     (%)
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                      44                            COFINA Jr.
Retail Vintage CW Bond Claims                   Class 12                             74.874%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
Vintage CW Bond Claims (Insured)                Class 13        1,733,057,755.96     74.874%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                       §                            COFINA Jr.
Vintage CW Bond Claims (Taxable Election)       Class 14                             74.874%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                              ±     COFINA Jr.
Vintage CW Guarantee Bond Claims                Class 15        1,738,699,949.76    70.896%        Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
Vintage CW Guarantee Bond Claims                                                                    COFINA Jr.
                                                Class 16          311,208,741.24    70.896%±       Lien Bonds /
(Insured)
                                                                                                       Cash
                                                                                                  New GO Bonds /
Vintage CW Guarantee Bond Claims                                       §                      ±     COFINA Jr.
                                                Class 17                            70.896%
(Taxable Election)                                                                                 Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
2011 CW Bond Claims                             Class 18          250,507,930.17     70.401%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                      45                            COFINA Jr.
Retail 2011 CW Bond Claims                      Class 19                             70.401%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
2011 CW Bond Claims (Insured)                   Class 20          225,917,592.71     70.401%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                       §                            COFINA Jr.
2011 CW Bond Claims (Taxable Election)          Class 21                             70.401%
                                                                                                   Lien Bonds /
                                                                                                       Cash



 44
      Included in Vintage CW Bond Claims Amount.
 45
      Included in 2011 CW Bond Claims Amount.

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                                                                                   Approx.
                                                                Estimated Claim                     Form of
                   Claim40                        Class                            Recovery
                                                                    Amount                        Consideration
                                                                                     (%)
                                                                                                  New GO Bonds /
                                                                                              £     COFINA Jr.
2011 CW Guarantee Bond Claims                   Class 22        1,028,653,981.05     69.894%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
2011 CW Guarantee Bond Claims (Taxable                                 §                            COFINA Jr.
                                                Class 23                             69.894%£
Election)                                                                                          Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
2011 CW Series D/E/PIB Bond Claims              Class 24          634,719,627.45     73.800%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
2011 CW Series D/E/PIB Bond Claims                                                                  COFINA Jr.
                                                Class 25           10,953,484.03     73.800%
(Insured)                                                                                          Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                      46                            COFINA Jr.
Retail 2011 CW Series D/E/PIB Bond Claims       Class 26                             73.800%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
2011 CW Series D/E/PIB Bond Claims                                     §                            COFINA Jr.
                                                Class 27                             73.800%
(Taxable Election)                                                                                 Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
2012 CW Bond Claims                             Class 28        2,545,325,618.54     69.887%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                      47                            COFINA Jr.
Retail 2012 CW Bond Claims                      Class 29                             69.887%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                                                    COFINA Jr.
2012 CW Bond Claims (Insured)                   Class 30          393,576,302.36     69.887%
                                                                                                   Lien Bonds /
                                                                                                       Cash
                                                                                                  New GO Bonds /
                                                                       §                            COFINA Jr.
2012 CW Bond Claims (Taxable Election)          Class 31                             69.887%
                                                                                                   Lien Bonds /
                                                                                                       Cash




 46
      Included in 2011 CW Series D/E/PIB PBA Bond Claims Amount.
 47
      Included in 2012 CW Bond Claims Amount.

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                                                                                      Approx.
                                                                 Estimated Claim                        Form of
                    Claim40                         Class                             Recovery
                                                                     Amount                           Consideration
                                                                                        (%)
                                                                                                      New GO Bonds /
                                                                                                 48     COFINA Jr.
2012 CW Guarantee Bond Claims                    Class 32          519,408,567.83      63.931%
                                                                                                       Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
2012 CW Guarantee Bond Claims (Taxable                                  §                               COFINA Jr.
                                                 Class 33                                63.931%
Election)                                                                                              Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
                                                                                                        COFINA Jr.
2014 CW Bond Claims                              Class 34        3,836,611,111.11        65.358%
                                                                                                       Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
                                                                       49                               COFINA Jr.
Retail 2014 CW Bond Claims                       Class 35                                65.358%
                                                                                                       Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
                                                                        §                               COFINA Jr.
2014 CW Bond Claims (Taxable Election)           Class 36                                65.358%
                                                                                                       Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
                                                                                                        COFINA Jr.
2014 CW Guarantee Bond Claims                    Class 37          345,380,885.83        65.358%
                                                                                                       Lien Bonds /
                                                                                                           Cash
                                                                                                      New GO Bonds /
2014 CW Guarantee Bond Claims (Taxable                                  §                               COFINA Jr.
                                                 Class 38                                65.358%
Election)                                                                                              Lien Bonds /
                                                                                                           Cash
Retiree Claims                                   Class 39A            [___]             [___]
Active ERS Participant Claims                    Class 39B            [___]             [___]
Active JRS Participant Claims                    Class 39C            [___]             [___]
Active TRS Participant Claims                    Class 39D            [___]             [___]
System 2000 Participant Claims                   Class 39E            [___]             [___]
AFSCME Employee Claims                           Class 40             [___]             [___]
                                                                                                      New GO Bonds /
CW General Unsecured Claims                      Class 41             [___]             3.9%
                                                                                                          Cash
                                                                                                      New GO Bonds /
CW/HTA Claims                                    Class 42           5,786,167,494            3.9%       COFINA Jr.
                                                                                                        Lien Bonds


 48
      Total recovery on account of both (I) (a) an Allowed 2012 PBA Bond Claim, or (b) a Retail 2012 PBA Bond Claim,
      as applicable, and (II) (x) an Allowed 2012 CW Guarantee Claim, or (y) an Allowed 2012 CW Guarantee Bond
      Claim (Taxable Election), as applicable, estimated to be 72.217%.
 49
      Included in 2014 CW Bond Claims Amount.

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                                                                                 Approx.
                                                              Estimated Claim                   Form of
                     Claim40                    Class                            Recovery
                                                                  Amount                      Consideration
                                                                                   (%)
                                                                                              New GO Bonds /
CW/Convention Center Claims                   Class 43            414,393,096         3.9%      COFINA Jr.
                                                                                                Lien Bonds
                                                                                              New GO Bonds /
CW/PRIFA Rum Tax Claims                       Class 44           1,892,926,265        3.9%      COFINA Jr.
                                                                                                Lien Bonds
                                                                                              New GO Bonds /
CW/MBA Claims                                 Class 45            28,903,66650        3.9%      COFINA Jr.
                                                                                                Lien Bonds
CW Appropriations Claims                      Class 46             [___]                0%          -
CW 510(b) Subordinated Claims                 Class 47             [___]                0%          -
ERS Bond Claims                               Class 48         [3,168,698,777]        [___]       Cash
                                                                     §
Settling ERS Bond Claims                      Class 49                               12.7%        Cash
ERS General Unsecured Claims                  Class 50             [___]              [___]   New GO Bonds
Gracia-Gracia Claims                          Class 51             [___]              100%        Cash
Convenience Claims                            Class 52             [___]              100%        Cash

         The Debtors believe the Plan’s contemplated restructuring is feasible and in the best
 interests of the Debtors’ creditors. If confirmation of the Plan were to be denied, the Debtors’
 options would be either for the Oversight Board to propose an alternate Title III plan of adjustment
 after re-engaging with and re-negotiating with creditors or for the Title III Cases to be dismissed,
 in which event the automatic stay would be terminated and multi-party, multifaceted litigation
 would ensue (including litigation commenced by bondholders and other parties against the
 Commonwealth, its officials and instrumentalities), as holders of claims compete for the limited
 resources available to pay those claims.

         The following overview summarizes certain key components of the Plan. The overview is
 qualified in its entirety by the full text of the Plan.

            1.       Implementation of Plan Support Agreements in the Plan of Adjustment

                               Plan Support Agreement with Certain Holders of GO Bond Claims
                               and PBA Bond Claims

         On February 9, 2020, the Oversight Board, as representative of the Debtors in their Title
 III Cases, announced that, following extensive discussions, it had entered into the PSA with certain
 holders of in excess of $8 billion of GO Bond Claims and PBA Bond Claims on the framework of
 a plan of adjustment that proposes to resolve the outstanding disputes with the holders of GO
 Bonds and holders of PBA Bonds, including their validity, priority, and asserted secured status.
 Through the execution and submission of Joinder Agreement and Annex Agreements, as of
 February 28, 2020, such level of support exceeds $10 billion. The PSA reduces the
 50
      Claim amount reflects principal only.

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 Commonwealth’s debt service (including principal and interest from COFINA Senior Lien Bonds)
 by 56%, to $39.7 billion from $90.4 billion.

          The PSA provides for the proposed global resolution of disputes regarding the validity and
 related rights of GO Bonds that may have been issued in violation of the Puerto Rico constitutional
 debt limit, as set forth in Article VI. section 2 of the Commonwealth Constitution (the
 “Constitutional Debt Limit”)51 and disputes regarding the priorities of the GO Bonds pursuant to
 the Constitution of the Commonwealth of Puerto Rico (the “Commonwealth Constitution”)
 relative to other Commonwealth debts. See section III.B.1.a) of this Disclosure Statement for a
 summary of such disputes and section V.H.7 for a detailed description.

          The agreement also provides for the resolution of disputes between the Commonwealth
 and PBA regarding (i) the characterization of purported leases between PBA and the
 Commonwealth as disguised financing transactions, (ii) the amount, if any, of administrative rent
 the Commonwealth may owe PBA for the use and occupancy of PBA facilities following the
 commencement of the Commonwealth Title III Case, and (iii) the ownership of certain PBA
 facilities and property as between the Commonwealth and PBA (collectively, the “PBA
 Litigation”). See section III.B.1.c) of this Disclosure Statement for a summary of such disputes.

         Finally, the PSA provides for the resolution of disputes regarding the PRIFA BANs. See
 section V.H.7.e) of this Disclosure Statement for a description of such disputes.

         Settlement of Outstanding Disputes Relating to GO Bonds, PBA Bonds, and PRIFA
 BANs. In exchange for the consideration to be provided in the Plan, the following disputes in
 connection with the GO Bonds, PBA Bonds, and PRIFA BANs will be compromised and settled
 pursuant to the confirmation of the Plan, which includes disputes regarding the validity, priority,
 and asserted secured status of the GO Bonds and PBA Bonds (such disputes are summarized in
 section III.B.1.a of this Disclosure Statement):

                     Debt Related Objections:
                           o   Omnibus Objection of (I) Financial Oversight and Management Board, Acting through its
                               Special Claims Committee, and (II) Official Committee of Unsecured Creditors, Pursuant
                               to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted
                               by Holders of Certain Commonwealth General Obligation Bonds, dated January 14, 2019
                               [ECF No. 4784],

                           o   Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant to Bankruptcy
                               Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of
                               Certain 2011 Commonwealth General Obligation Bonds, dated May 21, 2019 [ECF No.
                               7057],

                           o   Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant to Bankruptcy
                               Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against




 51
      See section V.H.7.a)(i) for a detailed description.

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                              Commonwealth by Holders of Certain Puerto Rico Public Buildings Authority Bonds,
                              dated July 18, 2019 [ECF No. 8141],

                          o   Omnibus Objection of the Lawful Constitutional Debt Coalition, Pursuant to Bankruptcy
                              Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of
                              Certain Bonds Issued or Guaranteed by the Commonwealth, dated January 8, 2020 [ECF
                              No. 9730],

                          o   Official Committee of Unsecured Creditors’ Omnibus Objection on Constitutional Debt
                              Limit Grounds to (I) Claim of Government Development Bank for Puerto Rico [Claim
                              Number 29485] Based on Certain Commonwealth-Issued Notes and on Commonwealth
                              Guaranty of Certain Bonds Issued by Port of Americas Authority, (II) Claim of ScotiaBank
                              de Puerto Rico [Claim Number 47658] Based on Full Faith and Credit Note Issued by
                              Puerto Rico General Services Administration, and (III) Claims Filed or Asserted Against
                              Commonwealth Based on Commonwealth Guaranty of Certain Notes Issued by Puerto
                              Rico Infrastructure Authority, dated January 8, 2020 [ECF No. 9735], solely as it relates
                              to the PRIFA BANs,

                          o   Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant to Bankruptcy
                              Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against
                              Commonwealth by Holders of General Obligation Bonds Asserting Priority Over Other
                              Commonwealth Unsecured Creditors, dated February 3, 2020 [ECF No. 10638], and

                          o   any other objections or joinders to these or such other objections that may be filed
                              pertaining to the same form and counts of requested relief challenging, among other things,
                              the validity and related rights of the 2011 GO Bonds, the 2012 GO Bonds, the 2014 GO
                              Bonds, the PBA Bonds, and/or the PRIFA BANs.

                    Invalidity Actions:52
                          o   The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                              and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                              Jefferies LLC, Adv. Proc. No. 19-00281

                          o   The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                              and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                              BNY Mellon/POP Sec, Adv. Proc. No. 19-00282

                          o   The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                              and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                              First Southwest Co., Adv. Proc. No. 19-00283

                          o   The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                              and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                              Defendants 1E-59E, Adv. Proc. No. 19-00284

                          o   The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                              and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                              Defendants 1A-100A, Adv. Proc. No. 19-00285




 52
      See section V.H.7.b. of this Disclosure Statement for a detailed summary of the Invalidity Actions.

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                          o    The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                               and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                               Defendants 1B-100B, Adv. Proc. No. 19-00286

                          o    The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                               and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                               Defendants 1C-53C, Adv. Proc. No. 19-00287

                          o    The Special Claims Comm. Of the Fin. Oversight and Mgmt Board of for Puerto Rico
                               and the Official Comm. of Unsecured Creditors of the Commonwealth of Puerto Rico v.
                               Defendants 1D-73D, Adv. Proc. No. 19-00288

                     Lien Challenge Actions:

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Autonomy Master Fund Ltd., Adv. Proc.
                               No. 19-00291

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Cooperativa de Ahorro y Credito de
                               Rincon, Adv. Proc. No. 19-00292

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Ortiz de la Renta, Adv. Proc. No. 19-
                               00293

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Martinez Sanchez, Adv. Proc. No. 19-
                               00294

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Valdivieso, Adv. Proc. No. 19-00295

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Friedman, Adv. Proc. No. 19-00296

                          o    The Financial Oversight and Management Board of Puerto Rico, as Representative of
                               Commonwealth of Puerto Rico, et al., and the Official Committee of Unsecured Creditors
                               of All Title III Debtors (Other Than COFINA) v. Blackrock Fin. Mgmt., Adv. Proc. No. 19-
                               00297

                     PBA Litigation:
                          o    The Financial Oversight and Management Board for Puerto Rico v. Puerto Rico Public
                               Buildings Authority, Adv. Pro. No. 18-AP-149-LTS53


 53
      See sections III.A.3 and III.B.1.c. of this Disclosure Statement.
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                    PRIFA BANs Litigation:
                          o    The Financial Oversight and Management Board for Puerto Rico v. The Bank of New York
                               Mellon et al., Adv. Pro. No. 19-AP-269-LTS54

         The Oversight Board has assessed the litigation risk related to the above actions and has
 determined that the proposed recoveries reasonably reflect the litigation risk related to the disputes
 in connection with the GO Bonds, PBA Bonds, and PRIFA BANs. The Oversight Board submits
 that the resolution of the challenges to GO Bonds, PBA Bonds, and PRIFA BANs embodied in the
 Plan is reasonable and fair, and should be approved.

        Framework for Treatment of Commonwealth Bond Claims and Guarantee Claims. The
 principal terms of the treatment of GO Bonds and claims against the Commonwealth on account
 of the Commonwealth’s guarantee of (a) bonds issued by PBA, and (b) the PRIFA BANs
 incorporated into the Plan include the following:

                         Total Consideration Provided in Plan of Adjustment: $14.478 billion, of
                          which $13.951 billion will be provided to GO Bond Claims, PBA Bond Claims,
                          and CW Guarantee Bond Claims.

                                  $3.809 billion of cash, all of which will be provided to GO Bond Claims,
                                   PBA Bond Claims, and CW Guarantee Bond Claims.

                                  $10.669 billion in new bonds, of which $10.142 billion will be provided
                                   to GO Bond Claims, PBA Bond Claims, and CW Guarantee Bond
                                   Claims.

                                   In settlement of the PBA Litigation, the Commonwealth will provide
                                   $1.073 billion of cash to PBA as an allowed administrative expense
                                   claim in the Commonwealth’s Title III Case.

                         New Bonds Structure:

                                  Approximately fifty percent (50%) of New Bonds issued will be New
                                   GO Bonds ($5,334,295,000 in aggregate original principal amount))
                                   issued by the Commonwealth, the payment of which will be backed by
                                   the good faith, credit and taxing power of the Commonwealth under the
                                   Commonwealth Constitution.

                                  Approximately fifty percent (50%) of New Bonds issued will be
                                   COFINA Junior Lien Bonds ($5,334,615,000 in aggregate original
                                   principal amount)) issued by COFINA and secured by the Conveyed
                                   Commonwealth Share, which shall be sold, transferred and assigned by
                                   the Commonwealth to COFINA.


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      See section V.I.6 of this Disclosure Statement.
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                        Deemed Issuance Date of New Bonds: March 1, 2020 (interest on the New
                         Bonds shall accrue from the earlier to occur of such deemed issuance date and
                         the Effective Date).

                        New Bonds – Tax-Exempt / Taxable Status:

                                As more particularly described in Sections 57.1-57.3 of the Plan, in the
                                 event a determination from the IRS or an opinion from Section 103
                                 Bond Counsel is obtained prior to the Effective Date providing that the
                                 ratio of the aggregate amount of all taxable New Bonds to be issued on
                                 the Effective Date to the total aggregate amount of New Bonds is less
                                 than twelve percent (12%), the taxable New Bonds determined to be
                                 tax-exempt will have a lower coupon by 50 basis points and 37.5 basis
                                 points for the New GO Bonds and COFINA Junior Lien Bonds,
                                 respectively.

                                As more particularly described in Sections 57.1-57.3 of the Plan, if such
                                 determination or opinion is obtained subsequent to the Effective Date,
                                 the affected taxable bonds will be invited to exchange their bonds for
                                 converted bonds reflecting a yield of 25 basis points lower than the yield
                                 for such invited bonds of the same type, interest rate, series and
                                 maturity.

                        Taxable Bond Waterfall:

                                Taxable New Bonds will be distributed first to Puerto Rico Investors
                                 who elect to receive a taxable bond distribution.

                                Remaining taxable New Bonds after distribution to Puerto Rico
                                 Investors will be distributed pro rata to all GO Bond Claims, and CW
                                 Guarantee Bond Claims (without duplication).

                        Treatment of Original Issue Discount:55

                                Allocation of plan consideration between classes of GO Bond Claims,
                                 PBA Bond Claims, and CW Guarantee Bond Claims are made ratably
                                 according to the claim amount as of the Commonwealth Petition Date
                                 or PBA Petition Date (as applicable), including unmatured interest (i.e.,
                                 par plus accrued interest).

                                Distribution within a class of GO Bond Claims, PBA Bond Claims, and
                                 CW Guarantee Bond Claims are made ratably according to the claim
                                 amount as of the Commonwealth Petition Date or PBA Petition Date (as

 55
      Capital appreciation bonds are accreted to the Commonwealth Petition Date or PBA Petition Date (as applicable)
      in all distributions.

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                                 applicable), excluding unmatured interest (i.e., par less unaccreted
                                 original issue discount plus accrued interest).

                       Sources of Payments: Some holders of GO Bond Claims and CW Guarantee
                        Bond Claims assert their bonds are secured by the 1.03% of the property tax
                        levied pursuant to Act 83-1991 (the “1.03% of Property Tax”) and collected by
                        the Municipal Revenues Collection Center (“CRIM”) and by monies
                        historically conditionally appropriated to certain instrumentalities but, pursuant
                        to Article VI, section 8 of the Commonwealth Constitution, retained by the
                        Commonwealth when available revenues (including surplus) for a given year
                        are insufficient to meet appropriations. While the Commonwealth Debtor
                        disagrees that the GO Bonds and guaranties are secured by the 1.03% of
                        Property Tax and/or the historically conditionally appropriated monies, to
                        eliminate these legal disputes, pursuant to the global settlement provided in the
                        PSA, the GO Bond Claims’ recovery will be distributed each fiscal year from:
                        (i) first, the 1.03% of Property Tax, (ii) second, and once the 1.03% of Property
                        Tax is exhausted, the monies arising from the operation of Article VI Section
                        of the Commonwealth Constitution, and (iii) third, and once the 1.03% of
                        Property Tax and the monies arising from the operation of Article VI Section
                        of the Commonwealth Constitution are exhausted, the other resources of the
                        Commonwealth.

       Framework for Treatment of PBA Bond Claims. The principal terms of the treatment of
 the PBA Bond Claims incorporated into the Plan includes the following:

                   PBA Settlement: In settlement of the PBA Litigation, the Commonwealth will
                    provide $1.073 billion of cash to PBA as an allowed administrative expense claim
                    in the Commonwealth’s Title III Case in consideration of unpaid rent since the
                    Commonwealth Petition Date and ownership and valuation of certain property to
                    which the PBA holds title. Such funds will be distributed by PBA to allowed PBA
                    Bond Claims.

                   Allowance of PBA Bond Claims:56 Holders of PBA Bonds will have an allowed
                    claim against PBA equal to the principal amount outstanding of PBA Bonds, plus
                    accrued and unpaid interest thereon, as of the PBA Petition Date.

                                   Solely for purposes of distribution under the Plan, the CW Guarantee
                                    Claim against the Commonwealth on account of the
                                    Commonwealth’s guarantee of PBA Bonds is calculated as such
                                    amount less the settlement amount of $1.073 billion.

        Consummation Costs. Holders of GO Bonds and PBA Bonds party to the PSA at its
 execution on February 9, 2020 are entitled to a pro rata share of cash in an amount equal to 1.25%

 56
      Pursuant to the Plan Classes, the PBA Bond Claims as defined in the Plan Support Agreement also includes the
      PBA Bond Claims (Insured).

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 of the aggregate amount of such holders’ PBA Bond Claims, GO Bond Claims, and CW Guarantee
 Bond Claims (without duplication). The Consummation Costs are in consideration for the fees
 and expenses incurred by such holders in connection with the negotiation and execution of the
 PSA and the prosecution of the approval of the Disclosure Statement and confirmation of the Plan.

         PSA Restriction Fee. An aggregate amount of $350 million in cash will be paid to certain
 parties to the PSA. Such aggregate amount is reduced by the Consummation Costs paid. The PSA
 Restriction Fee is in consideration for executing the PSA and agreeing to “lock-up” such party’s
 bonds in accordance with the terms of the PSA.

            The following parties are eligible to receive the PSA Restriction Fee:

                    Holders of GO Bonds and PBA Bonds party to the PSA at its execution on February
                     9, 2020.

                    Any holders of GO Bonds and PBA Bonds who join as parties to the PSA on or
                     before the earlier to occur of: (a) February 28, 2020, and (b) the date and time at
                     which the parties to the PSA entitled to receive the PSA Restriction Fee own
                     seventy percent (70%) of the aggregate amount of GO Bond Claims, PBA Bond
                     Claims, and CW Guarantee Bond Claims (without duplication).

         Pursuant to the Notice of Opportunity to Join Plan Support Agreement posted on the
 Oversight Board’s website on February 14, 2020, holders of GO Bonds and PBA Bonds were
 notified of the opportunity to join as a party to the PSA and receive the PSA Restriction Fee.

         Retail Support Fee. To provide all holders of GO Bonds and PBA Bonds an opportunity
 to receive a PSA fee, an aggregate amount of fifty million dollars ($50,000,000.00) in cash is made
 available to Retail Investors holding GO Bonds and PBA Bonds. Retail Investors are such holders
 who hold GO Bonds or PBA Bonds in the aggregate face amount of equal to or less than one
 million dollars ($1,000,000.00). The Retail Support Fee will be available to each class of retail
 investors who vote, as a class, to accept the Plan. If a class of Retail Investors votes to reject the
 Plan, the share of the Retail Support Fee allocable to such class will be reallocated pro rata to the
 classes of Retail Investors who have voted to accept the Plan, and parties eligible to receive the
 PSA Restriction Fee.

                             Plan Support Agreement with Retiree Committee

         After significant negotiations, on June 7, 2019, the Oversight Board and the Retiree
 Committee57 entered into the Retiree Committee PSA (attached hereto as Exhibit C) providing for
 the Retiree Committee’s support for the terms of the agreed-upon restructuring of the
 Commonwealth’s pension obligations pursuant to the Plan. The Oversight Board has determined
 the following steps are essential to provide adequate funding for future pension obligations: (a)
 reducing pension benefits above certain levels to achieve significant savings in pension payments

 57
      On June 15, 2017, the United States Trustee appointed the Retiree Committee in the Title III Cases. Appointment
      of Official Committee of Retirees in the Commonwealth of Puerto Rico, [ECF No. 340].

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 over the next 40 years while leaving the benefits of lower-income retirees unaffected; and (b)
 establishing a pension reserve fund to provide a guaranteed source of payment in years when the
 annual budget falls into deficit. These measures are incorporated into the Retiree Committee PSA,
 as described below:

                              (i)      Benefit Reductions

         Pension benefits in ERS, Teachers Retirement System (“TRS”), and Judiciary Retirement
 System (“JRS”) accrued by active and retired employees on or after May 3, 2017, are not subject
 to any reductions in pension or retirement benefits. Pension benefits in all three systems accrued
 by active and retired employees before May 3, 2017, are subject to reduction as follows.58

        For any individual whose Total Monthly Retirement Benefit (exclusive of the Monthly
 Medical Insurance Plan Contribution, which will not be reduced at all) is in excess of $1,200 per
 month (the threshold above which cuts apply), a flat cut percentage equal to the lesser of (A) 8.5%
 of the Total Monthly Retirement Benefit, or (B) 25% of the difference of the Total Monthly
 Retirement Benefit plus the Monthly Medical Insurance benefit, if any, minus either (i) $1,000 for
 those Participants without access to Social Security when accruing their pension or (ii) $600 per
 month for those Participants with access to Social Security when accruing their pension will be
 applied, provided that the Total Monthly Retirement Benefit cannot fall below $1,200 per month.
 The minimum benefit thresholds will remain at $1,200, $1,000 and $600 as applicable. Accrued
 pension amounts and threshold will not be indexed for any reason in the future, except for Pension
 Benefit Restoration provisions as described below.

        The reduction in the Total Monthly Retirement Benefit will be calculated in a four step
 process:

        (1)     any annual Christmas Bonus will be reduced until (i) the Total Monthly Retirement
 Benefit is reduced to $1,200, (ii) the total reduction as calculated above is reached, or (iii) the
 Christmas Bonus is entirely eliminated, whichever occurs first;

        (2)     any Summer Bonus will next be reduced until (i) the Total Monthly Retirement
 Benefit is reduced to $1,200, (ii) the total reduction as calculated above is reached, or (iii) the
 Summer Bonus is entirely eliminated, whichever occurs first;

          (3)   the Monthly Medicine Bonus will next be reduced until (i) the Total Monthly
 Retirement Benefit is reduced to $1,200, (ii) the total reduction as calculated above is reached, or
 (iii) the Monthly Medicine Bonus is entirely eliminated, whichever occurs first; and

        (4)   the Monthly Base Pension will next be reduced until (i) the Total Monthly
 Retirement Benefit is reduced to $1,200, or (ii) the total reduction as calculated above is reached.

       Under no circumstances shall this reduction formula reduce an individual Retiree’s Total
 Monthly Retirement Benefit below the $1,200 monthly benefit threshold. If a Retiree’s Total
 58
      System 2000 Participants (defined below) are not subject to such reduction and their claims are treated as provided
      for in Class 39E.

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 Monthly Retirement Benefit starts out below this threshold, the Retiree Total Monthly Retirement
 Benefit will be unaffected by the Plan.

                              (ii)      Benefit Restoration

         All Retirees subject to the Monthly Benefit Reduction described above are also eligible for
 partial or total restoration of the benefit for any given fiscal year in the event there is sufficient
 surplus cash generated beyond the surplus projected in the Fiscal Plan for that fiscal year. The
 restoration of the benefit will occur in any particular post-confirmation fiscal year so long as the
 Commonwealth Debtor achieves a budget surplus of more than $100 million in excess of the
 surpluses projected in the Fiscal Plan for that year. If such an excess surplus is achieved, then 10%
 of the excess surplus shall be distributed on or before October 1 following that fiscal year to
 Retirees on a pro-rata basis to restore partially or fully the benefit reduction experienced by
 Retirees in such year. Each Retiree will receive a Monthly Benefit Restoration pro-rated based on
 the amount of total cuts experienced, and the restoration of benefits will be capped by the reduction
 experienced by each Retiree. If the excess surplus achieved in any given fiscal year is less than
 $100 million, no restoration payments will be made for that year. Such benefit restoration
 payments may be achieved for any post-confirmation fiscal year through and including fiscal year
 2033.

         The Retiree Committee has established the following website to provide an illustrative
 calculator of the retirement benefit modifications provided under the Plan and the Retiree
 Committee PSA:

 https://calculadoracor.org/eng.html (English)
 https://calculadoracor.org/index.html (Spanish)

                              (iii)     Pension Reserve Trust

        On the Effective Date of the Plan, the Commonwealth Debtor will establish a Pension
 Reserve Trust. The Pension Reserve Trust will be held in trust for the sole benefit of the Retirees,
 and managed by the three-member Pension Reserve Investment Committee appointed pursuant to
 the Plan. The funding of the administrative cost of the investment adviser will come from the
 Pension Reserve Trust.

         The Plan provides, commencing as of fiscal year 2020, that the Commonwealth will make
 annual contributions to the Pension Reserve Trust from the Commonwealth General Fund until
 fiscal year 2027 in an amount no less than $175 million per year; provided further that for any
 fiscal year ending after the Plan Effective Date in which the projected Fiscal Plan Surplus is at
 least $1.750 billion, the Commonwealth shall make a contribution to the Pension Reserve Trust
 from the Commonwealth General Fund in an amount equal to 25% of the projected Fiscal Plan
 Surplus that year (such amount, the “Base Contribution”).59 Subsequent to entry into the Retiree
 Committee PSA, the parties further negotiated and agreed, and the Plan provides at paragraph 65.2,

 59
      The PSA and the Plan also provide for an initial contribution of $5 million to fund the initial administrative fees,
      costs, and expenses of the Pension Reserve Trust.

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 that the Commonwealth’s annual contribution shall also include: (a) such additional amount
 calculated as the lower of the actual primary surplus for such fiscal year or the projected Fiscal
 Plan primary surplus for such Fiscal Year minus the sum of (i) the Base Contribution for such
 fiscal year, plus (ii) the Commonwealth debt service obligation pursuant to the plan for such fiscal
 year, plus (iii) Two Hundred Million Dollars ($200,000,000.00); provided, however, that, in all
 instances, such additional amount cannot be lower than zero dollars ($0.00), and (b) subject to
 applicable laws, including, without limitation, Titles I and II of PROMESA, such additional
 amounts as the Commonwealth, in its discretion, elects to deposit into the Pension Reserve Trust.
 The annual contribution must be made by October 1 following the end of each fiscal year. If the
 Effective Date occurs after October 1 following fiscal year 2020 or any successive fiscal year
 through fiscal year 2027, the Base Contributions and any other amounts due and owing pursuant
 to the provisions described above shall be deposited into the Pension Reserve on the Effective
 Date.

         Any withdrawals from the Pension Reserve Trust shall only be used by the Commonwealth
 for the payment of current pension obligations under PayGo.

                        Plan Support Agreement with AFSCME

         The Oversight Board engaged in negotiations with AFSCME regarding CBAs, the ERS
 Systems Benefits, and the Upside Fiscal Plan Surplus Sharing Agreement, resulting in an
 agreement which provides AFSCME’s support of the Plan, while providing key benefits to
 AFSCME’s members in exchange for its support. On June 7, 2019, the Oversight Board and
 AFSCME, for itself and on behalf of its two local chapters, Servidores Públicos Unidos (“SPU”),
 AFSCME Council 95 and Capítulo de Retirados de SPU and their fourteen affiliated local unions
 in Puerto Rico, entered into a PSA providing for AFSCME’s support for terms of a new collective
 bargaining agreement or agreements (“CBAs”), along with the foregoing restructuring of pension
 obligations, pursuant to the Plan. The vote passed with 92% of members voting in favor. The
 agreement also provides AFSCME’s support of the terms set forth in the Plan with respect to
 treatment of retirement benefit claims, and AFSCME has agreed to support and encourage those
 terms with their voting membership. AFSCME will also be provided with institutional
 representation with direct interaction with the Oversight Board to ensure the perspectives of
 AFSCME are shared in regards to the Commonwealth fiscal plan, budget, and restructuring
 process.

         The Plan provides the existing CBAs between the Commonwealth and AFSCME or its
 local affiliates are rejected under Bankruptcy Code section 365 and replaced with modified CBAs.
 The treatment of claims as a result of such modification will be, in part, the implementation of
 valid, enforceable modified CBAs. The current CBAs combined with the provisions of the term
 sheet annexed as Appendix I to the AFSCME PSA (also attached as Exhibit D to this Disclosure
 Statement) shall constitute the modified CBAs and the modified CBAs shall have a term of five
 years. The five year contract term locks in fiscal plan economic savings while providing
 enforceable CBAs and important contractual protections to AFSCME and its members, including,
 for example, protection from privatization for the contract period. The AFSCME-represented
 employees are assured that for the term of the new CBAs there will be no changes in base pay,
 other compensation, leaves, holidays, or other benefits without the express consent of AFSCME.
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 The five-year term also allows for an emergency process to achieve fiscal plan personnel
 reductions, while providing AFSCME input into cost saving initiatives. The result of the
 collaborative process maintains the majority of AFSCME’s previously negotiated benefits while
 memorializing said benefits in the modified five-year CBAs.

        Claims as a result of such rejection are in Class 40, and the treatment of the rejection
 damage claims is the proffer of the modified CBAs consistent with the AFSCME PSA, to be
 executed and effectuated pursuant to the Plan and Confirmation Order. The terms of the CBA
 cover the following union affiliates:

              Parole Board and Local 3584 / United Public Servants

              Department of Consumer Affairs and Local 3986 / United Public Servants

              Department of Correction and Rehabilitation and Local 3500-Unit B Correctional
               Officers (ACU) / United Public Servants

              Department of Correction and Rehabilitation / Bureau of Juvenile Institutions and
               Local 3559 (ACU) / United Public Servants

              Department of Education and Local 3840 covering only employees within
               AFSCME jurisdiction of PASO

              Department of Natural and Environmental Resources and Local 2082-Unit A /
               United Public Servants

              Department of Natural and Environmental Resources and Local 3647 (Ranger
               Corps) / United Public Servants

              Department of Transportation and Public Works and Local 3889 / United Public
               Servants

              Department of Labor and Human Resources / Vocational Rehabilitation
               Administration and Local 3251 / United Public Servants

              Department of the Family and Local 3227-Unit A / United Public Servants

              Department of the Family and Local 3234-Unit B (UPETEC) / United Public
               Servants

              Bureau of Forensic Sciences and Local 2099 / United Public Servants

              Department of Correction and Rehabilitation / Pretrial Services Program and Local
               3573 (ACU) / United Public Servants

              Bureau of Transport and Other Public Services and Local 3897 / United Public
               Servants
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      The PSA provides for a multitude of benefits negotiated between the Oversight Board and
 AFSCME in an effort to maintain protection of the union members, including as follows.

        Uniform Healthcare. The PSA provides for an enhanced monthly employer contribution
 of $170.00 per person/per month in comparison to the fiscal plan proposal of $125.00 per
 person/per month. The PSA also provides for union representation through a negotiated health
 care administrator, which will facilitate better coverage, a wider array of choices for coverage, and
 lower overall costs to union members.

         Upside Participation Bonus. The PSA provides a mechanism for union member
 participants to share in any excess surplus above and beyond the Certified Fiscal Plan in effect as
 of the date of the Plan for the Commonwealth. Given the sacrifices already endured by the workers
 of Puerto Rico and the additional sacrifices required under the Fiscal Plan, the Fiscal Plan Surplus
 Sharing Agreement provides a mechanism to share any potential upside with those who have
 endured the current challenges and will be working to stabilize Puerto Rico in future years.

         Support Fee. AFSCME will receive a one-time payment of $5 million, in recognition of
 their efforts as the lead negotiator of and as a signatory to the Agreement.

         Additional Fee. AFSCME will receive a one-time payment of $5 million to AFSCME, to
 be disbursed in the manner AFSCME designates, as a concession by the Oversight Board for the
 efforts undertaken by AFSCME to fulfill obligations under the agreement.

        Signing Bonus. Union member participants will receive a one-time signing bonus of $500.

        System 2000. Union members will receive full recovery of their contributions under the
 System 2000 plan, with interest credit through May 3, 2017. The following terms outline the
 means in which System 2000 participants are treated:

           segregate full System 2000 contributions from 2000-2013;

           segregate full System 2000 participant Act 3-2013 contributions from 2013-2017; and

           segregate full Act 3-2013 participant (who had not participated in either Act 1 of 1990
            or Act 447, or System 2000 from 2000-2013) contributions through 2017.

         System 2000 participants who have not yet retired as of July 1, 2019 will receive the
 amount of their contributions into System 2000 (and Act 3 plans from and after 2013) through
 June 30, 2017, plus accrued interest thereon through the Petition Date. This amount will be rolled
 into participants’ individual defined contribution accounts, which will result in the unimpairment
 of their contributions to the system and interest accrual under Puerto Rico law, protection of their
 retirement savings in new defined contribution accounts, and flexibility for participants to invest
 the dollars according to their personal preference.

          As of the Effective Date, participants with System 2000 contributions will no longer be
 entitled to future system administered benefits, such as death and disability provisions.

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         Act 3-2013 Benefits. Act 1 of 1990 and Act 447 participants’ pensions will include their
 contributions under Act 3-2013 from July 1, 2013 through the implementation of the Act 106
 defined contribution plan in July 2017, including interest accrued through the Petition Date, as
 annuitized pursuant to Act 3-2013. The portion of the annuity related to contributions under Act
 3-2013 will be exempt from the benefit reduction formula described above in subsection 2(a) for
 participants who retire after the Effective Date of the Plan. This will serve to further protect
 workers’ retirement benefits.

         Pension Reserve Trust. Establishment and funding of a Pension Reserve Trust protects
 both current and future union retirees. The AFSCME PSA provides the Commonwealth shall
 make annual contributions to the Pension Reserve Trust from the Commonwealth General Fund
 from fiscal year 2020 until fiscal year 2027 in an amount no less than $175 million per year;
 provided that for any fiscal year ending after the Plan Effective Date in which the projected Fiscal
 Plan Surplus is at least $1.750 billion, the Commonwealth shall make a contribution to the Pension
 Reserve Trust from the Commonwealth General Fund in an amount equal to 25% of the projected
 Fiscal Plan Surplus that year.60

          Excess Cash Surplus. The PSA provides a mechanism for union members to share in any
 excess surplus above and beyond the Certified Fiscal Plan in effect as of the Effective Date of the
 Plan. It provides for a bonus pool for union members to the extent the Commonwealth outperforms
 the projections included in the Fiscal Plan, via an Excess Cash Surplus formula, whereby 25% of
 actual surplus in excess of $100 million above the projected Fiscal Plan surplus for any fiscal year
 will be distributed to all AFSCME-represented participants and all other eligible Commonwealth
 employees each year. All recipients of this upside bonus pool will have the choice to allocate any
 portion of their bonus to their defined contribution account and any remainder will be distributed
 in cash

        Non-Union Rank-and-File Employees. For those rank-and-file employees who are not
 represented by a union, and therefore are not eligible to sign a plan support agreement for the Plan,
 the Oversight Board will provide them with certain of the benefits afforded to those employees
 who are represented by a union that does sign a plan support agreement for the Plan. For example,
 such rank-and-file employees will receive the enhanced monthly employer contribution of $170.00
 per person/per month in comparison to the fiscal plan proposal of $125.00 per person/per month
 and are permitted to participate in the upside participation bonus which shares any excess surplus
 above and beyond the Certified Fiscal Plan in effect as of the date of the Plan for the
 Commonwealth.


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      The formula here (defined in the Plan as the Base Contribution) is provided for in the AFSCME PSA (Exhibit D);
      however, the Plan provides for a more beneficial formula (see the Plan at 65.2), consistent with the revisions to the
      formula negotiated by the Oversight Board and the Retiree Committee as described above. The Plan establishes an
      initial contribution of $5 million to fund the initial administrative fees, costs, and expenses of the Pension Reserve
      Trust. Beginning in fiscal year 2020 through fiscal year 2027, the Reorganized Commonwealth will make an annual
      contribution to the Pension Reserve Trust in an amount equal to (a) the Base Contribution for such fiscal year, plus
      (b) such additional amount calculated as the lower of the actual primary surplus for such fiscal year or the projected
      Fiscal Plan primary surplus for such Fiscal Year minus the sum of (i) the Base Contribution for such fiscal year,
      plus (ii) the Commonwealth debt service obligation pursuant to the plan for the fiscal year, plus (iii) $200 million.

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        2.      Implementation of Other Settlements in the Plan

                        Election to Settle ERS Litigation

          The Plan provides holders of ERS Bond Claims an option to settle and compromise the
 litigation regarding, among other things, that the ERS Bonds are invalid because they were issued
 ultra vires, recovery of principal and interest payments in the event the ERS Bonds are determined
 to be invalid, whether Bankruptcy Code section 552(a) prevents the ERS bondholders’ security
 interests from attaching to certain employer contributions received by ERS after the ERS Petition
 Date (but only if the First Circuit grants a rehearing or rehearing en banc and the First Circuit’s
 January 30, 2020 decision is overruled, or a petition for certiorari is granted and the Supreme Court
 reverses the First Circuit’s January 30, 2020 decision), constitutional claims against the
 Commonwealth government and United States government for alleged violations of the Takings
 Clause and Contracts Clause, and the perfection and scope of the asserted security interests of
 holders of ERS Bonds (collectively, the “ERS Litigation”). For a summary of such disputes, see
 sections III.B.1.b)(i) & (iii), and V.H.6 of this Disclosure Statement.

        3.      Holders of Allowed Claims Permitted to Make Elections

         Pursuant to the Disclosure Statement Order and the Plan, certain holders of Claims are
 entitled to make an election regarding the distribution they will receive under the Plan and the
 settlement of certain disputes. Below is an overview of the distribution elections and limitations
 on voting applicable to certain holders of Claims.

         Taxable Bond Election. If you hold an Allowed Claim in any of the following Classes,
 you may elect to receive your distribution of New GO Bonds and COFINA Junior Lien Bonds
 pursuant to the Plan in the form of higher interest rate coupons but are treated as taxable bonds for
 federal income tax purposes:

                                Claims Eligible to Make Taxable Election

                                         Claim                             Class
                      Vintage CW Bond Claims                          Class 11
                      Retail Vintage CW Bond Claims                   Class 12
                      Vintage CW Guarantee Bond Claims                Class 15
                      2011 CW Bond Claims                             Class 18
                      Retail 2011 CW Bond Claims                      Class 19
                      2011 CW Guarantee Bond Claims                   Class 22
                      2011 CW Series D/E/PIB Bond Claims              Class 24
                      Retail 2011 CW Series D/E/PIB Bond Claims       Class 26
                      2012 CW Bond Claims                             Class 28
                      Retail 2012 CW Bond Claims                      Class 29
                      2012 CW Guarantee Bond Claims                   Class 32
                      2014 CW Bond Claims                             Class 34

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                               Claims Eligible to Make Taxable Election

                                            Claim                         Class
                     Retail 2014 CW Bond Claims                        Class 35
                     2014 CW Guarantee Bond Claims                     Class 37

          Since residents of Puerto Rico are generally exempt from payment of federal income taxes,
 to be eligible to make the taxable bond election, a holder of such Allowed Claim must certify that
 it is a Puerto Rico Investor, i.e., that it is either:

               A natural person that is a resident of the Commonwealth (for Puerto Rico personal
                income tax purposes), or

               An entity that is wholly owned by or entirely beneficially owned by one or more
                natural persons that are residents of the Commonwealth (for Puerto Rico personal
                income tax purposes).

         If you make the above-described election, you will be deemed to accept the Plan. If you
 are determined to be ineligible to make the taxable bond election, your Claim will be treated in
 accordance with your originally designated Class and you will be deemed to accept the Plan.

      AFTER THE ELECTION DEADLINE, ALL SECURITIES THAT HAVE BEEN
 TENDERED WITH RESPECT TO AN ELECTION WILL BE RESTRICTED FROM FURTHER
 TRADING OR TRANSFER UNTIL THE EFFECTIVE DATE OF THE PLAN. THIS IS
 NECESSITATED BY THE DEPOSITORY TRUST COMPANY PROCEDURES TO
 ASSOCIATE AN ELECTION TO RECEIVE TAXABLE BONDS WITH THE UNDERLYING
 SECURITY, WHICH CAN ONLY BE ACCOMPLISHED BY TENDERING THE
 UNDERLYING SECURITY.

      IF YOU MAKE THE TAXABLE BOND ELECTION, YOU WILL RECEIVE A
 DISTRIBUTION CONSISTING OF TAXABLE NEW GO BONDS, TAXABLE COFINA
 JUNIOR LIEN BONDS, AND CASH APPROXIMATELY EQUAL TO THE
 FOLLOWING:

                               Claim                                        Approx. Taxable
                                                               Class         Bond Election
                                                                               Recovery
            Vintage CW Bond Claims                         Class 11                74.874%
            Retail Vintage CW Bond Claims                  Class 12                74.874%
            Vintage CW Guarantee Bond Claims               Class 15                70.896%
            2011 CW Bond Claims                            Class 18                70.401%
            Retail 2011 CW Bond Claims                     Class 19                70.401%
            2011 CW Guarantee Bond Claims                  Class 22                69.894%
            2011 CW Series D/E/PIB Bond Claims             Class 24                73.800%

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                               Claim                                   Approx. Taxable
                                                             Class      Bond Election
                                                                          Recovery
            Retail 2011 CW Series D/E/PIB Bond Claims     Class 26             73.800%
            2012 CW Bond Claims                           Class 28             69.887%
            Retail 2012 CW Bond Claims                    Class 29             69.887%
            2012 CW Guarantee Bond Claims                 Class 32             63.931%
            2014 CW Bond Claims                           Class 34             65.358%
            Retail 2014 CW Bond Claims                    Class 35             65.358%
            2014 CW Guarantee Bond Claims                 Class 37             65.358%



      IF YOU DO NOT MAKE THE TAXABLE BOND ELECTION, YOU WILL
 RECEIVE A DISTRIBUTION CONSISTING OF NEW GO BONDS, COFINA JUNIOR
 LIEN BONDS, AND CASH APPROXIMATELY EQUAL TO THE FOLLOWING:

                               Claim                                      Approx.
                                                             Class
                                                                          Recovery
            Vintage CW Bond Claims                        Class 11             74.874%
            Retail Vintage CW Bond Claims                 Class 12             74.874%
            Vintage CW Guarantee Bond Claims              Class 15             70.896%
            2011 CW Bond Claims                           Class 18             70.401%
            Retail 2011 CW Bond Claims                    Class 19             70.401%
            2011 CW Guarantee Bond Claims                 Class 22             69.894%
            2011 CW Series D/E/PIB Bond Claims            Class 24             73.800%
            Retail 2011 CW Series D/E/PIB Bond Claims     Class 26             73.800%
            2012 CW Bond Claims                           Class 28             69.887%
            Retail 2012 CW Bond Claims                    Class 29             69.887%
            2012 CW Guarantee Bond Claims                 Class 32             63.931%
            2014 CW Bond Claims                           Class 34             65.358%
            Retail 2014 CW Bond Claims                    Class 35             65.358%
            2014 CW Guarantee Bond Claims                 Class 37             65.358%



         Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds distributed to holders
 making the taxable bond election will have certain repayment terms that differ from those
 distributed to holders who do not make such election. You are encouraged to review the entire
 Disclosure Statement, including the tax consequences of making an election discussed in IX,
 entitled “Material United States Federal Income Tax Considerations” and section X, entitled
 “Certain Material Puerto Rico Income Tax Considerations” of this Disclosure Statement, before
 making the taxable bond election. As a general matter, residents of Puerto Rico are not subject to
 U.S. federal income taxes. Residents of Puerto Rico should read section IX of the Disclosure
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 Statement, entitled “Material United States Federal Income Tax Considerations—Puerto Rico
 Individuals and Puerto Rico Corporations” for a discussion of important limitations to this general
 rule. Even if you qualify as a Puerto Rico Investor, you may not be exempt from paying U.S.
 federal income tax on the Taxable New GO Bonds or Taxable COFINA Junior Lien Bonds. The
 tax consequences described in this Disclosure Statement are not a substitute for careful tax
 planning and professional tax advice relating to your individual circumstances and you should seek
 advice from your own tax advisor.

         ERS Bond Claims Settlement Election. Each holder of an ERS Bond Claim may elect to
 have its ERS Bond Claim treated as a Settling ERS Bond Claim in Class 49 and participate in the
 ERS Bond Settlement. Pursuant to the ERS Bond Settlement, holders of ERS Bond Claims will:

           (i)      receive a pro rata share of Cash providing a recovery of approximately 12.79%;61

           (ii)     provide for the general release of the Commonwealth and the United States of
                    America for any claims and causes of action, including, but not limited to, those
                    asserted, or could be asserted, in the ERS Litigation and the litigation styled Altair
                    Global Credit Opportunities Fund (A) LLC v. United States, Case No. 17-970C,
                    pending in the U.S. Court of Federal Claims, regarding the right of holders of ERS
                    Bonds to just compensation pursuant to the Takings Clause of the U.S.
                    Constitution;

           (iii)    be released from any potential claims for recovery of principal and interest
                    payments in the event the ERS Bonds are determined to be invalid; and

           (iv)     accept the Plan as a holder of a Claim in Class 49 (Settling ERS Bond Claims).

      AFTER THE ELECTION DEADLINE, ALL SECURITIES THAT HAVE BEEN
 TENDERED WITH RESPECT TO AN ELECTION WILL BE RESTRICTED FROM FURTHER
 TRADING OR TRANSFER UNTIL THE EFFECTIVE DATE OF THE PLAN. THIS IS
 NECESSITATED BY THE DEPOSITORY TRUST COMPANY PROCEDURES TO
 ASSOCIATE AN ELECTION WITH THE UNDERLYING SECURITY, WHICH CAN ONLY
 BE ACCOMPLISHED BY TENDERING THE UNDERLYING SECURITY.

         Holders of ERS Bond Claims that do not elect to participate in the ERS Bond Settlement
 will not be entitled to the distributions and releases above and will continue to be a participant in
 the ERS Litigation. Such non-settling holder’s distribution as a holder of a Claim in Class 48 (ERS
 Bond Claims) will be placed in the ERS Reserve pending entry of a final, non-appealable order

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      Such distribution is inclusive of payments of adequate protection made to holders of ERS Bond Claims in
      accordance with that certain (a) Joint Stipulation and Order, dated April 11, 2017 [Case No. 17-3566, ECF No.
      26, Ex. E], and (b) Joint Stipulation Regarding (I) Motion of Certain Secured Claimholders of Employees
      Retirement System of the Government of the Commonwealth of Puerto Rico for Adequate Protection and Stay
      Relief and Reservation of Rights and (II) Motion of Debtors Pursuant to PROMESA Section 301(a) and Bankruptcy
      Code Sections 105(a), 362(a), 365 and 922 for Entry of an Order Confirming Application of the Automatic Stay,
      Stay of Prepetition Lawsuits and Actions and Application of Contract Protections, dated July 14, 2017 [Case No.
      17-3566, ECF No. 170].

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 resolving or settling the ERS Litigation. If holders of ERS Bond Claims that do not elect to
 participate in the ERS Bonds Settlement do not prevail in the ERS Litigation, such holders
 may receive no recovery on account of their ERS Bond Claims.

        Convenience Claim Election. Holders of Allowed CW General Unsecured Claims (Class
 41) and Allowed ERS General Unsecured Claims (Class 50) may elect to:

        (a) reduce the amount of such holder’s Allowed Claim to $10,000.00 and receive payment
            in full in cash of such reduced claim pursuant to the treatment of Convenience Claims
            in Class 52; and

        (b) accept the Plan as a holder of a Claim in Class 52.

       Holders of multiple Allowed CW General Unsecured Claims or multiple Allowed ERS
 General Unsecured Claims may elect to:

        (a) reduce the amount of such multiple claims to an aggregate amount of $20,000.00 and
            receive payment in full in cash of such reduced aggregate claim pursuant to the
            treatment of Convenience Claims in Class 52; and

        (b) accept the Plan as a holder of a Claim in Class 52.

        4. Overview of New GO Bonds and COFINA Junior Lien Bonds to be Issued on
           the Effective Date

                        New GO Bonds

          On the Effective Date, Reorganized Commonwealth will issue the New GO Bonds as
 current interest bonds with seven (7) different maturity dates. Subject to certain adjustments
 permitted under the Plan, the New GO Bonds will be senior debt obligations of Reorganized
 Commonwealth, secured by a statutory first lien and pledge of the Debt Service Reserve Fund and
 the Debt Service Fund and a pledge of the Commonwealth’s good faith, credit and taxing power
 of Reorganized Commonwealth pursuant to Article VI, Sections 2 and 8 of the Commonwealth
 Constitution and applicable laws of the Commonwealth as of the Effective Date, will have an
 aggregate original principal amount of $5,334,295,000, will have interest rates between 5.625%
 and 7.125%, and will have stated maturity dates between July 1, 2021 and July 1, 2039. The New
 GO Bonds will be issued pursuant to the New GO Bonds Indenture and New GO Bonds
 Legislation. The New GO Bonds will be distributed as set forth in the Plan. Notwithstanding the
 timing of the Effective Date, interest on the New GO Bonds shall commence to accrue from the
 earlier to occur of the Effective Date and March 1, 2020, which earlier date shall be designated as
 the “dated” date of the New GO Bonds.

        To the extent the Government Parties, each acting in its sole and absolute discretion,
 determine to apply for ratings on the New GO Bonds, the Government Parties shall use their
 commercially reasonable best efforts to obtain ratings on the New GO Bonds, following
 consultation with up to two (2) Initial PSA Creditors, jointly designated by the Constitutional Debt
 Group, the GO Group, the LCDC and the QTCB Group, each of which shall have executed a
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 confidentiality agreement, in form and substance satisfactory to the Oversight Bond and restricting
 such Initial PSA Creditors from trading New GO Bonds and COFINA Junior Lien Bonds,
 including based upon the Government Parties’ judgment with respect to expected benefits.

         The New GO Bonds will not carry any default rate of interest; provided, however, that any
 interest on the New GO Bonds that is due and unpaid on an interest payment date shall be
 compounded into the principal amount of the New GO Bonds on such date.

        Notwithstanding anything contained in the Plan to the contrary, to the extent that Taxable
 New GO Bonds are issued, such Taxable New GO Bonds shall be distributed to holders of Allowed
 Claims in the following order of priority: (1) first, to holders of Allowed Taxable Election CW
 Claims, and (2) second, pro rata to all other holders of Allowed Claims and recipients of New GO
 Bonds, without duplication.

                       COFINA Junior Lien Bonds

         On the Effective Date, COFINA shall issue the COFINA Junior Lien Bonds, consisting of
 CIBs, as current interest bonds with seven (7) different maturity dates. The COFINA Junior Lien
 Bonds will be securities payable from the Conveyed Commonwealth Share and shall, in all
 respects, be subject to the First Dollars Funding obligations with respect to the COFINA Senior
 Lien Bonds. The COFINA Junior Lien Bonds will have (a) an aggregate original principal amount
 of $5,334,615,000, (b) interest rates between 4.75% and 6.125%, and (c) stated maturity dates
 between July 1, 2021 and July 1, 2039. The COFINA Junior Lien Bonds will be issued pursuant
 to the New GO Bond COFINA Junior Lien Bonds Indenture. The COFINA Junior Lien Bonds
 will be distributed as set forth in the Plan. Notwithstanding the timing of the Effective Date,
 interest on the COFINA Junior Lien Bonds shall commence to accrue on March 1, 2020, which
 date shall be designated as the “dated” date of the COFINA Junior Lien Bonds.

         Repayment of the COFINA Junior Lien Bonds (i) shall be secured by a second lien that is
 subordinated in all respects, including, without limitation, in respect of payment, funding and
 remedies to the COFINA Senior Lien Bonds and (ii) shall not be payable from the COFINA
 Revenues. The COFINA Junior Lien Bonds are not secured by nor are they payable from the Trust
 Estate.

         To the extent the Government Parties, each acting in its sole and absolute discretion,
 determine to apply for ratings on the COFINA Junior Lien Bonds, the Government Parties shall
 use their commercially reasonable best efforts to obtain ratings on the COFINA Junior Lien Bonds,
 including promptly responding in good faith to documentary or other requests, following
 consultation with up to two (2) Initial PSA Creditors jointly designated by the Constitutional Debt
 Group, the GO Group, the LCDC and the QTCB Group, each of which shall have executed a
 confidentiality agreement in form and substance satisfactory to the Oversight Board and restricting
 such Initial PSA Creditors from trading New GO Bonds and COFINA Junior Lien Bonds,
 including based upon the Government Parties’ judgment with respect to expected benefits.

        The COFINA Junior Lien Bonds will not carry any default rate of interest.


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         Notwithstanding anything contained in the Plan to the contrary, to the extent that Taxable
 COFINA Junior Lien Bonds are issued, such Taxable COFINA Junior Lien Bonds shall be
 distributed to holders of Allowed Claims in the following order of priority: (1) first, to holders of
 Taxable Election CW Claims and (2) second, pro rata to all other holders of Allowed Claims and
 recipients of COFINA Junior Lien Bonds, without duplication.


 C.     Holders of Claims Entitled to Vote on the Plan of Adjustment

         Pursuant to PROMESA Title III and the Bankruptcy Code, only holders of Allowed Claims
 in classes of claims that are impaired and are not deemed to have automatically accepted or rejected
 a proposed Title III plan of adjustment are entitled to vote to accept or reject a proposed plan of
 adjustment. Classes of claims in which the holders of claims are unimpaired under the Plan are
 deemed to have accepted the Plan and are not entitled to vote to accept or reject the Plan. Classes
 of claims in which the holders of claims will receive no recovery under the plan of adjustment are
 deemed to have rejected the plan of adjustment and are also not entitled to vote.

         Below is a summary of Classes of Claims (a) entitled to vote to accept or reject the Plan,
 (b) entitled to make a distribution election, and (c) not entitled to vote to accept or reject the Plan:

                                                                                                Non-
                                                                              Eligible for
                                                     Class        Ballot                       Voting
                                                                               Election
                                                                                               Notice
  Vintage PBA Bond Claims                         Class 1           X              -             -
  Vintage PBA Bond Claims (Insured)*              Class 2           X              -              -
  Retail Vintage PBA Bond Claims                  Class 3           X              -              -
  2011 PBA Bond Claims                            Class 4           X              -              -
  Retail 2011 PBA Bond Claims                     Class 5           X              -              -
  2012 PBA Bond Claims                            Class 6           X              -              -
  Retail 2012 PBA Bond Claims                     Class 7           X              -              -
  PBA/DRA Secured Claim                           Class 8            -             -             X
  PBA General Unsecured Claims                    Class 9            -             -             X
  PBA/DRA Unsecured Claim                         Class 10           -             -             X
  Vintage CW Bond Claims                          Class 11          X              X              -
  Retail Vintage CW Bond Claims                   Class 12          X              X              -
  Vintage CW Bond Claims (Insured)*               Class 13          X              -              -
  Vintage CW Bond Claims (Taxable Election)       Class 14           -             -              -
  Vintage CW Guarantee Bond Claims                Class 15          X              X              -
  Vintage CW Guarantee Bond Claims (Insured)*     Class 16          X              -              -
  Vintage CW Guarantee Bond Claims (Taxable
                                                                     -             -              -
  Election)                                       Class 17
  2011 CW Bond Claims                             Class 18          X              X              -
  Retail 2011 CW Bond Claims                      Class 19          X              X              -
  2011 CW Bond Claims (Insured)*                  Class 20          X              -              -
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                                                                                       Non-
                                                                      Eligible for
                                                    Class    Ballot                   Voting
                                                                       Election
                                                                                      Notice
 2011 CW Bond Claims (Taxable Election)          Class 21      -           -            -
 2011 CW Guarantee Bond Claims                   Class 22      X           X            -
 2011 CW Guarantee Bond Claims (Taxable
                                                               -           -            -
 Election)                                       Class 23
 2011 CW Series D/E/PIB Bond Claims              Class 24      X           X            -
 2011 CW Series D/E/PIB Bond Claims (Insured)*   Class 25      X           -            -
 Retail 2011 CW Series D/E/PIB Bond Claims       Class 26      X           X            -
 2011 CW Series D/E/PIB Bond Claims (Taxable
                                                               -           -            -
 Election)                                       Class 27
 2012 CW Bond Claims                             Class 28      X           X            -
 Retail 2012 CW Bond Claims                      Class 29      X           X            -
 2012 CW Bond Claims (Insured)*                  Class 30      X           -            -
 2012 CW Bond Claims (Taxable Election)          Class 31      -           -            -
 2012 CW Guarantee Bond Claims                   Class 32      X           X            -
 2012 CW Guarantee Bond Claims (Taxable
                                                               -           -            -
 Election)                                       Class 33
 2014 CW Bond Claims                             Class 34      X           X            -
 Retail 2014 CW Bond Claims                      Class 35      X           X            -
 2014 CW Bond Claims (Taxable Election)          Class 36      -           -            -
 2014 CW Guarantee Bond Claims                   Class 37      X           X            -
 2014 CW Guarantee Bond Claims (Taxable
                                                               -           -            -
 Election)                                       Class 38
 Retiree Claims                                  Class 39A     X           -            -
 Active ERS Participant Claims                   Class 39B     X           -            -
 Active JRS Participant Claims                   Class 39C     X           -            -
 Active TRS Participant Claims                   Class 39D     X           -            -
 System 2000 Participant Claims                  Class 39E     X           -            -
 AFSCME Employee Claims                          Class 40      X           -            -
 CW General Unsecured Claims                     Class 41      X           X            -
 CW/HTA Claims                                   Class 42      X           -            -
 CW/Convention Center Claims                     Class 43      X           -            -
 CW/PRIFA Rum Tax Claims                         Class 44      X           -            -
 CW/MBA Claims                                   Class 45      X           -            -
 CW Appropriations Claims                        Class 46      -           -            X
 CW 510(b) Subordinated Claims                   Class 47      -           -            X
 ERS Bond Claims                                 Class 48      X           X            -
 Settling ERS Bond Claims                        Class 49      -           -            -
 ERS General Unsecured Claims                    Class 50      X           X            -

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                                                                                             Non-
                                                                            Eligible for
                                                   Class        Ballot                      Voting
                                                                             Election
                                                                                            Notice
  Gracia-Gracia Claims                          Class 51           -             -            X
  Convenience Claims                            Class 52           -             -            X

        * The Plan provides that, for voting purposes, the “holder” of an insured Bond Claim shall
 be determined in accordance with Section 301(c)(3) of PROMESA and any law or governing
 documents applicable to such insured Bond Claims.

         Holders of Allowed Claims in Classes 8 (PBA/DRA Secured Claim), 10 (PBA/DRA
 Unsecured Claim), 46 (CW Appropriations Claims), and 47 (CW 510(b) Subordinated Claims)
 will not receive a distribution pursuant to the Plan and shall be deemed to have rejected the Plan
 and are not entitled to vote.

        Holders of Allowed Claims in Classes 9 (PBA General Unsecured Claims), 51 (Gracia-
 Gracia Claims), and 52 (Convenience Claims) are unimpaired pursuant to the Plan and shall be
 deemed to accept the Plan and are not entitled to vote.

         Bankruptcy Code section 1126 defines “acceptance” of a plan of adjustment by a class of
 claims as acceptance by creditors in that class holding at least two-thirds in dollar amount and
 more than one-half in number of the allowed claims of such class held by creditors that voted to
 accept or reject the Plan. Thus, acceptance of the Plan by Claims in each Class entitled to vote on
 the Plan will occur only if at least two-thirds in dollar amount and a majority in number of the
 holders of Allowed Claims in such Class that have actually voted their Ballots have voted in favor
 of the Plan. A vote may be disregarded if the Title III Court determines, after notice and a hearing,
 that the acceptance or rejection was not solicited or procured in good faith or in accordance with
 the applicable provisions of PROMESA or the Bankruptcy Code.

         It is important that holders of Claims in the Classes in the chart above that are eligible to
 vote exercise their right to vote to accept or reject the Plan. EVEN IF YOU DO NOT VOTE OR
 DO NOT HAVE THE RIGHT TO VOTE TO ACCEPT THE PLAN, YOU MAY BE
 BOUND BY THE PLAN IF IT IS CONFIRMED BY THE TITLE III COURT. The amount
 and number of votes required for acceptance or rejection of the Plan by a Class are computed on
 the basis of Claims actually voting to accept or reject the Plan. There are no quorum requirements
 with respect to the number of Claims in a Class that actually vote.

        If at least one impaired class of claims accepts a Title III plan of adjustment (without
 counting the votes of insiders), Bankruptcy Code section 1129(b), made applicable to Title III of
 PROMESA pursuant to PROMESA section 301(a), permits the confirmation of the plan of
 adjustment under certain conditions, notwithstanding the rejection of the plan of adjustment by
 one or more other impaired classes of claims. Under that section, a plan of adjustment may be
 confirmed by a court if the plan of adjustment does not “discriminate unfairly” and is “fair and
 equitable” with respect to each rejecting class. See section VII.C of this Disclosure Statement for
 more information.


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       The Debtors’ determination as to whether to request confirmation of the Plan pursuant to
 Bankruptcy Code section 1129(b) will be announced prior to or at the Confirmation Hearing.

 D.     Solicitation and Voting Procedures

         On February 28, 2020, the Debtors filed the Disclosure Statement Approval Motion,
 seeking an order from the Title III Court (i) approving the proposed Disclosure Statement, (ii)
 fixing a Voting Record Date (as defined therein) for voting on the Plan, (iii) approving the
 Confirmation Hearing Notice (as defined therein), (iv) approving the proposed contents of the
 Solicitation Package (as defined therein) and procedures for distribution thereof, (v) approving the
 forms of Ballots and Election Notices, and establishing solicitation, voting, distribution election,
 and balloting procedures, (vi) approving the form and manner of Notice of Non-Voting Status (as
 defined therein), (vii) fixing the Voting Deadline (as defined therein) and Election Deadline (as
 defined therein), and (viii) approving procedures for tabulating creditor votes. On __________,
 2020, the Title III Court entered the Disclosure Statement Order.

         For more information regarding the solicitation and voting procedures surrounding the
 Plan, see the Disclosure Statement Order.

 E.     Confirmation Hearing and Deadline for Objections to Confirmation

         Pursuant to Bankruptcy Code section 1128, the Title III Court has scheduled the
 Confirmation Hearing on whether the Debtors have satisfied the confirmation requirements of
 PROMESA section 314 and the incorporated subsections of Bankruptcy Code section 1129 on
 [_____] (Atlantic Standard Time) before the Honorable Laura Taylor Swain, United States District
 Judge designated by Chief Justice John Roberts of the U.S. Supreme Court to preside over the
 Commonwealth’s Title III Case, Clemente Ruiz Nazario U.S. Courthouse, 150 Carlos Chardón
 Avenue, San Juan, P.R. 00918 at a courtroom to be later determined. The Confirmation Hearing
 may be adjourned from time to time without notice except as given at the Confirmation Hearing
 or at any subsequent adjourned Confirmation Hearing.

          The Title III Court has (i) established a Voting Deadline and Election Deadline of no later
 than 5:00 p.m. (Atlantic Standard Time) on [September 18, 2020], and (ii) ordered that objections,
 if any, to confirmation of the Plan be filed and served on or before [________] (Atlantic Standard
 Time).



                           [Remainder of Page Left Intentionally Blank]




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                                 III.    Overview of the Debtors

 A.     General Information

        1.      The Commonwealth

        Puerto Rico has an area of approximately 3,500 square miles and a population estimated
 by the U.S. Census Bureau of approximately 3.2 million as of July 1, 2019.

         Puerto Rico came under U.S. sovereignty pursuant to the Treaty of Paris of 1898. In 1917,
 pursuant to the Jones-Shafroth Act, Pub. L. 64-368, citizens of Puerto Rico became citizens of the
 U.S. In 1950, the U.S. Congress authorized Puerto Rico to approve its own Constitution, which
 was drafted by a popularly elected constitutional convention, approved in a special referendum by
 the people of Puerto Rico, amended and ratified by the U.S. Congress, and subsequently approved
 by the President of the U.S. in 1952. The Commonwealth Constitution provides for the separation
 of powers between the executive, legislative and judicial branches of government. The Legislature
 consists of a Senate and a House of Representatives, the members of which are elected for four-
 year terms.

         Since the enactment of PROMESA, Puerto Rico has had four Governors. The first,
 Alejandro García-Padilla, was elected Governor on November 6, 2012, and was sworn into office
 for a four-year term on January 2, 2013. The second, Ricardo A. Rosselló Nevares, was elected
 Governor on November 8, 2016 and was sworn into office for a four-year term on January 2, 2017.
 On July 24, 2019, then-Governor Rosselló announced his resignation effective as of August 2,
 2019. Before his resignation became effective, then-Governor Rosselló appointed former resident
 commissioner Pedro Pierluisi as Secretary of State, which is the first official in the line of
 succession to Governor under the Commonwealth Constitution. Despite being confirmed by the
 Puerto Rico House of Representatives (but not the Senate), Mr. Pierluisi was sworn in as acting
 Governor on August 2, 2019. But on August 7, 2019, the Puerto Rico Supreme Court unanimously
 determined that Mr. Pierluisi was unconstitutionally sworn into office as Governor and Mr.
 Pierluisi promptly resigned. Later that same day, the Secretary of Justice of Puerto Rico, Wanda
 Vázquez, was sworn in as Governor pursuant to the Commonwealth Constitution to complete
 former Governor Rosselló’s term through 2020. As of the date hereof, Governor Vázquez serves
 as Governor for the Commonwealth.

          While the people of Puerto Rico are citizens of the United States under the U.S.
 Constitution, the residents of Puerto Rico have no direct representation in the federal government.
 Puerto Rico has no electors in the Electoral College to vote for president; however, the people can
 participate in presidential nominating primaries. Consistent with the treatment for all U.S.
 territories, under current Congressional rules, Puerto Rico’s representation in Congress is limited
 to a single resident commissioner who does not possess the same parliamentary rights afforded to
 other members of Congress. While Puerto Rico’s resident commissioner can serve and vote in
 committees, as well as when the House convenes as a Committee of the Whole, if the resident
 commissioner’s vote is determinative, a revote is taken without the resident commissioner’s
 participation. The resident commissioner is not permitted to vote on the House floor, is not
 recorded on the Clerk’s roll of Members-elect, and may not vote for Speaker or file or sign

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 discharge petitions. In addition, federal taxes, such as individual income taxes, except payroll
 taxes such as Social Security and Medicare taxes, are generally not levied on Puerto Rico source
 income.62

       As a result of the current fiscal crisis that affects the Commonwealth, the United States
 Congress enacted PROMESA, which established the Oversight Board as an entity within the
 Commonwealth government with broad powers to exercise budgeting and financial controls over
 the Commonwealth’s fiscal affairs and to restructure its debt.

         The Commonwealth’s Central Government.                   The central government of the
 Commonwealth (the “Central Government”) provides essential services to the people of Puerto
 Rico through agencies and other entities. The list of entities that comprise the Central Government
 is attached as Exhibit I to this Disclosure Statement.63 The Central Government accounts for the
 costs of these essential services through its General Fund, Special Revenue Funds, and federal
 funds.

         The Commonwealth’s Public Corporations and Instrumentalities.                     In the
 Commonwealth, many governmental and quasi-governmental functions are performed by legally
 separate public corporations created by the Legislature with varying degrees of independence from
 the Commonwealth. Public corporations may obtain revenues from rates charged for services or
 products but, as described further below, many receive sizable subsidies from the Commonwealth.
 Most public corporations are governed by boards whose members are appointed by the Governor
 with the advice and consent of the Puerto Rico Senate. Capital improvements of most of the larger
 public corporations have been financed historically by bonds issued under trust agreements or
 bond resolutions or by loan agreements.

         Through the years, many public corporations and other instrumentalities have traditionally
 relied on subsidies, in the form of appropriations from the General Fund of the Commonwealth or
 appropriations of Commonwealth taxes or other revenues, to fund their operations. Certain of these
 instrumentalities, including the Puerto Rico Health Insurance Administration (“ASES”), the Puerto
 Rico Medical Services Administration, the Puerto Rico Integrated Transit Authority (“PRITA”),
 the Puerto Rico and Island Municipalities Maritime Transport Authority, the Metropolitan Bus
 Authority (“MBA”), HTA and the University of Puerto Rico (“UPR”), provide services to the
 residents of the Commonwealth and rely heavily on such subsidies to fund their day-to-day
 operations. Other subsidized public corporations provide services to the Central Government and
 other government entities, which in turn provide services to the Commonwealth residents.

        Commonwealth appropriations and/or tax revenues have also been used as a principal
 source of funding for certain public corporations dedicated to fiscal and advisory functions (e.g.,
 the Puerto Rico Fiscal Agency and Financial Advisory Authority (“AAFAF”), infrastructure
 development (e.g., the Puerto Rico Infrastructure Financing Authority (“PRIFA”), and the Puerto
 Rico Public Private Partnerships Authority), air and maritime transportation and logistics (e.g., the
 62
      The information is based on AAFAF’s (as defined below) advice as to the contents of the upcoming Commonwealth
      Financial Statement.
 63
      The list is subject to change.

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 Puerto Rico Ports Authority), and economic, tourism and cultural promotion (e.g., the Puerto Rico
 Tourism Company (“PRTC”), the Puerto Rico Convention Center District Authority (“CCDA”),
 the Puerto Rico Industrial Development Company (“PRIDCO”) (primarily with respect to the
 Special Fund for Economic Development and the Rums of Puerto Rico Program) and the Institute
 of Puerto Rican Culture).

         Other public corporations, such as COFINA and the Puerto Rico Public Finance
 Corporation (“PFC”), have been created as financing vehicles for the Commonwealth and have
 issued debt backed by taxes (in the case of COFINA) or appropriations (in the case of PFC) as
 their sole source of repayment.

         Notwithstanding the Commonwealth’s substantial grants of support, certain of these public
 corporations suffer from significant annual operating losses and carry material amounts of
 accounts payable. If the Commonwealth’s financial condition is not improved by the Plan and the
 reforms the Oversight Board has built into its certified fiscal plans and budgets, it may be unable
 to continue to support these operations at the same level without taking action to reduce other
 expenses or increase revenues.

         The Commonwealth has approximately $13.4 billion of GO debt and approximately $5
 billion of debt guaranteed by its good faith, credit and taxing power. The holders of the GO debt
 and the Commonwealth guaranteed debt claim they have (i) a first priority right to all “available
 revenues” of the Commonwealth, and (ii) liens against certain property taxes and the funds
 historically conditionally appropriated to certain instrumentalities subject to Article VI, section 8
 of the Commonwealth Constitution. Under section 8, when “available revenues including surplus
 for any fiscal year are insufficient to meet the appropriations made for that year, interest on the
 public debt and amortization thereof shall first be paid, and other disbursements shall thereafter be
 made in accordance with the order of priorities established by law.” Holders of the GO debt and
 Commonwealth guaranteed debt assert that until all their accrued interest and matured principal is
 paid in full, the monies otherwise historically conditionally appropriated to HTA and other entities
 subject to Article VI, section 8 of the Commonwealth Constitution constitute “available revenues”
 payable to those holders.

         PROMESA section 202 grants the Oversight Board power over the budget. The Oversight
 Board believes PROMESA section 4 preempts inconsistent Commonwealth laws, which includes
 laws enacted prior to PROMESA that historically conditionally appropriated certain
 Commonwealth monies to its instrumentalities. Even if the Commonwealth statutes are not
 preempted, they allow for these historically conditionally appropriated monies to be used by the
 Commonwealth to pay GO debt and Commonwealth-guaranteed debt. The Commonwealth has
 not used such monies to pay GO debt since June 30, 2016, because (a) the enforceability of the
 priority of GO debt or Commonwealth-guaranteed debt is in Title III has not been decided, and/or
 (b) the Commonwealth’s police power entitles it to use available revenues for the public health,
 safety, and welfare. Notably, the U.S. Congress found in PROMESA section 405(m)(2) that the
 Commonwealth was unable to provide its citizens with effective services, which the Oversight
 Board believes justifies the Commonwealth’s use of police power to fund services for its citizens
 as opposed to debt payments.


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            2.       ERS

         Prior to the enactment of Act 106-2017 on August 23, 2017 (“Act 106”),64 ERS
 administered a cost-sharing, multiple-employer defined benefit and hybrid defined contribution
 plan. The benefits provided to participating employees of ERS were established by law. As a
 cost-sharing plan, the plan’s assets were not legally segregated and may therefore have been used
 to pay benefits to the retirees of any participating employer. Prior to the amendments made in
 2013 by Act No. 3-2013 (“Act 3-2013”), ERS consisted of different benefit structures. Members
 who began to participate before January 1, 2000, participated in a defined benefit program.
 Members who began to participate prior to April 1, 1990 (“Act 447 Participants”), were entitled
 to the highest benefits structure, while those who began to participate on or after April 1, 1990
 (“Act 1 Participants”), were subject to a longer vesting period and a reduced level of benefits, as
 provided by Act No. 1 of February 16, 1990 (“Act 1 of 1990”).

         In 1999, Act 447 was amended to close the defined benefit program for new participants
 and, prospectively, establish a new benefit structure similar to a cash balance plan (this new benefit
 structure is referred to as “System 2000”). Members who began to participate on or after January
 1, 2000 (“System 2000 Participants”) participated solely in System 2000. Prior to the amendment
 made by Act 3-2013 (described below), under the System 2000 benefit structure, a participant was
 entitled to receive a lump-sum payment, which could be received in full or used to purchase an
 annuity from a third party, based solely on the amounts contributed in cash by such participant and
 credited earnings on such cash. System 2000 Participants cash balance accounts did not benefit
 from any Employer Contributions. Employer Contributions made on account of System 2000
 Participants were used to reduce the accumulated unfunded pension benefit obligations of ERS.

        System 2000 was not established as a separate plan, however, and there are no segregated
 accounts for System 2000 Participants. Contributions received from System 2000 Participants and
 Employer Contributions made on account of System 2000 Participants were pooled and invested
 by ERS together with the assets corresponding to the defined benefit structure. Thus, future benefit
 payments under the defined benefit structure of Act 447 and Act 1 of 1990 and the defined
 contribution structure of System 2000, as amended by Act 3-2013, were payable, and were paid,
 from the same pool of assets of ERS.

         In April 2013, the Commonwealth enacted Act 3-2013 as a comprehensive reform of ERS
 to address the growing funding shortfalls that threatened the viability of ERS. The most important
 aspects of the changes effected to ERS by Act 3-2013 were the following: (i) in the case of active
 employees who were Act 447 Participants and Act 1 Participants (meaning, those entitled to the
 defined benefit plan, hired prior to January 1, 2000), all defined benefits accrued through June 30,
 2013 were frozen, and thereafter all future benefits accrue under a defined contribution formula
 which will be paid at retirement through a lifetime annuity similar to System 2000; (ii) the
 retirement age for Act 447 Participants gradually increases from age 58 to age 61; (iii) the
 retirement age for System 2000 Participants gradually increases from age 60 to age 65; (iv) the

 64
      Prior to the enactment of Act 106, the governance of ERS was vested in a Board of Trustees, which set policies and
      oversaw the operations consistent with applicable law. Act 106 dissolved the Board of Trustees and created a new
      Retirement Board, as discussed below.

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 retirement age for new employees increased to age 67, except for new state and municipal police
 officers, firefighters, and custody officers, which will be age 58; (v) the employee contribution
 increased from 8.275% to 10%; (vi) in the case of System 2000 Participants, the retirement benefits
 will no longer be paid as a lump sum payment and instead will be paid in the form of a lifetime
 annuity; (vii) with respect to post-employment benefits, the Christmas bonus payable to current
 retirees is reduced from $600 to $200 (and is eliminated for future retirees) and the summer bonus
 ($200) is eliminated; (viii) future retirees will not receive any other post-employment benefits; and
 (ix) disability and survivor benefits are modified.

         As an integral part of the Act 3-2013 reform, the Commonwealth recognized that an
 additional annual employer contribution was necessary to maintain sufficient system assets to be
 able to meet benefit payments when due and maintain a minimum asset balance. As such, Act 3-
 2013 established an Additional Uniform Contribution (“ERS-AUC”) for ERS that the
 Commonwealth and other participating employers would be required to make annually. The ERS-
 AUC was established at $120 million for fiscal year 2014, and for fiscal year 2015 through 2033
 was to be the amount certified by ERS’s external actuary at least 120 days prior to the start of each
 fiscal year as the amount necessary to avoid having the projected gross assets of ERS during any
 subsequent fiscal year fall below $1 billion. Due to the worsening fiscal crisis since the enactment
 of Act 3-2013, however, while certain public corporations and municipalities made their ERA-
 AUC payments, the Commonwealth and other participating employers were unable to pay most of
 the ERS-AUC and, as a result, ERS projected that it would deplete its liquid assets.

         In August 2017, the Legislature enacted Act 106, pursuant to which the Commonwealth
 adopted a “pay-as-you-go” system (“PayGo”) for the payment of pension benefits to retirees of all
 three Retirement Systems. Act 106 contemplates that the three Retirement Systems would transfer
 their remaining liquid assets to a segregated PayGo account under the custody of the Department
 of Treasury. The Commonwealth and other participating instrumentalities were to contribute to
 the PayGo system in lieu of the prior statutory employer contributions payable to the Retirement
 Systems to reimburse pension payments made by the Commonwealth to retired participants in the
 Retirement Systems. Legally separate entities whose employees were receiving pension payments,
 such as the municipalities, were required to reimburse the Commonwealth the amounts necessary
 to meet pension benefit payments to their respective retirees. The fiscal year 2020 Certified Budget
 for the Commonwealth includes approximately $2.575 billion to cover the expense, of which
 $1.997 billion is paid for out of the General Fund budget and $579 million is paid for out of special
 revenue budgets funded by reimbursements from participating public corporations and municipal
 employers, pursuant to Act 106.

         Act 106 also established a new defined contribution plan for all ERS active participants, as
 well as TRS’s Act 160 participants (discussed below). Generally, the required employee
 contribution to their defined contribution plan accounts is 8.5%, and such contributions are to be
 held in individual segregated accounts. Act 106 sets forth criminal penalties for employers that
 knowingly, and without cause, fail to pay PayGo contributions or remit employee payroll
 withholdings to the plan. To date, the Commonwealth has not established the individual retirement
 accounts mandated by Act 106. See section V.F.3.d) of this Disclosure Statement.



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         Act 106 created a thirteen-member Retirement Board for ERS, TRS and JRS composed of:
 (1) the Executive Director of AAFAF, (2) the Secretary of the Treasury, (3) the Director of the
 Puerto Rico Office of Management and Budget (“OMB”), (4) the Director of the Human Resources
 and Transformation Office, (5) an active teacher of the Department of Education designated by the
 Governor, (6) a representative of public corporations designated by the Governor, (7) a
 representative from the Judicial Branch designated by the Chief Justice, (8) the President of the
 Federation of Mayors, (9) the President of the Association of Mayors, (10) a TRS retiree
 designated by the Governor, (11) an ERS retiree designated by the Governor, (12) a representative
 of police officers designated by the Governor, and (13) a representative of the public interest
 designated by the Governor. All powers of the trustee boards of ERS, TRS and JRS were
 transferred to the new Retirement Board and the independent boards were dissolved.

         In 2013, the Commonwealth attempted to reform the TRS and JRS in a similar manner to
 the ERS through two separate statutes. Before 2013, the TRS consisted of a defined benefit
 pension plan. Act 160-2013 (“Act 160”), however, sought to freeze the TRS’s defined benefit
 system and replace it with a defined contribution plan. The Puerto Rico Supreme Court rejected
 part of Act 160 and, as a result, the TRS administers two benefit structures: (i) a defined benefit
 plan for active employees hired on or before July 31, 2014, and (ii) a defined contribution plan for
 employees hired on or after August 1, 2014 (“Act 160 Participants”), which were then transferred
 to the defined contribution plan under Act 106.

         Act 162-2013, on the other hand, sought to freeze the defined benefit plan under JRS and
 establish a new hybrid retirement system for judges enrolled in the JRS. In 2014, the Puerto Rico
 Supreme Court also rejected several portions of Act 162-2013. Therefore, the JRS is now
 composed of three groups of participants: (i) judges appointed on or prior to December 23, 2013,
 which participate in a defined benefit plan; (ii) judges appointed between December 24, 2013, and
 June 30, 2014, which are covered by a defined benefit plan, but with a different benefit structure
 than the one available to the first group; and (iii) judges appointed on or after July 1, 2014, which
 participate in a hybrid program with defined benefit and defined contribution components.

         Consequently, the pension benefits ascribed to defined benefit participants in the TRS and
 JRS pension plans prior to 2014 have not been frozen, as discussed above. Pursuant to the Plan,
 as described below, all remaining defined benefits that continue to accrue under TRS and JRS will
 be frozen, and participants will be enrolled in the defined contribution plan under Act 106, or
 similar defined contribution plans.

        In May 2019, the Commonwealth enacted Act 29-2019 which, among other things,
 rendered the Commonwealth solely responsible for PayGo payments to municipality retirees and
 eliminated the municipalities’ obligation to reimburse the Commonwealth. On July 3, 2019, the
 Oversight Board commenced an action against the Governor to block enforcement or nullify Act
 29 on several grounds including that the Commonwealth violated PROMESA sections 108(a)(2),
 204, and 207.65


 65
      See section IV.C.3(e) of this Disclosure Statement for a discussion of the Oversight Board’s action challenging
      Act.29-2019.

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         In July 2019, the Commonwealth enacted Act 71-2019, which granted the federal Social
 Security benefit to the members of the rank and file of the Puerto Rico Police Bureau. This Law
 reduces from 8.5% to 2.3% the employee’s contribution to his or her defined contribution account
 created under Law 106-2017. This 6.2% reduction is the minimum contribution that the employee
 must make to be eligible for Social Security. In the case of those members of the rank and file of
 the Puerto Rico Police Bureau who have less than ten (10) years left to qualify for mandatory
 retirement as established in Law No. 447 of May 15, 1951, as amended, the reduction will apply
 optionally once they state that they wish to benefit from it within the term provided therefor.

         ERS has approximately $3.17 billion of bond debt which the ERS bondholders assert is
 secured by certain assets at ERS and employer contributions to ERS. While Act 106 terminated
 employer contributions to ERS, the ERS bondholders asserted the new PayGo payments are the
 equivalent of employer contributions and they claim them as their collateral. On June 27, 2019,
 however, the Title III Court ruled the ERS bondholders do not have a perfected security interest in
 any post-petition employer contributions due to Bankruptcy Code section 552, and the First Circuit
 affirmed on January 30, 2020.66 Previously, the Title III Court had ruled the ERS bondholders had
 never properly perfected any of their security interests but was reversed by the U.S. Court of
 Appeals for the First Circuit. The ERS bondholders have also asserted takings claims against the
 Commonwealth and the U.S. Government for having deprived them unconstitutionally of their
 original employer contributions.

            3.       PBA

         PBA is a public corporation created by Act No. 56 of June 19, 1958 (as amended, the “PBA
 Enabling Act”). PBA was created to design, construct, administer, and provide maintenance to
 office buildings, courts, warehouses, schools, health care facilities, welfare facilities, shops, and
 related facilities leased to the Commonwealth or any of its departments, agencies,
 instrumentalities, public corporations, or municipalities. The annual rent for each leased building
 is based on the amounts needed by PBA to cover the payment of:

        1. Principal, interest and other amortization requirements of the notes and bonds issued to
           finance the buildings;

        2. Operating and maintenance expenses of the buildings, including a reasonable proportional
           share of administrative expenses, excluding depreciation; and

        3. Costs of equipment replacement and extraordinary repairs.

        Component (1), referred to as “Debt Service Rent” under applicable leases between PBA
 and the Commonwealth, is tied to the annual principal and interest payments due on the PBA
 Bonds. Components (2) and (3), described above, are subject to escalation to permit PBA to
 recover the costs incurred. Amounts due from departments and governmental agencies of the
 66
      Opinion and Order Granting Plaintiff’s Motion for Summary Judgment as to Count III and Counterclaims II and
      III, and Denying Defendants’ Motion for Summary Judgment, dated June 27, 2019 [Case No. 17-03566, ECF No.
      251], 385 F. Supp. 3d 138 (D.P.R. 2019), aff’d In re Fin. Oversight & Mgmt. Bd. for P.R., 948 F.3d 457 (1st Cir.
      2020).

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 Commonwealth may be subject to periodic revisions and/or adjustments based on the availability
 of funds at the Commonwealth level.

        The PBA Enabling Act provides that the good faith and credit of the Commonwealth is
 pledged for the payment of rent under any lease agreement executed pursuant to the PBA Enabling
 Act with any department of the Commonwealth. The Enabling Act also provides that the
 Department of the Treasury of the Commonwealth of Puerto Rico (the “Treasury Department”)
 will make advances to PBA for any unpaid portion of rent payable to PBA by any agency or
 instrumentality of the Commonwealth that has entered into lease agreements with PBA. Such
 advances are recorded as a reduction of accounts receivable since the responsibility of
 reimbursement belongs to the agency lessee in accordance with the PBA Enabling Act.

        PBA was afforded broad powers under the PBA Enabling Act, including the power to make
 and execute contracts; acquire properties (including by eminent domain); prepare plans, projects,
 and cost estimates for construction, improvement, or repair of any property or facility; contract
 with Commonwealth departments, agencies, instrumentalities, public corporations or officials, or
 any private persons or entities with regard to the administration of any properties or facilities of
 PBA; and borrow money and issue bonds.

        PBA is governed by a seven-member board comprised of the Secretary of the Department
 of Transportation and Public Works (“DTPW”), the Secretary of the Department of Education of
 the Commonwealth, the President of the GDB, and four members appointed by the Governor of
 Puerto Rico with the advice and consent of the Senate with staggered six-year terms. As provided
 under Act No. 2 of 2017, the board member position previously occupied by the President of the
 GDB is currently held by the Executive Director of AAFAF as of January 18, 2017.67

         PBA has constructed over 200 office buildings, including police stations, courthouses, and
 related parking facilities, with approximately 6.8 million square feet of rentable space for the use
 of and lease by various departments, agencies, and instrumentalities of the Commonwealth, among
 others.

         PBA has built 376 school buildings with approximately 20.3 million square feet of rentable
 space. All of the space part of the school buildings program is leased to the Department of
 Education. The construction cost for the school building program is in excess of $2.5 billion. The
 funding for the construction was primarily provided by PBA through the issuance of Public
 Education and Health Facilities Bonds under the 1978 Bond Resolution and Government Facilities
 Bonds under the 1995 Bond Resolution. Additional school building and improvement plans are
 slated to occur.


 67
   On July 16, 2019, PBA Executive Director Josean Nazario resigned over concerns of a potential conflict of interest
 in a contract PBA awarded to Elite General Contractors, Inc. (“EGC”) for maintenance work at Puerto Rico public
 schools in 2017-2018. Nazario had previously been a representative of EGC and at the time of the awarding of the
 contract, was a deputy director at PBA. Nazario, whose sister-in-law owns EGC, was referred to the Government
 Ethics Office after administrative review determined that he had failed to ask for a waiver, recuse himself from the
 bidding process, or inform his superiors of his potential conflict of interest, which were required by local law and
 administration policy.

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          PBA has also constructed 18 health facilities with approximately 1.5 million square feet of
 rentable space which has been leased to the Department of Health. The construction of the health
 facilities to date has cost approximately $203 million, provided primarily by PBA through the
 issuance of bonds. In conjunction with the Department of Correction and Rehabilitation (the
 “Department of Correction”), PBA began a program in 1994 to provide construction, operation,
 and maintenance of correctional facilities to be leased to the Department of Correction by PBA.
 PBA constructed eight correctional facilities with approximately 1.7 million square feet of rentable
 space that cost approximately $287 million. The facilities are operated by the Department of
 Correction.

        PBA has also constructed office buildings, schools, and health facilities that are financed
 by federal grants and Commonwealth appropriations. PBA is also able to undertake construction
 on behalf of or as the agent of other public agencies of the Commonwealth.

         As of February 2017, PBA had approximately $4 billion in aggregate principal amount of
 bonds outstanding, which are guaranteed by the Commonwealth. The PBA Bonds are the subject
 of various claims to be resolved under the Plan. Pursuant to the PBA Enabling Act and the
 resolutions governing PBA bond issuances, the PBA Bonds are payable from rent payments under
 the PBA’s leases (and a few subleases) to tenants (the “PBA Leases”), and that rent is required to
 be sufficient, in the aggregate, to pay, when due, the principal of and interest on the PBA Bonds.
 The Oversight Board has alleged, however, that the PBA Leases are not true leases and obligations
 purportedly due thereunder are simply mischaracterized general obligations of the
 Commonwealth. See Complaint [Adv. Proc. No. 18-00149, ECF No. 1] (the “PBA Lease
 Complaint”). PBA Bondholders have disputed the allegations raised in the PBA Lease Complaint.
 See, e.g., Answers to Complaint [Adv. Proc. No. 18-000149, ECF Nos. 56-60, 67]. If the Plan is
 confirmed, the Oversight Board believes no further litigation of any dispute regarding the validity,
 priority, or secured status of the GO/PBA/PRIFA BANs claims is necessary as the Plan will effect
 a global settlement of any such dispute that is binding on all parties in interest in the Title III Cases.

 B.         Debtors’ Financial Obligations as of the Petition Date

            1.        Bond Resolutions and Outstanding Bonds

                               Commonwealth’s Public Debt

         The Commonwealth Constitution includes specific provisions regarding “public debt,”68
 which includes (i) GO Bonds and notes issued by the Commonwealth backed by the good faith,
 credit and taxing power of the Commonwealth and (ii) bonds and notes issued by its public
 instrumentalities and guaranteed by the good faith, credit and taxing power of the Commonwealth
 (the “Commonwealth-Guaranteed Bonds”).

        Section 8 of Article VI of the Commonwealth Constitution provides “interest on the public
 debt and amortization thereof shall first be paid, and other disbursements shall thereafter be made
 in accordance with the order of priorities established by law.” If the Commonwealth has

 68
      “Public debt” is also referred to herein as “General Obligations.”

                                                             50
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 insufficient funds to pay all approved appropriations for a given fiscal year, the Commonwealth
 Constitution requires that available resources of the Commonwealth be used to pay “public debt”
 before being used for other purposes. P.R. Const. art. VI, § 8. Furthermore, the Commonwealth
 Constitution empowers a holder of bonds or notes evidencing “public debt” to bring suit against
 the Secretary of the Treasury to require application of available Commonwealth resources to the
 payment of principal of and interest on such public debt when due. P.R. Const. art. VI, § 2. The
 Commonwealth Constitution also provides for a limit on “public debt.” The Commonwealth may
 not issue GO debt if the principal and interest on all such debt payable in any fiscal year, together
 with any amount paid by the Commonwealth in the prior fiscal year on account of bonds or notes
 guaranteed by the Commonwealth,69 exceed 15% of the average annual internal revenues of the
 Commonwealth in the two preceding fiscal years (internal revenues consist principally of income
 taxes, property taxes, excise taxes, the portion of SUT not pledged to COFINA). P.R. Const. art.
 VI, § 2.

          Historically Conditionally Appropriated Monies Subject to Retention. Certain excise and
 other taxes, and fee income of the Commonwealth has been historically conditionally appropriated
 to certain public corporations or other instrumentalities subject to the provision in section 8 of
 Article VI of the Commonwealth Constitution,70 and may be subject to the Commonwealth’s
 police power. These historically conditionally appropriated monies that, by the terms of the
 applicable governing bond documents and statutes, are subject to the Commonwealth’s retention
 include (i) a portion of the federal excise tax on offshore shipments of rum, which is collected by
 the U.S. Government, covered over to the Commonwealth’s Puerto Rico Treasury Department,
 and a portion of the excise tax on petroleum products, both historically conditionally appropriated
 by Commonwealth law to PRIFA; (ii) vehicle license fees, excise taxes on gasoline, gas oil and
 diesel oil, a portion of the excise tax on petroleum products and a portion of the excise tax on
 cigarettes, which were historically conditionally appropriated by Commonwealth law to HTA;71
 (iii) a portion of the excise tax on cigarettes, which was historically conditionally appropriated by
 Commonwealth law to MBA; and (iv) a portion of the hotel room tax, which was historically
 conditionally appropriated by Commonwealth law to CCDA. Since 2015, the Commonwealth has
 been retaining such monies pursuant to its Constitutional powers. The retention and application
 of historically conditionally appropriated monies has been challenged by bondholders.72


 69
      Section 2 of Article VI does not limit the amount of debt that the Commonwealth may guarantee so long as the
      15% debt limitation has not been exceeded. Annual debt service payments on bonds guaranteed by the
      Commonwealth are not included in the calculation of the 15% debt limitation unless the Commonwealth is required
      to make payments under its guarantee. Certain bondholders have alleged that payment of rent by the
      Commonwealth to the PBA under the PBA Leases are payments on account of obligations guaranteed by the
      Commonwealth and thus should be counted under the debt limit. See Omnibus Objection of the Lawful
      Constitutional Debt Coalition, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims
      Filed or Asserted by Holders of Certain Bonds Issued or Guaranteed by the Commonwealth. [ECF No. 9730].
 70
      See Financial Information and Operating Data Report, p.178, COMMONWEALTH OF PUERTO RICO (December 18,
      2016).
 71
      A portion of the vehicle license fees are turned over to PRIFA from HTA pursuant to that certain Financial
      Assistance Agreement, dated as of March 1, 2015, between HTA and PRIFA.
 72
      See, e.g., section III.B.1. and V.E.4. for more information.
                                                             51
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         PROMESA section 202 grants the Oversight Board power over the budget. The Oversight
 Board believes PROMESA section 4 preempts inconsistent Commonwealth laws, which includes
 laws enacted prior to PROMESA that historically conditionally appropriated certain
 Commonwealth monies to its instrumentalities. The historically conditionally appropriated
 monies were retained by the Commonwealth during the Title III cases because the certified fiscal
 plans and budgets did not appropriate those monies to the respective instrumentalities, and
 PROMESA preempted the existing statutes conditionally appropriating such monies to the
 respective instrumentalities. Moreover, the existing statutes were enacted by prior legislatures and
 are not binding on the current legislature, whether preempted or not.

        Bond Resolution. GO Bonds are issued under specific authorizing legislation or Act No.
 33 of December 7, 1942 (as amended, “Act 33”), and pursuant to resolutions authorizing the
 issuance of such bonds.

         Outstanding Bonds and Other Obligations.73 Currently outstanding GO Bonds74 were
 issued between 1998 and 2014, bearing interest rates between 1.86% and 8.00%, and maturing
 between July 1, 2016 and July 1, 2041. As of the Commonwealth Petition Date, the
 Commonwealth had outstanding approximately $12.48 billion aggregate principal amount75 of GO
 Bonds. Approximately $1,355,805,000 of the GO Bonds are insured by Assured Guaranty Corp.,
 Assured Guaranty Municipal Corp. and/or their affiliates (collectively, “Assured”), $578,266,641
 are insured by National Public Finance Guarantee Corp. (“National”), $249,090,000 are insured
 by Financial Guaranty Insurance Co. (“FGIC”), $24,960,000 are insured by Ambac Assurance
 Corp. (“Ambac”), and $100,000,000 are insured by Syncora Guarantee Inc. (“Syncora”). A
 schedule of the Commonwealth’s outstanding GO Bonds is attached as Exhibit H.



 73
       Amounts of outstanding bonds are based on best available public information and may be approximate.
 74
       The Commonwealth’s outstanding GO Bonds consist of the following: (i) Public Improvement Refunding Bonds,
       Series 1998, (ii) Public Improvement Bonds of 1998, (iii) Public Improvement Bonds of 1999, (iv) Public
       Improvement Refunding Bonds, Series 2000, (v) Public Improvement Bonds of 2001, Series A, (vi) Public
       Improvement Refunding Bonds, Series 2001, (vii) Public Improvement Refunding Bonds, Series 2002 A, (viii)
       Public Improvement Bonds of 2002, Series A, (ix) Public Improvement Bonds of 2003, Series A, (x) Public
       Improvement Refunding Bonds, Series 2003 A, (xi) Public Improvement Bonds of 2003, Series C-7, (xii) Public
       Improvement Bonds of 2004, Series A, (xiii) Public Improvement Bonds of 2005, Series A, (xiv) Public
       Improvement Refunding Bonds, Series 2006 A, (xv) Public Improvement Bonds of 2006, Series A, (xvi) Public
       Improvement Refunding Bonds, Series 2006 B, (xvii) Public Improvement Bonds of 2006, Series B, (xviii) Public
       Improvement Bonds of 2007, Series A, (xix) Public Improvement Refunding Bonds, Series 2007A, (xx) Public
       Improvement Refunding Bonds, Series 2007A-4, (xxi) Public Improvement Refunding Bonds, Series 2008 C,
       (xxii) Public Improvement Refunding Bonds, Series 2008 A, (xxiii) Public Improvement Bonds of 2008, Series A,
       (xxiv) Public Improvement Refunding Bonds, Series 2009 A, (xxv) Public Improvement Refunding Bonds, Series
       2009 B, (xxvi) Public Improvement Refunding Bonds, Series 2009 C, (xxvii) Public Improvement Refunding
       Bonds, Series 2011 A, (xxviii) Public Improvement Refunding Bonds, Series 2011 C, (xxix) Public Improvement
       Bonds, Series 2011, (xxx) Public Improvement Refunding Bonds, Series 2011 D, (xxxi) Public Improvement
       Refunding Bonds, Series 2011 E, (xxxii) Public Improvement Refunding Bonds, Series 2012 B, (xxxiii) Public
       Improvement Refunding Bonds, Series 2012 A, and (xxxiv) Public Improvement Refunding Bonds, Series 2014
       A.
 75
      For capital appreciation bonds, this amount includes the accreted value as of the Commonwealth Petition Date.
                                                           52
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        As of the Commonwealth Petition Date, the Commonwealth had outstanding
 approximately $169.4 million aggregate principal amounts of loans from the GDB, which were
 subsequently transferred to the Debt Recovery Authority for the Government Development Bank
 (the “GDB Debt Recovery Authority”) pursuant to GDB’s Qualifying Modification (defined
 below). Such loans were issued by the Commonwealth pursuant to legislation authorizing the
 Commonwealth to issue such debt and to pledge its good faith, credit and taxing power for the
 repayment thereof. These loans bear interest at a variable rate equal to the U.S. Prime Rate, plus
 150 basis points, subject to a floor of 6% and a legal interest rate limit of 12%, and mature on June
 30, 2041, 2042 and 2043. For a summary of the GDB’s Qualifying Modification under Title VI
 of PROMESA, see section V.K.1.g) of this Disclosure Statement.

         On December 26, 2013, the General Services Administration of the Commonwealth
 (“GSA”) entered into a credit agreement with Scotiabank de Puerto Rico, whereby Scotiabank
 extended GSA a non-revolving term loan up to a maximum of $33,270,451 for the purchase of
 four helicopters to be used by the Puerto Rico Police Department. This loan is unsecured, bearing
 interest at 3.02% and maturing on July 15, 2020.

        Based on latest publicly available reports, as of the Commonwealth Petition Date, the
 Commonwealth had outstanding the following approximate amounts of Commonwealth
 Guaranteed Obligations: (i) $4 billion in PBA Bonds, (ii) $1.26 billion in PRASA Subordinated
 Bonds, (iii) $227 million in Port of the Americas Authority (“APLA”) Bonds, and (iv) $78 million
 in PRIFA BANs.

          Pursuant to Executive Order 2016-30 issued under Act No. 21 of 2016, known as the Puerto
 Rico Emergency Moratorium and Financial Rehabilitation Act (as amended, the “Moratorium
 Act”), the Governor declared the Commonwealth to be in a state of emergency, suspended payment
 of interest and principal on all Commonwealth GO Bonds, suspended payments by the
 Commonwealth of Commonwealth-Guaranteed Obligations and stayed all actions, including suits
 against the Secretary of the Treasury, to collect on such bonds and notes. On January 29, 2017,
 the Governor signed into law Act No. 5 of 2017, known as the Puerto Rico Fiscal Emergency and
 Fiscal Responsibility Act (as amended, “Act 5-2017”), which repealed certain provisions of the
 Moratorium Act and authorized additional emergency measures. Pursuant to Act 5-2017,
 however, the executive orders issued under the Moratorium Act would continue in effect until
 amended, rescinded or superseded. The emergency period under Act 5-2017 was set to expire
 December 31, 2019. On January 8, 2020, Governor Vázquez issued an executive order extending
 the emergency period by six months. The emergency period will expire on June 30, 2020. Some
 additional powers provided to the Governor through Act 5-2017 included authority to (i) exercise
 receivership powers to rectify the financial emergency, (ii) exercise general supervisory control
 over the functions and activities of all government entities within the Executive Branch, and
 (iii) issue executive orders to implement and enforce compliance with Act 5-2017.

       Since July 1, 2016, the Commonwealth has not paid interest or principal on its GO Bonds
 or Commonwealth-Guaranteed Obligations.76


 76
      Based on publicly available information, certain issuances were paid from Commonwealth reserve funds.
                                                          53
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             Litigations Related to GO Bonds.77

                     (i)      Aurelius Capital Master, Ltd., et al. v. Commonwealth of Puerto Rico, et
                              al., Case No. 18-1108 (1st Cir.)78

         On June 29, 2017, certain holders of GO Bonds and bonds issued by certain
  Commonwealth instrumentalities and allegedly guaranteed by the Commonwealth brought an
  action in the Title III Court against the Commonwealth and the Oversight Board seeking
  declaratory and injunctive relief. Among other things, the complaint sought declarations that (i)
  certain property tax and other monies historically conditionally appropriated to certain
  instrumentalities (collectively, the “Monies”) can be applied only to pay public debt; (ii) the
  Commonwealth lacks an equitable or beneficial property interest in the Monies, and Plaintiffs
  have statutory liens on the Monies; (iii) Plaintiffs’ alleged liens on historically conditionally
  appropriated monies are liens on special revenues; (iv) the Commonwealth’s use of the Monies
  for any purpose other than to pay the public debt is an unconstitutional taking; and (v) the Monies
  must be segregated and cannot be used for any purpose other than paying public debt. Plaintiffs
  also sought an injunction requiring Defendants to segregate and preserve the Monies.

         Defendants filed a motion to dismiss on August 21, 2017. Defendants principally argued
  the claims were precluded by PROMESA section 305, which bars the Court from interfering with
  property of the Commonwealth without the Oversight Board’s consent. Defendants also argued:
  (i) certain claims were precluded by PROMESA sections 4 and 106(e); (ii) Plaintiffs have no
  property interests in or liens against the Monies; and (iii) the Commonwealth Constitution does
  not create a property right recoverable under its debt-repayment priority scheme. The Title III
  Court granted the motion and dismissed the action, holding that (i) certain claims sought
  impermissible advisory opinions because they were vague or would not resolve any current
  concrete dispute, (ii) the Takings Clause claim was not ripe because the Commonwealth Debtor
  had not yet proposed how it would compensate Plaintiffs for their alleged collateral in a plan of
  adjustment, and (iii) other claims were barred by PROMESA section 305 because they would
  interfere with the Commonwealth’s use of its property or revenues or its governmental powers
  without the consent of the Oversight Board. Plaintiffs appealed the decision to the U.S. Court of
  Appeals for the First Circuit, docketed as Case No. 18-1108. On March 26, 2019, the First Circuit
  issued a written opinion affirming the Title III Court’s dismissal of the bondholders’ complaint.79




 77
      If the Plan is confirmed, to Oversight Board believes no further litigation of any dispute regarding the validity,
      priority, or secured status of the GO/PBA/PRIFA BANs claims is appropriate as the Plan will effect a global
      settlement of any such dispute that is binding on all parties in interest in the Title III Cases.
 78
      Opinion available at 918 F.3d 638 (D.P.R. 2019).
 79
      Assured Guaranty Corp. v. Fin. Oversight & Mgmt. Bd. for P.R. (In re Fin. Oversight & Mgmt. Bd. for P.R.), 919
       F.3d 121, 124 (1st Cir. 2019).
                                                            54
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                     (ii)     Challenges to the Validity of the GO Bonds and Commonwealth
                              Guarantees

          On January 14, 2019, the Oversight Board, through its Special Claims Committee, and
 jointly with the Official Committee of Unsecured Creditors (the “UCC”),80 filed an omnibus
 objection to more than $6 billion of claims asserted by certain GO Bondholders. The omnibus
 objection alleged claims of holders of 2012 and 2014 issuances of GO Bonds should be disallowed
 because those issuances violated the Commonwealth’s Constitutional Debt Limit.81 Subsequently,
 the UCC and other parties filed objections to additional claims relating to GO and PBA bonds and
 other bonds guaranteed by the Commonwealth, which objections assert similar legal theories. To
 provide procedural due process to all purported holders of the GO Bonds, the UCC and the
 Oversight Board filed a motion to establish procedures with respect to their omnibus objection,
 which the Court granted. The Oversight Board and the UCC subsequently filed eight adversary
 proceedings against approximately 450 purported beneficial owners of the bonds identified by
 pseudonym and approximately 120 banks disclosed as record holders, seeking to expand the
 number of bond issuances and CUSIPs alleged to be invalid and seeking to claw back principal
 and interest payments with respect to the challenged bonds. On July 24, 2019, the Court issued
 the Order Regarding Stay Period and Mandatory Mediation [ECF No. 8244] (the “Stay Order”),82
 which, among other things, stayed the litigation through November 30, 2019, which stay was
 subsequently extended through March 11, 2020. Notwithstanding the stay, on December 19, 2019,
 the Court issued an interim case management order (the “Interim GO/PBA CMO”) permitting
 certain proceedings related to GO Bonds to move forward, including certain issues raised by this
 objection. Pursuant to that order, on February 5, 2020, Assured, the Ad Hoc Group of
 Constitutional Debt Holders, and the Ad Hoc Group of General Obligation Bondholders filed a
 motion to dismiss. Also on February 5, 2020, the Lawful Constitutional Debt Coalition filed a
 separate motions to dismiss, and the Qualified School Tax Credit Bonds Noteholder Group
 (collectively, the “QTCB Noteholder Group”) joined, in part, Assured’s, the Ad Hoc Group of
 Constitutional Debt Holders’, and the Ad Hoc Group of General Obligation Bondholders’ motion,
 and on February 19, 2020, a number of parties filed joinders and supplemental motions. Responses
 in support of the objections to the validity of the GO Bonds are due on March 18, 2020. On
 February 10, 2020, the Mediation Team filed its Amended Report,83 recommending that this
 litigation remain stayed to provide the Debtors with an opportunity to confirm and consummate




 80
      On June 15, 2017, the U.S. Trustee appointed the UCC in all of the Title III Cases except COFINA. Appointment
      of Official Committee of Retirees in the Commonwealth of Puerto Rico, [ECF No. 338].
 81
    For instance, on May 21, 2019, the UCC filed the Omnibus Objection of Official Committee of Unsecured Creditors,
     Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of
     Certain 2011 Commonwealth General Obligation Bonds, [ECF No. 7057], challenging the validity of the 2011
     GO Bonds on the same grounds as in the Joint Claim Objection (as defined and discussed below). See section
     V.H.7 of this Disclosure Statement for a detailed description of the various objections.
 82
    See section V.I. of this Disclosure Statement for a detailed summary of the Stay Order.
 83
      As defined in section V.I below.

                                                         55
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 the Plan, which would, among other things, resolve all challenges to the validity, priority, and
 secured status of the GO Bonds and the Commonwealth-Guaranteed Bonds.84

                     (iii)    Challenges to the Secured Status of the GO Bonds

         On May 2, 2019, the Oversight Board, through its Special Claims Committee, and jointly
 with the UCC, filed seven complaints85 against more than 450 Defendants seeking declarations
 that the Defendant holders of bonds issued or guaranteed by the Commonwealth have entirely
 unsecured claims (to the extent their claims are valid at all), and do not possess liens against any
 of the Commonwealth’s property, including, without limitation, on (i) the Commonwealth’s good
 faith, credit, and taxing power, (ii) the Commonwealth’s “available resources” (as referenced in
 the Commonwealth Constitution Article VI, section 8), (iii) certain monies historically
 conditionally appropriated to the Commonwealth’s instrumentalities under Puerto Rico law, and
 (iv) property tax revenues authorized under Puerto Rico Act 83-1991. These adversary
 proceedings also seek judgments (i) declaring the Commonwealth’s interest in its property is
 entitled to priority over any interest the Defendant bondholders claim to possess in the
 Commonwealth’s property, (ii) avoiding any liens bondholders claim to possess pursuant to the
 Bankruptcy Code’s avoidance powers, and (iii) disallowing all secured claims filed against the
 Commonwealth by the Defendant bondholders.

          On May 7, 2019, the Oversight Board and the UCC filed a joint motion seeking to (i)
 extend the deadlines to serve the Defendants in these adversary proceedings and (ii) stay the
 adversary proceedings until Plaintiffs or any Defendant requests to resume the proceeding for good
 cause. Several parties filed motions to dismiss. On June 13, 2019, the Court partially granted the
 joint motion and extended the deadline to serve the Defendants and stayed the adversary
 proceedings until September 1, 2019. On July 24, 2019, the Court issued the Stay Order, which
 stay was extended through March 11, 2020.86 Notwithstanding the stay, pursuant to the Interim
 GO/PBA CMO, on February 5, 2020, Assured and National filed a motion to dismiss [Adv. Proc.
 No. 19-00291, ECF No. 53], and numerous other parties filed joinders to motions to dismiss
 already on file. In addition, multiple pro se defendants have filed answers to the complaints in
 these adversary proceedings. Oppositions to the motions to dismiss are due on April 3, 2020. On
 February 10, 2020, the Mediation Team filed its Amended Report, recommending that this
 litigation be stayed.87 On February 19, 2020, also pursuant to the GO/PBA CMO, certain
 Cooperativas filed motions to dismiss.

                     (iv)     Challenges to the Priority of the GO Bonds



 84
      See section V.I. of this Disclosure Statement for a detailed summary of the Mediation Team and the Amended
      Report.
 85
      Adv. Proc. No. 19-00291 through 19-00297.
 86
      See section V.I. of this Disclosure Statement for a detailed summary of the Stay Order.
 87
      See section V.I of this Disclosure Statement for a detailed summary of the Mediation Team and the Amended
      Report.

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         On February 3, 2020, the UCC filed an omnibus objection to proofs of claim filed by certain
 GO bondholders asserting priority over Commonwealth unsecured creditors [ECF No. 10638] (the
 “UCC GO Priority Objection”). The UCC GO Priority Objection seeks an order reclassifying
 claims on account of GO Bonds or Commonwealth-Guaranteed Obligations as general unsecured
 claims, and ruling that such claims are not entitled to priority over the claims of other general
 unsecured creditors. The UCC GO Priority Objection seeks reclassification because, according to
 the UCC, payment priorities created by Puerto Rico law are preempted by PROMESA in the
 Commonwealth’s Title III case, and are “antithetical” to the overall purpose of PROMESA, the
 Bankruptcy Code, and the specific provisions of the Bankruptcy Code incorporated into
 PROMESA. In light of that, the UCC contends that any payment priority that GO bondholders
 may assert pursuant to Puerto Rico law is preempted by PROMESA, and the GO bondholders are
 thus not entitled to a recovery greater than that received by other general unsecured claimholders.
 Moreover, according to the UCC, PROMESA section 201’s requirement that a fiscal plan “respect
 the relative lawful priorities” of debt also does not establish that the GO Bonds have priority,
 because the requirement is found in Title II of PROMESA, not Title III, and therefore does not
 apply once a Title III case is filed because it would be “inconsistent with the section 507(a)(2)
 priority scheme incorporated into Title III.” UCC GO Priority Objection at 14.

          On February 9, 2020, the UCC filed a motion seeking to set a briefing schedule for the
 UCC GO Priority Objection and to approve forms of notice to affected claimholders [ECF No.
 10754] (the “Priority Objection Procedures Motion”). There, the UCC argued that, because the
 issues raised by the UCC GO Priority Objection are pure questions of law, no discovery was
 needed and the matter could proceed to prompt dispositive motion practice. On February 10, 2020,
 the Mediation Team filed its Amended Report, recommending that this litigation be stayed.88 The
 Oversight Board, the PSA Creditors, and Peter Hein filed objections to the Priority Objection
 Procedures Motion. The Oversight Board argued the Priority Objection should be stayed because
 the Plan would settle the relevant claims, and the UCC lacked standing to assert claim objections.
 The UCC filed a reply in support of its Priority Objection Procedures Motion on February 26,
 2020, arguing that whether the GO Bonds are entitled to priority is a “gating issue” that needs to
 be addressed prior to confirmation of the Plan of Adjustment, and that standing is a legal question
 that is relevant to the Objection and not the Procedures Motion..

                             ERS Debt

         On January 24, 2008, ERS issued its senior pension funding bonds (the “ERS Bonds”)89
 as limited, non-recourse obligations of ERS payable solely from, and purportedly secured solely
 by, certain employer contributions made to ERS by participating employers in the ERS pension


 88
      See section V.J.9 of this Disclosure Statement for a detailed summary of the Mediation Team and the Amended
      Report.
 89
      ERS’s outstanding ERS Bonds consist of the following: (i) Senior Pension Funding Bonds, Series A (the “Series
      2008A Bonds”), (ii) Senior Pension Funding Bonds, Series B (the “Series 2008B Bonds”), and (iii) Senior Pension
      Funding Bonds, Series C (the “Series 2008C Bonds”). These series are further discussed in the Analysis of the
      Pensions for the Commonwealth of Puerto Rico (May 2019), attached to this Disclosure Statement as Exhibit G
      (the “Pension Report”).
                                                          57
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 plans. The purpose of this offering was to increase the assets of ERS available to invest and pay
 benefits.

        The ERS Bonds were issued pursuant to the ERS Enabling Act, Act No. 447 of May 15,
 1951, and the Pension Funding Bond Resolution, adopted by the Board of Trustees of ERS on
 January 24, 2008, as amended (the “ERS General Resolution”). Each series of the ERS Bonds
 also was issued pursuant to a supplemental resolution adopted by the ERS Board of Trustees.
 These supplemental resolutions provided for the issuance and terms of each series of ERS Bonds.
 Under the General Resolution and supplemental resolutions (collectively, the “ERS Resolution”),
 the Bank of New York Mellon (“BNYM”) acts as fiscal agent for the ERS Bonds.

         Outstanding Bonds.90 The ERS Bonds bear interest rates between 5.85% and 6.55%, and
 mature between July 1, 2043 and July 1, 2058. As of the ERS Petition Date, ERS had outstanding
 $3.17 billion aggregate principal amount of its ERS Bonds issued under the ERS Resolution.91 All
 of the ERS Bonds are uninsured. A schedule of outstanding ERS Bonds is attached as Exhibit H.

        Pursuant to Executive Order 2016-31 issued under the Moratorium Act, the then Governor
 suspended the Commonwealth’s obligation to transfer employer contributions to ERS (up to an
 amount equal to the debt service payable by ERS during fiscal years 2016-2017) and suspended
 ERS’s obligation to transfer pledged funds to the trustee under the ERS Resolution.

        Litigations Related to ERS Bonds. The ERS Bonds were challenged in several related
 adversary proceedings described below. These adversary proceedings have all centered on the
 same issues: the scope of ERS bondholders’ alleged security interest in collateral for the ERS
 Bonds and the degree to which perfection of those alleged security interests has occurred.

                    (i)      Employees Retirement System of the Government of the Commonwealth of
                             Puerto Rico v. Altair Global Credit Opportunities Fund (A), LLC, et. al.,
                             Adv. Proc. No. 17-00213

        On May 31, 2017, certain ERS bondholders filed a motion seeking relief from the Title III
 automatic stay (the “Adequate Protection Motion”). ERS Debtor opposed the Adequate Protection
 Motion, asserting, among other things, that the security interests against the pledged property
 claimed by the ERS bondholders was not properly perfected.

         Following negotiations among the parties, ERS Debtor and the ERS bondholders agreed to
 the terms of a stipulation, which was ordered by the Title III Court. The stipulation provided for
 adequate protection payments regarding the ERS bondholders’ alleged security interests,
 established a post-petition segregated account, and contemplated ERS Debtor would file a
 complaint by July 21, 2017. The stipulation also contemplated interest on the ERS Bonds would
 be paid when due from the segregated account established pursuant to a January 17, 2017
 stipulation and that no further transfers from ERS Debtor should be made to such account.
 Pursuant to a series of further stipulations between ERS Debtor and the ERS bondholders, ERS

 90
      Amounts of outstanding bonds are based on best available public information and may be approximate.
 91
      For capital appreciation bonds, this amount includes the accreted value as of the ERS Commencement Date.
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 made adequate protection payments in the amount of debt service due on its bonds in full from a
 segregated account through June 2018, subject to a reservation of rights. The assets in this
 segregated account were depleted in July 2018 and no additional payments were made. Pursuant
 to the stipulations, ERS made payments of approximately $200 million to ERS bondholders, and
 deposited approximately $92 million in the post-petition segregated account.

         On July 21, 2017, ERS Debtor, through the Oversight Board, commenced an adversary
 proceeding, styled Employees Retirement System of the Government of the Commonwealth of
 Puerto Rico v. Altair Global Credit Opportunities Fund (A), LLC, Adv. Proc. No. 17-00213 (the
 “Lien-Challenge AP”). Defendants are various ERS bondholders who asserted security interests
 in a security agreement pursuant to the pension bond funding resolution of 2008. ERS Debtor
 sought (i) declaratory judgment determining (a) the scope of any lien and invalidating Defendants’
 unperfected security interests in property of ERS; (b) that any perfected prepetition security
 interests do not attach to assets received by ERS since the commencement of its Title III case
 pursuant to Bankruptcy Code section 552; (c) that ERS has complied with its obligations to certain
 bondholders to place pledged property into a segregated account; and (ii) an order directing funds
 deposited in an account established by stipulation of the parties be remitted to the Commonwealth.
 ERS Debtor argued that the security interests claimed by Defendants in ERS’s assets were not
 properly perfected because, among other things, the collateral description contained in the
 financing statements describing the collateral only as “pledged property” was too vague to
 reasonably identify the collateral.

         The Defendant bondholders filed counterclaims, seeking a judgment that (i) their security
 interests were properly perfected, (ii) their security interests were not avoidable in the Title III
 case, (iii) PROMESA could not be applied retroactively to eliminate the security interests, (iv)
 “pledged property” encompassed various categories of property, and (v) employer contributions
 were special revenues under Bankruptcy Code section 928(a) that remained subject to a lien post-
 petition.

         On November 3, 2017, ERS Debtor and the Defendants filed cross-motions for summary
 judgment. On August 17, 2018, the Title III Court issued its Opinion and Order Granting and
 Denying in Part Cross Motions for Summary Judgment [Adv. Proc. No. 17-00213, ECF No. 215]
 (the “MSJ Order”), holding (i) the ERS Bondholders’ security interests were unperfected because
 the applicable financing statements did not contain an adequate collateral description as required
 under the Uniform Commercial Code, (ii) purported amendments to those financing statements
 failed to identify the debtor by its correct name as required by the Uniform Commercial Code, (iii)
 the Oversight Board could avoid the Defendants’ unperfected security interests pursuant to
 Bankruptcy Code section 544(a), which allows the trustee to avoid any transfer property or
 obligation of the debtor in certain instances (applicable in Title III case pursuant to PROMESA
 section 301(a)), and (iv) ERS Debtor did not violate a stipulation pertaining to employer
 contributions because it had no obligation to segregate the funds after May 1, 2017.

        On July 3, 2018, prior to the Title III Court rendering its determination on the cross-motions
 for summary judgment, the ERS bondholders filed the Motion of Certain Secured Creditors of the
 Employees Retirement System of the Government of the Commonwealth of Puerto Rico for Relief
 from the Automatic Stay [ECF No. 3418] (the “Second Adequate Protection Motion”), requesting
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 relief from the automatic stay, or in the alternative, for adequate protection of their liens against
 property of ERS, in which the Commonwealth claims an interest. On August 17, 2018, based upon
 the Title III Court’s decision on the cross-motions for summary judgment, the Title III Court
 denied the Second Adequate Protection Motion.

         On September 6, 2018, the Defendants appealed the MSJ Order and the order denying their
 Second Adequate Protection Motion. On January 30, 2019, the First Circuit issued an opinion
 affirming in part, reversing in part, and vacating in part the MSJ Order. The First Circuit
 determined the Defendants met the requirements for perfection of the alleged security interests as
 of December 17, 2015, and it remanded to the Title III Court for further consideration. The First
 Circuit affirmed the dismissal of the claims regarding the January 17, 2017 stipulation. On April
 30, 2019, ERS Debtor filed a petition for certiorari to the United States Supreme Court concerning
 whether the ERS bondholders’ asserted security interests were perfected (docketed as Case No.
 18-1389). The petition was denied on October 7, 2019.

         On April 2, 2019, ERS Debtor filed the Motion of Debtor for Leave to File an Amended
 and Supplemented Adversary Complaint (the “Motion to Amend”) [Adv. Proc. No. 17-00213,
 ECF No. 236], requesting the Title III Court grant ERS Debtor leave to file an amended complaint
 to raise issues concerning the nature and extent of the security interests alleged and the proper
 method of perfection of any security interest, and determine whether Bankruptcy Code section
 552(a) operates to prevent the ERS bondholders’ asserted lien from attaching to Employers’
 Contributions generated and received post-petition (the “Undecided Issue”). On May 6, 2019, the
 Title III Court denied in part and granted in part the Motion to Amend, granting ERS Debtor’s
 request to determine the Undecided Issue, but denying ERS Debtor’s motion insofar as it sought
 leave to amend the complaint in the Lien-Challenge AP, without prejudice to the filing of a new
 complaint.

         On June 27, 2019, the Title III Court issued an order deciding the Undecided Issue (the
 “Section 552 Order”). In the Section 552 Order, the Title III Court granted summary judgment in
 favor of ERS Debtor, holding that Bankruptcy Code section 552 prevents any security interest
 resulting from liens granted in ERS bondholders’ favor prior to the ERS Petition Date from
 attaching to revenues generated and received by ERS during the post-petition period. That order
 also held that Employers’ Contributions were not special revenues as defined by Bankruptcy Code
 section 902(a) and (d), and that Bankruptcy Code section 552 should not be construed as applying
 to only security interests granted after PROMESA’s enactment. On July 8, 2019, the Court issued
 an order and judgment closing the case. On July 9, 2019, Defendant ERS bondholders filed notices
 of appeals of the Section 552 Order, and the appeals were docketed as Appeal Nos. 19-1699 and
 19-1700. The appeals were consolidated on July 26, 2019. On January 30, 2020, the First Circuit
 affirmed the Section 552 Order, holding the ERS bondholders did not have a security interest
 against revenues generated and received by ERS on and after the ERS Petition Date. On February
 13, 2020, the ERS bondholders filed a petition for rehearing and rehearing en banc, which is
 currently pending.




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                     (ii)     Altair Global Credit Opportunities Fund (A), LLC, et al. v.
                              Commonwealth of Puerto Rico, et. al., Adv. Proc. Nos. 17-00219; 17-
                              00220

         On July 27, 2017, holders of allegedly secured bonds issued by ERS in 2008 brought
 actions concerning Joint Resolution 188, which directed ERS to liquidate and distribute its assets
 to the General Fund. The Plaintiff ERS bondholders sought a declaration that, following the
 passage of Joint Resolution 188, they remain secured creditors of ERS and/or the Commonwealth
 because (i) Joint Resolution 188 violates the automatic stay in the ERS Title III Case, and is
 therefore void; or (ii) if Joint Resolution 188 is not void, their security interest survives the transfer
 of the purported collateral. In the alternative, Plaintiffs alleged the diversion of their collateral
 violated the Takings and Contracts Clauses of the U.S. and Commonwealth Constitutions, and that
 they are entitled to a claim for compensation, equal to the full amount of the bonds, that cannot be
 impaired in a plan of adjustment. On November 18, 2017, Plaintiffs amended their complaints to
 make the same allegations about Act 106, which reformed the pension system and, among other
 things, converted the retirement systems’ funding to a PayGo system.

         Defendants moved to dismiss on November 17, 2017, generally arguing (i) Plaintiffs’ claim
 of a perfected security interest should be dismissed as duplicative because it is being litigated in
 an earlier-filed action or, alternatively, dismissed because Plaintiffs did not adequately plead the
 existence of a perfected security interest, (ii) the automatic stay does not apply to actions by a
 government to enforce its police and regulatory powers, (iii) Plaintiffs lack standing to enforce the
 automatic stay, (iv) the ERS Resolution recognizes the Government’s power to make legislative
 changes that may adversely affect ERS bondholders, (v) Plaintiffs do not state a claim for a
 constitutional taking, and (vi) all claims against the Oversight Board must be dismissed pursuant
 to PROMESA section 105, which provides the Oversight Board, its members, and its employees
 shall not be liable for any obligation of or claim against the Oversight Board or its members or
 employees or the territorial government resulting from actions taken to carry out PROMESA.

         On September 6, 2018, the Court stayed these proceedings pending a decision from the
 First Circuit in the Lien-Challenge AP. On September 27, 2018, the Court terminated the pending
 motions to dismiss without prejudice, solely for the Court’s statistical purposes and without any
 ruling on the merits, in view of the stayed proceedings. As stated above, on January 30, 2019, the
 First Circuit rendered an opinion on the Lien-Challenge AP.92

                     (iii)    The Lien-Scope Adversary Proceedings

      On May 20, 2019, ERS Debtor and the UCC filed two new complaints, Financial Oversight
 & Management Board for Puerto Rico v. Andalusian Global Designated Activity Company, [Adv.

 92
      On February 26, 2019, Plaintiffs filed a motion to dismiss without prejudice, which the Court granted on March 1,
      2019, as to Altair Global Credit Opportunities Fund (A), LLC and Nokota Capital Master Fund, L.P. As a result,
      the case was re-captioned Andalusian Global Designated Activity Co. et al v. Commonwealth of Puerto Rico, et al.,
      Adv. Pro. Nos. 17-00219-LTS, 17-00220-LTS (D.P.R.). On March 5, 2019, the Title III Court entered an order
      allowing Crown Managed Accounts (for and on behalf of Crown/PW SP), LMA SPC (for and on behalf of Map 98
      Segregated Portfolio), Oceana Master Fund Ltd., Pentwater Merger Arbitrage Master Fund Ltd., and PWCM Master
      Fund Ltd. to intervene in the adversary proceeding.

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 Proc. No. 19-00366, ECF No. 1] and Financial Oversight & Management Board for Puerto Rico
 v. Glendon Opportunities Fund, L.P. [Adv. Proc. No. 19-00367, ECF No. 1] ) (the “Lien-Scope
 APs”). The Lien-Scope APs allege the ERS bondholders do not hold valid and enforceable
 security interests in any of ERS Debtor’s remaining assets or the proceeds thereof (other than the
 Accounts Receivable). Those remaining assets include, among other things, (i) certain cash and
 investments held by ERS, (ii) accounts receivable with respect to Additional Uniform
 Contributions required to be made by all participating employers beginning in 2013, and (iii)
 certain loans made to ERS participants, and repayments thereof. On May 30, 2019, summonses
 were returned as executed. On June 26, 2019, the Retiree Committee filed motions to intervene in
 both adversary proceedings, which the Title III Court granted in part. On July 24, 2019 the Court
 issued the Stay Order, which initially stayed these proceedings through November 30, 2020.93 On
 October 18, 2019, the parties submitted an Urgent Joint Motion to Modify Order Regarding Stay
 and Mandatory Mediation with Respect to Certain Issues Raised in Certain Contested Matters and
 Adversary Proceedings Related to the Bonds Issued by the Employees Retirement System of the
 Government of the Commonwealth of Puerto Rico (the “ERS Stay Modification Motion”), which
 requested a modification of the stay order to permit litigation regarding (i) whether the bonds were
 ultra vires and (ii) the scope of the liens to move forward, and presented an agreed-upon schedule
 for such litigation. Discovery in these proceedings is ongoing. On October 24, 2019, the Court
 entered an order modifying the stay and setting a litigation schedule for the issues identified by the
 parties. On February 3, 2020, the parties filed an urgent joint motion to modify the litigation
 schedule, which the Court granted on February 6, 2020. Pursuant to the revised schedule, fact
 discovery must be completed by March 30, 2020, expert discovery must be completed by April
 27, 2020, and summary judgment motions must be filed by May 6, 2020.

                     (iv)     Commonwealth’s Objection to ERS Fiscal Agent Claim

        On May 24, 2018, the ERS Fiscal Agent, BNYM, filed a proof of claim against the
 Commonwealth (Claim No. 16775), seeking recovery for the ERS Bonds on behalf of holders of
 ERS Bonds. The ERS Fiscal Agent based its claims on the Commonwealth’s enactment of Joint
 Resolution 188, which directed ERS to liquidate and distribute its assets to the General Fund, and
 Act 106. A number of ERS bondholders also filed proofs of claims against the Commonwealth.

         On March 12, 2019, the UCC filed an Omnibus Objection to Claims Asserted by Holders
 of Bonds Issued by ERS, [ECF No. 5580], on the ground the bond issuance exceeded ERS’s
 statutory authority and was thus ultra vires, rendering the ERS Bonds null and void. On April 23,
 2019, the Retiree Committee filed an Omnibus Objection of the Official Committee of Retired
 Employees of the Commonwealth of Puerto Rico, Pursuant to Bankruptcy Code Section 502 and
 Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of ERS Bonds Against ERS and the
 Commonwealth, [ECF No. 6482], on the ground, among others, the bond issuance was ultra vires.

       On April 23, 2019, the Retiree Committee filed an omnibus objection (the “Retiree
 Committee’s ERS Bond Claims Objection”) to all ERS bondholder claims asserted against both
 ERS and the Commonwealth on the grounds that the ERS Bonds were issued ultra vires and that
 the ERS bondholders have no enforceable claim with respect to the ERS Bonds. On July 2, 2019,

 93
      See section V.I. of this Disclosure Statement for a detailed summary of the Stay Order.

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 the Retiree Committee filed its own procedures motion related to the adjudication of the Retiree
 Committee’s ERS Bond Claims Objection.

         On May 22, 2019, the Oversight Board filed an objection seeking disallowance of the ERS
 Fiscal Agent’s claim because (a) secured claims resulting from the transfer of the Transferred
 Assets (assets transferred from ERS to the Commonwealth in exchange for the Commonwealth
 paying pensioners out of its General Fund) would be determined through the resolution of the
 Lien-Challenge AP, and even if the Lien-Challenge AP did not resolve the secured claims, UCC
 section 9-332(b) provides that the Commonwealth received the Transferred Assets free and clear
 of any such security interest once ERS transferred them to the Commonwealth, (b) no secured
 claims result from the cessation of the Employer Contributions and commencement of the PayGo
 payments, which are payments made to pensioners from the Commonwealth General Fund, as the
 Fiscal Agent does not have any security interest in the PayGo payments, and (c) constitutional
 claims based on the U.S. and Commonwealth Constitutions asserting legislation that implemented
 a revised retirement system violated the Contracts and Takings Clauses by redirecting the
 employer contributions away from ERS fail as a matter of law [ECF No. 7075].

         On July 24, 2019, the Title III Court entered the Stay Order, which initially stayed the
 UCC’s ERS Bond Claims Objection and the Retiree Committee’s ERS Bond Claims Objection
 through November 30, 2019.94 On October 18, 2019, pursuant to the ERS Stay Modification
 Motion, the parties presented an agreed-upon schedule for such litigation. Discovery in these
 proceedings is ongoing. On October 24, 2019, the Court entered an order modifying the stay and
 setting a litigation schedule for the issues identified by the parties. On February 3, 2020, the parties
 filed an urgent joint motion to modify the litigation schedule, which the Court granted on February
 6, 2020. Pursuant to the revised schedule, fact discovery must be completed by March 30, 2020,
 expert discovery must be completed by April 27, 2020, and summary judgment motions must be
 filed by May 6, 2020.

                     (v)      Claims Objections Pursuant to an Agreed Upon Order Establishing
                              Procedures Regarding Objections to Certain ERS Bond Claims

         On October 7, 2019, the Court entered an agreed-upon order establishing January 6, 2020
 as the date by which objections must be filed to any claims filed by the ERS Fiscal Agent or certain
 groups of ERS Bondholders represented by Jones Day (the “Jones Day Group”) and White & Case
 (the “White & Case Group”), and each of their members [Case No. 17-03566-LTS, ECF No. 676-
 2 at 6]. Pursuant thereto, the Oversight Board filed six objections to such claims, including the:




 94
      See section V.I. of this Disclosure Statement for a detailed summary of the Stay Order.

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                1. Commonwealth’s supplemental objection to the Fiscal Agent Claim, which added
                   additional grounds for objection to the original objection filed to the Fiscal Agent
                   Claim [ECF No. 9700];

                2. ERS’s objection to the Fiscal Agent’s claim against ERS [ECF No. 9701];

                3. Commonwealth’s omnibus objection to claims filed by members of the Jones Day
                   Group against the Commonwealth (each of which was substantially similar) [ECF
                   No. 9702];

                4. ERS’s omnibus objection to claims filed by members of the Jones Day Group
                   against ERS (each of which was substantially similar) [ECF No. 9703];

                5. Commonwealth’s omnibus objection to claims filed by members of the White &
                   Case Group against the Commonwealth (each of which was substantially similar)
                   [ECF No. 9704]; and

                6. ERS’s omnibus objection to claims filed by members of the White & Case Group
                   against ERS (each of which was substantially similar) [ECF No. 9705].

                     (vi)     Ultra Vires Objection

         In addition to the six objections described above filed by the Oversight Board, other parties
 filed objections, including the UCC, which filed, among other things, an additional omnibus
 objection to claims asserted by ERS Bondholders against the Commonwealth and ERS. The
 omnibus objection asserted additional arguments to those already brought in the UCC’s ultra vires
 objection, in which the Committee objected to all ERS bond-related claims on the grounds that the
 ERS Bonds were issued ultra vires, and the Retirees’ Objection, in which the Retirees objected to
 all ERS-bond related claims on ultra vires grounds and on additional grounds [ECF No. 9708].95

        The UCC argues the issuance of the ERS Bonds was illegally made in that the ERS Bonds
 were issued “ultra vires.” The UCC argues ERS’s statutory “authorization to incur debt” is limited
 to “seek[ing] a loan from any financial institution of the Government of the Commonwealth of
 Puerto Rico or the Federal Government of the United States of America or through the direct
 placement of debts” per the ERS Enabling Act. The UCC also argues a government entity such as
 ERS has no inherent power to issue bonds to the public, and any such power must be expressly
 granted by statute. The UCC notes that whenever the Puerto Rico Legislative Assembly has
 granted bonding authority to a Commonwealth instrumentality (both before and after it authorized
 ERS in 2008 to “seek loans”), it has done so expressly and specified that the bonds may be sold



 95
      On October 25, 2019, the Plaintiffs in Altair Global Credit Opportunities Fund filed an informative motion
      submitting for the Court’s consideration their response to certain arguments regarding the validity of bonds issued
      by ERS. According to Plaintiffs, that response was relevant to certain issues raised by the Government Defendants
      in their memorandum of law in support of their motion to dismiss in these proceedings [17-AP-0029-LTS ECF No.
      76]

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 publicly or privately. Ultimately, the UCC states that because it believes the ERS Bonds were
 issued ultra vires, they are null and void, and the bondholders have no remedy against ERS.

                    (vii)    Cooperativa de Ahorro y Crédito Vegabajena v. Financial Oversight &
                             Management Board for the Commonwealth of Puerto Rico, Adv. Proc. No.
                             19-00028

          On March 14, 2019, credit union Cooperativa de Ahorro y Credito Vegabajena filed an
 adversary complaint against ERS and the Oversight Board alleging it had a statutory (or other) lien
 against employee contributions made to ERS, which Plaintiff alleged its borrowers had assigned
 to it. Plaintiff claimed the statutory lien arose under 2011 L.P.R.A section 196, which allowed
 financial service entities throughout the Commonwealth to enter into individual loan agreements
 with Commonwealth employees who participated in ERS. The Plaintiff credit union alleged
 further that it had the right to enforce its alleged lien against employee contributions after certain
 of their borrowers defaulted on their loans. The Plaintiff credit union had previously filed a motion
 to lift the automatic stay to enforce its alleged lien, which the Title III Court denied. On May 3,
 2019, ERS Debtor filed a motion to dismiss the complaint on the ground the employee-borrowers
 could not have assigned their employee contributions to Plaintiff because the employees did not
 have a retained right in contributions paid to ERS, and even if Plaintiff had a direct claim to the
 contributions, any statutory lien was not enforceable against the employee contributions because
 the property was not traceable to the particular employee-borrowers. The Plaintiff credit union
 filed its opposition to the motion to dismiss on May 29, 2019, and ERS and the Oversight Board’s
 reply was filed on June 20, 2019. Plaintiff credit union filed a sur-reply on July 16, 2019. On
 November 11, 2019, the Court issued an order requiring supplemental briefing. On December 2,
 2019, the Oversight Board submitted its supplemental brief, and on December 16, 2019, Plaintiff
 submitted its supplemental brief.

                    (viii) Motion by ERS Bondholders to Appoint a Trustee

          On November 19, 2019, ERS Bondholders filed a motion seeking the appointment of a
 trustee or an independent third-party fiduciary as a trustee under 11 U.S.C. sections 549 and 544
 in the ERS Title III case.96 ERS Bondholders previously moved for the same relief in February
 2019.97 ERS Bondholders argued the Oversight Board has failed to adequately protect their
 interests by failing to pursue certain purported claims on behalf of ERS against the
 Commonwealth. ERS Bondholders asserted the Oversight Board has declined to pursue such
 alleged claims against the Commonwealth due to a purported conflict of interest created by the
 Oversight Board’s representation of both the Commonwealth and ERS under PROMESA. ERS
 Bondholders further alleged the purported conflict of interest could be remedied by appointing a



 96
      Renewed Motion of Certain Secured Creditors of the Employees Retirement System of the Government of the
      Commonwealth of Puerto Rico for Appointment as Trustees Under 11 U.S.C. §926 [17-03566-LTS ECF No. 704]
      (the “Renewed Motion”).
 97
      Motion of Certain Secured Creditors of the Employees Retirement System of the Government of the Commonwealth
      of Puerto Rico for Appointment as Trustees under 11 U.S.C. § 926, [ECF No. 5169].

                                                         65
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 trustee under Bankruptcy Code section 926 to prosecute the alleged avoidance actions against the
 Commonwealth.

        ERS Bondholders asserted two claims the Oversight Board has refused to pursue on their
 behalf meriting the appointment of a trustee—an avoidance action under Bankruptcy Code section
 549 and an action under Bankruptcy Code section 544 to avoid a transfer.

         On January 7, 2020, Judge Swain denied the Renewed Motion. On January 8, 2020, the
 ERS Bondholders filed a notice of appeal to the First Circuit, which was docketed as Case No. 20-
 1065. The First Circuit entered an order on January 15, 2020, setting an expedited briefing
 schedule and oral argument on March 4, 2020. On February 7, 2020, AAFAF, the Oversight
 Board, and the Retirees Committee filed their answering briefs. On February 21, 2020, Appellants
 filed their reply brief.

                             PBA Debt

         PBA issued multiple series of bonds, the PBA Bonds as defined above, pursuant to certain
 bond resolutions, including: (i) Resolution No. 77, adopted on November 16, 1970 (the “1970
 Bond Resolution”); and (ii) Resolution No. 468, adopted on June 22, 1995 (the “1995 Bond
 Resolution”; and, together with the 1970 Bond Resolution, the “PBA Bond Resolutions”), as
 supplemented by separate resolutions authorizing the issuance of each series of bonds under the
 1995 Bond Resolution, including without limitation, (a) Resolution No. 1596, adopted on August
 10, 2011, authorizing the issuance of the PBA Government Facilities Revenue Bonds, Series R
 (the “Series R Bonds”), and (b) Resolution No. 1618, adopted on December 19, 2011, authorizing
 the issuance of the PBA Government Facilities Revenue Bonds, Series T (the “PBA Series T
 Bonds”). By statute, (i) the Commonwealth has guaranteed the payment of rent by any department,
 agency, public corporation, or instrumentality of the Commonwealth pursuant to any lease
 agreement with PBA other than municipalities,98 and (ii) the Commonwealth has also guaranteed
 the payment, when due, of principal of and interest on the PBA Bonds.99

         Outstanding Bonds.100 As of the PBA Petition Date, PBA had approximately $3.968
 billion in aggregate principal amount of bonds outstanding under the PBA Bond Resolutions,
 bearing interest rates between 1.08% and 7.00%. A schedule of outstanding PBA Bonds is
 attached as Exhibit H.

        Pursuant to the PBA Enabling Act and the PBA Bond Resolutions, the PBA Bonds are
 payable from “rent” payments under purported “leases” pursuant to which PBA leases PBA
 properties to departments, agencies, instrumentalities, authorities, public corporations, and




 98
      22 L.P.R.A. § 916.
 99
      Act No. 17-1968 of the Puerto Rico Legislative Assembly, as amended.
 100
       Amounts of outstanding bonds are based on best available public information and may be approximate.
                                                          66
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 municipalities of the Commonwealth, and that “rent” is required to be sufficient, in the aggregate,
 to pay, when due, the principal of and interest on the PBA Bonds.101

         Pursuant to the PBA Bond Resolutions, all payments in respect of debt service on the PBA
 Bonds must immediately be deposited into certain specified accounts, purportedly to be held in
 trust for holders of PBA Bonds. The PBA Bonds are purportedly secured by a lien on all funds in
 such accounts.102 The PBA Bonds are not secured by mortgages on PBA property or by an
 assignment of PBA leases.

             Litigations Related to PBA Bonds. 103

                     (i)      Lex Claims Litigation

         On July 20, 2016, certain holders of GO Bonds commenced an action in the U.S. District
 Court for the District of Puerto Rico against the Commonwealth and several of its officials,
 including the Governor. Lex Claims, LLC v. García-Padilla, Case No. 16-02374 (the “Lex Claims
 Litigation”). Plaintiffs alleged, among other things, that the Commonwealth Constitution requires
 the Commonwealth to pay the GO Debt ahead of any other expenditure. COFINA bondholders
 who intervened argued that, because the Commonwealth pledged its good faith and credit for the
 payment of rent on PBA leases with agencies and instrumentalities of the Commonwealth, PBA
 bonds should have been included as direct debt of the Commonwealth in the debt limit calculation.
 The Lex Claims Litigation was dismissed pursuant to the settlement and compromise of the
 Commonwealth-COFINA Dispute (as defined in Section V.K.6) and confirmation of the COFINA
 plan of adjustment, as further discussed in section V.K.4.b) of this Disclosure Statement.

                     (ii)     Financial Oversight & Management Board for Puerto Rico, et al. v.
                              Puerto Rico Public Buildings Authority, Adv. Proc. No. 18-00149

         On December 21, 2018, the Oversight Board, as representative of the Commonwealth,
 jointly with the UCC, filed a complaint against PBA, seeking a declaratory judgment that the
 purported leases entered into by PBA with departments, agencies, instrumentalities, authorities,
 public corporations, and municipalities of the Commonwealth are not arm’s-length rental
 transactions, but rather disguised financing transactions, the sole purpose of which is to provide a
 vehicle for the Commonwealth to repay more than $4 billion in bonds it issued to finance the
 acquisition, construction and/or improvement of office space and other facilities used by various
 departments, agencies, and instrumentalities of the Commonwealth. Plaintiffs contend PBA has
 no right under PROMESA or the Bankruptcy Code to receive post-petition rent payments from, or
 assert administrative claims against, the Debtors. The Complaint seeks declarations that: (1) the
 leases between PBA Debtor and various governmental agencies are not subject to treatment in
 accordance with Bankruptcy Code section 365(d)(3), which requires the performance of all

 101
       22 L.P.R.A. §§ 907(g) and 916; 1995 Bond Resolution §§ 208(c), 701.
 102
       Id. § 502.
 103
        The Plan proposes to resolve all challenges to the PBA Bonds through a global compromise and settlement to be
       implemented under the Plan.

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 obligations of the debtor under any unexpired lease of nonresidential real property until such lease
 is assumed or rejected, and thus the Debtors have no obligation to make payments to PBA under
 the leases, and (2) PBA Debtor is not entitled to a priority administrative expense claim pursuant
 to Bankruptcy Code sections 503(b)(1) and 507(a)(2).

        Several PBA Bondholders and the monoline insurers moved to intervene as Defendants,
 including the PBA Funds, Assured, Ambac, National, the PBA Funds Sub-Group,104 the QTCB
 Noteholder Group, and the Lawful Constitutional Debtholder Coalition (“LCDC”). The Retiree
 Committee moved to intervene as a Plaintiff. The Oversight Board did not oppose intervention on
 the condition that it was subject to certain limitations and the Title III Court thereafter granted such
 intervention motions.

       On March 19, 2019, the Defendant-intervenors filed answers and three of the intervening-
 Defendants—the QTCB Noteholder Group, the PBA Funds, and Assured—filed counterclaims.

        On April 24, 2019, the Oversight Board filed motions to dismiss or strike each of the
 counterclaims. Specifically, the Oversight Board argued: (i) the Oversight Board cannot be sued
 under PROMESA section 105, which exempts the Oversight Board, its members and employees
 from liability for actions taken to carry out PROMESA; and (ii) the counterclaims should be
 dismissed as redundant. The UCC and Retiree Committee filed joinders to the Oversight Board’s
 motions to dismiss.

         On March 31, 2019, PBA Funds, Assured, and the QTCB Noteholder Group filed a motion
 for judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c). The Oversight
 Board’s response was filed on June 6, 2019. On June 21, 2019, the Oversight Board filed an urgent
 motion for modification of deadlines in anticipation of a motion to stay the adversary proceeding
 pending confirmation of a plan of adjustment (or, alternatively in the case of PBA, a qualifying
 modification under Title VI of PROMESA). On June 22, 2019, PBA filed a response consenting
 to the Oversight Board’s motion to stay, although many other Defendant interveners opposed the
 urgent motion. On June 27, 2019, the Oversight Board filed a motion to stay the adversary
 proceeding pending confirmation of a joint Commonwealth and PBA plan of adjustment (or,
 alternatively in the case of PBA, a qualifying modification under Title VI of PROMESA) that
 incorporates the restructuring framework discussed in the PSA. On June 28, 2019, the Court
 granted the Oversight Board’s urgent request to toll all existing deadlines in the adversary
 proceeding so that the schedule of the litigation could be assessed in context of the Oversight
 Board’s stay motion and the proposed settlement. On July 8, 2019, AAFAF and the PBA filed a
 joint objection to the Oversight Board’s motion to stay, arguing the Initial PSA was negotiated
 without input from PBA, PBA was not a Title III debtor and thus the Oversight Board cannot
 confirm any joint PBA/Commonwealth plan, and the plan contains “untenable provisions.” On
 July 9, 2019, (i) the LCDC filed a response in support of the Oversight Board’s motion to stay; (ii)
 Ambac and Assured filed objections to the Oversight Board’s motion to stay; and (iii) PBA filed
 a response to the Oversight Board’s motion to stay stating that it does not oppose the motion. On
 July 17, 2019, the QTCB Noteholder Group filed a statement in support of the Oversight Board’s

 104
       The Oversight Board later stipulated to the PBA Funds Sub-Group dismissing itself without prejudice from the
       case, which the Title III court approved.

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 motion. The Oversight Board disagreed with AAFAF’s positions or those of the Defendant-
 intervenors who oppose the stay motion, and on July 17, 2019, the Oversight Board filed its reply
 in support of the stay. On July 24, 2019, the Court issued the Stay Order, which stay was extended
 through March 11, 2020.105

                     (i)      Challenges to the Validity of PBA Bonds.

        Certain parties have also filed objections to the validity of PBA Bonds. The GO
 Bondholders filed an Omnibus Conditional Objection of the Ad Hoc Group of General Obligation
 Bondholders to Claims Filed or Asserted by the Public Buildings Authority, Holders of Public
 Buildings Authority Bonds, and Holders of Certain Commonwealth General Obligation Bonds
 [ECF No. 6099], asserting that, if PBA is determined to be an “unconstitutional evasion” of the
 Commonwealth’s debt limit, any remedy for that violation would fall on holders of PBA Bonds,
 and accordingly, PBA Bonds, rather than later-vintage GO Bonds, should be invalidated. The
 UCC has also filed an Omnibus Objection of Official Committee of Unsecured Creditors Pursuant
 to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against
 Commonwealth by Holders of Certain Puerto Rico Public Buildings Authority Bonds [ECF No.
 8141], which seeks the disallowance of all claims filed or asserted against the Commonwealth
 based on certain PBA bonds issued in 2011 and 2012, because, according to the UCC, their
 issuance violated the Constitutional Debt Limit.

            2.       Pension Obligations

        For a description of the Commonwealth’s pension obligations, please see the Pension
 Report, attached hereto as Exhibit G. In accordance with PROMESA section 211, the Oversight
 Board determined the pension systems of the Commonwealth were materially underfunded.
 Accordingly, the Oversight Board conducted an analysis of the pension systems to assist the
 Oversight Board in evaluating the fiscal and economic impact of the pension cash flows. The
 Pension Report discusses the history of the pension systems, reforms to increase sustainability of
 pension benefits, the issuances of ERS Bonds, the impact of PayGo expenditures on the Fiscal
 Plan forecasted annual surplus, and other related issues.106

            3.       Other Post-Employment Benefit Obligations

        The Commonwealth provides various other post-employment (non-pension) benefits
 (“OPEB”) to retired employees including Christmas and medication bonuses, summer bonuses for
 JRS retirees, medical insurance plan contributions, disability benefits for high-risk positions,
 additional minimum death benefits, and other similar benefits for retired and disabled employees.
 These various benefits are administered by ERS, JRS, and TRS. The medical insurance plans

 105
       See section V.I. of this Disclosure Statement for a detailed summary of the Stay Order.
 106
       On June 28, 2019, the U.S. Government Accountability Office (“GAO”) released an update to Congressional
       Committees on the public debt outlook for the five United States territories, including the Commonwealth (the
       “2019 GAO Report”). The GAO noted that, although the Oversight Board’s reforms are intended to stabilize the
       pension system in the long term, officials and experts have stated that pension payments to current retirees have
       already begun crowding out spending for other government services due to the “pay-go” system.
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 consist of (i) Employees’ Retirement System of the Government of Puerto Rico and its
 Instrumentalities Medical Insurance Plan Contribution (“ERS MIPC”), covering substantially all
 full-time employees of the primary governments, certain municipalities of Puerto Rico and certain
 component units of the Commonwealth not having their own medical insurance plans; (ii)
 Retirement System for the Judiciary of the Commonwealth of Puerto Rico Medical Insurance Plan
 Contribution (“JRS MIPC”), covering all judges of the Judiciary Branch of the Commonwealth;
 and (iii) Puerto Rico System of Annuities and Pensions for Teachers Medical Insurance Plan
 Contribution (“TRS MIPC”), covering all active teachers of the Department of Education of the
 Commonwealth and employees of TRS.

        The plans were created under Act 95 of June 29, 1963. All three plans were sponsored by
 the Commonwealth. Benefits were provided through insurance companies whose premiums were
 paid by the retiree with the Commonwealth providing a matching share, up to $100 per month.
 ERS MIPC was an unfunded cost sharing, multiple employer plan, while JRS MIPC and TRS
 MIPC were unfunded, single employer plans.

         For ERS MIPC and TRS MIPC, Commonwealth employees became members upon their
 date of employment and were eligible for benefits upon reaching the applicable pension benefits
 retirement age. However, Act 3-2013 eliminated this benefit to ERS MIPC members who retired
 after June 30, 2013, and Act 160 eliminated this benefit to TRS MIPC member who retired after
 July 21, 2014. For JRS MIPC, judges of the Judiciary Branch of the Commonwealth became
 members upon their date of employment and were eligible for benefits upon reaching the age of
 60 with 10 years of service.

         Each medical insurance plan was financed by the Commonwealth and funded on a pay-as-
 you-go basis. Funding of the medical insurance plans were provided to the ERS MIPC, JRS MIPC
 and TRS MIPC through appropriations each July 1 by (i) the Commonwealth’s General Fund; (ii)
 certain corporations with their own treasuries; and (iii) certain public corporations with their own
 treasuries and municipalities for their former employees. There was no contribution requirement
 for plan members during active employment. Retirees contributed the amount of the healthcare
 insurance premium not covered by the Commonwealth. The annual OPEB cost and annual
 required contribution (“ARC”) was computed as part of an actuarial valuation in accordance with
 GASB Statement No. 45. Under Act 106, these amounts were included in the PayGo pension
 amounts.

        The PSAs that have been entered into with various parties contemplate the reduction of
 such benefits. See section II.B.1.b) of this Disclosure Statement for a more detailed description.

 C.       Puerto Rico’s Revenue and Tax Regime107

         The Commonwealth funds its operations from internal revenues (primarily revenues from
 taxes, fees and charges) as well as revenue from inter-governmental sources, primarily federal

 107
    This section is not intended to exhaustively describe all Commonwealth revenues, but rather provides an overview
  of certain of the Commonwealth’s most significant sources of revenue. This section is also not intended to provide
  tax advice, and taxpayers are urged to consult with their tax advisors concerning the U.S. federal, state, territorial
  (including Puerto Rico), local and non-U.S. tax consequences of the Plan in their respective individual circumstances.
                                                          70
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 funds.108 The Commonwealth’s tax revenues consist principally of income taxes, excise taxes and
 SUTs. Such taxes are mostly collected pursuant to the provisions of Act No. 1-2011, known as
 the Puerto Rico Internal Revenue Code of 2011, as amended (the “2011 Code”), or other Special
 Revenue Fund laws. Non-tax revenue sources include registration fees for motor vehicles, fees
 for services (including for judicial proceedings, public health services, and fulfillment of document
 requests), fines for motor vehicles, as well as fees for professional licenses, trademarks, housing-
 related fees, and other fees.

         The Commonwealth accounts for most of the tax revenue it collects in its General Fund,
 which is its primary operating fund. However, certain Commonwealth revenues from designated
 sources that are appropriated to designated agencies or instrumentalities for specified purposes are
 not accounted for in the General Fund but rather are accounted for in “Special Revenue Funds.”109
 Special Revenue Fund revenues include: (i) certain taxes that were historically appropriated,
 subject to certain conditions, through Puerto Rico statutes to agencies, public corporations or other
 third parties, (ii) charges and fees for services collected by Commonwealth agencies, (iii)
 dividends or other distributions received by the Commonwealth from its public corporations, and
 (iv) certain other revenues. Furthermore, certain other tax revenues, including the SUT revenues
 transferred to COFINA and expressly designated as not available revenues of the Commonwealth,
 are not accounted for in the General Fund or its Special Revenue Funds but are rather accounted
 for in other governmental funds administered and managed by the relevant government
 instrumentality. Because the Commonwealth follows the practice of pooling its cash, all revenues
 accounted for in the General Fund and most revenue accounted for in the Special Revenue Funds
 (subject to certain limited exceptions) are deposited in the Commonwealth’s centralized cash
 management system (the “Treasury Single Account” or “TSA”).




  For a description of Certain Material United States Federal Income Tax Considerations and Certain Puerto Rico
  Income Tax Considerations, please refer to Sections XI and XII of the Disclosure Statement, respectively.
 108
    Included in inter-governmental revenue sources are the covered over payments resulting from federal excise taxes
  on beer, wine, and rum exported from Puerto Rico.
 109
   All such revenues, including those accounted for in the Special Revenue Funds, are accounted for in the “General
  Fund” for purpose of the annual financial statements of the Commonwealth prepared in accordance with U.S. GAAP.

                                                        71
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        For fiscal year 2019, the Commonwealth preliminarily reported collections of
 approximately $11.4 billion in tax revenues (net of $480 million reserved for tax refunds) into its
 General Fund, up from approximately $9.3 billion in the prior fiscal year110 and up from
 approximately $7.7 billion in fiscal year 2009, categorized as follows:

  Tax Category ($ in millions)                GF Revenue          GF Revenue      GF Revenue         GF Revenue
                                               (FY 2009)           (FY 2018)      (FY 2019)111          (YTD
                                                                                                      November
                                                                                                       2019)112
  (a) Income Taxes
             Individual Income Tax               $2,648            $1,960            $2,224               $771
             Corporate Income Tax                $1,376            $1,776            $2,492               $1,325
             Nonresident Withholding             $1,082             $638              $630                $156
  (b) Sales & Uses Taxes                           $797             $1,646            $2,299               $517
      (“SUT”)113
  (c) Excise and Other Taxes
             Act 154 Excise Tax                    ---             $1,915            $2,083               $766
             Beer/Alcohol Excise Tax              $277              $265              $275                $107
             Tobacco Excise Tax                   $129              $156              $101                 $29
             Motor Vehicle Excise                 $311              $407              $519                $183
              Tax
             Others                               $686              $325              $523                $222
  (d) Rum cover transfer payments                  $404             $227114          $230115               $144
  Total                                           $7,710            $9,313           $11,376               $4,220


 110
   “Puerto Rico Treasury Reports Closing of fiscal year 2019 with Record Revenues Totaling $11,376 Million,”
  August 6, 2019.
 111
      General Fund Net Revenues as reported by the Department of                               Treasury,     available   at:
  http://www.hacienda.gobierno.pr/sites/default/files/junio_2019_infg_publicacion.pdf
 112
          General Fund Net Revenues as reported by the Department of Treasury,                               available   at:
       http://www.hacienda.gobierno.pr/sites/default/files/ingresos_netos_nov_2019_af_2020.pdf
 113
    The SUT deposited into the General Fund equals the 10.5% Commonwealth assessed SUT less the 53.65% of the
  Pledged Sales Tax Base Amount transferred to COFINA each fiscal year.
 114
        This amount reflects only the portion of the Rum Excise Taxes from the federal government that are subsequently
       transferred to the General Fund after a certain portion is retained in a Treasury lockbox account and subsequently
       distributed to certain on-island rum producers. The total tax remittance from the federal government pursuant to
       26 U.S.C. § 7652 for fiscal year 2018 was ~$430 million.
 115
       See supra n. 94. The total tax remittance from the federal government pursuant to 26 U.S.C. § 7652 for FY 2019
       was ~$433 million.

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         For fiscal year 2020, through November 2019, the latest data currently available shows
 General Fund collections totaled $4.22 billion, exceeding projections by $595.9 million.116 More
 recently, however, collections for fiscal year 2020, have started to underperform in several key
 categories. In November, for instance, collections trailed estimates in seven categories (individual
 income taxes, nonresident withholdings, sales and use tax, Act 154 excise tax, alcoholic beverages,
 cigarettes and rum remittances) and only exceeded projections in three categories (corporate
 income tax, motor vehicles and “other”). Long term impacts are still being evaluated by the
 Department of Treasury.

        Many of these taxes are collected by an integrated tax system, called Sistema Unificado de
 Rentas Internas or SURI, which is being deployed in phases from fiscal years 2017–2020. The
 next major release was scheduled for February 24, 2020, which will migrate corporate and
 individual income taxes to the platform. The benefits of the platform include improved filing and
 payment capabilities, digital workflows, and integration of previously disparate data sources.
 These features are expected to, over time, improve the Department of Treasury’s ability to serve
 taxpayers and enhance its compliance capabilities.

            1.      2018 Puerto Rico Tax Amendments (Act 257-2018).

          There have been at least 11 major revisions to Puerto Rico’s tax code since 1994, including
 at least six adjustments since 2013.117 Most recently, on December 10, 2018, Puerto Rico enacted
 Act 257-2018, which includes numerous amendments to Puerto Rico’s Internal Revenue Code
 described in more detail in the tax discussion sections below. This followed the repeal of certain
 parts of Act 72-2015, which had modified the SUT regime, introduced a Value Added Tax
 (“VAT”), and amended other income tax provisions. A guiding tax policy principle embedded in
 Act 257-2018 was revenue neutrality.

         Among the noteworthy features of Act 257-2018 are amendments to income tax provisions
 applicable to individuals and local corporations, changes to SUT provisions, the reintroduction of
 an Earned Income Tax Credit, and the legalization of certain games of chance. Act 257-2018
 reduced personal income taxes by enacting a 5% non-refundable tax credit and reducing the
 corporate tax base rate by 1.5%. To compensate for the reduction in tax collections, Act 257-2018
 placed greater reliance on the use of a new alternative basic tax (“ABT”) and an expansion of the
 alternative minimum tax (“AMT”). Moreover, Act 257-2018 increased the withholding income
 tax rate on payments for services rendered in Puerto Rico made after December 31, 2018, from
 7% to 10%. The change in law does not, however, amend the tax treatment of corporations covered


 116
          General Fund Net Revenues as reported by the Department of Treasury,                   available   at:
       http://www.hacienda.gobierno.pr/sites/default/files/ingresos_netos_nov_2019_af_2020.pdf
 117
    Reforms include: Act 40-2013, the “Tax Burden Redistribution and Adjustment Act;” Act 120-2014, the “Small
  and Medium Business Job Generation and Retention Act;” Act 72-2015, the “Adjustments to the Internal Revenue
  Code of 2011;” Administrative Orders 2017-01 and 2017-05; and Act 257-2018, the “2018 Puerto Rico Tax Reform
  Act.”

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 by incentive laws that benefit from a range of company and industry specific tax credits,
 exemptions, and deductions.

         Act 257-2018 reduced portions of the taxable SUT base and rate. Starting October 1, 2019,
 Act 257-2018 reduced the SUT on prepared foods to 7%, subject to the business obtaining a
 certification from the Secretary of Treasury. Act 257-2018 also exempted certain previously
 taxable items from the SUT, including e-books and digital books, female sanitary items, and
 certain legal services. Finally, Act 257-2018 increased the threshold for the SUT exclusion for
 business to business and designated professional services based on annual volume of business from
 $50,000 to $200,000 after March 1, 2019.

         Act 257-2018 also provides for the legalization of certain games of chance by addressing
 licensing and operations of machines, flow of funds to the government, the regulatory
 environment, and other guidance.

         Because regulations have not yet been approved, no revenue has been collected from the
 legalization of these gaming machines. The Oversight Board has also repeatedly expressed its
 concern that this potential activity could cannibalize existing fiscal plan revenues, in which case
 this provision of the Act would be inconsistent with the certified fiscal plan.

        Finally, the statutory mandate of Act 257-2018 creates greater interdependencies among
 taxpayers and the information they are obligated to report, which is expected to enable greater
 oversight and verification of the information being reported to the government.

        2.      Tax Incentives and Tax Credits

        Regular corporations, incentive corporations, and individuals have collectively claimed, on
 average, $246 million in tax credits per year, reducing net revenue collections.

         In addition to credits, deductions, and exemptions included in Puerto Rico’s Internal
 Revenue Code, Puerto Rico has passed more than 60 pieces of legislation that offer tax incentives
 to persons and companies that meet certain criteria (collectively, the “Incentive Acts”). Incentive
 corporations that qualify for treatment under the Incentive Acts generally pay a significantly
 reduced income tax rate and typically receive waivers or exemptions from the payment of certain
 SUT, licensing, municipal, and other taxes and fees.

         The cost of each credit is calculated independently. As described in the Tax Expenditure
 Report, each cost estimate also excludes behavioral and macroeconomic feedback effects. The
 behavioral impact effects the revenue implication of the removal of individual incentives due to
 economic choices of the tax payer to take advantage of remaining incentives. As a result, the
 projection may exceed the actual revenue gains that would result if a particular provision were
 eliminated since, often times, the removal of a tax expenditure would cause taxpayers to change
 their behavior to minimize the amount of tax they would have to pay. The macroeconomic
 feedback or dynamic effects estimate the impact of a tax incentive on the overall level of economic
 activity and the potential resulting impact on aggregate tax revenues. According to the Department
 of Treasury’s report, the cost of tax incentives to incentive corporations are also calculated
 somewhat uniquely because approximately 98% of the income taxed under the Incentive Acts is
                                                   74
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 income generated by foreign-owned incentive corporations. The elimination of the Incentive Acts
 would not necessarily reduce dollar for dollar the corresponding tax expenditures as a result of the
 foreign-owned corporations’ ability to shift activity to locations outside of the Commonwealth or
 potentially relocate operations over the longer-term as a result of, for example, an increase in tax
 rates.

         Described below are several of the Incentive Acts widely used in the Commonwealth.118
 Act 60-2019, described in the next section, repealed and consolidated many of Puerto Rico’s tax
 incentives, along with dozens of other tax decrees, incentives, subsidies and tax benefits, into a
 single statute with conforming benefits.

         Act 73-2008 (Economic Incentives for the Development of Puerto Rico Act). This act
 generally provides tax incentives to businesses that are established in Puerto Rico for
 manufacturing products on a commercial scale and to businesses engaged in a wide range of
 specific economic activities, such as scientific research and development, recycling, hydroponics,
 intangible property licensing, and software development. Qualifying companies receive
 preferential income tax rates as low as 4% along with varying exemptions on property taxes,
 municipal license taxes, construction taxes, and certain SUT taxes. As of December 31, 2019, 784
 companies have received tax breaks from Act 73-2008. This act represents $15.7 billion or 78%
 of the ~$20 billion tax expenditures estimated by the Department of Treasury in the inaugural tax
 expenditures report.

         Act 74-2010 (Puerto Rico Tourism Development Act). Corporations that construct, own,
 operate or administer hotels and engage in other tourism eligible activities can benefit from the
 provisions of Act 74-2010, known as the Puerto Rico Tourism Development Act. Exempt
 businesses receive a tradeable tax credit based on the amount of the tourism investment amount, a
 tax exemption from income and real and personal property taxes, an exemption on municipal
 license taxes, a tax exemption on municipal construction excise taxes, and a tax exemption on
 excise taxes and SUT on the acquisition of certain items used in the tourism activity.

          Act 27-2011 (Puerto Rico Film Industry Economic Incentives Act). This act was
 designed to set forth an adequate framework for developing the Puerto Rico film industry. The
 act offers tax exemptions and tax credits for production companies of short-films, regular films,
 documentaries, series, mini-series, music videos, commercials, video games, and TV productions
 such as reality shows. Benefits include a 4% flat income tax rate on the net income derived from
 the eligible projects and tax exemptions on property taxes, municipal license taxes, construction
 excise taxes, and other municipal taxes. As of December 31, 2019, 267 companies take advantage
 of this tax incentive.

        Act 83-2010 (Puerto Rico Green Energy Incentives Act). This act aims to promote the
 production of renewable energy. The green energy fund is used to support "green energy"
 development. Puerto Rico defines green energy as sustainable renewable energy and alternative
 renewable energy. Sustainable renewable energy includes solar, wind, geothermal, biomass,

 118
       This is not an exhaustive list of all incentives offered to individuals and corporations, but rather a representative
       sample of the types of incentives offered by the Government.

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 hydropower, marine and hydrokinetic and ocean thermal. Alternative renewable energy includes
 municipal solid waste, landfill gas, anaerobic digestion and fuels cells. Like other incentive
 structures, qualifying Act 83-2010 companies receive a 4% fixed income tax rate along with
 varying exemptions on distributions, property taxes, municipal license taxes and state excise tax
 and sales and use taxes for raw materials and machinery and equipment used in the production of
 Green Energy. As of December 31, 2019, 102 companies receive this incentive.

         Act 20-2012 (Act to Promote the Exportation of Services). Act 20-2012 promotes the
 establishment of export service operations in Puerto Rico. It provides tax incentives to businesses
 exporting services from Puerto Rico to persons outside of Puerto Rico with no nexus to Puerto
 Rico. Among the incentives are a 4% income tax rate on net income from export services, no
 income tax on dividend distributions the business makes out of its earnings and profits derived
 from eligible activities, an exemption from municipal license taxes on the volume of business
 derived from eligible activities and an exemption from real and personal property taxes on certain
 export services activities. As of December 31, 2019, 1,927 companies were doing business under
 this tax regime. Act 20 companies paid $210 million in total taxes, including $90.3 million in
 corporate income taxes, $75.1 million in income tax from payroll, and $25.7 million in SUT from
 payroll, according to a study by a local economics firm, which was commissioned by the
 Department of Economic Development and Commerce (“DDEC”). The same study indicates Act
 20 companies created 8,257 direct jobs and 16,692 indirect jobs in the local economy.

         Act 22-2012 (Act to Promote the Relocation of Investors to Puerto Rico). The tax benefits
 under Act 20-2012 are often complemented with the tax benefits under Act 22-2012, known as the
 Act to Promote the Relocation of Investors to Puerto Rico. Among the incentives for Act 22-2012
 residents are a 100% tax exemption from Puerto Rico income tax on all dividends, a 100% tax
 exemption from Puerto Rico income tax on all interest, and a 100% tax exemption from Puerto
 Rico income taxes on net long-term capital gains accrued after the individual resident investor
 (“IRI”) becomes a Puerto Rico resident. To qualify as an IRI under Act 22-2012, an individual
 must purchase residential property within two years after becoming a Puerto Rico resident, must
 open a bank account at a bank or credit union located in Puerto Rico, and must make charitable
 contributions to Puerto Rico charitable entities in the amount of $5,000 annually. As of December
 31, 2019, 2,339 grantees are qualified to receive Act 22-2012 benefits. More than 82% of Act 22
 grantees have a net worth below $10 million and only 4% have a net worth in excess of $50 million.
 78% of Act 22 grantees are also Act 20 grantees. According to a study by a local economics firm
 commissioned by the DDEC, Act 20 grantees promised to invest over $1.2 billion in the local
 economy, including $221 million in real estate, $391 million in machinery and equipment, and a
 further $650 million in other assets.

         Act 273-2012 (International Financial Center Regulatory Act). The Act provides tax
 exemptions to businesses engaged in eligible activities in Puerto Rico. To receive this exemption,
 a business needs to become an International Financial Entity (“IFE”) by applying for a permit and
 license and obtaining a tax exemption decree. Benefits include a 4% flat income tax rate on the
 net income and reduced taxes on dividends, real and personal property, and municipal license
 taxes. Of the income taxes paid by an IFE, 7.5% is deposited in the Special Fund for the
 Development of Export and Promoter Services of the Department of Economic Development and
 Commerce, created by the “Export Services Act” to promote growth of services and other eligible
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 businesses in Puerto Rico. As of December 31, 2019, thirty-five companies work under this type
 of tax arrangement.

        Act 21-2019 (Development of Opportunity Zones of Economic Development Act of
 Puerto Rico of 2019). Approximately 95% of the territory of Puerto Rico is considered a qualified
 opportunity zone under the parameters established by the U.S. federal government. Act 21-2019
 provides tax incentives for investments in qualified opportunity zones. Businesses will receive
 preferential tax rates, transferable tax credits, and partial exemptions of property and municipal
 taxes. These provisions, among other benefits like the expedited permitting process, are intended
 to make Puerto Rico’s market more appealing for investors looking to take advantage of
 opportunity zones.

         Act 14-2017 (Incentives Act for the Retention and Return of Medical
 Professionals). Signed into law on February 21, 2017, the purpose of the Incentives for the
 Retention and Return of Medical Professionals Act is to guarantee accessible and quality health
 services for all the residents of Puerto Rico; and offer an attractive tax incentives proposal for the
 medical professionals to stay in Puerto Rico, and at the same time, attract the setup of other
 professionals’ medical practice in Puerto Rico. A qualified physician that requests and obtains a
 tax exemption grant under the Act will enjoy the following tax incentives for an initial term of 15
 years: a 4% fixed income tax rate on eligible income generated as a result of offering his/her
 professional medical services; a 100% exemption (including Alternative Minimum Tax (“AMT”))
 on up to $250,000 received from eligible dividends, per year; and eligibility to contribute up to
 25% of the net income to individual retirement plans (Keogh) or up to 25% of their salary in case
 of corporate retirement plans, as after tax contributions. The qualified physician can request an
 extension of the grant for an additional 15 years, if he/she can demonstrate that said extension is
 in the economic benefit of Puerto Rico. As of December 31, 2019, 3,796 physicians are registered
 to benefit from the provisions of the Act.

         Tax Credits and Disbursements Authorization Committee. On March 7, 2017, AAFAF
 issued Administrative Order 2017-01, which created a Tax Credits and Disbursements
 Authorization Committee (the “Committee”). The Committee evaluated pending and new tax
 credits applications and set limits on the use and timing of tax credits granted. The Administrative
 Order also halted the granting of new tax credits authorized by various incentive acts. The
 Committee was dissolved by Administrative Order 2018-10 issued on July 2, 2018 and all
 remaining controls and limitations established by the Committee were repealed by Act 60-2019,
 described more fully below. On October 31, 2018, the Oversight Board issued a letter to, in part,
 call for the reinstatement of the Committee with the authority to restrict the percentage of net
 income that can be offset by tax credits and limitations on the number of years over which a tax
 credit can be claimed. The certified Fiscal Plan also calls for the government to place a limit on
 the annual issuance of tax credits.

        3.      Puerto Rico Tax Incentives Code (Act 60-2019)

       On July 1, 2019, the Commonwealth enacted Act 60-2019 (the “Puerto Rico Tax Incentives
 Code” or “Incentives Code”) to prospectively amend the tax incentives code and adopt a new legal
 and administrative framework to normalize the way new incentives are created, approved,

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 processed, and monitored. Existing incentive laws, including many of the ones described above,
 were repealed and replaced by similar incentives in Act 60-2019.

         To evaluate the fiscal benefit from each incentive, the legislation uses a Return on
 Investment (“ROI”) approach combined with an assessment of fiscal multipliers to prioritize high
 value-added incentives relative to those that do not generate sufficient economic return. The
 legislation, however, does not include explicit caps on, reductions to, or the elimination of any
 specific incentives. Rather, the purpose of the Incentives Code is to measure the ROI of tax and
 economic incentives by grouping them under a transparent and uniform code.

        Through the Incentives Code, the term, rate, and characteristics of incentives offered are
 harmonized across industries and credits. The Incentives Code also creates a centralized
 Incentives Office for Businesses in Puerto Rico at DDEC and establishes an Incentives Concession
 Portal to centralize, standardize, and streamline the processes related to the application and
 approval of decrees, cash grants, tax credits, subsidies, and other incentives.

         Many provisions of Act 60-2019 require the drafting and approval of regulations prior to
 their implementation.119

         Act 60-2019 also required the public disclosure of beneficiaries of certain tax expenditures.
 In accordance with that requirement, DDEC disclosed on January 30, 2020, 8,364 companies and
 individuals that currently received certain tax incentives. The online database offers the name of
 the grantee, the type of benefit and the decree’s issue date. At the moment, DDEC released the
 relevant information for recipients that receive benefits from the following Acts: Act 14-2017
 (Physician Retention); Act 20-2012 (Exportation of Services); Act 22-2012 (Investor Relocation);
 Act 273-2012 (International Financial Center Regulatory Act); and Act 27-2011 (Film
 Production). DDEC subsequently released additional data on February 11, 2020, disclosing
 recipients of the following tax expenditures: Act 73-2008 (Economic Incentives for the
 Development of Puerto Rico Act); Act 83-2010 (Puerto Rico Green Energy Incentives Act).

             4.       Commonwealth Taxes

                               Income Taxes

             Individual Income Tax.

         Puerto Rico’s income tax code imposes tax on individuals at rates which range from 0.0%
 for those individuals making less than $9,000 a year to a maximum marginal rate of 33% for those
 with an income above $61,501. Residents are taxed on income from nearly all sources, and only
 receive limited exemptions or deductions from their income, unless they receive a waiver under
 one of the incentive programs authorized by local law.


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        Pursuant to PROMESA section 204(b)(4) and the Oversight Board’s policy with respect thereto, proposed rules,
       regulations, administrative orders and executive orders covered by said policy, including all regulations under Act
       60-2019, must be submitted to the Oversight Board before being issued to ensure compliance with the certified
       Commonwealth fiscal plan.

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                            If net taxable income is:      Tax will be:
                            Less than $9,000               0%
                            $9,001 to $25,000              7%
                            $25,001 to $41,500             14%
                            $41,501 to $61,500             25%
                            Greater than $61,501           33%


        As described above, the recently enacted local tax act, Act 257-2018, reduced the effective
 income tax rate for individuals by allowing a 5% non-refundable tax credit on the tax obligation
 due by individuals for tax years beginning after December 31, 2018. Consequently, many
 individual tax filers will only pay 95% of their total tax liability annually going forward. If an
 individual is subject to the AMT rate, they are not eligible for the 5% tax credit authorized by Act
 257-2018.

         This reduction in income tax is paid for, in part, by the establishment of a new optional
 gross tax-based regime for certain self-employed individuals established as part of Act 257-2018.
 For tax years beginning after December 31, 2018, self-employed individuals, whose income
 originates substantially from rendering services, can opt to use a fixed tax rate schedule to
 determine their income tax liability. The tax rate is determined according to a gross revenue
 schedule provided in the law, and ranges from 6% to 20%. The full schedule is:

                              Gross Revenue Level:        Tax will be:
                              Less than $100,000                     6%
                              $100,001 to $200,000                 10%
                              $200,001 to $300,000                 13%
                              $300,001 to $400,000                 15%
                              $400,001 to $500,000                 17%
                              Greater than $500,000                 20%


        Beginning with tax year 2019, Act 257-2018 also reinstated an earned income tax credit
 (“EITC”) in Puerto Rico. The value of the credit generally ranges from $300 to $2,000, depending
 on marital status, number of dependents, and adjusted gross income. Given concerns with the
 implementation of the Puerto Rico’s previous EITC, the statute establishes new requirements for
 married taxpayers to be able to claim the credit. When claimed, the EITC will produce a cost to
 the government and reduce income tax collections.

       For fiscal year 2019, the Commonwealth’s individual net income tax collections in the
 General Fund amounted to approximately $2.2 billion.

        Regular Corporation Corporate Income Tax. Corporations in Puerto Rico generally fall
 under one of two types, regular corporations or incentive corporations. Unless a corporation


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 qualifies for partial exemption from corporate income and other taxes under the tax incentives
 programs, it is considered as a regular corporation subject to corporate taxation at graduated rates.

         Act 257-2018 reduced the maximum regular corporate income tax rate in Puerto Rico for
 tax years commencing after December 31, 2018. The reduction was made by reducing the base
 tax rate 1.5%, from 20% to 18.5%. As a result, the top marginal corporate tax rate, including
 relevant surtaxes, declined from 39% to 37.5%. The full normal corporate tax schedule is listed
 below:

           Net income subject to                                             Total Marginal
                                            Base Tax:         Surtax:
           Surtax:                                                           Corporate Tax Rate:
           Less than $75,000                       18.5%                5%                    23.5%
           $75,001 to $125,000                     18.5%            15%                       33.5%
           $125,001 to $175,000                    18.5%            16%                       34.5%
           $175,001 to $225,000                    18.5%            17%                       35.5%
           $225,001 to $275,000                    18.5%            18%                       36.5%
           Greater than $275,001                   18.5%            19%                       37.5%


          To pay for the reduction in the corporate tax base rate, Act 257-2018 enables corporate
 taxpayers engaged in a trade or business in which income is derived substantially from services,
 and subject to withholding at source, to elect to use a fixed tax rate to determine their income tax
 liability. The fixed rate will apply to the gross income derived from the rendering of services as
 follows:

                                 Gross Revenue Level:             Tax will be:
                                 Less than $100,000                              6%
                                 $100,001 to $200,000                         10%
                                 $200,001 to $300,000                         13%
                                 $300,001 to $400,000                         15%
                                 $400,001 to $500,000                         17%
                                 Greater than $500,000                        20%


         Moreover, Act 257-2018 increased the withholding income tax rate on payments for
 services rendered in Puerto Rico made after December 31, 2018, from 7% to 10%. Combined with
 a new requirement under Act 257-2018 to reconcile returns quarterly, this new process is expected
 to lead to considerably higher tax collections.

         Corporate revenue collections will also likely be enhanced from a recent change in the
 definition of Puerto Rico source income. Generally, compensation for work performed or personal
 services rendered physically outside of Puerto Rico are untaxed because they are considered as
 income from sources outside of Puerto Rico. Act 257-2018, however, provides a change whereby
 payments for services offered outside of Puerto Rico to any agency, dependency, or instrumentality
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 of the government of Puerto Rico, a public corporation, as well as the legislature, the judiciary and
 municipalities, or any other entity, created by state or federal law, whose funds come, totally or
 partially, from the General Fund will be considered as income from sources within Puerto Rico
 and taxed accordingly.

         Puerto Rico also maintains an Alternative Minimum Tax regime. The alternative minimum
 tax rate is 18.5% for taxpayers with a volume of business of less than $3 million. If a taxpayer’s
 volume of business is $3 million or more, the applicable AMT rate is 23%.

         In addition to credits, deductions, and exemptions included in Puerto Rico’s Internal
 Revenue Code, Puerto Rico has passed more than 60 pieces of legislation that offer tax incentives
 to persons and companies that meet certain criteria (collectively, the “Incentive Acts”). Incentive
 Corporations that qualify for treatment under the Incentive Acts generally pay a significantly
 reduced income tax rate and typically receive waivers or exemptions from the payment of certain
 SUT, licensing, municipal, and other taxes and fees.

         In July 2019, one of Puerto Rico’s largest tax filers completed a one-time corporate
 transaction, which is contributing to more than $500 million in out-performance of corporate
 income tax collections, relative to the fiscal plan forecast. The long term implications are still
 being evaluated by the Department of Treasury.

        For fiscal year 2019, the combined General Fund and special revenue fund tax revenues
 for Commonwealth regular and incentive corporations amounted to approximately $2.6 billion.

         Non-Resident Withholding Tax. In general, non-residents are subject to a withholding tax
 on royalty payments received from Puerto Rico sources. The regular withholding rate on these
 payments to nonresidents is 29%, however certain taxpayers can enjoy a more favorable tax
 treatment. By law, 10% of the revenues derived from the withholding tax on royalties paid by
 companies operating under Act 73-2008 are supposed to be appropriated to the Economic
 Development Fund (the “FEDE”), an incentive fund administered by PRIDCO. The revenues
 appropriated to FEDE are recorded in a Special Revenue Fund used to provide economic incentive
 grants to private companies. However, the percentage transferred has historically been smaller
 than 10%.

         In addition to the tax on royalties, unless an incentive decree is in place, dividends paid to
 non-resident corporations and individuals are subject to a withholding tax of 10% and 15%,
 respectively, and interest paid to non-resident affiliates is subject to a withholding tax of 29%.

        For fiscal year 2019, Commonwealth nonresident withholding tax revenues amounted to
 approximately $646 million in both the General Fund and Special Revenue Funds.

         Other Income Taxes. Revenues from other income taxes include revenues from
 partnerships, tollgate taxes, taxes on interests and dividends and inheritance and gift taxes. For
 fiscal year 2019, total other income tax revenue amounted to approximately $42 million.



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                        Sales and Use Tax (SUT)

       The Commonwealth’s SUT was originally imposed in 2006 pursuant to Act No. 117-2006.
 The SUT replaced the prior 5% (effective 6.6%) general excise tax on imported goods and the
 3.6% general excise tax on goods manufactured in Puerto Rico.

         The SUT is imposed on the sale, use, consumption and storage of taxable items, which
 include tangible personal property, taxable services, admission rights and certain other types of
 transactions covering separable and identifiable taxable items which are sold for a single price,
 subject to certain exceptions and limitations. Certain items, such as fuel, crude oil and petroleum
 products and vehicles, however, remain subject to the excise tax previously applicable to such
 items, and are not subject to the SUT.

         The Commonwealth SUT had an original tax rate of 5.5%. Act 117-2006 also authorized
 each municipal government to impose a SUT of 1.5% (the “Municipal SUT”), which generally has
 the same tax base, exemptions (except for unprocessed foods) and limitations as those provided
 for the Commonwealth SUT. Combined, the rate was 7.0%. Act 18-2014 lowered the portion of
 the Municipal SUT allocated to the municipalities to 1.0% and allocated the other 0.5% to the
 Municipal Administration Fund, a fund created to provide a financial mechanism to finance the
 debt of the municipalities.

         In 2013, Act 40-2013 eliminated various exemptions to the SUT, which broadened its base,
 and Act No. 46-2013 required the declaration and payment of the SUT on imported goods at the
 time of their entry into Puerto Rico.

        On May 29, 2015, the Commonwealth enacted Act 72-2015 that, among other things, (i)
 increased the Commonwealth SUT rate to 10.5% effective on July 1, 2015, with the net 4.5%
 increase being for the benefit of the General Fund, and (ii) eliminated several exemptions.

         Although the provisions enacted under Act 72-2015 have experienced various amendments
 since their original enactment, the Commonwealth SUT remains at 10.5%, a portion of which is
 allocated to COFINA in accordance with a statutory formula, as adjusted under the COFINA Plan
 of Adjustment, with the balance being allocated to the Commonwealth’s General Fund. With the
 1.0% allocated to the Municipal SUT, the total Sales and Use Tax rate in Puerto Rico is 11.5%,
 one of the highest rates in the United States. Separate from the general SUT, there is also a special
 4% SUT that is generally applicable to business-to-business services and designated professional
 services with annual volume of business above $200,000.

         Act 257-2018 amended both the rate and items subject to the Commonwealth SUT. Act
 257-2018 broadened the SUT base by expanding the taxability of certain categories, including
 discount shopping clubs and certain types of candies. Act 257-2018 also reduced other portions
 of the taxable SUT base and rate. Starting October 1, 2019, Act 257-2018 reduced the SUT on
 prepared foods sold by restaurants to 7.0%, subject to the restaurant obtaining a certification from
 the Secretary of Treasury. Act 257-2018 also exempted certain previously taxable items from the
 SUT, including e-books and digital books, female sanitary items, and certain legal services.
 Finally, Act 257-2018 increased the threshold for the SUT exclusion for business to business and

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 designated professional services based on annual volume of business from $50,000 to $200,000
 after March 1, 2019.

         The use of medical cannabis has been permitted in Puerto Rico since 2015 through
 Executive Order No. OE-2015-35 and implemented by the Regulations of the Puerto Rico
 Department of Health No. 8766, as amended. However, on July 9, 2017, the Governor of Puerto
 Rico signed into law Act 42-2017, the “Act to Manage the Study, Development and Research of
 Cannabis for Innovation, Applicable Norms and Limitations,” which legalizes and regulates the
 use of cannabis in Puerto Rico for medical purposes but keeps recreational use prohibited. With
 this legislation, the new administration created a robust legal framework to protect the patients,
 and to address the regulation, control, and oversight of the medical cannabis industry. The sale of
 medical cannabis is subject to the 11.5% SUT. Doctors also pay $1,500 every three years for a
 permit to issue prescriptions to patients.

        Due to the state of emergency caused by the recent seismic activity experienced throughout
 Puerto Rico, on January 9, 2020, the Secretary of the Department of Treasury announced the
 temporary elimination of the collection and payment of the SUT until 11:59 p.m. (AST) on January
 31, 2020. This was done through Administrative Order 20-01, which informed merchants that
 individuals are exempt from paying SUT on taxable items considered as prepared foods, including
 carbonated beverages and baked goods and pastries as defined by the Internal Revenue Code of
 Puerto Rico. The SUT exemption does not apply to the sales of alcoholic beverages. This waiver
 was extended for an additional 30 days until February 28, 2020 for the municipalities under the
 major disaster declaration.

        For fiscal year 2019, the Commonwealth received approximately $2.4 billion in General
 Fund and special revenue fund revenue from the SUT. Pursuant to its plan of adjustment, COFINA
 received $420 million in SUT revenue.

                        Excise, Other Taxes, and Other Monies and Revenues

         Act 154 Special Tax. In 2010, the Commonwealth enacted Act 154-2010 (“Act 154”) to
 address the Commonwealth’s fiscal crisis at the time by increasing tax revenues derived and
 collected from the activities of foreign corporations and partnerships operating in Puerto Rico. In
 particular, Act 154 modified the income taxation of certain non-resident alien individuals, foreign
 corporations and foreign partnerships by expanding the circumstances in which such persons
 would be subject to Puerto Rico income taxation and imposed an excise tax on the acquisition of
 certain personal property manufactured or produced in whole or in part in Puerto Rico and on the
 acquisition of certain manufacturing services carried out in Puerto Rico. This excise tax, which is
 imposed in lieu of an income tax based on the modified source income rule, affects mostly foreign
 corporations and partnerships that are principally engaged in the manufacturing of pharmaceuticals
 and other high-tech products. The special temporary excise tax imposed by Act 154 has become
 one of the Commonwealth’s principal sources of tax revenues. In fiscal year 2019, ten companies
 accounted for more than 90% of the special temporary excise tax revenues.

        Although the Act 154 excise tax was originally scheduled to apply for a limited period of
 time and to decline over time, the continuing of the fiscal crisis resulted in Act 154 being amended

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 in 2013. Under Act 2-2013, the declining rate, at 2.75% at the time, was reset back to 4.0% and
 the term was extended through 2017. In 2017, under Act 3-2017, the tax was further amended to
 extend the fixed 4% rate until December 31, 2027.

         Upon the scheduled expiration of the Act 154 excise tax on December 31, 2027, Act 154
 provides that such tax shall be replaced by the modified source of income rule. It is not clear the
 level of tax collection under the modified source of income rule would be sufficient to replace the
 tax revenues currently received by the Commonwealth pursuant to the special temporary excise
 tax under Act 154.

         In September 2019, U.S. Treasury Secretary Steve Mnuchin asked Governor Wanda
 Vázquez to present a transition plan to eliminate the temporary credit that has allowed foreign
 companies to fully deduct the 4% tax imposed by Act 154. Following the meeting, Puerto Rico’s
 government announced a working group consisting of government and private sector individuals
 would be formed to identify potential alternatives to the tax. There is no assurance these efforts
 will be successful at developing or enacting a reform process that replaces revenues from Act 154
 on a timely or substantive basis.

        For fiscal year 2019, the Commonwealth collected approximately $2.1 billion in General
 Fund revenue from Act 154. There were no special revenue fund collections from Act 154
 revenues in fiscal year 2019.

         Beer and Alcoholic Beverages Excise Tax.                  Distillers, rectifiers, producers,
 manufacturers, and importers are generally taxed on distilled spirits, wines with 24% or less
 alcohol content by volume, imported champagne and sparkling or carbonated wines or imitations
 thereof, and beer, ale, porter, malt extract, and other similar fermented or unfermented products.
 If wines, champagne, and sparkling carbonated wines or imitations thereof have more than 24%
 alcohol content by volume, they are considered distilled spirits. The tax is imposed on a per-wine
 gallon or a per-proof gallon.

         Since 1978 (Act 37-1978), the tax rate assessed on beer production has varied depending
 on whether the beer was brewed locally or imported. The recently enacted Act 86-2019 reduced
 excise tax rates for small beer producers. Persons producing fewer than 1.86 million gallons but
 greater than 400,000 gallons will be taxed at $1.50 per gallon and those producing fewer than
 400,000 gallons will be taxed at $0.95 per gallon. Act 86-2019 maintained the existing 5-tier
 graduated scale for persons producing greater than 1.86 million gallons of beer in a year. The
 lowest tax in this tier is $2.55 per gallon for companies that produce between 1.86 million and 9
 million gallons. The highest tax is $4.35 per gallon for companies that produce more than 31
 million gallons, or for imported beers. Act 108-2004 additionally modified the way the tax was
 assessed, and, thereby the amount paid by companies subject to the tax. Imported beer producers
 pay the highest tax per gallon on the scale, regardless of their production level. Similarly, the
 excise tax on distilled spirits obtained from fermentation and distillation of any product other than
 those derived from sugarcane pay a $31.29 per measured gallon tax.

        For fiscal year 2019, the Commonwealth collected approximately $275 million in General
 Fund revenue from such excise tax.

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         Tobacco Products Excise Tax. The excise tax applicable to cigarettes, which has been
 increased multiple times in the past decade, is currently $25.50 per hundred cigarettes. The tax
 code also imposes a tax on cigars, rolling tobacco, chewing tobacco, powdered tobacco (“snuff”),
 electronic cigarettes, vaporizers, and other products derived from tobacco.

        A portion of the proceeds of the cigarette excise tax has historically been conditionally
 appropriated for the payment of HTA and MBA debt obligations. These tax collections were
 deposited in the TSA or other Commonwealth accounts.

        Another portion of the proceeds of the cigarette excise tax has been appropriated for the
 following entities (i) the Puerto Rico School of Plastic Arts, (ii) the Puerto Rico Conservatory of
 Music Corporation, (iii) the Musical Arts Corporation, and (iv) the repository of archives and relics
 of former governors, to cover their operational expenses. Such amounts are recorded in a Special
 Revenue Fund.

        Since fiscal year 2016, a portion of the proceeds of the cigarette excise tax has been
 appropriated for the Integrated Transit Authority (“PRITA”) to cover its operational expenses.
 Such portion is recorded in a Special Revenue Fund.

         For fiscal year 2019, the Commonwealth collected approximately $188 million from the
 tobacco products excise tax; $101 million in General Fund and $87 million in special revenue fund
 collections.

         Motor Vehicles Excise Tax. The excise tax applicable to automobiles ranges from $637.50
 to $9,253 plus 34% of the taxable price in Puerto Rico in excess of $44,890. Motorcycles and all-
 terrain vehicles are also subject to an excise tax of 8% and 11.5%, respectively. Other vehicles
 are subject to different excise tax rates on their taxable price in Puerto Rico (e.g., truck tractors
 (17%), buses (20%), trucks (10%) and trailers of manual coupling or of light equipment (6.6%)).

         A portion of the proceeds of the motor vehicle excise tax (initially $20 million annually
 but increasing to $40 million by 2020) has been appropriated for the Green Energy Fund to provide
 subsidies to Puerto Rico residents to cover the cost of purchasing energy-efficient materials and
 equipment.

        For fiscal years 2019, the Commonwealth collected approximately $519 million in General
 Fund revenue from the motor vehicles excise tax.

        Custom Duties and Offshore Rum Excise Tax. Intergovernmental revenues include
 remittances from the federal government of federal excise taxes on shipments of rum, beer, and
 wine imported from Puerto Rico and foreign jurisdictions to the United States mainland, in
 accordance with section 7652 of the Internal Revenue Code and the Caribbean Basin Economic
 Recovery Act of 1983 (P.L. 98-67).

        The excise taxes on shipments of certain rum, beer, and wine is imposed and collected by
 the United States Alcohol and Tobacco Tax and Trade Bureau and covered over to the
 Commonwealth. The excise tax on shipments of rum from Puerto Rico and other rum producing
 countries is currently at $13.50 per proof gallon. Of this amount, the lesser of $10.50 per proof
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 gallon and the actual excise tax imposed is currently covered over to the Commonwealth. Since
 1999, the United States Congress has also enacted special supplementary legislation increasing the
 maximum amount covered over to the Commonwealth to $13.25 per proof gallon. The law does
 not impose any restrictions on how Puerto Rico can use the transferred revenues.

         Puerto Rico distributes revenues from the remittances of excise tax on shipments of rum
 among various governmental entities and private rum producers. In addition to sending funds to
 the General Fund, revenues from the excise tax are appropriated to, and distributed among (i) the
 Puerto Rico Conservation Trust Fund (the “Conservation Trust”), a Puerto Rico charitable trust
 charged with protecting Puerto Rico’s natural resources, which receives each fiscal year an amount
 equal to approximately 45 cents per proof gallon of rum of the tax extender amount, (ii) the Puerto
 Rico Science, Research and Technology Trust Fund (the “Science Trust”), a government-
 sponsored trust created by Act 214-2004 to set and implement the public policy of the
 Commonwealth for technological and scientific research and development, which receives $5
 million in excise tax revenues each fiscal year, and (iii) PRIDCO, for the benefit of the “Rums of
 Puerto Rico” incentive program, which receives up to $10 million each fiscal year.

         Finally, up to 46% of the revenues from the excise tax corresponding to the rum sales of
 certain rum producers is transferred to such rum producers pursuant to certain incentive
 agreements signed with the Commonwealth. This incentive program was created in direct
 response to the fact that in 2008, the Government of the U.S. Virgin Islands signed an agreement
 with Diageo USVI, Inc. (“Diageo”) for the construction and operation of a new rum distillery in
 St Croix, U.S. Virgin Islands, that would manufacture Captain Morgan branded products, which
 prior to 2012 were procured through a supply contract with the Serrallés distillery in Puerto Rico.
 As a result of the termination of the contract between Serrallés and Diageo, after 2011 the income
 received by the Commonwealth from the federal excise tax on rum shipments has materially
 decreased as Serrallés has not acquired other bulk rum clients sufficient to make up the entirety of
 the volume of bulk rum previously purchased by Diageo for its Captain Morgan products.

         In an effort to support the local rum industry as a result of the threat posed by the U.S.
 Virgin Islands’ agreement with Diageo, and to protect the amount of federal excise taxes on rum
 shipments returned to the Commonwealth under the cover-over program, Act No. 178-2010
 increased from 10% to 25% the portion of the monies from the federal excise tax that the
 Commonwealth may invest to provide incentives to, and promote, the Puerto Rican rum industry.
 The law also authorized the Governor to increase this percentage up to 46% through Executive
 Order. Such Executive Order was issued, and the percentage limit was increased to 46% effective
 July 1, 2012. As contemplated by Act 178-2010 (now incorporated into Act No. 1-2011), the
 Commonwealth has entered into definitive agreements with the three main Puerto Rico rum
 producers. These agreements provide rum producers with 46% of the monies from the excise tax
 corresponding to the rum sales of each such rum producer. Since May 2015, the federal
 government has deposited money received from federal rum excise taxes into a lockbox account
 of the Secretary of the Treasury at a private commercial bank. The commercial bank and the
 Commonwealth have agreed to distribution instructions for moneys to be transferred from the
 lockbox to the Central Government, rum producers, and other transferees. Prior to this
 arrangement, federal rum excise taxes were deposited in the TSA and the Treasury forwarded to
 PRIDCO the amounts necessary to pay the incentives due to the rum producers.
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        For fiscal year 2019, General Fund revenues from the federal excise tax on rum shipments
 were approximately $230 million. Other participants in the cover-over revenue stream received
 approximately $197 million in fiscal year 2019.

        Slot Machines. Slot machines are taxed in accordance with Act 221-1948, the Games of
 Chance Act. The Act requires the Commonwealth distribute slot revenue to various sources
 including the General Fund, the PRTC, and the University of Puerto Rico. Under the Games of
 Chance Act, slot machine revenue is split between operators and the government in varying
 proportions depending on the total revenue collected.

         In fiscal year 2019, the General Fund and Special Revenue Funds received approximately
 $24 million and $297 million in revenue from slot machines. Additional funds were also
 distributed to the PRTC and the University of Puerto Rico.

        Games of Chance Machines Tax. Act 257-2018 included provisions for the licensing and
 operations of Games of Chance machines, flow of funds to the government, and the regulatory
 environment, among other guidance. Initially, the law legalizes 25,000 machines over two years.
 An additional 10,000 machines per year (20,000 total) are authorized in years 3 and 4 if the PRTC’s
 Games of Chance Division concludes, based on a study, that the market for Games of Chance
 Machines is not saturated.

        There is a $1,500 annual license fee per machine payable by wholesale owners. The fee is
 payable to the Department of Treasury, of which $300 shall be transferred to the PRTC for
 administrative services. There is also a $3,000 biennial license fee payable to the Department of
 Treasury by distributors, goods and services providers, and manufacturers. Machines must offer
 players at least an 83% payback on play activity. The remaining 17% revenue is split between the
 operator of the machine (67%) and the government (33%).

        From the portion of revenue that is sent to the government, the revenue is split in various
 amounts between the General Fund (the first $40 million, if the license fees under the 2011 Code
 does not meet that threshold), municipalities for their ASES contribution (45%), and police
 retirement costs (50%). A small portion (5%) of the government’s share also goes to the PRTC
 for maintenance and operations.

        Because regulations for this provision of the law have not yet been approved, no revenue
 has been collected from this revenue stream.

         Sports Betting and eGaming. Puerto Rico recently enacted Act 81-2019, which legalizes
 onsite and online betting on professional and college sports events, as well as videogame and
 fantasy sports leagues. Act 81-2019 establishes that sports betting will be allowed in casinos, at
 horse-racing tracks and off-track betting parlors, at cockfighting arenas and over the internet.
 Additionally, “betting centers or districts” could be established in “strategic places” including
 tourism zones, historic zones or any other place that complies with the proposed law and
 regulations imposed by a newly established Gaming Commission that will regulate betting on
 sports, horse racing, electronic games and slot machines.


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         Under Act 81-2019, government revenue would be generated from operating license fees
 and taxes on bets and winnings. In addition to licensing fee collections, the tax rate on bets will
 be 6% for bets made in person and 11.5% for bets made online. 50% of the revenue, after covering
 the cost of the newly established Gaming Commission, would be earmarked for public pensions
 with the remaining revenue being allocated to a range of other areas including youth sports,
 educational initiatives, law enforcement equipment, municipalities, and to treat gambling
 addiction.

        Because regulations have not yet been approved, no revenue has been collected from this
 revenue stream.

         Traditional and Electronic Lottery. Puerto Rico oversees two types of lottery systems, a
 traditional and electronic lottery. The Puerto Rico Lottery is the oldest modern lottery in the
 United States. The system began in 1934 and is currently operated by the Puerto Rico Treasury
 Department. The General Fund will recognize revenue from unclaimed lottery prizes that by law
 are recorded in the General Fund on a budgetary basis after the term for claiming lottery prizes has
 expired (180 days). The recording of revenue in the General Fund however does not represent a
 cash transfer or deposit in to the TSA. By law, 35% of annual net revenue from the electronic
 lottery is funded into the CRIM equalization fund with the purpose of supporting smaller
 municipalities.

        In fiscal year 2019, the General Fund and Special Revenue Funds recognized or received
 approximately $170 million in revenue from the traditional and electronic lotteries.

         Excise Tax on Petroleum Products and its Derivatives (“crudita”). The gross excise tax
 on petroleum products and its derivatives is $15.50 per barrel ($6.25 of which does not apply to
 diesel products). $9.25 of such tax was historically conditionally appropriated for HTA and $6.25
 to PRIFA. This tax is subject to adjustment based on consumption and inflation every four years.

        These tax collections were deposited in the TSA or other Commonwealth accounts.

        Gasoline, Gas Oil and Diesel Oil Excise Tax. The gasoline excise tax is currently set at
 $0.16 per gallon, and the tax on gas oil and diesel oil, is currently $0.04 per gallon.

        These revenues were deposited in the TSA or other Commonwealth accounts.

         Aviation Fuel Tax. Act 82-1959, as amended, empowers the Puerto Rico Ports Authority
 to levy and collect a fee from importers of aviation fuel. This fee is currently three cents per gallon
 of aviation fuel supplied to airlines and other suppliers.

       Hotel Occupancy Tax. Article 24 of Act 272-2003, as amended, imposes a hotel
 occupancy tax, collected directly by the PRTC, on all hotels and motel accommodations on the
 Commonwealth. The fiscal year 2019 special revenue fund revenue recognized was $72.9 million.

        Additionally, in accordance with Act 46-2017, the government started collecting the 7%
 room occupancy tax from short-term rental property operators. The law amended the definition
 of “innkeeper/host” for the different business models that have entered the market and serve as
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 intermediaries between the hotels and guests. Entities like Airbnb, HomeAway and other digital
 platforms will collect “room tax” as mandated by the law. Before the enactment of Act 46-2017,
 on June 22, 2017, the Governor and officials of Airbnb signed a voluntary agreement to directly
 collect and remit the tax.

         Horse Races, Insurance Premiums and Other Excise Tax Revenues. For fiscal years
 2019, the Commonwealth collected approximately $156 million in General Fund revenue from
 horse races, insurance premiums and other excise taxes. This includes revenues from horse racing,
 insurance premiums, and excise taxes on sugar, coffee, cement, and others. The excise tax
 applicable to sugar and coffee is appropriated for the Integral Fund for the Development of
 Agriculture (“FIDA”) administered by the Puerto Rico Land Authority.

         Interest Income. The government of Puerto Rico recently established a program to
 maximize interest generated through the monthly redistribution of TSA unreserved balances.
 According to Puerto Rico’s Treasury Secretary, the redistribution of government-held bank
 accounts started in October 2019 and is projected to generate $124 million in interest income for
 the Commonwealth during fiscal year 2020. The figure represents a 39 percent increase compared
 with interest accrued in fiscal 2019.

        5.      Charges for Services

         The Commonwealth charges fees and penalties for services rendered. The most important
 of these charges for services are described below.

          Public Health / Patient Fees. The Department of Health operates three hospitals in Puerto
 Rico located in San Juan and Bayamon, Puerto Rico. The Department of Health is authorized to
 bill for medical services rendered in these medical facilities. While the revenues earned are used
 exclusively for the operation of the medical facilities, appropriations from the General Fund are
 nevertheless still required to cover a significant amount of operating expenses. All the revenues
 earned from these fees are recorded in a Special Revenue Fund.

        Judicial Service Fees. The Judicial Branch of the Commonwealth is authorized by law to
 charge fees related to the Puerto Rico court system. Such revenues are to be used exclusively by
 the Judicial Branch of the Government.

          Document Rights Fees. Commonwealth agencies are authorized by law to charge a fee
 for certified documents or other official government documents, such as birth certificates and death
 certificates.

         Motor Vehicle Fines. Motor vehicle fines are assessed for a range of standing and moving
 violations. Law 134-2019 was enacted to establish payment plans and incentives for debts on
 various fines and driver's licenses. In fiscal year 2019 Special Revenue Funds received $79 million
 in revenue from motor vehicle fines.

        Motor Vehicles Permits Fees. The Vehicle and Traffic Law requires that the motor
 vehicles registration fees collected be used only for the operation of the centers for driving services
 (known as “CESCOS” for their acronym in Spanish), which are administered by the Department
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 of Transportation and Public Works. Revenues from motor vehicle license fees are recorded in a
 Special Revenue Fund.

         Other. Other charges include charges provided by agencies, professional license fees,
 trademark fees, rental fees, public housing fees and other permit, fine and registration fees. A
 significant portion of these license fees are recorded in Special Revenue Funds. In fiscal year
 2019, all other revenue sources of the Commonwealth represented $330 million in General Fund
 and $493 million in special revenue fund collections.

         6.       Property Taxes

        Property tax in Puerto Rico is charged on both real property and personal property,
 including inventory, to companies and individuals, mostly for the benefit of municipalities.

         Real property taxes are assessed based on fiscal year 1957-1958 property values. No real
 property reassessment has been made since fiscal year 1957-1958, and construction taking place
 after that year has been assessed on the basis of what the value of the property would have been in
 fiscal year 1957-1958. Accordingly, the overall assessed valuation of real property for taxation
 purposes is substantially lower than the actual market value. Also, an exemption on the first
 $15,000 of assessed 1958 valuation (more than $215,000 in current dollars) in owner-occupied
 residences is available. Personal property taxes, which account for approximately 46% of total
 collections of taxable property, are self-assessed.

        The total property tax rate varies by municipality, with the ranges listed below for the fiscal
 year 2019-2020:

  Category                                    Real Property                Personal Property
  Basic Fixed Property Tax Rate               5.72% - 6.00%                3.72% - 4.00%
  Add’l. Special Property – State             1.03%                        1.03%
  Add’l. Special Property – Muni              Varies – 1.20% to 5.50%      Varies – 1.00% to 5.50%
  Discount from State                         (0.20%)                      (0.20%)
  Total (Varies by Municipality)              7.75% to 12.33%              5.55% to 10.33%


         Property taxes are assessed, determined and collected for the benefit of the municipalities
 by CRIM. 1.03% of the property tax based on the assessed value of all property (other than
 exempted property) is deposited in the Commonwealth’s Debt Service Redemption Fund (which
 is not part of the General Fund).

         7.       Federal Funds

        Federal Grants and Subsidies. The Commonwealth is the beneficiary of numerous federal
 programs, which provide funding for services provided by the Government. This includes federal
 funds for Puerto Rico’s Medicaid program and Title I funds from the Federal Elementary and
 Secondary Education Act for Puerto Rico’s Department of Education. The Commonwealth also

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 receives more than $2 billion annually in federal funds to fund its Nutritional Assistance Program
 (“NAP”), which provides a monthly benefit for food to low-income households.

        Federal agencies transferring funds to Puerto Rico in fiscal year 2020


                                                    Dept. of
                                                   Health and
                                                    Human
                                                    Services
                                                     27%

                                  Dept. of                         Dept. of
                                 Agriculture                      Education
                                   27%                              14%



                                                                            Dept. of
                                         Others                           Housing and
                                          5%                                 Urban
                                                             EnviornmentalDevelopment
                                      Homeland Dept. of        Protection    11%
                                       Security Transportation Agency
                                         4%          6%           6%

         The Commonwealth certified budget includes $8.7 billion of federal funds for fiscal year
 2020, of which $7.6 billion pertains to the Commonwealth, and instrumentalities and public
 corporations included in the Commonwealth fiscal plan. There are also federal transfers in the
 form of direct payments made to individuals, such as social security retirement and disability
 insurance, Medicare supplementary medical and hospital insurance, or veteran benefits. Some
 disaster funding flows directly through the Central Office of Recovery, Reconstruction and
 Resilience (“COR3”) and is not reflected in the federal funds’ budgets.

        The largest recipient of federal funds is the Administration for Socioeconomic
 Development of the Family, which manages NAP. In fiscal year 2020, the agency will receive
 approximately $2 billion in federal funding for NAP. Benefits are loaded directly onto Electronic
 Benefit Cards, which can be used at eligible food retailers.

         The Puerto Rico Health Insurance Administration (“ASES”) is expected to receive $1.7
 billion in fiscal year 2020 of federal funding from the Department of Health and Human Services
 for Medicaid. ASES is responsible for making monthly payments to the local insurance carriers.
 It then needs to seek reimbursement of these expenses from the federal government. The
 Department of Health submits these claims to the federal government on behalf of ASES.

         The Puerto Rico Department of Education (“PRDE”) was expected to receive
 approximately $1.5 billion of federal funds in fiscal year 2020. By federal law, all basic
 educational services must be paid for using state funds while federal funds are used to provide
 non-basic services such as special education programs, school lunch programs for low-income
 students and Title I funding for low-income students. When drawing down federal funds for most
 grant programs, the PRDE must provide the required invoices and other documentation to the U.S.
 Department of Education (“USDE”). Once the drawdown request is approved the funds are
 transferred to the Department of Treasury where the PRDE must complete disbursements within
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 3 business days. In June 2019, USDE ordered the Commonwealth to hire a fiduciary agent to
 perform the financial management of the federal funds sent to PRDE and ensure compliance with
 USDE grant requirements. On October 7, 2019, PRDE issued a Request for Proposals for Third-
 Party Fiduciary Agent Services. Its aim is to elicit proposals from qualified business organizations
 with proven experience providing independent fiscal management and oversight services in the
 public sector, to act as third-party fiduciary agent to perform financial management duties for
 USDE grant funds awarded to PRDE, in accordance with applicable federal requirements. While
 the RFP has been issued to select the fiduciary agent, no announcement about the selected vendor
 has been made yet.

         The Puerto Rico Department of Health (“PRDOH”) is expected to receive approximately
 $560 million of federal funding in fiscal year 2020 from various federal agencies including:
 Department of Agriculture, Department of Health and Human Services, Environmental Protection
 Agency, and the Department of Education, among others. Approximately $250 million of the
 amount received is related to the Special Supplemental Nutrition Program for Women, Infants,
 and Children (known as the WIC Program) which provides funds for supplemental foods, health
 care and nutritional education for low income women and children who are found to be at
 nutritional risk. Other programs include: bioterrorism preparedness, HIV care grants, maternal and
 child care grants and others.

          Medicaid Funding. As part of the recently enacted appropriations bill, the Further
 Consolidated Appropriations Act of 2020 (Pub. Law 116-94), Congress authorized Medicaid
 reimbursement of approximately $2.6 billion and $2.7 billion, respectively, for the federal fiscal
 years 2020 and 2021. While the Commonwealth has access to these funds, it may not ultimately
 generate reimbursable spending to completely utilize this availability. In addition to the
 reimbursement funds, the new federal legislation increased Federal Medical Assistance
 Percentages (“FMAP”) coverage to 76%, eliminated the Health Insurance Tax (“HIT”), and
 provided for additional funding of up to $200 million a year if the Medicaid plan covers doctors
 at least 70% of the Medicare schedule rate is certified and allows payments to health insurers to
 be audited.

        The legislation also includes requirements to improve transparency and fiscal
 responsibility in Puerto Rico Medicaid administration:

    i)      not later than six months after the date of enactment of the law, the agency responsible
            for the administration of the Puerto Rico Medicaid program will designate an official
            to act as the Program Integrity Lead of the program;

    ii)     not later than 18 months after the date of promulgation, Puerto Rico is required to
            publish a plan on how it will develop measures to meet the payment error rate
            measurement (“PERM”) requirements, including annual benchmarks and audits
            scheduled for compliance; and

    iii)    a plan must be prepared to meet the Medicaid eligibility quality control (“MEQC”)
            requirements.


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        Under this legislation, if the established fraud control measures are not complied with,
 there will be a maximum penalty of 2.5% reduction in the FMAP.

         Federal Disaster Aid. Puerto Rico was decimated by Hurricanes Irma and Maria in 2017.
 As a consequence, the Commonwealth anticipates receiving significant federal aid pursuant to
 various disaster aid statutes that assist with the rebuilding and reconstruction of damaged
 infrastructure. Much of this funding is managed by COR3. Public Assistance,120 where FEMA
 reimburses the Commonwealth for eligible expenses related to hurricanes Irma and Maria, totals
 $6 billion in obligations so far.

         In addition to the aid above, the Governor requested, and the President approved, a major
 disaster declaration following ongoing seismic activities that struck the Commonwealth starting in
 December 2019. The incident period began on December 28, 2019 and a Major Disaster
 Declaration was declared on January 16, 2020. The ongoing earthquakes have caused significant
 physical damage to residential and commercial structures on the southern part of the island,
 particularly to many schools which remain closed. As of February 6, 2020, the President
 authorized Category A and B Public Assistance Emergency Work for six municipalities at a 75%
 reimbursement rate and Individual Assistance for 25 municipalities. The general expectation is
 that, at some point, the President will declare eligibility of funds for categories C through G,
 meaning qualifying municipalities will be able to use funds for permanent work projects, not just
 emergency work. The government has also requested additional municipalities to be included in
 the major disaster declaration, so ultimately it is possible the number of municipalities with access
 to Individual Assistance and/or Public Assistance will increase.

          The Puerto Rico Department of Housing also recently launched its housing reconstruction
 program with the first $1.5 billion in Community Development Block Grant Disaster Recovery,
 (“CDBG-DR”), funding for Puerto Rico. More than $20 billion has been assigned by the U.S.
 Department of Housing and Urban Development to address disaster-related unmet housing,
 infrastructure, mitigation and economic revitalization needs.

        The United States Department of Housing and Urban Development (“HUD”) recently
 announced the release of a draft Federal Register Notice for another $8.285 billion in CDBG-MIT
 funding. HUD’s Notice conditions the use of such CDBG funds to an action plan that is consistent
 with the applicable certified fiscal plans and budgets and requires the development of a uniform
 parcel ownership registry. In addition, HUD recently appointed Robert Couch as a Federal
 Financial Monitor to oversee the disbursement of all HUD disaster recovery funds.

         Delays in Federal Funds. Several governmental entities in Puerto Rico are classified as
 high-risk grantees, imposing additional compliance and controls before federal funds are released.
 The intent of these additional conditions is to ensure effective implementation of federal programs
 through appropriate fiscal management and responsibility. This also, however, has the potential
 120
        The Public Assistance program reimburses local governments and certain private non-profit organizations for
       removing disaster-generated debris, the cost of preparing for and responding to the disaster and repairing or
       replacing eligible infrastructure including roads, bridges, buildings and utilities. The Public Assistance program is
       funded by FEMA and administered by the Government of Puerto Rico. FEMA obligates funding for these projects
       directly to Puerto Rico.

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 to delay implementation of projects funded by federal dollars. The lack of substantial reform
 process at the local Department of Education, for instance, recently led federal officials to withhold
 disbursement of federal dollars to the department until substantial reforms are implemented and
 an independent fiduciary agent acceptable to USDE is selected. To better coordinate federal
 efforts, the Trump administration also recently appointed Coast Guard Rear Admiral Peter J.
 Brown to serve as a White House liaison responsible for better facilitating the federal response to
 Puerto Rico’s disaster recovery.

         8.     Ability to Raise Taxes Further in Puerto Rico

         The capacity of a public entity to raise tax revenue is typically measured by the levels and
 rates of change in economic activity and the income of its citizens and businesses. The amount of
 tax paid by individuals and companies relative to total income (“tax burden”) is one approximation
 of capacity to raise additional revenue through taxation. The composition of taxes is also relevant.
 For example, certain types of activity may be highly sensitive to taxation or incremental costs
 generally. Imposing or increasing taxes on such activity could significantly curb it or create
 additional uncertainties, which would undermine both potential tax revenue and economic growth.

         Factors that may curb investment or introduce uncertainty include: (i) the availability of
 substitutable options that are taxed at lower rates than the tax base for which that rate is increasing;
 (ii) price elasticities between different forms of consumption or uses of resources; (iii) the
 magnitude of the increase; and (iv) the breadth of commodity coverage and geographic territory
 of the tax and the mobility of the taxpayer (i.e. where there are neighboring jurisdiction with a
 lower tax rate).

         Consequently, in evaluating Puerto Rico’s capacity to raise additional revenue through
 taxation, one must be mindful of its available base, in the aggregate and in specific categories of
 activity. On an aggregate basis, economic output and income can be approximated by gross
 domestic product (“GDP”) and gross national product (“GNP”). GDP measures expenditures and
 income earned by residents and nonresidents within Puerto Rico, while GNP includes income
 earned by residents from local and foreign sources.

        The difference between these two measures of economic activity and income is acute in
 Puerto Rico. According to preliminary estimates, in fiscal year 2018 nominal GNP was about 67%
 of nominal GDP. This arises from U.S. mainland corporations accounting for a substantial share
 of production taking place in Puerto Rico through activities of their subsidiaries, particularly in
 the manufacturing sector. The Commonwealth, however, other than through the Act 154 excise
 tax, imposes low taxes on these manufacturing activities because it grants tax exemption decrees
 to many of these companies to incentivize their establishment in Puerto Rico.

 Historical Relationship between
 Gross National Product (GNP) and Gross Domestic Product (GDP)
 ($ millions)
  Year                      GNP                       GDP                       GNP as % GDP
  1970                      $4,688                    $5,035                    93.1%
  1980                      $11,065                   $14,436                   76.6%
  1990                      $21,619                   $30,604                   70.6%
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  2000                       $41,419                     $61,702                    67.1%
  2010                       $64,295                     $98,381                    65.4%
  2018                       $68,049                     $101,131                   67.3%
 Source: World Bank, St. Louis Federal Reserve (FRED).

         As a result, using GDP to calculate the current tax burden in Puerto Rico may overstate the
 capacity of the Commonwealth to raise additional revenue through taxation. Also, comparisons
 with international jurisdictions that evaluate the tax burden in Puerto Rico based on GDP may be
 misleading or require adjustments because Puerto Rico demonstrates behaviors more akin to a
 regional economy rather than a sovereign one, with the free flow of capital, people, and goods
 between Puerto Rico and the mainland U.S.

        At the same time, although to a lesser extent, GNP may also overstate the available tax
 base. Residents of Puerto Rico benefit from large transfers from the federal government.
 According to the Puerto Rico Planning Board, in fiscal year 2019, federal transfer payments
 accounted for 23% of personal income. Under current federal law, some of these transfer payments
 earmarked for social welfare programs may not be taxed by the Commonwealth.

         One should also account for differences in behavioral responses among specific categories
 that are taxable. The impact of changes in the rates of taxation on consumption and employment
 from taxes on goods and services, on the one hand, and income, on the other hand, could vary
 materially, with respect to both incremental tax receipts and broad economic activity.

         Puerto Rico has also already increased its tax burden significantly on various portions of
 the economy over the past decade, as the government enacted new taxes and fees on
 Commonwealth residents and businesses. There have been at least eleven significant revisions to
 Puerto Rico’s tax code since 1994, including six adjustments since 2013.121 This increased the tax
 burden on the local economy, particularly taxes on consumption and on exports. As examples,
 recent adjustments in taxes and fees include:

         Tax Base – Act 257-2018 increased the withholding tax and taxes on self-employed
 individuals and service-based corporations. The law also eliminated many AMT deductions under
 certain circumstances, further raising taxes on some people and businesses. This followed several
 other tax base broadening adjustments enacted by the government over the past decade.

        SUT & VAT – Act 72-2015 increased the Sales and Use Tax from 7.0% to 11.5%, enacted
 a 4.0% tax on business-to-business services, and introduced a Value Added Tax regime (which
 would have substituted the SUT regime but was repealed pursuant to Act 54-2016). Recent laws
 also expanded taxable items, including the collection of sales taxes on internet transactions
 pursuant to Act 25-2017, business telephone services and various purchases by credit unions,
 universities.



 121
    Including Act 40-2013, the “Tax Burden Redistribution and Adjustment Act”, Act 120-2014, the “Small and
  Medium Business Job Generation and Retention Act”, Act 72-2015, the “Adjustments to the Internal Revenue Code
  of 2011”, Administrative Orders 2017-01 and 2017-05, and Act 257-2018, the “2018 Puerto Rico Tax Reform Act.”

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         Act 154 – In 2013, the Act 154 excise tax was amended under Act 2-2013 to increase the
 declining rate, at 2.75% at that time, back to 4.0% and extending the term through 2017. It was
 originally set to be transitioned to a modified source income rule in 2016. Act 3-2017 further
 extended the 4.0% rate on the excise tax through 2027.

         Excise and Other Taxes – Act 46-2017 implemented a new tax on short-term rentals, such
 as HomeAway and Airbnb, while Act 25-2017 improved the SUT collection on online purchases
 of taxable products in Puerto Rico, and Act 26-2017 increased the tax on cigarettes. Act 42-2017
 created the legal framework and ability to tax medical cannabis. More recently, Act 257-2018
 legalized and proposed taxing certain games of chance machines and Act 81-2019 implemented
 taxation on eGaming and sports betting.

         Fees – Act 24-2017 significantly increased traffic fines and fees for drivers’ licenses and
 vehicle registrations, while other laws introduced a 1.5% contractor fee, added fees on money
 transactions, and increased vendor license fees for ATMs and video games machines, among
 others.

        Gross Tax – Act 40-2013 implemented a new tax on gross sales commonly known as the
 ‘Patente Nacional’. Although the tax was subsequently repealed, its implementation significantly
 impacted low-margin businesses, such as supermarkets.

        Water – Utility rates on water increased by more than 60% since July 2013.

         Petroleum “Crudita” Tax – The gross excise tax on petroleum products and its
 derivatives is currently $15.50 per barrel ($6.25 of which does not apply to diesel products). Act
 31-2013 increased the wholesale tax on petroleum products from a range between $3.00 to $6.00
 per barrel based on the price index per barrel ($3.00 was the tax rate applicable at the time) to a
 fixed $9.25 per barrel. In January of 2015, Act 1-2015 further increased taxes on petroleum
 products (other than diesel) by creating a new $6.25 per barrel excise tax.

         As shown below, while these tax increases have led to increases in overall collections they
 also led to a shift in the source of revenue. The May 2019 Fiscal Plan also calls for further tax and
 fee increases over time. These changes have made revenue estimates increasingly challenging to
 forecast and introduced structural complexity, instability, and internal inconsistency to the revenue
 structure.

         Given this reality, while certain tax revenues may increase with an increase in tax rates, the
 amount of the revenue increase is unlikely to be perfectly correlated to the rate increase itself. An
 increase in tax revenues is also not guaranteed because in certain circumstances a tax increase
 could push consumer behavior to pursue non-taxed alternatives that are sufficiently substitutable,
 potentially reducing tax revenues. Furthermore, increasing taxes beyond a certain point may be
 counterproductive against efforts to stem the exodus of highly educated professionals and business
 that are needed to achieve the fiscal plan.




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 Puerto Rico General Fund Tax Revenue Sources
 ($ in billions)
  Tax                                      2009             2009 Share of        2019        2019 Share of
                                                            GF Revenue                       GF Revenue
  Individual Income Tax                    $2.7             34%                  $2.2        20%
  Corporate Income Tax                     $1.4             18%                  $2.5        22%
  Sales and Use Tax                        $0.8             10%                  $2.3        20%
  Excise Taxes (inc. Act 154)              $0.7             9%                   $3.0        26%
  Rum Tax Remittances                      $0.4             5%                   $0.2        2%
  Other Taxes                              $1.8             23%                  $1.2        10%
  Total GF Net Revenue                     $7.7             100%                 $11.4       100%


 D.          The Debtors’ Cash Management Systems122

             1.      The Commonwealth Cash Management System

         The cash management system of the Commonwealth (the “Central Government Cash
 Management System”) is highly complex. Act No. 230 of July 23, 1974, as amended, provides
 that the Secretary of the Treasury is the officer in charge of the custody of all public funds of the
 Commonwealth. The Commonwealth follows the practice of pooling its cash resources of the
 General Fund, Federal Funds, and Special Revenue Funds for common treasury management and
 centralized disbursement. Cash is pooled into multiple accounts, collectively referred to as the
 Treasury Single Account (“TSA”).

         While disaster funds are generally managed outside of the TSA, other federal funds are
 transferred directly into the TSA. Most non-federal cash flows (e.g. taxes, fees and other charges)
 of the Commonwealth are swept to the TSA from a collection of other accounts that receive tax
 and other revenue collections (each, a “TSA Sweep Account”). The TSA and TSA Sweep
 Accounts are held at several private financial institutions.123

       The diagram below illustrates the major cash flows relating to the TSA and the TSA Sweep
 Accounts:




 122
       The Oversight Board’s analysis of the Debtors’ cash management systems is ongoing and the descriptions herein
       are subject to revision in all respects.
 123
       Discussions of cash in III.E. refer to the combined balances of the TSA accounts.

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         Receipts for the TSA include tax collections, charges for services, intergovernmental
 collections (such as reimbursements from federal assistance grants), reimbursements from public
 corporations and municipalities for pension benefits paid and other receipts. Collections into the
 TSA are substantially comprised of both General Fund revenue and Special Revenue Funds
 revenue.

         At the direction of the Department of Treasury, TSA disbursements include, directly or
 indirectly, many Central Government agencies payroll and related costs, vendor disbursements,
 appropriations, capital outlays, payments authorized under federal grants, disaster relief cost-
 sharing expenditures or advance payments, tax refunds, payments of current pension benefits and
 other disbursements.

        These TSA disbursements are primarily for Central Government agencies that do not have
 independent treasuries. For budgeting purposes, these Central Government agencies receive
 appropriations from the General Fund or Special Revenue Funds. For instance, the Department of
 Education and the Police Bureau of the Department of Public Safety maintain budgets that are
 comprised of General Fund appropriations and Special Revenue Funds.

         Certain agencies conduct cash management activities independently of the TSA, including:
 controlling accounts directly, authorizing or executing disbursements, and monitoring and
 planning cash flows. Some agencies maintain non-TSA accounts to address cash management
 needs that cannot be served by the centralized TSA structure. For example:

           the Public Housing Administration (“PHA”) receives and disburses affordable housing
            subsidies in accordance with federal grants using non-TSA accounts,


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           the Department of Labor manages employer contributions for Puerto Rico
            unemployment taxes, most of which are held on deposit at the United States Treasury,

           the Puerto Rico Lottery controls accounts for the receipt of ticket purchases and
            manages cash flows to meet projections for prize payouts, remitting net income back
            to the TSA.

                       Cash Flows of the TSA

        Cash receipts relating to taxes, federal funds, and charges for services are received into
 TSA Sweep Accounts and automatically or manually swept into the TSA’s main operating
 account. The TSA’s main operating account will fund other accounts in the TSA as needed
 including to replenish fiscally mandated reserves and to invest for income yield. At the direction
 of the Department of Treasury, the TSA disburses on behalf of many Central Government
 agencies, for payroll, operating expenses, pension benefits, expenditures related to programs
 funded by Federal agencies, and various other budgeted appropriations.

         AAFAF’s report titled Treasury Single Account FY 2019 Cash Flow dated as of June 28,
 2019, shows cash inflows and outflows of $23.8 billion and $19.7 billion, respectively, into the
 TSA in fiscal year 2019. The state collections substantially represent tax collections and other
 non-tax revenues. Other inflows represent PayGo fees paid by municipalities and public
 corporations and loan payments from public corporations. The federal fund receipts include
 various transfers including Medicaid reimbursements, NAP, and FEMA advance funding or
 reimbursements. The TSA disbursed approximately $19.7 billion for various purposes including
 payroll, non-payroll, and other appropriations. Generally, the TSA made all these expenditures
 for each of the fund types. In addition, the TSA disbursed pension benefits, tax refunds and NAP
 expenditures.

        The largest tax categories are income taxes (individual and corporate income taxes), SUTs,
 Act 154 excise tax revenues, and other various types of taxes.

         Income Taxes. The Central Government collects income taxes from individuals,
 corporations, partnerships, and non-resident withholding taxes. Income taxes are generally
 deposited into the applicable account either from physical collection posts or through online
 collection portals of the Department of Treasury. Tax collections are also received from general
 tax accounts associated with the SURI tax collection platform. Collections are swept on a two-
 day lag. Substantially all income taxes are General Fund collections, able to be disbursed from
 the TSA following general appropriations for payroll, pension benefits, suppliers and operating
 expenses, capital outlays, tax refunds, and other appropriations.

         SUT. The Commonwealth SUT rate of 10.5% is deposited into an account from either a
 physical collection post or through online collection portals of the Department of Treasury. Of
 that percentage, 5.5% is transferred in an amount up to 53.65% of the Pledged Sales Tax Base
 Amount (as defined in the COFINA Plan of Adjustment) for the applicable fiscal year to



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 COFINA’s indenture trustee account.124 The remainder of the Commonwealth SUT is composed
 of the 4.5% SUT surcharge enacted in 2015, which flows to the General Fund, and 0.5% of the
 SUT allocated and transferred to the Municipal Administration Fund, which in turn is distributed
 among three funds: Municipal Development Fund, Municipal Redemption Fund, and the
 Municipal Improvement Fund.125 The collections comprising the 4.5% portion of the SUT are
 swept on a two-day lag. The below illustration presents a simplified flow of funds relating to these
 types of income taxes:




         The process for SUT collection and remittance to the TSA has been revised for fiscal year
 2020. The Department of Treasury implemented a new process for fiscal year 2020 for SUT based
 on the SURI/general tax account system to provide for a real-time reconciliation between types of
 proceeds deposited into the TSA Sweep Accounts. Prior to this new process, fines, interest
 payments, and the 4% B2B SUT were excluded from the waterfall and held back from COFINA’s
 share of the PSTBA. Until these excluded amounts could be manually reconciled, they remained
 in the TSA Sweep Account, with such amounts measuring between $50 and $60 million at various



 124
    In fiscal year 2019, the Pledged Sales Tax Base Amount is $783,197,251 of which approximately $420 million is
  to be transferred to COFINA. The Pledged Sales Tax Base Amount increases by 4.0% per annum until it reaches
  $1.85 billion. See Third Amended Plan Supplement and Plan Related Documents of Puerto Rico Sales Tax Financing
  Corporation, [ECF No. 578].
 125
       These accounts are in the name of Municipal Finance Corporation (“COFIM”).
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 points in time. The new cash management process allows for these amounts to be swept to the
 TSA on an accelerated basis.

         Excise Taxes. The Commonwealth assesses at least seven different categories of excise
 taxes, including the Act 154 Special Excise Tax, Beer and Alcoholic Beverages Excise Tax,
 Tobacco Products Excise Tax, Motor Vehicles Excise Tax, Excise Tax on Petroleum Products and
 Derivatives, Gasoline, Gas Oil, and Diesel Oil Excise Tax, and Alcohol Excise Tax.

        Motor vehicle license fees, alcoholic beverage license fees, entertainment machine
 license fees. Fees from the motor vehicle, alcohol, and entertainment machine license fees are
 deposited into the TSA.

         Charges for Services. Certain non-tax charges for services rendered and fees incurred are
 collected into the TSA as General Fund collections. In the fiscal year ending June 30, 2019, the
 Commonwealth deposited into the TSA approximately $183.7 million.

         Slot Machine Revenues. The PRTC regulates slot machines at multiple casinos and the
 Hipodromo Camarero. PRTC transfers 15.15% of slot machine revenues payable to government
 parties into the General Fund, via the TSA. Such General Fund collections in the fiscal year June
 30, 2019 were $24.1 million. The remaining balance of slot machine revenues are appropriated as
 follows: 25.80% to a Special Fund at the Tourism Company, 13.60% to the Puerto Rico Tourist
 Industry Development Fund, and 45.45% to the General Fund of University of Puerto Rico, with
 the remaining balance being transmitted to hotel operators.126

         Rum Tax Remittances. Federal excise taxes on rum and other beer, wine and spirits are
 collected by the federal government and remitted to the Commonwealth (“Rum Tax Remittances”)
 via a lockbox in the name of the Department of Treasury at a commercial bank. This commercial
 bank distributes the proceeds from three different federal excise taxes (Puerto Rico rum, imported
 rum, and non-rum spirits) to various recipients, including, but not limited to, the Puerto Rico
 Department of Treasury, the Puerto Rico Conservation Trust (a private entity), PRIDCO, and
 eligible Puerto Rico rum producers (through the Paying Agent). Of the total $434 million of Rum
 Tax Remittances generated during the fiscal year ending June 30, 2019, $242 million was
 transferred directly into the TSA.127

         Federal Grants Subsidies. Federal funds and reimbursements are deposited into the TSA
 and, in turn, disbursed to the agencies benefiting from the grant or being owed reimbursement.
 The TSA received $9.3 billion in federal funds in fiscal year 2019. Of that amount, the largest
 federal transfers were to the NAP ($2.9 billion received and $2.8 billion disbursed to the
 Department of Family), Medicaid ($2.9 billion received and $2.7 billion disbursed to ASES),



 126
       Under the Games of Chance Act, slot machine revenue is appropriated between operators and the government in
       varying proportions depending on the total revenue collected.
 127
       The figures presented here are accrual basis. During the fiscal year ending 2019, the cash collected for the
       Department of Treasury was $230 million of general fund collections relating to Rum Tax Remittances.

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 FEMA and other federal program funding or reimbursements ($3.1 billion received and $2.9
 billion disbursed, including for payroll and vendor payments).

                       Selected Cash Flows Outside the TSA

          Several entities or agencies perform treasury functions and disburse money independently
 of the TSA, typically because of statutory or other stipulated requirements. The below is an
 illustrative list of these agencies and not intended to be complete.

         Public Housing Administration. The PHA administers federally funded affordable
 housing grants. Substantially all the PHA budget is comprised of federal fund grants, which have
 specified that the grants are not to be commingled with other Commonwealth money. All grant
 money is received into PHA accounts and disbursed to participating property managers.

         Electronic & Traditional Lottery. The traditional lottery is managed by the Department
 of Treasury, which collects lottery ticket receipts from vendors in the form of checks and ACH
 transfers into a main account. There is a weekly transfer to fund the prize awards, which in turn
 funds the prize-disbursing account. The prize-disbursing account dispenses cash and checks to
 prize winners. The main account also funds an operational zero-balance account (“ZBA”) for
 payroll and supplier payments. The electronic lottery collects money from ticket sellers via bank
 transfers into two ZBA accounts that sweep to an investment account. All payments of prizes,
 payroll, taxes, annuities, or suppliers are disbursed through a different account. The lottery
 distributes a share of net income to the TSA in accordance with Act 10-1989.

         Department of Labor and Human Resources (“DLHR”). While the DLHR receives
 appropriations from several fund sources for its various operations, the DLHR also administers
 certain aspects of the state unemployment insurance program using cash entrusted to it. Employers
 remit state unemployment tax assessments to the DLHR, which deposits these funds with an
 account in the name of the U.S. Department of Labor at the U.S. Department of Treasury, which
 in turn administers the distribution of benefits. The DLHR does reimburse itself penalties assessed
 on employers and operational costs by transferring amounts from the tax collections to the TSA.
 As of June 30, 2019, the DLHR had $687 million on account at the U.S. Treasury for the
 unemployment insurance program benefits. DLHR also holds accounts used for disbursements
 under the Work Opportunity Incentive Fund and disbursements to disability benefits program
 beneficiaries.

         911 Emergency Services Bureau. Revenue is generated from remittances sent by the
 telephone companies for the charges to their subscribers for the payment of the Emergency Service
 9-1-1 and the collection for the services to the agencies integrated to the Line of Services to
 Citizens 3-1-1. From these collections, the 9-1-1 Board may distribute a portion of these expenses
 to the other public safety agencies in accordance with Regulation No. 5303.

         Legislature. The Legislature receives a General Fund appropriation of one twelfth of its
 budget each month. Proceeds are then separated to the legislature’s various units (Senate, House,
 joint committee). The legislative branch manages its appropriations through its own set of
 accounts to provide funding for legislative needs. The Central Government pays and invoices the
 Legislature for the payment of PayGo costs.
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         Judicial Branch. The Judicial branch manages cash to provide funding for non-payroll
 operating expenses and certain local court costs. The Department of Treasury funds payroll of the
 judiciary staff directly remitting into the judiciary treasury operations the total of budget
 appropriations and statutory court fees collected by the Department of Treasury on behalf of the
 judicial system.

         The Judicial branch’s treasury holds and funds local accounts at courts throughout the
 island for promptly paying for direct court costs including jury costs as described above.
 Substantially all the remaining operating costs (consultants, contractors, lease costs, etc.) of the
 judicial branch are paid by check. Pursuant to Act 69-1991, as amended, and the Regulation of
 the Judicial Branch for the Management of Funds and Interests, the Judicial Branch is authorized
 to open bank accounts, deposit funds, accumulate interest on those deposits and spend the interest
 earned. The first 0.05% of interest accrued is required to be transferred back to the Department of
 Treasury.

            2.      ERS Cash Management Systems

         ERS has had limited operations since PayGo was implemented. It uses internal cash to pay
 for current expenses. ERS maintains a segregated account pursuant to the joint stipulation entered
 as of July 14, 2017 [Case No. 17-03566-LTS, ECF Nos. 170, 171] providing for the deposit of
 employer contributions made by non-Commonwealth entities until the resolution of various claims
 among the parties to that stipulation.

            3.      PBA Cash Management Systems128

                            Cash Inflows

         PBA receives its rental revenues through one of the following methods: governmental
 rental charges paid by the Department of Treasury on behalf of agencies; rental charges received
 directly by other government entities, disaster-related receipts and other receipts. In fiscal year
 2019, the Department of Treasury paid $114.8 million on behalf of agencies while other
 government entities paid $19.3 million directly to PBA. In the same year, disaster-related receipts
 were $6.7 million from FEMA and $20 million from private insurance. Lastly, other operating
 receipts were comprised of $1.2 million from an insurance settlement and $2.5 million from
 interest income or from private tenant rent.

                            Cash Outflows

         PBA’s disbursements include operating expenses, PayGo, and disaster related
 disbursements. Major components of operating expenses in fiscal year 2019 are salaries and
 benefits ($52.9 million), purchased services ($17.7 million), payments for public services ($15.2
 million), other operating expenses ($7.4 million). PayGo expenditures were $21.7 million.
 Disaster related expenditures were $1 million and $13.4 million, reimbursable by FEMA and
 insurance, respectively.

 128
       AAFAF Component Liquidity for the Month of June 2019.
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         4.       Bank Rationalization

         The Department of Treasury is conducting a multiphase project to centralize and automate
 cash management processes and financial reporting for the Central Government and its agencies
 to increase visibility into the treasury operations and prepare for the implementation of the new
 Enterprise Resource Planning system. The Department of Treasury has compiled an inventory of
 the Central Government’s bank accounts and is documenting ownership and control information,
 disposition, and cash flows for each. The Department of Treasury is also identifying accounts for
 closure to achieve operating efficiencies through the centralization of the bank accounts’ structure.
 This project is intended to provide the Department of Treasury with more control and oversight
 over the accounts that previously were controlled by parties outside of the Department of Treasury
 and will support continuous improvement through reporting, controls, and compliance tracking.

 E.      Debtors’ Cash Accounts

          The list of the Debtors’ bank accounts, balances as of December 31, 2019, and preliminary
 restriction categorizations is attached hereto as Exhibit J. The list is based on the most current
 information available to the Oversight Board’s professionals and the Oversight Board’s legal
 analysis and judgment regarding restriction categorizations are based on such information.

         1.       Independent Forensic Analysis Team’s Report

        On January 31, 2018, the Oversight Board, acting by and through the Special Investigation
 Committee (the “Special Investigation Committee”),129 retained Duff & Phelps, LLC (the
 “Independent Forensic Analysis Team” or “IFAT”) to conduct an investigation into bank accounts
 of government entities, including the entities covered by the Commonwealth fiscal plan, UPR,
 HTA, ERS, and PREPA. The scope of the assignment included (i) an inventory of cash, cash
 equivalents, and investments of the Puerto Rico Government, (ii) analysis of the sources and
 intended uses of these funds, and (iii) any documented legal restrictions on these funds.

         The principal goal of the Independent Forensic Analysis Team was the publication of a
 report that described the processes employed, results obtained, and an opinion from the
 Independent Forensic Analysis Team on whether or not procedures performed validate the
 Commonwealth bank and investment accounts identified and account balances were accurately
 disclosed. The investigation was dependent on the assumption that a significant number of the
 Commonwealth entities would voluntarily provide the Oversight Board with specific financial
 information. The design of the investigation was tailored to collect and develop information as to
 whether the bank accounts identified by the Commonwealth entities contained restricted funds, the
 quantities, and the nature of restricted funds.



 129
    The Special Investigation Committee of the Oversight Board is comprised of Members Ana J. Matosantos, David
 A. Skeel, and Judge Arthur J. Gonzalez (Ret.), and is charged with pursuing investigations pursuant to the authority
 granted to the Oversight Board by PROMESA Section 104(o) and such other authority vested in the Oversight Board
 under PROMESA.


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                        Investigation Procedures

        For purposes of the report, the Independent Forensic Analysis Team identified a
 measurement date of June 30, 2018 (the “June 2018 Measurement Date”). The investigation
 included three components: (i) an information gathering process; (ii) an inquiry and data collecting
 process; and (iii) an analytical and reporting process.

        Information Gathering. Gathering information was a sequenced process. A master
 database was created of government entities and their respective bank accounts as of the June 2018
 Measurement Date. The information was primarily received from the Department of Treasury,
 AAFAF, and publicly available government information.

         Inquiry and Data Collecting Process. Once the master database was created, each
 government entity that was reported was contacted using a standardized format. The government
 entities were contacted to obtain the relevant bank account information, along with authorization
 from government entities to allow respective financial institutions to provide information directly.

         Analytical and Reporting Process. The final step was contacting the financial institutions
 identified to confirm information obtained and verify the self-reported information from the
 entities.

                        Additional Steps Regarding Independent Forensic Analysis Team’s
                        Report

          The Independent Forensic Analysis Team’s report suggested additional tasks and activities
 to more fully develop information referred to in the report, which included updating the June 2018
 Measurement Date to a more current measurement date, in consideration of the possibility that
 amounts may have materially changed between these dates. The changes to balances as of the new
 measurement dates, as well as additional procedures to reconcile balances and categorize
 restrictions, are addressed below. As the procedures for this analysis are also ongoing, the
 Oversight Board will continue to update the analysis on a periodic basis.

        2.      Ongoing Analysis of Bank Accounts

        Following the release of the Independent Forensic Analysis Team’s report, the Oversight
 Board continued to perform an analysis of the cash accounts of the Commonwealth and its
 instrumentalities on a rolling basis, most recently as of December 31, 2019 (the “December 2019
 Measurement Date”).

         As described below, the Oversight Board’s ongoing analysis included the collection,
 processing, and review of over 6,050 documents provided by financial institutions, agencies, and
 other government entities. The documents included bank statements, brokerage statements,
 certificates and letters for certificates of deposit, account documentation, accounting records,
 agency formation and structure documentation, grant information, contracts, and statutes and
 legislation, among others. The analysis – conducted in English and Spanish via email, phone, in-
 person meetings, and through accounting and legal review – involved over 2,600 potential bank

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 accounts across more than 140 governmental entities to identify the relevant bank account
 population for the Commonwealth and its instrumentalities.

                              Summary of Procedures Performed

        The Oversight Board focused on, among other things, (i) confirming the population of bank
 accounts and establishing their balances, most recently as of the December 2019 Measurement
 Date, and (ii) assessing, based on available information for the legal analysis, whether the accounts
 include restricted funds.

         The Oversight Board leveraged and enhanced the procedures noted in the IFAT report to
 rollforward the balances to the December 2019 Measurement Date. Specifically, in addition to
 obtaining balance information for a set population of accounts through requests to the
 governmental entities, the Oversight Board’s procedures included obtaining credentials for access
 to online account platforms for each entity for a majority of the bank account balances. The online
 account access allows for the rolling forward of balances and identification of the population of
 accounts at each financial institution for each governmental entity. Requests for financial
 information were also sent to governmental entities and financial institutions in cases where online
 access was not available. Further procedures were performed to align financial institution data
 with information provided by governmental entities to reconcile differences.

         Concurrently, the Oversight Board requested documentation regarding any governmental
 entity’s restriction classification. Further procedures were performed to continuously support the
 governmental entities in providing the documentation for legal due diligence review. Because the
 vast majority of the balances was concentrated in 69 accounts out of the 527 accounts at the
 Commonwealth, ERS, and PBA, the Oversight Board’s legal advisors performed the legal due
 diligence review of those accounts with balances in excess of $6.9 million to obtain over 95%
 coverage of total balances as of each respective measurement date. 458 accounts totaling
 approximately $191 million, approximately 1% of the total cash balance as of the December 2019
 Measurement Date, were below the threshold and outside of the review threshold for legal due
 diligence.

        The Oversight Board’s procedures focused on governmental entities comprising the
 Central Government (comprised of executive, legislative, and judicial branch agencies), ERS, and
 PBA.130

                              (i)      Identifying the Population of Bank Accounts and Establishing
                                       Their Balances:

         The Oversight Board sent letters in both English and Spanish requesting account balances
 as of the December 2019 Measurement Date to Financial Institutions (“FIs”) for the Debtors’



 130
       The surplus generated by certain public corporations that do not receive Commonwealth appropriations was not
       included in this analysis because the Commonwealth’s ability to access such surplus amounts is uncertain without
       further court order or legislative action.
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 accounts. The letters were sent in conjunction with a list of known accounts held by each
 governmental entity at the respective FI and requested the FIs send to the Oversight Board:

                    either bank or brokerage statements for any cash and/or investment balances for
                     accounts held by the institution relating to the applicable Debtor for each date
                     indicated above, or online access for the Oversight Board to obtain the relevant data
                     for each account;

                    a list of signatories with authority over each account;

                    information pertaining to any known liens, encumbrances or third-party claims; and

                    details for any additional accounts held by a governmental entity that were not
                     included within the initial list of accounts provided.

       Simultaneously, letters were sent in conjunction with a list of known accounts to
 governmental entities in both English and Spanish requesting the following information:

                    either bank or brokerage statements for any cash and/or investment balances for
                     accounts held by the respective Debtor for each date indicated above, or a
                     completed consent form granting online access to obtain the relevant data for each
                     account from a FI;

                    status of each account(s), such as open, closed, suspended, etc.;

                    a list of signatories with authority over each account;

                    details for any accounts related to the governmental entity that were not included
                     within the list of accounts sent to the governmental entity; and

                    indication of whether the funds in each account were categorized as restricted,
                     unrestricted, or pooled.131

                              (ii)     Determining Whether Accounts and Balances Include Restricted
                                       Funds:

          As noted, requests sent to governmental entities included information pertaining to account
 classifications. To help guide them, the agencies were provided with descriptions for various
 restricted and unrestricted account designations. If viewed as restricted by the governmental
 entity, the governmental entity was requested to select the applicable category of restriction and
 send supporting documentation for the restriction, including information about the sources and
 uses of funds. If viewed as unrestricted by the governmental entity, the governmental entity was
 requested to provide the sources and uses of funds for the account(s).



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       Pooled accounts may contain both restricted and unrestricted funds.
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         A thorough examination of the documents provided was performed by the legal team to
 investigate and assess the conclusions on restrictions, which included:

                     reviewing documentation gathered as part of the IFAT report;

                     reviewing over 1,700 newly obtained documents from governmental entities
                      regarding account classifications; and

                     working alongside other parties, such as the Department of Treasury and AAFAF,
                      to obtain and review the documentation required to make preliminary assessments
                      regarding the classifications of government bank accounts.

        The accounts were then classified in the following categories (the preliminary designation
 for each account above the review threshold of $6.9 million is provided in Exhibit J):

                Restricted Accounts:132

                         Federal Funds/Law: Funds received from the federal government or restricted
                          by federal law or regulation for specific uses (e.g., Medicaid funds). Such cash
                          could be recouped or set off by the federal government if not used as it requires.

                         Third Party Funds: Funds belonging to third parties (e.g., child support
                          payments held in accounts under the custody of the Child Support
                          Administration).

                         Third Party Contract: Funds restricted for use due to contracts with third
                          parties (e.g., debt service reserve funds held by the trustee).

                         Court Order: Funds restricted pursuant to court order.

                         Tax-exempt Bond Proceeds: Bond proceeds with restricted use under the
                          Internal Revenue Code.

                Accounts Asserted to be Restricted: Accounts with funds that are subject to active
                 litigation regarding the restriction of funds (e.g., accounts at ERS subject to the
                 determination of the scope of the ERS bondholders’ security interest).




 132
       The preliminary classification is based solely on certain legal restrictions. In the course of the development of the
       restriction analysis, certain restriction categorizations covered cash intended to be used for certain purposes, such
       as emergency funds, even if the cash were legally available to general creditors. The Oversight Board has since
       undertaken to limit restriction categorizations to (a) Federal Funds/Law, (b) Third Party Funds, (c) Third Party
       Contract, (d) Court Order, and (e) Tax-Exempt Bond Proceeds. These categorizations are subject to change if new
       information warranting such change is received.
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                  Unrestricted Accounts: Accounts with funds that do not have legal restrictions.
                   Unrestricted funds can be used to pay expenses pursuant to the certified fiscal plan and
                   budget, and to pay creditors.133

                  Inconclusive Accounts: Accounts with funds where information is currently too
                   limited to identify the source and assess the potential restriction of funds.

                  Unreviewed Accounts: Accounts whose balance is below the above-mentioned
                   threshold totaling $6.9 million as of the December 2019 Measurement Date. Accounts
                   with balances below the review threshold have been designated “Unreviewed” in
                   Exhibit J.

                               Summary of Preliminary Findings134

         While the Oversight Board’s analysis is ongoing, the preliminary results show the Debtors
 maintain approximately $13.2 billion in balances as of the December 2019 Measurement Date
 across 486 accounts held at various financial institutions. An additional 41 accounts (for a total of
 527 accounts) are pending supporting documentation from FIs and are currently under review. The
 list of such accounts and the respective governmental entities is attached as Exhibit J, and a
 summary is set forth below:
                            No. of     12/31/2019
                 Category                               Restricted    Unrestricted135   Inconclusive   Unreviewed
                            Accts.      Balance


 133
       The analysis assumed some of the surplus of certain instrumentalities receiving appropriations from the
       Commonwealth may constitute unrestricted funds (assuming the respective appropriation could be reduced
       accordingly). The ability to extract surplus, however, differs from case to case, and is uncertain.
 134
       The information included herein is a status update as of the date of this Disclosure Statement and should be
       considered preliminary and subject to material change. Amounts included throughout this Disclosure Statement
       with respect to the Debtors’ cash accounts are subject to modification based on the receipt of additional information
       and review by legal counsel.
 135
       Certain funds in Commonwealth accounts, including the TSA, and ERS accounts are subject to litigation in which
       certain parties assert such funds are restricted, as noted in Exhibit J. These include the (i) litigation with ERS
       bondholders regarding the scope of ERS bondholders’ security interest (Adv. Proc. Nos. 19-00366-LTS and 19-
       00367-LTS), which, if successful for ERS bondholders, may result in all or the majority of funds in ERS accounts
       and certain funds in Commonwealth accounts to be restricted for ERS bondholders, and (ii) litigation with certain
       monoline insurers, among others, regarding alleged security interests against certain revenues that were historically
       conditionally appropriated to HTA, CCDA, and PRIFA. The monoline insurers, among others, assert security
       interests (i) against at least $1.397 billion in Commonwealth accounts which they contend should pay HTA bonds,
       (ii) against any hotel occupancy tax revenues allegedly unlawfully transferred to the Commonwealth rather than
       to payment of CCDA bonds, and (iii) against at least the first $117 million of rum taxes received by the
       Commonwealth each fiscal year which they contend should pay PRIFA bonds. See, e.g., Financial Oversight and
       Management Board for Puerto Rico v. Assurance Corp., et al., Adv. Proc. No. 20-00004; Financial Oversight and
       Management Board for Puerto Rico v. Ambac Assurance Corp., et al., Adv. Proc. No. 20-00005; Financial
       Oversight and Management Board for Puerto Rico, et al. v. Ambac Assurance Corp., et al., Adv. Proc. No. 20-
       00007; Motion of Assured Guaranty Corp., Assured Guaranty Municipal Corp.. Ambac Assurance Corporation,
       National Public Finance Guarantee Corporation, and Financial Guaranty Insurance Company for Relief from the
       Automatic Stay, or, in the Alternative, Adequate Protection [ECF No. 10102]; Ambac Assurance Corporation,
       Financial Guaranty Insurance Company, Assured Guaranty Corp., Assured Guaranty Municipal Corp., and the
       Bank of New York Mellon’s Motion Concerning Application of the Automatic Stay to the Revenues Securing the
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        CW – Agencies    463    $3,666,414,520   $2,278,883,411     $993,448,712    $229,495,205   $164,587,193

        CW – TSA          7      8,963,270,261     100,000,000      8,863,270,261              -              -

         CW - Subtotal   470    12,629,684,781    2,378,883,411     9,856,718,972    229,495,205    164,587,193

        ERS Total         22      425,140,790                 -      419,570,285               -      5,570,505
        PBA Total         35      103,845,267         7,455,745        75,543,189              -     20,846,335
        Total            527   $13,158,670,838   $2,386,339,156   $10,351,832,446   $229,495,205   $191,004,031


         Legal due diligence review for restriction classification was performed for over $13.0
 billion out of the $13.2 billion in balances for the December 2019 Measurement Date. The
 remaining accounts totaling approximately $191 million were not reviewed for restriction
 designations as the balances for those accounts were below the review threshold of $6.9 million
 as of the December 2019 Measurement Date and have been classified as unreviewed. Legal due
 diligence is continuing; however, out of the $13.0 billion account balances analyzed,
 approximately $2.4 billion were classified as restricted, and $10.4 billion were classified as
 unrestricted funds (some of which may be restricted if certain parties are successful in litigation
 regarding their asserted security interests). The remaining $0.2 billion was categorized
 inconclusive until further documentation becomes available and the legal analysis can be
 completed.
                       (i)     The Commonwealth:

         The Central Government of the Commonwealth consists of 89 governmental entities with
 470 bank accounts across multiple FIs. Currently, 433 bank accounts totaling approximately $12.6
 billion as of the December 2019 Measurement Date have been confirmed through information
 directly from FIs. An additional 37 accounts were identified that are pending supporting
 information to complete the analysis. Furthermore, several governmental entities do not maintain
 bank accounts; rather, their financial activities are managed by other governmental entities. For
 example, the Department of Treasury manages funds on behalf of 38 governmental entities that do
 not maintain their own bank accounts.

        Seven accounts managed by the Department of Treasury, commonly referred to as the TSA
 accounts, total approximately $9 billion of the Commonwealth’s approximately $12.6 billion as of
 the December 2019 Measurement Date. The Commonwealth’s TSA accounts receive funds from,
 for example, sources such as tax collections and federal transfers and disburse funds to, for
 example, payroll and operational costs.

         As of the December 2019 Measurement Date, approximately 99% of the confirmed
 balances in Commonwealth accounts (including TSA accounts) totaling approximately $12.6
 billion were reviewed by the legal due diligence team. Of the approximately $12.5 billion
 reviewed, approximately $2.4 billion funds were assessed as restricted based on currently available

   CCDA Bonds [ECF No. 10104]; Motion for Leave to Amend Motion of Ambac Assurance Corporation, Assured
   guaranty Corp., Assured Guaranty Municipal Corp., and Financial Guaranty Insurance Company Concerning
   Application of the Automatic Stay to the Revenues Securing PRIFA Rum Tax Bonds [ECF No. 10109], amending
   Ambac Assurance Corporation’s Motion and Memorandum of Law in Support of Its Motion Concerning
   Application of the Automatic Stay to the Revenues Securing PRIFA Rum Tax Bonds [ECF No. 7176].
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 information and legal analysis, the majority of which are assessed as restricted by Federal
 Funds/Law. The majority of the remaining $10.1 billion funds for Commonwealth entities,
 including the TSA accounts, are assessed as unrestricted (some of which may be restricted if
 certain parties are successful in litigation regarding their asserted security interests), with
 approximately $8.9 billion in funds attributable to the TSA136 and $1 billion attributable to other
 Commonwealth entities. The remaining $0.2 billion in balances is currently assessed as
 inconclusive for purposes of restriction determinations. Of the confirmed balances, $164.6 million
 in balances, or approximately 1%, is currently unreviewed.

                             (ii)     ERS:

         As of the December 2019 Measurement Date, ERS maintains 22 bank accounts across
 multiple FIs. Of those 22 accounts, 20 bank accounts totaling approximately $0.4 billion, have
 been confirmed through information directly from FIs. An additional two accounts were identified
 that are pending supporting information to complete the analysis.

          As of the December 2019 Measurement Date, approximately 99% of the confirmed
 balances in ERS accounts totaling approximately $0.4 billion were reviewed by the legal due
 diligence team. Of the $0.4 billion in balances for ERS accounts as of the December 2019
 Measurement Date, approximately $0.4 billion in balances were assessed unrestricted, subject to
 litigation with ERS bondholders regarding the scope of their asserted security interest, based on
 currently available information. Of the confirmed balances, $5.6 million in balances, or
 approximately 1%, is currently unreviewed.

                             (iii)    PBA:

        As of the December 2019 Measurement Date, PBA maintains 35 bank accounts across
 multiple FIs. Of those 35 accounts, 33 totaling approximately $0.1 billion have been confirmed
 through information directly from FIs. An additional two accounts were identified that are pending
 supporting information to complete the analysis.

         As of the December 2019 Measurement Date, approximately 80% of the confirmed
 balances in PBA accounts totaling approximately $104 million were reviewed by the legal due
 diligence team. Of the approximately $104 million in balances for PBA accounts as of the
 December 2019 Measurement Date, approximately $7.5 million in balances were assessed as
 restricted and $75.5 million in balances were assessed as unrestricted based on currently available
 information. The remaining $20.8 million is currently unreviewed.

                             Updates to Information Referenced in the IFAT Report

        The following provides a summary highlighting the areas of progress made since the IFAT
 analysis as of June 30, 2018 to the December 2019 Measurement Date:


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       The Oversight Board believes most of the funds in the TSA are generally unrestricted except for Federal Funds
       remaining in pooled TSA accounts (approximating $100 million as of the December 2019 Measurement Date) and
       certain funds asserted to be restricted, as noted in fn. 135.
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              Since the June 2018 Measurement Date, 63 new accounts totaling approximately
               $4.6 billion were identified and supported by financial documents. These new
               accounts were identified based on information provided by governmental entities
               and financial institutions. Also, an additional 4 accounts were identified and are
               currently pending support from financial institutions, resulting in a total of 67 new
               accounts (~14% increase) added to the previously identified population.

              Since the June 2018 Measurement Date, 189 accounts were removed from the
               reported population due to closed accounts, duplicate accounts, or non-existent
               accounts confirmed by financial institutions or governmental entities. Of these
               accounts, 32 were deemed as duplicate and 25 as non-existent, totaling
               approximately $167.5 million and $13.5 million (a total of $181 million) as of June
               30, 2018, respectively.

                       Continuation of Tasks and Activities Referenced in the IFAT Report

        The IFAT Report suggested nine additional tasks and activities to more fully develop the
 information. The Oversight Board has adopted the suggestions and continued procedures to
 enhance the information subsequent to the release of the IFAT Report. Accordingly, the following
 provides an update on the nine suggestions:

              The Oversight Board continued and updated its procedures to review and update
               account balances and restriction classifications, most recently as of the December
               2019 Measurement Date.

              The Oversight Board updated its procedures to review accounts for restriction
               classifications across the population of accounts of Debtors currently in a Title III
               case that would result in a review of more than 95% of combined total account
               balances.

              The procedures to review and update account balances and restriction
               classifications included gathering additional documents for all governmental
               entities, which were used to update and enhance financial and legal due diligence
               procedures. Specifically, governmental entities and FIs were contacted regarding
               accounts and were asked to provide further information regarding closed or
               suspended accounts, as well as potential duplicate, non-existent, or new accounts.
               Follow-up calls and meetings were scheduled to clarify and ask questions about the
               information provided.

              Additional analytical procedures were performed for the review of restriction
               classifications, including obtaining governmental entities’ descriptions of the
               various restriction categories for account designation and reviewing sources and
               uses of funds for accounts.



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                    Updated procedures were applied to obtain appropriate supporting documentation
                     from governmental entities to inform the legal team’s assessment of account
                     designations.

                    Updated procedures were applied to identify federal funds within the account
                     balances were applied to all governmental entities. The procedures included
                     obtaining information from the Department of Treasury, AAFAF, and other
                     agencies.

                    Discrepancies noted in the IFAT Report between agencies and FIs were reconciled
                     through additional procedures, such as obtaining direct confirmation from FIs and
                     clarifying current status of a bank account. Similarly, discrepancies noted between
                     the IFAT Report and AAFAF were reconciled through additional procedures, such
                     as identifying out-of-scope exclusions and timing differences. Currently, the
                     unreconciled differences are less than 5% of the total balance as of the December
                     2019 Measurement Date.

                             Status of Review

         Approximately 95% of governmental entities provided a response to requests for
 information relating to account balances and restriction classifications. Governmental entities also
 provided online bank account access via the FIs for $10.9 billion held in 263 out of 527 bank
 accounts (approximately 50% of accounts and 83% of balances in the total population). Online
 bank account access to an additional $0.6 billion at 6 out of 527 bank accounts (approximately 1%
 of the total population) is expected to be provided by the agencies via the FIs. However, bank
 account statements for the remaining $1.6 billion held in 258 out of 527 bank accounts
 (approximately 49% of the total population) are expected to be obtained directly from the FIs and
 governmental entities.

         The balances reported above as of the December 2019 Measurement Date for the
 Commonwealth, ERS, and PBA, have been substantively reconciled to the AAFAF Bank Account
 Balances Report as of December 31, 2019 (“AAFAF Report”).137 Currently, the unreconciled
 differences are less than 5% of the total December 31, 2019 balance and are attributable to: (i) the
 AAFAF Report including balances for certain entities, such as public corporations; (ii) the AAFAF
 Report excluding balances for certain entities, such as legislative and judicial branch agencies; (iii)
 the AAFAF Report excluding certain investment accounts for certain entities; and (iv) timing
 differences in the availability of information.

         The list of the Debtors’ bank accounts, balances as of the December 2019 Measurement
 Date, and preliminary restriction categorizations is attached hereto as Exhibit J. The information
 presented in Exhibit J includes accounts where balances have been confirmed with FI information
 as of the December 2019 Measurement Date; follow up is ongoing to obtain FI information for


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       Summary of Bank Account Balances for the Government of Puerto Rico and its Instrumentalities, Information as
       of December 31, 2019 published by the AAFAF on January 31, 2020.
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 additional identified accounts.138 The Oversight Board and its advisors are continuing to analyze
 the restriction assessments for the accounts, and any determinations provided in Exhibit J are
 preliminary and in all respects subject to change based on new and additional information as it
 becomes available. The Oversight Board will update this Disclosure Statement to a new
 measurement date as warranted until it is approved by the Court.

 F.         Commonwealth’s Liquidity and Working Capital Analysis

         The Commonwealth experienced severe cash shortfalls in the past leading to liquidity
 crises. The Commonwealth does not maintain a formal policy requiring a minimum unrestricted
 fund balance or a minimum cash balance to fund government operations. Rather, the government
 historically addressed these shortfalls through a variety of unsustainable liquidity measures,
 including: short-term borrowings (tax revenue anticipation notes), delaying the payment of third-
 party payables or amounts due to public corporations, deferring the disbursement of certain
 budgetary assignments, triggering, pursuant to Article VI, Section 8 of the Commonwealth
 Constitution, the retention of certain revenues of the Commonwealth for the payment of debt
 service on GO Bonds and delaying the payment of income tax refunds, among others.

          In conformance with Government Finance Officers Association (“GFOA”) guidelines, it
 is essential for the Commonwealth to establish and maintain an adequate level of unrestricted fund
 and liquidity balance. This minimum cash balance will help ensure the government maintains a
 prudent level of financial resources at all times to mitigate against current and future liquidity risks
 (e.g., revenue shortfalls, timing differences and unanticipated expenditures) and to ensure stable
 tax rates. This financial buffer can soften the need for severe spending cuts or tax increases when
 the government needs to balance its budget. Because the unrestricted fund balance, coupled with
 segregated cash reserves, is vital to managing unexpected changes and maintaining fiscal health,
 its level is also tracked closely by rating agencies and used as a key metric for municipal bond
 ratings.

         The target for an unrestricted fund/liquidity balance is typically calculated as a percentage
 of a government’s General Fund spending, although financial resources available in other funds
 should also be considered in assessing the adequacy of unrestricted fund balance. This percentage
 varies greatly between different jurisdictions based on a variety of risk enhancing or risk mitigating
 factors. For example, governments that may be vulnerable to natural disasters, more dependent
 on a volatile revenue source, or potentially subject to cuts in state aid and/or federal grants may
 need to maintain a higher level of unrestricted fund balances.

            1.       General Fund Minimum Liquidity

         In establishing the minimum unrestricted General Fund/liquidity balance needed in Puerto
 Rico, the Oversight Board considered several risk factors, including: (i) the predictability of the
 government’s General Fund revenues and the volatility of its General Fund expenditures (i.e.,
 higher levels of unrestricted General Fund balance may be needed if significant revenue sources

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       The balances for the accounts for which further FI information is required are currently marked as “pending” in
       Exhibit J.
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 are subject to unpredictable fluctuations or if operating expenditures are highly volatile); (ii) Puerto
 Rico’s perceived exposure to significant one-time outlays (e.g., disasters, immediate capital needs,
 budget cuts); (iii) the potential drain upon General Fund resources from other funds, as well as,
 the availability of resources in other funds; (iv) the potential impact on Puerto Rico’s future bond
 ratings and the corresponding increased cost of borrowed funds; and (v) commitments and
 assignments (i.e., the desire to maintain higher levels of unrestricted fund balance to compensate
 for any portion of unrestricted fund balance already committed or appropriated by the government
 for a specific purpose).

         The Oversight Board also reviewed several third-party methodologies and approaches,
 including those proposed by the GFOA, Pew Charitable Trusts, and the U.S. Treasury.
 Additionally, the Oversight Board evaluated minimum cash balance protocols in other financially
 distressed U.S. jurisdictions, such as the City of Detroit. Each methodology is described below.

         GFOA. Founded in 1906, GFOA is a professional association representing more than
 20,000 state, provincial, and local government finance officers in the United States and Canada
 deeply involved in planning, financing, and implementing thousands of governmental operations
 in each of their jurisdictions. GFOA's mission is to advance excellence in public finance. To meet
 the many needs of its members, the organization provides best practice guidance and offers
 publications on budgeting, internal controls, debt management, treasury management, and other
 financial management topics.

         The GFOA recommends that governments should maintain an unrestricted fund balance
 that will protect taxpayers and employees from unexpected changes in financial condition. The
 GFOA recommends that governments, at a minimum, should maintain unrestricted budgetary fund
 balance in their General Fund of no less than two months of regular General Fund operating
 revenues or regular General Fund operating expenditures.139

         Pew Charitable Trusts (“Pew”). Founded in 1948, Pew is an independent nonprofit
 organization dedicated to improving public policy by conducting rigorous analysis, linking diverse
 interests to pursue common cause and insisting on tangible results. The organization maintains a
 dedicated research team focused on state fiscal health that frequently publishes thought provoking
 research and recommendations on state financial conditions, particularly on municipalities in
 distress.

         Pew’s research highlights that positive fund balances are needed to manage budgetary
 uncertainty, including revenue forecasting errors, budget shortfalls during economic downturns,
 and other unforeseen emergencies, such as natural disasters. The organization indicates this
 financial cushion can soften the need for severe spending cuts or tax increases when states need to
 balance their budgets. Building up a positive fund balance is a sign of fiscal recovery, but there is
 no one-size-fits-all rule on when, how, and how much to save. States with a history of significant
 economic or revenue volatility may desire larger cushions. Under Pew’s methodology, the optimal
 unrestricted fund balance target depends on three factors: (i) the defined purpose of funds, (ii), the


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       GFOA, Fund Balance Guidelines for the General Fund, September 2015.

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 volatility of a state’s tax revenue; and (iii) and the level of coverage that the state seeks to provide
 for its budget.

        Based on Pew’s research, the 50-state median fund balance for 2018 was approximately 40
 days of General Fund expenditures.140

         Community Disaster Loans (“CDLs”). In October 2017, shortly after hurricanes Irma and
 Maria devastated Puerto Rico, Congress appropriated $4.7 billion in CDL funding to Puerto Rico,
 subject to final negotiations between the Commonwealth and the U.S. Treasury. The CDL
 Program provides operational funding to help local governments that have incurred a significant
 loss in revenue, due to a major disaster, that has or will adversely affect their ability to provide
 municipal services.

         As part of the negotiation process, the U.S. Treasury and FEMA transmitted a cash balance
 policy to Puerto Rico that would govern the Commonwealth’s ability to access CDL funding. This
 cash balance policy, which was ratified by the U.S. Treasury and the Government in March 2018,
 would permit the Commonwealth to access CDL funding if minimum operating cash balances in
 the Government’s TSA declined below certain levels.

         City of Detroit. The Oversight Board also evaluated minimum cash balance assumptions
 used by the City of Detroit, given its recent chapter 9 bankruptcy case. As part of its restructuring
 and 40-year projections in the City’s plan of adjustment, Detroit projected a minimum cash balance
 based on two months of payroll through fiscal year 2023 and a 5% of General Fund expenditures
 cash reserve thereafter. These levels are still maintained annually to preserve fiscal discipline and
 controls in the City.

            2.      Additional TSA Analysis of Minimum Liquidity

         TSA Cash Flow Analysis for all funds. The Oversight Board also evaluated the projected
 cash needs of the TSA, the Commonwealth’s primary operating account. The primary inflow for
 the TSA is tax revenue which is subject to economic risk and carries a seasonality component.
 The primary disbursements are payroll and pension related which are fixed in nature. In estimating
 the minimum operating cash reserve, these considerations, along with sources of revenue, were
 taken into account. The analysis reviewed and assessed the normalized fiscal year 2019 liquidity
 plan cash yields by assuming various month lags in receipts. The months on hand lag assumptions
 were determined based on criticality of the payment and funding source. For example, payroll
 funded by state collections requires a two-month reserve versus NAP which is a federally funded
 pass through that requires no reserve.

            3.      Other Liquidity Needs

         Federal Grants, Subsidies. The Commonwealth is the beneficiary of numerous federal
 programs, which provide funding for government services in the areas of education, health, public
 safety and housing, among others. Most of the programs funded by federal government agencies

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       Pew Charitable Trusts Budget Surpluses Are Helping Many States Boost Their Savings, March 2019.
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 are reimbursement based, meaning that the Commonwealth will typically disburse the funds and
 then seek reimbursement from the corresponding federal agency. Certain federal programs,
 however, provide for advances of federal funds to Puerto Rico to be disbursed by the
 Commonwealth at a later date. The TSA received $5.6 billion, $5.6 billion and $9.3 billion in
 federal funds in fiscal year 2017, fiscal year 2018 and fiscal year 2019, respectively. A portion of
 these receipts were in the form of advances of federal funds, for example for Medicaid related
 expenses and for NAP, and remained outstanding as part of the TSA balance as of June 30, 2019.
 Variances in timing between federal funds receipts and disbursements contribute to the minimum
 liquidity requirements of the government.

        Income Tax Refunds. The Government collects income taxes from individuals and
 corporations throughout the fiscal year. Typically, at the end of the fiscal year, there is a certain
 amount of claimed and processed income tax refunds that remain outstanding. For fiscal year
 2019, the Commonwealth preliminarily reported General Fund collections of approximately
 $11.376 billion in tax revenues (net of $480 million reserved for income tax refunds). The amount
 of income tax refunds outstanding and payable as of the end of the fiscal year contributes to the
 minimum liquidity requirements of the government.

         Additional needs. In addition to core working capital requirements, it is likely the
 government will need to set aside working capital for several additional cash needs. This includes
 set asides to fully fund capital spending associated with consent decrees, set aside funding for
 potential local disaster aid needs, and funding working capital for Special Revenue Funds and
 other cash requirements.

        4.      Minimum Liquidity Recommendation

        Minimum liquidity. After analyzing the recommended values ascribed by each approach
 above, risk weighting Puerto Rico’s financial characteristics, considering all budgets (including
 PayGo requirements), and evaluating the Commonwealth’s revenue volatility, consistent with the
 PSA, the Oversight Board concluded the Government should maintain an unrestricted liquidity
 balance of no less than $2 billion. In addition, a separate emergency reserve, as described below,
 should be established as well.

        Emergency Reserve. In addition to the minimum liquidity of $2 billion described above,
 the Oversight Board concluded Puerto Rico must also set aside appropriations annually into an
 emergency reserve. The purpose of the emergency reserve is different than that of the liquidity
 balance. It is designed specifically to ensure the government has adequate funds available to
 respond rapidly to emergency situations, such as natural disasters. According to the International
 Monetary Fund, the Caribbean region’s already high vulnerability to natural disasters is likely to
 be exacerbated as the frequency and severity of disasters increase from climate change effects.

          Following International Monetary Fund guidance provided to other Caribbean islands, the
 Oversight Board concluded this emergency reserve must eventually total $1.3 billion, or
 approximately 2.0% of fiscal year 2018 GNP, by reserving $130 million per year for 10 years.
 This would provide an adequate emergency reserve (2% to 4% of GNP). Unlike the fund balance,
 restrictions placed on these funds must ensure that it is only used in case of an emergency. The

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 Commonwealth is not permitted to disburse any amount from the emergency reserve without
 approval from the Oversight Board.

          This emergency reserve account is currently maintained at a private financial
 institution. As of December 31, 2019, the reserve account held $650 million, the accumulation of
 budgeted reserves from fiscal years 2017 ($200 million), 2018 ($190 million), and 2019 ($130
 million), and 2020 ($130 million). Based on documentation provided by the Department of
 Treasury, $89 million of the funds from fiscal year 2017 and $186 million of the funds from fiscal
 year 2018 were utilized on a budgetary basis to cover emergency related expenditures. In addition,
 the Oversight Board authorized the use of up to $260 million of the cumulative 2019 and 2020
 budgeted reserves for earthquake relief. The fiscal year 2021 Commonwealth budget is anticipated
 to include a $276 million appropriation to replenish the emergency budget reserve used in 2017
 and 2018.

         Following the seismic events in January 2020, the Oversight Board made $260 million
 from the emergency fund available to the government through January 31, 2020. As a result of
 the fiscal planning and prioritization embedded in the Certified Fiscal Plan and Certified Budgets,
 the Government was able to access its own funds on a timely basis to help the people of Puerto
 Rico, rather than be limited in its response in any way. Due to the urgency of the needs, the funds
 were made available to the Government on the basis of after-the-fact reporting of the expended
 funds. After the initial period ended on January 31, 2020, the Oversight Board adjusted the
 procedure for authorization of the use of funds maintaining an appropriate level of oversight and
 due diligence. The unspent reserves remained available for reasonable earthquake-related needs,
 but on the basis of a request for release.



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            IV.   Significant Events Leading to Commencement of the Title III Cases

 A.     The Commonwealth’s Steady Operational and Financial Decline

         General. The Commonwealth and certain of its public corporations are in the midst of a
 profound fiscal crisis. Despite various measures undertaken in recent years to stimulate economic
 growth, reduce government expenses, and increase revenues, the Commonwealth has been unable
 to spur economic growth and eliminate the recurrent excess of expenditures over revenues. This
 is mainly due to years of economic recession, recurring budget deficits, the financing of recurrent
 expenses with long-term debt, the failure to adequately fund legacy obligations such as pensions
 and the devastation caused by the hurricanes in 2017.

         The Commonwealth’s balance sheet deterioration, combined with continued structural
 imbalances between revenues and expenditures and the Commonwealth’s inability to access the
 capital markets, resulted in the Commonwealth and certain of its instrumentalities becoming
 unable to make scheduled debt payments while continuing to provide government services and
 ultimately being placed into debt restructuring cases under Title III of PROMESA.

         The Commonwealth’s Economy. The Commonwealth’s economy entered a recession in
 the fourth quarter of fiscal year 2006, and the Commonwealth’s GNP has contracted (in real terms)
 every fiscal year between 2007 and 2017, except for a 0.1% GNP growth in fiscal year 2012. The
 slight GNP growth in fiscal year 2012 was due mainly to the large number of stimuli and deficit
 spending injected into the Commonwealth’s economy during the period and not as a result of
 economic recovery.

        In its May 2018 report (GAO-18-387), the GAO listed the following five main factors that
 contributed to Puerto Rico’s economic condition:

            Outmigration and diminishing labor force. Puerto Rico has experienced a steady
             decline in its population and labor force.

            Regulatory challenges in doing business in Puerto Rico. These include the high cost to
             businesses in complying with Puerto Rico regulations such as the permitting process
             for new business, and federal laws such as the minimum wage law that may be a
             deterrent to employment in some local sectors.

            High cost of importing goods and energy. Many of the goods used by businesses in
             Puerto Rico are imported, which increases their cost and Puerto Rico relies mainly on
             high cost petroleum products for its energy generation.

            Phase-out of the federal tax credit that concluded in 2006. This affected mostly
             manufacturing operations in Puerto Rico, although there is no consensus as to the
             magnitude of the impact.

            Banking and housing struggles. Puerto Rico banks have struggled, and several have
             disappeared. Housing prices have fallen by 25% since its peak in 2009.

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         The Puerto Rico Planning Board (the “Planning Board”) has the legal responsibility of
 creating an annual Economic Report to the Governor and the Legislature, presenting the
 Commonwealth’s economic outlook and an analysis of its economic behavior. According to the
 Planning Board’s report released in May 2019, the Commonwealth’s real GNP for fiscal years
 2016 and 2017 decreased by 1.6% and 3.0%, respectively. The Planning Board’s GNP forecast
 for fiscal year 2018, estimates a contraction of 4.7%. In each case, such analysis does not account
 for the impact of Hurricanes Irma or Maria.

        In fiscal year 2017, preliminary aggregate personal income in the Commonwealth was
 $64.6 billion and personal income per capita was $19,139.

         The economy of the Commonwealth is closely linked to the United States economy, as
 most of the external factors that affect the Commonwealth’s economy are determined by the
 policies and performance of the United States economy. These external factors include exports,
 direct investment, the amount of federal transfer payments, the level of interest rates, the rate of
 inflation and tourist expenditures. During fiscal year 2017, approximately 78% of the
 Commonwealth’s exports went to the United States mainland, which was also the source of
 approximately 54% of the Commonwealth’s imports.

         The fiscal plan for the Commonwealth certified by the Oversight Board on May 9, 2019
 (“May 2019 Fiscal Plan”) is based on forecasts of macroeconomic conditions, including Puerto
 Rico’s real GNP growth, inflation rates, and Puerto Rican population growth. The May 2019
 Fiscal Plan recognizes the significant decline in economic activity after Hurricanes Irma and Maria
 and includes projections of how the real GNP growth rates would have differed due to the storms
 with and without fiscal plan measures, structural reforms, and disaster relief spending. For
 example, without any fiscal plan measures, structural reforms, or the disaster relief spending, the
 real GNP growth rate is projected to have been a 17.7% decline in fiscal year 2018 and a 3.7%
 rebound in fiscal year 2019 due to the post-hurricane effects. But, with the implementation of the
 May 2019 Fiscal Plan, the real GNP growth rates are projected to be only a 4.7% decline in fiscal
 year 2018 and a 4.0% further increase in fiscal year 2019. The real GNP growth is projected to
 slow down beginning in fiscal year 2020.

         The Puerto Rico economic projections are also affected by U.S. mainland growth
 projections and incorporates the data and projections from federal analyses. The annual inflation
 rates are forecasted to drop from 1.63% in fiscal year 2018 to 0.61% in fiscal year 2019 and 1.09%
 in fiscal year 2020. The annual inflation rates remain around 1.4% to 1.5% in the short- to mid-
 term years starting from fiscal year 2021.

        The May 2019 Fiscal Plan also includes population forecast of continuing decline for the
 next several years. The hurricanes created a larger population decline of 5.1% in fiscal year
 2018. From fiscal year 2019, Puerto Rico is projected to experience a population decline of 1.8%
 and smaller declines each subsequent year, with a 1.1% annual decline as of fiscal year 2024.141


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       For a full discussion of the projections of the Certified Commonwealth Fiscal Plan, see Chapter 4 of the Certified
       Commonwealth Fiscal Plan, attached as Exhibit E to this Disclosure Statement.
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         Recurrent Deficits. One of the principal causes of the Commonwealth’s current fiscal
 crisis has been its inability to increase its revenues and reduce its expenditures to avoid recurrent
 structural deficits. These deficits have historically been funded with borrowings from either the
 public bond market or governmental institutions, such as GDB, or by deferring the cost of certain
 legacy liabilities. The practice of issuing long-term debt to pay for current operational expenses,
 together with the failure to properly fund legacy liabilities (such as employee retirement benefits),
 the ballooning cost of healthcare and the contraction of the revenue base due to prevailing
 economic conditions, have led to a material deterioration in the Commonwealth’s consolidated net
 position, as calculated pursuant to generally accepted accounting principles in the United States.

         Employment. Total average annual employment, as measured by the Commonwealth’s
 DLHR Household Employment Survey, known as the “Household Survey,” has decreased in
 recent years. The reduction in total employment began in the fourth quarter of fiscal year 2007,
 when total employment was 1,244,333, and continued consistently until the first half of fiscal year
 2015, after which it mostly stabilized. According to the Household Survey, the unemployment
 rate averaged 8.5% for fiscal year 2019, compared to 10.3% for the prior fiscal year. This is down
 from 16.2% for fiscal year 2011. The unemployment rate has declined by 35% since 2015;
 however, employment has increased by only 1.2%.

         According to the DLHR’s Current Employment Statistics Survey (Establishment Survey –
 NAICS Codes), total payroll non-farm employment decreased by 1% during fiscal year 2017 as
 compared to fiscal year 2016. Total private employment also fell during fiscal year 2017 by 0.6%,
 which translates to a reduction of almost 4,000 employees, as compared to the same period for the
 prior fiscal year.

        Aggregate Debt Burden of the Commonwealth and its Instrumentalities. As of May 3,
 2017, the aggregate outstanding principal amount of debt of the Commonwealth and its
 instrumentalities was approximately $72.8 billion (including accreted interest on capital
 appreciation bonds). Of this amount, approximately $56 billion represents GO Bonds, debt
 payable from Commonwealth taxes or appropriations and debt of tax-supported public
 corporations.

        For fiscal year 2020, the aggregate scheduled annual debt service on all bonds and notes
 issued by the Commonwealth and certain of its instrumentalities142 is approximately $2.7 billion.
 The debt burden of the Commonwealth and its instrumentalities significantly increased during the
 past decade. A significant portion of the debt issued during this period was used to cover
 operational expenses of the Commonwealth and its public corporations.

        The Commonwealth’s ratio of tax-supported debt-to-revenue is more than double that of
 the U.S. states with the highest debt-to-revenue ratio, and almost seven times the U.S. state




 142
       Instrumentalities include PBA, HTA, ERS, reorganized COFINA, GDB Debt Recovery Authority, PRIFA, PFC,
       and CCDA.

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 median.143 The Commonwealth’s tax-supported debt per capita, as a share of GDP and as a share
 of personal income, is also disproportionally high when compared to mainland jurisdictions.

         Pension Liabilities. In addition to debt service on outstanding bonds, notes and other
 financial debt obligations, one of the most significant expenditures of the Commonwealth and its
 public corporations are pension benefits payable to retired employees. The combined Retirement
 Systems’ net pension liability was approximately $55.6 billion as of July 1, 2016.144 For further
 discussion and analysis of the pensions for the Commonwealth, see Oversight Board Report on
 Pensions, attached hereto Exhibit K.

        Given the insolvency and impending exhaustion of ERS’s liquid assets, the Oversight
 Board commenced the ERS Title III Case. Furthermore, in August 2017, the Legislature enacted
 Act No. 106-2017, pursuant to which the Commonwealth adopted a PayGo system for the payment
 of pension benefits. Under Act No. 106-2017, the Commonwealth makes pension payments from
 its General Fund.

 B.          Legislation Enacted by the Commonwealth to Address the Fiscal and Debt Crisis145

             1.       Act 7-2009 (“Act 7”)

          On March 9, 2009, the Commonwealth enacted Act 7, known as the “Special Act to Declare
 a State of Fiscal Emergency and to establish a Comprehensive Fiscal Stabilization Plan to Salvage
 the Credit of Puerto Rico.” This was the first statute where the Commonwealth exercised its police
 powers to address its fiscal crisis. Act 7 implemented a number of initiatives, including a gradual
 operating expense reduction plan through a reduction of operating expenses and the reorganization
 of the Executive Branch, and a combination of temporary and permanent revenue raising measures.
 As part of the expenditure reduction measures, Act 7 established a plan for the downsizing of the
 government’s payroll. The first phase of the plan was an incentivized voluntary resignation and
 voluntary workday reduction program. The second phase was a dismissals plan that went into
 effect if the expenditure reduction targets were not achieved by the first phase. Such phase covered
 most Central Government employees and was applied according to employee seniority.
 Approximately 12,505 government employees were dismissed under the second phase. The plan



 143
       Based on data from the 2017 U.S. Census of Governments, the states with the highest levels of debt to revenue
       ratios are Massachusetts and Connecticut. The states with the highest combined state and local government debt
       to revenue ratio are Kentucky, Illinois, and Texas (depending on what measure of revenue issued). Kentucky also
       has the highest level of local government debt compared to local revenue.
 144
       Excludes medical insurance plan contributions.
 145
        Legislation enacted by the Commonwealth before and after the effectiveness of PROMESA on June 30, 2016 is
       preempted by section 4 of PROMESA to the extent it is inconsistent. Additionally, it violates PROMESA section
       204 to the extent the procedures for vetting the legislation for consistency with the certified fiscal plan are not
       followed, it violates PROMESA section 207 to the extent it modifies debt without Oversight Board consent, and it
       violates PROMESA section 108(a)(2) to the extent it would impair or defeat the purposes of PROMESA as
       determined by the Oversight Board. By describing the legislation in this section of the Disclosure Statement, the
       Oversight Board is not waiving the application of PROMESA to any portion of it.

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 also imposed a temporary freeze on salary increases and other economic benefits included in laws,
 CBAs, and any other employee agreements.

        2.      Act 3-2013

         As described above in section 0, on April 4, 2013, the Commonwealth enacted Act 3-2013
 as a comprehensive reform of ERS. Act 3-2013 froze all retirement benefits accrued through June
 30, 2013 and thereafter all future benefits would accrue under a defined contribution formula,
 raised the retirement age of participants, increase the employee contribution and reduced or
 eliminated post-employment benefits.

        3.      Act 66-2014 (“Act 66”)

          On June 17, 2014, the Commonwealth adopted Act 66, known as the Fiscal and Operational
 Sustainability Act, which imposed multiple fiscal measures, including: (i) the freezing of benefits
 under CBAs and the reduction of certain non-salary compensation; (ii) the contribution of the
 savings generated by certain public corporations to support certain General Fund expenditures;
 (iii) the freezing of formula appropriation increases to UPR and the municipalities; (iv) the freezing
 and reduction of formula appropriations to the Judicial Branch, the Legislature and certain other
 entities; (v) the reduction in school transportation costs; (vi) the reduction of rates for professional
 and purchased services; (vii) the freezing of water rates for governmental entities; and (viii) the
 implementation of a payment plan system for legal judgments. The measures were originally
 scheduled to sunset after fiscal year 2017, but most were extended by Act 3-2017 until fiscal year
 2021.

        4.      Act 71-2014 (“Act 71”)

         After the rating agencies downgraded the Commonwealth’s largest public corporations
 below investment grade and such entities were facing further liquidity constraints and a loss of
 access to the capital markets, the Commonwealth enacted Act 71 on June 28, 2014. Known as the
 Puerto Rico Debt Enforcement and Recovery Act, it provided an orderly process to allow certain
 public corporations to adjust their debts. Because the U.S. Congress excluded Puerto Rico’s
 municipalities from seeking relief under chapter 9 of the Bankruptcy Code, the Commonwealth
 enacted Act 71 to fill that void by creating a legal framework that afforded an orderly debt
 restructuring process.

        In June 2014, certain PREPA bondholders challenged the constitutionality of Act 71 before
 the District Court, which ruled in favor of bondholders and held that Act 71 was preempted by
 chapter 9 of the Bankruptcy Code. The District Court holding was upheld by the U. S. Court of
 Appeals for the First Circuit on July 6, 2015 and the U.S. Supreme Court on June 13, 2016.

        5.      The Moratorium Act and Creation of AAFAF (Act 21-2016)

        On April 6, 2016, the Government enacted the Moratorium Act, which granted the
 Governor the authority to, among other things, (i) implement a moratorium on debt service
 payments, (ii) redirect certain monies historically conditionally appropriated to public entities for
 the payment of their obligations to the payment of essential services, and (iii) temporarily stay
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 related creditor remedies. In connection with the Moratorium Act, then Governor Alejandro
 Garcia Padilla, issued a number of executive orders, including orders to declare a moratorium on
 the payment of debt service by various government entities.

         AAFAF was also created under the Moratorium Act for the purpose of assuming GDB’s
 role as fiscal agent, financial advisor and reporting agent to the Commonwealth and its
 instrumentalities and municipalities.146 In January 2017, the Legislature enacted Act 2-2017,
 which expanded AAFAF’s role to include additional responsibilities related to the restructuring of
 the indebtedness of the Commonwealth and its instrumentalities and to oversee compliance with
 the fiscal plans and budgets of said entities approved by the Oversight Board pursuant to
 PROMESA.

            6.      Act 3-2017 (“Act 3”)

         On January 23, 2017, the Commonwealth enacted Act 3, which declared a fiscal and
 economic crisis and extended until July 1, 2021 the effectiveness of many of the fiscal austerity
 measures enacted by Act 66 that were originally scheduled to expire on July 1, 2017. Act 3 adopted
 the following measures: (i) suspension of CBAs; (ii) freezing of compensation and employment
 benefits; (iii) reduction in the Department of Education’s school transportation costs; (iv)
 implementing limitations on job openings; (v) eliminating 20% of trust employee positions; (vi)
 limiting the carryover of sick and vacations days between fiscal years; and (vii) application of a
 payment plan system for legal judgments. Such measures may be terminated earlier if certain
 financial conditions are met, such as GNP growth of at least 1.5%, Commonwealth general
 obligations receive an investment grade credit rating, and no deficit financing is used by the
 Commonwealth. Act 3 also extended the 4% excise tax imposed by Act 154 from December 31,
 2017 until December 31, 2027.

            7.      Act 4-2017 (“Act 4”)

         On January 26, 2017, the Commonwealth enacted Act 4, known as the Transformation and
 Labor Flexibility Act, to increase participation in the labor market by adding flexibility to overtime
 regulations, increasing work requirements to become eligible for severance pay, and authorizing
 longer probationary periods. In addition, work requirements to become eligible for the Christmas
 bonus were increased and the bonus was reduced by half during an employee’s first year of
 employment. Puerto Rico’s law limiting the hours of operation of certain retail businesses on
 Sundays and certain holidays was also repealed.

            8.      Act 5-2017 (“Act 5”)

        On January 29, 2017, the Commonwealth enacted Act 5, known as the Puerto Rico
 Financial Emergency and Fiscal Responsibility Act of 2017, to repeal parts of Act 21-2016 and
 declare a financial emergency. Although certain provisions of Act 21 were repealed, the debt
 moratorium orders issued under Act 21 continue in effect pursuant to Act 5. Act 5 also established

 146
       For a discussion of Act 5-2017, which amended the Moratorium Act, see section IV.B.5 of this Disclosure
       Statement.
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 an emergency period, during which the Governor may issue executive orders designating the
 priority for the use of available resources. The Governor was also granted broad receivership
 powers over government agencies in order to rectify the financial emergency.

       Act 5 was amended by Act 46-2017 to authorize the Governor to continue extending the
 emergency period declaration by additional 6-month periods as long as the Oversight Board exists.
 The emergency period is currently set to expire on June 30, 2020, unless further extended by the
 Governor.

        9.      Act 26-2017 (“Act 26”)

         On April 29, 2017, the Commonwealth enacted Act 26, known as the Fiscal Plan
 Compliance Act, to implement a broad array of fiscal measures to reduce costs across the
 Commonwealth and its public corporations and support the Commonwealth’s compliance with the
 fiscal plan certified by the Oversight Board. Some of the most important measures implemented
 by Act 26 relate to the standardization of fringe benefits across the Central Government and public
 corporations. The measures adopted by Act 26 among other things: (1) reduced vacation and sick
 leave benefits; (2) reduced the number of public holidays; (3) reduced the Christmas bonus of
 employees of public corporations to $600 and conditioned its eligibility to six months of service
 per year or more; (4) replaced overtime pay for public employees with compensatory time; (5)
 eliminated the cash-out payment for sick day accruals and capped the liquidation for vacation leave
 accruals to 60 days; (6) nullified any provision of a CBA that provided public employees fringe
 benefits in excess of those set forth in Act 26; (7) imposed a special dividend tax on the Joint
 Underwriting Association; (8) ordered all public corporations and instrumentalities to transfer
 surplus revenues to the Treasury Department’s General Fund; (9) established a process for selling
 real properties of the government; (10) shortened the effectiveness of most multiyear
 appropriations; (11) increased taxes on cigarettes and tobacco products; (12) reduced funding for
 the Conservatory of Music and the School of Plastic Arts; and (13) reduced until fiscal year 2021
 the annual set aside for the Commonwealth’s emergency fund.

         Act 26 provides that when the fiscal situation has stabilized and the condition of the public
 fiscal situation so permits, the Fiscal Plan Compliance Committee established by the Act may
 suspend its effectiveness. The Committee is composed of three members, with the Governor, the
 Speaker of the House of Representatives, and the President of the Senate each appointing one
 member.

        10.     Act 106-2017 (“Act 106”)

         On August 23, 2017, the Commonwealth enacted Act 106 to address the imminent
 depletion of the assets of the Commonwealth’s retirement systems. Known as the Law to
 Guarantee Payment to our Pensioners and Establish a New Plan for Defined Contributions for
 Public Employees, Act 106 authorized the Commonwealth General Fund to assume the pension
 payments of the Retirement Systems through a PayGo system. Under the PayGo model, each
 employer is required to pay an amount determined by AAFAF corresponding to the actual
 payments of pension benefits to retirees and beneficiaries of such employer. Act 106 also created
 a defined contribution system for ERS participants. All contributions by ERS participants must

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 now flow into the defined contribution plan. On May 17, 2019, the Commonwealth enacted Act
 29-2019 to exempt municipalities from paying the PayGo charge for their retirees and the
 statutorily required contribution to the Commonwealth’s Health Insurance Program. The
 aggregate amount of the projected impact of such exemptions is approximately $311 million for
 fiscal year 2020, and $1.7 billion through fiscal year 2024.147

 C.         PROMESA148

            1.       Enactment of PROMESA

        On June 30, 2016, Congress enacted PROMESA, which provides a framework, among
 other things, for the Commonwealth and its covered instrumentalities to restructure their
 indebtedness by establishing:

                the Oversight Board, which provides oversight of the Commonwealth’s and its covered
                 instrumentalities149 restructuring and revitalization efforts by, among other things: (i)
                 certifying fiscal plans and budgets for the Commonwealth and its covered
                 instrumentalities and (ii) representing the Commonwealth and its covered
                 instrumentalities in any cases commenced under Title III of PROMESA;

                a court-supervised, quasi-bankruptcy process similar to chapter 9 of the Bankruptcy
                 Code to allow the Commonwealth and its covered instrumentalities to restructure their
                 indebtedness pursuant to a plan of adjustment; and

                a framework for the designation, oversight and implementation of critical infrastructure
                 projects aimed at growing the Commonwealth’s economy.

            2.       Creation of the Oversight Board

        PROMESA section 101(a) established the Oversight Board for the purpose of providing “a
 method for a covered territory to achieve fiscal responsibility and access to the capital markets.”
 The Oversight Board currently consists of seven voting members appointed by the President of the
 United States from a bipartisan list of nominees and a non-voting ex officio member appointed by



 147
       The Oversight Board has filed an adversary proceeding challenging Act 29 as, among other things, unenforceable.
       For a summary of the Oversight Board’s challenge, see section V.F.5(f) of this Disclosure Statement. The
       Oversight Board’s projected aggregate impact of such exemptions is currently being disputed in a litigation
       between the Oversight Board and the Government.
 148
       This section summarizes certain provisions of PROMESA. Although the Debtors believe that this description
       covers the material provisions of PROMESA, this summary does not purport to be complete and is subject to, and
       is qualified in its entirety by reference to, PROMESA.
 149
       On September 30, 2016, the Oversight Board designated certain entities, including the Debtors, as covered
       instrumentalities. Financial Oversight & Management Board for Puerto Rico, Annual Report, Fiscal Year 2017
       (July 30, 2017). On May 9, 2019, the Oversight Board supplemented the list of covered instrumentalities and
       designated 78 municipalities as covered instrumentalities under PROMESA.
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 the Governor.150 On August 31, 2016, President Obama appointed the Oversight Board’s seven
 voting members, who are: (1) José B. Carrión III, (2) Carlos M. García, (3) David A. Skeel, Jr.,
 (4) Andrew G. Biggs, (5) Arthur J. González, (6) José R. González and (7) Ana J. Matosantos. As
 of August 21, 2019, Elí Díaz serves as the Commonwealth’s non-voting ex officio member of the
 Oversight Board.

         Each member of the Oversight Board serves a three-year term without any compensation
 and may be appointed to an unlimited number of consecutive terms. When a term expires, Board
 members serve until replaced. The President of the United States may remove any member for
 cause.151

         In addition to its seven voting members and non-voting ex officio member, the Oversight
 Board also has an executive team, which includes: (i) Natalie A. Jaresko, as Executive Director
 and Interim Revitalization Coordinator, (ii) Jaime A. El Koury, as General Counsel, and (iii) Kyle
 A. Rifkind, as Deputy General Counsel and Restructuring Officer. Pursuant to the Oversight
 Board’s bylaws, the Executive Director acts as the chief executive officer of the Oversight Board
 with general supervision and direction of its business affairs (including the power to enter into
 contracts on behalf of the Oversight Board), subject to the supervision and control of the Oversight
 Board. The General Counsel acts as the chief legal officer of the Oversight Board. The
 Revitalization Coordinator is responsible for executing the duties prescribed under PROMESA
 section 503 relating to the identification, prioritization and implementation of critical infrastructure
 projects for the Commonwealth.

          In accordance with PROMESA section 108(a), the Oversight Board acts as an autonomous
 entity, such that neither the Governor nor the Legislature may exercise any control over the
 Oversight Board and its activities and cannot take any actions that would impair or defeat the
 purposes of PROMESA. Although created by federal statute, the Oversight Board is not a
 “department, agency, establishment, or instrumentality of the Federal Government.” Instead, as
 set forth in PROMESA section 101(c)(1), the Oversight Board is deemed “an entity within the
 territorial government” of the Commonwealth. The Oversight Board remains a small organization,
 with a flat hierarchy, and operates from offices located in San Juan, Puerto Rico and New York,
 New York. One of its organizational goals during Fiscal Year 2019 was to take advantage of the
 incredible talent in Puerto Rico to build organizational strength through local recruiting, thereby
 reducing costs and the use of third-party consultants. The overwhelming majority of the Oversight



 150
       Certain creditors challenged the appointment and asserted it violated the Appointments Clause. The dispute is
       currently pending before the U.S. Supreme Court. See section V.F.1 of this Disclosure Statement.
 151
       On February 15, 2019, the First Circuit issued a decision holding that PROMESA’s provision for the appointment
       of members of the Oversight Board is unconstitutional. However, the First Circuit affirmed the Title III Court’s
       decision to deny the motions to dismiss the Title III petitions and stated that the ruling does not invalidate the
       Oversight Board’s actions prior the First’s Circuit’s judgment. The First Circuit has since stayed its mandate to
       enable the Oversight Board to continue functioning during the U. S. Supreme Court’s review of its decision. On
       June 20, 2019, the U.S. Supreme Court granted the Oversight Board’s petition for certiorari requesting review of
       the decision. For further discussion of litigation related to challenges under the Appointments Clause, see section
       V.F.1 in this Disclosure Statement.
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 Board’s new hires are Puerto Ricans, several of whom have returned from the U.S. mainland to
 help Puerto Rico recover.

         In accordance with PROMESA section 209, the Oversight Board will continue in existence
 until the Oversight Board certifies that: (i) the Commonwealth has adequate access to the short-
 term and long-term capital markets at reasonable interest rates to meet its borrowing needs and (ii)
 for at least four consecutive fiscal years: (a) the Commonwealth has developed its budgets in
 accordance with modified accrual accounting standards and (b) the expenditures made by the
 Commonwealth during each such fiscal year did not exceed its revenues during that year, as
 determined in accordance with modified accrual accounting standards.

        3.      Oversight Board Powers and Responsibilities

        Certification of Fiscal Plans and Budgets

         One of the cornerstones of PROMESA is the development, certification and enforcement
 of fiscal plans and budgets for the Commonwealth and its covered instrumentalities. Such fiscal
 plans and budgets provide a framework for achieving fiscal responsibility and access to the capital
 markets. Fiscal plans are short-term and long-term planning tools, covering a period of at least
 five fiscal years, while budgets cover at least one fiscal year. Budgets must be consistent with the
 fiscal plan then in effect.

         PROMESA contemplates the Oversight Board and the elected government of the
 Commonwealth will work together to adopt a fiscal plan, but grants the Oversight Board the power
 to develop and certify its own fiscal plan if the government does not provide it with a proposed
 fiscal plan it determines to certify. The process begins with the Oversight Board providing the
 Governor with a schedule for the development, submission, and certification of fiscal plans for the
 Commonwealth and any covered instrumentality. The Governor is required to submit the proposed
 fiscal plan in accordance with such schedule. Following submission, the Oversight Board may
 certify the proposed fiscal plan if it determines that such fiscal plan meets 14 statutory
 requirements set forth in PROMESA section 201(b), which are designed to “provide a method to
 achieve fiscal responsibility and access to the capital markets.” The fiscal plan must:

            provide for estimates of revenues and expenditures in conformance with agreed
             accounting standards and be based on (i) applicable laws or (ii) specific bills that
             require enactment in order to reasonably achieve the projections of the fiscal plan;

            ensure the funding of essential public services;

            provide adequate funding for public pension systems;

            provide for the elimination of structural deficits;

            for fiscal years covered by a fiscal plan in which a stay under Title III or Title IV of
             PROMESA is not effective, provide for a debt burden that is sustainable;

            improve fiscal governance, accountability and internal controls;
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           enable the achievement of fiscal targets;

           create independent forecasts of revenue for the period covered by the fiscal plan;

           include a debt sustainability analysis;

           provide for capital expenditures and investments necessary to promote economic
            growth;

           adopt appropriate recommendations submitted by the Oversight Board;

           include such additional information as the Oversight Board deems necessary;

           ensure that assets, funds or resources of a territorial instrumentality are not loaned to,
            transferred to or otherwise used for the benefit of a covered territory or another covered
            territorial instrumentality of a covered territory, unless permitted by the constitution of
            the territory, an approved plan of adjustment under Title III or a Qualifying
            Modification approved under Title VI of PROMESA; and

           respect the relative lawful priorities or lawful liens, as may be applicable, in the
            constitution, other laws or agreements of a covered territory or covered territorial
            instrumentality in effect prior to the date of enactment of PROMESA.

         Fiscal plans must ensure the funding of essential public services. “Essential services” is a
 phrase used to refer, at a minimum, to services which, due to the police power, a court of competent
 jurisdiction can allow to be paid for from revenues to which a creditor has a priority claim or a
 valid, unavoidable secured claim. Use of such revenues pursuant to the police power may or may
 not give rise to additional claims of the affected creditors, depending on the circumstances. This
 Disclosure Statement and the Plan do not define “essential services” or “essential expenses” for
 several reasons including the following reasons.

         First, Title II of PROMESA requires that a fiscal plan “ensure the funding of essential
 public services.” This language sets a minimum floor on spending, meaning that the fiscal plan
 must fund essential services. At confirmation, the Title III Court considers the Plan. The fiscal
 plan’s certification is outside the subject matter jurisdiction of the Title III Court pursuant to
 PROMESA section 106(e). PROMESA section 314(b)(7) requires that the Plan be consistent with
 the fiscal plan, but imposes no testing of the fiscal plan. Therefore, essential services are not in
 issue.

        Second, each debtor’s available revenues are property of each debtor subject to the
 exclusive subject matter jurisdiction of the Title III Court pursuant to PROMESA section
 306(b). Title III of PROMESA incorporates the priority in section 507(a)(2) of the Bankruptcy
 Code, which grants priority for administrative expenses, but is silent as to the General Obligation
 claims in the Commonwealth’s Title III case. Certain bondholders assert General Obligation
 claims are granted priority status, not by the Bankruptcy Code, but by the Commonwealth
 Constitution and PROMESA, including sections 201(b)(1)(N), 301(e), and 314(b). The Oversight

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 Board’s settlement with holders of approximately $10 billion of General Obligation Bond and
 PBA Bond claims eliminates the need, in the Oversight Board’s view, to litigate whether the
 General Obligation claims have priority, and any priority’s terms.152 Therefore, the Oversight
 Board reasons that because the General Obligation claimholders are not claiming under the
 settlement revenues otherwise needed to pay essential services, there is no need to define essential
 services. The definition of “essential services” therefore has no application or impact on how a
 creditor should vote on the Plan, which is the Disclosure Statement’s primary focus. Third, the
 settlement of the enforceability of the General Obligation claimholder’s priority under the
 Commonwealth Constitution safeguards the payments to retirees under the Plan which could be
 adversely impacted if the General Obligation debtholders have an enforceable claim to all available
 revenues. The settlement also safeguards the carrying out of the certified fiscal plan because it
 leaves no basis for the General Obligation debtholders to claim available revenues otherwise being
 deployed to pay expenses under the certified budget. This again avoids disputes over essential
 services. To obtain these benefits and safeguards, the Plan proposes treatments of holders of
 General Obligation claims which offer higher returns than the treatments offered to holders of
 some non-General Obligation claims. Therefore, the Oversight Board asserts that there is no
 issue under PROMESA as to the priority of General Obligation debt vis-à-vis essential services.

         Fourth, the Plan provides greater distributions to General Obligation claims than to some
 non-General Obligation claims because holders of General Obligation claims may have a relative
 seniority to holders of non-General Obligation claims under the Commonwealth Constitution,
 which may be enforceable under PROMESA Title III. This relative seniority, however, impacts
 rights of holders of junior claims, but is not a priority claim against the Commonwealth entitling
 holders of General Obligation debt to all available revenues. Therefore, the definition of essential
 services has no application for purposes of Plan confirmations.

         Finally, the concept of “essential services” is not conducive to simple listings of which
 services or expenses are essential, and which are not, because essential services may vary greatly
 over time and depending on circumstances post-confirmation. For instance, if Commonwealth
 economic activity were so low during a period that elimination of any services would prevent
 sustainable economic growth then the Oversight Board might determine that all such services were
 essential. The Commonwealth’s certified fiscal plan covers periods of growth and shrinkage, and
 shows continued population shrinkage. Accordingly, the best interest analysis for the
 Commonwealth analyzes creditors’ recovery outside Title III by assuming different percentages
 of the certified fiscal plan and budget expenses are cut (on top of the cuts already in the fiscal plan)
 by various percentages, rather than engaging in a debate over each expense. Thus, a definition of
 essential services is neither required by nor relevant to the best interest analysis pursuant to
 PROMESA.

         After certification of the fiscal plan, the Oversight Board will provide to the Governor and
 the Legislature a schedule for the development and certification of budgets for the Commonwealth
 and its covered instrumentalities. The Oversight Board must also provide to the Governor and the
 Legislature a revenue forecast for use in developing the budget. If the Oversight Board determines

 152
    The Oversight Board is unaware of any grant of a security interest in available revenues to such General Obligation
 claims.

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 the proposed Commonwealth budget submitted by the Governor is compliant with the approved
 fiscal plan, the Oversight Board will approve it and submit it to the Legislature. If the Oversight
 Board determines the proposed budget is not compliant with the certified fiscal plan, it will provide
 a notice of violation to the Governor regarding the budget that includes a description of the
 necessary corrective action and an opportunity to correct such violation by submitting a revised
 budget that complies with the certified fiscal plan. The Governor may submit as many revised
 budgets as the schedule established by the Oversight Board permits. However, if the Governor
 fails to submit a Commonwealth budget that complies with the certified fiscal plan within the time
 frame set by the Oversight Board, the Oversight Board must develop and submit to the Governor
 and the Legislature a budget that complies with the certified fiscal plan. The Legislature will then
 submit to the Oversight Board the budget it adopts so that the Oversight Board can determine
 whether such budget complies with the certified fiscal plan. If the budget adopted by the
 Legislature complies with the certified fiscal plan, the Oversight Board will approve it and such
 budget shall be in effect on the first day of the fiscal year. If the Oversight Board determines that
 the budget adopted by the Legislature does not comply with the certified fiscal plan, the Oversight
 Board will provide to the Legislature a notice of violation that includes a description of the
 necessary corrective action and an opportunity to correct such violation. The Legislature may
 submit as many revised budgets as the schedule established by the Oversight Board permits.
 However, if the Legislature fails to adopt a budget that complies with the certified fiscal plan
 within the time frame set by the Oversight Board, the Oversight Board must develop a budget that
 complies with the certified fiscal plan and submit it to the Governor and the Legislature. Such
 budget shall be deemed to be approved by the Governor and the Legislature and will be in effect
 on the first day of the fiscal year. Budgets of instrumentalities are developed by the Governor and
 follow a similar process between the Governor and the Oversight Board, whereby the Governor
 develops an instrumentality budget and the Oversight Board reviews it to determine whether it
 complies with the instrumentality’s certified fiscal plan. If the Governor fails to develop an
 instrumentality budget that complies with the corresponding certified fiscal plan, the Oversight
 Board must develop it.

         At the end of each fiscal quarter, the Governor must submit to the Oversight Board a
 financial report for the Commonwealth and each covered instrumentality describing actual
 revenues, expenditures and cash flows for such quarter. If the Oversight Board determines that
 actual revenues, expenditures and cash flows are not consistent with the projected revenues,
 expenditures or cash flows set forth in the certified budget for such quarter, the Oversight Board
 will establish a deadline by which the Government must provide an explanation for the
 inconsistency that the Oversight Board finds reasonable or the Government must implement
 corrective actions to address such inconsistency. If the Government fails to provide a reasonable
 explanation or to correct the inconsistency, the Oversight Board must certify to the President, the
 United States Congress, the Governor, and the Legislature that the Commonwealth is inconsistent
 with the certified budget and describe the amount of the inconsistency. After providing such
 certification and determining that the Government has failed to correct the inconsistency, the
 Oversight Board can make appropriate reductions in non-debt expenditures to ensure that revenues
 and expenses are in line with the certified budget. In the case of an instrumentality, the Oversight
 Board can also institute automatic hiring freezes and prohibit such instrumentality from entering
 into any contract.

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         Since the enactment of PROMESA on June 30, 2016, the Oversight Board has certified
 budgets for the Commonwealth for fiscal years 2018, 2019, and 2020. The Commonwealth’s
 General Fund budget for fiscal year 2020 as certified by the Oversight Board authorizes
 approximately $9.1 billion in expenditures. The three largest categories of expenditures are: (1)
 K-12 and higher education (22%); (2) pension obligations due to PayGo (22%); and (3) healthcare
 (14%). Healthcare expenditures account for the increase in the General Fund budget primarily
 because of an increase in Medicaid expenses due to a reduction in healthcare Federal Funds.153
 The Commonwealth’s fiscal year 2020 budget also included material reductions from the fiscal
 year 2019 budget in payroll expenditures ($156 million), subsidies to the UPR ($86 million) and
 municipalities ($44 million), and the elimination of the Christmas bonus ($58 million). In addition,
 for fiscal year 2020, the Oversight Board certified separate budgets for each instrumentality in
 order to provide greater transparency and improve budget monitoring.

         In furtherance of the foregoing duties, the Oversight Board has the authority to enforce the
 certified fiscal plans and budgets by reviewing the activities of the government of the
 Commonwealth and its instrumentalities. Accordingly, the Commonwealth’s proposed legislative
 acts must be submitted to the Oversight Board and must be accompanied by an estimate of the new
 law’s impact on expenditures and revenues.

        Since its creation, the Oversight Board and the former Governor disagreed on many
 occasions as to whether government reporting has complied with PROMESA and whether certain
 executive orders and newly enacted laws violated PROMESA and/or certified fiscal plans and
 budgets.

         The Oversight Board also has the authority to review any of the contracts, rules, regulations
 and orders of the Commonwealth and its covered instrumentalities for their economic impact on
 the certified fiscal plans and budgets. If the Oversight Board determines any of the foregoing
 activities are inconsistent with a certified fiscal plan or budget, the Oversight Board may take any
 actions necessary to ensure that the enactment of a new law or execution of a new contract will
 not adversely affect compliance with the certified fiscal plan or budget. In addition, the Oversight
 Board at any time may submit to the Governor or the Legislature recommendations for actions that
 would ensure compliance with the fiscal plans or otherwise promote financial stability and
 management responsibility in the Commonwealth’s public corporations. The Commonwealth may
 adopt or reject such recommendations, subject to providing a report to the President of the United
 States and Congress on its justifications for rejecting any recommendations. The Oversight Board,
 however, can in its certified fiscal plan adopt and impose recommendations the Governor declines
 to adopt. The Governor is appealing the Title III Court’s ruling to that effect.154

       PROMESA section 207 also provides the Commonwealth and its covered instrumentalities
 may not issue any debt without the approval of the Oversight Board.


 153
       The 2019 GAO Report noted that given Puerto Rico’s inaccessibility to capital markets and its fiscal condition, the
       Commonwealth government may not be able to cover future funding gaps when expanded federal funding for
       Medicaid expires.
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       See section IV.C.3(h)(i) of this Disclosure Statement.

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        Title III of PROMESA

         If a consensual restructuring is not accomplished, Title III of PROMESA provides a quasi-
 bankruptcy option for the adjustment of the indebtedness of the Commonwealth and its covered
 instrumentalities. Eligibility for the Commonwealth or a Commonwealth instrumentality to be a
 debtor under Title III of PROMESA is conditioned on satisfaction of certain requirements, as set
 forth in PROMESA section 302. Pursuant to PROMESA section 304(b), the hearing to consider
 an objection to a Title III petition cannot commence until the 120th day after the petition is filed.
 At that hearing, the Title III Court will consider section 302’s requirements that: (i) the entity has
 been designated by the Oversight Board as a covered territorial instrumentality; and (ii) the
 Oversight Board has issued a restructuring certification determining that (a) prior good-faith
 efforts were made with creditors to restructure the debt, (b) the entity’s audited financial statements
 are publicly available and (c) the entity previously adopted a fiscal plan (the “Restructuring
 Certification”), and (iii) the entity desires to effect a plan to adjust its debts. The Oversight Board
 has exclusive authority, under PROMESA sections 304 and 312, to file a voluntary petition
 seeking protection under Title III and to file a plan of adjustment for the debtor and make
 modifications thereto. Furthermore, PROMESA section 315 grants the Oversight Board the right
 to “take any action necessary on behalf of the debtor to prosecute the cases of the debtor,” and the
 Oversight Board “is the representative of the debtor” in the Title III case.

        Other Powers and Responsibilities

         Pursuant to PROMESA section 208, within 30 days after the end of each Commonwealth
 fiscal year, the Oversight Board is required to submit an annual report to the President of the
 United States, Congress, the Governor and the Legislature. The annual report must describe the
 Commonwealth’s progress in achieving PROMESA’s objectives and how the Oversight Board has
 assisted such progress. In addition, the Oversight Board must describe the precise manner in which
 it used its funds during the fiscal year. The annual report may also include the Oversight Board’s
 recommendations for further federal action, including amending PROMESA or enacting other
 legislation, to support compliance with certified fiscal plans.

         In addition to the foregoing core responsibilities, the Oversight Board has also been granted
 other significant powers to assist in achieving its objectives. These additional powers include,
 among other things:

           holding hearings and sessions;

           obtaining official data from the Commonwealth, the federal government and creditors;

           issuing and enforcing subpoenas;

           entering into contracts;

           certifying voluntary restructuring agreements and protecting certain qualifying pre-
            existing restructuring agreements between the Commonwealth and its creditors;

           certifying debt modifications under Title VI of PROMESA;
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               initiating civil actions to enforce its authority under PROMESA;

               investigating the Commonwealth’s disclosure and selling practices related to its bonds;

               ensuring the prompt payment and administration of Commonwealth taxes through the
                adoption of electronic reporting, payment and auditing technologies;

               analyzing any materially underfunded pensions in the Commonwealth’s pension
                system; and

               intervening in any litigation filed against the Commonwealth or its covered
                instrumentalities.

            Implementation of Oversight Board Policies

       The Oversight Board implemented various initiatives in its efforts to meet the objectives
 of PROMESA, including, among other things:

                             Improving the Government’s Fiscal Governance, Accountability,
                             Internal Controls, and Financial Affairs

        One of the Oversight Board’s core responsibilities is to improve the Government’s fiscal
 governance, accountability, and internal controls. Following the commencement of the Title III
 Cases, the Oversight Board continued to identify and implement structural and process
 improvements to fulfill its mandate pursuant to PROMESA.

         A critical component of the Oversight Board’s efforts in this area in Fiscal Year 2018 was
 the incorporation of the Office of the Chief Financial Officer for Puerto Rico (“OCFO”)155 into
 the certified fiscal plan for the Commonwealth. The Government previously established the base
 for the OCFO through an executive order, and the fiscal plan envisions an expansion of the role to
 implement financial management best practices from other states. The OCFO will centralize all
 financial management functions, including: (i) treasury and liquidity management; (ii) budget
 development, monitoring, and performance tracking; (iii) maintenance and integration of financial
 IT systems; (iv) procurement and human resources; (v) financial reporting including timely
 issuance of the CAFR; and (vi) general management and validation of funds, debt, and financial
 transactions.

        The Oversight Board has exercised its powers pursuant to section 104(c)(2) of PROMESA
 which provides the Oversight Board the authority to request “direct access to such information
 systems, records, documents, information, or data.” The Oversight Board entered into a
 memorandum of understanding with the OCFO to establish the procedures for granting the
 Oversight Board direct access to the Government’s information systems. As part of the

 155
       On June 24, 2019, after the removal of then CFO Raúl Maldonado, the Governor designated AAFAF Executive
       Director Christian Sobrino to be the Commonwealth’s new CFO. Mr. Sobrino resigned from his positions as CFO
       and AAFAF Executive Director on July 13, 2019. On July 31, 2019, then Governor Rosselló named Omar Marrero
       as the Commonwealth’s new CFO and executive director of AAFAF.
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 memorandum of understanding, and to be more efficient and effective in the transfer of knowledge,
 the Oversight Board and the OCFO established a working group composed of representatives from
 OCFO, the Puerto Rico Innovation & Technology Service and the Oversight Board to discuss
 related information systems and data. The Oversight Board obtained access to certain financial
 data from the Puerto Rico Integrated Financial Accounting System (“PRIFAS”), one of the
 Government’s payroll system and two applications from OMB. The Oversight Board continues
 these efforts to gain visibility of the Governments’ financial data and get a deeper understanding
 of current data limitations.

         The Oversight Board established a series of reporting requirements to provide more
 transparency into the Government’s financial management, including the TSA reporting
 requirement for the Central Government and the top agencies and public corporations (the
 “component units”) within the Commonwealth fiscal plan. The reports provide a snapshot of the
 Central Government’s liquidity situation as compared to the projected annual liquidity plan. This
 report is publicly reported by the Government on a weekly and monthly basis.

        The Oversight Board also created a budget-to-actuals (“B2A”) reporting requirement for
 the Central Government and the top twenty component units, as well as public corporations such
 as PREPA and PRASA, which has pushed the Government to add resources and capacity to its
 budgeting and accounting departments. The B2A reporting requirement has enabled the
 Government to provide greater visibility to stakeholders into its actual spending patterns and an
 early warning mechanism to alert the Government and the Oversight Board if actual spending
 deviates from budgeted amounts. The B2A report is publicly reported by the Government on a
 monthly basis.

         Other reporting requirements implemented by the Oversight Board include: (i) monthly
 public reporting of pension obligation balances for the Government and public corporations, (ii)
 monthly public reporting of public employee payroll, headcount, and attendance data, (iii)
 quarterly reporting of revenue forecasts, and (iv) the full text of all Government on the
 Comptroller’s website.

         The Oversight Board also instituted a holdback provision in the General Fund budget which
 provides that recipients of appropriations may receive only a portion of their budgeted
 appropriations until the final quarter of the fiscal year so that the Government can determine
 whether revenue will be sufficient to permit the spending of the final appropriations in the fourth
 quarter. For fiscal year 2019, that amount was 95%, meaning the remaining 5% of appropriations
 were held back. For fiscal year 2020, that amount was 97.5%, meaning 2.5% was held back. In
 addition, for fiscal year 2020, the Oversight Board eliminated the ability to use prior year
 appropriations beyond the first 60 days of the next fiscal year, to force the Government to close
 out the prior fiscal year on a timely basis, and established additional emergency reserves whose
 use is subject to Oversight Board approval.




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                         Efforts to Drive More Successful Implementation of Fiscal Plan
                         Reforms

        The fiscal plan requires the Government to submit implementation plans to outline
 timelines and Key Performance Indicators (“KPIs”) for all fiscal measures and structural reforms,
 and to provide monthly progress reports on implementation. These implementation plans and
 progress reports are essential to ensure the Government is operating within the fiscal envelope and
 making progress on structural reforms, and to afford the Oversight Board the opportunity to
 provide feedback on critical efforts to restore fiscal sustainability and balance to Puerto Rico.

         The Government was required to submit all implementation plans by June 30, 2018.
 Approximately 73% of 128 implementation plans were received. In general, the submitted
 implementation plans were not fully aligned with the Certified Fiscal Plan and did not provide
 sufficient clarity to support compliance. As such, on September 2018, the Oversight Board
 provided feedback to the agencies on the implementation plans submitted and requested the
 Government take corrective actions and complete submissions on missing implementation plans.
 The Government updated some implementation plans based on the feedback provided, but has not
 submitted all implementation plans as required.

         Through a collaborative process, the Oversight Board and the Government established an
 implementation structure to provide insight into agency activities. Said structure, inclusive of
 monthly progress reports and working group meetings, provided understanding on the agency
 activities, risks and likelihood of hitting the savings targets established in the Certified Fiscal Plan.

        The Oversight Board has worked diligently to drive more successful implementation
 through:

         1. monthly meetings with priority agencies to spur implementation progress;

         2. publicly reporting the status of progress achieved in Government implementation plans
            and progress reports;

         3. utilized readiness assessments based on best practices to provide a framework for
            agencies to track progress on implementation and understand the scope of the different
            milestones; and

         4. public hearings on implementation in areas of much needed transformation.

         In March 2019, for example, the Oversight Board held a Public Hearing on the progress
 made to date by the Department of Public Safety. On September 26, 2019, the Oversight Board
 held a Public Hearing on the progress made to date on Ease of Doing Business reforms.

                         Section 205 Recommendations

        Pursuant to PROMESA section 205, the Oversight Board may, at any time, submit
 recommendations to the Governor or the Legislature on actions the Government may take to ensure
 compliance with the certified fiscal plan, or to otherwise promote the financial stability, economic
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 growth, management responsibility, and service delivery efficiency of the Government. The
 Oversight Board sent four section 205 Recommendations to the Government in Fiscal Year 2019:

           To recommend that the Governor rescind Executive Order 2018-033 (“EO18-33”),
            which set a minimum wage of $15 per hour for those performing work for federally
            funded construction projects. Specifically, based on a preliminary analysis of the
            available information and research, the Oversight Board was concerned about the
            impact that EO18-33 will have on private sector employment, particularly in
            construction, but with the potential to leak into the broader economy. The Governor
            declined to adopt this recommendation.

           To recommend that the Government take necessary steps to transfer the rights and
            ownership of the Puerto Rico Public Broadcasting Corporation to a private non-profit
            entity. The Governor adopted this recommendation, albeit within a delayed time frame,
            and has set up a working group to implement it.

           To recommend that the Puerto Rico State Elections Commission (the “CEE” in
            Spanish) adjust its operations to fluctuate with the electoral cycle and restructure its
            organization to become more efficient. The Governor declined to adopt this
            recommendation.

           To recommend the establishment of a competitive process for use of the Municipal
            Improvement Funds (“MIFs”) and increase the transparency surrounding the capital
            project selection process. On August 30, 2019, AAFAF responded on behalf of
            Governor Vázquez Garced that it believes the Legislature is the entity with the authority
            to adopt the recommendation concerning the use of Municipal Improvement Funds,
            because the Legislature “distributes and determines the use of the Municipal
            Improvement Funds. . . .” pursuant to Section 4050.09 of Act 1-2011. Based on that
            belief, the Governor did not take a position on the recommendation.

                        Title V Critical Projects Process

          On April 20-21, 2017, the Oversight Board hosted a summit on P3 and Title V Critical
 Projects. Throughout the 2017 Fiscal Year, the Oversight Board and interim Revitalization
 Coordinator developed the criteria and processes for selecting, implementing, and monitoring
 critical infrastructure projects, particular to the energy industry.

         Following the aftermath of Hurricanes Irma and Maria, the Revitalization Coordinator
 restarted the critical projects process, hiring the requisite personnel, retaining local firms for
 additional support, and overhauling the project submission website.

         On June 27, 2018, Oversight Board designated “Viewpoint at Roosevelt,” a public housing
 development funded with federal funds, as its first critical project. This project is expected to
 provide both critically needed housing (over 130 housing units) as well as increase ridership in the
 local rail system because it is located in a “public transport corridor.”


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          On July 31, 2018, the Oversight Board adopted a Title V policy that helped further specify
 procedural requirements the Revitalization Coordinator must follow when considering potential
 critical projects. The policy clarifies requirements for projects that involve doing business with
 any government agency or public corporation, especially, energy related projects that require a
 Power Purchase and Operating Agreement (“PPOA”). All projects that require obtaining a
 contract or Request for Proposal (“RFP”) award from any government agencies or public
 corporations must obtain such contract or RFP award prior to the project submission through
 Title V. In the case of energy related projects, projects that require a PPOA must be validly
 assumed under Title III of PROMESA in order to satisfy the contract award requirement.

         The Title V policy of July 31, 2018 gave way for the Revitalization Coordinator to focus
 efforts on projects that had obtained valid contract awards or RFP awards, and other projects, such
 as private to private or with a municipal government.

         By the beginning of fiscal year 2019, the Revitalization Coordinator evaluated 55 projects
 totaling an excess of approximately $9 billion dollars. Upon adoption of the Title V policy as of
 July 31, 2019, active projects had to be withdrawn from participation or placed on hold (at project
 sponsor’s discretion) since approximately 80% were energy related requiring a valid PPOA
 assumed under Title III and the remaining approximately 19% required a government RFP or
 similar. The remaining 1% of the 55 evaluated projects constituted a qualifying project (Viewpoint
 at Roosevelt Project) and a rejected project that did not meet initial requirements. Nevertheless,
 many energy related project sponsors continued to negotiate their contracts with PREPA through
 the respective process and demonstrated interest in reactivating their project submission upon
 successfully complying with the Oversight Board’s Title V policy.

         On August 26, 2019, the Oversight Board announced that it had designated a $5.3 million
 expansion of the Fajardo municipal landfill as its second critical project. The project, which will
 play a significant role in revitalizing Puerto Rico’s infrastructure, addresses the Commonwealth’s
 need to diversify energy generation and solve the solid waste management crisis in the aftermath
 of hurricanes Irma and Maria.

        There are currently no further projects in the pipeline.

                       Review of Legislative Acts and Certain Rules, Regulations,
                       Administrative, and Executive Orders

         PROMESA section 204(a) requires that the Government submit to the Oversight Board all
 new laws, no later than 7 business days after the law is duly enacted. The Governor must also
 submit certain rules, regulations, and executive orders to the Oversight Board for review and
 approval pursuant to sections 204(b)(2) and (b)(4) of PROMESA and policies established by the
 Oversight Board. The singular objective is to assure that all enacted acts as well as any proposed
 rule, regulation, administrative order, and executive order will have no adverse impact on the
 certified fiscal plan or budget. The Government has consistently failed to comply with its
 obligations under section 204(a) to send acts no later than seven business days after enactment.
 Over 100 signed acts and joint resolutions were not submitted to the Oversight Board as required
 by PROMESA. Most recently, the Oversight Board sent a letter to Governor Vázquez urging the

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 government to delay implementing Executive Order 2020-10 until after the Oversight Board has
 the opportunity to review the executive order and supporting documentation to ensure compliance
 with PROMESA section 204(b)(2). Executive Order 2020-10 would exempt the Commonwealth
 executive branch from having to follow contracting requirements in an effort to accelerate recovery
 efforts following the continued earthquakes.

        The Oversight Board has commenced an action under PROMESA sections 108(a)(2),
 204(a)(5), 204(c), and 207 to prevent the implementation of Act 29 and numerous joint resolutions,
 because such laws are significantly inconsistent with the applicable certified fiscal plan, reprogram
 funds without Oversight Board approval, modify debt without Oversight Board approval, and/or
 otherwise were not properly submitted to the Oversight Board pursuant to PROMESA section
 204(a). This is the first action filed under PROMESA section 204. See section IV.C.3.h) of this
 Disclosure Statement for a summary of such action.

        Following the commencement of such action, on October 25, 2019, Governor Vázquez
 signed Executive Order 2019-057, which creates a procedure for the express purpose of complying
 with PROMESA section 204(a). The procedure requires, among other things, the OMB and the
 Puerto Rico Department of Treasury to complete and submit to AAFAF within seven business
 days of the Governor’s signing new legislation a certified analysis of the financial and budgetary
 impact of that law.

                        Contract Review

         On November 6, 2017 (as modified on June 18, 2018), the Oversight Board established a
 policy, pursuant to PROMESA section 204(b)(2), to require prior Oversight Board approval of
 contracts with an aggregate value of $10 million or more that would be entered into by the
 Commonwealth or any covered instrumentality. The policy’s objectives are to promote market
 competition and ensure a government contract’s consistency with the applicable certified fiscal
 plan and certified budget. Accordingly, the Oversight Board focuses its review on whether the
 contract is consistent with the fiscal plan and in the case of disaster aid spending, provide
 observations regarding the compliance with federal funding and/or reimbursement requirements.

         In order to make the contracting policy more transparent, the Oversight Board publishes a
 status report of each contract under review, including the name of the contracting party, the date
 of submission, the date of any response from the Oversight Board or from the contracting party,
 and a copy of all the Oversight Board’s formal responses. The policy requires that the government
 contracting entity submit to the Oversight Board a certification whereby its head or general counsel
 certifies that no person has unduly intervened, offered anything of value or wielded any influence
 in connection with the execution of the contract. The policy requires that contractors submit a
 similar certification to the Oversight Board and disclose any sharing of any portion of its
 compensation with any third party. Since the inception of the Contract Review Policy, the
 Oversight Board has reviewed 197 contracts for a total aggregate value of over $16.5 billion.

       Moreover, the Oversight Board included in the fiscal plan a requirement for the text of all
 government contracts to be made public on the Office of the Comptroller’s website by September


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 30, 2018, and executed a memorandum of agreement with the Office of the Comptroller to promote
 transparency in government contracting.

                              Debt Transaction Approvals

         In December 2017, the Oversight Board established a policy pursuant to PROMESA
 section 207 to require prior Oversight Board approval of any debt transaction to be entered into by
 the Commonwealth or any covered instrumentality. The objectives of this policy are to promote
 fiscal prudence and ensure that the debt transactions are consistent with the applicable certified
 fiscal plan.

         During Fiscal Year 2018, the Oversight Board approved a variety of debt transactions. The
 Oversight Board approved, among other transactions, a loan from the Commonwealth to PREPA.
 The Oversight Board also approved the liquidation of guarantees that the GDB or its subsidiaries
 issued to private developments and the refinancing of certain loans that the Department of Housing
 and Urban Development issued to the municipalities of Camuy and San Lorenzo.

                              Oversight Board Ethics Website

         On June 21, 2019, the Oversight Board announced the launching of its new Ethics
 Website,156 an internet-based tool to promote transparency and ethics in the Oversight Board’s
 day-to-day operations. The site contains scores of Oversight Board governance documents,
 members’ quarterly periodic transaction reports and annual financial disclosure reports, an
 interactive Ethics Advisor Blog, and other resources to guide visitors through the Oversight
 Board’s ethics and good governance policies and actions. The goal of this site is to continue to
 promote the importance of transparency and ethics in the work that the Oversight Board does for
 the Debtors’ stakeholders, and to provide an interactive tool to share important documents,
 developments, resources, and mediate to promote ethics and integrity in everyday life, business,
 and policy.

            Controversies over Board’s Powers

         There has been litigation over the Oversight Board’s powers and issues with the
 governmental reporting PROMESA requires to provide the transparency into the Government that
 the Oversight Board needs to implement PROMESA.157 The controversies have involved, among
 other things, whether the Oversight Board can impose what the Government considers policy
 choices and whether the Governor and Legislature can reprogram budget appropriations from prior
 years so as to spend money the Oversight Board has not approved. These and certain other
 controversies are described below.




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       http://www.oversightboard.pr.gov/ethics/
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       As noted above, the Oversight Board has sent numerous letters to the Commonwealth Debtor seeking to rectify
       violations of PROMESA.
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                (i)     Rosselló Nevares v. The Financial Oversight and Management Board for
                        Puerto Rico, Adv. Proc. No. 18-00080

         On July 5, 2018, Governor Rosselló and AAFAF filed a complaint against the Oversight
 Board, each individual Oversight Board member, and the Oversight Board’s executive director,
 seeking declarations that (i) the Oversight Board lacks the authority to impose policy initiatives on
 the Commonwealth Government through a fiscal plan and/or budget, including the June 2018
 Fiscal Plan and the Commonwealth budget for fiscal year 2019, as certified by the Oversight Board
 on June 29, 2018; (ii) the substantive policy mandates contained in the June 2018 Fiscal Plan, and
 rejected by the Governor pursuant to PROMESA section 205, are null and void; and (iii) the
 substantive policy mandates contained in the Oversight Board’s fiscal year 2019 budget exceed
 the Oversight Board’s powers and are null and void. Plaintiffs also sought an injunction
 prohibiting Defendants from implementing and enforcing certain provisions included in the June
 2018 Fiscal Plan that Plaintiffs characterize as recommendations.

          On July 12, 2018, the Oversight Board filed a motion to dismiss the complaint. On July
 17, 2018, Plaintiffs filed an opposition to the motion to dismiss, and on July 20, 2018, the Oversight
 Board filed a reply in support of its motion to dismiss. On August 7, 2018, the Title III Court
 entered an order granting in part and denying in part the motion to dismiss. The Title III Court
 granted the motion to dismiss the Government’s claims regarding (i) agency consolidation and
 compensation reductions/hiring freezes because there was not a ripe case or controversy and (ii)
 budgetary reprogramming because such reprogramming by the Government would be inconsistent
 with PROMESA’s declaration that the budget certified by the Oversight Board is in full force and
 effect, and therefore preempted by section 4 of PROMESA. The Title III Court did not dismiss
 claims regarding automatic budget reductions and corrective measures. In so ruling, the Title III
 Court made certain substantive decisions. Among other things, the Title III Court ruled that “[t]he
 power bestowed on the Oversight Board by Section 201(b)(1)(K) of PROMESA allows the
 Oversight Board to make binding policy choices for the Commonwealth, notwithstanding the
 Governor’s rejection of Section 205 recommendations.” In re Fin. Oversight & Mgmt. Bd. for
 Puerto Rico, 330 F. Supp. 3d 685, 700 (D.P.R. 2018), aff’d and remanded, 945 F.3d 3 (1st Cir.
 2019). The Title III Court also rejected the Government’s argument that unspent funds from prior-
 year budgets could be spent outside of the strictures of the current year’s budget, despite section
 204(c)’s prohibition on unapproved reprogramming. The Court ruled: “It beggars reason, and
 would run contrary to the reliability and transparency mandates of PROMESA, to suppose that a
 budget for a fiscal year could be designed to do anything less than comprehend all projected
 revenues and financial resources, and all expenditures, for the fiscal year. Since a certified budget
 is in full effect as of the first day of the covered period, means and sources of government spending
 are necessarily rendered unavailable if they are not provided for within the budget.” Id. at 704.

          On September 10, 2018, Plaintiffs filed an urgent motion requesting certification of the
 Title III Court’s August 7, 2018 opinion and order for immediate appeal under PROMESA sections
 306(e)(3)–(4). On October 9, 2018, the Title III Court entered a memorandum order certifying
 certain aspects of the August 27, 2018 opinion and order for interlocutory appeal. The appeal was
 docketed as Case No. 18-8021. The Oversight Board answered the complaint’s remaining claims
 on November 2, 2018.

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         On November 20, 2018, the United States Court of Appeals for the First Circuit entered a
 judgment, concluding that review of the certified issues was warranted. The appeal was docketed
 on November 28, 2018, as Case No. 18-2154. Following briefing, oral argument was held on July
 24, 2019. On December 18, 2019, the First Circuit affirmed the District Court decision, confirming
 there is nothing in PROMESA section 205, “suggesting that, by first seeking the Governor’s
 agreement on a matter, the Board somehow loses whatever ability it otherwise had to act
 unilaterally on the matter,” and the Oversight Board has the power to adopt “a rejected
 recommendation if it otherwise has the power to adopt the recommended action on its own.”
 Vázquez-Garced v. Fin. Oversight & Mgmt. Bd. for P.R. (In re Fin. Oversight & Mgmt. Bd. for
 P.R.), 945 F.3d 3, 6-7 (1st Cir. 2019). The First Circuit further affirmed the District Court’s ruling
 on reprogramming, noting “PROMESA prohibits the Governor from spending any funds that are
 not budgeted regardless of whether the recommendation had been adopted” and “regardless of
 what any territorial laws say.” Id. at 8.

                (ii)    Rivera - Schatz et al v. The Financial Oversight and Management Board
                        for Puerto Rico et al., Adv. Proc. No. 18-00081

        On July 9, 2018, Plaintiffs, Hon. Thomas Rivera-Schatz, in his official capacity as
 President of the Senate of Puerto Rico and on behalf of the Senate of Puerto Rico, and Hon. Carlos
 J. Méndez-Núñez in his official capacity as Speaker of the House of Representatives of Puerto
 Rico and on behalf of the House of Representatives (collectively, the “Legislature”), filed a
 complaint seeking declaratory and injunctive relief against the Oversight Board, and each of its
 members and its executive director solely in their official capacities.

        The Legislature sought declaratory and injunctive relief, arguing the Oversight Board
 “overreached its powers” by “trying to force” the Legislature to pass a bill retroactively repealing
 Law 80 (Puerto Rico’s wrongful dismissal act) as a condition for the approval of a
 Commonwealth’s budget approved by the Legislature. The complaint also sought an injunction
 prohibiting Defendants from implementing the Oversight Board’s 2019 budget and directing the
 Oversight Board to certify the 2019 budget approved by the Legislature on June 30, 2018.

         On July 17, 2018, Defendants filed a motion to dismiss the complaint. Following the
 completion of briefing and after a hearing on July 25, 2018, the Title III Court issued an order
 dismissing the complaint in its entirety. The Title III Court held that it lacked jurisdiction to review
 the Oversight Board’s certification decisions, as sought by the complaint, as such review is
 “directly precluded by Section 106(e).” Rivera-Schatz v. Fin. Oversight & Mgmt. Bd. for P.R. (In
 re Fin. Oversight & Mgmt. Bd. for P.R.), 327 F. Supp. 3d 364, 371 (D.P.R. 2018), aff’d, 916 F.3d
 98 (1st Cir. 2019). It also affirmed that the Oversight Board may use its “powers in a manner
 designed to incentivize assent to the policy goals supported by the Board.” Id. at 373.

        On August 13, 2018, Plaintiffs filed a notice of appeal to the First Circuit, which was
 docketed as Case No. 18-1777. On February 22, 2019, following briefing, the First Circuit
 affirmed the Title III Court’s decision, ruling, among other things, that “[u]nder PROMESA’s
 preemption provision, the grant of authority to the Board at sections 201 and 202 to approve Fiscal
 Plans and Budgets ‘prevail over any general or specific provisions of territory law,’ including
 provisions of Puerto Rico’s Constitution that are ‘inconsistent with [PROMESA],’” and that

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 “[w]hen the Board certified the 2019 Fiscal Plan and Budget … it [properly] exercised authority
 granted to it under PROMESA.” Méndez-Núñez v. Fin. Oversight & Mgmt. Bd. for P.R. (In re
 Fin. Oversight & Mgmt. Bd. for P.R.), 916 F.3d 98, 116 (1st Cir. 2019).

                (iii)   Autonomous Municipality of San Juan v. Financial Oversight &
                        Management Board for Puerto Rico, et al., Case No. 19-01474

          On May 19, 2019, the Autonomous Municipality of San Juan (“San Juan”) filed a
 complaint against the Oversight Board in the District Court for the District of Puerto Rico alleging
 that (i) the Oversight Board’s designation of San Juan as a covered entity for purposes of oversight
 under PROMESA is without a rational basis; (ii) PROMESA is unconstitutional because it does
 not provide sufficient bounds to the Oversight Board’s discretion and therefore violates the non-
 delegation doctrine; and (iii) the designation is invalid because the Oversight Board’s members
 were appointed in violation of the Appointments Clause. On July 1, 2019, the Oversight Board
 filed a motion to transfer the case to the Title III Court, which the District Court granted after
 briefing. On August 9, 2019, the Oversight Board filed a motion to dismiss. On September 13,
 2019, San Juan filed its opposition to the motion to dismiss. On October 8, 2019, the Oversight
 Board filed a reply in support of its motion to dismiss. On December 5, 2019, the Title III Court
 issued an order granting the motion to dismiss counts I and II of the complaint and staying count
 III pending the Supreme Court’s decision in the Appointments Clause litigation described below
 in Section V.F.1a.

                (iv)    Financial Oversight & Management Board for Puerto Rico v. Hon.
                        Vázquez Garced, et al., Adv. Proc. No. 19-00393

         On July 3, 2019, the Oversight Board filed a complaint against then-Governor Rosselló
 and AAFAF, challenging Act 29-2019 (which eliminates the obligation of municipalities to
 reimburse the Commonwealth for pension payments to municipality retirees and make payments
 to the Commonwealth’s health plan) as well as 23 joint resolutions. Specifically, the complaint
 alleges that (i) Act 29-2019, including its enactment and enforcement, violates PROMESA
 sections 204(a), 204(c) and 207; (ii) the Oversight Board is entitled to a permanent injunction
 prohibiting Defendants from implementing Act 29-2019; (iii) the Oversight Board is entitled to an
 injunction compelling the Governor to submit PROMESA section 204(a) certifications for Act 29-
 2019, the new laws and non-certified joint resolutions; (iv) Act 29-2019 and the joint resolutions
 violate PROMESA section 108(a) and are not enforceable and are of no effect because they impair
 and/or defeat the purposes of PROMESA, as determined by the Oversight Board; and (v) the
 Governor’s alleged policy of not providing certifications as required under PROMESA section
 204 violates PROMESA section 108(a) because it impairs and/or defeats the purposes of
 PROMESA, as determined by the Oversight Board.

         Defendants filed a motion to dismiss on July 15, 2019, and following the completion of
 briefing, the Title III Court heard oral argument on August 15, 2019. Also on August 15, 2019, in
 light of former-Governor Rosselló’s resignation, the case was re-captioned to name current
 Governor Vázquez as a Defendant. On August 22, 2019, the Title III Court denied the motion to
 dismiss. Defendants answered the complaint on September 10, 2019. On December 13, 2019, the
 Oversight Board filed a motion for summary judgment. Defendants filed their opposition to the

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 Oversight Board’s motion on February 5, 2020. The Oversight Board filed a reply in support of
 its motion for summary judgment on February 24, 2020. Oral argument is scheduled for March 4,
 2020. On February 27, 2020, CRIM filed a motion for leave to file an amicus brief. On February
 28, 2020, Judge Swain issued an order scheduling briefing on the motion.

 D.         Adoption of Commonwealth Fiscal Year Budgets and Fiscal Plans

         Fiscal Plans. The Oversight Board is tasked with interacting with the Governor for fiscal
 plans and the Governor and legislature for budgets in the development, submission, approval, and
 certification of fiscal plans and budgets. Thus, starting as early as September 2016, the Oversight
 Board alongside its economists, municipal consultants, and financial advisors spent hundreds of
 hours researching and hosting working sessions to understand the dire situation in Puerto Rico,
 and to research various ways in which states and sovereigns have exited such dire circumstances.
 The Oversight Board also held numerous internal and external meetings with the government
 officials and the various creditor groups. The Oversight Board analyzed the many fiscal challenges
 that Puerto Rico faced and within only a few months was in a position to formulate its own fiscal
 plan or evaluate the Government’s proposed fiscal plan.

          The Oversight Board is tasked with determining in its sole discretion whether proposed
 fiscal plans comport with PROMESA section 201(b). Among PROMESA’s goals is that the fiscal
 plan provides Puerto Rico with permanent, pro-growth fiscal reforms,158 and a method to achieve
 fiscal responsibility and access to the capital markets.

          Through a collaborative process with the Commonwealth Government, the Oversight
 Board has certified fiscal plans that strive to restore fiscal accountability and achieve measurable
 objectives. For example, the fiscal measures in the certified fiscal plans focus on enhancing tax
 payment processes so that revenue collection can increase while improving user experience. They
 also highlight achieving efficient government services through right-sizing measures that improve
 services while reducing cost, as well as reduction of subsidies to non-Central Government entities
 who currently over-rely on Central Government support. These fiscal measures have been
 carefully developed by and through collaboration with the Government, while also emphasizing
 the effectiveness of government through thoughtful assessments and benchmark studies which
 bring measurable targets and milestones for quantitative and qualitative improvements. The
 certified fiscal plans also endeavor to meet the future funding needs by planning for and developing
 initiatives to address various anticipated fiscal issues, including rapidly rising healthcare and
 pensions costs.

        In addition to instituting fiscal measures, the Oversight Board has been working closely
 with the Government to counter over a decade of real economic decline – compounded by the
 devastating damages of the hurricanes – by identifying a series of structural reforms to ensure the
 competitiveness and rebuilding of Puerto Rico’s economy. Those reforms span from ease of doing



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       PROMESA § 701 (“It is the sense of the Congress that any durable solution for Puerto Rico’s fiscal and economic
       crisis should include permanent, pro-growth fiscal reforms that feature, among other elements, a free flow of capital
       between possessions of the United States and the rest of the United States.”).
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 business reform to make it easier for new businesses to start and firms to invest, labor reform,
 energy reform, infrastructure reform, and to long-term educational investments.

         Annual Budgets. PROMESA section 202(c)(1) sets forth a process for the approval of
 annual budgets that must comply with the certified fiscal plan. In the first instance, PROMESA
 section 202(c)(1) provides the Governor with the initial opportunity to develop and submit to the
 Oversight Board a budget for the applicable fiscal year. The Oversight Board then conducts a
 detailed review of the proposed budgets to ensure that governmental appropriations are consistent
 with the certified fiscal plan, including priority government services, such as public safety,
 education, and healthcare, while implementing cost saving measures.

         The preparation of a certified budget is a year-long process that the Oversight Board has
 refined to ensure that the certified budget contains the desired transparency and spending controls.
 As part of that process, the Oversight Board put in place significant controls on spending to restore
 fiscal discipline while outlining specific measures to promote efficiency and improved delivery of
 government services. This currently includes controls on disbursements of appropriations such
 that 2.5% is set aside and held until the 4th quarter each fiscal year, any modifications to the
 certified budget must be submitted to the Oversight Board for its review and approval, and
 limitations on the use of prior year appropriations.

         The Oversight Board also conducts due diligence on individual agencies requiring the
 government to submit support for their requested budgets. The process includes a review of
 spending trends by concept of spend while incorporating budget requirements for new programs
 and services. For fiscal year 2020, the Oversight Board conducted dozens of meetings with OMB
 and individual agencies to discuss their spending patterns as well their planned spending for fiscal
 year 2020. The meetings allowed agencies to highlight key areas of risk, anticipated changes in
 fiscal year 2020, required headcount, and their ability to implement measures as set forth in the
 certified fiscal plan.

         The certified budget groups individual agencies that are expected to be consolidated as
 proposed by the Government and the fiscal plan. Each agency’s budget provides detailed spending
 by concept of spend and by object code (e.g., salaries, overtime, healthcare, leases, maintenance
 & repairs) to provide greater government spending transparency. OMB and specific agencies
 further refined the budget by program within these parameters.

         The certified budget that contains the spending appropriations for each agency specifies
 the manner in which funds are disbursed on a monthly basis to various governmental entities,
 obligate the Department of Treasury to provide updated net revenue forecasts, rescind prior year
 appropriations (except where specifically exempted), require AAFAF to certify unused
 appropriations of the prior year, suspending OMB’s, AAFAF’s, or the Department of Treasury’s
 rights to reprogram or extend appropriations, and reiterate the requirement to comply with
 reporting requirements in the certified fiscal plans. In addition, the certified budget requires that
 the Governor provide to the Oversight Board a quarterly report of revenue and expenditures
 consistent with PROMESA section 203.



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        1.      Development and Certification of the March 2017 Commonwealth Fiscal
                Plan

         On October 14, 2016, then-Governor Alejandro García Padilla presented the Oversight
 Board with a fiscal plan that contemplated a budget deficit of $4.8 billion for fiscal year 2017,
 after the implementation of expenditure measures and revenue enhancements, and before
 allocating money for debt service.

         On November 10, 2016, the Oversight Board issued a public invitation to interested third
 parties to comment on the October 14, 2016 fiscal plan submission.

        The Oversight Board declined to certify the Governor’s October 2016 fiscal plan as it did
 not believe the plan met the requirements of PROMESA. Among other things, the Oversight
 Board was not satisfied that the proposed fiscal plan included sufficient measures to rein in
 expenses or grow revenue. In rejecting the fiscal plan, the Oversight Board provided substantial
 comments and guidance, including by listing the five principles that would guide the Oversight
 Board in its decision whether to certify the next proposed fiscal plan. These five principles
 addressed the temporal period of the fiscal plan and the 14 criteria under PROMESA section
 201(b), the goals of the fiscal plan to stabilize the economic situation and increase resilience, an
 assessment of fiscal outlook and base-case scenario, an inclusion of appropriate mix of structural
 reforms, fiscal adjustment and debt restructuring, and an accompaniment of operational plan for
 the changes and reforms.

         The prior administration did not submit a revised fiscal plan by December 15, 2016, as the
 Oversight Board had requested. However, the Oversight Board continued to provide substantive
 detail on the goals and framework for the fiscal plan to then-Governor Alejandro García Padilla
 and then-Governor Rosselló in a letter dated December 20, 2016, with the hope of achieving a
 certifiable fiscal plan by January 31, 2017.

         On January 2, 2017, the administration of newly elected Governor Rosselló took office.
 He immediately requested an extension of the fiscal plan submission deadline and engaged in
 collaborative discussions with the Oversight Board through in-person meetings and written
 correspondence. The Oversight Board responded on January 18, 2017, with a proposed extension
 of the submission deadline to February 28, 2017 and provided detailed information on the specific
 goals, objectives, and fiscal parameters needed for a certifiable fiscal plan.

         On February 28, 2017, the new administration submitted a proposed fiscal plan to the
 Oversight Board. The Oversight Board raised concerns regarding the proposed fiscal plan. After
 reviewing the proposed fiscal plan with the Governor’s representatives and analyzing and
 deliberating over it, the Oversight Board informed the Governor on March 9, 2017 of its
 determination that the Governor’s proposed fiscal plan did not satisfy PROMESA’s requirements.
 The Oversight Board identified violations and recommended revisions.

        Then-Governor Rosselló submitted a revised proposed fiscal plan on March 11, 2017, and
 representatives of the Governor and of the Oversight Board engaged in extensive discussions on
 March 11 and 12, 2017. After the new administration complied with the requirements the
 Oversight Board had specified and submitted a final revised version on March 13, 2017, the
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 Oversight Board determined the final revised fiscal plan, with two amendments relating to (i) right-
 sizing measures and related implementation plan, liquidity plan, and cash reserve generation, and
 (ii) pension benefits, would comply with the requirements for certification. The Oversight Board
 voted unanimously to certify the fiscal plan on March 13, 2017 (the “March 2017 Fiscal Plan”).
 By letter dated April 15, 2017, the Oversight Board informed the Governor and the Legislature
 that it certified a revised version of the March 2017 Fiscal Plan (which had included the two Board
 imposed amendments) with corrections of certain typographical and formatting errors and the
 other minor data-conforming changes. The changes and the corrections did not materially alter
 the substance of the March 2017 Fiscal Plan, or the Oversight Board’s view of such plan. On May
 31, 2017, the Government requested to amend the certified March 2017 Fiscal Plan with the
 revised revenue forecast, which was also incorporated in the proposed fiscal year 2018 budget. On
 May 31, 2017, the Oversight Board unanimously re-certified the March 2017 Fiscal Plan with
 AAFAF’s suggested revenue forecast revision.

        2.      Highlights of the March 2017 Certified Fiscal Plan

        The March 2017 Fiscal Plan (with its subsequent certified revisions in April and May 2017)
 was the first fiscal plan developed in accordance with PROMESA and marked a historic
 achievement by the Commonwealth and the Oversight Board to commit to fiscal responsibility
 and sustainability for the residents of Puerto Rico and the capital market stakeholders. The March
 2017 Fiscal Plan provided for significant fiscal and economic measures projected to result in an
 economic recovery.

         The March 2017 Fiscal Plan was built upon the two pillars of fiscal reform and structural
 reform. Fiscal reform measures were aimed at (1) enhancing revenues, (2) right-sizing the
 government while improving its efficiency, (3) adjusting healthcare spending, and (4) restructuring
 the pension system. Structural reform measures were aimed at increasing economic growth by (a)
 aiding business activity, (b) improving capital efficiency, (c) implementing energy reforms, and
 (d) promoting economic development through new investment / tourism institutions. Together,
 these reforms were estimated to improve the ten-year financial projections by $39.6 billion and to
 achieve a surplus of approximately $7.9 billion over ten years.

        Specifically, the March 2017 Fiscal Plan projected to achieve $13.9 billion of additional
 revenue and $25.7 billion of expense savings through various measures.

         Moreover, the March 2017 Fiscal Plan signaled the Government’s initiatives to improve
 efficiencies and develop a new healthcare model and to overhaul the pension system and switch to
 a pay-as-you-go model, with prospective employee contributions segregated from the existing
 fund. The Oversight Board additionally required the Government to reduce annual benefit outlays
 by 10% while preventing retirees from falling into poverty.

        Lastly, the March 2017 Fiscal Plan outlined several structural reforms that would improve
 the overall competitiveness of the economy and increase GNP growth. These structural reforms
 centered on improving the ease of business activities, improving capital efficiencies, leveraging
 and facilitating expedited private sector investments in modernizing energy sector, and promoting
 economic development.

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        3.      The April 2018 Fiscal Plan Certification

         After the fiscal plan certification and the fiscal year 18 budget certification in June 2017,
 the Oversight Board and the Government focused on implementation of the March 2017 Fiscal
 Plan. The Government, however, disagreed with the pension reform and right-sizing measures
 that the Oversight Board imposed as part of the fiscal plan certified in March. On August 4, 2017,
 the Oversight Board held a public meeting about these measures.

         Because the Government continued to disagree and indicate its refusal to comply with the
 certified fiscal plan requirement, the Oversight Board filed an adversary complaint against the
 Government on August 28, 2017 regarding the fiscal plan implementation.

         Yet, before the issues could be adjudicated or settled further, Hurricanes Irma and Maria
 hit and devastated Puerto Rico in September 2017. The Oversight Board immediately acted to
 reallocate the fiscal resources that could help with the recovery efforts. On September 21, 2017,
 the day after Hurricane Maria made landfall, the Oversight Board also authorized the Governor to
 implement good-faith modifications to the certified fiscal year 2018 budget to reapportion up to
 $1 billion for emergency measures. On September 30, 2017, the Oversight Board urged maximum
 support for Puerto Rico from the federal government, announced its voluntary dismissal of the
 fiscal plan implementation litigation, and postponed discussions on fiscal plans until the next fiscal
 year.

          Noting that the hurricanes “fundamentally changed Puerto Rico’s reality,” the Oversight
 Board engaged with the Government in an extensive, iterative and collaborative process over the
 next six months to determine the hurricane damages and to develop fiscal plans to account for the
 altered economic and demographic landscape. The Oversight Board also increased public
 engagement in the development of the Fiscal Plans. The Oversight Board held its tenth public
 meeting on October 31, 2017 during which it proposed three public listening sessions to invite
 public input and discussion of various assumptions and considerations for fiscal plan development
 purposes and set December 22, 2017 as the deadline for the Government to submit a proposed
 fiscal plan with a goal of final certification by February 2, 2018. The three public listening sessions
 on the proposed post-hurricane fiscal plans were held on November 16, 2017, November 30, 2017,
 and December 4, 2017. Discussions during these listening sessions included presentations by
 experts and community leaders as well as comments by residents of Puerto Rico.

         On December 20, 2017, the Oversight Board granted Governor Rosselló’s request to
 extend the deadline for submission of the Commonwealth’s proposed fiscal plan to January 10,
 2018. Accordingly, the Oversight Board also indicated its expectation to certify a fiscal plan by
 February 23, 2018. On January 10, 2018, the Oversight Board granted another two-week extension
 for the Government to submit a Commonwealth fiscal plan that would be aligned with the proposed
 fiscal plans for PREPA and PRASA by January 24, 2018. On January 24, 2018, the Government
 submitted proposed revised fiscal plans for the Commonwealth, PREPA, and PRASA.

        On February 5, 2018, the Oversight Board issued a notice of violation under PROMESA
 section 201(c)(3)(B)(i) regarding the Commonwealth proposed fiscal plan. The Government
 submitted a revised proposed fiscal plan by the deadline indicated on the notice of violation,

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 February 12, 2018. On February 16, 2018, the Oversight Board also announced that it expected
 to certify a fiscal plan for the Commonwealth by March 30, 2018.

        After extensive discussion between the Oversight Board and the Government, each with
 and through its advisors, the proposed fiscal plan continued to be revised. On March 23, 2018,
 Governor Rosselló submitted a new revised fiscal plan that projected a cumulative $5.5 billion
 surplus over the next six years. The Oversight Board cancelled a public meeting that had been
 scheduled for March 26, 2018 regarding fiscal plan certification consideration and instead began
 reviewing the Government’s submission.

         On March 28, 2018, the Oversight Board outlined in a letter to Governor Rosselló changes
 that had to be made to the proposed fiscal plan in order to be compliant with the PROMESA
 requirements and objectives. These included, among others, changes to the proposed labor reforms
 and pension plan reforms. The Oversight Board required the Government to submit the next
 revision incorporating the indicated changes by April 5, 2018.

        Governor Rosselló responded, on multiple occasions, by publicly disagreeing with the
 labor reform and pension plan reform parameters required by the Oversight Board. The
 Government’s next submission on April 5, 2018 also did not contain all of the required changes.

         On April 15, 2018, the Oversight Board announced public meetings on April 19 and 20,
 2018 for certification considerations of fiscal plans of the Commonwealth and of various
 instrumentalities. Prior to the public meeting, the Oversight Board also released its own version
 of the fiscal plan on April 18, 2018. After public presentations and discussions of the
 Government’s proposed fiscal plan and the Oversight Board’s proposed fiscal plan, the Oversight
 Board certified its proposed fiscal plan for the Commonwealth under PROMESA section 201(d)(2)
 and (e)(2) during the public meeting on April 19, 2018.

        The Fiscal Plan for the Commonwealth certified on April 19, 2018 (the “April 2018 Fiscal
 Plan”) estimated the hurricanes created tens of billions of dollars in damages and that
 approximately $62 billion of disaster relief funds would be provided from federal and private
 sources. It also projected to generate $2.3 billion from revenue measures and $10.0 billion from
 expense measures for fiscal years 2018 through 2023. From fiscal year 2018 through fiscal year
 2048, the April 2018 Fiscal Plan projected to generate an approximately $39 billion cumulative
 surplus before debt service.

          Although the April 2018 Fiscal Plan largely maintained and incorporated most of the fiscal
 measures developed under the March 2017 Fiscal Plan, the new certified fiscal plan also included
 additional information relating to the various industry trends and benchmarking from mainland
 states to refine the reforms. It also included more robust reference to the current conditions in the
 Commonwealth and the implementation plan action items, milestones, and measurable
 performance targets.

         For example, in the April 2018 Fiscal Plan, the government right-sizing measure provided
 for a detailed bottom-up approach for agencies representing over 80% of government spend, along
 with tested merger and efficiency benchmarks for personnel and non-personnel spend for other
 agencies. The payroll freeze was also extended in the April 2018 Fiscal Plan and uniform
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 healthcare insurance contributions were confirmed as a separate measure. Specific initiatives were
 identified for healthcare reform, and tax reform in the April 2018 Fiscal Plan also required revenue
 neutrality for every proposed change.

         The structural reforms in the April 2018 Fiscal Plan were also more robust than those in
 the March 2017 Fiscal Plan. They included specific benchmark assessments of the current state
 of Puerto Rico’s economy, and referenced specific targets for labor reforms, ease of doing business
 reforms, energy and power regulatory reforms, and infrastructure reforms. The April 2018 Fiscal
 Plan outlined strategic reinvestments of over $1 billion in Puerto Rico for long-term prosperity
 and sustainability which would be possible if greater structural reforms were implemented. As the
 Oversight Board had highlighted that increasing labor participation could be the single most
 important reform for Puerto Rico’s long-term economic well-being, the April 2018 Fiscal Plan
 provided detailed descriptions for the need for comprehensive labor reform and the goals, among
 others, to become an at-will employment jurisdiction, reduce mandated paid leave by half, make
 the Christmas bonus voluntary for private sector employees, institute a work requirement for the
 NAP and introduce an EITC program.

        4.      The May 2018 Fiscal Plan Certification

          Despite their different perspectives on labor reform, the Oversight Board and then-
 Governor Rosselló continued to engage in dialogue during April and May 2018 in a good-faith
 effort to reach common ground. After several rounds of good-faith negotiations, the Oversight
 Board and the Governor announced on May 20, 2018 that they reached an accommodation—in
 order to approve labor reform and thereby reduce fiscal plan implementation risks and avoid costly
 litigation—to amend the April 2018 Fiscal Plan. As part of the “accommodation” publicly released
 on May 30, 2018, the Legislature and the Governor would have to enact a law repealing Law 80
 on or before June 27, 2018.

         In exchange for the repeal of Law 80, the accommodation provided for implementation of
 certain Commonwealth-proposed fiscal plan provisions, including: (i) restoration of the Christmas
 bonus for public employees through fiscal years 2019 to 2023; (ii) additional annual $25 million
 appropriation to UPR for means-tested student scholarship through fiscal years 2019 to 2023; (iii)
 an additional annual $50 million appropriation for municipality economic development fund
 through fiscal years 2019 to 2023; and (iv) replacement of reinvestment initiatives provided in
 chapter 11 of the April 2018 Fiscal Plan with the authority of the Government to spend up to $345
 million for fiscal years 2019 to 2023 on reform implementation, infrastructure and economic
 development initiatives in specified categories.

        In compliance with the terms of the accommodation, then-Governor-Elect Rosselló
 announced on May 28, 2018, that he had submitted a bill to fully repeal Law 80. Also, the
 Oversight Board submitted a comprehensive report of nearly 2,200 pages, dated May 30, 2018,
 discussing labor reform and published it on its website.

         On May 30, 2018, the Oversight Board published and unanimously re-certified a revised
 Commonwealth Fiscal Plan that incorporated the effects of the accommodation, including the
 anticipated repeal of Law 80 (the “May 2018 Fiscal Plan”).

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          In the May 2018 Fiscal Plan, the Oversight Board agreed to revise several fiscal measures
 and reinvestment initiatives from the April 2018 Fiscal Plan and support the Government’s
 proposals to provide for the annual Christmas bonus for public employees, $25 million annual
 student scholarships at the UPR, $50 million annual appropriations for the economic development
 initiatives, and $345 million multiyear fund for various economic development and reform
 implementation initiatives. The Government’s achievement of comprehensive labor and welfare
 reform would also enable the elimination of the cuts to the budgets of the Legislature and Judiciary
 required under the April 2018 Fiscal Plan. The May 2018 Fiscal Plan also included a new
 structural reform relating to trading across borders reform in order to improve the ease of doing
 business. This reform focused on domestic transportation and congestion as well as border
 compliance issue and was anticipated to counter the reduction in growth from excluding certain
 parts of labor reform from the accommodation.

         The May 2018 Fiscal Plan projected to generate $2.3 billion from revenue measures and
 $9.5 billion from expense measures for fiscal years 2018 through 2023. It also projected that the
 cumulative surplus from fiscal years 2018 to 2048 to be approximately $36 billion before debt
 service.

        5.      The June 2018 Fiscal Plan Certification

         On June 4, 2018, the President of the House Government Affairs Committee, Hon. Jorge
 Navarro, sent a letter to the Oversight Board noting the “different scope” between the proposal of
 the complete Law 80 repeal and the effect of the amendment to grandfather the Law 80 protections
 for existing employees, and inquiring about the consequence of noncompliance with the terms of
 the accommodation.

        The Oversight Board responded the same day in a letter that outlined the consequence of
 noncompliance with the accommodation, which would essentially be the reversal of the
 accommodation terms and, at a minimum, the return to the assumptions and requirements
 underlying the April 2018 Fiscal Plan.

          Even though Governor Rosselló voiced his support for the Law 80 repeal on multiple
 occasions and the two houses of the Legislature contemplated some modified repeal of Law 80,
 the Legislature ultimately failed to pass any repeal of Law 80 provisions by June 27, 2018. On
 June 28, 2018, the Oversight Board cancelled the public meeting that had been scheduled for June
 29, 2018 regarding the fiscal year 2019 budget certification, and announced its intention to re-
 certify the April 2018 Fiscal Plan, with some technical changes and updates to the macroeconomic
 information based on those reforms that were not implemented.

          On June 29, 2018, the Oversight Board unanimously re-certified its revised version of the
 fiscal plan (the “June 2018 Fiscal Plan”) that reverted to the April 2018 Fiscal Plan’s fiscal measure
 requirements, with some important changes. The June 2018 Fiscal Plan highlighted the
 Legislature’s failure to institute the Oversight Board’s most critical structural reform, the repeal of
 Law 80. Therefore, the projected economic growth stemming from the labor reform was reduced
 significantly below both the April and May 2018 Fiscal Plans. The work requirement for NAP,
 EITC program, and the increased target of greater ease of doing business reform relating to trading

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 across borders were preserved in the June 2018 Fiscal Plan. References to tax law initiatives or
 any tax reform were removed given the Oversight Board’s understanding that true tax reform was
 no longer being contemplated. Finally, changes related to updated financial information and
 estimates as reflected in the May 2018 Fiscal Plan were maintained in the June 2018 Fiscal Plan,
 apart from changes needed in order to make the certified fiscal plan match the certified fiscal year
 2019 budget (e.g., allocation of previously unallocated capital expenditure, inclusion of
 reapportionments made in fiscal year 2018, etc.).

          The June 2018 Fiscal Plan highlighted the importance of promoting public integrity and
 transparency at every part of the Government. In recognition of the Governor’s efforts in
 prioritizing the oversight and fiscal responsibility, the June 2018 Fiscal Plan noted that the budgets
 for the Office of the Comptroller and the Office of Government Ethics would not be affected by
 the agency-specific right-sizing measures.

         In addition, the June 2018 Fiscal Plan projected approximately $12.6 billion from revenue
 measures and expense measures for fiscal years 2018 through 2023. It also projected that the
 cumulative surplus from fiscal years 2018 to 2048 to be approximately $14.4 billion before debt
 service. The June 2018 Fiscal Plan also incorporated many of the measures that the Government
 declined to adopt in a letter dated September 27, 2018.

         The events surrounding the Oversight Board’s Commonwealth fiscal plan certifications in
 April, May, and June 2018 and related fiscal year 2019 budget certifications became the focus of
 the two adversary complaints by Governor Rosselló and by the Legislature filed in July 2018, as
 further discussed in sections IV.C.3(h)(i) and (ii) of the Disclosure Statement.

        6.      The October 2018 Fiscal Plan Certification

         On August 1, 2018, the Oversight Board announced it would revise the June 2018 Fiscal
 Plan in order to incorporate material new information, including full fiscal year 2018 revenue and
 expenditure actuals, revised federal disaster relief spending estimates, and an adjustment to
 demographic projections.

         The Oversight Board established a schedule for the Commonwealth to develop and submit
 a revised fiscal plan by August 17, 2018 and the Oversight Board to certify a new fiscal plan by
 September 21, 2018. On August 15, 2018, the Oversight Board approved the Commonwealth’s
 request to extend the submission deadline to August 20, 2018. The Commonwealth submitted its
 proposed revised fiscal plan according to the extended deadline. The proposed fiscal plan also
 included consideration of the COFINA settlement discussion.

        On August 20, 2018, the Oversight Board hosted a public webinar to discuss demographic
 assumptions used for the June 2018 Certified Fiscal Plan. The webinar included detailed
 presentation of key forecast fundamentals and data sources and sought public suggestions and
 feedback.

         On August 30, 2018, the Oversight Board sent a letter to Governor Rosselló formulating a
 notice of violation pursuant to PROMESA section 201(c)(3)(B) in regards to the Commonwealth’s
 proposed fiscal plan. The letter indicated that the proposed fiscal plan did not reflect all the latest
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 information for baseline projections and included several new policies that were inconsistent with
 PROMESA’s mandate and the reforms and measures identified in the previous June 2018 Fiscal
 Plan. The Oversight Board set September 7, 2018 as the deadline for the Commonwealth to submit
 a revised, proposed fiscal plan, including all financial and rightsizing models.

        On September 7, 2018, the Commonwealth submitted its revised, proposed fiscal plan in
 response to the Oversight Board’s notice of violation letter. This proposed plan incorporated the
 COFINA debt restructuring deal terms.

        The initial target certification date of September 21, 2018 was extended based on the
 ongoing negotiations between the Oversight Board and the Commonwealth administration. The
 Oversight Board scheduled a public hearing for October 23, 2018 to review the proposed fiscal
 plan.

        On October 19, 2018, the Oversight Board filed the proposed plan of adjustment for
 COFINA that was consistent with the COFINA fiscal plan certified on October 18, 2018, its related
 disclosure statement and settlement motion.

        On October 22, 2018, the Oversight Board published a draft proposed fiscal plan for the
 Commonwealth that incorporated the COFINA restructuring. During the public hearing on
 October 23, 2018, the Oversight Board unanimously certified its version of the fiscal plan
 (“October 2018 Fiscal Plan”).

          The October 2018 Fiscal Plan revised its estimated disaster relief funding to approximately
 $82 billion from federal and private sources and updated projected roll-out of this spend based on
 information from FEMA and other sources. It also developed different pass-through rates for the
 impact of funding to the economy given new data related to the impact of various types of
 spending. Details surrounding population projections were updated, and revenue and expenditure
 actuals from fiscal year 2018 were used to update projections. The October 2018 Fiscal Plan
 indicated lower GNP growth upticks stemming from structural reforms versus those seen in the
 June 2018 Fiscal Plan. This was due to poorer-than-expected progress on structural reform
 implementation, especially related to the NAP work requirement and trading across borders reform
 (the latter of which was removed from the fiscal plan). Other changes included updating revenue
 projections based on actual results, which were higher than anticipated and updates for actual
 expenditures, specifically around payroll which had shown evidence of historical over-budgeting.

         While various initiatives and goals of the October 2018 Fiscal Plan largely remained
 consistent from the June 2018 Fiscal Plan, the revised fiscal plan also incorporated the terms of
 the COFINA settlement and projected $12.4 billion of additional surplus from revenue measures
 and expense measures from fiscal year 2018 through fiscal year 2023. The October 2018 Fiscal
 Plan also projected nearly breakeven cumulative performance before debt service for fiscal year
 2018 through fiscal year 2058.

         Shortly after certification of the October 2018 Fiscal Plan, the Oversight Board launched
 an interactive, web-based reporting dashboard to track compliance with certified fiscal plans.


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             7.      The May 2019 Fiscal Plan Certification159

         Since October 2018, the Oversight Board continued to assess and respond to various
 constituencies regarding the objectives, assumptions, and projections of the October 2018 Fiscal
 Plan. The Oversight Board’s efforts included ongoing discussions with the Government.

         During the COFINA disclosure statement hearing on November 20, 2018, the Oversight
 Board disclosed that it discovered a pension payment forecast calculation error in the October 2018
 Fiscal Plan. On November 30, 2018, the Oversight Board announced that it had concluded that
 the pension forecast error resulted in an understatement of pension forecasts and projected PayGo
 payments of $3.35 billion.

         On January 18, 2019, the Oversight Board sent a letter to the Government laying out the
 schedule to develop, submit, approve, and certify a revised fiscal plan for the Commonwealth and
 the fiscal year 2020 budget for the Commonwealth. The January 18, 2019 letter provided for the
 Governor to submit a proposed fiscal plan by February 22, 2019 and the Oversight Board to expect
 certification by April 26, 2019. Per the Government’s request, the Oversight Board granted an
 extension for the Government to submit a proposed fiscal plan on February 22, 2019 to March 8,
 2019. The expected certification date remained unchanged at April 26, 2019.

        On March 10, 2019, the Government submitted a revised fiscal plan draft. On March 15,
 2019, the Oversight Board sent a letter to Governor Rosselló formulating a notice of violation
 pursuant to PROMESA section 201(c)(3)(B) in regards to the Commonwealth’s proposed fiscal
 plan. The letter indicated the proposed fiscal plan required certain significant revisions (e.g.,
 within pension reform and healthcare reform) and additional supporting information. The letter
 also highlighted that the Government’s proposal included several new policies that were
 inconsistent with PROMESA’s mandate and lacked detailed critical structural reform initiatives
 and the latest information for baseline projections. The Oversight Board set March 22, 2019 as
 the deadline for the Government to submit a revised proposed fiscal plan.

         Upon the Government’s request, the deadline for submission of a revised draft was
 extended to March 27, 2019. On March 27, 2019, the Government submitted a revised draft along
 with a letter responding to the Oversight Board’s March 15, 2019 notice of violation.

         The Oversight Board also held a public hearing on March 28, 2019, with the Puerto Rico
 Department of Public Safety on the implementation of the certified fiscal plan, including
 rightsizing and reporting measures. This highlighted several deficiencies in the department’s
 approach to efficiency efforts.

        On April 21, 2019, the Oversight Board sent a letter to the Government, outlining a new
 schedule for certification given delays from the initial schedule and the iterative process of
 requesting additional supporting information. The Oversight Board set the new expected
 159
       The certification of a new Commonwealth fiscal plan is currently expected on April 30, 2020. Letter from Natalie
       A. Jaresko to Governor Vázquez Garced, President Rivera Schatz, and Speaker Méndez Núñez, Jan. 30, 2020,
       https://drive.google.com/file/d/1Y81ivGjzA8kqtIyqtRSIW9gkZs-1k_Ew/view. To the extent necessary, the
       Debtors will submit revised best interests test reports reflecting the new fiscal plan data.

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 certification date of May 9, 2019. On May 6, 2019, the Oversight Board announced that a public
 hearing would be held on May 9, 2019, as planned, to consider certification of the fiscal plan.

          On May 9, 2019, the Oversight Board published a draft proposed fiscal plan for the
 Commonwealth. During the public hearing that same day, the Oversight Board certified its version
 of the fiscal plan.160 The May 2019 Fiscal Plan incorporates a number of important updates for
 new information and data, such as slower disaster recovery funding rollout; updated population
 forecast; lower structural reform GNP growth upticks due to delays in or inadequate
 implementation of labor and welfare, ease of doing business, and power sector reform; a revised
 pensions expenditure forecast; updated Medicaid enrollment data; updated Medicaid enrollment
 data and healthcare reform measures; and additional funding for Special Revenue Fund capital
 expenditure. In addition, the May 2019 Fiscal Plan refined assumptions related to the unwinding
 of disaster relief spending and fiscal measures, estimating it would happen in five as opposed to
 ten years; this means that GNP growth rates would contract faster, out-migration would increase
 faster, and population would decline further than previously projected. Importantly, the May 2019
 Fiscal Plan also incorporated the fiscal year 2020 budgetary decisions.

         In addition to incorporating new information, the May 2019 Fiscal Plan urged the
 Government to take action to address the missed milestones and accelerate the pace of change
 based on inadequate implementation progress in fiscal year 2019. Further, as part of its focus on
 transparency of spend, the May 2019 Fiscal Plan (and fiscal year 2020 budget) reduced spending
 in low-transparency areas like professional services and “line items with aggregated expenditures,”
 and included investments in priority areas. These investment areas include police compensation
 (which was brought to mainland averages) and equipment, healthcare staffing and capital
 expenditures, additional educational compensation and scholarship supports, firefighter salaries
 and equipment, the Forensics Sciences Institute payroll and equipment, and additional capital
 expenditure funding.

         The May 2019 Fiscal Plan projects to generate $2.5 billion from revenue measures and $11
 billion from expense measures for fiscal year 2019 through fiscal year 2024. It also projects
 approximately $23 billion of cumulative surplus before debt service from fiscal years 2018 to
 2048. In addition, the May 2019 Fiscal Plan highlights that the Government has struggled to timely
 implement and report progress on the reforms and measures to date. For example, the Government
 did not submit many implementation plans required under previous certified fiscal plans for
 submission by June 30, 2018 until September 2018, and some implementation plans were
 submitted as late as April 2019. As a result, progress has been inconsistent and incomplete.
 Therefore, the May 2019 Fiscal Plan adds monthly performance report requirements to ensure
 implementation progress and monitoring.161 Moreover, in many agencies where the Government

 160
       Despite the substantial progress that has been made between the Commonwealth Government and the Oversight
       Board to narrow their differences, the May 2019 Fiscal Plan was certified with measures over the Commonwealth
       Government’s objections.
 161
       The GAO noted in its 2019 GAO Report that experts, as well as Puerto Rico officials, have expressed concern that
       the GDB Title VI restructuring and the COFINA Title III restructuring are based on an unrealistically optimistic
       expectation of Commonwealth economic growth. However, the GAO reported that the May 2019 Fiscal Plan
       contains much more conservative projections for economic growth than previous fiscal plans. The GAO also
       raised concerns about the feasibility of the May 2019 Fiscal Plan’s proposed structural reforms to yield projected
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 has achieved budget targets set in the May 2019 Fiscal Plan, it has been through overreliance on
 voluntary transition policies, rather than more tailored policies, which may have the effect of
 reducing the Government’s effectiveness over the medium to long term.

             8.       Highlights of Priority Investments

         Over the course of developing each certifiable fiscal plan, the Oversight Board has kept in
 mind the needs of the people of Puerto Rico and made priority investments in areas such as public
 safety, healthcare, and education. Most recently, the May 2019 Fiscal Plan continued and expanded
 upon these investments which aim to improve the quality of public services.

         Paramount among these investments is an effort to improve public safety. First, the May
 2019 Fiscal Plan invests in police officer compensation to improve competitiveness given the
 significant attrition the Puerto Rico Police Bureau (“PRPB”) has experienced. Therefore, a salary
 and required benefits increase of 30% (~$11,500) over two years and $250 per sworn officer per
 year for life and disability insurance have been included. Additional investments include Social
 Security contributions for sworn officers, $122 million per year from fiscal year 2019 to fiscal year
 2021 for police officers who are owed payment for past services, and $42 million in capital
 expenditure funding in fiscal year 2020.

         Beyond investing in the PRPB, the Oversight Board also included more than $5 million in
 personnel funding and $15 million in non-personnel funding to other public safety agencies.
 Specifically, these investments will allow $500 compensation increases per employee for
 firefighters and purchases of new vehicles and safety equipment at the Puerto Rico Fire Bureau.
 The Forensics Science Institute will receive funding to hire more than 90 new employees and
 invest in forensic laboratory supplies.162

          The Oversight Board also included investments in several agencies that provide healthcare
 services. First and foremost, the May 2019 Fiscal Plan provides an additional $1.4 billion in
 Medicaid funding from fiscal year 2019 to fiscal year 2024 in order to improve the stability of the
 healthcare system. Additionally, more than $15 million in annual funding has been invested to
 maintain nurse staffing levels, and $12 million has been provided to the Psychiatric Hospital so
 that it can achieve its Medicare certification. Lastly, more than $25 million in Special Revenue
 Funds expenditures have been approved in fiscal year 2020 to allow the Comprehensive Cancer
 Center to become fully functional.

        The education of the children of Puerto Rico and their successful entrance into the
 workforce is also a core goal of Puerto Rico Department of Education and the Oversight Board, as
 these outcomes have been shown to drive long-term economic growth. With that objective in mind,
 the Oversight Board has expanded upon prior investments in teacher and director salaries and
 textbooks to include an additional $500 compensation increase per employee for all teachers and

       economic benefits, and that the Oversight Board overestimated the volume and timeliness of federal hurricane
       relief funds.
 162
       The fiscal year 2020 budget includes a salary increase of $1,500/year per firefighter (versus $500/year in the fiscal
       plan). The EMS fiscal year 2020 budget increased by $4.8 million over the fiscal year 2019 budget.

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 directors in the May 2019 Fiscal Plan. This investment increases teacher compensation by a total
 of more than $2,000 since the Oversight Board’s inception, which represents the only increases
 received by teachers in the last decade.

        The set of investments highlighted above represents the Oversight Board’s commitment to
 the successful reform of the Government. Though not an exhaustive list, the investments will
 enhance service levels in areas that impact long-term economic success of the Commonwealth.

        9.      Fiscal Year 2018 Budget Certification

         Based on the March 2017 Fiscal Plan certification (and subsequent revisions), the
 Oversight Board initially set April 30, 2017 as the deadline pursuant to PROMESA section 202(a)
 for the Governor’s submission to the Oversight Board for his proposed budget for fiscal year 2018
 that complies with the March 2017 Fiscal Plan, a detailed implementation plan for the measures
 contained in the March 2017 Fiscal Plan, and a revised liquidity plan for the Commonwealth,
 including measures to generate a $200 million cash reserve by June 30, 2017 above the balances
 reflected in the March 2017 Fiscal Plan. The Oversight Board also provided the forecast of
 revenues for the fiscal year 2018 pursuant to PROMESA section 202(b). The Government made
 the requested submissions on April 30, 2017.

       The process of elaborating the budget for fiscal year 2018 was a joint effort between the
 Government and the Oversight Board.

         On June 2, 2017, the Oversight Board approved the submission to the Legislature of the
 Governor’s proposed fiscal year 2018 budget pursuant to PROMESA section 202(c)(1)(A)(i), but
 also noted material concerns regarding budget allotments for certain programs and activities and
 significant outstanding questions regarding the implementation plans of spending reductions. The
 Oversight Board also set June 19, 2017 as the deadline for the Legislature to submit its adopted
 budget for the Oversight Board’s review.

         On June 27, 2017, the Oversight Board issued a notice of violation of the Legislature’s
 June 26, 2017 budget submission pursuant to PROMESA section 202(d)(1)(B) based on the
 following analyses: (i) $16 million over-allocation of legislative expenditures; (ii) $78 million
 over-allocation of non-legislative expenditures; (iii) need for $25 million additional reductions on
 earmarks and special expenditure appropriations; (iv) need for specific implementations relating
 to at least $200 million of potential savings on the size of the government; and (v) correction of
 technical error relating to the Judiciary Branch appropriation. The Oversight Board requested a
 revised adopted version of the Legislature’s budget by June 29, 2017. Upon the failure of the
 Legislature to adopt a complaint budget by June 29, 2017, the Oversight Board revised the fiscal
 year 2018 budget that would comply with the certified March 2017 Fiscal Plan and submitted it to
 the Governor and the Legislature under PROMESA section 202(e)(3) on June 30, 2017.

         As noted, two months after the certification of compliant fiscal year 2018 budget, the
 Oversight Board authorized the Government to implement good-faith modifications to the certified
 fiscal year 2018 budget up to $1 billion for emergency measures following the devastating impact
 of Hurricanes Irma and Maria on Puerto Rico.

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        10.     Fiscal Year 2019 Budget Certification

        The Oversight Board’s review and certification of fiscal year 2019 budget under
 PROMESA section 202 also went through several deadline extensions and modified proposals in
 accordance with the changes in the fiscal plan certification process. In fiscal year 2019, the
 Oversight Board was guided by several key objectives, consistent with goals of the fiscal plan:

        a.      Improving long-term growth through structural reforms;

        b.      Improving the business environment for firms and entrepreneurs in Puerto Rico;

        c.      Promoting public safety in Puerto Rico;

        d.      Improving education outcomes for children in Puerto Rico;

        e.      Investing in preventative healthcare and higher quality healthcare;

        f.      Enhancing transparency through a focus on fiscal controls and reporting; and

        g.      Increasing the resiliency of critical infrastructure through modernization.

         On December 12, 2017, the Oversight Board sent a letter to then-Governor Rosselló that
 outlined six guiding principles and set a submission timeline, starting from December 22, 2017 to
 June 29, 2018 as the expected date for the Oversight Board to certify the fiscal year 2019 budget.
 The six guiding principles provided that: (i) all budgets be compliant with their applicable fiscal
 plan and developed in accordance with modified accrual accounting standards; (ii) revenue
 forecasts to be provided by the Oversight Board to the Governor, Legislature, and Boards of
 Directors for use in developing relevant budgets; (iii) budgeted expenses be properly justified; (iv)
 reporting blueprint templates be agreed to by the Governor and the Oversight Board and the
 Government to report pursuant to these templates; (v) clear responsibility for enforcement of all
 elements of the budget and reporting deemed to be critical; and (vi) all expenditures, including
 capital expenditures, of the Commonwealth and instrumentalities to be made only pursuant to a
 budget certified by the Oversight Board.

         On December 21, 2017, based on the extension of the proposed fiscal plan submission
 deadline, the Oversight Board also revised the fiscal year 2019 budget review timeline. Similarly,
 after then-Governor Rosselló submitted a proposed fiscal plan on February 12, 2018 and the
 Oversight Board extended the fiscal plan certification deadline from February 23, 2018 to March
 30, 2018, the Oversight Board again revised the fiscal year 2019 budget review schedule
 accordingly.

         After the April 2018 Fiscal Plan was certified, then-Governor Rosselló presented a draft
 recommended fiscal year 2019 budget on May 4, 2018. On May 10, 2018, the Oversight Board
 issued a notice of violation under PROMESA section 202(c)(1)(B) regarding the draft fiscal year
 2019 budget and required revisions by May 15, 2018. On May 14, 2018, then-Governor Rosselló
 announced that he was in discussion with the Oversight Board regarding fiscal plan and therefore
 would not submit a revised budget proposal by the May 15 deadline. The Oversight Board also
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 granted an extension for submission and on May 18, 2018, the administration submitted a revised
 recommended fiscal year 2019 budget.

         After the May 2018 Fiscal Plan was certified in accordance with the terms of the
 accommodation, the Oversight Board set out the necessary revisions to budgeted revenue on May
 31, 2018, to make it consistent with the new certified fiscal plan. The Governor submitted another
 draft resolution on the fiscal year 2019 budget the next day.

        On June 5, 2018, the Oversight Board determined that the Governor’s June 1 budget
 proposal was not compliant with the newly certified fiscal plan and posted its own version of a
 revised fiscal year 2019 budget that was compliant with the May 2018 Fiscal Plan.

         After the Governor and the Legislature reviewed the proposed fiscal year 2019 budget and
 held public hearings, the Legislature considered its own version of the budget that was based on
 higher revenue projections and room for spending than the Oversight Board had projected.

         Although the Oversight Board scheduled a June 29, 2018 public meeting to consider the
 fiscal year 2019 budget certification, this meeting was cancelled following the Legislature’s failure
 to repeal Law 80 by the June 27, 2018 deadline per the accommodation.

         On June 29, 2018, the Legislature approved an $8.71 billion fiscal year 2019 General Fund
 budget for submission to the Oversight Board. But, on June 30, 2018, the Oversight Board
 unanimously certified a compliant fiscal year 2019 budget for the Commonwealth and
 instrumentalities. The Oversight Board’s version of the budget provided for expenditures of $8.76
 billion of General Fund and $20.66 billion for the consolidated funds. This certified budget was
 deemed to be compliant with the certified fiscal plans and deemed approved by the Governor and
 Legislature pursuant to PROMESA section 202(e)(3).

            11.    Fiscal Year 2020 Budget Certification163

        The fiscal year 2020 budget review and certification by the Oversight Board under
 PROMESA section 202 went through several deadline extensions and modified proposals in
 accordance with the changes in the fiscal plan certification process.

         Following consultation with the Governor and the Legislature, the Oversight Board
 established a reasonable schedule for the development of the fiscal year 2020 budgets. On January
 18, 2019, the Oversight Board sent a letter detailing the agreed upon schedule for developing,
 submitting, and certifying the fiscal year 2020 budget for the Commonwealth (which
 complemented the Fiscal Plan certification schedule).

        On January 30, 2019, the Oversight Board sent a letter to then-Governor Rosselló that
 outlined the requirements for a compliant fiscal year budget and, in accordance with PROMESA
 section 202(b), a forecast of revenues, agency spending targets, and other requirements. The
 Oversight Board provided expenditure targets for fiscal year 2020 by agency. In particular, the
 163
         A presentation on the fiscal year 2020 budget is accessible on the Oversight Board’s website,
       https://oversightboard.pr.gov/.

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 Oversight Board provided parameters for agency payroll and operating expenditures as adjusted
 from the fiscal year 2019 budgets. The adjustments and reinvestments were proposed in an effort
 to facilitate additional savings contemplated by the certified fiscal plan and to reduce areas of
 spend that required more transparency. The Oversight Board requested that in the budget each
 professional service contract be identified by one of the following categories:
 Accounting/Financial, Legal, Information Technology, or Other. The category “Other” is only
 utilized if the contract is not best categorized in one of the three distinct categories or ‘Medical’
 and ‘Education’ categories, which were added during the budget review process for specific
 agencies. It was also asserted that the ‘Other’ category should not be more than 10% of the
 professional services budget. The same level of granularity was also applied to other personnel
 and non-personnel spend categories to enable tracking of savings and overall transparency.

         On March 23, 2019, the Oversight Board provided an updated schedule for the certification
 of fiscal year 2020 budget following Government’s request. The revised schedule required the
 Commonwealth to submit a proposed fiscal year 2020 budget based on the January 28, 2019
 forecast. On April 8, 2019, the Commonwealth publicly posted its proposed budget submission
 on the AAFAF website. Also, the budget submission and revision schedule was revised on April
 21, 2019, in order to provide sufficient time to allow for the iterative process of information
 exchange and incorporate the most up-to-date information available.

         On May 11, 2019, the Oversight Board provided a revised forecast for fiscal year 2020 in
 order to incorporate data provided by the agencies, risks proposed by agencies, focused
 investments, and fiscal priorities. The revised forecast was compliant with the May 2019 Fiscal
 Plan and incorporated all the changes mentioned above. The Government’s original fiscal year
 2020 budget submission was not compliant with the May 2019 Fiscal Plan and required
 resubmission. The Oversight Board laid out in detail the areas in which the fiscal year 2020 budget
 needed to be revised, as well as provided a revised revenue forecast. The Oversight Board’s letter
 also included agency-specific requirements and budget resolution language revisions.

         On May 13, 2019, Governor Rosselló announced an intention to submit the revised
 proposed budget by the May 17 deadline. On May 17, 2019, the administration requested an
 extension on the submission deadline until May 22, 2019. This prompted the Oversight Board to
 reiterate on May 20, 2019 the impact of the delay of a proposed budget. The Oversight Board
 restated the established positions and indicated that in addition to information provided previously
 to maintain consistency with the May 2019 Fiscal Plan: the Oversight Board had provided the
 OMB the amounts to be included related to wage increases and disability benefits; requesting each
 professional service contract is identified in the categories specified in the January 30, 2019 letter;
 providing the allocation of capital expenditures utilities, insurance premiums, and PayGo by
 agency, per the Certified Fiscal Plan; and reiterating the level of detail required by the Oversight
 Board in the budget resolution.

         On May 28, 2019, the Oversight Board submitted a compliant budget to the Legislature
 along with a letter to the Governor Rosselló, President Rivera Schatz, and Speaker Méndez to
 notify them of the compliant fiscal year 2020 budget. The budget was submitted following a review
 of the Governor’s March 28, 2019 submission of the proposed Territory Budget for fiscal year
 2020. Despite submitting a revised budget on May 22, 2019, the Government’s budget submission
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 remained incomplete and non-compliant; the proposed budget still exceeded the spending targets
 in the May 2019 Fiscal Plan, while lacking sufficient detail and documentation.

         On June 3, 2019, the Oversight Board sent a letter to President Rivera, president of the
 Senate of Puerto Rico, detailing the ways in which the Oversight Board determined the Governor’s
 latest budget submission was not compliant with PROMESA. Specifically, in the Oversight
 Board’s view, the proposed fiscal year 2020 budget would overspend by $573 million.

        On June 9, 2019, Governor Rosselló made a budget address arguing the Commonwealth
 had sufficient resources to finance the proposed non-compliant $9.624 billion budget. The
 proposed budget for fiscal year 2020 was subsequently filed with the Legislature on June 11, 2019.
 The House Treasury, Budget and PROMESA Committee was slated to open public hearings on
 the spending package on June 12, 2019.

         On June 12, 2019, the Oversight Board sent a letter to Governor Rosselló, President Rivera
 Schatz, and Speaker Méndez regarding the Compliance Certification dated June 3, 2019 that was
 submitted. The certification was deemed deficient in two aspects: (1) it was lacking the formal
 estimate required by PROMESA section 204(a)(2)(A), in order to lay out the “impact, if any, that
 the law will have on expenditures and revenues”; and (2) it did not provide an analysis of the
 impact that Act 29 will have on the May 2019 Fiscal Plan. Relying on PROMESA section
 204(a)(4)(A), the Oversight Board directed the Commonwealth to provide (1) the missing estimate
 within seven business days and (2) an amended compliance certification reflecting such estimates.

        A second letter was sent on June 12, 2019 extending the deadline for the legislature to
 submit a compliant budget. The Oversight Board reiterated their concerns that a compliant budget
 had been submitted by the Oversight Board to the Government on May 28, 2019, but the
 Government had not submitted it to the Legislature.

         The Legislature failed to send a fiscal year 2020 budget to the Oversight Board to review
 for compliance with the May 2019 Fiscal Plan. As such, on June 30, 2019, the Oversight Board
 certified its own consolidated fiscal year 2020 budget for the Commonwealth.

        The highlights of the certified fiscal year 2020 budget include:

           Continues the trend of spending within the Government’s means in a transparent and
            prioritized way responsive to demographic realities.

           Supports the priorities of public safety, education, and healthcare services, and includes
            a higher level of capital expenditures spending consistent with the May 2019 Fiscal
            Plan.

           Funds social security for eligible police, teachers and judges as well as increases in
            salaries for teachers, police officers, and firefighters.

           Allocates sufficient funds to cover PayGo pension obligations for current retirees of
            the Central Government.

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           Increases local budget funding of Medicaid program, given reduction in federal funds.
            This represents the largest cost increase for fiscal year 2020.

           Similar to fiscal year 2019, includes a UPR scholarship fund to supplement UPR’s
            existing needs-based scholarships.

           Incorporates federal disaster aid local match funding, other new federal funding
            sources, and the second of ten annual emergency reserve installments.

           Significantly reduces professional services expenses year-over-year.

           Takes a comprehensive view of governmental spending.

        As shown below, in total, the fiscal year 2020 Central Government budget is $20.21 billion,
 of which $9.05 billion is General Fund spending.




        The certified fiscal year 2020 budget also budgets for previously unbudgeted
 appropriations to enhance transparency and visibility with overall spending. Many of these
 incremental appropriations are shown below, although the bulk of additional cost relative to fiscal
 year 2019 comes from local Medicaid spending because of the expiration of 100% federal fund
 matching for that cost. As shown below, total local Medicaid spending in fiscal year 2020
 increased to $917 million from $15 million in fiscal year 2019.




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        The certified fiscal year 2020 budget provides an unprecedented level of transparency to
 the general public on how the government spends its resources. The budget resolutions were
 combined into one document, include specific concepts of spending for each agency, minimized
 funds in pooled custody accounts, and limited unidentified allocations and identified professional
 services spending. The budget also attempts to budget for and cover all Commonwealth spending.

      The budget also includes significant budget compliance mechanisms to control spending.
 Among the critical budgetary controls are the following provisions:

           Budget preservation levers – The budget provides for restriction on encumbrances and
            disbursements of General Fund appropriations such that 2.5% is held back until the
            fourth quarter of the fiscal year. The Judicial Branch, Public Broadcast Corp, agencies
            in the Department of Public Safety and Health grouping and PayGo appropriations are
            not subject to this withholding.

           Restriction on prior year budgeted funds – The budget provides for restriction on use
            of appropriations of prior fiscal years to a 60 day period after the end of the fiscal year,
            assuming such appropriations have been encumbered by June 30. Exceptions apply to
            permanent improvements as well as to equipment with long procurement cycles and
            certain appropriations held in custody by the Treasury Department.

           Reporting requirements – The budget provide for nature and cadence of reporting,
            quarterly certification of no assignment of prior year budget to current year expenses,
            monthly and quarterly budget versus actual reporting, and other support for
            implementation.


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            Prior year reprogramming – The budget suspends the ability of OMB, AAFAF, and
             Department of the Treasury to authorize reprogramming or extension of appropriations
             of prior fiscal years.

            Budget reserves – The budget provides for restriction on use of reserves, particularly
             the emergency and capital expenditure reserves.

            PayGo fees – The budget authorizes OMB to perform appropriations offsets against
             agencies that are in arrears regarding PayGo, unemployment insurance or taxes.

            Compliance with Law 8-2017 – The budget provides for the simultaneous transfer of
             funds allocated to payroll and related employee costs in implementing concept of
             mobility.

            Provision of quarterly budget – The budget provides for provision of detailed quarterly
             budget projections.

            Budgetary controls for all concepts of spend – The budget restricts any spending or
             encumbrance that exceeds authorized appropriations.

            Submission of Sábana file – The budget requires OMB to submit the government’s
             budget in an Excel format known as the “Sábana file” which identifies both the General
             Fund budget and non-General Fund budgets within the Government’s PRIFAS and
             other accounting systems, including detailed budget appropriations and allocations by
             agency, instrumentality, public corporation, fund type and concept of spend.

            Approval of budget reapportionments – The budget provides that reprogramming of
             budget appropriations must be approved by the Oversight Board.

 E.     Negotiations with Creditors

        1.      Negotiations with Creditors Prior to the Enactment of PROMESA

       During fiscal year 2016, the Commonwealth presented various proposals to bondholders
 and bond insurers seeking to reach an agreement for a voluntary restructuring of the debt of the
 Commonwealth and that of its public corporations.

         On February 1, 2016, the Commonwealth published a proposal that sought to exchange
 $49.2 billion of tax-supported debt into $26.5 billion of mandatorily payable bonds and $22.7
 billion in variable payment bonds (payable only in the event the Commonwealth outperformed
 certain revenue projections). The proposal contemplated no interest payments until fiscal year
 2018, no principal payments until fiscal year 2021, maximum annual debt service of $1.7 billion
 starting fiscal year 2021 and a final maturity in fiscal year 2051. Several bondholder groups,
 particularly monoline bond insurers, issued statements after the Commonwealth published its
 proposal that were critical of such proposal.


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          On June 21, 2016, the Commonwealth published a second proposal that provided an
 incremental $52.7 billion of mandatorily payable debt service to creditors as compared to the
 Commonwealth’s February 1, 2016 offer. The proposal continued to contemplate cash flow relief
 during the first four years but increased cash interest payments during such period and added a
 non-cash interest portion (payable-in-kind). Maximum annual debt service was set at $2.05 billion
 starting in fiscal year 2031, with a final maturity in fiscal year 2071. Certain holders of GO Bonds
 responded with a counterproposal that would have exchanged existing GO Bonds (approximately
 $18 billion face amount) for new GO Bonds at 89% of the existing face amount and new contingent
 bonds for the remaining 11% of the original principal amount, provided liquidity relief over the
 first five years, required new collateral guarantees, and validation through Title III or Title VI of
 PROMESA if such legislation was enacted by Congress. And an ad hoc group of COFINA senior
 bondholders also developed a counterproposal that included principal haircuts, liquidity relief, and
 required implementation through PROMESA with validation under Title III or VI.

          The Commonwealth’s proposals sought to ensure that debt service would never exceed
 15% of projected consolidated revenues (as defined in the public presentation explaining the
 proposal) for the Commonwealth and its tax supported instrumentalities. Both proposals were also
 predicated upon a number of key assumptions (many of which are not under the control of the
 Commonwealth), including: (i) a 100% participation rate, (ii) Congress continuing the current
 level of health care funding provided to Puerto Rico under the Affordable Care Act, (iii) the
 Commonwealth extending the Act 154 excise tax and the IRS continuing to allow such tax to be
 creditable against U.S. federal income taxes (along with no further erosion of the Act 154 tax base),
 (iv) the implementation of all the measures contemplated by the Fiscal and Economic Growth Plan
 dated September 9, 2015, and (v) the Commonwealth achieving a 2% nominal growth rate.

        2.      Negotiations with Creditors Prior to Title III Filings

         The Commonwealth also made extensive efforts to reach a consensual restructuring with
 creditors prior to its Title III filing. From December 2016 through March 2017, the Oversight
 Board and the Commonwealth held more than thirty meetings with creditor representatives to seek
 a consensual restructuring of the Commonwealth’s debt. In addition, prior to the termination of
 the PROMESA Title IV stay, the Oversight Board and the Commonwealth convened mediation
 on April 13, 2017, to find common ground and a consensual resolution. Before the filing of the
 Title III Cases, AAFAF made a proposal under Title VI of PROMESA that would have
 restructured GO Bonds, COFINA bonds, and bonds of certain instrumentalities that historically
 received certain conditionally appropriated monies from the Commonwealth, and a group of GO
 bondholders made a counterproposal. Those efforts were ultimately unsuccessful.

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                         V.      Overview of the Debtors’ Title III Cases

 A.     Commencement of the Debtors’ Title III Cases

        1.      Filing of the Title III Petitions

          After negotiations with its creditor constituencies, the Commonwealth was unable to
 negotiate—and saw no prospect of negotiating—an out-of-court resolution that would address its
 financial situation and lay a foundation for economic recovery and prosperity going forward
 without a renegotiation of outstanding debts. Pursuant to PROMESA section 405, the
 establishment of the Oversight Board operated as a temporary stay of all actions, claims, and
 proceedings in any court or tribunal with respect to any liability, as defined in PROMESA section
 405(a), of the Commonwealth and its territorial instrumentalities. As soon as the PROMESA
 section 405 stay expired, numerous pending lawsuits against the Commonwealth and its territorial
 instrumentalities would be allowed to continue, and dozens of creditors threatened to file or pursue
 lawsuits against the Commonwealth and its territorial instrumentalities. Accordingly, on May 3,
 2017, the Oversight Board issued a restructuring certification pursuant to PROMESA sections
 104(j) and 206 and filed a voluntary petition for relief for the Commonwealth pursuant to
 PROMESA section 304(a), commencing the Commonwealth Title III Case. On May 21, 2017,
 the Oversight Board issued restructuring certifications for ERS and HTA pursuant to PROMESA
 sections 104(j) and 206 and filed voluntary petitions for relief for ERS and HTA pursuant to
 PROMESA section 304(a) in the Title III Court. On September 26, 2019, the Oversight Board
 issued a restructuring certification pursuant to PROMESA sections 104(j) and 206 and filed a
 voluntary petition for relief for PBA pursuant to PROMESA section 304(a), commencing the PBA
 Title III case. On June 29, 2017, the Court entered an order granting the joint administration of
 the Title III cases of the Commonwealth, HTA, and ERS, for procedural purposes only [ECF No.
 537]. On October 9, 2019, the Court entered an order granting the joint administration of the initial
 Title III cases and the new PBA Title III case for procedural purposes only.

          Appointment of Statutory Committees. On June 15, 2017, the UCC and the Retiree
 Committee were appointed [ECF Nos. 338, 340]. The current members of the UCC are (i) The
 American Federation of Teachers (AFT), (ii) Doral Financial Corporation, (iii) Genesis Security,
 (iv) Service Employees International Union (SEIU), (v) Unitech Engineering, (vi) Baxter Sales
 and Distribution Puerto Rico Corp., and (vii) Tradewinds Energy Barceloneta, LLC [ECF No.
 3927]. The current members of the Retiree Committee are (i) Blanca Paniagua, (ii) Carmen Nunez,
 (iii) Juan Ortiz, (iv) Lydia Pellot, (v) Marcos A Lopez, (vi) Miguel Fabre, (vii) Milagros Acevedo,
 and (viii) Rosario Pacheco [ECF No. 340].

         Mediation Team. On June 23, 2017, the Title III Court entered the Order Appointing
 Mediation Team [ECF No. 430] “to further the goal of the successful, consensual resolution of the
 issues raised in these debt adjustment proceedings.” The members of the Mediation Team
 currently include: (1) Judge Barbara Houser (Bankr. N.D. Tex.); (2) Judge Thomas Ambro (3d.
 Cir.); (3) Judge Nancy Atlas (S.D. Tex.); (4) Judge Victor Marrero (S.D.N.Y.); and (5) Judge
 Roberta Colton (Bankr. M.D. Fla.). The Oversight Board and Debtors owe their utmost gratitude
 to the mediators who are each sitting federal judges and who, without compensation, have


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 tirelessly and indefatigably worked successfully to promote increasing consensus and progress
 towards a revitalized Puerto Rico.

          B.       Hurricanes Irma, Maria, and Dorian, the January 2020 Earthquakes, and the
                   Oversight Board’s Response

        Hurricanes Irma and Maria. Shortly following the commencement of the Title III Cases,
 in September 2017, Hurricanes Irma and Maria struck Puerto Rico causing widespread damage
 throughout the island and exacerbating the economic challenges described above. Hurricane Maria
 made landfall in Puerto Rico on September 20, 2017, bringing sustained winds of 155 miles per
 hour and significant rainfall over a 30-hour period. Hurricane Maria crossed Puerto Rico
 diagonally, entering through the southeast and exiting through the northwest region of the island.
 The hurricane caused catastrophic destruction in Puerto Rico, leaving the island completely
 without power and flooding many streets and roads. Only two weeks prior to Hurricane Maria,
 Hurricane Irma—one of the strongest hurricanes ever recorded in the Atlantic—passed by Puerto
 Rico’s northern coast. As a result of the massive impact of the hurricanes, the Government and
 the Oversight Board undertook a series of actions to address the crisis.

         On September 21, 2017, the Oversight Board authorized the Government to “reallocate”
 up to $1 billion of its budget for emergency funding to recover from the hurricane’s effects and to
 ensure it had resources to begin immediate emergency response and recovery efforts in anticipation
 of federal funds. This would enable the Government to act quickly to reapportion (reprogram)
 funds as needed, without seeking the Oversight Board’s approval prior to movement of funds.

         On October 4, 2017, taking into account the need to focus on the needs of residents to
 restore basic services and the nature of the destruction across Puerto Rico, the Oversight Board
 withdrew the litigation it had initiated to enforce in court the Government’s compliance with
 certain measures in the certified Fiscal Plan and postponed the implementation of any furloughs
 measures for at least a year.

          The Oversight Board (its members and executive staff) was active in Washington D.C.
 advocating for the necessary resources to support Puerto Rico’s recovery, critical rebuilding
 efforts, and necessary liquidity to maintain services. The Oversight Board joined the Governor in
 requesting cost-sharing waivers, lifting funding caps, increased financial assistance, and most
 important, expedited responses to the Governor’s requests.164 The Oversight Board participated
 in hundreds of meetings in the U.S. Congress with Members of Congress and staff, dozens of
 meetings with the federal agencies, including OMB and U.S. Treasury, and dozens of
 informational meetings with reporters, think-tanks, universities, among others.

      Oversight Board officials appeared before several Congressional committees to testify. On
 November 7, 2017 Ms. Natalie A. Jaresko testified before the U.S. House of Representatives’
 Committee on Natural Resources “Examining Challenges in Puerto Rico’s Recovery and the Role


 164
       Oversight Board Urges Maximum Support for Puerto Rico with Trump Administration Officials, Congress, Press
       Release, September 30, 2017, https://drive.google.com/file/d/1kD5kywyNexMkbEdtjQynZax5gcnYPhSV/view.

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 of the Financial Oversight and Management Board.”165 On November 7, 2017, Mr. Noel Zamot
 testified before the U.S. House of Representatives’ Committee on Natural Resources “Examining
 Challenges in Puerto Rico’s Recovery and the Role of the Financial Oversight and Management
 Board.”166 On November 14, 2017, Ms. Natalie A. Jaresko testified before the U.S. Senate’s
 Committee on Energy and Natural Resources “Hurricane Recovery Efforts in Puerto Rico and the
 U.S. Virgin Islands.”

         The Oversight Board met with federal and territorial authorities in Puerto Rico, from the
 aftermath of the hurricane until present day, including dozens of meetings with FEMA officials at
 the local headquarters, and dozens of meetings with territorial officials.

        The Oversight Board wrote to the President, the Secretary of the Treasury and the
 Congressional Leadership formally requesting support. In a letter to Congressional Leadership
 dated October 3, 2017, the Oversight Board sought federal support in the following areas:
 maximum amount of federal assistance, access to an emergency liquidity program, parity treatment
 for Medicaid funding, and waivers of caps and local share requirements for federal assistance.167

       In an October 6, 2017 letter to President Trump, the Oversight Board reiterated the request
 to support Governor Rosselló’s request and those requests outlined in the letter to the
 Congressional leadership.168

        In an October 10, 2018 letter to Secretary Mnuchin, the Oversight Board urged the
 Department of the Treasury to consider the proposal that the Oversight Board developed with the
 Government to address the pressing liquidity needs of the Commonwealth and its
 instrumentalities.169

         Regarding liquidity, the Oversight Board collaborated with the Government to provide
 short term and medium term worst case liquidity estimates in light of the revenue shortfalls that

 165
       Testimony of Natalie Jaresko, Executive Director, Financial Oversight Management Board for Puerto Rico
       before the House Committee on Natural Resources: “Examining Challenges in Puerto Rico’s Recovery and the
       Role of the Financial Oversight and Management Board,” November 7, 2017,
       https://drive.google.com/file/d/1prDID1QmnX_nD2XwZmRl2AzAZzgIDsMA/view.
 166
       Written Testimony of Noel Zamot, Executive Director , Financial Oversight Management Board for Puerto Rico
       before the House Committee on Natural Resources: “Examining Challenges in Puerto Rico’s Recovery and the
       Role      of    the    Financial    Oversight and      Management      Board,”   November      7,    2017,
       https://drive.google.com/file/d/1p9zv_86gXQ7XeD1o9Gopw_xs5c-5KrGp/view.
 167
       Letter from José B. Carrión to United States Congressional Leaders,                   October    3,   2017,
       https://drive.google.com/file/d/1XkrMHCDxl-eiDbAcnjt8RFHrri7jAoCj/view.
 168
          Letter from José B. Carrión to United States President Trump,                      October    6,   2017,
       https://drive.google.com/file/d/1gkGAw4WcH9kIBNOsANsnTw7-yKoiCDkx/view.
 169
        Letter from Jose B. Carrión to United States Congressional Leaders, October 10, 2017,
       https://drive.google.com/file/d/1dHC0i3yiggV_5aDXG-Lmy0IkLR1tCih6/view; press release “The Governor and
       the Financial Oversight and Management Board Each Ask the Trump Administration to Address Liquidity Issues
       Following Hurricane Maria,” October 10, 2017, https://drive.google.com/file/d/1gJmhmQMusQDTo2dh6Bdh-
       0jYJHrU5aQH/view.

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 the Commonwealth could experience, and to address the funds that will be needed to advance
 rebuilding efforts. The Oversight Board held several meetings with the U.S. Treasury to discuss
 Puerto Rico’s access to CDLs.

          Additionally, the Oversight Board certified the recovery plan on August 28, 2018, as
 directed by Congress in the Bipartisan Budget Act, but provided two caveats to its certification.
 First, the Oversight Board expressed concern that the recovery plan lacked sufficient detail of
 funding sources and estimates a much greater amount of federal funding than the certified fiscal
 plan for Puerto Rico projects. Second, the Oversight Board indicated that the recovery plan did
 not address oversight of federal funds and the recovery process. Moreover, the Oversight Board
 did not receive the recovery plan for consideration until after the Government had provided it to
 Congress.

         Hurricane Dorian. On August 27, 2019, President Trump issued an emergency
 declaration to address Hurricane Dorian, which made landfall in Puerto Rico on August 26, 2019.
 The declaration authorized FEMA to coordinate disaster relief efforts. On August 28, 2019, the
 Oversight Board authorized the use of $260 million in aggregate emergency reserve funds from
 fiscal year 2019 and fiscal year 2020 to address Hurricane Dorian.

         January 2020 Earthquakes. Beginning on December 28, 2019, a series of earthquakes
 and aftershocks struck Puerto Rico. More than 2,000 earthquakes or tremors have struck the island
 since then. The earthquakes caused both significant damage to homes and buildings on Puerto
 Rico’s southern coast as well as significant damage to PREPA’s Costa Sur power plant, which
 typically generates as much as 25% of the island’s power. After the 6.5 magnitude earthquake on
 January 7, 2020, FEMA announced federal emergency aid had been made available to Puerto Rico
 to supplement local response efforts, following a request from Governor Vazquez. The Oversight
 Board also approved the Commonwealth’s request for access to emergency reserve funds from
 fiscal years 2019 and 2020 in the amount of approximately $260 million to manage near-term
 earthquake emergency related expenses. These emergency reserve funds were included and
 certified by the Oversight Board in the fiscal 2019 and 2020 budgets so that the Commonwealth
 would be prepared to fund emergency needs in the event of another natural disaster following
 Hurricane Maria. On January 16, 2020, President Trump signed a major disaster declaration
 authorizing access to Category A and B relief at a reimbursement rate of 75% federal and 25%
 local. The declaration supplements local recovery efforts in the aftermath of the continued
 earthquakes. Currently, 16 municipalities are covered by the major disaster declaration enabling
 a range of federal assistance, including certain provisions under the Stafford Act. The
 municipalities under the current disaster declaration include: Adjuntas, Cabo Rojo, Corozal,
 Jayuya, Lajas, Lares, Maricao, San Germán, San Sebastián, Villalba, Guánica, Guayanilla,
 Peñuelas, Ponce, Utuado and Yauco.

         On January 16, 2020, the U.S. House Appropriations Committee also introduced a
 supplemental spending bill that would provide Puerto Rico with an additional $3.35 billion in
 disaster relief to assist with damage caused by the ongoing earthquakes and seismic activity. The
 $3.35 billion package includes $100 million for education, $1.25 billion to rebuild roads and $2
 billion in additional CDBG-DR disaster relief.


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            1.       Federal Disaster Assistance Funding

                              Extent of Damage

        There are multiple views on how to measure the impact and extent of damage caused by
 Hurricanes Irma and Maria and recent earthquakes—ranging from assessing only the damage to
 productive capital assets, to the cost of all rebuilding needed for the Commonwealth. The
 following sources provide various methods of measuring Hurricanes Irma’s and Maria’s impact
 and extent of damage:

           Puerto Rico's Build Back Better (BBB) plan, published in November 2017 estimates
            rebuilding cost at $94.4 billion—this includes costs related to healthcare, resiliency spend,
            among others.170

           Puerto Rico’s “Transformation and Innovation in the Wake of the Devastation,” certified
            by the Oversight Board in August 2018, outlines the Government of Puerto Rico’s
            perspective on the full set of capital investments needed for Puerto Rico to recover from
            Hurricanes Irma and Maria. Fully funding these roughly 270 actions would require
            approximately $139 billion over years 2018-2028.171

           The NOAA estimate of damage in Puerto Rico and the U.S. Virgin Islands due to Maria is
            $90 billion, with a 90% confidence range of +/- $25.0 billion, or $65.0 to $115.0 billion.172

           In December 2018, the Puerto Rico Planning Board issued a report citing that the storm's
            impact on the economy was $43.135 billion,173 which included both physical damage and
            business interruption (e.g., losses due to systems going down, etc.).

 Preliminary damage assessments for the devastating earthquakes is still underway but is expected
 to be considerable. As estimates are confirmed, a new fiscal plan will be certified to reflect the
 new information.

                              Federal Aid Provided and To Be Provided

         The May 2019 Fiscal Plan projects that approximately $83 billion of disaster relief funding
 in total from federal and private sources will be disbursed in the reconstruction effort. Such
 amount will be used for a mix of funding for individuals (e.g., reconstruction of houses, personal

 170
          Governor of Puerto Rico, Build Back Better Puerto Rico (Nov. 2017),                          available    at
       http://www.documentcloud.org/documents/4198852-Build-Back-Better-Puerto-Rico.html.
 171
        Central Office for Recovery, Reconstruction and Resiliency, Transformation and Innovation in the Wake of
       Devastation: An Economic and Disaster Recovery Plan for Puerto Rico (Aug. 8, 2017), available at
       https://recovery.pr/tpbackend_prod/api/document/download/566.
 172
        Richard J. Pasch, Andrew B. Penny, & Robbie Berg, National Hurricane Center Tropical Cyclone Report:
       Hurricane     Maria     (National     Hurricane    Center)  (Feb.    14,    2019),    available    at
       https://www.nhc.noaa.gov/data/tcr/AL152017_Maria.pdf.
 173
       See Antonio R. Gómez, Junta de Planificación revisa sus números y reporta un alza, Negocios, Dec. 4, 2018.

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 expenditures related to the hurricanes such as clothing and supplies), funding for the public (e.g.,
 reconstruction of major infrastructure, roads, and schools), and to cover part of the
 Commonwealth’s share of the cost of disaster relief funding (recipients often must match some
 portion of federal public assistance spend).174

         Of the total $83 billion, $49 billion is estimated to come from FEMA’s Disaster Relief
 Fund (“DRF”) for public assistance, hazard mitigation, mission assignments, and individual
 assistance. An estimated $8 billion will come from private and business insurance payouts, and
 $6 billion is related to other federal funding. The May 2019 Fiscal Plan includes approximately
 $20 billion from the CDBG-DR.

            The major sources of disaster relief funding are detailed below:

 ■      FEMA Disaster Relief Fund (DRF): FEMA provides Individual Assistance to individuals
        and families who have sustained uncovered losses due to disasters. FEMA also provides Public
        Assistance for infrastructure projects and other permanent improvements. FEMA’s Hazard
        mitigation funds projects to reduce or eliminate long-term risks. FEMA’s Mission
        Assignments provide emergency work and debris removal services primarily in the immediate
        aftermath of the disaster.175
 ■      HUD Community Development Block Grant-Disaster Recovery (CDBG-DR): Based on
        the Action Plan submitted by the Puerto Rico Department of Housing,176 HUD provides
        CDBG-DR funding that can be used for assistance to individuals (e.g., housing repair) and
        public assistance (e.g., infrastructure development), or by the Government for certain
        operational costs (e.g., to cover their disaster relief cost match). The 2019 Fiscal Plan assumes,
        based on directives in the supplemental appropriation included in the Bipartisan Budget Act of
        2018, that approximately $2 billion will be used to repair Puerto Rico’s electric infrastructure
        (Public Assistance), and that approximately $2.4 billion in CDBG funding will be used to cover
        cost share for the Commonwealth and its instrumentalities for seven years per statute. On
        January 16, 2020, HUD Secretary Ben Carson formally announced a grant agreement with
        Puerto Rico, making an additional $8.2 billion available to Puerto Rico to help with disaster
        recovery efforts. HUD also released a draft notice that was to be submitted in the Federal
        Register to provide Puerto Rico with the guidelines for establishing its plan to use long-term
        mitigation funds appropriated by Congress.


 174
      Puerto Rico’s cost-match responsibility was estimated using FEMA-provided data, adjusted by category as
     necessary for waivers and exceptions
 175
      The 2019 Fiscal Plan does not attribute economic impact FEMA’s Administrative funding, which is used for
     FEMA’s personnel (primarily outside of Puerto Rico), travel, and other internal costs.
 176
       The Governor of Puerto Rico appointed the Puerto Rico Department of Housing as the responsible agency to
       administer the CDBG-DR grant program in close collaboration with the COR3. The U.S. Department of Housing
       and Urban Development (HUD) approved the Action Plan corresponding to the first allocation of $1.5 billion on
       July 29, 2018. On February 28, 2019, HUD approved Substantial Amendment 1 to the Action Plan. Non-
       Substantial Amendment 2 was submitted to HUD in August 2019. Action Plan and subsequent amendments
       available at https://www.cdbg-dr.pr.gov/en/action-plan/.

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 ■      Private insurance funding: Large personal property and casualty losses have been incurred
        in the aftermath of Hurricane Maria. Early analysis of data from the Office of the Insurance
        Commissioner of Puerto Rico, adjusted for self-insured and other types of coverage, was used
        to determine the amount that will be paid out to individuals and businesses for major damages.
 ■      Other supplemental federal funding: Additional federal funding has been allocated to
        various agencies and projects in Puerto Rico following the hurricane. This money is directed
        at a wide range of recovery efforts, from reconstruction of damaged buildings (e.g., funding to
        repair damage to Job Corps centers in Puerto Rico) to funding for health programs and
        environmental management (e.g., USDA funding to repair water systems in rural areas).


           C.       Claims Process and Bar Date

             1.       Section 924/925 Lists

         Bankruptcy Code section 924 requires debtors to file a list of creditors. Bankruptcy Code
 section 925 provides that “[a] proof of claim is deemed filed” for claims set forth on the list of
 creditors required by Bankruptcy Code section 924 except as to claims that are “listed as disputed,
 contingent, or unliquidated.” 11 U.S.C. § 925.177

             2.       Bar Date Orders

         Pursuant to the Order (A) Establishing Deadlines and Procedures for Filing Proofs of
 Claims and (B) Approving Form and Manner of Notice Thereof [ECF No. 2521] (the “Initial Bar
 Date Order”) and Order (A) Extending Deadlines for Filing Proofs of Claim and (B) Approving
 Form and Manner of Notice Thereof [ECF No. 3160] (together with the Initial Bar Date Order, the
 “Bar Date Orders”), the Title III Court established the following bar dates for filing proofs of claim
 in the Title III Cases:

                 June 29, 2018 at 4:00 p.m., Atlantic Standard Time, as the general bar date for the filing
                  of all proofs of claim (the “General Bar Date”), except as noted below;

                 the later of (a) the General Bar Date or (b) 4:00 p.m., Atlantic Standard Time, on the
                  date that is the first business day that is 35 days after the date of entry of the applicable
                  order rejecting an executory contract or unexpired lease as the bar date for any Claims
                  arising from the rejection of such executory contract or unexpired lease;

                 the later of (a) the General Bar Date or (b) 4:00 p.m., Atlantic Standard Time, on the
                  date that is 35 days after the date that a notice of an amendment to the List of Creditors



 177
       See Notice of Filing of Creditor List for the Commonwealth of Puerto Rico, [ECF No. 1215]; Notice of Filing of
       Amendments to Creditor List for the Commonwealth of Puerto Rico, [ECF No. 2582]; Notice of Filing of Creditor
       List for the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, [17-BK-3567-
       LTC ECF No. 207]; Notice of Filing of Creditor List for Puerto Rico Public Buildings Authority, [19-bk-5523 ECF
       No. 33].

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                  is served on a claimant as the bar date for any Claims relating to such amendment to
                  the List of Creditors.

         The Bar Date Orders authorized the following parties to file master proofs of claim on
 behalf of the constituencies described below:

                 The indenture trustees, fiscal agents, or any similar agent or nominee (each a “Bond
                  Representative”) for each respective series of bonds issued by a debtor or non-debtor
                  (to the extent such Bond Representative exists) may file a master proof of claim against
                  the applicable debtor on behalf of themselves and all holders of bond claims for the
                  respective series of bonds for obligations arising under the respective trust agreements,
                  resolutions, or similar bond documents;

                 Each union may file a separate master proof of claim on behalf of its respective
                  constituents against the applicable Debtor on account of all obligations due under their
                  respective CBAs or applicable statutes; and

                 Each agent under any credit agreement may file a separate master proof of claim against
                  the applicable debtor on behalf of itself and all lenders under such credit agreement.

             3.      ERS Pre-Solicitation Procedures

        On February 11, 2020, the Debtors filed a motion178 to establish procedures to obtain
 complete or updated information from holders of Active and Retired Employee Retirement Benefit
 Claims (Class 39), which will assist the Debtors to reduce the number of solicitation packages
 returned undeliverable, and ensure the claim amounts for holders of claims in Active and Retired
 Employee Retirement Benefit Claims (Class 39) of the Plan are accurately calculated. On
 February 20, 2020, the UCC filed a limited response to the Debtors’ motion [ECF No. 11335]. On
 February 26, 2020, the Debtors filed a reply in support of the motion.

        [Pursuant to the Order (A) Establishing Pre-Solicitation Procedures for Certain Holders
 of Retirement Benefit Claims, (B) Establishing Procedures and Deadlines for Submission of
 Information Necessary for Solicitation of Acceptance or Rejection of Plan of Adjustment, and (C)
 Approving Form and Notice Thereof [Case No. 17-3566, ECF No. ] (the “ERS Pre-Solicitation
 Procedures Order”), the Title III Court established the following Pre-Solicitation Procedures in
 ERS’s Title III Case:

                 May 7, 2020 is the Return Date by which Employee Claimants must submit the
                  Information Form with the Requested Information to Prime Clerk;



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        Motion of the Commonwealth of Puerto Rico and the Employees Retirement System of the Government of the
       Commonwealth of Puerto Rico for an Order (A) Establishing Pre-Solicitation Procedures for Certain Holders of
       Retirement Benefit Claims, (B) Establishing Procedures and Deadlines for Submission of Information Necessary
       for Solicitation of Acceptance or Rejection of Plan of Adjustment by Such Claimants, and (C) Approving Form and
       Manner of Notice Thereof, [ECF No. 10839].

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            all Information Forms must: (i) be written in English or Spanish; (ii) include an original
             or electronic signature of the Employee Claimant or an authorized agent of the
             Employee Claimant; and (iii) substantially conform to the Information Form; and

            all Information Forms shall be delivered and received by Prime Clerk no later than 4:00
             p.m. (Atlantic Standard Time) on the Return Date]

        4.       [The PBA Bar Date Order

         Pursuant to the Order (A) Establishing Deadlines and Procedures for Filing Proofs of
 Claims and (B) Approving Form and Manner of Notice Thereof [Case No. 19-05523-LTS, ECF
 No. ____] (the “PBA Bar Date Order”) the Title III Court established the following bar dates for
 filing proofs of claim in PBA’s Title III Case:

            April 30, 2020 at 4:00 p.m., Atlantic Standard Time, as the general bar date for the
             filing of all proofs of claim (the “General Bar Date”), except as noted below;

            the later of (a) the General Bar Date or (b) 4:00 p.m., Atlantic Standard Time, on the
             date that is the first business day that is 35 days after the date of entry of the applicable
             order rejecting an executory contract or unexpired lease as the bar date for any PBA
             Claims arising from the rejection of such executory contract or unexpired lease;

             the later of (a) the General Bar Date or (b) 4:00 p.m., Atlantic Standard Time, on the
             date that is 35 days after the date that a notice of an amendment to the PBA Creditor
             List is served on a claimant as the bar date for any PBA Claims relating to such
             amendment to the PBA Creditor List.

        [The PBA Bar Date Order authorizes the following parties to file master proofs of claim
 on behalf of the constituencies described below:

            The Bond Representatives for each respective series of bonds issued by PBA (to the
             extent such Bond Representative exists) may file a master proof of claim against PBA
             on behalf of themselves and all holders of bond claims for the respective series of bonds
             for obligations arising under the respective trust agreements, resolutions, or similar
             bond document; and

            Each union may file a separate master proof of claim on behalf of its respective
             constituents against PBA on account of all obligations due under their respective CBAs
             or applicable statutes.]

        5.       Alternative Dispute Resolution Procedures

         On June 5, 2019, the Debtors filed the Motion for Entry of an Order (A) Authorizing
 Alternative Dispute Resolution Procedures, (B) Approving Additional Forms of Notice, (C)
 Approving Proposed Mailing, and (D) Granting Related Relief [ECF No. 7224], seeking an order
 establishing an alternative dispute resolution procedure (“ADR Procedures”) for resolving certain
 general unsecured claims, including unliquidated litigation claims, asserted against the
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 Commonwealth, PBA, or ERS (as well as other Title III Debtors), and approving a proposed
 mailing to creditors whose claims did not provide sufficient information to enable the Debtors to
 reconcile their claims.

        At the July 24, 2019 omnibus hearing, the Court requested certain modifications to the
 proposed ADR Procedures. By order dated August 13, 2019, the Title III Court approved the
 proposed mailing, and adjourned consideration of the ADR Procedures and forms of notice
 pending the submission of revised proposed procedures and forms of notice consistent with the
 guidance provided by the Court.

          On January 7, 2020, the Debtors filed their Amended Motion for Entry of an Order (A)
 Authorizing Alternative Dispute Resolution Procedures, (B) Approving Additional Forms of
 Notice, (C) Approving Proposed Mailing, and (D) Granting Related Relief [ECF No. 9718] (the
 “Amended ADR Motion”). The Amended ADR Motion seeks approval of amended ADR
 procedures (the “Amended ADR Procedures”) that would allow the Commonwealth, ERS, HTA,
 PREPA, and PBA, through the Oversight Board, and/or the Title III Court to identify claims that
 will be resolved through ADR. The Amended ADR Procedures establish a process for the Debtors
 and the claimants to attempt to resolve the amount of the claim through an exchange of offers and
 counteroffers, and if no resolution is reached, a streamlined mediation procedure. If the claim
 remains unresolved following these processes, the Amended ADR Procedures further provide for
 the claimant to elect whether to resolve their claim using one of three methods: (1) litigation before
 the Commonwealth’s courts (subject to certain restrictions); (2) binding arbitration; or (3)
 litigation before the Title III Court. At the January 29, 2020 omnibus hearing, the Court approved
 the Amended ADR Motion, subject to the submission of revised procedures and forms of notice
 consistent with the Court’s comments on the record at the hearing.

        6.      Administrative Claims Reconciliation

        On October 8, 2019, the Debtors filed their Motion for Entry of an Order (A) Authorizing
 Administrative Reconciliation of Certain Claims, (B) Approving Additional Forms of Notice, (C)
 Approving Proposed Mailing, and (D) Granting Related Relief [ECF No. 8827] (the “ACR
 Motion”). The ACR Motion seeks approval of ACR procedures (the “ACR Procedures”) that
 would allow the Commonwealth, ERS, HTA, PREPA, and PBA, through the Oversight Board,
 and/or the Title III Court to determine which claims will be resolved through ACR. The ACR
 Procedures establish a process for the Court to permit certain types of claims which are
 administrative in nature—including tax refund claims, union grievance claims, public employee
 claims, and pension claims—to be resolved by the Commonwealth’s existing administrative
 processes. At the October 30, 2019 omnibus hearing, the Court provisionally approved the ACR
 Motion, pending the submission of revised proposed ACR Procedures. Those revised proposed
 ACR Procedures were filed on December 18, 2019 [ECF No. 9617]. On February 5, 2020, the
 Court entered a notice requesting the Debtors submit a revised Spanish-language version of the
 form of notice of transfer to administrative reconciliation procedures [ECF No. 10699].




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        7.      Significant Claim Objections Filed to Date

          As of the date of this Disclosure Statement, approximately 110,841 proofs of claim have
 been filed in the Title III Case against the Commonwealth, totaling approximately $33.2 trillion in
 asserted liabilities plus unliquidated amounts. Approximately 52,665 proofs of claim have been
 filed in relation to, or reclassified to be asserted against, ERS totaling approximately $10.2 trillion
 in asserted liabilities, plus unliquidated amounts. Approximately 2,244 proofs of claim have been
 filed in relation to, or reclassified to be asserted against, ERS, totaling approximately $10.2 trillion
 in asserted claims, in addition to unliquidated amounts asserted. In accordance with the terms of
 the Bar Date Orders, the Debtors believe that many of these claims need not have been filed at all,
 or suffer from some other flaw, such as being subsequently amended or duplicative of other proofs
 of claim, including master proofs of claim filed against the Debtors on behalf of certain
 bondholders.

         Pursuant to the Order (A) Approving Limited Omnibus Objection Procedures, (B) Waiving
 the Requirement of Bankruptcy Rule 3007(e)(6), and (c) Granting Related Relief [ECF Nos. 4230,
 4230-1] (the “Initial Objection Procedures”), and the Order (A) Approving Amended Omnibus
 Objection Procedures, (B) Waiving the Requirement of Bankruptcy Rule 3007(e)(6), (C),
 Approving Additional Forms of Notice, and (D) Granting Related Relief [ECF No. 7440], the
 Commonwealth, HTA, ERS, and COFINA, through the Oversight Board have filed ninety-six
 omnibus objections and fifty-three individual objections to claims. Those omnibus objections
 sought to disallow certain claims on the bases that they lacked sufficient information to permit the
 Oversight Board to reconcile the claim, were asserted against the incorrect debtor, were
 subsequently amended, were duplicative of other proofs of claim, or, otherwise asserted amounts
 for which the asserted debtor entity are not liable. ERS and the Commonwealth have also filed
 individual objections and omnibus objections to proofs of claim filed by the ERS Fiscal Agent and
 certain ERS bondholders against ERS and the Commonwealth.

         Significant claim objections were also filed to certain bondholder claims, and are described
 in section III.B.1 of this Disclosure Statement.

 D.     Rejection or Assumption of Unexpired Leases of Nonresidential Real Property

         The Commonwealth is party to hundreds of nonresidential real estate leases (the “Real
 Estate Leases”). The decision to assume or reject the Real Property Leases involves the
 consideration of various factors, not all of which can be addressed expeditiously. On July 21,
 2017, the Commonwealth Debtor filed a motion seeking approval of an extension of time to
 assume or reject any unexpired Real Estate Leases pursuant to Bankruptcy Code section 365(d)(4)
 (the “365(d)(4) Deadline”), made applicable to these cases by PROMESA section 301(a) [ECF
 No. 705]. On August 10, 2017, the Court entered an order extending the deadline to November
 29, 2017 [ECF No. 994]. Following the filing of the PBA Title III case, the Court extended the
 order entered in the Commonwealth case to PBA, and provided that PBA’s deadline to assume or
 reject leases is extended to April 23, 2020, with all rights reserved for PBA to seek further
 extensions [Case No. 19-05523-LTS, ECF No. 13].



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         The Commonwealth Debtor sought further extensions of the 365(d)(4) Deadline with the
 lessors’ consent pursuant to Bankruptcy Code section 365(d)(4)(B)(ii). For that purpose, the
 Commonwealth Debtor bifurcated its deadline extensions requests into (i) PBA Leases and (ii)
 leases with other entities as lessors.

        (i) PBA Leases. On February 13, 2018, the Commonwealth Debtor sought to extend the
            365(d)(4) Deadline for PBA Leases through and including September 25, 2018, with PBA
            Debtor’s consent [ECF No. 2494]. On February 28, 2019, the QTCB Noteholder Group
            filed the Reservation of Rights of the QTCB Noteholder Group to Motion for Entry of Third
            Order Extending Time to Assume or Reject Unexpired Leases of Nonresidential Real
            Property Pursuant to Bankruptcy Code section 365(d)(4) [ECF No. 2602]. After a
            hearing, a revised order was granted extending the 365(d)(4) Deadline for PBA Leases
            through and including July 27, 2018, and it expressly preserved bondholders’ rights.179
            Thereafter, the Commonwealth Debtor, with PBA’s consent, has been further extending
            the 365(d)(4) Deadline for PBA Leases. The current 365(d)(4) Deadline for PBA Leases
            is July 29, 2020 [ECF No. 10290].

        (ii) Leases with Other Entities. On November 22, 2017, the Commonwealth Debtor sought to
             extend the 365(d)(4) Deadline for leases with other entities until the earlier of (i) January
             1, 2019, (ii) the date of expiration or termination of such leases pursuant to their own terms,
             or (iii) the date on which a plan of adjustment is confirmed for each Debtor [ECF No.
             1852]. The Commonwealth is party to leases with hundreds of lessors. Despite contacting
             each lessor, it was unlikely the Commonwealth Debtor could receive affirmative consent
             from each lessor as a direct consequence of the widespread destruction and mass power
             outages on the island of Puerto Rico following Hurricane Maria that has made it extremely
             difficult for parties to communicate with each other. In turn, the Debtors and their advisors
             had been unable to obtain written consent of all their landlords to grant the requested
             extension of time for the Debtors to assume or reject Real Property Leases. Accordingly,
             the Commonwealth Debtor sought to extend the 365(d)(4) Deadline for leases with other
             entities that either provided affirmative consent or did not expressly decline such consent.
             The rights of parties whose consent was “deemed” because consent was not expressly
             denied were preserved [ECF No. 2292]. No party expressly denied consent. On December
             13, 2018 and January 22, 2019, the Commonwealth Debtor sought to further extend the
             365(d)(4) Deadline for leases with other entities until the earlier of (i) January 1, 2020, (ii)
             the date of expiration or termination of such leases pursuant to their own terms, or (iii) the
             date on which a plan of adjustment is confirmed for each Debtor, using the same
             mechanism of “deemed” consent. On January 29, 2019, the Court entered an order
             extending the 365(d)(4) Deadline through the earlier of (i) January 1, 2020, (ii) the date of
             expiration or termination of such leases pursuant to their own terms, or (iii) the date on

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       “Except as expressly stated in this Order, nothing in the Motion or this Order shall (a) impair or modify the rights
       and claims of PBA under or related to the PBA Leases under PROMESA or applicable law; nor (b) impair or
       modify the rights or claims of any holders of bonds issued by PBA, either directly or as third party beneficiaries,
       under or related to the PBA Leases under PROMESA or applicable law.” Order Granting Motion for Entry of A
       Third Order Extending Time to Assume or Reject Unexpired Leases of Nonresidential Real Property Under Which
       the Puerto Rico Public Buildings Authority is the Lessor Pursuant to Bankruptcy Code Sections 365(d)(4), [ECF
       No. 2689].
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         which a plan of adjustment is confirmed for each Debtor [ECF No. 4977], except with
         respect to four leases whose landlords expressly denied consent. Such four leases are
         deemed rejected pursuant to Bankruptcy Code section 365(d)(1). On December 17, 2019,
         the Commonwealth Debtor again sought to further extend the 365(d)(4) Deadline for leases
         with other entities until the earlier of (i) January 1, 2021, (ii) the date of expiration or
         termination of such leases pursuant to their own terms, or (iii) the date on which a plan of
         adjustment is confirmed for each Debtor, using the same mechanism of “deemed” consent
         [ECF No. 9610]. The Court entered an order extending the 365(d)(4) Deadline through the
         earlier of (i) January 1, 2021, (ii) the date of expiration or termination of such leases
         pursuant to their own terms, or (iii) the date on which a plan of adjustment is confirmed for
         each Debtor [ECF No. 9670]. There were no leases whose landlords expressly denied
         consent.

 E.      Title III Stay Matters

         1.      Generally

         Upon commencement of a Title III case, Bankruptcy Code section 362(a), made applicable
 by PROMESA section 301(a), provides for an automatic stay of certain actions by non-debtor third
 parties (the “Title III Stay”). On June 29, 2017, the Title III Court confirmed the applicability of
 Bankruptcy Code section 362(a) to the Title III Cases pursuant to the Order Pursuant to
 PROMESA Section 301(a) and Bankruptcy Code Sections 105(a), 362(a), 365 and 922 Confirming
 (I) Application of the Automatic Stay to Government Officers, Agents, and Representatives, (II)
 Stay of Prepetition Lawsuits, and (III) Application of Contract Protections [ECF No. 543]. Since
 the applicable Petition Date, the Debtors have taken steps to preserve the important “breathing
 spell” the Title III Stay provides, address the Debtors’ financial condition, and expeditiously
 develop a plan of adjustment.

         2.      Lift Stay Protocol

          In order to reduce the burden on the Title III Court, and to efficiently address requests for
 relief from the Title III Stay in these unprecedented Title III Cases, the Debtors developed a
 protocol by which parties may request relief from the Title III Stay, and by which the Debtors may
 consensually resolve such requests. On August 17, 2017, the Title III Court entered an order
 implementing a protocol for filing motions for relief from the Title III Stay [ECF No. 1065-1] (the
 “Lift Stay Protocol”). Under the Lift Stay Protocol, a movant is required to (a) send notice to
 counsel to the Oversight Board and AAFAF to advise them of movant’s intent to seek relief from
 the Title III Stay at least fifteen (15) business days prior to filing a motion seeking such relief, and
 (b) meet and confer with the Debtors during such 15-day period. On October 24, 2017, the Lift
 Stay Protocol was amended (a) to allow the Debtors (i) to enter into stipulations modifying or
 lifting the Title III Stay without further order of the Court, and (ii) in their discretion, to modify or
 lift the Title III Stay with respect to any prepetition ordinary course civil action against a debtor
 without the filing of a notice or order of the Court, and (b) to require the Debtors to file an omnibus
 lift stay motion every 60 days, identifying each modification to the Title III Stay agreed to by the
 Debtors during the relevant period and seeking retroactive court approval of such modifications as
 of the relevant modification date.

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             3.      Omnibus Lift Stay Motions

       Since the implementation of the Lift Stay Protocol, the Debtors have filed fourteen
 omnibus lift stay motions, involving approximately 2,337 actions, seeking retroactive court
 approval of modifications to the Title III Stay.

             4.      Significant Stay Matters

                              Gracia-Gracia, et al. v. Commonwealth of Puerto Rico, Case No.
                              18-1463 (1st Cir.)

         A class of vehicle owners who purchased private insurance after paying mandatory
 premiums (“Gracia-Gracia”) filed an action in the Commonwealth Court of First Instance seeking
 reimbursement of duplicative automobile insurance premiums paid to the Commonwealth
 (collectively, the “Gracia-Gracia Prepetition Action”). Gracia-Gracia alleged that the transfer of
 duplicative premiums to the Secretary of the Treasury violated the Takings Clause, Due Process
 Clause, and Equal Protection Clause of the U.S. Constitution. Following a number of appeals and
 decisions on remand, the First Circuit determined that due process required the Commonwealth to
 give claimants at least one year to make reimbursement claims after adequate notice.

        In 2016, following the First Circuit’s decision, the parties to the Gracia-Gracia Prepetition
 Action entered into settlements that require the Commonwealth to provide notice to class members
 about claims procedures for reimbursement of duplicative premiums, the processing of claims for
 reimbursement, and the payment of attorneys’ fees.

        On February 7, 2018, Gracia-Gracia filed a motion to modify the automatic stay to allow
 the enforcement of the entered settlements. The Title III Court granted the request in part,
 modifying the automatic stay to permit the notice and claim submission and review process, but
 denying the request in all other respects, including the payment of reimbursements and attorneys’
 fee awards.

         Plaintiffs appealed and argued the duplicate premiums held in the Commonwealth’s
 reserve account, and subject to the automatic stay, belong to the class members and are not the
 property of Debtors. The Debtors disagreed with this contention. The appeal was argued to the
 First Circuit on June 5, 2019.

         By opinion dated September 25, 2019, the United States Court of Appeals for the First
 Circuit affirmed the portion of the Title III Court’s decision denying stay relief in respect of the
 unsegregated insurance premiums, and in respect of the segregated premiums, remanded for a new
 determination on stay relief based on a preliminary determination of whether the premium funds
 were property of the Commonwealth or property of plaintiffs.180 On October 16, 2019, the Court
 issued a mandate in connection with the judgement dated September 25, 2019. On January 22,
 2020, Gracia-Gracia and the Commonwealth informed the Title III Court they had reached a

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        Claims of the Gracia-Gracia claimants are unimpaired pursuant to the Plan because the Plan proposes to assume
       the settlement agreements.

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 stipulation to resolve the Gracia-Gracia Plaintiffs’ request for stay relief. The matter has been
 adjourned until April 22, 2020.181

                              Autonomous Municipality of Ponce v. Commonwealth of Puerto Rico,
                              Case No. 18-2194 (1st Cir.)

        On May 4, 2018, the Autonomous Municipality of Ponce (“AMP”) filed a motion to
 modify the automatic stay to allow AMP to enforce a judgment in a previous action; Municipio de
 Ponce v. Autoridad de Carreteras y Transportación, Case No. AC93-0485. The former judgment
 required the Commonwealth, HTA, and PREPA to complete certain municipal projects related to
 an agreement between the Commonwealth and AMP. On November 2, 2018, the Title III Court
 denied AMP’s request to modify the stay because AMP failed to demonstrate cause.

          AMP’s appeal of the Title III Court’s decision was docketed on December 27, 2018, as
 Case No. 18-2194. AMP filed its opening brief on March 18, 2019, and the Oversight Board filed
 a brief in opposition on May 1, 2019. On June 5, 2019, AMP filed its reply. Oral argument took
 place on September 11, 2019. By opinion dated September 25, 2019, the United States Court of
 Appeals for the First Circuit affirmed the Title III Court’s decision denying stay relief and ruled
 the municipality’s right to specific performance was a claim because money damages could be
 substituted. On October 16, 2019, the First Circuit issued a mandate.

                              PFZ Properties, Inc. v. Commonwealth of Puerto Rico, Adv. Proc.
                              No. 18-00056

        The Commonwealth commenced eminent domain proceedings in 2008 against PFZ
 Properties, Inc. (“PFZ”) with respect to certain beachfront land comprising approximately 1,300
 acres located in the Municipality of Loiza. The Commonwealth voluntarily dismissed the
 proceedings without prejudice due to a lack of resources to litigate or pay PFZ.

        On May 14, 2018, PFZ commenced an adversary proceeding seeking (i) a declaration that
 the Commonwealth Debtor effected a regulatory taking of the property for which the Takings
 Clause of the Fifth Amendment of the U.S. Constitution requires just compensation in the amount
 of $75.55 million, and (ii) interest plus attorney’s fees on account of certain conduct of the
 Commonwealth which PFZ alleges caused unreasonable delay, and for any damages it may have
 suffered on account of the taking of the property and subsequent voluntary dismissal of
 proceedings.

          PFZ and the Commonwealth entered into a stipulation whereby PFZ agreed to dismiss the
 adversary proceeding without prejudice and the Commonwealth Debtor agreed to partially lift the
 Title III stay for the limited purpose of determining the amount, if any, of PFZ’s claims. On July
 30, 2018, the Title III Court dismissed the action without prejudice.




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       Order in Connection with Informative Motion Regarding Motion Requesting Relief of Stay Under 362(d)(1) of the
       Bankruptcy Code (Docket Entry No. 11756), [ECF No. 1171].

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                        Mandry-Mercado v. Commonwealth of Puerto Rico, et al., 17-2168, 18-
                        2035

         Pro se plaintiff Javier Mandry-Mercado (“Mandry-Mercado”) filed a combined motion to
 vacate and reconsider an order granting limited relief from the automatic stay. Judge Swain’s
 order allowed the parties in a long-running inverse condemnation dispute to continue litigating in
 the Commonwealth Court of First Instance. Plaintiff filed his motion on the grounds that the
 attorney who filed the motion for relief provided misleading information to the Court. On April
 17, 2018, Judge Swain issued an order denying Mandry-Mercado’s motion to vacate and
 reconsider, and he filed a notice of appeal, which was docketed as Case No. 17-2168. Judge Swain
 issued an order certifying that Mandry-Mercado’s appeal “would not be taken in good faith,”
 which prompted the First Circuit to issue an order directing him to show cause pursuant to 28
 U.S.C. § 1915(a)(3). Mandry-Mercado filed a response pursuant to the First Circuit’s order on
 September 18, 2018.

          On November 19, 2018, the case was submitted to the First Circuit. On January 30, 2019,
 the First Circuit entered a judgement denying Plaintiff’s request to proceed in forma pauperis and
 affirming the orders on appeal for lack of a substantial question. Plaintiff Mandry-Mercado filed
 a petition for rehearing on February 11, 2019, which the First Circuit denied on May 16, 2019. On
 May 23, 2019, the First Circuit issued a mandate.

        On July 6, 2018, Mandry-Mercado filed a motion seeking standing to assert certain claims
 on behalf of the Commonwealth. On July 11, 2018, Judge Swain denied the motion. Mandry-
 Mercado appealed, and on October 22, 2018, the notice of appeal was docketed by the First Circuit
 as Case No. 18-2035. On November 13, 2018, the First Circuit issued a notice of default. On
 February 5, 2019, it entered a judgment dismissing the appeal. On February 6, 2019, Mandry-
 Mercado filed a motion for reconsideration.

                        The DRA Parties’ Lift-Stay Motion

         On June 25, 2019, Cantor-Katz Collateral Monitor LLC, monitor for the Government
 Development Bank Debt Recovery Authority (“DRA”), and AmeriNational Community Services
 LLC, servicer for the GDB DRA bonds issued pursuant to GDB’s PROMESA Title VI qualifying
 modification (collectively, the “DRA Parties”), filed a motion for relief from the automatic stay to
 exercise remedies against DRA’s asserted HTA collateral, including gasoline taxes, gas oil and
 diesel oil taxes, motor vehicle and license fees, toll revenues, petroleum products taxes and
 cigarette taxes. To secure DRA’s obligations pursuant to the GDB DRA bonds, GDB transferred,
 among other things, its HTA loan and bond assets to DRA.

       The DRA Parties argued that (i) the Commonwealth and HTA’s alleged depletion of the
 HTA collateral without providing adequate protection provides cause to lift the stay, and (ii) the
 Commonwealth and HTA lack any property interest or equity in the HTA collateral, which are
 unnecessary for an effective reorganization.

        In the alternative, the DRA Parties requested the Title III Court require the Commonwealth
 and HTA to provide adequate protection by paying current interest under the HTA loans and bonds.
 Pursuant to a stipulation among the DRA Parties, AAFAF, and the Oversight Board, the Title III
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 Court ordered that the briefing and hearing schedule regarding the motion be bifurcated to first
 consider the issue of the DRA Parties’ standing to seek the relief requested in the motion.

         On August 15, 2019, AAFAF, the Oversight Board, and the DRA Parties filed a joint
 stipulation to the Stay Order, which submitted the DRA Lift Stay Motion to the Stay Order, as
 described below in section V.I.9 of this Disclosure Statement, which the Court approved on August
 16, 2019. The stay contemplated by the Stay Order was extended through March 4, 2020. The
 Mediation Team’s Interim Report, described in more detail in section V.H.7.e), included a
 proposed schedule for litigation of the DRA Lift Stay Motion. On December 6, 2019, the
 Oversight Board and the DRA Parties independently filed responses to the Interim Report.

         On December 18, 2019, AAFAF, the Oversight Board, and the DRA Parties filed an
 amended joint stipulation regarding the DRA Parties’ motion for relief from the stay, which Judge
 Swain approved by order dated December 19, 2019. Pursuant to the amended joint stipulation and
 order, the briefing and hearing schedule regarding the lift stay motion will be bifurcated to first
 determine the DRA Parties’ standing to bring the stay motion. The timeline for resolution of the
 standing issue is dependent on whether the Court rules on the stipulation filed by the DRA Parties
 in connection with their effort to intervene in the proceedings. Joint Stipulation Regarding (I) the
 DRA Parties' Motion and Memorandum of Law in Support of Their Motion for Relief from the
 Automatic Stay, or in the Alternative, Ordering Payment of Adequate Protection [ECF No. 7643];
 and (II) the DRA Parties' Motion and Memorandum of Law in Support of Their Notice that the
 DRA is a Party in Interest and Can Participate in the Monolines Amended Lift Stay Litigation,
 [ECF No. 10835] (the "DRA Stip").

                        CCDA Lift Stay Motion

          On January 16, 2020, Assured Guaranty Corp., Assured Guaranty Municipal Corp., Ambac
 Assurance Corporation, FGIC, and The Bank of New York Mellon, as the fiscal agent, filed a
 motion [ECF No. 10104] for (i) an order that the automatic stay does not apply to their proposed
 action to enforce CCDA bondholders’ rights to revenues from hotel taxes, or, in the alternative,
 (ii) relief from the automatic stay to pursue the proposed action, or, in the further alternative, (iii)
 adequate protection for their collateral.

         Movants allege they insure bonds issued by CCDA, which are secured by tax revenues
 generated under the Hotel Occupancy Tax Act. Movants also allege the automatic stay does not
 apply to their proposed action because the Commonwealth has no property interest in the revenues,
 which are the property of CCDA bondholders. Movants further argue that if the automatic stay
 does apply, it should be lifted because (i) the Commonwealth has no equity in the Hotel Taxes and
 they are unnecessary to an effective reorganization under Bankruptcy Code section 362(d)(2); (ii)
 Movants lack adequate protection under Bankruptcy Code section 362(d)(1); and (iii) the
 Commonwealth has violated PROMESA, Commonwealth law and the Constitution by taking
 bondholders’ property.

        On January 31, 2020, the Court entered an Amended Interim Case Management Order
 [ECF No. 10595] setting deadlines for opposition and reply briefs limited to issues of standing and
 secured status and scheduling a March 5, 2020 preliminary hearing on the CCDA Lift Stay Motion

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 on whether the movants have standing to sue and security or other property interests in the relevant
 revenues [ECF No. 10104].

        On February 3, 2020, the Commonwealth filed an opposition to Assured, Ambac, National,
 and FGIC’s motion for relief from the automatic stay in connection with CCDA bonds [ECF No.
 10615]. The UCC and AAFAF filed partial joinders to the Commonwealth’s opposition.

         On February 12, 2020, Assured, Ambac, National, and FGIC filed an urgent motion
 seeking to adjourn the hearing on the CCDA, HTA, and PRIFA lift stay motions until April 22,
 2020 and to extend the deadline for their replies in support of their lift stay motions until April 6,
 2020. According to the movants, this adjournment was necessary in order to permit time to obtain
 discovery. On February 14, 2020, the Court entered an order granting the motion and adjourning
 the preliminary hearing until April 2, 2020, and allowed for certain discovery by the movants to
 occur. The Court also entered an order referring any discovery disputes (associated with such
 discovery) to Magistrate Judge Dein, and setting a hearing on any discovery disputes for March 4
 and 5, 2020. On February 25, 2020, Ambac, Assured, and FGIC filed a joint motion to compel
 the production of documents in connection with the HTA, PRIFA and CCDA lift-stay motions. On
 February 28, 2020 the Government Parties filed their omnibus opposition to the joint motion to
 compel. Also on February 28, 2020, the parties filed an informative motion setting the deadline
 for replies in support of the HTA, PRIFA, and CCDA lift stay motions for March, 23, 2020.

                        HTA Lift Stay Motion

         On August 23, 2019, Assured Guaranty Corp. (“AGC”), Assured Guaranty Municipal
 Corp. (together with AGC, “Assured”), and National Public Finance Guarantee Corporation
 (“National”), filed a motion for (i) relief from the automatic stay to allow them to enforce the
 application of pledged toll and excise tax revenues to the payment of bonds issued by HTA, or, in
 the alternative, (ii) adequate protection of their interests in the pledged revenues.

         Movants allege they insure bonds issued by HTA that are secured by toll revenues collected
 directly by HTA and excise taxes collected on behalf of HTA by the Commonwealth. Movants
 assert they have a first priority lien on these pledged revenues, which have been improperly
 diverted from HTA to the Commonwealth. Movants assert that the Court should lift the stay
 because (i) the revenues are unnecessary to an effective reorganization because the
 Commonwealth lacks a property interest in them, and (ii) Movants lack adequate protection under
 Bankruptcy Code section 362(d)(1).

        On July 24, 2019, the Court issued the Stay Order, which stay was extended through March
 4, 2020. Notwithstanding the Stay Order, on December 19, 2019, the Court entered an interim
 case management order regarding certain issues related to revenue bonds (the “Initial Interim
 Revenue Bonds CMO”), which required that any amendments to the lift stay motion be filed by
 January 16, 2020.

         On January 16, 2020, Assured, National, Ambac Assurance Corporation, and FGIC filed
 an amended lift stay motion [ECF Nos. 10102, 10107], which includes the above mentioned
 allegations and further alleges that the Court should lift the automatic stay because otherwise

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 Movants’ due process rights will be violated. The amended lift stay motion seeks the same relief
 as the original lift stay motion.

        On January 31, 2020, the Court entered an Amended Interim Case Management Order
 [ECF No. 10595] setting deadlines for opposition and reply briefs limited to issues of whether
 Movants have standing to sue and security or other property interests in the relevant revenues, and
 scheduling a March 5, 2020 preliminary hearing on such issues. On February 3, 2020, the
 Oversight Board filed an opposition to ’the amended motion for relief from the automatic stay in
 connection with HTA Bonds [17-03567-LTS, ECF No. 680]. The UCC and AAFAF filed partial
 joinders to the Commonwealth’s opposition.

         On February 11, 2020, the DRA Parties filed a notice that the DRA is a party in interest
 and can participate in the HTA Lift Stay Motion, or in the alternative, a motion to permit their
 intervention in the HTA Lift Stay Motion [ECF No. 10835]. On February 18, 2020, the Monolines
 filed a joint opposition to the DRA Parties’ motion. On February 19, 2020, AAFAF and the
 Oversight Board entered into a stipulation with the DRA Parties to establish a briefing and hearing
 schedule for the DRA Parties’ Lift Stay Motion [ECF No. 11285]. On February 20 2020, the
 Monolines filed a limited objection to the stipulation [ECF No. 11325]. On February 25, 2020,
 the Oversight Board and AAFAF filed a joint reply in support of the stipulation [ECF No. 11735].

         On February 12, 2020, Assured, Ambac, National, and FGIC filed an urgent motion
 seeking to adjourn the hearing on the CCDA, HTA, and PRIFA lift stay motions until April 22,
 2020 and to extend the deadline for their replies in support of their lift stay motions until April 6,
 2020. According to the movants, this adjournment was necessary in order to permit time to obtain
 discovery. On February 14, 2020, the Court entered an order granting the motion and adjourning
 the preliminary hearing until April 2, 2020, and allowed for certain discovery by the movants to
 occur. The Court also entered an order referring any discovery disputes (associated with such
 discovery) to Magistrate Judge Dein, and setting a hearing on any discovery disputes for March 4
 and 5, 2020. On February 25, 2020, Ambac, Assured, and FGIC filed a joint motion to compel
 the production of documents in connection with the HTA, PRIFA and CCDA lift-stay motions.
 On February 28, 2020 the Government Parties filed their omnibus opposition to the joint motion
 to compel. Also on February 28, 2020, the parties filed an informative motion setting the deadline
 for replies in support of the HTA, PRIFA, and CCDA lift stay motions for March, 23, 2020.

                        PRIFA Lift Stay Motion

          On May 30, 2019, Ambac Assurance Corporation (“Ambac”) filed a motion for (i) an order
 that the automatic stay does not apply to its action against the United States Treasury for an
 equitable lien on pledged rum taxes before they are transferred to the Commonwealth and its action
 against the Commonwealth to enforce its lien on pledged rum taxes, or, in the alternative, (ii) relief
 from the automatic stay to pursue the actions, or, in the further alternative, (iii) adequate protection
 for its collateral. Ambac alleges that the automatic stay does not apply because the Commonwealth
 does not have a property interest in the pledged rum taxes. Ambac further alleges that the
 Commonwealth has violated PROMESA and Commonwealth law by diverting the pledged rum
 taxes.


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         On June 6, 2019, the Oversight Board filed an urgent motion to dismiss the motion,
 alleging, among other things, that only the bond trustee has standing to institute an action relating
 to bonds issued by PRIFA. On June 7, 2019, the Court denied the Oversight Board’s urgent motion
 without prejudice to the Oversight Board raising the same arguments in its opposition to Ambac’s
 motion. On July 3, 2019, the Oversight Board and AAFAF filed oppositions to the lift stay motion.
 The Oversight Board’s opposition incorporated its argument from its motion to dismiss that Ambac
 lacks standing to institute the motion. On July 16, 2019, Ambac and FGIC filed a reply. On July
 19, 2019, the Oversight Board filed a sur-reply.

          On July 24, 2019, at Ambac’s request and the Oversight Board’s consent, the Court
 included the PRIFA Lift Stay Motion in the Stay Order, which stay was extended through March
 11, 2020. Pursuant to the Initial Interim Revenue Bonds CMO, any motion for leave to amend the
 lift stay motion be filed by January 16, 2020.

        On January 16, 2020, Ambac, FGIC, Assured Guaranty Corp., Assured Guaranty
 Municipal Corp. and U.S. Bank Trust National Association filed a motion for leave to amend,
 which proposed adding (i) the trustee as a moving party, (ii) discussion of the First Circuit’s
 decision in Gracia-Gracia v. Financial Oversight & Management Board, 939 F.3d 340 (1st Cir.
 2019), and (iii) discussion of factual developments regarding the pledged rum taxes.

         In the proposed amended motion, Movants removed the argument that the automatic stay
 does not apply, but included the arguments that the stay should be lifted because (i) the
 Commonwealth lacks equity in the rum tax remittances deposited in the TSA, and (ii) the rum
 taxes are unnecessary to an effective reorganization because the Commonwealth lacks a property
 interest in them.

          On January 22, 2020, the Oversight Board filed its opposition to the motion to amend and
 AAFAF filed a limited joinder to the Oversight Board’s opposition. On January 25, 2020, Movants
 filed a reply in support of their motion to amend. On January 31, 2020, the Court granted Ambac’s
 motion for leave to amend. Also on January 31, 2020, the Court entered an Amended Interim Case
 Management Order [ECF No. 10595] limiting briefing on the lift stay to issues of standing and
 movants’ security interest and setting a March 5, 2020 preliminary hearing on whether the movants
 have standing to sue and security or other property interests in the relevant revenues.

        On January 31, 2020, Movants filed their amended PRIFA stay relief motion [ECF No.
 10602].

        On February 3, 2020, the Commonwealth filed a supplemental opposition to the PRIFA
 stay relief motion [ECF No. 10611]. The UCC and AAFAF filed limited joinders to the
 Commonwealth’s opposition. Bacardi International Limited and Bacardi Corporation (together
 with Bacardi International Limited, “Bacardi”) filed its own opposition to the PRIFA Motion [ECF
 No. 10609]. Destilería Serrallés Inc. joined the Commonwealth and Bacardi’s oppositions [ECF
 No. 10612].

        On February 12, 2020, Assured, Ambac, National, and FGIC filed an urgent motion
 seeking to adjourn the hearing on the CCDA, HTA, and PRIFA lift stay motions until April 22,
 2020 and to extend the deadline for their replies in support of their lift stay motions until April 6,
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 2020. According to the movants, this adjournment was necessary in order to permit time to obtain
 discovery. On February 14, 2020, the Court entered an order granting the motion and adjourning
 the preliminary hearing until April 2, 2020, and allowed for certain discovery by the movants to
 occur. The Court also entered an order referring any discovery disputes (associated with such
 discovery) to Magistrate Judge Dein, and setting a hearing on any discovery disputes for March 4
 and 5, 2020. On February 25, 2020, Ambac, Assured, and FGIC filed a joint motion to compel
 the production of documents in connection with the HTA, PRIFA and CCDA lift-stay motions.
 On February 28, 2020 the Government Parties filed their omnibus opposition to the joint motion
 to compel. Also on February 28, 2020, the parties filed an informative motion setting the deadline
 for replies in support of the HTA, PRIFA, and CCDA lift stay motions for March, 23, 2020.

 F.          Significant Adversary Proceedings and Related Litigation

         Over the course of the Title III cases, the Oversight Board has represented the Debtors’
 interests in numerous, multi-billion-dollar adversary proceedings, contested matters, and lawsuits
 brought primarily by creditors, but also by the government or legislature in two instances.
 Significantly, virtually all the litigation was commenced by different creditor groups against the
 Oversight Board. To date, there have been 63 adversary proceedings filed against the Oversight
 Board, the Commonwealth, and the instrumentalities, as well as over 300 avoidance actions filed
 against creditors.

         As discussed above, included in these actions, in addition to cases filed by creditors, were
 actions initiated by the Government and municipalities in efforts to enjoin the Oversight Board
 from fulfilling what it regards as its duties.182 The Oversight Board has attempted to uphold and
 reaffirm the operation of PROMESA as a tool to restructure Puerto Rico’s debt, and to date the
 courts have not granted any relief preventing the Oversight Board from continuing its statutory
 mission.

             1.       Appointments Clause Litigation

                               Aurelius Investments, LLC, et al. v. Commonwealth of Puerto Rico, et
                               al., Case Nos. 18-1671; 18-8014 (1st Cir.)

         On August 7, 2017, Appellants, Aurelius Investment, LLC, Aurelius Opportunities Fund,
 LLC, and Lex Claims, LLC (collectively, “Aurelius”), moved to dismiss the Commonwealth’s
 Title III petition and challenged the constitutionality of PROMESA [ECF No. 913]. Aurelius
 alleged that the Oversight Board lacked authority to initiate the Title III Case because its members
 were appointed in violation of the Appointments Clause and the principle of separation of powers.
 In response, the Oversight Board argued that its members were not “Officers of the United States”
 under the Appointments Clause, and that the Oversight Board’s powers were purely local, not
 federal, as would be needed to qualify for Appointments Clause coverage. The Oversight Board
 argued that even if the individual members were federal officers, the Appointments Clause was
 not violated because the Oversight Board’s members exercised authority in Puerto Rico, an
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       See, e.g., Rosselló Nevares v. Fin. Oversight & Mgmt. Bd. for P.R., Adv. Proc. No. 18-00080; Rivera-Schatz v. Fin.
       Oversight & Mgmt. Bd. for P.R., Adv. Proc. No. 18-00081; Autonomous Municipality of San Juan v. Fin. Oversight
       & Mgmt. Bd. for P.R., Case No. 19-01474-GAG (D.P.R).
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 unincorporated territory, where the Territories Clause endows Congress with plenary powers. In
 the alternative, the Oversight Board argued that the Oversight Board’s members’ appointment did
 not require Senate advice and consent because they were “inferior officers.”

        On July 13, 2018, the Title III Court denied Aurelius’ motion to dismiss the
 Commonwealth’s Title III petition. Aurelius appealed. On September 7, 2018, the First Circuit
 consolidated the appeal with Union de Trabajadores de la Industria Electrica y Riego (UTIER) v.
 Puerto Rico Electric Power Authority, Case No. 18-1787 and Assured Guaranty Corp. v. Financial
 Oversight & Management Board for Puerto Rico, Case No. 18-1746.

         On February 15, 2019, the First Circuit issued an opinion ruling that PROMESA’s
 provision for the appointment of members of the Oversight Board is unconstitutional. However,
 the First Circuit affirmed the Title III Court’s decision to deny the motions to dismiss the Title III
 petitions and stated that its ruling does not invalidate the Oversight Board’s actions prior to the
 First Circuit’s judgment under the de facto officer doctrine. The First Circuit further ruled the
 President and the Senate have 90 days to cure the defective appointments and that during the 90-
 day stay, the Oversight Board may continue to operate.

        The Oversight Board filed a petition for writ of certiorari on April 23, 2019, which was
 docketed as U.S. Supreme Court Case No. 18-1334. On April 24, 2019, the Oversight Board filed
 a motion with the First Circuit to stay the mandate pending the Supreme Court’s disposition. The
 motion was fully briefed, and on May 6, 2019, the First Circuit extended the stay of the mandate
 by 60 days until July 15, 2019.

         Aurelius filed a petition for a writ of certiorari on May 24, 2019, which was docketed as
 U.S. Supreme Court Case No. 18-1475. The UCC filed a petition for a writ of certiorari on May
 28, 2019, which was docketed as U.S. Supreme Court Case No. 18-1496. The United States filed
 a petition for a writ of certiorari on May 28, 2019, which was docketed as U.S. Supreme Court
 Case No. 18-1514. Unión de Trabajadores de la Industria Eléctrica Y Riego (“UTIER”) filed a
 petition for a writ of certiorari on June 5, 2019, which was docketed as U.S. Supreme Court Case
 No. 18-1521.

         On June 18, 2019, the Oversight Board filed a motion with the First Circuit to further stay
 the issuance of the mandate pending the resolution of the above cases in the Supreme Court. Also
 on June 18, 2019, the White House announced it was re-nominating all seven members of the
 Oversight Board for the remainder of their terms. On June 19, 2019, the Supreme Court granted
 all of the petitions for writs of certiorari and consolidated the cases. On July 2, 2019, the First
 Circuit granted the Oversight Board’s motion to stay the mandate pending the Supreme Court’s
 disposition. On July 25, 2019, the Oversight Board, the Retiree Committee and the UCC filed
 their opening briefs. On August 22, UTIER and Aurelius filed their opening briefs. Amicus briefs
 have been filed by Anthony Michael Sabino, Alan Mygatt Tauber and the DRA Parties. On
 September 19, 2019, the Oversight Board and the COFINA Senior Bondholders’ Coalition filed
 their opening briefs, AAFAF filed its reply brief, and the Retirees Committee, the United States,
 and the UCC filed consolidated opening and reply briefs. On October 7, 2019, UTIER filed its
 reply brief. On October 8, 2019, Aurelius filed its reply brief. Oral argument was held on October
 15, 2019, but the Supreme Court has not yet issued a decision.

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                        Assured Guaranty Corp., et al. v. Financial Oversight and Management
                        Board for Puerto Rico, et al., Adv. Proc. No. 18-0087

        On July 23, 2018, Plaintiffs Assured Guaranty Corp. and Assured Guaranty Municipal
 Corp., like Aurelius, filed a complaint challenging the constitutionality of PROMESA on the
 grounds that the appointment of the members of the Oversight Board violates the Appointments
 Clause and separation-of-powers principles of the U.S. Constitution because the members were
 not appointed by the President with the advice and consent of the Senate. Plaintiffs seek
 declarations that the appointment of the Oversight Board’s members violated the Appointments
 Clause and that the Oversight Board’s actions to date are null and void. Plaintiffs also seek to
 enjoin Defendants from taking any further action until the Oversight Board’s members have been
 lawfully appointed.

         On August 3, 2018, the Title III Court issued a stipulated judgment for Defendants on the
 grounds that the issues raised in this complaint were already decided by the Title III Court’s order,
 dismissing Aurelius’s Appointments Clause challenge (discussed above) because the process for
 appointing the Oversight Board’s members did not violate the Appointments Clause. In re Fin.
 Oversight & Mgmt. Bd. for P.R., 318 F. Supp. 3d 537 (D.P.R. 2018). On the same day, Plaintiffs
 filed a notice of appeal to the First Circuit which was docketed as Case No. 18-1746.

         On September 7, 2018, the First Circuit consolidated the appeal with UTIER v. Puerto Rico
 Electric Power Authority, Case No. 18-1787 and Aurelius Investments, LLC v. Commonwealth of
 Puerto Rico, Case Nos. 18-1671; 18-8014. For more information on the appeal, see the description
 in section V.F.1.a) above.

                        UTIER v. Puerto Rico Electric Power Authority, et al., Adv. Proc. No.
                        17-00228

         On August 6, 2017, Plaintiff UTIER, like Aurelius and Assured, filed a complaint
 challenging the constitutionality of PROMESA section 101, which provides for the appointment
 process of the Oversight Board, and the separation-of-powers principles of the U.S. Constitution
 because the members were not appointed by the President with the advice and consent of the
 Senate. UTIER seeks (i) declaratory judgments that PROMESA violates the Appointments Clause
 and that all of the Oversight Board’s acts to date are invalid, and (ii) enjoinment of the Oversight
 Board from exercising any authority granted to it by PROMESA. On November 10, 2017, Plaintiff
 filed an amended complaint.

          On November 20, 2017, Defendants moved to dismiss the amended complaint, arguing (i)
 UTIER lacks standing, because it has not alleged harm from the Oversight Board’s appointment
 and acts; and (ii) UTIER failed to state a claim under the Appointments Clause because (a) the
 Oversight Board does not implicate the Appointments Clause since it is part of the territorial, rather
 than federal, government, and (b) the Appointments Clause does not apply to Puerto Rico.
 Defendants further argued that UTIER seeks relief far broader than required by the claims it
 asserts.

        On August 15, 2018, the Court entered an opinion and order granting Defendants’ motion
 to dismiss the amended complaint. The Court held that UTIER had standing, but, like in Aurelius’s
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 Appointments Clause challenge, In re Financial Oversight & Management Board for Puerto Rico,
 318 F. Supp. 3d at 557, there was no violation of the Appointments Clause. The Court held that
 (i) the Oversight Board is an instrumentality of the Commonwealth established pursuant to
 Congress’s plenary powers under the Territories Clause; and (ii) its members are not officers of
 the United States.

       On August 16, 2018, Plaintiff filed a notice of appeal to the First Circuit (docketed as Case
 No. 18-1787). On September 7, 2018, the First Circuit consolidated the appeal with Assured
 Guaranty Corp. v. Financial Oversight & Management Board for Puerto Rico, Case No. 18-1746
 and Aurelius Investments, LLC, v. Commonwealth of Puerto Rico, Case Nos. 18-1671 and 18-
 8014. For more information on the appeal, see the description in section V.F.1.a above.

         On March 1, 2019, UTIER filed a petition for a panel rehearing or rehearing en banc,
 requesting that the First Circuit determine that all of the Oversight Board’s acts and determinations
 taken since August 6, 2017, are null and void. UTIER also sought to enjoin the Oversight Board
 from taking any action under PROMESA, including pursuing Title III cases or certifying fiscal
 plans and budgets, until the Oversight Board’s members are constitutionally appointed. On March
 7, 2019, the First Circuit denied UTIER’s petition for rehearing.

                        Hernandez-Montañez, et al. v. Financial Oversight & Management
                        Board for Puerto Rico, et al., Adv. Proc. No. 18-00090

         On July 25, 2018, certain members of the Popular Democratic Party Minority in the Puerto
 Rico House of Representatives and the Popular Democratic Party filed a complaint (i) seeking a
 judgment declaring that the Oversight Board’s members were appointed in a manner that violates
 the Appointments Clause of the U.S. Constitution, (ii) seeking a judgment declaring that the
 delegation of executive and legislative authority to the Oversight Board is a violation of the
 separation of powers doctrine, and (iii) requesting a declaratory judgment that the Oversight
 Board’s use of its control over the budget to allegedly strong-arm adoption of its own policies
 constitutes “impermissible interference” with federally-protected legislative autonomy. Plaintiffs
 also seek an order enjoining Defendants from exercising their authority under PROMESA if
 Plaintiffs succeed on their constitutional claims, and an order enjoining Defendants from
 improperly interfering with the legislative process if they succeed on their legislative autonomy
 claim. Plaintiffs further argue that the Oversight Board exceeded its authority under PROMESA
 to approve fiscal plans and certify budgets with its “imposition” of policies. Some of these
 measures that Plaintiffs cite as “coercive” include (i) restrictions on authority of the Puerto Rico
 Treasury and the Office of Budgetary Management, (ii) establishment of requirements for the
 review of government contracts and (iii) the elimination of Christmas bonuses.

         On August 24, 2018, the parties filed a joint status report in which Plaintiffs agreed to stay
 their Appointments Clause claim while Aurelius’s Appointments Clause appeal was pending
 (Aurelius Investments, LLC v. Commonwealth of Puerto Rico, Case Nos. 18-1671 and 18-8014)
 and agreed to dismiss their legislative autonomy claim. The parties disagreed as to whether
 Plaintiffs’ remaining claim that the Oversight Board improperly holds the budget hostage should
 be stayed pending the resolution of the Aurelius Appointments Clause appeal. On November 20,
 2018, Magistrate Judge Dein entered an order staying the case pending resolution of the

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 consolidated appeals in Aurelius Investments, LLC v. Commonwealth of Puerto Rico, No. 18-1671
 and Assured Guaranty Corp. v. Financial Oversight & Management Board for Puerto Rico, No.
 18-1746. For more information on the appeal, see the description in section V.F.1.a above.

        2.      Bondholder Litigation

                        Assured Guaranty Corp., et al. v. Commonwealth of Puerto Rico, et al.,
                        Adv. Proc. No. 17-00155; 17-00156

         On June 3, 2017, Assured and certain other Plaintiffs who insure bonds issued by HTA
 filed actions against the Commonwealth, HTA, and other Defendants, alleging Defendants
 illegally diverted certain HTA special revenues to the Commonwealth’s General Fund. The
 Plaintiffs seek declaratory and injunctive relief, arguing Defendants violated the special revenue
 provisions of the Bankruptcy Code (sections 902, 922(d), and 928(a)), which exempt pledged post-
 petition special revenues from the automatic stay. Plaintiffs argued the bonds in question were
 special revenue bonds under section 902, were not subject to the automatic stay under section
 922(d), and the liens against the special revenues were only subject to necessary operating
 expenses under section 928(a). Plaintiffs sought enforcement of these provisions in the form of
 an injunction ordering Defendants to pay the special revenues.

         On July 23, 2017, the Plaintiffs filed amended complaints alleging AAFAF improperly
 directed BNYM to refrain from applying or delivering funds held in HTA’s Debt Service Reserve
 Accounts to the Existing HTA Bonds. According to Plaintiffs, the funds in those accounts are the
 property of the bondholders, not the Debtor.

         On July 28, 2017, Defendants filed motions to dismiss, arguing among other things (i)
 Plaintiffs failed to state a claim under sections 922(d) and 928(a) of the Bankruptcy Code because
 they did not allege facts showing they had a perfected security interest in HTA’s revenues; (ii)
 sections 922(d) and 928(a) do not require the pledged special revenues, if any were alleged, be
 turned over; (iii) Plaintiffs did not allege facts establishing an enforceable lien on HTA revenues;
 (iv) the Court lacked subject matter jurisdiction over the relief requested in the Complaint under
 PROMESA section 305, which limits the jurisdiction and the powers of the Court; and (v)
 Plaintiffs did not state a claim to the funds from the Reserve Accounts, as they do not own the
 accounts.

         On January 30, 2018, the Title III Court granted the motions to dismiss. On February 9,
 2018, Plaintiff filed an appeal to the United States Court of Appeals for the First Circuit. The
 appeal was docketed as Case Nos. 18-1165 and 18-1166. On March 26, 2019, the First Circuit
 affirmed the Title III Court’s decision, finding that it did not err when it dismissed the amended
 complaint on the grounds that neither Bankruptcy Code section 922(d) nor section 928(a) entitle
 the plaintiffs to the relief they sought. The First Circuit held that these sections “permit, but do
 not require, continued payment during the pendency of the bankruptcy proceedings” and “stand
 for the premise that any consensual prepetition lien secured by special revenues will survive the
 period of municipal bankruptcy, and, accordingly, municipalities can elect to voluntary continue
 payment on these debts during the course of the bankruptcy proceedings so as to not fall behind
 and thus be at risk of being unable to secure financing in the future.” Assured Guar. Corp., 919

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 F.3d at 132-33. On September 20, 2019, Appellants filed a petition for a writ of certiorari with the
 Supreme Court, which was docketed as Case No. 19-391. On November 26, 2019, the Oversight
 Board filed an opposition to the petition. On December 11, 2019, Appellants filed a reply in
 support of their petition. On January 13, 2020, the Supreme Court denied the petition.

                        Assured Guaranty Corp., et al. v. Commonwealth of Puerto Rico, et al.,
                        Adv. Proc. No. 18-00059

          On May 23, 2018, Assured Guaranty Corp. and FGIC filed actions against the
 Commonwealth, AAFAF, Governor Rosselló and other Defendants, alleging the April 2018
 Commonwealth Fiscal Plan and related acts and orders violate PROMESA and the United States
 Constitution. Plaintiffs insure GO Bonds, which they allege are entitled to first priority payment
 under the Commonwealth Constitution. Plaintiffs also insure bonds issued by HTA, CCDA, and
 PRIFA which they allege are secured by enforceable and perfected liens against special revenues.
 Plaintiffs allege the Fiscal Plan disregards these priorities. Plaintiffs seek declaratory judgments
 that (i) the Fiscal Plan violates PROMESA sections 201(b), which delineates the requirements for
 the approval of fiscal plans, 303, which reserves the rights of covered territories to control their
 own instrumentalities and territories, and 407, which prohibits transfers of property of any
 territorial instrumentality of Puerto Rico “in violation of applicable law under which any creditor
 has a valid pledge of, security interest in, or lien on . . .”, and Bankruptcy Code section 928(a),
 which states that special revenues acquired by the debtor after the commencement of the case shall
 remain subject to any lien resulting from any security agreement entered into by the debtor before
 the commencement of the case; (ii) the Oversight Board lacked the authority to certify the Fiscal
 Plan; (iii) the Fiscal Plan does not constitute a “Fiscal Plan” under PROMESA section 5, (iv) a
 plan of adjustment cannot be confirmed based on the Fiscal Plan and the court should not hold a
 confirmation hearing on the Fiscal Plan; (v) the challenged actions violate the Contracts, Takings,
 and Due Process Clauses and Article I, Section 1 of the United States Constitution; and (vi) the
 challenged actions violate PROMESA section 303(1), which concerns applicability of the sections
 of PROMESA to cases, and PROMESA section 303(3), which reserves the rights of covered
 territories to control their own instrumentalities and territories.

         Defendants filed an urgent motion to stay the litigation on June 25, 2018, arguing the issues
 raised in this adversary proceeding are substantially similar to those raised in Ambac Assurance
 Corp. v. Commonwealth of Puerto Rico, et al., Adv. Proc. No. 17-00159. Magistrate Judge Dein
 granted the motion to stay this litigation pending a decision from the First Circuit in Ambac,
 determining that many of the questions on appeal in Ambac overlap with the issues in this case and
 that the requested stay does not significantly delay litigation. On August 27, 2018, Plaintiffs filed
 an objection to the Magistrate Judge Dein’s order, and on September 18, 2018, Defendants filed a
 response. On November 2, 2018, the Title III Court entered an order affirming the stay. As noted
 above, the First Circuit Court of Appeals affirmed the dismissal of the Ambac action and in light
 of that decision, the Defendants filed an unopposed motion for an extension of time to respond to
 the complaint, which the Court granted on July 16, 2019. During this time, the parties are meeting
 and conferring to determine the impact of the Ambac opinion on this case, and whether Plaintiffs
 intend to amend their complaint. On August 20, 2019, the UCC filed a motion to intervene in this
 action. On August 28, 2019, the parties filed a joint motion requesting that the litigation be subject
 to the Stay Order, which stay was extended through March 11, 2020, as described in section V.I.9
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 of this Disclosure Statement. On February 10, 2020, the Mediation Team filed its Amended
 Report, recommending that this litigation remain stayed until after confirmation.183

                              ACP Master LTD, et al. v. Commonwealth of Puerto Rico, et al., Adv.
                              Proc. No. 17-00189

         On June 29, 2017, a group of holders of GO Bonds issued by the Commonwealth and of
 bonds issued by certain Commonwealth instrumentalities that are allegedly guaranteed by the
 Commonwealth filed a complaint against the Commonwealth and the Oversight Board. Plaintiffs
 asserted their bonds are secured by an absolute and enforceable first claim and lien against all the
 Commonwealth’s available resources and that their debt is senior to all other debt issued by the
 Commonwealth. Plaintiffs also claimed their bonds are “Constitutional Debt” entitled to unique
 protections under the Commonwealth Constitution because they are backed by a pledge of the
 Commonwealth’s good faith, credit, and taxing power. Plaintiffs further alleged the Constitutional
 Debt is entitled to full and timely payment. Plaintiffs sought declarations that (i) the Revenues
 can only be applied to pay Constitutional Debt; (ii) the Commonwealth lacks an equitable or
 beneficial property interest in the Revenues and that Plaintiffs have statutory liens on the
 Revenues; (iii) Plaintiffs’ liens on the claw back revenues are liens on special revenues; (iv) the
 Commonwealth’s diversion of the Revenues is an unconstitutional taking; and (v) the Revenues
 must be segregated and cannot be used for any purpose other than paying Constitutional Debt.
 Plaintiffs also seek an injunction requiring Defendants to segregate and preserve the Revenues.

         Defendants filed a motion to dismiss on August 21, 2017, arguing (i) the claims were
 precluded by PROMESA section 305, which limits the jurisdiction and the power of the Court, or
 seek advisory opinions, (ii) certain claims were precluded by PROMESA section 4, which provides
 that PROMESA preempts any inconsistent territorial law and section 106(e), which precludes
 jurisdiction of U.S. Courts to review challenges to the Oversight Board’s certification
 determinations, (iii) Plaintiffs have no property interests in or liens on the Revenues, (iv) the
 Commonwealth Constitution does not create a property right recoverable under its debt-repayment
 priority scheme, and (v) certain counts failed because Plaintiffs had an adequate remedy at law
 (money damages).

        The Court granted the motion to dismiss on January 30, 2019. The Court held that certain
 claims sought (1) impermissible advisory opinions and (2) were barred by PROMESA section 305
 because they would interfere with the Commonwealth’s use of its property or revenues, or its
 governmental powers without the consent of the Oversight Board.

        On February 1, 2018, Plaintiffs filed a notice of appeal to the First Circuit (Case No. 18-
 1108). On March 26, 2019, the First Circuit affirmed the Title III Court’s decision.




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       See Section V.I.3 for a detailed description of the Mediation Team and the Amended Report.

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                        Ambac Assurance Corp. v. Commonwealth of Puerto Rico, et al., Adv.
                        Proc. No. 17-00159

         On June 6, 2017, Ambac filed a complaint against the Commonwealth, HTA, the Oversight
 Board, AAFAF, and various government officials claiming the Defendants violated Ambac’s
 constitutional and statutory rights as insurer of the HTA Revenue Bonds. Ambac has issued
 financial guaranty insurance policies covering payment of principal and interest on approximately
 $494 million in net par accreted value of HTA’s bonds and claimed further to directly own
 approximately $16 million in such bonds. Ambac asserted that HTA Bonds are secured by liens
 on (i) revenues from toll facilities; (ii) gasoline, diesel, crude oil and other special excise taxes;
 and (iii) special excise taxes consisting of motor vehicle license fees (collectively, the “Pledged
 Special Revenues”).

         Ambac argued Defendants diverted the alleged Pledged Special Revenues in such a way
 that junior unsecured debts were prioritized over senior secured debt. These actions, Ambac
 alleged, caused unnecessary payment defaults on the HTA Revenue Bonds. Due to these defaults,
 Ambac paid claims totaling approximately $52 million to bondholders.

         Ambac sought declaratory and injunctive relief, claiming that (i) the Moratorium
 Legislation and Moratorium Orders, the Fiscal Plan, and the Fiscal Plan Compliance Act, which
 HTA allegedly acted pursuant to in order to divert the Pledged Special Revenues, were
 unconstitutional, violated the Contracts Clause, and null; (ii) the diversion violated the Takings
 and Due Process Clauses; (iii) the Moratorium Orders’ alleged deprivation of Ambac’s access to
 the Title III Court was unconstitutional; and (iv) Defendants violated sections 303 and 407 of
 PROMESA and sections 922 and 928 of the Bankruptcy Code.

         Defendants argued the Court lacked jurisdiction to decide the issues raised in Ambac’s
 complaint. Specifically, Defendants asserted (i) Ambac had no standing to file the complaint
 because it had not suffered any concrete injury, and (ii) any and all rights will not be determined
 until the filing of a proposed plan of adjustment.

         The Title III Court dismissed the complaint, holding (i) Ambac had standing to file the
 complaint, but (ii) the Court lacked subject matter jurisdiction regarding the Plaintiff’s lien interest
 and otherwise ruled that Ambac failed to state a claim upon which relief could be granted. Ambac
 filed an appeal with the First Circuit, docketed as Case No. 18-1214. On June 24, 2019, the First
 Circuit issued an opinion and order affirming the Title III Court’s decision. On September 23,
 2019, Appellants filed a petition for certiorari, which was docketed as Case No. 19-387. On
 January 13, 2020, after briefing had concluded, the Supreme Court denied the petition.

                        Peaje Investment, LLC v. Puerto Rico Highways & Transportation
                        Authority, et al., Adv. Proc. Nos. 17-00151; 17-00152

         On May 31, 2017, Peaje Investment, LLC (“Peaje”), a holder of over $64 million in 1968
 bonds issued by HTA, brought an action for declaratory and injunctive relief regarding (i) the
 validity of its lien and (ii) HTA’s supposedly improper use of toll revenues to fund other debt
 obligations. Peaje alleged that HTA toll revenues deposited with BNYM had been wrongfully
 diverted by HTA to pay other debt obligations or other expenses since May of 2016, leaving the
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 bondholders’ account nearly drained. Further, the Plaintiff alleged that it has a first priority
 statutory lien on the toll revenues. According to Peaje, this purported statutory lien protects
 “pledged special revenues” on the bonds from stay restrictions under certain provisions of the
 Bankruptcy Code. Accordingly, Peaje sought a judgment ordering the Defendants to resume
 depositing toll revenues with BNYM as fiscal agent. Moreover, the Plaintiff asserted the wrongful
 diversion of the bondholders’ lien to pay “necessary operating expenses” of HTA violates the
 Takings Clause under the Fifth Amendment of the U.S. Constitution. Alternatively, the Plaintiff
 argued its priority liens can only be subordinated to expenses to preserve a “project or system” that
 generates specific collateral securing the bonds. Peaje also filed a motion for a temporary
 restraining order and preliminary injunction to (i) enjoin HTA from continuing to take the toll
 revenues for purposes other than paying the bonds, and (ii) seek adequate protection for its
 purported collateral.

         Plaintiff’s arguments in its motion for preliminary and permanent injunctive relief became
 the subject of a full evidentiary hearing. The Court issued a ruling denying Plaintiff’s request for
 injunctive relief on the basis that Peaje failed to demonstrate (1) it has a valid statutory lien and
 (2) it would suffer irreparable harm without injunctive relief. Further, the ruling concluded that
 even if the lien were found to have been valid, expert testimony had demonstrated that Peaje is
 adequately protected. Immediately after the ruling, Plaintiff filed a notice of appeal to the First
 Circuit, docketed as Case No. 17-2165; 17-2166. On August 8, 2018, the First Circuit entered a
 ruling affirming the Title III Court’s conclusion regarding the absence of a statutory lien.

         Shortly after filing the notice of appeal to the First Circuit, Peaje filed an amended
 complaint in the Title III action seeking a declaration that its lien is valid and perfected and an
 injunction to ensure that HTA resumes depositing the toll revenue. This time, Peaje included
 references to UCC financing statements to evidence perfection. Peaje also expanded upon its
 assertion in its original complaint that it is exempt from any stay. It declared in the amended
 complaint that it is not bound by various emergency measures enacted by the Commonwealth, and
 not bound by PROMESA and the certification of the fiscal plan, which allow the government to
 appropriate funds to service general debt obligations. Peaje’s amended complaint also contained
 numerous claims resembling the Ambac adversary proceeding described above.

         The Oversight Board filed an answer to the amended complaint and denied the material
 allegations. HTA also asserted various affirmative defenses to the amended complaint. HTA
 argued, among other things, the UCC financing statements do not bear the correct name of the
 Debtor, rendering them insufficient to perfect a security interest as a matter of law. The Defendants
 also challenged Peaje’s assertion that the court could adjudicate certain claims, arguing the court
 lacks subject matter jurisdiction under provisions of PROMESA that prohibit the court from
 reviewing fiscal plan certifications and preclude interference with political or governmental
 powers of the debtor, any of its property or revenue, or the use and enjoyment by the debtor of any
 income-producing property. Moreover, HTA asserted that the Plaintiff’s Takings Clause claim is
 not viable because the Plaintiff possesses no “cognizable” property right. On October 22, 2018,
 the Court issued an order directing the parties to file a joint status report informing the Court of
 their respective positions in light of the First Circuit’s decision.



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          On October 26, 2018, Peaje filed a petition for a writ of certiorari regarding the denial of
 its claim to a statutory lien with the Supreme Court, which was docketed October 30, 2018 as Case
 No. 18-560. On November 14, 2018, the parties filed a status report noting the pendency of Peaje’s
 petition for writ of certiorari, as well as appeals filed by Ambac Assurance Corporation (Case No.
 18-1214) and Assured Guaranty Corporation, et al. (Case Nos. 18-1165, 18-1166), and requesting
 an order directing them to file a further joint status report. On February 19, 2019, the Supreme
 Court denied the petition for a writ of certiorari.

         On July 1, 2019, the Court entered an order directing the parties to file a joint status report
 on or before September 15, 2019. On September 15, 2019, the parties filed a joint status report
 requesting the entry of an order directing them to submit a further status report on December 16,
 2019, to inform the Court of the status of and parties’ positions in connection with the following
 matters: (i) the Appointments Clause cases before the Supreme Court (Case Nos. 18-1334, 18-
 1475 and 18-1496), and (ii) the Assured (Case Nos. 18-1165 and 18-1166) and Ambac (Case No.
 18-1214) appeals. On September 16, 2019, the Court issued an order directing the parties to file a
 further joint status report on December 16, 2019. On December 16, 2019, the parties filed a joint
 status report informing the Court that (i) Assured and Ambac filed petitions for writ of certiorari
 to the Supreme Court that have been distributed for conference on January 10, 2020, and (ii) the
 Supreme Court heard oral argument in the Appointments Clause cases on October 15, 2019. The
 Supreme Court subsequently denied both petitions. On February 14, 2020, the parties filed a joint
 status report, noting that the Oversight Board had filed complaints objecting to the proofs of claim
 filed by Peaje against the Commonwealth and HTA, and the Court has ordered the parties file a
 further joint status report on or before April 20, 2020.

                        Cooperativa de Ahorro y Crédito Abraham Rosa, et al. v.
                        Commonwealth of Puerto Rico, et al., Adv. Proc. No. 18-00028

         On March 22, 2018, several credit unions chartered under Puerto Rico law filed an
 adversary complaint against the Commonwealth, the Oversight Board, and other Commonwealth
 instrumentalities (including COFINA, HTA, ERS, and PREPA), seeking declaratory judgment that
 their Puerto Rico debt holdings are not dischargeable and seeking monetary damages for alleged
 fraud in issuing and encouraging local credit unions to purchase Puerto Rico debt service
 instruments. On August 6, 2018, the Oversight Board, for itself and as representative of COFINA,
 the Commonwealth and certain other instrumentalities, moved to dismiss the complaint. Also on
 August 6, 2018, GDB filed a separate motion to dismiss. In addition, several parties filed joinders
 to the motions to dismiss or were granted leave from the Title III Court to file joinders.

        On April 16, 2018, Plaintiffs filed an amended complaint, which eliminated claims
 premised on securities law and added claims for breach of contract, racketeering, fraud, non-
 dischargeability, damages, takings, and unjust enrichment.

        On February 5, 2019, the Title III Court issued an Amended Confirmation Order
 confirming COFINA’s Third Amended Plan of Adjustment. On February 12, 2019, COFINA’s
 Third Amended Plan of Adjustment was substantially consummated and became effective.
 Pursuant to paragraph 30 of the Amended Confirmation Order, “the plaintiffs in that certain
 adversary proceeding before the Title III Court, captioned Cooperativa de Ahorro y Credito

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 Abraham Rosa, et al. v. Commonwealth of Puerto Rico, et al., Case No.18-00028, shall be entitled
 to continue pursuit of such litigation against all parties other than COFINA and Reorganized
 COFINA, subject to all available rights and defenses with respect to claims and causes of action
 asserted therein.”

         On July 22, 2019, Defendants filed motions to dismiss the amended complaint. On
 December 6, 2019, Plaintiffs filed a motion for leave to file a second amended complaint. On
 February 4, 2020, the Oversight Board, on its own behalf and on the behalf of the debtors, filed a
 response to Plaintiffs’ motion for leave. On the same date, the GDB and the GDB Debt Recovery
 Authority filed their own responses to Plaintiffs’ motion for leave, and both AAFAF and the
 individual government defendants filed joinders to those responses. On February 21, 2020,
 Plaintiffs filed a reply in support of their motion for leave to file a second amended complaint.

        3.      Union Litigation

                       American Federation of State, County, & Municipal Employees v.
                       Financial Oversight & Management Board for Puerto Rico, Adv. Proc.
                       Nos. 17-00242; 17-00243

         On August 22, 2017, AFSCME, a collective bargaining representative for certain
 Commonwealth employees, filed two identical complaints arguing the Oversight Board violated
 PROMESA by adopting and implementing amendments to a Fiscal Plan proposed by the Governor
 that the Oversight Board had already approved. Plaintiff claimed the amendments to the Fiscal
 Plan violated the Takings Clause of the United States Constitution and the Takings and Due
 Process Clauses of the Commonwealth Constitution by allegedly taking employees’ individual
 retirement account balances. Plaintiff further alleged violations of PROMESA section 201, which
 delineates the requirements for approval of Fiscal Plans and section 203, which outlines the
 Oversight Board’s powers if finding noncompliance with the budget, breach of fiduciary duty, and
 unjust enrichment. The complaints in both cases were identical.

        Before Defendants responded, AFSCME moved to stay the proceedings, and the Court
 stayed both cases on October 23, 2017. On December 13, 2018, in Adv. Proc. No. 17-00242,
 AFSCME filed a Notice of Dismissal and on December 14, 2018, the Court entered judgment
 without prejudice. On April 3, 2019, AFSCME moved to dismiss Adv. Proc. No. 17-00243
 without prejudice. The Court issued an order dismissing the case without prejudice on April 5,
 2019.

                       Hermandad de Empleados del Fondo del Seguro del Estado, Inc., et al.
                       v. Commonwealth of Puerto Rico, et al., Adv. Proc. No. 18-00091

        On July 25, 2018, two unions, (i) Hermandad de Empleados del Fondo del Seguro del
 Estado, Inc. a/k/a Union de Empleados de la Corporacion del Fondo del Seguro del Estado
 (“UECFSE”), a union of CFSE employees and (ii) Union de Medicos de la Corporacion del Fondo
 del Seguro del Estado Corp. (“UMCFSE”), a union of physicians who are responsible for
 providing medical services to injured workers, filed an action against the Commonwealth, the
 Oversight Board, and the exclusive provider of work-related insurance coverage, the State
 Insurance Fund Corporation (“CFSE”). Plaintiffs, who participate in the Employee Retirement
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 System and characterize themselves as creditors of the Commonwealth, seek relief declaring,
 among other things, that the June 29, 2018 Fiscal Plan (the “June 2018 Fiscal Plan”) is unlawful
 and unable to form the basis of any plan of adjustment. The request is attributed to a $317.5 million
 cost reduction over a five-year period which Plaintiffs argue would impair the union members’
 CBA that is deemed an “essential service” that should be ensured under PROMESA section 201,
 which delineates the requirements for approval of Fiscal Plans. Plaintiffs argue that the June 2018
 Fiscal Plan, among other things, violates the Contracts Clause of the United States Constitution
 and the Commonwealth Constitution’s Right to Collective Bargaining provision.

          On August 3, 2018, the Court entered an order adjourning Defendants’ deadline to respond
 until after the pending motion to dismiss in UTIER v. Puerto Rico Electric Power Authority, Adv.
 Proc. No. 17-00229, in which the Plaintiffs pled the same statutory violations, is decided. That
 motion was decided on September 26, 2018, with the Court partially granting PREPA’s motion to
 dismiss. Defendants moved to dismiss the complaint on January 25, 2019 based on the Court’s
 holdings in the UTIER case, Adv. Proc. No. 17-00229. Plaintiffs filed their omnibus opposition
 on March 7, 2019. The Oversight Board filed its reply on April 5, 2019. The Defendant
 government officials (Rosselló Nevares, et al.) also filed their reply in April 5, 2019. On
 September 27, 2019, the Title III Court issued an order granting Defendants’ motion to dismiss.

        On October 4, 2019, Plaintiffs filed an appeal in the First Circuit, which was docketed as
 Case No. 19-2028. Appellees filed their opening brief on December 17, 2019. On December 19,
 2019, Appellees filed a motion to extend the deadline to file their answering brief. On December
 27, 2019, the Court issued an order granting Appellees’ motion to extend the deadline to file their
 answering brief. Appellees filed their answering brief on February 18, 2020, and AAFAF’s
 Executive Director filed a joinder thereto on February 19, 2020.

                        Union de Empleados de la Corporacion del Fondo del Seguro del Estado
                        v. Government of the United States of America, et al., Adv. Proc. No.
                        18-00066

         On May 30, 2018, UECFSE, UMCFSE, and two union members filed an action against the
 United States, the Governor, the Commonwealth and the Oversight Board. In their second
 amended complaint, filed on October 5, 2018, Plaintiffs allege PROMESA violates the United
 States Constitution and various international treaties and charters. Plaintiffs’ claims are based
 primarily on their views on the Insular Cases, which gave the United States unilateral authority
 over its territories, and the United States’ alleged treatment of Puerto Rico as a colony. Plaintiffs
 seek declaratory judgments that (i) PROMESA violates the First, Fifth, Thirteenth, Fourteenth,
 and Fifteenth Amendments; and (ii) the Oversight Board’s acts to date are unconstitutional and
 null. Plaintiffs further request that the court (i) overturn the Insular Case; (ii) enjoin Defendants
 from acting pursuant to the authority granted by PROMESA; and (iii) direct Congress to
 decolonize Puerto Rico.

         On December 19, 2018, the Oversight Board and the United States filed motions to dismiss,
 arguing (i) Plaintiffs lack standing; (ii) Plaintiffs’ claims regarding decolonizing Puerto Rico and
 international law seek advisory opinions; (iii) the international treaties do not create judicially
 enforceable rights; (iv) Plaintiffs fail to state claims for violations of the First, Fifth, Thirteen,

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 Fourteenth, and Fifteenth Amendments; and (v) Plaintiffs’ request that the court overrule the
 Insular Cases fails to state a claim.

        On March 1, 2019, Plaintiffs filed an omnibus opposition brief, arguing (i) Plaintiffs have
 standing; and (ii) Plaintiffs have stated claims for violations of the First, Fifth, Thirteenth,
 Fourteenth, and Fifteenth Amendments, as well as for violations of international law. The U.S.
 Government filed its reply in support of its motion to dismiss on April 5, 2019. The Oversight
 Board filed its reply in support of its motion to dismiss on April 8, 2019.

         On November 15, 2019, Judge Swain issued an opinion and order granting Defendants’
 motions to dismiss the second amended complaint. On November 26, 2019, Plaintiffs filed a notice
 of appeal to the First Circuit, which was docketed as Case No. 19-2243. On January 22, 2020,
 Appellants filed a motion to expedite the appeal. On January 27, 2020, the Oversight Board filed
 a motion noting that it consents to the schedule proposed by Appellants, but disputes the arguments
 concerning the merits of the appeal raised in Appellants’ motion. Under the proposed schedule,
 briefing will conclude on April 27, 2020, and oral argument will be heard during the first week of
 June 2020.

                        American Federation of Teachers, et al. v. Commonwealth of Puerto
                        Rico, et al., Adv. Proc. No. 18-00134.

         On November 15, 2018, two labor unions representing Puerto Rico Government
 employees, filed an action against the Commonwealth, the Retirement Board of the Government
 of Puerto Rico, AAFAF and their respective officers. The Unions claim to be aggrieved because
 (i) the Commonwealth has not implemented the transition to individual defined-contribution
 retirement accounts within the time frame purportedly contemplated by Puerto Rico Law 106-
 2017, which restructured the payment of pensions; (ii) the Oversight Board failed to compel them
 to do so; and (iii) Banco Popular de Puerto Rico has been enriched because the relevant employee
 contributions have been kept in a Banco Popular account bearing little or no interest. On the basis
 of these allegations, Plaintiffs seek (i) relief for violation of Law 106 (against all Defendants except
 the Oversight Board and Banco Popular); (ii) relief for breach of fiduciary duty or aiding and
 abetting breach of fiduciary duty (against all Defendants); (iii) relief for unjust enrichment (against
 the Commonwealth and Banco Popular); and (iv) an accounting (against the Commonwealth and
 Banco Popular).

         On January 8, 2019, the Oversight Board filed a motion to dismiss. The parties filed several
 joint motions to extend the briefing deadlines to continue their discussions regarding the
 implementation of Law 106, and the Court granted the motions. On October 29, 2019, the Court
 issued an order directing the parties to file a joint status report. That same day, Plaintiffs filed a
 status report stating that there is no imminent need to proceed with litigation because although the
 Commonwealth had yet to implement the individual retirement accounts mandated by Law 106,
 the Commonwealth had taken certain necessary preliminary steps to do so. Plaintiffs’ status report
 also stated that it would be appropriate for the parties to provide a further status report in January
 2020. On November 1, 2019, Defendants filed status reports joining Plaintiffs’ status report. On
 January 24, 2020, the parties filed a joint status report stating the Commonwealth is continuing to


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 take steps to establish the retirement accounts, and it would be appropriate for the parties to provide
 a further status report in April 2020. All litigation deadlines have been extended sine die.

                        Asociación de Profesoras y Profesores del Recinto v. Commonwealth of
                        Puerto Rico, et al., Adv. Proc. No. 17-00197

         On July 9, 2017, Asociación de Profesoras y Profesores del Recinto Universitario de
 Mayagüez, Inc. (“APRUM”), an organization of teachers at UPR, filed a complaint against the
 Commonwealth, Oversight Board, the Governor, Gerardo Portela Franco, Hon. Raúl Maldonado
 Gautier, José Iván Marrero Rosado, and Natalie A. Jaresko. A second amended complaint was
 filed on May 11, 2018. APRUM alleged that the Commonwealth and the UPR fiscal plans and
 budgets failed to meet the requirements of PROMESA section 201, which delineates the
 requirements for approval of Fiscal because they reduced the budgeted subsidies from the
 Commonwealth to UPR. Plaintiff contended the appropriations to UPR were lower than
 previously set by Puerto Rico Act 3-2017, which was passed to adjust judicial and legal framework
 to allow compliance with the Fiscal Plan, and that without the enactment of new legislation, such
 reduction was “illegal.”

         On July 2, 2018, Defendants filed their motion to dismiss the second amended complaint.
 The Defendants argued (i) the Court lacks subject matter jurisdiction because the claims did not
 arise under Title III; (ii) the Court lacks subject matter jurisdiction to review certified fiscal plans
 and budgets under section 106(e), which precludes U.S. district courts from reviewing challenges
 to the Oversight Board’s certification determinations; (iii) the Plaintiff lacks constitutional or
 prudential standing and is not a party in interest under Bankruptcy Code section 1109; (iv)
 PROMESA prohibits the Court from interfering with the Commonwealth Debtor’s decisions about
 the use of its property and revenues; and (v) PROMESA sections 4 and 108, which includes
 definitions and guarantee the autonomy of the Oversight Board, provide that PROMESA, and the
 certification of fiscal plans and budgets pursuant thereto, prevail over any inconsistent territorial
 law and preclude enforcement of any statute that would impair or defeat the purpose of Title III.

        On July 27, 2018, APRUM filed an urgent motion to hold the adversary proceeding in
 abeyance and to amend the briefing schedule, so that APRUM could assess how or whether to
 proceed with this action. Judge Dein issued an order granting APRUM’s motion.

        On August 21, 2018, APRUM filed a motion to voluntarily dismiss its amended complaint,
 which the Court granted.

                        Asociación Puertorriqueña de Profesores Universitarios, et al. v.
                        University of Puerto Rico, et al., Adv. Proc. No. 19-00034

         On April 16, 2019, Asociación Puertorriqueña, an organization of active and retired
 professors at UPR, and several beneficiaries of the UPR retirement plan filed a complaint against
 UPR, its governing board, members of the governing board, the university president, and the
 Oversight Board. The complaint sought, among other things, declaratory judgments and
 injunctions providing that the Oversight Board’s oversight acts in relation to the Retirement
 System are “null and void,” allegedly because the UPR retirement system is a trust that is not a
 covered instrumentality and is outside the Oversight Board’s power, and that the UPR Governing
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 Board cannot comply with the Oversight Board’s fiscal plans and budgets impacting the retirement
 system. The complaint also sought (i) an order directing the Governing Board to comply with
 certain funding requirement for the retirement system and UPR, (ii) an order directing UPR to pay
 purported damages relating to trust property to the retirement system, (iii) orders removing UPR’s
 Governing Board as trustee of the retirement system and replacing it with the retirement system
 board.

          Plaintiffs filed an amended complaint on July 10, 2019, which included the additional
 allegation that the Oversight Board induced the Governing Board to breach its fiduciary duty to
 the retirement system. The amended complaint also added an additional prayer for relief seeking
 compensatory damages. On August 23, 2019, the Oversight Board and UPR filed motions to
 dismiss the amended complaint. On October 4, 2019, Plaintiffs filed an opposition to the Oversight
 Board’s motion to dismiss. On October 25, 2019, the Oversight Board and UPR filed replies in
 support of their motions to dismiss. On November 1, 2019, Judge Swain issued an order referring
 the motions to dismiss to Magistrate Judge Dein for a report and recommendation.

        4.      Healthcare Center Litigation

                       Atlantic Medical Center, Inc., et al. v. Commonwealth of Puerto Rico,
                       Adv. Proc. No. 17-00278

         On November 17, 2017, various non-profit healthcare entities (the “Atlantic Medical
 Plaintiffs”) filed a complaint seeking declaratory judgment that their claims for payments for
 Medicaid services owed by the Commonwealth cannot be impaired in a Title III case because
 PROMESA requires the Commonwealth to satisfy any obligations under federal grant programs.

          Plaintiffs seek a declaratory judgment that their claims for all supplemental payments for
 Medicaid services owed by the Commonwealth for the years since 1997—and that are the object
 of Adversary Proceeding No. 17-0227 (LTS)—are non-dischargeable under PROMESA and
 otherwise unimpaired by the Commonwealth’s Title III case. Plaintiffs rely on PROMESA section
 7 (48 U.S.C. § 2016), which states that PROMESA “shall not be construed as impairing or in any
 manner relieving a territorial government from compliance with Federal laws or requirements or
 territorial laws and requirements implementing a federally authorized or federally delegated
 program protecting the health, safety, and environment of persons in such territory,” and
 PROMESA section 304(h), which precludes discharge of obligations arising under federal policy
 or regulatory laws, including those relating to public safety.

         On February 2, 2018, the Court entered an order consolidating this case with a separate
 adversary proceeding seeking identical relief filed by Corporación De Servicios Integrales de
 Salud del area de barranquitas, Comerio, Corozal, Naranjito y orocovis (“CSI”). See Corporación
 De Servicios Integrales De Salud Del Area De Barranquitas, Comerio, Corozal, Naranjito Y
 Orocovis v. Commonwealth of Puerto Rico, Adv. Proc. No. 17-00292. The consolidation order
 specified that all motions should be filed under Atlantic Medical Center, the lead case.

         The Commonwealth Debtor moved to dismiss the consolidated complaints on February 22,
 2018, arguing the claims were unripe, as they required the Court to determine dischargeability but
 a plan of adjustment had not yet been proposed.
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         On August 7, 2018, Magistrate Judge Dein issued a report and recommendation on the
 Commonwealth Debtor’s motion to dismiss recommending that the motion to dismiss be granted
 and both complaints be dismissed without prejudice to refiling when a plan of adjustment for the
 Commonwealth has been proposed, or to allege specific impairment due to PROMESA. On
 November 27, 2018, the Title III Court issued an order overruling objections to and adopting the
 report and recommendation.

         On December 10, 2018, the Atlantic Medical Plaintiffs filed a notice of appeal to the First
 Circuit, which was docketed as Case No. 18-2228. On December 13, 2018, CSI filed a notice of
 appeal to the First Circuit, which was docketed as Case No. 19-1202, appealing the Order
 overruling objections and adopting the report and recommendation and the judgement dismissing
 the underlying case. On March 6, 2019, this case was consolidated with the appeal that the Atlantic
 Medical Plaintiffs had filed (Case No. 18-2228).

        The Atlantic Medical Plaintiffs, as appellants, filed their opening brief on April 18, 2019,
 and CSI filed its opening brief on May 10, 2019. The Commonwealth, as appellee, filed its
 consolidated answering brief on July 11, 2019. The Atlantic Medical Plaintiffs filed their reply
 brief on August 5, 2019 and CSI filed its reply brief on August 13, 2019. Oral argument is
 scheduled for March 6, 2020.

                        Corporación De Servicios Integrales De Salud Del Area De
                        Barranquitas, Comerio, Corozal, Naranjito y Orocovis v.
                        Commonwealth of Puerto Rico, Adv. Proc. No. 17-00298

         On December 28, 2017, a health care provider filed a complaint seeking declaratory
 judgment against the Commonwealth that sections 28 and 29 of Law 66-2014, which establish
 payment plans for judgments against the Commonwealth and provide that the Commonwealth may
 not be compelled to pay judgments if it does not have the funds, violate (i) the Due Process and
 Contracts Clauses of the United States Constitution and are preempted by Federal Medicaid law,
 (ii) section 903 of the Bankruptcy Code, which reserves the power of a state to control
 municipalities, and (iii) PROMESA section 303, which reserves the power of a covered territory
 to control instrumentalities and its own territory. In a prepetition action, Plaintiff obtained a $51
 million judgment against the Commonwealth for failure to make Medicare payments in a
 Commonwealth court.

          On March 28, 2018, the Commonwealth Debtor moved to dismiss the complaint, arguing
 Plaintiff’s challenges to Law 66-2014 fail because, (i) since the Commonwealth filed its Title III
 case, it is the automatic stay, rather than Law 66-2014, that bars collection of the judgment; (ii)
 the one-year statute of limitations for challenging the law, which was passed in 2014, has expired;
 (iii) the judgment is not a “contract” that is protected by the Contracts Clause; and (iv) PROMESA
 aims to require continued compliance with federal law, not to mandate that the Commonwealth
 remedy its past failure to make Medicaid payments.

        On September 25, 2018, Magistrate Judge Dein sua sponte issued an order staying the
 motion to dismiss pending a ruling by the First Circuit related to Asociacion de Salud Primaria de
 Puerto Rico v. Commonwealth of Puerto Rico, Adv. Proc. No. 17-00227, and a ruling on the

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 objections to the Court’s report and recommendation dismissing the complaint in Atlantic Medical
 Center v. Commonwealth of Puerto Rico, Adv. Proc. No. 17-00278. On October 2, 2019, Plaintiffs
 filed an objection to the Court’s order staying the case. On April 5, 2019, Judge Swain issued an
 order affirming Magistrate Judge Dein’s order staying the case and overruling Plaintiffs’ objection.

                        Asociación de Salud Primaria de Puerto Rico, et al. v. Commonwealth
                        of Puerto Rico, et al., Adv. Proc. No. 17-00227

         Prior to the commencement of the Commonwealth Title III Case, various not-for-profit
 corporations that provide comprehensive primary and preventive health care services throughout
 the Commonwealth to patients that lack health insurance filed an action in the Puerto Rico Court
 of First Instance, San Juan (the “Commonwealth Court”) against the Commonwealth and related
 government offices and officials seeking a money judgment for supplemental payments that should
 have been paid by the Commonwealth for Medicaid services provided by the Plaintiffs. On August
 2, 2017, certain other creditors of the Plaintiffs removed the action to the Title III Court, asserting
 that the Title III Court has jurisdiction in the action because it arises “under,” arises “in” or is
 “related to” the Commonwealth Title III Case.

         On November 14, 2017, the Puerto Rico Department of Justice, on behalf of the
 Commonwealth, filed a motion for abstention seeking to have the case remanded to the Puerto
 Rico Court of First Instance. On December 11, 2017, the Title III Court entered an amended order
 referring the case to Magistrate Judge Dein for general pretrial management and for a report and
 recommendation regarding the Commonwealth’s motion for abstention. On April 2, 2018, Judge
 Dein recommended that the Title III Court remand the adversary proceeding to the Puerto Rico
 Court of First Instance. Plaintiffs filed objections to Judge Dein’s report and recommendation.
 On July 10, 2018, the Title III Court overruled these objections and adopted Judge Dein’s report
 and recommendation to abstain from the proceeding. On February 16, 2019, the Plaintiffs filed an
 appeal to the United States Court of Appeals for the First Circuit. The appeal was docketed as
 Case No. 19-1189. The Commonwealth moved to dismiss the appeal for lack of jurisdiction on
 September 23, 2019. On October 3, 2019, Appellants filed an opposition to the motion to dismiss
 the appeal. On October 8, 2019, the Commonwealth filed a reply in support of its motion to
 dismiss the appeal. The First Circuit has not ruled on the motion to dismiss the appeal. On October
 28, 2019, Appellants filed their opening brief on appeal. Appellee filed its answering brief on
 December 16, 2019. Appellants’ reply brief on appeal was due on January 3, 2020, but Appellants
 did not file one.

        5.      Revenue Bond Litigation

        On July 24, 2019, the Court issued the Stay Order, which temporarily stayed certain
 adversary proceedings and contested matters identified therein. As part of the stay, the Court
 ordered the parties to enter into a period of mandatory mediation to, among other things, facilitate
 the preparation and filing of proposed scheduling orders with respect to certain adversary
 proceedings and contested matters relating to revenue bonds issued by certain Commonwealth
 instrumentalities. The Commonwealth, the Oversight Board, and certain creditors met extensively
 with the Mediation Team and drafted and submitted proposed scheduling orders. On November
 27, 2019, the Mediation Team filed an Interim Report and Recommendation with proposed interim

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 orders, including a proposed interim order for the preliminary scheduling of the litigation of issues
 related to the revenue bonds. On December 19, 2019, the Court entered an Interim Case
 Management Order for Revenue Bonds (the “Revenue Bond Interim CMO”) and set a January 10,
 2020 deadline for the Mediation Team to file an Amended Report (which was subsequently
 extended to February 10, 2010).

          The Revenue Bond Interim CMO directed, among other things, the filing and preliminary
 litigation of four adversary complaints relating to proofs of claim filed by certain revenue bond
 creditors and monoline insurers against the Commonwealth and/or HTA in respect of HTA, PRIFA
 and CCDA revenue bonds. Each of these proceedings are described below.

         On January 21, 2020, the monoline insurers Assured, National, Ambac, and FGIC filed an
 objection to the Oversight Board’s response to the Interim Report (the “Revenue Bondholders”).
 The Revenue Bondholders argue that the Title III Court should hold a final hearing on the lift stay
 motions and stay the revenue bond adversary proceedings pending the results of the lift stay
 motions. In their objection, the Revenue Bondholders also seek permission to conduct discovery
 in connection with the pending lift stay motions. On January 27, 2020, the Oversight Board filed
 a response to the Revenue Bondholders’ objection, arguing that staying the revenue bond
 adversary proceedings would risk incomplete resolution of key threshold issues, and that no
 discovery should be permitted until certain gating issues on the Revenue Bondholders’ security
 interests or other liens, if any, are determined.

        As per the Revenue Bond Interim CMO, the deadline for the defendants in the revenue
 bond adversary proceedings to respond to the complaints in those proceedings was February 27,
 2020.

                            Financial Oversight and Management Board for Puerto Rico, et al. v.
                            Ambac Assurance Corp., et al., Adv. Proc. No. 20-00007

         On January 16, 2020, Plaintiffs the Oversight Board, acting in its capacity as representative
 of HTA, and the UCC184 filed an action against Ambac, Assured, National, FGIC, Peaje, and
 BNYM, as fiscal agent (collectively, the “HTA Defendants”), challenging the proofs of claim filed
 against HTA and other lien claims asserted by the HTA Defendants as insurers and/or holders of
 certain bonds issued by HTA (the “HTA Bonds”) (the “HTA Claim Challenge Action”). The HTA
 Defendants filed proofs of claim (or alleged other claims of liens) in the HTA Title III case
 asserting, among other things, (i) the HTA Bonds are secured by statutory or equitable liens against
 certain of HTA’s property, (ii) HTA Defendants hold ownership interests in certain of HTA’s
 property, (iii) HTA Defendants have first priority, perfected security interests against HTA’s
 property extending beyond the security interests (if any) granted in the documents governing the
 HTA Bonds, (iv) breaches of contract and tort claims arising from the Commonwealth’s retention
 of revenues from gasoline and cigarette taxes and vehicle license fees levied and collected by the
 Commonwealth which were historically conditionally appropriated and transferred to HTA, (v)

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     The UCC is co-plaintiff with respect to certain claims asserted in this adversary proceeding that are substantially
 similar to the counts asserted in the prior pending HTA lien challenge adversary proceedings filed on May 20, 2019
 [Adv. Proc. Nos. 19-362, 19-363, 19-364, and 19-365].

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 violations of the Commonwealth and U.S. Constitutions, and (vi) their security interests continue
 to attach to revenues received by HTA postpetition.

         Plaintiffs allege the HTA Defendants’ purported secured HTA Bond claims should be
 disallowed except as to those amounts deposited and held in certain specified deposit accounts by
 the fiscal agent pursuant to the HTA Enabling Act and documents governing the HTA Bonds. In
 addition, Plaintiffs seek disallowance of all HTA Defendants’ proofs of claim (or other claims of
 lien) related to the HTA Bonds on the grounds that, among other things, (i) the HTA Defendants’
 proofs of claim other than BNYM’s are duplicative of the master proofs of claim filed by BNYM,
 as fiscal agent, (ii) the HTA Enabling Act and documents governing the HTA Bonds do not create
 statutory or equitable liens, (iii) the HTA Defendants do not have an ownership interest in any
 HTA revenues, (iv) security interests against any other funds not held by the fiscal agent are
 unperfected and avoidable pursuant to Bankruptcy Code sections 544 and 551, (v) HTA’s revenues
 are not special revenues as defined in Bankruptcy Code section 902(2), (vi) claims for postpetition
 revenues and interest must be disallowed pursuant to Bankruptcy Code sections 502(b)(2) and 552,
 (vii) the HTA Defendants do not have an allowable claim under the Contract, Due Process, and
 Takings Clauses of the Commonwealth and U.S. Constitutions, (viii) the HTA Defendants do not
 have an allowable claim under PROMESA section 407, and (ix) the HTA Defendants do not
 properly allege any tort claims against HTA.

          On February 11, 2020, the UCC moved to intervene in those counts in the HTA Claim
 Challenge Action in which the UCC is not a co-plaintiff [Adv. Proc. No. 20-00007, ECF No. 15].
 On February 18, 2020, the Oversight Board filed its limited opposition to the UCC’s motion stating
 that the Oversight Board: (i) does not oppose the UCC intervening with the same limited
 intervention rights the UCC has agreed to (and been granted) in the past, in at least ten prior
 instances of intervention under 11 U.S.C. § 1109; and (ii) objects to the UCC’s attempting to
 intervene with greater rights than are afforded to the UCC as interveners under section 1109,
 including the right to appeal decisions in this adversary proceeding and potentially block
 settlement [Adv. Proc. No. 20-00007, ECF No. 20]. Also on February 18, 2020, the Monolines
 filed a joint opposition to the UCC’s motion [Adv. Proc. No. 20-00007, ECF No. 22]. On February
 26, 2020, the UCC filed a reply in support of its motion to intervene [Adv. Proc. No. 20-00007,
 ECF No. 31].

        Also on February 11, 2020, the DRA Parties moved to intervene in the HTA Claim
 Challenge Action [Adv. Proc. No. 20-00007, ECF No. 14]. On February 18, 2020, the Oversight
 Board filed its response objecting to the DRA Parties’ motion [Adv. Proc. No. 20-00007, ECF No.
 23]. Also on February 18, 2020, the Monolines filed a joint opposition to the motion [ECF No.
 21]. On February 27, 2020, Assured, Ambac, National, FGIC and BNYM filed a joint motion to
 dismiss [Adv. Proc. No. 20-00007, ECF No. 35]. Peaje filed a joinder to the motion [ECF No. 36,
 Adv. Proc. No. 20-00007]. On February 28, 2020 the Ad Hoc Group of FGIC Noteholders filed a
 motion to intervene.




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                        Financial Oversight and Management Board for Puerto Rico v. Ambac
                        Assurance Corp., et al., Adv. Proc. No. 20-00005

         On January 16, 2020, Plaintiff the Oversight Board, acting in its capacity as representative
 of the Commonwealth, filed an action against the HTA Defendants challenging the proofs of claim
 filed against the Commonwealth and other lien claims asserted by the HTA Defendants as insurers
 and/or holders of HTA Bonds (the “Commonwealth-HTA Claim Challenge Action”). The HTA
 Defendants filed proofs of claim (or alleged other claims of liens) in the Commonwealth Title III
 case asserting, among other things, (i) the Commonwealth has liability for not appropriating and
 transferring certain revenues from gasoline and cigarette taxes and vehicle license fees levied and
 collected by the Commonwealth which were historically conditionally appropriated and
 transferred to HTA, (ii) violations of the Commonwealth and U.S. Constitutions, and (iii) various
 statutory and contractual theories to render their proofs of claim allowable.

         The Oversight Board contends the HTA Bonds are non-recourse, and the Commonwealth
 has no liability with respect to the HTA Bonds as it is neither an issuer nor a guarantor of the HTA
 Bonds pursuant to the HTA Enabling Act and documents governing the HTA Bonds. The
 Oversight Board seeks disallowance of all HTA Defendants’ proofs of claim (or other claims of
 lien) related to the HTA Bonds as against the Commonwealth on the grounds that, among other
 things, (i) the HTA Defendants’ proofs of claim other than BNYM’s are duplicative of the master
 proofs of claim filed by BNYM, as fiscal agent, (ii) the HTA Defendants lack standing to assert a
 claim against the Commonwealth as to the Bonds, (iii) the HTA Defendants’ purported security
 interests are limited to those funds received by HTA and deposited in specified deposit accounts
 held by the fiscal agent, (iv) the HTA Defendants lack subrogation, reimbursement, or contribution
 rights, (v) the pre-PROMESA retention of HTA revenues by the Commonwealth was permitted
 by Commonwealth law, the HTA Enabling Act and the documents governing the HTA Bonds, (vi)
 the Commonwealth’s retention of HTA revenues is neither a breach of contract nor a tort against
 the Commonwealth, (vii) any purported Commonwealth obligation to appropriate and transfer
 funds to HTA was preempted by PROMESA, (viii) the HTA Defendants do not have an allowable
 claim under the Contract, Due Process, or Takings Clauses of the Commonwealth and U.S.
 Constitutions, (ix) the HTA Defendants do not have a secured claim, a priority claim, a perfected
 security interests, or a claim for postpetition revenues, (x) the HTA Defendants do not have an
 ownership interest in any HTA revenues, and (xi) the HTA Defendants do not have an allowable
 claim under PROMESA section 407.

        On February 11, 2020, the UCC moved to intervene in the Commonwealth-HTA Claim
 Challenge Action [Adv. Proc. No. 20-00005, ECF No. 9]. On February 18, 2020, the Oversight
 Board filed its limited opposition to the UCC’s motion stating that the Oversight Board: (i) does
 not oppose the UCC intervening with the same limited intervention rights the UCC has agreed to
 (and been granted) in the past, in at least ten prior instances of intervention under 11 U.S.C. §
 1109; and (ii) objects to the UCC’s attempting to intervene with greater rights than are afforded to
 the UCC as interveners under section 1109, including the right to appeal decisions in this adversary
 proceeding and potentially block settlement [Adv. Proc. No. 20-00005, ECF No. 16]. Also on
 February 18, 2020, the Monolines filed a joint opposition to the UCC’s motion [Adv. Proc. No.
 20-00005, ECF No. 19]. On February 26, 2020, the UCC filed a reply in support of its motion to
 intervene [Adv. Proc. No. 20-00005, ECF No. 30].
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          Also on February 11, 2020, the DRA Parties moved to intervene in the Commonwealth-
 HTA Claim Challenge Action [Adv. Proc. No. 20-00005, ECF No. 11]. On February 18, 2020,
 the Oversight Board filed its response objecting to the DRA Parties’ motion [Adv. Proc. No. 20-
 00005, ECF No. 17]. Also on February 18, 2020, the Monolines filed a joint opposition to the
 motion [Adv. Proc. No. 20-00005, ECF No. 18]. On February 25, 2020, the Oversight Board and
 Peaje filed a joint motion to extend the deadline for Peaje to respond to the adversary complaint.
 On February 26, 2020, the Court issued an order granting the motion [Adv. Proc. No. 20-00005,
 ECF No. 29]. On February 27, 2020, Assured, Ambac, National, FGIC and BNYM filed a joint
 motion to dismiss [Adv. Proc. No. 20-00005, ECF No. 34].

                              Financial Oversight and Management Board for Puerto Rico v. Ambac
                              Assurance Corp., et al., Adv. Proc. No. 20-00003

         On January 16, 2020, Plaintiff the Oversight Board, acting in its capacity as representative
 of the Commonwealth, filed an action against Ambac, Assured,185 FGIC, and U.S. Bank Trust
 National Association (“U.S. Bank”), as trustee (collectively, the “PRIFA Defendants”) challenging
 the proofs of claim filed against the Commonwealth and other lien claims asserted by the PRIFA
 Defendants as holders and/or insurers of certain bonds issued by PRIFA (the “PRIFA Bonds”) (the
 “PRIFA Claim Challenge Action”). The PRIFA Defendants filed proofs of claim (or alleged other
 claims of liens) in the Commonwealth Title III Case asserting, among other things, (i) the
 Commonwealth has liability for not appropriating and transferring certain excise tax revenues on
 rum produced in Puerto Rico and sold on the U.S. mainland, levied and collected by the
 Commonwealth, which were historically conditionally appropriated and transferred to PRIFA, (ii)
 violations of the Commonwealth and U.S. Constitutions, and (iii) various statutory and contractual
 theories to render their proofs of claim allowable.

         The Oversight Board contends the PRIFA Bonds are non-recourse, and the Commonwealth
 has no liability with respect to the PRIFA Bonds as it is neither an issuer nor a guarantor of the
 PRIFA Bonds pursuant to the PRIFA Enabling Act and document governing the PRIFA Bonds.
 The Oversight Board seeks disallowance of all PRIFA Defendants’ proofs of claim (or other claims
 of lien) related to the PRIFA Bonds as against the Commonwealth on the grounds that, among
 other things, (i) the PRIFA Defendants’ proofs of claim other than U.S. Bank’s are duplicative of
 the master proof of claim filed by U.S. Bank, as trustee, (ii) the PRIFA Defendants lack standing
 to assert a claim against the Commonwealth as to the PRIFA Bonds, (iii) the PRIFA Enabling Act
 and documents governing the PRIFA Bonds do not create statutory or equitable liens, (iv) the
 PRIFA Defendants do not have an ownership interest in any rum excise tax revenues, (v) the
 PRIFA Defendants’ purported security interests are limited to those funds received by PRIFA and
 deposited in specified deposit accounts held by the fiscal agent, (vi) the PRIFA revenues are not
 special revenues as defined in Bankruptcy Code section 902(2), (vii) the PRIFA Defendants lack
 subrogation, reimbursement, or contribution rights, (viii) the retention of the rum excise tax
 revenues by the Commonwealth was permitted by Commonwealth law, the PRIFA Enabling Act
 and the documents governing the PRIFA Bonds, (ix) the Commonwealth’s retention of the rum
 excise tax revenues is neither a breach of contract nor a tort against the Commonwealth, (x) any
 purported Commonwealth obligation to appropriate and transfer funds to PRIFA was preempted
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       Only Assured Guaranty Corp., not Assured Guaranty Municipal Corp. or any other affiliates, is a defendant.

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 by PROMESA, (xi) the PRIFA Defendants do not have an allowable claim under the Contract,
 Due Process, and Takings Clauses of the Commonwealth and U.S. Constitutions, (xii) the PRIFA
 Defendants do not have an allowable claim under PROMESA section 407, and (xiii) the PRIFA
 Defendants do not have a secured claim, a priority claim, a perfected security interests, or a claim
 for postpetition revenues.

         On February 11, 2020, the UCC moved to intervene in the PRIFA Claim Challenge Action
 [Adv. Proc. No. 20-00003, ECF No. 9]. On February 18, 2020, the Oversight Board filed its
 limited opposition to the UCC’s motion stating that the Oversight Board: (i) does not oppose the
 UCC intervening with the same limited intervention rights the UCC has agreed to (and been
 granted) in the past, in at least ten prior instances of intervention under 11 U.S.C. § 1109; and (ii)
 objects to the UCC’s attempting to intervene with greater rights than are afforded to the UCC as
 interveners under section 1109, including the right to appeal decisions in this adversary proceeding
 and potentially block settlement [Adv. Proc. No. 20-00003, ECF No. 14]. Also on February 18,
 2020, Assured, Ambac, and FGIC filed an opposition to the UCC’s motion [Adv. Proc. No. 20-
 00003, ECF No. 15]. On February 26, 2020, the UCC filed a reply in support of its motion to
 intervene [Adv. Proc. No. 20-00003, ECF No. 18]. On February 27, 2020, Ambac, Assured and
 FGIC filed a joint motion to dismiss [Adv. Proc. No. 20-00003, ECF No. 21]. U.S. Bank filed a
 joinder to the motion [Adv. Proc. No. 20-00003, ECF No. 20].

                              Financial Oversight and Management Board for Puerto Rico v. Ambac
                              Assurance Corp., et al., Adv. Proc. No. 20-00004

         On January 16, 2020, Plaintiff the Oversight Board, acting in its capacity as representative
 of the Commonwealth, filed an action against Ambac, Assured,186 FGIC, and BNYM, as fiscal
 agent (collectively, the “CCDA Defendants”), challenging the proofs of claim filed against the
 Commonwealth and other lien claims asserted by the CCDA Defendants as holders and/or insurers
 of certain bonds issued by CCDA (the “CCDA Bonds”). The CCDA Defendants filed proofs of
 claim (or other claims of liens) in the Commonwealth Title III case asserting, among other things,
 (i) the Commonwealth has liability for not appropriating and ensuring the transfer certain hotel
 occupancy taxes, which were historically conditionally appropriated and transferred by the Puerto
 Rico Tourism Company to CCDA, (ii) violations of the Commonwealth and U.S. Constitutions,
 and (iii) various statutory and contractual theories to render their proofs of claim allowable.

         The Oversight Board contends the CCDA Bonds are non-recourse, and the Commonwealth
 has no liability with respect to the CCDA Bonds as it is neither an issuer nor a guarantor of the
 CCDA Bonds pursuant to the CCDA Enabling Act and documents governing the CCDA bonds.
 The Oversight Board seeks disallowance of all CCDA Defendants’ proofs of claim (or other claims
 of liens) related to the CCDA Bonds as against the Commonwealth on the grounds that, among
 other things, (i) the CCDA Defendants’ proofs of claim other than BNYM’s are duplicative of the
 master proof of claim filed by BNYM, as fiscal agent, (ii) the CCDA Enabling Act and the
 documents governing the CCDA Bonds expressly exclude the Commonwealth from liability, (iii)
 the CCDA Defendants lack subrogation, reimbursement, or contribution rights, (iv) the pre-
 PROMESA retention of the hotel occupancy tax revenues by the Commonwealth was permitted

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       Only Assured Guaranty Corp., not Assured Guaranty Municipal Corp. or any other affiliates, is a defendant.

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 by Commonwealth law and the documents governing the CCDA Bonds, (v) all laws purportedly
 appropriating the hotel occupancy tax revenues to CCDA were preempted by PROMESA, (vi) the
 Commonwealth’s retention of the hotel occupancy tax revenues is not a breach of contract or a tort
 against the Commonwealth, (vii) the CCDA Defendants do not have an allowable claim under the
 Contract, Due Process, and Takings Clauses of the Commonwealth and U.S. Constitutions, (viii)
 the CCDA Defendants do not have an allowable claim under PROMESA section 407, (ix) the
 CCDA Defendants do not have a secured claim, a priority claim, perfected security interests, or a
 claim for postpetition revenues, and (x) the CCDA Defendants do not have an ownership interest
 in any occupancy tax revenues.

         On February 11, 2020, the UCC moved to intervene in the CCDA Claim Challenge Action
 [Adv. Proc. No. 20-00004, ECF No. 11]. On February 18, 2020, the Oversight Board filed its
 limited opposition to the UCC’s motion stating that the Oversight Board: (i) does not oppose the
 UCC intervening with the same limited intervention rights the UCC has agreed to (and been
 granted) in the past, in at least ten prior instances of intervention under 11 U.S.C. § 1109; and (ii)
 objects to the UCC’s attempting to intervene with greater rights than are afforded to the UCC as
 interveners under section 1109, including the right to appeal decisions in this adversary proceeding
 and potentially block settlement [Adv. Proc. No. 20-00004, ECF No. 16]. Also on February 18,
 2020, Assured, Ambac, and FGIC filed an opposition to the UCC’s motion [Adv. Proc. No. 20-
 00004, ECF No. 17]. On February 26, 2020, the UCC filed a reply in support of its motion to
 intervene [Adv. Proc. No. 20-00004, ECF No. 20]. On February 27, 2020, Ambac, Assured, FGIC
 and BNYM filed a joint motion to dismiss [Adv. Proc. No. 20-00004, ECF No. 22].

        6.      Miscellaneous Litigation

                        Pinto-Lugo, et al. v. United States, et al., Adv. Proc. No. 18-00041

         Various labor unions and non-profit organizations filed an action on April 24, 2018 against
 the United States, the Oversight Board, and the Governor. On July 30, 2018, the Court granted
 Plaintiffs’ motion for leave to file an Amended Complaint. The Amended Complaint alleges
 PROMESA is unconstitutional because it purportedly violates the First, Fifth, and Fourteenth
 Amendments to the United States Constitution, international treaties, and the Declaration of
 Independence. Plaintiffs primarily base their arguments on the Insular Cases and the United
 States’ alleged treatment of Puerto Rico as a colony. Plaintiffs request (i) a declaration that
 PROMESA violates the aforementioned constitutional provisions, and various human rights
 provisions in the Declaration of Independence, the United Nations Charter, the United Nations
 Declaration of Human Rights, and the International Covenant of Civil and Political Rights; (ii) the
 removal of two Oversight Board members; (iii) a stay of the Title III Cases and the adoption of
 fiscal plans until an audit of the Commonwealth’s debt can occur and any persons engaging in
 illegal conduct surrounding the sale of bonds is held liable; (iv) the United States assume the
 Commonwealth Debtor’s public debt; and (v) an order prohibiting any interference with PREPA
 or UPR.

         On August 23, 2018, the United States, the Oversight Board, and the Governor each
 separately moved to dismiss the case. In its motion to dismiss, the Oversight Board argued (i)
 Plaintiffs lack standing, (ii) certain claims are barred by PROMESA section 4, which grants

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 debtors the power to sell and also preempts anything inconsistent in the Commonwealth
 Constitution, 105, which exempts the Oversight Board, its members and employees from liability
 for actions taken to carry out PROMESA and 210(a), which states that the United States is not
 responsible for payment of principal and interest on Puerto Rico-issued obligations, (iii) the
 treaties do not create binding domestic legal obligations, (iv) the Declaration of Independence
 cannot for the basis of a claim and does not give rise to a private cause of action, (v) Congress is
 not constrained by separation-of-powers principles when it legislates pursuant to the Territories
 Clause, (vi) the court does not have the authority to remove Oversight Board members and (vii)
 the Oversight Board is not obligated to conduct an audit under PROMESA.

         On October 24, 2018, Plaintiffs filed an opposition to the motion to dismiss and request for
 partial declaratory judgement. On October 29, 2018, Defendants moved to strike Plaintiffs’
 opposition on the ground it was non-compliant. The Court granted Defendants’ urgent motion on
 November 27, 2018 with leave for Plaintiffs to file a complaint opposition by December 21, 2018
 (which deadline was later extended to January 4, 2019).

          On January 4, 2019, Plaintiffs re-filed their opposition to the motions to dismiss, asserting
 that (i) the amended complaint satisfies the pleading standard; (ii) the Oversight Board violates the
 Declaration of Independence in that Puerto Ricans have not consented to grant it power; (iii)
 Congress does not have plenary power over residents of the territories under the Territories Clause;
 (iv) regulations enacted under the Territories Clause must be needful; (v) the Oversight Board
 violates the First Amendment, the Due Process Clause, and certain international treaties; (vi)
 Plaintiffs have standing; and (vii) the United States is obligated to assume the public debt of Puerto
 Rico.

         Defendants filed their replies in support of their motions to dismiss on March 18, 2019. On
 March 22, 2019, the Court granted Plaintiffs’ motion for leave to file a sur-reply. Plaintiffs’ sur-
 reply was filed on April 20, 2019. On August 7, 2019, the Court issued an order granting
 Defendants’ motion to dismiss and giving Plaintiffs leave to file a motion to seek permission to
 file an amended complaint.

          On October 8, 2019, Plaintiffs filed a motion for leave to file a second amended complaint.
 On October 15, 2019, Plaintiffs filed a proposed second amended adversary complaint. Plaintiffs
 filed an opposition to Defendants’ joint motion to strike on October 18, 2019. Judge Dein issued
 an order denying Defendants’ motion to strike on October 22, 2019. On November 15, 2019,
 Governor Vazquez-Garced and the Oversight Board filed oppositions to Plaintiffs’ motion for
 leave to file a second amended complaint. On November 21, 2019, Plaintiffs filed a motion
 requesting an extension of time to reply in support of their motion for leave to further amend the
 complaint. On December 10, 2019, Plaintiffs filed a reply in support of their motion for leave to
 file a second amended complaint.




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                        Cooperativa de Ahorro y Crédito Abraham Rosa, et al. v. Public
                        Corporation for the Supervision and Insurance of Cooperatives of
                        Puerto Rico, et al., Adv. Proc. No. 19-00389

          On July 1, 2019, Plaintiffs, a group of credit unions, filed a complaint against Public
 Corporation for the Supervision and Insurance of Cooperatives of Puerto Rico (“COSSEC”),
 seeking declaratory and injunctive relief in connection with share and deposit insurance. Plaintiffs
 argue that they have complied with the requirements to avail themselves of coverage provided by
 COSSEC, which they allege has been undercapitalized. Plaintiffs sought a preliminary and
 permanent injunction commanding COSSEC to resort to the resources of the Puerto Rico Treasury
 Department in order to adequately provide share and deposit insurance to Plaintiffs. Also on July
 1, Plaintiffs filed a motion to seal the proceeding. On July 2, 2019, the Court issued an order
 directing Plaintiffs to show cause for why the proceeding should be sealed. Plaintiffs filed a reply
 in support of their motion to seal on July 9, 2019. On July 15, 2019, Plaintiffs filed a motion for
 an order to show cause and request for a preliminary injunction. On July 18, 2019, Defendants
 filed a response to Plaintiffs’ motion to seal, stating that Defendants did not take any position on
 the issue of whether the motion to seal should not be denied and why all documents in the
 proceedings should not be unsealed. On July 25, 2019, the Oversight Board filed a motion to stay
 all responses to the complaint until 30 days after the Court issued a ruling on Plaintiffs’ motion for
 a preliminary injunction hearing. On July 26, 2019, the Court issued an order denying (i)
 Plaintiffs’ motion to seal and (ii) Plaintiffs’ motion for a preliminary injunction hearing. On July
 29, Plaintiffs filed a notice of appeal of the order denying their motion to seal and motion for a
 preliminary injunction hearing. On August 2, 2019, in the First Circuit, Plaintiffs filed a motion
 to stay the order denying their motion to seal in Case No. 19-1755. On August 7, 2019, Defendants
 (and Appellees) filed their response. On August 9, 2019, the First Circuit issued an order
 temporarily staying the Title III Court’s order to unseal the adversary proceeding. On August 14,
 2019, the First Circuit issued an order withdrawing the interim stay of the unsealing of the
 adversary proceeding effective August 16, 2019. On August 16, 2019, in the Title III Court,
 Plaintiffs filed a motion to temporarily extend the stay, which the Court denied. On January 15,
 2020, Appellants filed a motion to voluntarily dismiss the appeal without prejudice. On February
 3, 2020, the Court issued its mandate and judgment dismissing the appeal without prejudice.

                        Puerto Rico Horse Owners Association, Inc. v. Commonwealth of
                        Puerto Rico, et al., Adv. Proc. No. 19-00392

         On July 2, 2019, a non-profit organization, Puerto Rico Horse Owners Association, filed
 an action against the Commonwealth, the Oversight Board and its executive director (in her official
 capacity), the Governor of Puerto Rico and certain government officials (in their official
 capacities) seeking declaratory relief that funds from uncashed winning tickets bet on horse races
 are not property of the Commonwealth, and should be paid to the Racing Administrator for
 distribution to certain Puerto Rico horse breeders. On July 3, 2019, Plaintiff filed an amended
 complaint purporting to correct a clerical error. On September 3, 2019, the government official
 Defendants filed a motion to dismiss the amended complaint. The Commonwealth, the Oversight
 Board, and Natalie Jaresko also filed a motion to dismiss the amended complaint on September 3,
 2019. On September 4, 2019, AAFAF filed a motion to dismiss the amended complaint. On
 October 15, 2019, Plaintiff filed an omnibus opposition to the motions to dismiss. On November
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 3, 2019, Plaintiff filed a second amended complaint. On November 4, 2019, Defendants filed
 motions to dismiss the second amended complaint. On November 19, 2019, Plaintiff filed an
 opposition to the motions to dismiss. On December 2, 2019, the Oversight Board and AAFAF
 filed replies in support of their motions to dismiss. On February 28, 2020, Plaintiffs filed a motion
 for an order directing Defendants to state their position in connection with the motions to dismiss.

                              UCC Objection to Claim of GDB

         On July 15, 2019, the UCC filed an objection to GDB’s claim against the Commonwealth
 Debtor based on (i) section 502(d) of the Bankruptcy Code, which instructs courts to disallow
 claims by transferees of a voidable transfer if the transferee has not paid the amount or turned over
 the property received as required under the sections under which the transferee’s liability arises,
 and (ii) section 502(b)(1), which states that unenforceable claims may not be allowed. The UCC
 argued that GDB received both constructive and actual fraudulent transfers from the
 Commonwealth in the form of 2014 GO Bonds because, among other things, the transfers were
 made to benefit GDB, the Commonwealth was undercapitalized, the Commonwealth did not
 receive reasonably equivalent value in exchange for the transfers, and that GDB received
 preferential transfers. The UCC cited to the Kobre Kim report, which stated that GDB abused its
 position as a lender to the Title III Debtors by increasing their debt load in a way that benefitted
 GDB as a creditor relative to other creditors. The UCC furthermore alleged that GDB could not
 substantiate its claims. On September 9, 2019, the Title III Court issued an order subjecting the
 objection to the Stay Order, which stay was extended through March 11, 2020.187

       On January 8, 2020, the UCC filed an omnibus objection to proofs of claim filed by GDB
 and Scotiabank and to all claims against the Commonwealth based on its guaranty of certain
 PRIFA notes.

 G.         Rule 2004 Motions

            1.       GO Bondholders/Monolines Rule 2004 Motion Concerning Fiscal Plan
                     Development

        On August 25, 2017, National filed a Rule 2004 motion seeking documents regarding the
 Commonwealth’s financial condition and its fiscal plan [ECF No. 1177]. On the same day, the
 Ad Hoc Group of GO bondholders, Assured, and the Mutual Fund Group filed a joint Rule 2004
 [ECF No. 1178]. On September 12, 2017 Ambac filed a Rule 2004 seeking similar financial
 information [ECF No. 1283]. On September 19, 2017 FGIC [ECF Nos. 1334, 1335] and the ERS
 Secured Creditors [ECF No. 1340] joined National and the GO Group (defined herein) motions,
 while the Retiree Committee joined all three. Also on September 19, the UCC filed a response
 [ECF No. 1344], and the Oversight Board objected to the three Rule 2004s [ECF No. 1345].
 AAFAF joined the Oversight Board’s omnibus objection on October 31, 2017. On November 2,
 2017 UCC joined the three Rule 2004s. On November 7, 2017, the GO Group [ECF No. 1665],
 National [ECF No. 1667], and Ambac [ECF No. 1668] filed replies in support of their respective
 motions and ERS Secured Creditors filed a reply in support of their joinder [ECF No. 1670]. On

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       See section V.L of this Disclosure Statement for a detailed summary of the Mediation Report.

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 November 17, 2017, the Court issued an order denying the motions without prejudice [ECF No.
 1824].

         On November 28, 2017, the Ad Hoc Group of General Obligation Bondholders filed a
 renewed motion for an order authorizing discovery regarding the Commonwealth’s financial
 condition and its fiscal plan, in which numerous parties, including the UCC, certain ERS
 bondholders, Ambac, Assured, and National [ECF No. 1870]. The Commonwealth filed an
 objection to the renewed joint motion on December 6, 2017, asserting, inter alia, that the common
 interest and deliberative process privileges precluded discovery into development of the fiscal plan
 [ECF No. 1928]. On February 26, 2018, Magistrate Judge Dein entered an order upholding the
 assertion of the deliberative process and common interest privileges, but ordering the parties to
 prepare privilege logs. On June 22, 2018, Magistrate Judge Dein held a hearing addressing the
 parties’ disputes regarding the assertion of privileges over fiscal plan development materials. The
 parties have thereafter engaged in consensual discussions to resolve their disputes.

        2.      Ambac Rule 2004 Motion Concerning PRIFA Rum Taxes

         On June 7, 2019, Ambac Assurance Corporation filed a Rule 2004 motion concerning
 PRIFA rum taxes [ECF No. 7328] (the “PRIFA Rum Tax 2004 Motion”), which FGIC [ECF No.
 7676] and the UCC [ECF No. 7881] later joined. The PRIFA Rum Tax 2004 Motion seeks
 discovery regarding the identification and quantification of rum tax revenues, as well as any
 transfers of such tax revenues. The Oversight Board opposed the motion on July 9, 2019, joined
 by AAFAF [ECF Nos. 7891, 7896]. Bacardi also filed an objection on July 9, 2019 [ECF No.
 7897]. Ambac replied in support of its motion on July 16, 2019 [ECF No. 8029]. Further
 proceedings with respect to the PRIFA Rum Tax 2004 Motion were stayed pursuant to the Court’s
 Stay Order. On February 10, 2020, the Mediation Team filed its Amended Report, recommending
 that the PRIFA Rum Tax 2004 Motion be denied without prejudice.

        3.      Ambac Rule 2004 & Compliance Motions Concerning Pension Liabilities

         On June 18, 2019, Ambac Assurance Corporation filed a motion to compel compliance
 with prior orders [ECF No. 7505] and a Rule 2004 motion (together with ECF No. 7505, the
 “Pension Liabilities Motions”) [ECF No. 7507] concerning pension liabilities. The Ad Hoc Group
 of Constitutional Debtholders [ECF No. 7531], Assured [ECF No. 7588], Ad Hoc Group of
 General Obligation Bondholders [ECF No. 7714], and the UCC [ECF No. 7883] joined the Rule
 2004 motion; FGIC joined both [ECF No. 7674]. On July 9, 2019 the Oversight Board filed an
 omnibus opposition [ECF No. 7895] to the motion to compel and Rule 2004 motion. Ambac
 replied on July 23, 2019 [ECF No. 8230]. At the same time, the parties met and conferred and
 agreed to productions of certain documents responsive to the requests in the Pension Liabilities
 Motions. As a result of those efforts, the parties jointly requested several adjournments to any
 hearing on the Pension Liabilities Motions. On February 27, 2020, the parties filed a joint status
 report and a joint motion to adjourn the hearing. Judge Dein issued an order granting the motion
 to adjourn until April 22, 2020 [ECF No. 11808].




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        4.      Rule 2004 Motions Concerning Commonwealth Assets and Commonwealth
                Cash Restriction Analysis

         On October 28, 2019, Ambac filed two Rule 2004 motions: one seeking discovery
 concerning Commonwealth assets [ECF No. 9022] (“CW Asset Motion”), and the other seeking
 discovery concerning the Commonwealth’s available cash and analyses regarding restricted versus
 unrestricted cash (“CW Cash Motion”) [ECF No. 9023]. On November 8, 2019, the Oversight
 Board filed an urgent motion to strike Ambac’s Rule 2004 motions and for sanctions, arguing that
 the CW Asset Motion and the CW Cash Motion violated the mandatory stay imposed by the Court
 in July 2019 [ECF No. 9131]. On December 3, 2019, Ambac filed an objection to the Oversight
 Board’s urgent motion. ECF No. 9404. On December 10, 2019, the Oversight Board filed a reply
 in support of its urgent motion to strike [ECF No. 9531].

         On January 23, 2020, the Court denied the Oversight Board’s motion to strike. ECF No.
 10332. However, the Court further held that the discovery requests in the CW Asset Motion and
 the CW Cash Motion were “sweepingly broad” and “objectively unreasonable.” Id. The Court
 ordered the parties to confer and file a joint status report on or before February 12, 2020. Id.
 Numerous parties, including the UCC, Servicios Integrales de la Montana, Assured, National, and
 FGIC filed joinders, seeking to participate in meet and confer sessions and to receive discovery
 produced pursuant to the CW Cash and CW Asset Motions. On February 3, 2020, FGIC filed a
 joinder to the CW Cash and CW Asset Motions. On February 6, 2020, Magistrate Judge Dein
 issued an order requiring the parties to respond to the joinders in their joint status report [ECF No.
 10727].      On February 12, 2020, the parties filed a joint status report, stating that they are
 continuing to meet and confer to resolve disputes regarding the scope of the requests. The parties
 further stated that they do not object to the joinder entities’ requests to participate in meet and
 confers and to receive documents, but reserve the right to object to future requests. On February
 26, 2020, the parties filed a further joint status report. On February 28, 2020, Judge Dein issued
 an order directing the parties to file a further joint status report.

 H.     Oversight Board’s Investigation of Potential Causes of Action

         The Oversight Board is vested with broad investigative powers. Pursuant to PROMESA
 section 104(o), which empowers the Oversight Board to investigate the disclosure and selling
 practices in connection with the purchase of bonds issued by the Debtors, and related section, the
 Oversight Board, through its Special Investigation Committee, pursued an investigation into
 potential causes of actions related to Puerto Rico’s fiscal crisis.

        1.      Independent Investigator Report

                        Process and Mandate

         On September 1, 2017, the Oversight Board, acting by and through the Special
 Investigation Committee, retained Kobre & Kim LLP (the “Independent Investigator”) to conduct
 an investigation into certain matters relating to Puerto Rico’s fiscal crisis in furtherance of the
 Oversight Board’s mandate pursuant to PROMESA.


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          Specifically, the Independent Investigator was asked to investigate: (i) the factors
 contributing to Puerto Rico’s fiscal crisis, including changes in the economy, expansion of
 spending commitments and entitlement programs, changes in the federal funding it receives, and
 reliance on debt to finance a structural budget deficit; (ii) Puerto Rico’s debt, the general use of
 proceeds, the relationship between the debt and Puerto Rico’s structural budget deficit, the range
 of its debt instruments, and how Puerto Rico’s debt practices compare to the debt practices of states
 and large municipal jurisdictions; and (iii) Puerto Rico’s debt issuance, disclosure, and selling
 practices, including its interpretation of Puerto Rico’s Constitutional Debt Limit. In consultation
 with the Special Investigation Committee and the Oversight Board’s General Counsel, the
 Independent Investigator focused its inquiry on the following specific areas: GDB; Puerto Rico’s
 Public Utilities; COFINA; ERS; Puerto Rico’s Budgeting, External Reporting, and Accounting
 Functions; calculation of the Constitutional Debt Limit; the credit rating agencies; selling practices
 for Puerto Rico-related Bonds; Puerto Rico’s government ethics framework; issuers’ use of interest
 rate swaps; Puerto Rico’s lack of a clear mechanism for validating Puerto Rico-related bonds
 before they issue; and the possession tax credit.

         The Special Investigation Committee’s principal goals for the investigation were: (i) to
 identify any policies (or lack of safeguards) that contributed to the Puerto Rico debt crisis,
 including factors that permitted Puerto Rico and certain of its instrumentalities (“Issuers”) to issue
 significant amounts of debt without adequate sources of repayment; and (ii) to identify potential
 value recovery from culpable parties and identify matters for regulatory attention, all to assist the
 Oversight Board in its mission to restore fiscal balance and economic opportunity and to promote
 Puerto Rico’s access to the capital markets.

                              Investigation Procedures

         In May 2017, the Oversight Board adopted the PROMESA Investigative Procedures to
 establish the procedural framework for the investigation.188 Those PROMESA Investigative
 Procedures authorize the Oversight Board to commence an “Informal Investigation” and a “Formal
 Investigation” to probe activities or conduct for which the Oversight Board has authority to
 investigate under PROMESA. The key procedural difference between the two types of
 investigations is that the Oversight Board is only authorized to issue process to compel testimony
 and production of investigative materials upon the commencement of a Formal Investigation.189
 The Independent Investigator used both formal and informal investigative techniques to achieve
 the mandate set out by the Special Investigation Committee.

         On October 18, 2017, the Special Investigation Committee, acting on behalf of the
 Oversight Board, approved a Resolution Initiating Formal Investigation for Purpose of Issuing
 Investigative Subpoenas (the “Investigative Subpoenas Resolution”).190 In general terms, under

 188
       The PROMESA Investigative Procedures are available at https://oversightboard.pr.gov/documents/.
 189
       PROMESA Investigative Procedures, §§ 3.1(b), 3.2(b)(2). Section 104 of PROMESA vests the Oversight Board
       with the power to issue subpoenas “requiring the attendance and testimony of witnesses and the production of
       books, records, correspondence, memoranda, papers, documents, electronic files, metadata, tapes, and materials of
       any nature relating to any matter under investigation by the Oversight Board.” 48 U.S.C. § 2124(f)(1).
 190
       The Investigative Subpoenas Resolution is available at https://oversightboard.pr.gov/documents/.
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 the Investigative Subpoenas Resolution, a Formal Investigation is deemed initiated for the purpose
 of authorizing the Independent Investigator to issue Investigative Subpoenas191 in certain
 circumstances.192

         Starting in September 2017, in furtherance of the Informal Investigation, the Independent
 Investigator delivered letters to more than 90 entities (collectively, the “Document Preservation
 and Request Letters”). The Document Preservation and Request Letters identified various
 categories of documents that the Independent Investigator deemed relevant to the Informal
 Investigation and requested that the recipients of the letters preserve and produce any responsive
 documents in their possession, custody, or control. After the Document Preservation and Request
 Letters were sent, the Independent Investigator scheduled and conducted conferences with the
 recipients (most by phone, some in person) to reiterate the requests and discuss a process for
 identification and delivery of documents to the Independent Investigator.

          Witnesses, in the main, cooperated with the Independent Investigator, and the Independent
 Investigator used the tools available through the Informal Investigation. That cooperation—
 facilitated by the Independent Investigator’s use of its subpoena power only as needed—enabled
 the Independent Investigator to complete the investigation in an efficient and timely manner,
 consistent with the objectives of PROMESA and as requested by the Special Investigation
 Committee. The Independent Investigator was especially mindful of avoiding the delay and cost
 of litigating subpoenas.

        Over the course of the investigation, the Independent Investigator received a total of
 approximately 260,800 documents consisting of approximately 2,740,000 pages, from 32 parties.
 Those parties include, among others, a number of Puerto Rico entities, financial institutions, rating
 agencies, financial advisors, professionals, and regulators.

          The Independent Investigator also secured direct, read-only access to the email custodial
 files of dozens of employees and former employees of GDB through its representative, AAFAF.193
 On behalf of GDB, AAFAF produced to the Independent Investigator approximately 36,000
 documents from that database.


 191
       An “Investigative Subpoena” is defined in section 1.3(a)(16) of the PROMESA Investigative Procedures to mean
       a subpoena issued by the Oversight Board or its authorized agent pursuant to PROMESA section 104(f)(í),
       substantially in the form of an exhibit attached to the Investigative Subpoenas Resolution.
 192
        Those circumstances would occur where a witness has not voluntarily cooperated with the Independent
       Investigator’s requests for documents or an interview, where the witness has communicated that it cannot
       voluntarily cooperate with the Independent Investigator’s requests, or where the witness has provided an interview
       but the Independent Investigator, in consultation with the Oversight Board’s General Counsel, determines that it
       would be appropriate to have the witness testify under oath.
 193
       That access was obtained through PROMESA section 104(c)(2), which provides as follows: “Notwithstanding any
       other provision of law, the Oversight Board shall have the right to secure copies, whether written or electronic, of
       such records, documents, information, data, or metadata from the territorial government necessary to enable the
       Oversight Board to carry out its responsibilities under this Act. At the request of the Oversight Board, the Oversight
       Board shall be granted direct access to such information systems, records, documents, information, or data as will
       enable the Oversight Board to carry out its responsibilities under this Act.” 48 U.S.C. § 2124(c)(2).
                                                             215
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         Pursuant to the Investigative Subpoenas Resolution, the Independent Investigator issued
 12 Investigative Subpoenas (five of which were withdrawn after issuance based on the recipient’s
 subsequent agreement to voluntarily cooperate with the Independent Investigator).194 Without
 exception, the recipients of the Investigative Subpoenas produced documents to the Independent
 Investigator in response to those subpoenas.

         From December 2017 to August 2018, the Independent Investigator conducted a total of
 approximately 120 voluntary witness interviews, probing a wide range of topics relevant to the
 investigation. The individuals interviewed included four former governors of Puerto Rico, former
 and current senior government officers, underwriters, credit rating agencies, auditors, outside
 professionals and advisors.

         Throughout the investigation, the Independent Investigator engaged in robust cooperation
 and consultation with the UCC and Retiree Committee. Beginning in November 2017, the
 Independent Investigator regularly engaged with both the UCC and Retiree Committee regarding
 the investigation. Specifically, in addition to cooperation and communication by calls and e-mails
 when needed, the Independent Investigator participated in weekly telephone conferences with
 counsel for the UCC and Retiree Committee respectively. During those conferences, the
 Independent Investigator provided information regarding witnesses to be interviewed in the
 coming week, solicited input on questions to ask of witnesses, provided counsel to the UCC and
 Retiree Committee with its preliminary observations regarding the results of the investigation in
 areas in which the UCC and Retiree Committee had expressed interest, and also facilitated the
 UCC and Retiree Committee’s access to materials that were provided to the Independent
 Investigator.

                             Major Findings from the Independent Investigation about the
                             Debtors

         On August 20, 2018, the Independent Investigator published its Final Investigative Report.
 This Disclosure Statement includes a summary of the Independent Investigator’s primary findings
 relating only to each of the Debtors who are covered by the Plan. The summary included in this
 Disclosure Statement should not be construed as a substitute for the comprehensive reporting,
 recommendations, and claims analysis included in the Final Investigative Report.195

                             (i)      Commonwealth of Puerto Rico

         The Final Investigative Report includes findings related to budgeting and accounting, the
 role of GDB, and the Constitutional Debt Limit, all of which impacted the debt issued by the
 Commonwealth.


 194
       The recipients of Investigative Subpoenas (apart from those that were withdrawn) were Banco Popular de Puerto
       Rico, Mesirow Financial Inc., Popular Inc., Popular Securities LLC, Santander Asset Management LLC, Santander
       Bancorp, and Santander Securities LLC.
 195
       A comprehensive overview of the entire Final Investigative Report is available in the Executive Summary,
       available  at    the    Oversight      Board’s     website     at     https://drive.google.com/open?id=19-
       lauVo3w9MPS03xYVe0SWhQin-Q6FEf.
                                                         216
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                        (ii)    Budgeting and Accounting

         With regard to the Commonwealth’s budgeting, external reporting, and accounting
 functions, discussed in Part VIII of the Final Investigative Report, the Independent Investigator
 found that the Commonwealth failed to: (i) develop budgets based on accurate growth and revenue
 estimates, to which it could adhere; (ii) develop the infrastructure and resources it needed to
 support efficient accounting functions; and (iii) optimize its use of independent auditors. These
 failures often caused the Commonwealth’s external financial reports to be late, which, in turn,
 resulted in a loss of investor confidence and the ability of interested parties to acquire sufficient
 transparency into matters that concerned, or were otherwise intertwined with, the
 Commonwealth’s fiscal health. The budgetary failures and reliance on erroneous assumptions of
 economic growth and unreasonable revenue projections also resulted in substantial deficits.

                        (iii)   The Role of GDB

         As addressed in Part IV of the Final Investigative Report, GDB’s dual roles as fiscal agent
 and lender for certain Commonwealth instrumentalities and public corporations were in tension,
 and that tension became untenable over time. The tension was compounded by structural
 deficiencies that allowed the policy considerations of various gubernatorial administrations to
 affect the decision-making of GDB in its capacities as both lender and fiscal agent.

         As it related to GO issuances, the tension between GDB’s dual roles influenced GDB’s
 decisions to approve new debt issuances for the purpose of “scooping and tossing” older
 obligations or as an alternative to forcing certain Commonwealth instrumentalities and public
 corporations to implement measures that would have made them less dependent on borrowed
 liquidity, but that could have increased the costs of living for voters.

         The approximately $3.5 billion of GO Bonds that GDB, in its capacity as fiscal agent,
 authorized to issue in 2014 (the “2014 GO Bond Issuance”) is a specific example of a “scoop and
 toss” bond issuance. About $1.9 billion of that issuance was to be used to repay loans that Puerto
 Rico and PBA had drawn from GDB. According to a witness who worked first at GDB and
 subsequently at an underwriter for Puerto Rico-Related Bonds, the very reason for the 2014 GO
 Bond Issuance was to help “reliquify” GDB so that it could resume its role as bridge loan provider
 to the government.

         According to the Final Investigative Report, the 2014 GO Bond Issuance also illustrates
 several respects in which policy considerations influenced GDB’s decision-making. The
 investigation revealed that GDB first considered the issuance in early 2013. At that time, the
 issuance was contemplated as a way to raise capital that HTA could use to satisfy an outstanding
 debt of about $2 billion. HTA owed the debt to GDB as a result of loans that HTA had drawn to
 help bridge its operational deficits. The loans dated back to 2008. But to implement the issuance,
 HTA needed to increase its revenues. GDB officials encouraged the Governor to increase the gas
 tax in order to accomplish that, but the Governor declined to do so. Instead, on June 25, 2013,
 Puerto Rico increased the portion of the excise tax that HTA received on petroleum products from
 $3.00 per barrel to $9.25 per barrel, and transferred to HTA the portion of motor vehicle license
 fee proceeds that was originally due to the Department of Treasury. The anticipated revenues were

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 insufficient to implement the contemplated HTA offering. Due to the combined effect of the
 unwillingness to increase the gas tax, HTA’s prior budget overruns, and its shortfalls in anticipated
 revenues, an HTA offering was no longer viable. GDB prepared instead to go to market with the
 2014 GO Bond Issuance, from which a meaningful portion of the bond proceeds were slated to
 repay GDB lines of credit.

         The Independent Investigator also collected information from witnesses that by
 approximately March 2014, the GDB Board had realized that Puerto Rico would not be able to
 issue its financial statements for the fiscal year ended 2013 before the May 1, 2014 deadline that
 the Securities and Exchange Commission (“SEC”) Rule 15c2-12 and relevant continuing
 disclosure agreements required—unless GDB could first obtain proceeds from the 2014 GO Bond
 Issuance. In essence, GDB needed those proceeds so that GDB could demonstrate twelve-months
 of liquidity on its financial statements and, as a result, appear to still be a “going concern” for
 accounting purposes. This was because HTA could not repay the $2 billion debt it owed to GDB,
 and GDB did not otherwise have sufficient cash to appear objectively likely to remain solvent for
 the foreseeable future.

                        (iv)    The Constitutional Debt Limit

        In Part IX of the Final Investigative Report, the Independent Investigator examined Puerto
 Rico’s interpretation of the Constitutional Debt Limit found in section 2 of Article VI of the
 Commonwealth Constitution and the historical processes and procedures pursuant to which it
 performed the Constitutional Debt Limit Calculation during the relevant period.

         The Independent Investigator found that Puerto Rico has historically interpreted the
 Constitutional Debt Limit to require that only the following be included in the Debt Limit
 Calculation: (i) direct obligations for which it is has pledged its good faith, credit and taxing power;
 and (ii) certain debt servicing payments on bonds or notes it has guaranteed. In other words, debt
 issued by the public corporations (unless that debt is guaranteed by Puerto Rico) is not included in
 the Debt Limit Calculation and is not limited by the Constitutional Debt Limit.

         The evidence reviewed supports the conclusion that Puerto Rico employed a reasonably
 robust process for these Debt Limit Calculations. The Independent Investigator found, moreover,
 that various contingent, yet foreseeable, obligations of Puerto Rico were excluded from the
 Constitutional Debt Limit Calculation by statute or based on outside legal opinions. For example,
 through Act No. 39 of August 1, 2005 (“Act 39”), Puerto Rico pledged the “good faith, the credit
 and the power to impose taxes of the Commonwealth” for amounts payable—interest,
 specifically—under Swap agreements entered into by the Commonwealth and by PBA. Act 39
 expressly excludes, however, any amount payable or to be paid by the Commonwealth in
 termination fees for Commonwealth Basis Swaps and PBA Swaps from the Debt Limit
 Calculation.

        The Independent Investigator did not find any evidence that Puerto Rico’s government
 personnel thought Puerto Rico misinterpreted the relevant constitutional provision or calculated
 the debt inaccurately. The Independent Investigator did not take any position as to whether


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 the Constitutional Debt Limit was, in fact, violated or whether certain obligations should have
 been included in the Debt Limit Calculations.

                             (v)     HTA

         As discussed in Part IV of the Final Investigative Report, the investigation revealed that
 HTA historically relied on GDB to step in to cover operational expenses, particularly when it was
 unable to access the capital markets. Many of those loans were, according to former GDB officials,
 used to cover HTA’s budget deficits. With regard to HTA in particular, GDB evaluated and
 approved its loans very quickly, at times within hours, after a request was submitted. According
 to witnesses, this was to avoid potential adverse consequences stemming from HTA’s lack of fiscal
 health, such as HTA having to shut down the Tren Urbano if its operator had not been paid. There
 is also evidence that, in certain instances, GDB may have approved financing requests by HTA
 notwithstanding circumstances that, if GDB and the recipients had been private actors, might have
 led to additional due diligence.

        Gubernatorial will across administrations also affected GDB’s decision-making with
 respect to HTA’s debt load. For example, during Governor Fortuño’s administration, GDB
 increased HTA’s line of credit to approximately $2 billion. At the time, the total of GDB’s loans
 receivable was approximately $9 billion.196 GDB did this, according to one witness, so that HTA
 would not have to raise vehicle registration fees, public transportation fees, tolls, or the gasoline
 tax (known as “la crudita” in Spanish); all of which would have increased costs for ordinary voters.

        Then, by early 2013, Governor García Padilla’s administration decided that GDB should
 no longer support the public corporations through appropriations. At the same time, however,
 witnesses reported that the Governor remained reluctant to raise Public Utility rates or related
 taxes—or would not agree to increase them as much as GDB management recommended.

                             (vi)    ERS

        Part VII of the Final Investigative Report presents the results of the investigation into ERS,
 and specifically into its decision to issue pension obligation bonds of ERS Debtor in 2008 in the
 aggregate amount of approximately $3 billion.

          ERS struggled perennially with unfunded liabilities—by June 30, 2005, it had actuarial
 liabilities of $12.284 billion, of which only 19% were funded. To address the underfunding, an
 investment bank proposed that ERS issue bonds secured by the stream of Employer Contributions,
 which included a recommendation that ERS “issue at least $7 billion” in bonds, to make near-term
 payments and invest the remainder in an arbitrage strategy.

        In the first half of 2008, ERS issued nearly $3 billion of bonds exclusively into the local
 bond market (i.e., no bonds were made available for purchase by individuals or funds located
 outside of Puerto Rico). Evidence indicates additional ERS Bonds were not issued in the second

 196
       For context, the Commonwealth had a projected budget of approximately $9 billion in 2013. See Commonwealth
       of P.R., Basic Financial Statements and Required Supplementary Information: Year ended June 30, 2013,
       246 (June 30, 2014).
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 half of 2008 because of unanticipated market behavior. Then, in 2009, even as credit markets
 began to re-open, additional ERS Bonds were not issued as a matter of policy.

         Without additional proceeds beyond the initial $3 billion being invested, the arbitrage
 strategy had little chance of succeeding. The arbitrage strategy may have succeeded if reasonable
 predictions had held true, but they did not.

       By 2017, retirement benefits from the retirement systems for public employees such as
 ERS had switched to PayGo, meaning that all benefit payments would come out of tax revenue.

                         (vii)   PBA

         As discussed in Part IX of the Final Investigative Report, the Independent Investigator
 found no evidence that Puerto Rico officials believed that Puerto Rico’s practice with respect to
 debt service payments on PBA Bonds violated the Constitutional Debt Limit. The Independent
 Investigator did not take a position as to whether the PBA Bonds should have been included in the
 Debt Limit Calculations.

       PBA owns and leases a number of buildings that it leases or subleases to various
 governmental agencies. PBA has issued PBA bonds, about $4.1 billion outstanding in early 2017,
 which PBA Bondholders assert are payable from and secured by a pledge of the rental payments
 owed to PBA by the lessees. Each month, the treasury forwarded funds to GDB for PBA rental
 payments, which were deposited into a PBA account.

         The Independent Investigator found that Puerto Rico has a longstanding practice of treating
 direct debt and guaranteed debt differently for the purposes of debt limit calculation. Furthermore,
 several witnesses stated they were not aware of anyone expressing the view that PBA bonds should
 have been included in the debt limit calculation. Lastly, independent auditors opined in 2013 that
 the debt limit had not been exceeded.

                         Summary of Potential Causes of Action as Relevant to the Debtors

          In its Final Investigative Report, the Independent Investigator evaluated whether its factual
 findings support the view that any of the parties involved in Puerto Rico’s fiscal crisis committed
 conduct that is actionable under certain U.S. federal, state, and local laws. The Independent
 Investigator discussed its consideration of certain, but not all, potential claims available to Title III
 Debtors (or their estates) and investors, among other stakeholders, under applicable U.S. federal
 law (including securities laws and the Bankruptcy Code, as made applicable by PROMESA), the
 law in Puerto Rico, and the law of other U.S. jurisdictions as indicated by choice of law analyses.
 This discussion was undertaken for the statutory purposes outlined in PROMESA and not for
 reliance by any specific litigant. Its overview of and application of the law is not legal advice and
 its factual findings do not constitute admissible evidence in any pending or future litigation.




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         Set forth below is a summary of potential causes of action identified by the Independent
 Investigator in the Final Investigative Report on a debtor-by-debtor basis.197 The summary
 included in this Disclosure Statement should not be construed as a substitute for the comprehensive
 reporting, recommendations, and claims analysis included in the Final Investigative Report.

                               (i)      Commonwealth of Puerto Rico

         The Independent Investigator identified several potential causes of action relating to the
 2014 GO Bond Issuance. First, the Final Investigative Report discusses potential claims (and
 likely defenses) premised on a violation of securities law disclosure requirements in the Official
 Statement and related documents concerning the possibility at the time that Puerto Rico would
 seek to restructure its indebtedness after the 2014 GO Bonds were issued. Specifically, the
 Independent Investigator presented available evidence that Puerto Rico failed to disclose that it
 had engaged financial and legal advisors with reputable restructuring practices until after the 2014
 GO Bonds were issued.

         Second, the Final Investigative Report discusses potential claims (and likely defenses)
 premised on a violation of continuing disclosure requirements imposed by applicable securities
 law on certain entities working on behalf of Puerto Rico—specifically, whether Puerto Rico, its
 underwriters and/or auditors could be held liable for Puerto Rico’s failure, despite repeated
 assurances to the contrary, to complete and disclose its 2013 audited financial statements prior to
 the issuance of the 2014 GO Bonds.

         Third, the Final Investigative Report discusses potential common law and bankruptcy
 claims such as unjust enrichment and equitable subordination against one of the underwriters of
 the 2014 GO Bonds based on the underwriter’s decision to underwrite after it had advised against
 the issuance and to collect a fee for doing so.

        Lastly, the Independent Investigator identified potential claims against GDB stemming
 from certain GO Basis Swaps with Goldman and Morgan Stanley that were entered into in 2006.
 Specifically, the Final Investigative Report discusses that the basis swaps may have violated Puerto
 Rico statutory law if their execution was not “for the best interests of the Commonwealth.”
 Potential liability claims against GDB may exist on that basis alone. Additionally, if GDB’s board
 members owed fiduciary duties to Puerto Rico, claims for breaches of those duties in connection
 with the Basis Swap also may exist. As touched on in the Report, strong defenses to these claims
 may exist as well.

                               (ii)     ERS

         Between January and June 2008—at the onset of the Great Recession—ERS issued three
 series of pension obligation bonds in an aggregate amount of almost $3 billion. Proceeds from the
 bonds were issued to address ERS’s short-term cash flow problems, with the remainder to be
 invested with the expectation that the investment would grow and give the pension an additional

 197
       The discussion of potential causes of action spans nearly 100 pages of the Final Investigative Report. The summary
       herein is qualified in its entirety by the Final Investigative Report, which parties should reference in the event of
       any ambiguity or conflict.
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 return after it paid debt service on the bonds, thereby improving ERS’s substantial underfunding.
 In the years following the issuance, various stakeholders publicly disputed the wisdom of this
 arbitrage strategy, ERS’s legal authority to issue the bonds in the first place, and the validity of
 bondholders’ purported security interest in ERS’s incoming stream of statutory contributions from
 Puerto Rico’s participating public employers. Against this backdrop, the Independent Investigator
 identified a number of potential claims and discussed whether they were supported by available
 evidence.

         First, the Final Investigative Report discusses potential claims (and likely defenses)
 premised on a violation of securities law disclosure requirements in the Official Statement and
 related documents. According to the Independent Investigator, evidence indicates that disclosures
 addressed the risks of the arbitrage strategy but may have omitted material details about ERS’s
 authority to issue the bonds, Puerto Rico’s ability to eliminate the employer contribution stream
 into ERS and/or the use of ERS bond proceeds.

         Second, the Final Investigative Report discusses potential claims (and likely defenses) that
 the relevant control persons of ERS and GDB breached their fiduciary duties to ERS. According
 to the Independent Investigator, such claims are not strongly supported by available evidence and
 are unlikely to lead to any recovery for ERS stakeholders. Further, if such claims could be
 sustained, the Final Investigative Report discusses potential claims for aiding and abetting a breach
 of fiduciary duty which might then be available against various underwriters and advisors of ERS
 and GDB.

         Finally, the Final Investigative Report discusses potential claims based on the selling
 practices in connection with the ERS Bond issuances. In particular, certain bond underwriters and
 advisors and their affiliates were engaged by ERS in multiple fee-generating capacities, giving rise
 to potential conflicts of interest. The Independent Investigator noted that the evidence did not
 indicate that such conflicts resulted in undue advantage or gain to these entities or detriment to
 ERS and its other stakeholders. However, if such evidence comes to light, the Independent
 Investigator discussed the potential for common law and bankruptcy claims to be brought against
 the relevant underwriter or advisor for professional negligence, unjust enrichment, and/or equitable
 subordination.198

                               (iii)     PBA

          The Final Investigative Report did not identify any potential causes of action against PBA,
 and it found no evidence that Puerto Rico officials believed that Puerto Rico’s practice with respect
 to debt service payments on PBA Bonds violated the Constitutional Debt Limit.



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        Though not mentioned in the Final Investigative Report, ERS did commence litigation against UBS Financial
       Services prior to the commencement of the Title III cases, stating claims in the nature of, among other things,
       professional negligence relating to its services advising ERS and underwriting the ERS bond transactions. That
       litigation is ongoing in the Puerto Rico court of first instance. See Administracion de los Sistemas de Retiro de los
       Empleados del Gobierno y la Judicatura de Puerto Rico y Otros v. UBS Financial Services y Otros, Civil No. K
       AC2011-1067.

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                       Summary of Recommendations Related to the Debtors

         The Final Investigative Report includes recommendations related to each of the topics
 investigated by the Independent Investigator. This Disclosure Statement includes a summary of
 the Independent Investigator’s recommendations relating only to each of the Debtors (in light of
 ongoing litigation, the Independent Investigator did not provide specific recommendations related
 to ERS and PBA). The summary included in this Disclosure Statement should not be construed
 as a substitute for the comprehensive reporting, recommendations, and claims analysis included in
 the Final Investigative Report.

                       (i)     Commonwealth of Puerto Rico

                               (1)     Budgeting and Accounting

        The Independent Investigator recommended the following reforms to Puerto Rico’s
 budgeting and accounting systems:

           Adopt a more rigorous budgeting process;
           Continue to transition to GAAP-compliant budgeting;
           Study the viability of creating a dedicated and centralized board that is devoted to:
            o Aggregating critical data; and
            o Preparing and releasing the consolidated external reports.
           Adopt a modernized accounting and budgeting system;
           Create a board to expedite preparation of external reports;
           Reshape responsibilities of Department of Treasury;
           Require that OMB and Planning Board report to Treasury;
           Adopt mechanism to sanction entities which fail to comply with accounting/budgeting
            system;
           Limit turnover of accounting employees;
           Prohibit turnover of auditors without cause;
           Centralize and streamline the budgeting, accounting, and financial reporting functions;
           Provide online public access to spending data; and
           Adopt a formal deadline for publishing external financial reports.


                               (2)     The Role of GDB

        The Independent Investigator recommended that Puerto Rico’s political branches should
 evaluate measures to separate the fiscal agent and lending functions for GDB’s successor, and

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 consider reforms for each role. The Independent Investigator recommended that the new fiscal
 agent:

            Stagger terms, or terms that span gubernatorial administration changes, for board
             members;

            Condition disbursements from the Department of Treasury upon the fiscal agent’s
             review and approval;

            Cast the fiscal agent as an impartial conduit of information to its clients and to the
             investing public;

            Improve oversight of the Commonwealth instrumentalities and public corporations it
             advises with access to the joint and integrated accounting systems; and

            Create a separate department or division that is specifically tasked with overseeing all
             relevant Commonwealth instrumentalities and public corporations and monitoring or
             even auditing their finances.

        The Independent Investigator also recommended that the new lending entity:

            Stagger terms, or terms that span gubernatorial administration changes, for board
             members;

            Adopt policies and procedures for re-evaluating at quarterly intervals the collectability
             and other risks associated with existing public-sector financing;

            Consider the role of any statutory repayment guarantee, but that should not be the sole,
             or controlling, factor to inform the collectability analysis; and

            More closely align credit policies with the framework that a private bank would apply
             to evaluate risks to its own loan portfolio.

                                (3)     Constitutional Debt Limit

        The Independent Investigator recommended that the Commonwealth should consider
 whether it may be worthwhile for its judiciary to review the meaning of section 2 of Article VI of
 the Commonwealth Constitution, as well as the methods pursuant to which the Commonwealth
 determines the types of debt servicing payments to be included within the debt limit calculation.

        2.      Appointment of Special Claims Committee and Retention of Counsel

       Within a few days of receiving the published Final Investigative Report, the Oversight
 Board executed a unanimous written consent appointing the independent Special Claims




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 Committee to pursue claims resulting from the findings of the Investigation.199 The Oversight
 Board then issued a RFP for counsel to the newly formed committee.

        On November 28, 2018, the Oversight Board, acting by and through its Special Claims
 Committee, retained Brown Rudnick LLP as counsel to the Special Claims Committee to assist
 the Special Claims Committee in the investigation, initiation of negotiation, and/or prosecution of
 potential claims that might arise from conduct described in the Final Investigative Report (“Claims
 Counsel”). Additionally, in February 2019, the Special Claims Committee retained a financial
 advisory services firm to assist Claims Counsel in its investigation of potential claims.

         The Final Investigative Report did not address Avoidance Actions200 and did not identify
 specific claims or causes of action the Commonwealth and its instrumentalities might hold against
 individuals and entities involved in their financial transactions. Rather, the Final Investigative
 Report outlined the necessary informative and analytical background which would serve as a
 springboard for the Special Claims Committee to identify actionable claims that the
 Commonwealth and its instrumentalities might hold relating to the Commonwealth Debtor’s
 financial crisis.

        Thus, immediately after its retention, Claims Counsel began investigating and analyzing
 the conclusions in the Final Investigative Report to determine and recommend whether there were
 viable causes of action that the Oversight Board could assert for the benefit of the
 Commonwealth’s taxpayers and legitimate creditors.




 199
       The members of the Special Claims Committee are Andrew G. Biggs, Arthur J. González, Ana J. Matosantos and
       David A. Skeel, Jr.
 200
       Causes of action arising under sections 544, 545, 547, and 548 of the Bankruptcy Code. There are essentially two
       different legal theories for these avoidance actions: preference and fraudulent transfer. A preference is a payment
       in the 90 days prior to the bankruptcy to a “preferred” creditor, i.e., someone who got paid more than usual when
       others in similar situations were not being paid due to Puerto Rico’s insolvency. (For parties with family
       relationships to elected officials, and others with “insider” relationships to the government, the relevant period is
       one year, not 90 days.) 11 U.S.C. § 547. A fraudulent transfer is, most importantly, a payment made for which
       Puerto Rico did not receive “reasonably equivalent value” in exchange. If not, even if the transfer was not
       intentionally wrongful or fraudulent, Puerto Rico can recover the funds because the money rightfully should benefit
       all creditors and citizens. 11 U.S.C. §§ 544, 548. Preferences and fraudulent transfers can be “avoided” and funds
       recovered by Puerto Rico from the transferees; likewise or in the alternative, the avoidance liability may cause the
       transferee’s claims against Puerto Rico may be set off or disallowed. See 11 U.S.C. §§ 502, 545, 550, 553.
       Avoidance actions are very common in large bankruptcy proceedings, including those involving government
       entities. They allow debtors to ensure that money transferred to third parties in the period before bankruptcy was
       appropriately and fairly spent, and if not, recover that money for the benefit of creditors and taxpayers.
       Importantly, avoidance actions of this type do not intend to convey that a third party vendor committed any
       wrongdoing. Rather, avoidance actions ensure no one creditor is favored by payments made prior to the bankruptcy
       filing and that a fair distribution of a debtor’s assets is made in accordance with applicable law. As with any other
       civil lawsuit, the Plaintiff (i.e., the Oversight Board, in some cases along with the UCC) has the burden to prove
       each element of the avoidance action by a preponderance of the evidence in order for the third party vendor to be
       found liable to and have to return the money to the estate.
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        3.      Counsel Investigation and Statute of Limitations Concerns

          Claims Counsel examined the documents related to the Final Investigative Report to assist
 it in identifying meritorious causes of action. Furthermore, and as described additionally below,
 the Special Claims Committee made frequent and numerous inquiries to other professionals
 involved in the Title III Cases, as well as potential Defendants and other parties in order to obtain
 reports, financial data, presentations, and other materials necessary for the Oversight Board to
 assert its causes of action. In sum, Claims Counsel reviewed and is reviewing, among other things:

            The 600-page Final Investigative Report;

            Approximately 100,000 documents provided to date that support the facts and legal
             analysis contained in the Final Investigative Report;

            Records of millions of transfers by the Title III Debtors to third parties during the four-
             year avoidance period prior to the Petition Date;

            Thousands of documents identifying recipients of purported principal and interest
             payments on allegedly invalid bonds, through records of tens of thousands of
             transactions; and

            Over 1,600 notices of participation filed in connection with the Joint Claim Objection
             (defined below) evidencing current holders of the allegedly invalid bonds.

         The Oversight Board’s investigative activity and commencement of litigation has been
 largely driven by applicable statutes of limitations. Most notably, the statute of limitations for
 avoidance actions pursuant to 11 U.S.C. section 546(a)(1) expired on May 2, 2019 for actions
 brought on behalf of the Commonwealth, on May 20, 2019 for HTA and ERS, and July 1, 2019
 for PREPA. The expiration of the statute of limitations could, in many instances, preclude the
 Oversight Board’s ability to prosecute many of the claims described herein.

          The Oversight Board has taken a number of measures to protect its claims against statute
 of limitations defenses. Foremost among these, the Oversight Board commenced hundreds of
 adversary proceedings prior to the expiration of the applicable statute of limitations. In some cases
 described in greater detail below, the Oversight Board has commenced litigation with the explicit
 intention of preserving rights, notwithstanding that prosecution of its claims would not be an
 optimal resource allocation at the present time, and has accordingly requested that the litigation
 itself be stayed for the time being.

         Additional measures to preserve claims include efforts to toll the statute of limitations by
 consent through tolling agreements with parties potentially liable to the Commonwealth Debtor.
 Alternatively, the Oversight Board has requested that the Court toll applicable statutes of
 limitations to the extent that it is prevented from commencing litigation against appropriate
 Defendants within applicable time limits.



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            4.       Causes of Action Against Third-Party Professionals and Personnel

         The Oversight Board’s investigation suggested that from 2008 through 2014 (the final
 issuance of bonds by the Commonwealth to date), numerous third-party professionals knowingly
 participated in bond issuances that may have been unlawful, that deepened the insolvency of the
 Commonwealth, and that resulted in other harm to the Commonwealth and its instrumentalities,
 including damage to the Commonwealth’s credit. Accordingly, the Oversight Board investigated
 and commenced pursing claims against numerous parties for wrongful acts in relation to debt
 issuances by the Commonwealth and certain of its instrumentalities and public corporations. The
 parties include:

                Underwriters of alleged invalid or wrongfully issued debt;

                Law firms that advised on debt transactions;

                Auditors of the Commonwealth’s finances; and

                Counterparties to interest rate swap agreements.

          Some of these debt transactions are described in greater detail below. In sum, these “Third
 Party Defendants” provided services that in many cases gave rise to fiduciary obligations to act in
 the best interests of the Commonwealth. The Third Party Defendants collected substantial fees by
 facilitating more and more debt transactions, enabling the Commonwealth and its instrumentalities
 to issue purported debt instruments notwithstanding the Commonwealth’s insolvency and the
 constitutional and statutory limitations on debt issuances.

         The Oversight Board filed Adv. Proc. No. 19-00280201 against the Third Party Defendants.
 The Oversight Board’s complaint articulates claims in the nature of breach of fiduciary duty and
 aiding and abetting a breach of fiduciary duty,202 professional malpractice, fraudulent transfer, and
 unjust enrichment. In addition to filing its complaint, the Oversight Board has negotiated tolling
 agreements with a number of potential Defendants and will either settle its claims out of court or
 commence litigation against such parties following further investigation.

         Together, these several dozen Third Party Defendants earned nearly $300 million in fees
 for services that allegedly damaged the Commonwealth. The swap counterparties received an
 additional $90 million in swap termination fees. Although the Oversight Board is pursuing
 damages in an amount to be determined, these fee payments are likely the minimum recovery to
 be sought. Under various other damages theories, the Oversight Board may seek to recover billions
 of dollars unlawfully transferred by the Commonwealth and/or its instrumentalities to other parties
 201
        The Special Claims Committee of the Financial Oversight and Management Board for Puerto Rico, acting by and
       through Its Members, The Official Committee of Unsecured Creditors of the Commonwealth of Puerto Rico v.
       Barclays Capital, et al., 19-AP-00280 (the “Underwriter Litigation”).
 202
       The Oversight Board has alleged that certain parties aided and abetted GDB in GDB’s breach of its fiduciary duty
       to the Commonwealth and its instrumentalities. Claims against GDB itself have been released pursuant to GDB’s
       PROMESA Title VI modification. See section V.K.1 of this Disclosure Statement for a brief description of the
       GDB Title VI modification proceedings.
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 as a result of the Third Party Defendants’ malfeasance. The Plan provides for this litigation to
 continue after confirmation.

             5.      Avoidance Actions Against Vendors

        The Final Investigative Report focused on large-scale debt financing transactions and did
 not concern potential avoidance actions relating to the billions of dollars in payments by the Title
 III Debtors to parties who purported to provide goods and services to Debtors the pursuant to
 purported contracts (the “Vendor Payments” to “vendors”).203 Accordingly, the Special Claims
 Committee began investigating the Vendor Payments to ensure that such payments complied with
 applicable law.

        In concert with the UCC, the Oversight Board obtained from AAFAF records of all
 payments to vendors within the four years prior to commencement of the respective Title III cases.
 The Special Claims Committee, in collaboration with the UCC, reviewed records of millions of
 individual payments to hundreds of thousands of unique vendors, totaling over $12 billion. After
 reviewing the contracts on file and excluding government bodies and non-profit organizations,
 among others, the Oversight Board identified over $4 billion in payments to approximately 345
 vendors as potentially recoverable under avoidance theories.204

                              Tolling Agreements and Litigation

         After concluding its review and identifying potentially liable parties, the Oversight Board
 provided the vendors an opportunity to toll the statute of limitations for filing the vendor avoidance
 actions, i.e. extend by agreement the time provided for the Oversight Board to file an avoidance
 action. As such, in the weeks prior to the respective statute of limitations expirations, Claims
 Counsel sent to each vendor a cover letter and tolling agreement which the vendors could sign and
 return in order to avoid the filing of a complaint and preserving the Title III Debtors’ rights with
 respect to its avoidance claims. This effort led to negotiation of approximately 85 tolling
 agreements with vendors who purportedly contracted with the Commonwealth (and none with
 HTA or ERS vendors).

         After excluding the parties to the tolling agreements, the Oversight Board filed
 approximately 250 vendor avoidance actions seeking to recover approximately $3 billion in
 payments to vendors.205 The Oversight Board has announced its preference to settle these actions,
 and the potential claims subject to tolling agreements, pursuant to a voluntary out-of-court dispute
 resolution procedure that is outlined on the notice website in the Title III Cases and described more
 fully below.


 203
       “Vendors” and “Vendor Payments” refers to contractors and payments made pursuant to contract, respectively, as
       opposed to transferees of payments made pursuant to legislative appropriation.
 204
       Approximately 335 of the vendors identified contracted with the Commonwealth, one with ERS, and the remainder
       with HTA. The vast majority of the damages sought, over $4 billion, relate to purported contracts with the
       Commonwealth.
 205
       The UCC joined in some, but not all of these avoidance actions.
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                              Informal Resolution Procedures

          On June 7, 2019, the Oversight Board and the UCC filed an omnibus motion in the Title
 III cases of the Commonwealth Debtor, HTA, ERS Debtor, and PREPA, requesting approval of
 case management procedures in the avoidance proceedings brought against vendors.206 The
 Vendor Action Procedures Motion specifically requested approval of procedures governing (i)
 litigation procedures and deadlines, (ii) voluntary mediation, and (iii) settlement (the “Vendor
 Action Procedures”). On July 12, 2019, the Court entered an order approving the Vendor Action
 Procedures, which were then served on all Defendants to the vendor avoidance actions along with
 the summons and complaint.207

         With respect to the litigation procedures and deadlines, the Vendor Action Procedures
 provide that court documents must be filed in accordance with the case management orders entered
 by the Court in the Commonwealth Title III case. See Tenth Amended Notice, Case Management
 and Administrative Procedures [ECF No. 8027-1]. The procedures further require service of the
 procedures and order approving them upon any Defendants, and specify manners and addresses of
 service consistent with applicable rules. Additionally, the Vendor Action Procedures provide for
 relaxation of deadlines for responsive and dispositive pleadings, discovery, and other filings,
 subject to alteration by request of any party.

         These deadlines provided in the Vendor Action Procedures generally continue all litigation
 deadlines for approximately six months. During this period, the Oversight Board and UCC intend
 to engage in an informal resolution process described as the “Information Exchange,” whereby the
 Oversight Board and vendors will conduct additional diligence within specified parameters and
 thereafter commence settlement negotiations.

        The Vendor Action Procedures outline a mediation process whereby the Oversight Board
 and any Defendant(s) may select mediators, schedule mediation, and advise the court of mediation
 progress. The mediation process is by its own terms fully voluntary and non-binding and
 adjustable by agreement of the parties; the Vendor Action Procedures merely outline the mediation
 process and would provide advance approval thereof, obviating the need for parties to seek court
 approval of a litigation stay during the pendency of the mediation.

        Since the filing of the Vendor Action Procedures Motion, the Special Claims Committee
 and the UCC have been working to resolve the tolling agreements and avoidance actions entered
 into with or filed against vendors. As of January 16, 2020, ninety-eight adversary proceedings
 have been dismissed as a result of a vendor-defendant’s participation in the informal resolution
 process because the vendor submitted sufficient documentation in the form of invoices, purchase
 206
       See Notice of Hearing Omnibus Motion by the Financial Oversight and Management Board for Puerto Rico, Acting
       by and through the Members of the Special Claims Committee, and the Official Committee of Unsecured Creditors
       to (I) Establish Litigation Case Management Procedures and (II) Establish Procedures for the Approval of
       Settlements, [ECF No. 7325] (the “Vendor Action Procedures Motion”).
 207
        See Order Granting Omnibus Motion by the Financial Oversight and Management Board for Puerto Rico, Acting
       by and through the Members of the Special Claims Committee, and the Official Committee of Unsecured Creditors
       to (I) Establish Litigation Case Management Procedures and (II) Establish Procedures for the Approval of
       Settlements, [ECF No. 7941] (order with attached, revised Vendor Action Procedures).

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 orders, and contracts to substantiate the prepetition payments they received. Likewise, as of
 January 16, 2020, forty-one tolling agreements with vendors have resulted in no further action
 from the Special Claims Committee and the UCC for the same reasons.

        As of this time, approximately twenty avoidance action defendants and eight tolled parties
 have been flagged for potential monetary settlement due to information exchanges suggesting
 avoidance liability. The Special Claims Committee and the UCC are preparing and/or conducting
 settlement discussions with these parties.

         In November, 2019, the Special Claims Committee and the UCC filed a motion to modify
 the Vendor Action Procedures, and the Title III Court granted the motion, to continue facilitating
 the informal, out-of-court resolution of the avoidance actions.208 The Modified Vendor Action
 Procedures Order extends the discovery and litigation deadlines to April 2020 to allow the parties
 more time to informally resolve the lawsuits before formal litigation is necessary.

             6.      ERS Bond Validity Claims

         During Claims Counsel’s analysis of ERS and its outstanding indebtedness, it determined
 that there were potential legal infirmities with respect to ERS Bonds that led to the conclusion that
 bonds may not have been valid or legally binding. Consistent with Claims Counsel’s
 determination, AAFAF has alleged in related litigation that the ERS Bonds are null and void,209
 and the multiple parties have objected to claims filed against ERS in respect of the bonds.210

          The objecting parties have requested that the Court approve procedures for litigation of
 their objections to the ERS bond-related claims. Similarly, the Oversight Board has commenced
 litigation to claw back payments made in respect of purported principal and interest obligations to
 parties holding ERS Bonds in excess of $2.5 million.211

         The Court’s Stay Order issued July 24, 2019 stayed all litigation concerning ERS bond
 validity through November 30, 2019. Following Court-ordered mediation, the Oversight Board
 and other objecting parties reached agreement with groups of ERS bondholders regarding a
 schedule to litigate debt validity issues to summary judgment, which schedule was approved by an

 208
       See Order Granting Omnibus Motion To Extend Deadlines In Order Granting Omnibus Motion By The Financial
       Oversight And Management Board For Puerto Rico, Acting By And Through The Members Of The Special Claims
       Committee And The Official Committee Of Unsecured Creditors To (I) Establish Litigation Case Management
       Procedures And (II) Establish Procedures For Approval Of Settlements, [ECF No. 9476] (the “Modified Vendor
       Action Procedures Order”).
 209
       Adv. Proc. No. 17-00219, [ECF No. 44] (motion to dismiss complaint relating to alleged security interests in ERS
       property).
 210
        See Omnibus Objection of Official Committee of Unsecured Creditors to Claims Asserted by Holders of Bonds
       Issued by Employees Retirement System of Government of Puerto Rico, Case No. 17-03283, [ECF No. 5580];
       Omnibus Objection of the Official Committee of Retired Employees of the Commonwealth of Puerto Rico, Pursuant
       to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of ERS Bonds
       Against ERS and the Commonwealth, [ECF No. 6482].
 211
       See Adv. Proc. Nos. 19-00355 through 19-00361.

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 order of the Court.212 The Court’s ERS debt validity litigation scheduling order provides that the
 “Invalidity Actions” to avoid past payments in respect of the ERS bonds are stayed in all
 substantive respects, subject to defendants’ opportunity to participate in the limited form of debt
 validity litigation permitted by the order.

         As further described above in section III.B.1, the Oversight Board has also challenged the
 validity and scope of the ERS bondholders’ collateral. On June 27, 2019, the Title III Court ruled
 the ERS bondholders do not have a perfected security interest in any post-petition employer
 contributions due to Bankruptcy Code section 552, and the First Circuit affirmed on January 30,
 2020.213 Previously, the Title III Court had ruled the ERS bondholders had never properly
 perfected any of their security interests, but was reversed by the U.S. Court of Appeals for the First
 Circuit. The remaining litigation regarding the ERS bonds described in section III.B.1 remains
 outstanding.

             7.       Disputes to be Settled Pursuant to the Plan

        As described above, disputes in connection with the GO Bonds, PBA Bonds, and PRIFA
 BANs will be compromised and settled pursuant to the confirmation of the Plan, which includes
 disputes regarding the validity, priority, and asserted secured status of the GO Bonds and PBA
 Bonds.

                               Debt-Related Objections214

         During Claims Counsel’s analysis of the Commonwealth’s application of the
 Commonwealth Constitution’s debt limit provision, it determined that there were potential legal
 infirmities with respect to several PBA and GO Bonds that led to the conclusion that bonds may
 not have been valid or legally binding.

         In sum, the Special Claims Committee, based on advice of its Claims Counsel, determined
 that the Commonwealth had issued debt in violation of the Constitutional Debt Limit contained in
 the Commonwealth Constitution. The Commonwealth Constitution ostensibly prevents the
 Commonwealth from binding its citizens to a level of debt that cannot be repaid without oppressive
 taxation and sacrificing services necessary to maintain the health, safety, and welfare of Puerto
 Rico. The Special Claims Committee determined that the Commonwealth and its financiers and

 212
       See Order Granting Urgent Joint Motion to Modify Order Regarding Stay and Mandatory Mediation with Respect
       to Certain Issues Raised in Certain Contested Matters and Adversary Proceedings Related to the Bonds Issued by
       the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, [ECF No. 8962].
 213
       Opinion and Order Granting Plaintiff’s Motion for Summary Judgment as to Count III and Counterclaims II and
       III, and Denying Defendants’ Motion for Summary Judgment, dated June 27, 2019 [Case No. 17-03566, ECF No.
       251], 385 F. Supp. 3d 138 (D.P.R. 2019), aff’d In re Fin. Oversight & Mgmt. Bd. for P.R., 948 F.3d 457 (1st Cir.
       2020).
 214
       Additionally, the Amended Plan contemplates a global settlement of the issues raised by the Omnibus Objection of
       Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007,
       to Claims Filed or Asserted Against Commonwealth by Holders of General Obligation Bonds Asserting Priority
       Over Other Commonwealth Unsecured Creditors, dated February 3, 2020, [ECF No. 10638], described in section
       III.B.1.a. of this Disclosure Statement.

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 related professionals had characterized billions of dollars in debt as an obligation of an entity,
 PBA, whereas the debt was more properly characterized as direct debt obligations of the
 Commonwealth Debtor.

                              (i)      Constitutional Debt Limit Concerns

          The Commonwealth’s approximately $13 billion in outstanding GO Bonds is among the
 largest components of Puerto Rico’s debt burden. GO Bonds are bonds backed by the
 Commonwealth’s good faith, credit and taxing power, rather than revenues from any particular
 source. Given their ability to bind the Commonwealth to long-term liabilities that may largely, if
 not only, be repaid by taxing Commonwealth citizens and businesses, GO bond issuances are
 restricted by Puerto Rico’s constitution in several ways, including a dollar amount limit calculated
 in relation to available tax revenue.

         As provided below, the Oversight Board has alleged, among other things, that certain GO
 bond issuances violated the Constitutional Debt Limit and accordingly were null and void.215
 Bondholders have disputed the Oversight Board’s allegations and raised affirmative defenses to
 the Oversight Board’s claims. These fact disputes and defenses are discussed below. Several other
 parties have joined in, supplemented, or otherwise raised additional objections to claims of
 purported holders of GO and PBA bonds (such objections together, the “Bond Claim
 Objections”).216

                                       (1)      Debt Limit Provision and Calculation

         In 1961, the Commonwealth Constitution was amended to limit the Commonwealth’s
 borrowing on the basis of the amount of debt service the Commonwealth would have to pay
 relative to its historical revenues, establishing the Constitutional Debt Limit. Specifically, Article
 VI, section 2 of the Commonwealth Constitution provides that:

                     [N]o direct obligations of the Commonwealth for money borrowed
                     directly by the Commonwealth evidenced by bonds or notes for the
                     payment of which the good faith, credit and taxing power of the
                     Commonwealth shall be pledged shall be issued by the
                     Commonwealth if the total of (i) the amount of principal of and
                     interest on such bonds and notes, together with the amount of
                     principal of and interest on all such bonds and notes theretofore
                     issued by the Commonwealth and then outstanding, payable in any
                     fiscal year and (ii) any amounts paid by the Commonwealth in the
                     fiscal year next preceding the then current fiscal year for principal
                     or interest on account of any outstanding obligations evidenced by

 215
       See Joint Claim Objection.
 216
       For the avoidance of doubt, the Bond Claim Objections include the Joint Claim Objection, the Expanded Objection,
       the PBA Bond Objection, the Conditional Objection, the LCDC Omnibus Objection, and the UCC 2020 Objection,
       as such objections are described and defined below. The term “Bond Claim Objections” is intended to include all
       omnibus objections to PBA and GO Bonds relating to such bonds’ validity as described herein.

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                      bonds or notes guaranteed by the Commonwealth, shall exceed 15%
                      of the average of the total amount of the annual revenues raised
                      under the provisions of Commonwealth legislation and covered into
                      the Treasury of Puerto Rico in the two fiscal years next preceding
                      the then current fiscal year; and no such bonds or notes issued by
                      the Commonwealth for any purpose other than housing facilities
                      shall mature later than 30 years from their date and no bonds or notes
                      issued for housing facilities shall mature later than 40 years from
                      their date; and the Commonwealth shall not guarantee any
                      obligations evidenced by bonds or notes if the total of the amount
                      payable in any fiscal year on account of principal of and interest on
                      all the direct obligations referred to above theretofore issued by the
                      Commonwealth and then outstanding and the amounts referred to in
                      item (ii) above shall exceed 15 percent of the average of the total
                      amount of such annual revenues.

        The type of obligation described in the first phrase above, referencing obligations of the
 Commonwealth backed by its good faith, credit and taxing power, is colloquially referred to as
 “general obligation” or “constitutional” debt. The annual revenues “raised under the provisions of
 Commonwealth legislation and covered into the Treasury of Puerto Rico” are known as the
 Commonwealth’s “internal revenues” and consist primarily of revenues from income taxes,
 property taxes, SUTs, and excise taxes (subject to certain exceptions).

                                        (2)      Alleged Debt Limit Violations

         As described in greater detail below at sub-part 7.d, the PBA Bonds bear hallmarks
 suggesting they are general obligations of the Commonwealth backed by the Commonwealth’s
 good faith, credit and taxing power.217 Moreover, the terms of the PBA Bonds (including certain
 covenants governing the underlying leases) were disclosed to the public at all relevant times.
 Nevertheless, in calculating the Constitutional Debt Limit, the Commonwealth did not include the
 $4 billion in PBA Bonds as “money borrowed directly by the Commonwealth evidenced by bonds
 or notes for the payment of which the good faith, credit and taxing power of the Commonwealth
 shall be pledged.”

        The UCC has asserted that, when the PBA Bonds are included in the Constitutional Debt
 Limit calculations, the PBA and GO Bonds violate the Constitutional Debt Limit beginning in


 217
       Courts have held that a debt issuance may be recognized as a general obligations of a government entity based on
       such hallmarks, even when the debt is purportedly issued by a third party. See, e.g., Winkler v. State School Bldg.
       Authority, 189 W.Va. 748, 760-63 (1993); Cerajewski v. McVey, 225 Ind. 67, 72 (1947); Rankin v. Love, 125 Mont.
       184, 189-90 (1951); City of Phoenix v. Phoenix Civic Auditorium & Convention Ctr. Ass’n, Inc., 99 Ariz. 270, 282
       (1965); Montano v. Gabaldon, 766 P.2d 1328, 1329 (N.M. 1989); Ayer v. Comm’r, 340 Mass.586, 593-98 (1960);
       see also See Suppl. Op. Regarding Plan Confirmation, Approving Settlements, and Approving Exit Financing, at
       pp. 60-68, In re City of Detroit, Case No. 13-53846 (Bankr. E.D. Mich. Dec. 31, 2014), ECF No. 8993 (holding
       that settlement providing reduced distributions to bondholders in light of analogous bond validity concerns was
       reasonable).

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 2011.218 To date, the Oversight Board has included in its “Joint Claim Objection” only the GO
 bonds issued in 2012 and 2014, reserving the right to expand its objection to additional series of
 bonds issued prior.219 The Oversight Board acknowledges that the 2011 GO Bonds are subject to
 litigation risk in connection with purported violations of the Constitutional Debt Limit, as reflected
 in the UCC’s objection to the 2011 GO Bond claims. As of February 2020, the Oversight Board
 was continuing to analyze issues relating to the 2011 GO Bonds and had previously reserved its
 determination as to any adjustment to the proposed plan treatment for the 2011 GO Bond claims.
 The Oversight Board’s views are reflected in the PSA and the Plan, which provide for discounted
 treatment of 2011 GO Bonds in light of purported debt limit violations.

                                         (3)       Special Concerns Regarding the 2014 Bonds

        In their objection to the 2012 - 2014 GO bonds, the Oversight Board and UCC assert that,
 notwithstanding the characterization of PBA Bond debt, the Commonwealth violated the




 218
       Two groups of objectors dispute the date of any Constitutional Debt Limit breach. The GO Group has alleged that
       the debt limit may have been breached earlier than 2011. See Omnibus Conditional Objection of the Ad Hoc Group
       of General Obligation Bondholders to Claims Filed or Asserted by the Public Buildings Authority, Holders of
       Public Buildings Authority Bonds, and Holders of Certain Commonwealth General Obligation Bonds, [ECF No.
       6099] (the “Conditional Objection”); see also sub-part 7.a.iii below. The GO Group argues that, to the extent the
       Court determines that the Oversight Board and UCC’s objections are merited, the Court must also find that the pre-
       2012 bonds are invalid under one or more theories, including among others, that (a) if the Commonwealth engaged
       in a sham by mischaracterizing PBA debt, then all PBA debt is invalid, and/or (b) that a statute regulating calculation
       of debt service costs for purposes of the Constitutional Debt Limit need not be applied. The relief requested in the
       Joint Claim Objection and related litigation is predicated on a finding that the PBA debt was mischaracterized in
       relation to the Constitutional Debt Limit, not that the PBA itself or its purported borrowings were unlawful,
       notwithstanding certain pleadings describing the PBA as a “sham” in colloquial terms. Likewise, the GO Group
       argues effectively that if the Court disregards one Constitutional Debt Limit calculation practice, it should discard
       others as well. However, the GO Group provides no support for its preferred methodology, which would disregard
       the purpose and effect of interest rate swap transactions that effectively capped debt service costs, and were
       recognized by statute as doing so. For these reasons among others, the Oversight Board believes that the
       Conditional Objection is not merited, and the Plan does not reflect any diminution in distributions to holders of
       early vintage bonds subject to the Conditional Objection.

       The LCDC has objected to GO and PBA Bonds arguing that PBA Bonds should be treated under the Constitutional
       Debt Limit not as direct, general obligations of the Commonwealth but as guarantee obligations of the
       Commonwealth. See Omnibus Objection of the Lawful Constitutional Debt Coalition, Pursuant to Bankruptcy
       Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Bonds Issued or
       Guaranteed by the Commonwealth, [ECF No. 9730] (“LCDC Omnibus Objection”). As such the LCDC maintains
       that the PBA Bonds should be counted toward the Constitutional Debt Limit to the extent payments were made by
       the Commonwealth as opposed to any other purported lessor. Thus, approximately 80-98% of the face amount of
       outstanding obligations would apply to the limit under recent payment practices, as opposed to 100% as asserted
       by the Oversight Board, and as a result the LCDC asserts a breach of the Constitutional Debt Limit at a relatively
       later date than the Oversight Board.
 219
       See Omnibus Objection of (I) Financial Oversight and Management Board, Acting through its Special Claims
       Committee, and (II) Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code Section 502 and
       Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Commonwealth General Obligation
       Bonds, ECF No. 4784 (the “Joint Claim Objection”).

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 Constitutional Debt Limit in 2014 by failing to account for $425 million in debt service costs paid
 through withholdings against the proceeds of the issuance.

         The 2014 GO bonds were issued in the aggregate principal amount of $3.5 billion.
 However, the Commonwealth effectively borrowed $3.1 billion, withholding approximately $425
 million of the proceeds because it understood that it otherwise would lack resources or revenues
 to pay the first few years of interest on the bonds. Although this type of withheld interest financing
 is not uncommon in municipal project financing, where a project may take years to begin
 generating revenues for the payment of debt service, it is not common with respect to general
 obligation borrowing, and evidences the Commonwealth’s inability to pay its debts at the time of
 the bond issuance.

        The $425 million of capitalized interest payments were excluded from the calculation of
 the Constitutional Debt Limit. None of the issuance documents explain why the payments should
 not be included in the Constitutional Debt Limit calculation of “principal of and interest on
 [general obligation] bonds and notes.” When properly included in the debt limit calculation, the
 2014 GO bonds violate the debt limit, even without inclusion of the PBA debt obligations.

         Certain bondholders have argued that the capitalized interest payments were properly
 excluded from Constitutional Debt Limit calculations.220 The bondholders’ principal argument is
 that the Constitutional Debt Limit restriction on amounts “payable in any fiscal year” cannot apply
 where there exists a sinking fund reserved and pledged for the payment of existing obligations.
 Bondholders argue that because the Commonwealth obligated itself to use the sinking fund to
 make payments on the bonds, the funds were effectively property of bondholders and thus
 payments to be made using such funds were not “payable” within the meaning of the
 Commonwealth Constitution.

                               (ii)     Validity of Bonds Issued Over Debt Limit, and Defenses

         The Oversight Board argues that bond obligations purportedly incurred in breach of a
 government issuer’s express authority are void.221 Accordingly, the Bond Claim Objections allege
 that violations of the Constitutional Debt Limit render certain GO and PBA Bonds null and void.

         On and after February 5, 2020 pursuant to the Court’s scheduling order governing these
 matters, bondholders moved to dismiss the Bond Claim Objections. The bondholders argue that,
 among other things, the PBA Bonds should not be counted as direct obligations for purposes of
 the Constitutional Debt Limit, and that even if the Commonwealth did violate the Constitutional
 Debt Limit the appropriate remedy is either not to invalidate the bonds at all, or to invalidate only
 a portion of the bonds.




 220
       See Ad Hoc Group Motion, 37-41.
 221
       See, e.g., State v. Spring City, 123 Utah 471, 475 (1953); State ex rel. Nuveen v. Greer, 88 Fla. 249, 260 (1924);
       Eaton v. Shiawassee Cty., 218 F. 588, 591 (6th Cir. 1914); McCurdy v. Shiawassee Cty., 154 Mich. 550, 556 (1908).

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       To date, several bondholders and groups thereof have filed motions to dismiss the Bond
 Claim Objections and related memoranda (the “Motions to Dismiss Bond Claim Objections”).222

        In the Motions to Dismiss Bond Claim Objections, bondholders raise a number of
 arguments to the effect that the GO and PBA Bonds did not breach the Constitutional Debt Limit
 or should otherwise not be held invalid. These arguments are summarized herein.

                     Bondholders argue that Puerto Rico’s constitution precludes characterization of
                      PBA Bonds as general obligation or constitutional debt because the Constitutional
                      Debt Limit applies to “money borrowed directly by the Commonwealth” and not
                      money borrowed by the PBA.223



 222
        The Motions to Dismiss Bond Claim Objections include, to date, Motion of the Ad Hoc Group of General
       Obligation Bondholders, Ad Hoc Group of Constitutional Debtholders, Assured Guaranty Corp. and Assured
       Guaranty Municipal Corp., and the Invesco Funds to Dismiss Omnibus Claim Objections to Claims Filed or
       Asserted by Holders of Certain Commonwealth General Obligation Bonds and Public Buildings Authority Bonds
       [ECF No. 10702] (the “Ad Hoc Group Motion”); Supplemental Memorandum of the Ad Hoc Group of General
       Obligation Bondholders, Ad Hoc Group of Constitutional Debtholders, and Assured Guaranty Corp. and Assured
       Guaranty Municipal Corp. in Support of Motion to Dismiss [ECF No. 10704] (the “AHG Supplement”); The QTCB
       Noteholder Group’s Response to Certain Omnibus Objections and Limited Joinder to the Motion of the Ad Hoc
       Group of General Obligation Bondholders, Ad Hoc Group of Constitutional Debtholders, Assured Guaranty Corp.
       and Assured Guaranty Municipal Corp., and the Invesco Funds to Dismiss Omnibus Claim Objections to Claims
       Filed or Asserted by Holders of Certain Commonwealth General Obligation Bonds and Public Buildings Authority
       Bonds (the “QTCB Response”) [ECF No. 10705]; Individual Commonwealth GO and PBA Bondholder Motion to
       Dismiss Claims Objections to Claims by Holders of Commonwealth GO and PBA Bonds [sic] [ECF No. 11148]
       (the “Hein Motion”); Response and Joinder of Kenneth Kirschenbaum and Kenneth Kirschenbaum Faily Trust to
       Motions to Dismiss Omnibus Claim Objections to Claims Filed or Asserted by Holders of Certain Commonwealth
       General Obligation Bonds and Public Buildings Authority Bonds [ECF No. 11149]; Joint Motion Requesting
       Dismissal of “Omnibus Objections” to Claims Filed or Asserted by Holders of Certain Commonwealth General
       Obligation Bonds [ECF No. 11258] (the “Cooperative Motion”); DRA Parties’ Motion to Dismiss (I) Official
       Committee of Unsecured Creditors’ Objection on Constitutional Debt Limit Grounds to Claim Of Government
       Development Bank for Puerto Rico [Claim Number 29485] Based on Certain Commonwealth-Issued Notes and on
       Commonwealth Guaranty of Certain Bond Issued by Port of Americas Authority [Dkt. No. 9735] And (II) Omnibus
       Objection of the Lawful Constitutional Debt Coalition, Pursuant To Bankruptcy Code Section 502 and Bankruptcy
       Rule 3007, to Claims Filed or Asserted by Holders of Certain Bonds Issued or Guaranteed by the Commonwealth
       [Dkt. No. 9730] [ECF No. 11260].

       Several parties have filed statements joining in the above motions to dismiss and, in some cases, seeking to extend
       the requested relief to related litigation regarding tort claims and avoidance claims relating to extension of
       Commonwealth guarantees to debt issued by other entities. See, e.g., ECF Nos. 11153, 11241, 11247, 11251,
       11261, 11264, 11267, 11281, 11292.

       Additionally, the LCDC has filed the Omnibus Motion to Dismiss of the Lawful Constituional Debt Coalition,
       Pursuant to Bankruptcy Rule 7012, of Claim Objections Filed or Asserted by the Financial Management Oversight
       Board for Puerto Rico and the Official Committee of Unsecured Creditors [sic] [ECF No. 10697] (the “LCDC
       Motion”). The LCDC Motion seeks dismissal of objections filed by the Oversight Board and others, but not the
       LCDC Omnibus Objection. In other words, the LCDC disputes the legal theories asserted in the other Bond Claim
       Objections but seeks similar relief.
 223
       See, e.g., Ad Hoc Group Motion, 13-18.

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                     Bondholders argue that the PBA’s legal existence and history confirms its
                      legitimacy such that the PBA’s obligations may not be considered obligations of
                      the Commonwealth.224

                     Bondholders argue that certain GO Bonds issued in July 2011, denominated and
                      accounted as 2011 bonds, were in fact issued in fiscal year 2012 and should be
                      considered 2012 bonds that did not breach the Constitutional Debt Limit even
                      under the Oversight Board’s accounting methods.225

                     Bondholders dispute the Oversight Board’s method of accounting for bond
                      validity and requested remedies, arguing that some bonds should be held partially
                      valid and that prior issuances found to be invalid should not count in calculations
                      with respect to subsequent issuances.226

        Bondholders have raised additional arguments specific to allegations raised by the LCDC
 and other parties. For instance, one group of bondholders argued that if the PBA is indeed a “sham
 designed to circumvent” the Constitutional Debt Limit, its bonds should be held entirely invalid.227
 Others have argued that a holding that bonds are invalid would violate the U.S. Constitution,
 among other reasons because it would be an unlawful taking under the 5th Amendment.228

                                       (1)      Equitable Defenses

         The Motions to Dismiss Bond Claim Objections additionally articulate defenses to the
 Bond Claim Objections based upon equitable theories such as estoppel and unjust enrichment.229
 In sum, bondholders argue that the Commonwealth received the proceeds of the bond issuances,
 and it would be unjust to permit the Commonwealth to escape its obligations simply because the
 Commonwealth failed to ensure it complied with applicable law prior to issuing the bonds.
 Moreover, bondholders argue that the Commonwealth’s recitals in connection with the issuance
 of the Challenged Bonds, attesting to the Commonwealth and PBA’s borrowing authority,
 foreclose any challenge to the bonds’ validity. Relatedly, bondholders argue that principles of
 224
        Id. at 18-23. This argument relies in part upon factual evidence, which the Oversight Board disputes both in
       substance and on the procedural grounds that such evidence may not be considered by the Court within a motion
       under Fed. R. Bankr. Pro. 7012.
 225
       See id. at 41. The Commonwealth’s fiscal year begins July 1; bonds entered after July 1, 2011 would ordinarily be
       considered to be fiscal year 2012. The Oversight Board has accounted for such bonds (denominated 2011 Series
       D/E GO Bonds) within fiscal year 2011 because the Commonwealth appears to have performed relevant
       Constitutional Debt Limit calculations predicated on the bonds’ being issued in fiscal year 2011. Indeed, the
       information necessary to calculate the Constitutional Debt Limit for bonds and recite legal compliance therewith
       did not exist at the time the Commonwealth Legislative Assembly approved and issued the bonds together with
       recitals.
 226
       See id. at 59-64.
 227
       See AHG Supplement.
 228
       Hein Motion, 6.
 229
       See, e.g., Ad Hoc Group Motion; Hein Motion; QTCB Response; Cooperative Motion.

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 judicial prudence should be applied to limit the Court’s decision on these issues to prospective
 effect, so as to avoid significant hardships to bondholders.230 Certain bondholders also argue that
 the Constitutional Debt Limit constitutes a bar on legislative action and not on bondholder rights
 or remedies.231

         The Oversight Board believes these defenses are unlikely to succeed. The Puerto Rico
 Supreme Court has “unequivocally rejected” the application of equitable estoppel as developed in
 the common law for use in its civil law system, and likewise does not recognize unjust enrichment
 defenses that implicate constitutional public policy concerns.232 Relevant case law suggests that a
 private party transacting with the Commonwealth takes the risk that, if the transaction runs afoul
 of a clear public policy embodied in a statute or the constitution, no remedy will be available
 against the Commonwealth. Courts have remarked that although this doubtless causes significant
 hardship to the counterparty to an unlawful transaction, the opposite result causes significant
 hardship to citizens and taxpayers and offends principles of justice and the rule of law.233

                                         (2)       Uniform Commercial Code Defenses

         Although not raised in any Motions to Dismiss Bond Claim Objections, the Oversight
 Board has anticipated that bondholders may raise defenses under Article 8 of the Uniform
 Commercial Code, adopted in Puerto Rico as Article 8 of the Commercial Transactions Act and
 codified in Title 19 of the annotated Laws of Puerto Rico. The Uniform Commercial Code
 contains two provisions dealing with the issuance of invalid securities. Section 8-202 provides for
 the validation of invalid securities under specified conditions as a defense to an issuer’s assertion
 of invalidity. Section 8-210 provides a remedy to holders of securities issued in excess of the
 issuer’s power.234

       These Code-based defenses appear unlikely to succeed for a number of reasons, including
 most prominently that statutes that purport to override the Commonwealth Constitution are

 230
       See Ad Hoc Group Motion, 50-54.
 231
        See QTCB Response.
 232
        See CMI Capital Mkt. Inv., LLC v. Municipality of Bayamon, 410 F. Supp. 2d 61, 76 (D.P.R. 2006) (refusing to
       recognize estoppel defense); Hatton v. Municipality of Ponce, 134 D.P.R. 1001, 1010 (1994) (no unjust enrichment
       defense where government contract violated clear public policy); see also Vicar Builders Dev., Inc. v. ELA, 192
       D.P.R. 256, 267-70 (2015) (government may not ratify unlawful contract through later conduct).
 233
        See Buchanan v. City of Litchfield, 102 U.S. 278, 293 (1880) (denying relief to aggrieved private party holding
       bonds in violation of debt limit and declaring that “the settled principles of law cannot, with safety to the public, be
       disregarded in order to remedy the hardships of special cases”); City of Litchfield v. Ballou, 114 U.S. 190, 822-23
       (1885) (denying relief to same party on equitable theory, noting that “[t]he money received on the bonds having
       been expended . . . to impose the amount thereof as a lien upon [public property] would be equally a violation of
       the constitutional [debt] prohibition . . . The holders of the bonds and agents of the city are participes criminis in
       the act of violating that prohibition, and equity will no more raise a resulting trust in favor of the bondholders than
       the law will raise an implied assumpsit against a public policy so strongly declared.”).
 234
       The Uniform Commercial Code provisions most likely to be raised in defense of the GO Bonds are sections 8-202
       and 8-210. For a more detailed analysis of relevant Uniform Commercial Code provisions, see Joint Claim
       Objection, ¶¶ 106-128.

                                                               238
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 themselves unlawful.235 Principles of law enshrined in a constitution cannot be set aside by
 legislative or judicial action.236 The Oversight Board articulates additional defenses within its
 Joint Claim Objection.

                                (iii)    Bond Claim Objections to and Procedures

        Based on Claim Counsel’s advice, the Oversight Board, acting by and through the Special
 Claims Committee, joined the UCC in commencing litigation contending that several 2012 and
 2014 issuances of GO Bonds violated Puerto Rico’s Constitutional Debt Limit, and that claims by
 purported holders of the GO Bonds for principal and interest should be disallowed.237

         Providing procedural due process (including but not limited to appropriate notice) to all
 potential purported holders of the GO bonds regarding the Joint Claim Objection required that the
 UCC and Oversight Board propose a robust procedure by which all purported holders of 2012 and
 2014 GO Bonds could be notified of the Joint Claim Objection and have an opportunity to respond
 to the Joint Claim Objection. See Urgent Motion of (I) Financial Oversight and Management
 Board, Acting through its Special Claims Committee, and (II) Official Committee of Unsecured
 Creditors, Under Bankruptcy Code Sections 105(a) and 502 and Bankruptcy Rule 3007,
 Establishing Procedures with Respect to Omnibus Objection to Claims Filed or Asserted by
 Holders of Certain Commonwealth General Obligation Bonds and Requesting Related Relief



 235
       While this fact is inherent to the constitutional system of laws, it has been repeatedly held true where parties assert
       statutory defenses to alleged constitutional debt limit violations and related defects in government expenditures.
       See, e.g., Weinberger v. Bd. of Pub. Instruction of St. Johns Cty., 93 Fla. 470, 481-82 (1927) (“[W]hen bonds are
       issued in violation of a mandatory provision of the Constitution, as, for instance, when in excess of the debt limit
       fixed by the Constitution. . .such bonds are void ab initio, and cannot be validated by curative legislation.”); Nolan
       Cty. v. State, 83 Tex. 182, 200 (1891) (“Where a contract, which a municipal corporation has attempted to create,
       is invalid merely for want of legislative authority to create it, it can be made valid by a subsequent law. But if, at
       the time of its attempted creation, the legislature could not have authorized it, it may be doubted whether the
       legislature could make it valid, although in the mean time [sic], by a change in the constitution, the restriction upon
       its own power may have been removed.”).
 236
       See sources cited above; McPherson v. Foster Bros., 43 Iowa 48, 69-70 (1876) (“Th[e] view [that purchasers of
       unconstitutional bonds should have a remedy] presents the suggestion of an ingenious plan for setting at naught the
       provision of the Constitution of the State under consideration. It is commended on the ground that, if the
       Constitution be enforced so as to cure the evil from which it is intended to protect the people of the state, it would
       operate to ensnare and defraud those who deal with political corporations. In such a case, according to the sentiment
       of the above quotation, the Constitution becomes an instrument of fraud, and on that ground may be violated. It
       must be confessed that it is a novel thought, to disregard the supreme law of the state because it operates to ensnare
       and defraud innocent persons. The error of the quotation is based upon a partial view of the rights of those who are
       called innocent purchasers, and want of attention to the object and purpose of the constitutional restriction in
       question.”).
 237
       See Joint Claim Objection. The UCC additionally alleged that the bonds were invalid because they violated Article
       VI, section 7 of the Commonwealth Constitution, which provides that “[t]he appropriations made for any fiscal
       year shall not exceed the total revenues, including available surplus, estimated for said fiscal year unless the
       imposition of taxes sufficient to cover said appropriations is provided by law.” The Oversight Board did not take
       a position with respect to whether any GO Bonds violated this constitutional provision, but reserved its rights to
       raise this or additional objections relating to the GO Bonds. See Joint Claim Objection, p. 32 n. 18.
                                                              239
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 [ECF No. 4788] (the “Initial Procedures Motion” and the procedures contained therein, the
 “Procedures”).

         The Court granted the Initial Procedures Motion with modifications to the initially
 proposed Procedures.238 Pursuant to the approved Procedures, (1) the Depository Trust and
 Clearing Corporation (“DTC”) posted a notice of the Joint Claim Objection in its legal notification
 system; (2) a notice of the Joint Claim Objection was published in several English-language and
 Spanish-language newspapers; and (3) the affected purported holders of challenged GO Bonds
 were identified by the thirty-seven (37) CUSIPs identified in the Joint Claim Objection.
 Furthermore, the Procedures established that purported holders were given sixty (60) days from
 the date of the Procedures Order granting the Initial Procedures Motion by which to file a Notice
 of Participation, which was to provide, among other facts, whether the purported holder opposed
 the Joint Claim Objection. Purported bondholders filed over one thousand Notices of
 Participation.

         Subsequent to the Joint Claim Objection, and as more fully described below, the Oversight
 Board and the UCC filed litigation seeking to avoid and recover principal and interest payments
 in respect of purported bond obligations, including GO and PBA Bonds issued beginning in March
 2011. Later, the UCC filed an objection to claims against the Commonwealth Debtor on account
 of GO Bonds issued in and after March 2011 and for PBA Bonds issued in and after March 2011.239

         In tandem with the Joint Claim Objection and Expanded Objection, a group of holders of
 GO Bonds, the GO Group, filed a so-called “conditional objection” to certain bonds issued prior
 to 2012.240 The GO Group argued that, to the extent the Court were to determine that the Oversight
 Board and UCC’s objections are merited, the Court would also have to find that the pre-2012 bonds
 are invalid under one or more theories, including among others, that (a) if the Commonwealth
 engaged in a sham by mischaracterizing PBA debt, then all PBA debt is invalid, and/or (b) that a
 statute regulating calculation of debt service costs for purposes of the Constitutional Debt Limit
 need not be applied. Regardless, the GO Group took the position that no objection to the GO

 238
       See Order, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, Establishing Initial Procedures
       with Respect to Omnibus Objection of (I) Financial Oversight and Management Board, Acting through its Special
       Claims Committee, and (II) Official Committee of Unsecured Creditors, to Claims Filed or Asserted by Holders
       of Certain Commonwealth General Obligation Bonds and Granting Related Relief, ECF No. 5143 (the “Procedures
       Order”).
 239
       See Omnibus Objection of Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code Section 502
       and Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain 2011 Commonwealth General Bonds
       [ECF No. 7057] (the “Expanded Objection”); Omnibus Objection of Official Committee of Unsecured Creditors,
       Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claims Filed or Asserted Against
       Commonwealth by Holders of Certain Puerto Rico Public Buildings Authority Bonds, ECF No. 8141 (the “PBA
       Bond Objection”). The Oversight Board and UCC then requested approval of similar procedures to govern the
       Expanded Objection and to litigate both the Joint Claim Objection and Expanded Objection in omnibus fashion.
       See Amended Motion of (I) Financial Oversight and Management Board, Acting Through Its Special Claims
       Committee, and (II) Official Committee of Unsecured Creditors, Under Bankruptcy Code Sections 105(a) and 502
       and Bankruptcy Rule 3007, to (A) Extend Deadlines and (B) Establish Revised Procedures with Respect to
       Omnibus Objections to Claims of Holders of Certain Commonwealth General Obligation Bonds Issued in 2011,
       2012 and 2014, and for Related Relief, [ECF No. 7154].
 240
       See Conditional Objection.
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 Bonds would be merited, including its own Conditional Objection. For that reason among others,
 the Court denied the GO Group’s motion for approval of procedures to litigate the Conditional
 Objection on grounds of ripeness. However, the GO Group later renewed its motion for approval,
 stating that the PSA and the Plan and Disclosure Statement ripen the Conditional Objection.241

         The LCDC also filed a statement in response to the Joint Claim Objection, supporting it in
 part and refuting it in part.242 The LCDC Statement supported invalidating the late vintage GO
 Bonds but refuted the challenges to the validity of the PBA structure. As an alternative, the LCDC
 Statement provided that whether the GO bondholder group has an allowable claim is irrelevant,
 as they are not entitled to any distribution upon the claim because the GO 2012 and 2014 bonds
 violated the express terms of the Constitutional Debt Limit.
         On July 24, 2019, the Court issued the Stay Order, staying, among other things, the Joint
 Claim Objection, the Expanded Objection and the renewed Conditional Objection, which stay was
 extended through March 11, 2020. Pursuant to the Interim GO/PBA CMO, both the UCC and the
 LCDC filed claim objections supplementing the previously filed briefing.243 The UCC reiterated
 its arguments from its previous objections and supplemented with challenges to the following
 bonds and notes as invalid: GDB Notes issued on or about July 2012, July 2013, and June 2016;
 PBA 2004 and 2006 bonds that were refinanced into a single, Commonwealth-guaranteed bond
 held by the GDB in 2015; the ScotiaBank Proof of Claim filed on June 13, 2018 for claims on an
 alleged invalid “Scotiabank Note;” and PRIFA Notes issued in 2015. The UCC asserts that certain
 GDB notes, certain PBA bond guaranty, the ScotiaBank note, and certain PRIFA guaranty should
 be disallowed because the notes and guaranties were all issued in violation of the Constitutional
 Debt Limit, and are therefore null and void.
        While the LCDC Omnibus Objection renewed the previous argument that the 2012 and
 2014 vintage bonds are null and void, it clarified its position and, with new arguments, asserted
 that post-2012 PBA bonds were also issued in violation of the Constitutional Debt Limit, along
 with the PRIFA BANs and the Ports bonds. The LCDC adopted the approach of reading the
 Commonwealth Constitution to establish two distinct debt limits, one for (i) “direct obligations for
 bonds issued by the Commonwealth,” and one for (ii) “obligations for bonds guaranteed by the
 Commonwealth provided that the Commonwealth made debt service payments on account of such
 guarantee obligations.” However, the LCDC Omnibus Objection asserted that rental payments
 from the Commonwealth constitute payments on account of the Commonwealth guarantee, which
 241
       See Notice of Hearing on Renewed Motion of the Ad Hoc Group of General Obligation Bondholders, Under
       Bankruptcy Code Sections 105(a) and 502 and Bankruptcy Rule 3007, Establishing Procedures with Respect to
       Omnibus Conditional Objection to Claims Filed or Asserted by the Public Buildings Authority, Holders of Public
       Buildings Authority Bonds, and Holders of Certain Commonwealth General Obligation Bonds, [ECF No. 7814].
 242
       See Statement of Position of the Lawful Constitutional Debt Coalition Regarding Objection to Claims Filed or
       Asserted by Holders of Certain Commonwealth General Obligation Bonds [ECF No. 6180] (“LCDC Statement”).
 243
       LCDC Omnibus Objection; Official Committee of Unsecured Creditors' Omnibus Objection on Constitutional Debt
       Limit Grounds to (I) Claim of Government Development Bank for Puerto Rico (Claim Number 29485) Based on
       Certain Commonwealth-Issued Notes and on Commonwealth Guaranty of Certain Bond Issued by Port of Americas
       Authority, (II) Claim of Scotiabank de Puerto Rico (Claim Number 47658) Based on Full Faith and Credit Note
       Issued by Puerto Rico General Services Administration, and (III) Claims Filed or Asserted Against Commonwealth
       Based on Commonwealth Guaranty of Certain Notes Issued by Puerto Rico Infrastructure Authority, [ECF No.
       9735] (“UCC 2020 Objection”).

                                                          241
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 must therefore be included in the calculation of debt service for bonds issued directly by the
 Commonwealth.244

         On February 5, 2020, pursuant to deadlines stated in the Court’s interim case management
 order regarding PBA and GO bond litigation, certain bondholders filed motions to dismiss the
 PBA and GO bond objections. The movant parties comprised certain bondholder groups that had
 actively participated in mediation regarding the scheduling order and PBA and GO validity
 generally. Pursuant to the scheduling order, further motions to dismiss were filed on or before
 February 19, 2020. 245

        As noted above, on February 9, 2020, the Oversight Board entered into the PSA, which
 proposes to resolve the bond validity litigation discussed above.

        On February 10, 2020, following disclosure of the PSA, the Mediation Team submitted a
 revised report and recommendation that further litigation under the GO/PBA litigation scheduling
 order should be stayed in furtherance of plan confirmation. The Oversight Board and consenting
 bondholders, likewise, have agreed to seek a general stay of all such litigation pending plan
 confirmation.
                             (iv)    Additional Concerns Raised in Related Filings

         Sub-parts 7.a.i-iii hereof describes allegations that GO and PBA bonds were invalid as a
 result of breaches of the Constitutional Debt Limit. The Oversight Board has reserved the right to
 expand its objections to additional bond series and has alleged additional facts and applicable law
 giving rise to concerns as to the validity of the GO bonds and related transfers. These additional
 concerns are discussed below.

                                     (1)      Balanced Budget Clause Violations

         Just as the Constitutional Debt Limit restricts the Commonwealth from issuing debt that
 violates public policy by exceeding Puerto Rico’s ability to pay as evidenced by historical
 revenues, additional constitutional provisions restrict the Commonwealth from issuing debt and
 using the proceeds for purposes that similarly fail to serve the public good. Article VI, section 7
 of the Commonwealth Constitution (the “Balanced Budget Clause”) provides that “[t]he
 appropriations made for any fiscal year shall not exceed the total revenues, including available
 surplus, estimated for said fiscal year unless the imposition of taxes sufficient to cover said
 appropriations is provided by law.”

        The UCC has alleged in the Joint Claim Objection that certain of the GO Bonds violated
 the Balanced Budget Clause because the documented and disclosed purpose of the borrowing was




 244
       LCDC Omnibus Objection, [ECF No. 9730], ¶ 2.
 245
        The motions described in this paragraph comprise the “Motions to Dismiss Bond Claim Objections” discussed
       above at sub-part 7.a.ii.

                                                        242
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 to finance structural deficits in the Commonwealth budget. The Oversight Board has reserved the
 right to join in this argument.246

         General obligation debt proceeds in many jurisdictions may only be used to finance capital
 projects such as land acquisition and infrastructure development. The practice of “deficit
 financing,” alleviating budget deficits by borrowing money rather than reducing expenses or
 increasing taxes, is viewed as fiscally unsound and inadvisable for general obligation borrowing.
 Indeed, GDB at one time advertised the sale of GO Bonds by noting the “forthright and
 fundamental fact: that deficit financing is specifically prohibited in the Constitution of the
 Commonwealth.” GDB Advertisement, Barron’s Magazine, February 1974.

         Notwithstanding GDB’s past assertions, there is some dispute as to the correct
 interpretation of the Constitution. The English version of the Commonwealth Constitution that
 was approved by the U.S. Congress provides that “[t]he appropriations made for any fiscal year
 shall not exceed the total revenues, including available surplus, estimated for said fiscal year
 unless the imposition of taxes sufficient to cover said appropriations is provided by law.” Because
 bond proceeds are not “revenues,” this language is best understood to prohibit deficit financing.

        By contrast, the Spanish version of the Commonwealth Constitution adopted by the
 Legislature uses the term “recursos totales,” which in English means “total resources,” not “total
 revenues,” which would be rendered as “rentas totales” in Spanish. The legislative history
 suggests that the term “recursos totales” was intentionally deployed by the drafters to encompass
 bond issuances; however, the federal law providing for effectiveness of the Commonwealth
 Constitution indicates that the English version is to be considered official.

          No court has ruled on the question of whether the Commonwealth Constitution forbids
 deficit financing. Certain bondholders have argued that the UCC’s interpretation of the Balanced
 Budget Clause is incorrect,247 asserting that the UCC invents a reading based on limits established
 under various state constitutions but not the text of the Commonwealth Constitution. Moreover,
 although numerous courts have held that violation of a debt service limit results in a finding that
 bonds are null and void, few courts have addressed the appropriate remedy for violations of deficit
 financing restrictions;248 bondholders have argued that Puerto Rico’s Balanced Budget Clause
 governs appropriations, not borrowing, and that a debt invalidation remedy for an appropriations
 violation would be inconsistent with the meaning and purpose of the Constitution.249



 246
       Joint Claim Objection, p. 32 fn. 18.
 247
       Ad Hoc Group Motion, 42-46.
 248
       Several courts have held that bonds are invalid where the language of the relevant constitution explicitly forbids
       borrowing amounts not payable from budgeted revenues. See, e.g., City of Winchester v. Winchester Bank, 306
       Ky. 45, 46-47 (1947); Austin Western Road Mach. Co. v. City of New Madrid, 185 S.W.2d 850, 855 (Mo. Ct. App.
       1945); State v. Spring City, 123 Utah 471, 476-78 (Utah 1953).
 249
        See Ad Hoc Group Motion, 46-48. One court has held that the remedy for an appropriations clause violation was
       to require budget balancing on a prospective basis. See Lance v. McGreevey, 180 N.J. 590, 599 (NJ 2004) (citing
       N.J. Const. art. VIII, § 2). In that case, the issuer was not alleged to be insolvent and the Court expressed concern
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                               Invalidity Actions

        As described above, the various objections to the validity of GO and PBA Bonds seek
 disallowance of the claims filed against the Commonwealth in respect thereof. Another potential
 consequence of the bonds’ invalidity would be that any amounts paid by the Commonwealth on
 account of such purported bonds (i) were per se unlawful and are recoverable under Puerto Rico
 law, and (ii) are avoidable as fraudulent transfers pursuant to the Bankruptcy Code and Puerto
 Rico law.

          Accordingly, the Oversight Board commenced litigation to “claw back” principal and
 interest payments on the bonds that had been paid out to purported bondholders in the four years
 prior to the commencement of the Commonwealth Title III Case.250, 251 The Oversight Board
 limited this litigation (to the best of its ability after gathering information, as described below) to
 holders in excess of $2.5 million in the bonds at issue during the lookback period, in other words,
 excluding small-scale diversified portfolio investors and pursuing relief only against sophisticated
 investors that should have understood the bonds’ infirmities prior to investing. In the event the
 request sought in the Invalidity Action is sustained, recipients of payments of principal and interest
 on account of the Challenged Bonds may be required to return such payments to the respective
 issuers.

        Unlike the claims objections described above, the Invalidity Actions required the Oversight
 Board to engage in a complicated discovery process to identify the appropriate Defendants.252 The
 Oversight Board obtained several orders from the Court requiring numerous banks that held the
 bonds on behalf of both themselves and “beneficial holder” clientele to produce records of transfers
 of principal and interest payments to beneficial holders.253 The Oversight Board then received
 from the banks a large amount of confidential information identifying the purported bondholders
 and the transfers at issue.254 Pursuant to stringent confidentiality restrictions, the Oversight Board
 then identified the disclosed parties as Defendants by pseudonym in relevant litigation and
 submitted to the court under seal a “key” document identifying the parties by name.




       over “disruption to the State government.” Id. It is likewise not clear that the facts and law of the case would be
       applicable to the present circumstances.
 250
       These “Invalidity Actions” actions are Adv. Proc. Nos. 19-00281 through 19-00288, inclusive.
 251
       PROMESA and Puerto Rico law, among others, permit the Oversight Board to “look back” and avoid transfers
       made during the four years prior to the commencement of the cases.
 252
       For the avoidance of doubt: the objections to claims were filed against current holders of GO and PBA Bonds and
       relate to going-forward obligations. The Invalidity Action is filed against parties who held the same bonds between
       2013 and 2017. Overlap may be limited due to active trading.
 253
       See ECF Nos. 6384, 6493, 6967.
 254
       To date, not all of the banks have complied with the discovery orders. To the extent of such non-compliance, the
       Oversight Board has assumed that the banks, as record holders of the bonds, were likewise the beneficial holders
       of the bonds and are thus the appropriate Defendants to the Invalidity Action.
                                                            244
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          On April 30 and May 1, 2019, the Oversight Board and the UCC filed the Invalidity Actions
 with the Court, commencing eight adversary proceedings in total.255 To date, the Invalidity
 Litigation Defendants include approximately 450 purported beneficial owners of the bonds
 identified by pseudonym. More litigation may be filed, and/or new Defendants named to the
 litigation, as banks continue to provide information identifying beneficial holders of the bonds,
 notwithstanding that discovery deadlines have now expired.

          After filing the Invalidity Actions, the Oversight Board and the UCC requested that the
 Court stay the litigation and extend service deadlines.256 In the Litigation Stay Motion, the
 Oversight Board and the UCC noted that the Invalidity Actions had been filed in order to preserve
 rights prior to expiration of the relevant statute of limitations, but that aggressive prosecution of
 the litigation would not be warranted under the circumstances of the Title III Cases (including the
 opportunity to settle related disputes by confirmation of a plan of adjustment). The court granted
 the motion in part, extending service and litigation deadlines to September 1, 2019, and requiring
 the Oversight Board to meet and confer with interested parties and submit a joint case management
 order to govern the actions no later than July 17, 2019.257 The Oversight Board has served the
 Invalidity Actions complaints and summonses.

         Pursuant to the Stay Order, the Invalidity Actions are stayed through March 11, 2020.
 Pursuant to the Interim GO/PBA CMO, the Invalidity Actions are to be stayed in all respects
 pending resolution of the debt validity issues contained in the various GO and PBA bond
 objections described above. By the Court’s order, defendants to the Invalidity Actions were
 provided the opportunity to participate and receive notice in the debt validity litigation, but are not
 required to do so to maintain any rights or status within the Invalidity Actions.

        The PSA and Plan provide for dismissal of the Invalidity Actions following confirmation.
 The Mediation Team has recommended that the Invalidity Actions remain stayed in their entirety
 pending confirmation.

                               Lien Challenge Actions

         For a description of the lien challenge actions258 to be settled pursuant of the Plan, see
 section III.B.1.a) of this Disclosure Statement.




 255
       For logistical reasons relating to law firm conflicts of interest and the Court’s document processing capabilities,
       the Oversight Board was required to file the complaints against Defendants in tranches.
 256
       See Omnibus Motion by Official Committee of Unsecured Creditors, Financial Oversight and Management Board,
       and Its Special Claims Committee to Extend Time for Service of Summonses and Complaints and to Stay Certain
       Adversary Proceedings Relating to Certain Challenged GO Bonds, [ECF No. 6857] (the “Litigation Stay Motion”).
 257
       See Order Regarding Omnibus Motion by Official Committee of Unsecured Creditors, Financial Oversight and
       Management Board, and its Special Claims Committee to Extend Time for Service of Summonses and Complaints
       and Stay Certain Adversary Proceedings Relating to Certain Challenged GO Bonds, [ECF No. 7426].
 258
       These actions were brought by the Oversight Board (not its Special Claims Committee).

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                               PBA Litigation

         Historically, in calculating general obligations pursuant to subsection (i) of the
 Constitutional Debt Limit, the Commonwealth included within its accounting of general
 obligations only those bonds issued directly by the Commonwealth and specifically denominated
 as GO Bonds. As provided below, however, the Oversight Board alleges that the Commonwealth
 simultaneously created and issued bonds that were general obligations but were neither
 denominated as such nor included in the Constitutional Debt Limit calculation.

          PBA ostensibly exists to acquire, develop and manage real property for the benefit of the
 Commonwealth. However, PBA in some cases acquires its properties from the Commonwealth
 itself via lease; such properties are then leased back to the Commonwealth and its agencies. The
 Oversight Board and other parties have alleged that the actual function of PBA has been to issue
 bonds backed by the good faith, credit and taxing power of the Commonwealth, using the
 aforementioned purported real property sublease obligations to pass funds from the
 Commonwealth to bondholders without facially implicating the Constitutional Debt Limit.

         The Oversight Board has alleged that the PBA Leases are not true leases, should not be
 entitled to administrative priority, and should be characterized as general obligations of the
 Commonwealth for purposes of the Constitutional Debt Limit [Adv. Proc. No. 18-00149, ECF No.
 1].259 As described more fully in the PBA Lease Complaint, among other court filings, the
 Oversight Board argued that the PBA Leases demonstrate various hallmarks of not being true
 leases but rather disguised bond payments. These include:

                “Rent” payments calculated in accordance with debt service requirements, as opposed
                 to PBA’s costs or comparative market rent prices.

                Adjustment of rent obligations upward or downward as necessary in relation to PBA
                 Bond financing costs.

                Expiration of PBA Lease obligations on maturity dates of PBA Bonds.

                “Absolute and unconditional obligation” provisions requiring purported lessees to pay
                 “rent” in full at all times and under all circumstances for the remainder of the lease term
                 (i.e., the life of the PBA Bonds), even if the property has been sold or destroyed, and
                 including due to the fault of PBA.

                “Operating Rental” components designed to cause all actual building maintenance and
                 operation expenses to pass through PBA to lessees, so that costs of ownership are paid
                 by lessees in addition to debt service.




 259
       Additional details regarding this action are provided in Section III.B.1.c.

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        Pursuant to the terms of the PBA Leases, the holders of the PBA Bonds are third-party
 beneficiaries thereof. The Commonwealth has historically paid a significant portion of the
 purported lease obligations to PBA, an estimated 80-98% in recent years.

         As a result, the Oversight Board and the UCC have concluded that whether flowing through
 purported leases or directly from the Commonwealth treasury, the Commonwealth makes the
 payments on the PBA Bonds, irrespective of any purported operations or activities of PBA. The
 Bond Claim Objections260 assert that the PBA Bonds are, in all relevant respects, backed by the
 Commonwealth’s good faith, credit and taxing power, not by revenues from any purported Leases
 or other PBA operations.

        The litigation described herein relating to the infirmities of the PBA bonds is to be settled
 pursuant to the Plan, on terms described therein and in the PSA, as described above.

                              Avoidance of Debt Guarantees (including PRIFA BANs Litigation)

         Between 2013 and 2017, the Commonwealth pledged its good faith credit and taxing power
 to guarantee approximately $830 million in debt issued by certain instrumentalities, including
 PRASA, APLA, GDB, and PRIFA (the “Guaranteed Indebtedness”). Claims Counsel’s
 investigation identified several potential causes of action with respect to the Guaranteed
 Indebtedness.

        First, for reasons similar to those articulated above with respect to the GO and PBA Bonds,
 the Guaranteed Indebtedness may have violated the debt limit in the Commonwealth Constitution.
 The Commonwealth Constitution limits the Commonwealth’s ability not only to borrow but to
 extend guarantees once its outstanding debts exceed a certain ratio to its historical revenues.

        Second, guarantees by an insolvent debtor of a third party’s obligation may be avoided as
 constructive fraudulent transfers if the debtor did not receive reasonably equivalent value in
 exchange. In some cases, the Commonwealth did not receive reasonably equivalent value in
 exchange for its extension of a guarantee because the obligors of the debts did not use the debt
 proceeds in a manner that provided any benefit to the Commonwealth and because the
 Commonwealth’s guarantee only served to burden it with onerous obligations.

        To date, the Oversight Board has filed one avoidance action and has negotiated tolling
 agreements with the DRA relating to the Guaranteed Indebtedness. The filed action is Adv. Proc.
 No. 19-00269.261 The Oversight Board anticipates that this action will be dismissed upon
 confirmation of the Plan.


 260
       The Bond Claim Objections include the objections to the validity of the PBA and GO Bonds filed by the Oversight
       Board, UCC, and other parties. See section V.I.5.a.
 261
       The Special Claims Committee of The Financial Oversight and Management Board for Puerto Rico, acting by and
       through Its Members and the Official Committee of Unsecured Creditors of the Commonwealth of Puerto Rico, as
       co-trustees respectively, of The Commonwealth of Puerto Rico v. BNY Mellon, et al., 19-AP-00269 (the “Guarantee
       Obligation Avoidance Action”).

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 I.     The Stay Order and Mediation Team Reports

        1.       The Stay Order

          As stated previously, in May 2019, the Oversight Board and the UCC filed a joint motion
 seeking to (i) extend the deadlines to serve the Defendants in the Avoidance Action adversary
 proceedings and (ii) stay the adversary proceedings until Plaintiffs or any Defendant requests to
 resume the proceeding for good cause. In June 2019, the Court partially granted the joint motions
 and extended the deadlines to serve the Defendants and stayed the adversary proceedings until
 September 1, 2019. At the July 24, 2019 Omnibus Hearing, the Court issued the Stay Order,
 staying not only the adversary proceedings, but also many contested matters in which stays were
 requested in the Title III Case until November 30, 2019. The Court explained that in light of the
 anticipated filing of the Commonwealth Plan in August 2019, the parties should work with the
 Mediation Team Leader, Hon. Barbara J. Houser, in order to reach consensus as to prioritization
 of matters for litigation or mediation and to create standardized and comprehensive schedules and
 notice and participation mechanisms. The Order intended the stay to prevent the parties from
 litigating overlapping issues and to facilitate the efficient resolution of matters.

          The Stay Order also directed mandatory mediation for all parties to the matters listed in
 order to facilitate confirmation of a plan of adjustment for the Commonwealth Debtor. The order
 directed the Mediation Team Leader to facilitate discussions and communications between the
 parties.

        The Order applies to about 20 motions and 30 adversary proceedings, including:

                the Oversight Board and the UCC’s omnibus objection to claims asserted by certain
                 GO Bondholders, described in sections III.B.1(a)(ii) and V.I.5(a) of this disclosure
                 statement;

                the seven adversary proceedings initiated by the Oversight Board and the UCC
                 against more than 450 Defendants seeking declarations that holders of bonds issued
                 or guaranteed by the Commonwealth Debtor have entirely unsecured claims,
                 described in section III.B.1.a.(ii) of this disclosure statement;

                the eight clawback actions filed by the Oversight Board’s Special Claims
                 Committee and the UCC seeking to claw back principal and interest payments
                 against approximately 600 purported beneficial owners of bonds and 50 banks
                 disclosed as record holders, described in sections III.B.1.a.(ii) and V.I.5(b) of this
                 disclosure statement;

                Ambac’s lift-stay motion concerning PRIFA rum tax bonds, described in section
                 V.E.4(c) of this disclosure statement;

                the UCC’s omnibus objection to claims against the Commonwealth Debtor asserted
                 by holders of certain PBA Bonds, described in section V.I.5(a) of this disclosure
                 statement;

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                the adversary proceeding initiated by the Oversight Board against PBA Debtor
                 seeking a declaration that PBA Debtor leases are not true leases and obligations
                 purportedly due thereunder are simply mischaracterized general obligations of the
                 Commonwealth Debtor, described in section III.B.1(c)(ii) of this disclosure
                 statement;

                the UCC’s objection to claims of holders of certain ERS Bonds, described in section
                 III.B.1(b)(iii) of this disclosure statement;

                the two adversary proceedings filed by ERS Debtor and the UCC against certain
                 ERS Bondholders challenging the validity of certain ERS Bondholders’ purported
                 interests, described in section III.B.1(b)(i) of this disclosure statement;

                the UCC’s objection to GDB’s claim against the Commonwealth;

                and the UCC’s objection to claims of holders of certain 2011 GO Bonds, described
                 in section III.B.1(a)(ii) of this disclosure statement.

          The Court subsequently entered orders extending the general stay, permitting limited forms
 of litigation regarding debt validity issues (as described above), and requiring the Mediation Team
 to submit final recommendations in February 2020. On February 10, 2020, following disclosure
 of the PSA, the Mediation Team submitted a revised report and recommendation that further
 litigation under the GO/PBA litigation scheduling order should be stayed in furtherance of plan
 confirmation.

        2.       Interim Report and Recommendation of the Mediation Team

         Pursuant to the Court’s Stay Order, which temporarily stayed certain adversary
 proceedings and contested matters identified therein, and ordered the parties to enter into a period
 of mandatory mediation, the Mediation Team performed two principal tasks. First, the Mediation
 Team addressed the scheduling and sequencing of issues identified in the Mediation Order or
 identified by the parties as issues relevant to confirmation of the plan of adjustment for one or
 more of the Title III debtors. See Interim Report and Recommendation of the Mediation Team
 [ECF No. 9365] (the “Interim Report”) at 1-2. Second, the Mediation Team engaged the parties
 in substantive mediation sessions as the Mediation Order directed. Id. at 2.

         During mediation the active ERS litigation parties agreed to accelerate consideration of
 issues related to ERS. Interim Report at 3; see Urgent Joint Motion to Modify Order Regarding
 Stay and Mandatory Mediation with Respect to Certain Issues Raised in Certain Contested Matters
 and Adversary Proceedings Related to the Bonds Issued by the Employees Retirement System of
 the Government of the Commonwealth of Puerto Rico [ECF No. 8899] (“Joint Urgent Motion”).
 A motion for approval of agreed procedures for objections to claims by holders of bonds issued
 by ERS was negotiated by the parties and entered by the Court. ECF Nos. 8761, 8818. In addition,
 the ERS litigation parties agreed to a scheduling order to address matters pending before the Court
 that relate to the validity of ERS bonds and the scope of liens held by the ERS bondholders. This


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 proposed order was filed with the Court on October 18, 2019, and entered by the Court on October
 24, 2019. Joint Urgent Motion; ECF No. 8962.

          The Mediation Team originally planned to submit to the Court a comprehensive report and
 recommendation regarding scheduling of all relevant issues in the Title III cases on or before
 November 27, 2019. Interim Report at 4. However, at that time, the Oversight Board, the
 Government of Puerto Rico, and various creditors remained engaged in ongoing negotiations
 regarding the terms of a possible amended plan of adjustment. See id. Because an amended plan
 of adjustment would render any scheduling recommendations by the Mediation Team moot, the
 Mediation Team filed an Interim Report which addressed only the scheduling of disputed issues
 that should proceed in the near-term. Id. Specifically the Interim Report addressed, inter alia,
 scheduling and sequencing of litigation concerning (i) the validity of certain challenged series of
 GO and PBA bonds, (ii) the secured or unsecured status of claims on GO and PBA bonds, (iii) and
 the rights, as against the Commonwealth, of holders of “revenue bonds” and other debt issued by
 certain Puerto Rico instrumentalities. As detailed in the Interim Report, the Mediation Team
 believes that these issues are among the most fundamental and pivotal in the Title III cases, and
 litigation on these issues should commence as soon as practicable. Id. at 5. After consulting with
 the relevant parties and receiving written recommendations, the Mediation Team, as part of the
 Interim Report, submitted scheduling proposals with respect to these litigations, among others.
 The Mediation Team further recommended that, with the exception of the deadlines set forth in
 the proposed scheduling orders, the mandatory mediation stay be extended through January 31,
 2020, and that the Court set a deadline of January 10, 2020, for the Mediation Team to submit an
 amended report (the “Amended Report”) further addressing scheduling of litigation. All parties
 were free to object to the scheduling recommendations in the Interim Report and proposed
 scheduling orders.

         The first proposed order submitted by the Mediation Team is a scheduling order applicable
 to contested matters and adversary proceedings related to issues (i) and (ii) above concerning GO
 and PBA bonds (the “Proposed Interim GO/PBA CMO”). The Proposed Interim GO/PBA CMO
 provides for, among other things, briefing and hearings in the context of Rule 12(b) motions to
 dismiss and/or Rule 12(c) motions for judgment on the pleadings as to the GO lien challenge and
 Clawback Litigations,262 as well as a schedule for filing, briefing and hearing certain claim
 objections to PBA bonds and to certain challenged GO Bonds. See Interim Report.

        The second proposed interim scheduling order is applicable to certain contested matters
 and adversary proceedings addressing issue (iii) above, concerning the rights of holders of revenue
 bonds issued by HTA, PRIFA, and CCDA against the Commonwealth (the “Proposed Interim
 Revenue Bonds CMO”). Pursuant to the Proposed Interim Revenue Bonds CMO, issues related
 to revenue bonds were to be raised in three motions to lift the automatic stay and four adversary
 proceedings, as described in sections V.E.4.f)-h) and V.F.5 above. The Proposed Interim Revenue
 Bonds CMO provides a schedule for briefing and hearing of the PRIFA, HTA, and CCDA Lift
 Stay Motions, as well as briefing and hearing in the context of Rule 12(b) motions to dismiss
 and/or Rule 12(c) motions for judgment on the pleadings as to the Revenue Bond Litigations. See

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       As defined in the Interim Report, the Clawback Litigation consists of the adversary proceedings docket numbers
       19-ap-281 through 19-ap-288 (defined as “Invalidity Actions” under the Plan).

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 Interim Report. In addition, certain provisions of the Proposed Interim Revenue Bonds CMO have
 been challenged by Ambac, Assured, National, and FGIC, as well as the UCC, as described below.

        The third proposed scheduling order addresses the motion for relief from the stay filed by
 the DRA Parties. The parties to that contested matter have agreed upon the sequencing of
 scheduling of issues, which are described in section V.E.4.e) above.

         On December 6, 2019, numerous parties, including the Oversight Board, Ambac, National,
 FGIC, Assured, the UCC, the DRA Parties, and Peter C. Hein, filed responses to the Mediation
 Team’s Interim Report. ECF Nos. 9493, 9504, 9440, 9485, 9505, 9503, 9508. In particular, the
 Oversight Board requested the Court make certain proposed modifications to the Proposed Interim
 Revenue Bonds CMO, including (i) scheduling Ambac’s PRIFA Lift Stay Motion for an
 immediate hearing; (ii) providing for the continuance of final hearings on the HTA and CCDA
 Lift Stay Motions until motions to dismiss the Revenue Bond Litigations are resolved; (iii)
 clarifying the scope of the Oversight Board’s consent regarding section 305; and (iv) imposing
 reasonable limitations on the length and number of briefs.

         On December 11, 2019, the Court held a hearing to consider the Interim Report, the
 proposed scheduling orders, and the parties’ objections and responses thereto. At the hearing, the
 Court stated it would make certain changes to the proposed interim orders on matters that were of
 particular importance between December 11, 2019, and the January 29, 2020 omnibus hearing, at
 which it anticipated considering the Mediators’ Amended Report and scheduling
 recommendations contained therein. See Hearing Transcript dated December 11, 2019.

         On December 19, 2019, the Court entered two interim case management orders, including
 the Interim Case Management Order for Revenue Bonds [ECF No. 9620] (the “Interim Revenue
 Bonds CMO”), which includes certain changes addressed by the Court at the December 11, 2019
 omnibus hearing. The Court further entered an order extending the stay period of the Court’s prior
 orders to January 31, 2020, extending the deadline for the Mediation Team to file its Amended
 Report to January 10, 2020, and setting a hearing to consider the Amended Report for January 29,
 2020. ECF No. 9618.

        Shortly thereafter, in response to a request by the Mediation Team, the Court entered an
 order postponing the prior January 10, 2020 deadline for the Mediation Team to file the Amended
 Report to February 10, 2020. See Order Partially Amending Order Addressing the Filing of an
 Amended Report by the Mediation Team and Extending (a) Stay Period, (b) Mandatory Mediation,
 and (c) Certain Deadlines Related Thereto (Docket Entry No. 9618), and Setting Deadline for
 Further Reponses to Urgent Motion for Extension of Filing Deadline for Mediation Team
 Amended Report (Docket Entry No. 9638) [ECF No. 9639] (the “December 23 Order”). The
 December 23 Order also adjourned the hearing on the Amended Report to March 4, 2020, and
 extended the stay to March 11, 2020.

        On December 26, 2019, Assured and National filed an objection, motion for
 reconsideration, and/or reservation of rights with respect to the December 23 Order. ECF No.
 9655. The Court overruled that objection, but invited further objections to the Interim Revenue
 Bonds CMO to be filed on or before January 21, 2020, with responses due January 27, 2020. ECF

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 No. 9661. The Court also scheduled a hearing for January 29, 2020, to address any arguments
 concerning the continuation of the provisions of, and the proposed amendments to, the Interim
 Revenue Bonds CMO prior to the March 4, 2020 hearing. Id. On January 21, 2020, Assured,
 National, Ambac, and FGIC filed an objection to the Interim Revenue Bonds CMO (the “Interim
 Revenue Bonds CMO Objection”), asserting that, to avoid perceived constitutional defects, (i) the
 HTA, PRIFA, and CCDA Lift Stay Motions should be permitted to proceed to final hearings in
 short order, while the Revenue Bond Litigations should be stayed and (ii) references to section 305
 should be deleted from the Interim Revenue Bonds CMO. ECF No. 10251. Assured, National,
 Ambac, and FGIC further alleged that, in the event the HTA, PRIFA, and CCDA Lift Stay Motions
 proceed to final hearings, certain discovery should be permitted with respect to the Motions. On
 the same day, the UCC also filed an objection to the Interim Revenue Bonds CMO, alleging that
 the page limitations on intervenors in the Revenue Bond Litigations should not apply to it. ECF
 No. 10249. On January 27, 2020, the DRA Parties filed a joinder to the Interim Revenue Bonds
 CMO Objection. Also on January 27, 2020, the Oversight Board filed its response to the Interim
 Revenues Bonds CMO Objection, (i) asserting that staying the Revenue Bond Litigation while
 proceeding to a final hearing on the Lift Stay Motions risks further delay and incomplete resolution
 of key threshold issues, and that the Lift Stay Motions should be bifurcated so that issues of
 standing and secured status could be determined first, (ii) agreeing that the Interim Revenue Bonds
 CMO should not include any reference to PROMESA section 305, and (iii) arguing that no
 discovery should be permitted until certain gating issues on security interests and liens are
 determined. At the January 29, 2020 omnibus hearing, the Court bifurcated the issues of standing
 and secured status, modified the briefing schedule for the Lift Stay Motions, permitted limited
 discovery on preliminary issues, and scheduled a hearing on the bifurcated Lift Stay Motions for
 March 5, 2020. On January 31, 2020, the Court entered an amended interim case management
 order for revenue bonds (“Amended Interim Revenue Bonds CMO”), reflecting the modifications
 discussed at the January 29 omnibus hearing.

        3.      Amended Report and Recommendation of the Mediation Team

          On February 10, 2020, the Mediation Team filed its Amended Report and Recommendation
 of the Mediation Team [ECF No. 10756] (the “Amended Report”). The Mediation Team noted
 that since the filing of the Interim Report, the PSA was signed by Oversight Board and the holders
 of approximately $8 billion in claims of GO/PBA bonds, notice of which was made publically
 available on February 9, 2020. Amended Report at 8. Furthermore, the Mediation Team noted
 that, after the filing of the Amended Plan and an Amended Disclosure Statement, the Oversight
 Board intends to proceed forward towards confirmation of the Amended Plan, and that if the
 Amended Plan is confirmed, the Oversight Board and the GO/PBA Bondholders believe no further
 litigation of any dispute regarding the validity, priority, or secured status of the GO/PBA/PRIFA
 BANs claims is appropriate. Id. at 8-9.

        In light of the execution of the PSA and the global settlement contemplated therein, the
 Mediation Team made a series of recommendations regarding the Interim GO/PBA Scheduling
 Order and related matters, including recommending that: the Interim GO/PBA Order be set aside
 such that no further deadlines set forth in such order need be complied with by any party; and any
 other pending and not yet filed adversary proceedings and contested matters relating to validity,

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 priority, or secured status of the GO/PBA/PRIFA BANs claims be stayed pending a decision on
 confirmation of the Amended Plan. Id. at 9-10.

          The Mediation Team also made a series of recommendations regarding other interim orders
 and the ERS Scheduling Order, including recommending that: the ERS Scheduling Order remain
 in effect and the litigation contemplated in the Order proceed forward; certain gating issues
 identified in the Amended Interim Revenue Bonds Order be decided on the merits at the March 5,
 2020 preliminary lift stay hearing; and the Amended Interim Revenue Bonds Order be modified
 (1) to incorporate a schedule for filing partial summary judgment motions in the relevant Revenue
 Bond Adversary Proceedings and (2) to set a schedule for the filing and determination of any
 motion seeking relief regarding alleged conflicts of interest with respect to the Oversight Board’s
 acting for both the Commonwealth and HTA. Id. at 10-14. The Mediation Team recommended
 the parties meet and confer: regarding the schedule for any further discovery, briefing, and a final
 lift stay hearing; and following the preliminary hearing on the lift stay motions. Id. at 16-
 17. Finally, the Mediation Team recommended the Interim DRA Order be made final. Id. at 18.

          The Mediation Team then proposed a series of recommendations concerning other
 litigation subject to the stay, see id. at 18-19, including recommending:

               The PRIFA Rum Tax 2004 Motion [ECF No. 7328] be denied without prejudice in
                light of discovery being undertaken in connection with the lift stay motion and
                pending adversary proceeding;
               The motion to stay contested matters pending confirmation of Commonwealth Plan
                [ECF No. 7640] be granted;
               The GO Bondholders’ renewed motion establishing procedures with respect to
                omnibus conditional objections to claims filed or asserted by PBA and PBA/GO
                Bondholders [ECF No. 7814] remain stayed pending decision on confirmation of
                Amended Plan;
               The urgent motion for stay of adversary proceeding supplemental to pending
                motion to stay GO bond proceedings pending confirmation of Commonwealth Plan
                [ECF No. 7882] be granted;
               The UCC’s objection to the GDB’s claim against the Commonwealth (Claim No.
                29,485) [ECF No. 8000] remain stayed pending the decision on confirmation of the
                Amended Plan, with the objection to be unstayed and go forward thereafter;
               Ambac’s motion to strike certain provisions of the PSA [ECF No. 8020] be denied
                without prejudice given the signing of the New PSA;
               The Oversight Board’s motion to stay the PBA adversary proceeding pending
                confirmation of Commonwealth Plan [ECF No. 99 in Adv. Proc. No. 18-149] be
                granted;
               Assured v. Commonwealth [18-ap-59] remain stayed pending decision on
                confirmation of Amended Plan;
               The Guarantee Obligation Avoidance Action [19-ap-269] remain stayed pending
                decision on confirmation of Amended Plan;
               The Clawback Litigation [19-ap-281 through 19-ap-288] remain stayed pending
                decision on confirmation of Amended Plan;

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               The Underwriter Litigation [19-ap-280] remain stayed pending the decision on
                confirmation of the Amended Plan;
               The HTA Avoidance Actions [19-ap-362; 19-ap-363; 19-ap-364; 19-ap-365]
                remain stayed until the Court orders the stay lifted or a plan is confirmed for HTA.

         The Mediation Team also set out a potential schedule for the pre-disclosure statement
 hearing period, the disclosure statement hearing, and the confirmation hearing, see id. at 20-26 (as
 further described in section II of this Disclosure Statement). With respect to issues to be decided
 post-confirmation, the Mediation Team further recommended the following issues remain stayed
 until after the Amended Plan is confirmed and goes into effect: any preference or fraudulent
 transfer actions; final fee applications; underwriter and related party litigation, including 19-ap-
 280 (which relates to the Underwriter Litigation, described at V.J.4); the UCC’s Objection to the
 GDB’s Proof of Claim No. 29,485 [ECF No. 8000]; and any other objections to claims not
 addressed prior to confirmation. Id. at 26.

         Several parties filed responses to the Mediation Team’s Amended Report. On February
 18, 2020, Peter C. Hein filed a response to the Amended Report in which he objected to the use of
 confidential mediation [ECF No. 11284]. On February 19, 2020, AAFAF filed a response stating
 that the Court should not adopt the schedule proposed in the Amended Report because the AAFAF
 did not support the Amended Plan and, accordingly, AAFAF contended that the Amended Plan
 could not be confirmed [ECF No. 11159]. On February 21, 2020, Ambac, Assured, National,
 FGIC, and the UCC also filed responses to the Amended Report. The UCC, inter alia, urged the
 Court to reject the Mediation Team’s recommendation that certain litigations related to GO, PBA,
 and PRIFA BAN issues should be stayed, and requested the Court resolve certain “additional
 gating issues,” including the UCC’s GO Priority Objection, the claim objections to the validity of
 certain GO Bonds, and the Lien Challenge Actions, before approving the disclosure statement
 [ECF No. 11482]. Assured, Ambac, National and FGIC filed a joint response, (i) asserting that
 the Mediation Team’s recommendations are “inconsistent with due process” because of the
 accelerated timeline to reach determinations on certain issues, and because they would limit the
 taking of discovery; (ii) objecting to the scheduling of a disclosure statement hearing; and (iii)
 objecting to the recommendation that the PRIFA Rule 2004 Motion be denied without prejudice
 because it seeks information broader than what is anticipated to be disclosed in connection with
 the PRIFA Lift Stay Motion [ECF No. 11493]. In addition, Ambac, Assured, and National filed
 separate statements objecting to the Amended Report’s recommendation to stay litigation related
 to the priority, validity, and secured status of the GO Bonds [ECF Nos. 11496, 11497, 11498]. In
 addition, Assured’s statement asserted that the Amended Plan was “patently unconfirmable” for
 several reasons, including that it allegedly violated the Commonwealth Constitution [ECF No.
 11497]. The DRA Parties filed a response (i) expressing “concern” that the Mediation Team’s
 recommended schedule does not “contain a comprehensive and detailed resolution” of issues
 related to the alleged “clawback” of certain revenues; (ii) requesting the revenue bond scheduling
 order be modified to permit the DRA Parties to participate in the HTA Lift Stay Motion with
 respect to certain issues that allegedly overlap with the DRA Lift Stay Motion; and (iii) opposing
 the proposal to stay the UCC GO Priority Objection [ECF No. 11495].

        Also on February 21, 2020, the Oversight Board and the PSA Parties filed statements in
 support of the Amended Report. The Oversight Board supported the Mediation Team’s
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 recommendation to stay litigations relating to priority, validity and secured status of GO Bonds,
 as well as the recommendation to proceed to resolve the revenue bond litigations through summary
 judgment motions [ECF No. 11492]. The PSA Parties also support the Mediation Team’s
 recommendation to stay litigation related to the priority, validity and secured status of GO Bonds
 in light of the Amended Plan’s proposal to settle those litigations [ECF No. 11499].

 J.     Public Corruption Investigations

          On May 28, 2019, a federal grand jury returned an indictment charging three officials of
 the Puerto Rico Senate, Chrystal Robles-Baez, Isoel Sanchez-Santiago, and Angel Figueroa-Cruz,
 with alleged corruption involving a scheme to defraud the Legislature using “ghost employees.”
 Defendant Robles-Baez allegedly certified and requested payments indicating that she had
 provided professional services to the Office of Governmental Affairs, when in fact she had not.
 Defendants Robles-Baez and Sanchez-Santiago also allegedly used the personal identifying
 information of several individuals to create the impression that Robles-Baez had provided them
 with professional services when she in fact had not. Robles-Baez furthermore was alleged to have
 used Sanchez-Santiago’s contacts, services and assistance to fraudulently justify work she did not
 actually complete. Figueroa-Cruz, the Executive Director of the Office of Governmental Affairs
 at the time, allegedly falsely certified Robles-Baez’s bills and invoices for payment.

        On June 20, 2019, in connection with a request for information by federal law enforcement
 agencies, the Government announced the cancellation of certain contracts awarded by the Treasury
 Department, ASES and other government entities to the accounting firm BDO Puerto Rico.

          On June 24, 2019, former Governor Rosselló removed Treasury Secretary Raúl Maldonado
 from office after he made public allegations of acts of corruption by employees of the Treasury
 Department. Mr. Maldonado was also removed from his position as Director of the OMB and
 Chief Financial Officer of the Commonwealth. Then Governor Rosselló stated that he had lost
 trust in Mr. Maldonado because he had never raised the corruption allegations made in his public
 statement with the Governor. The following day, ASES Executive Director Ángela Ávila-Marrero
 resigned. ASES had awarded information technology and auditing services contracts to BDO
 Puerto Rico.

         On June 28, 2019, the FBI’s San Juan Field Office announced that it was investigating
 patterns of conduct concerning government corruption and fraud regarding government contracts.
 The FBI sought additional evidence from the public with respect to government contracting based
 on the following indicators: (1) contracts approved, or jobs awarded, to individuals or companies
 who were not the lowest bidders, and may have been significantly less qualified than other
 competitors for the contract or position; (2) a failure to follow ordinary business practices in the
 awarding of jobs or contracts; and (3) large expenses paid by a company that received a
 government contract, which would not have been necessary if one of the company’s competitors
 had received the contract.

       On July 9, 2019 a federal grand jury indicted three government officials and three other
 government contractors on numerous charges, including theft of government funds, wire fraud,
 money laundering, and conspiracy. The indictment involves approximately $15.6 million in

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 contracts. The prosecution outlined three separate fraud schemes. Federal authorities said the
 arrests were initiated by the Office of Inspector General of the U.S. Department of Education and
 were separate from the investigation initiated after the statements made by former CFO
 Maldonado. The investigation is ongoing.

         In addition, current and former high-ranking government officials have been questioned by
 federal law enforcement agencies in connection with the government contracts probe.

          On February 7, 2020, the Oversight Board announced that it selected UHY LLP to
 commence a review of audit, accounting and other services performed by BDO Puerto Rico since
 2016 for the Commonwealth of Puerto Rico and several instrumentalities. The initial phase of the
 investigation is focused on the five government entities audited by BDO Puerto Rico. Those
 entities are: PREPA, HTA, TRS, Puerto Rico Automobile Accident Compensation Administration
 (ACAA), and Puerto Rico’s public broadcasting corporation (WIPR). A review of BDO Puerto
 Rico’s consulting services is expected to follow. The focus of the review is of a financial nature.
 Legal actions or remedies are not within the scope of the investigation.

 K.     Related Debt Restructurings

        1.      GDB Title VI Case

                       Background

        The GDB is a public corporation and governmental instrumentality of the Commonwealth,
 whose principal functions were to act as fiscal agent, paying agent, financial advisor, financing
 source and depositary of funds for the Government and its instrumentalities, public corporations
 and municipalities.

          On April 6, 2016, the former Governor, Alejandro Garcia Padilla, issued a number of
 executive orders under the Moratorium Act to: (i) declare a state of emergency at GDB, (ii) impose
 restrictions on the withdrawal of funds deposited with GDB and of other disbursements by GDB,
 and (iii) implement a moratorium on the payment of debt service on GDB’s outstanding notes.

                       GDB Restructuring Support Agreement

         After many months of negotiations, on May 15, 2017, AAFAF, GDB and certain other
 creditors of GDB entered into a GDB Restructuring Support Agreement (as amended, modified or
 supplemented, the “GDB RSA”) to effectuate a consensual restructuring of certain other creditors
 of GDB’s indebtedness through a Title VI case under PROMESA. The severe damage and
 devastation inflicted on Puerto Rico by Hurricanes Irma and Maria necessitated certain
 modifications to the GDB RSA and pushed back the timeframe for consummating the Qualifying
 Modification. As a result, the GDB RSA underwent six amendments. On May 8, 2018, the
 Oversight Board certified the GDB RSA, as amended.




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                        Commencement of Title VI Proceeding

         On August 10, 2018, GDB commenced an action under Title VI of PROMESA by filing
 an application seeking approval of the Qualifying Modification with the U.S. District Court for the
 District of Puerto Rico (the “Title VI Action”). The Title VI Action was pending before Judge
 Swain and captioned Case No. 18-1561 (LTS).

                       Solicitation of Votes and Approval of the Qualifying Modification.

         The day prior to commencing the Title VI Action, on August 9, 2018, GDB and AAFAF
 launched solicitation of votes to approve or reject the Qualifying Modification. The Qualifying
 Modification was overwhelmingly approved by GDB’s creditors, with 74% of eligible creditors
 participating in the vote and 97% of such creditors voting to approve the Qualifying Modification.
 In addition, the Oversight Board, as the Administrative Supervisor in Title VI, provided all
 necessary certifications, as required by PROMESA section 601. The District Court approved the
 Qualifying Modification on November 6, 2018.

                       Terms of the Qualifying Modification

        The Qualifying Modification became effective as of November 29, 2018 (the “Closing
 Date”). The key terms of the Qualifying Modification are described below.

                       (i)     Recovery Authority Bonds

         Holders of outstanding GDB public bonds, net depositors of funds at GDB, and certain
 claimants of contingent and unliquidated claims held claims totaling approximately $4.23 billion
 as of the Closing Date (such aggregate claims, the “Participating Bond Claims”). Holders of
 Participating Bond Claims received on the Closing Date in exchange for their claims new bonds
 (“Recovery Authority Bonds”) issued by a newly formed statutory public trust and government
 instrumentality of the Commonwealth (the “Recovery Authority”) created pursuant to the GDB
 Restructuring Act enacted on August 24, 2017 and amended on July 18, 2018 (the “GDB
 Restructuring Act”). Holders of certain claimants of contingent and unliquidated claims that
 constituted Participating Bond Claims will only receive the Recovery Authority Bonds if their
 claims materialize in the future.

        The following are the principal terms of the exchange and the Recovery Authority Bonds:

               For every $1,000 of claims, holders of Participating Bond Claims received $550 of
                Recovery Authority Bonds.

               The Recovery Authority’s only assets are those GDB transferred to the Recovery
                Authority on the Closing Date (the “Restructuring Property”). The Restructuring
                Property includes GDB’s municipal loan portfolio, a portion of its public entity loan
                portfolio, certain real estate property, beneficial interests in causes of action and
                cash. Holders of Recovery Authority Bonds will receive interest and principal
                payments solely from the proceeds of the Restructuring Property. There is no

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                recourse against the Commonwealth or GDB with respect to the payment
                obligations under the Recovery Authority Bonds.

               The Recovery Authority Bonds have a coupon of 7.5% and mature in 2040. Based
                on cash flow projections, it is unlikely that holders of Recovery Authority Bonds
                will receive all interest due in cash or that the principal amount of the Recovery
                Authority Bonds will be paid in full.

               Pursuant to the GDB Restructuring Act, in establishing the net amount of claims or
                of assets, loans owed to GDB by municipalities, such loans were set off on a one-
                for-one basis with deposits with GDB by the same municipalities.

                        (ii)    Conditions of Exchange

          Concurrently with, and as a condition to, the exchange of claims for the Recovery
 Authority Bonds, the claims the Commonwealth and other public entities have against GDB were
 resolved pursuant to the terms of the GDB Restructuring Act and the creation of a separate trust—
 the Public Entity Trust (the “PET”). The primary purpose of the PET is to provide any available
 distribution to certain public corporation depositors, as well as administer the restoration of federal
 funds deposited at GDB. Pursuant to the GDB Restructuring Act, on the Closing Date, the balance
 of liabilities owed between the Commonwealth and its agents, instrumentalities and affiliates (each
 a “Non-Municipal Government Entity”) and GDB were determined by applying the outstanding
 balance of any deposits held at GDB in a Non-Municipal Government Entity’s name against the
 outstanding balance of any loan of such Non-Municipal Government Entity owed to GDB or of
 any bond or note of such Non-Municipal Government Entity held by GDB as of such date. Those
 Non-Municipal Government Entities having net claims against GDB, after giving effect to the
 foregoing adjustment, received their pro rata share of interests in the PET, which were deemed to
 be full satisfaction of any and all claims such Non-Municipal Government Entity may have against
 GDB. As a result of the PET transaction, the Commonwealth’s deposit claims against GDB was
 offset against the Commonwealth’s unsecured debts to GDB, resulting in GDB holding a net claim
 against the Commonwealth in the amount of approximately $926.9 million as of the Closing Date.

       The assets of the PET (the “PET Assets”) consist of the claim against the Commonwealth,
 which was the subject of a proof of claim filed in the Commonwealth Title III case, and $20 million
 cash.

                        (iii)   Payment of Surplus Tax Proceeds

        On the Closing Date, GDB paid, in cash, to each municipality that had undisbursed cash
 deposits at GDB on account of proceeds of the special additional tax which GDB certified as
 surplus from the Municipal Public Debt Redemption Fund (as defined in the Municipal Financing
 Act) prior to January 1, 2017 (such surplus, the “Excess CAE”), an amount equal to 55% of such
 undisbursed Excess CAE. The remaining portion of such undisbursed Excess CAE was discharged
 and no such municipality with Excess CAE has any further rights or claims against GDB or any
 other party with respect to such Excess CAE.


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                        Challenges to the GDB RSA and Qualifying Modification

        A number of parties at different times presented litigation challenges to various aspects of
 the GDB Title VI process. Some municipalities, bondholders and certain other creditors of GDB,
 challenged, directly and indirectly, the solicitation and the Qualifying Modification alleging:

                the pools of claimants should include a separate pool for municipalities with its own
                 voting requirements;

                their deposits with GDB did not constitute “Bonds” as defined in PROMESA and
                 therefore Title VI of PROMESA did not apply;

                some deposits were not the property of GDB but instead were held in trust and
                 therefore belong to the respective depositors;

                the sale of GDB bonds were offered maliciously and under false pretenses and
                 therefore such bondholders should be treated differently; and/or

                PROMESA and the actions of the Oversight Board were unconstitutional.

      In addition, the UCC sought derivative standing to represent the Commonwealth in the
 GDB Title VI process, which was denied.

        All these challenges were ultimately dismissed, withdrawn, or settled.

                        Occurrence of the GDB Qualifying Modification

         The GDB restructuring contemplated by the GDB RSA required the approval of the
 Oversight Board and an order from the Title III Court. On July 12, 2017, the Oversight Board
 authorized GDB to avail itself of Title VI of PROMESA, pursuant to PROMESA section
 601(e). On May 8, 2018, the Oversight Board certified the GDB RSA. The Oversight Board gave
 its final approval pursuant to PROMESA section 601(m)(1)(B) on November 2, 2018. On
 November 6, 2018, the Title III Court issued an order that the requirements of PROMESA section
 601(m)(1)(D) had been satisfied. The Closing Date took place on November 29, 2018, on which
 date all definitive documents were executed, the GDB assets were transferred to the Recovery
 Authority and the Public Entity Trust, the Participating Bond Claims were cancelled, all related
 claims were released, the guarantee provided by the Commonwealth in respect of an aggregate of
 $110 million of GDB bonds was extinguished, and the Recovery Authority Bonds were issued.

        2.       HTA Title III Case

                        Background

         HTA is a public corporation and governmental instrumentality of the Commonwealth
 established in 1965 under Act No. 74-1965 (as amended, the “HTA Act”) that has responsibility
 for the construction and maintenance of roads and highways and other transportation systems in
 Puerto Rico.
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         HTA is governed by a seven-member board comprised of the Secretary of Department of
 Transportation and Public Works (“DTPW”) (serving as the President of the board), the President
 of the Planning Board, the Secretary of the Treasury, the Executive Director of AAFAF, and three
 other members from the private sector appointed by the Governor with the advice and consent of
 the Senate. HTA has broad powers to carry out its responsibilities in accordance with DTPW’s
 overall transportation policies. These powers include, among other things, the complete control
 and supervision of any highway facilities constructed, owned, or operated by HTA, the ability to
 set tolls for the use of the highway facilities, and the power to issue bonds, notes, or other
 obligations. HTA plans and manages the construction of all major projects relating to the
 Commonwealth’s toll highway system, undertakes major repairs, and maintains the toll ways.

                       Commencement of the HTA Title III Case

       On May 21, 2017, the Oversight Board issued restructuring certifications for HTA pursuant
 to PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for HTA pursuant
 to PROMESA section 304(a) with the Title III Court, commencing cases under Title III of
 PROMESA.

         On June 29, 2017, the Court entered an order granting the joint administration of the Title
 III cases of the Commonwealth, HTA, and ERS, for procedural purposes only [ECF No. 537].

        3.      PREPA Title III Case

                       Commencement of the PREPA Title III Case

       On July 3, 2017, the Oversight Board issued a restructuring certification pursuant to
 PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for PREPA, pursuant
 to PROMESA section 304(a), commencing the PREPA Title III Case.

         On October 6, 2017, the Title III Court entered an order granting the joint administration
 of the Title III Cases of the Commonwealth, HTA, ERS, and COFINA, and the PREPA Title III
 Case, for procedural purposes only [Case No. 17-4780, ECF No. 340].

                       Significant Developments in the PREPA Title III Case

                       (i)     The Receiver Motions

        On July 18, 2017, certain holders and monoline insurers of bonds issued by PREPA filed
 a motion seeking to lift the stay to pursue the appointment of a receiver [Case No. 17-4780, ECF
 No. 74] (“Initial Receiver Motion”). On September 14, 2017, the Court denied the Initial Receiver
 Motion because, among other things, the Court considered movants’ requested relief prohibited by
 PROMESA section 305, which limits the jurisdiction and powers of the Court over certain matters.
 See [Case No. 17-4780, ECF No. 299] (“District Court Receiver Opinion”).

        On August 8, 2018, the First Circuit reversed and remanded the Title III Court Receiver
 Opinion, holding that PROMESA section 305 does not prohibit the Court from lifting the stay to
 allow PREPA bondholders to seek appointment of a receiver. See Fin. Oversight & Mgmt. Bd. for
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 P.R. v. Ad Hoc Grp. of PREPA Bondholders (In re Fin. Oversight & Mgmt. Bd. for P.R.), 899 F.3d
 13 (1st Cir. 2018) (the “Remand Decision”).

        On October 3, 2018, certain monoline insurers of bonds issued by PREPA—Assured
 Guaranty Corp. and Assured Guaranty Municipal Corp. (collectively, “Assured”), National Public
 Finance Guarantee Corp. (“National”) and Syncora Guarantee Inc. (“Syncora”)—filed a renewed
 motion to lift the stay to pursue the appointment of a receiver. [Case No. 17-4780, ECF No. 975]
 (the “Renewed Receiver Motion”). Pursuant to several orders of this Court, see [Case No. 17-
 4780, ECF Nos. 1176, 1183, 1204], the briefing schedule for the Renewed Receiver Motion was
 extended by several months. On May 9, 2019, the Court entered an order staying the briefing on
 the Renewed Receiver Motion until after the Court’s ruling on (i) the PREPA 9019 Motion (as
 defined below) and (ii) a related motion to dismiss the Renewed Receiver Motion. See [Case No.
 17-4780, ECF No. 1230].

         On May 3, 2019, Assured joined the Definitive RSA (as defined below). On May 10, 2019,
 the Oversight Board and AAFAF filed a motion to dismiss the Renewed Receiver Motion. [Case
 No. 17-4780, ECF No. 1233] (the “Motion to Dismiss”). On September 9, 2019, National and
 Syncora joined the Definitive RSA. Pursuant to the Definitive RSA as amended through
 September 9, 2019, upon entry of an order approving certain settlements and provisions contained
 in the PREPA 9019 Motion, Assured, National, and Syncora will withdraw the Renewed Receiver
 Motion. On September 13, 2019, the Court issued an order staying the briefing on the Motion to
 Dismiss [Case No. 17-4780, ECF No. 1638].

                       (ii)    The PREPA Postpetition Financing Motion

        On January 27, 2018, the Oversight Board and AAFAF filed an urgent joint motion for
 PREPA to obtain postpetition financing of $1.3 billion secured by a first priming lien. See [Case
 No. 17-4780, ECF No. 549] (“PREPA Financing Motion”). The Court determined that it would
 not grant the PREPA Financing Motion, but would hold the motion in abeyance without prejudice
 to an amendment in the short term limited to a smaller draw-down amount and administrative
 super-priority, and without prejudice to the possible future request for additional funding and/or
 priming liens. Feb. 15, 2018 Hr’g Tr. at 232:10-14.

        On February 16, 2018, the Oversight Board and AAFAF filed an urgent joint application
 [Case No. 17-4780, ECF No. 722] (the “Urgent Joint Application”), seeking entry of a revised
 proposed order approving a $300 million credit facility and granting the lender a superpriority
 administrative expense claim (the “Revised Financing”). On February 19, 2018, the Court entered
 an order approving the Revised Financing [Case No. 17-4780, ECF No. 744] (the “PREPA
 Financing Order”). On March 8, 2019, PREPA repaid all of the outstanding amounts under the
 Revised Financing.

                       (iii)   The PREPA Definitive RSA

         After months of negotiation, on July 30, 2018, the Oversight Board and AAFAF announced
 that they had entered into a preliminary Restructuring Support Agreement with members of the
 Ad Hoc Group of PREPA Bondholders (the “Preliminary RSA”). The Preliminary RSA
 contemplated the inclusion of a variety of restructuring terms in an eventual plan of adjustment,
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 and also contemplated the negotiation and execution of a definitive restructuring support
 agreement.

         Following the Preliminary RSA, the Oversight Board and AAFAF continued negotiating
 with the Ad Hoc Group of PREPA Bondholders regarding the terms of a definitive Restructuring
 Support Agreement. Ultimately, Assured joined the negotiations. On May 3, 2019, these efforts
 to reach a consensual resolution culminated in the execution of a definitive Restructuring Support
 Agreement (“Definitive RSA”), which provides for the resolution of the claims and entitlements
 of the Ad Hoc Group of PREPA Bondholders, Assured, and other holders of uninsured PREPA
 bonds that join the Definitive RSA. Among other things, the Definitive RSA provides the
 bondholders’ party to the Definitive RSA will support a plan of adjustment for PREPA providing
 them with a certain level of economic recovery. Parties that do not sign the Definitive RSA are
 not bound by the deal. On September 9, 2019, the parties to the RSA agreed to amend the
 Definitive RSA to provide for the joinder of Assured and National.

        On May 10, 2019, the Oversight Board and AAFAF filed a motion under Bankruptcy Rule
 9019 (the “PREPA 9019 Motion”) seeking approval of certain of the settlements and compromises
 embodied in the Definitive RSA. Briefing on the PREPA 9019 Motion is ongoing.

        4.      COFINA Title III Case

                       Commencement of COFINA Title III Case

       On May 5, 2017, the Oversight Board issued a restructuring certification pursuant to
 PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for COFINA, pursuant
 to PROMESA section 304(a), commencing the COFINA Title III Case.

       On June 1, 2017, the Title III Court entered an order granting the joint administration of
 the Commonwealth Title III Case and the COFINA Title III Case, for procedural purposes only.
 [ECF No. 242].

                       Confirmation of COFINA Plan of Adjustment

         On January 16 and 17, 2019, the Title III Court considered the confirmation of the COFINA
 plan of adjustment with the settlement motion for the settlement and compromise of the
 Commonwealth-COFINA Dispute, as further described below. On February 4, 2019, the Title III
 Court confirmed the COFINA plan of adjustment approving the entry into the settlement
 agreement with respect to COFINA [ECF Nos. 5047, 5048, 5053, 5055, 5104]. On the same day,
 the Title III Court approved the Settlement Motion.

        On February 5, 2019, the Title III Court entered the Amended Order and Judgment
 Confirming the Third Amended Title III Plan of Adjustment of Puerto Rico Sales Tax Financing
 Corporation [ECF No. 5055] and the Amended Memorandum of Findings of Fact and Conclusions
 of Law in Connection with Confirmation of the Third Amended Title III Plan of Adjustment of
 Puerto Rico Sales Tax Financing Corporation [ECF No. 5053]. On February 12, 2019, the
 COFINA plan of adjustment was substantially consummated and became effective (the “Effective
 Date of the COFINA Plan of Adjustment”).
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        As further explained in section V.G.4.b. of this Disclosure Statement, the confirmation of
 the COFINA Plan of Adjustment approved COFINA’s entry into the settlement agreement that
 provided the terms of the settlement and compromise of the Commonwealth-COFINA Dispute
 and the allocation of the Disputed SUTs.

                        Challenges to the Confirmation of COFINA’s Plan of Adjustment

        Following the occurrence of the Effective Date of the COFINA Plan of Adjustment, a
 number of parties commenced challenges to the confirmation of the COFINA Plan of Adjustment
 and the settlement and compromise of the Commonwealth-COFINA Dispute contained therein.

         Appeals of the Order Confirming the COFINA Plan of Adjustment. On February 22,
 2019, appellants (i) Rene Pinto-Lugo and Manuel Natal-Albelo (Pinto-Lugo v. Commonwealth of
 P.R., Case No. 19-1181 (1st Cir.)) (“Pinto-Lugo”), (ii) Mark Elliott, Lawrence B. Dvores, and
 Peter C. Hein (Elliott v. Commonwealth of P.R., Case No. 19-1182 (1st Cir.)) (“Elliott”), and (iii)
 Cooperativa de Ahorro y Crédito Dr. Manuel Zeno Gandia, Cooperativa de Ahorro y Crédito de
 Juana Diaz, and Cooperativa de Ahorro y Crédito de Rincon (Cooperativas v. COFINA, Case No.
 19-1391 (1st Cir.)) (“Cooperativas”) filed separate appeals of the order confirming the COFINA
 plan of adjustment. On June 28, 2019 with respect to the Cooperativas appeal and on April 12,
 2019 with respect to the Pinto-Lugo and Elliott appeals, the Oversight Board filed a motion to
 dismiss each appeal as equitably moot, arguing that since the COFINA plan of adjustment has
 been fully consummated and relied upon by innocent third parties, granting the appellants’ request
 to overturn the confirmation of plan would be impractical and inequitable. In particular, COFINA’s
 obligations under its old bonds have been canceled, new bonds have been issued and have been
 traded in public markets, distributions have been made to creditors, and litigations have been
 dismissed with prejudice. On the same day, the COFINA Senior Bondholders’ Coalition filed a
 motion to intervene in the appeal in support of the Oversight Board.

         On May 15, 2019, Pinto-Lugo filed an opposition to the motion to dismiss, arguing the
 equitable mootness doctrine is inapplicable to the appeal. On the same day, the Elliot Appellants
 filed an opposition to the motion to dismiss, arguing Appellants’ constitutional objections trump
 the equitable mootness doctrine.

          On May 29, 2019, the Oversight Board filed replies in support of its motions to dismiss the
 Elliott and Pinto-Lugo appeals. In its response to the Pinto-Lugo opposition, the Oversight Board
 argued that because the equitable mootness doctrine applies in cases brought under chapter 9 of
 the Bankruptcy Code, it is applicable to the appeal. In its response to the Elliott opposition, the
 Oversight Board noted that the Elliott Appellants cited no authority in support of their argument
 that courts are reticent to apply the equitable mootness doctrine in cases involving constitutional
 claims and presented evidence to the contrary. Pinto-Lugo filed his sur-reply July 26, 2019. On
 August 29, 2019, the Court issued an order consolidating Pinto-Lugo and Elliott. On November
 7, 2019, the Pinto-Lugo and Elliott Appellants filed their opening briefs. Appellees filed an
 answering brief on February 14, 2020. On February 19, 2020, Appellants filed a motion to extend
 the deadline to file their reply brief.



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        On June 28, 2019, the Oversight Board filed a motion to dismiss the Cooperativas appeal.
 On August 29, 2019, the Cooperativas Appellants filed their opposition to the motion to dismiss.
 The Oversight Board filed its reply in support of its motion to dismiss on September 16, 2019. On
 October 4, 2019, the First Circuit issued an order denying the Oversight Board’s motion to dismiss
 the appeal. The Cooperativas filed their opening brief on December 27, 2019. On February 21,
 2020, Appellees filed their answering briefs.

        On September 17, 2019, Peter Hein filed a supplemental and amended joint notice of
 appeal regarding the order confirming the COFINA plan of adjustment (the “Elliott Appeal II”).
 The Elliott Appeal II was docketed as Case No. 19-1960. On October 28, 2019, the Court issued
 an order consolidating the Elliot II Appeal with Pinto-Lugo and Elliot. On January 2, 2020,
 Appellant filed his opening brief. Appellees filed their answering brief on February 14, 2020.

          Natal-Albelo v. Financial Oversight & Management Board for Puerto Rico, Adv. Proc.
 No. 19-00003. Originally filed on December 6, 2018 in the Commonwealth of Puerto Rico Court
 of First Instance, the Oversight Board removed this case to the Title III Court on January 14, 2019.
 Plaintiff Natal-Albelo’s complaint seeks declaratory and injunctive relief providing that (1)
 approval of the Bill of the House of Representatives 1837 (“Bill 1837”), which later became Act
 241-2018, is unconstitutional, and (2) Act 91-2006 (“Act 91”), which originally created the
 COFINA structure, is unconstitutional. Plaintiffs argue that, among other things, the House of
 Representatives’ actions during the approval of Bill 1837: (i) were unconstitutional and violated
 Plaintiff Natal-Albelo’s dignity because they made light of Plaintiff Natal-Albelo’s requests to
 speak; (ii) violated the rights of Plaintiff Natal-Albelo, a non-partisan Representative, to be heard
 under the equal protection clauses of the federal and Commonwealth Constitutions; (iii) violated
 Plaintiffs’ rights of dignity, equal protection of laws, the right to freedom of expression, voting,
 and due process of law under the federal and Commonwealth Constitutions; and (iv) were taken
 in bad faith. Plaintiffs further argue that Act 91, under which COFINA was created in 2006, is
 unconstitutional because it: (a) provides for the issuance of debt that exceeds the constitutional
 limits of public debt provided in sections 2 and 7 of Article VI of the Commonwealth Constitution
 and (b) allows the refinancing of the unconstitutional public debt.

         On March 21, 2019, the Oversight Board filed a motion to stay the adversary proceeding
 until a final resolution of the Pinto-Lugo appeal of COFINA’s Third Amended Title III Plan of
 Adjustment.

         On the same day, Plaintiffs filed a motion to remand for lack of subject matter jurisdiction,
 which the Court later struck from the record due to procedural issues with the motion. The Title
 III Court permitted Plaintiffs the opportunity to refile a motion for remand and stayed all other
 briefing, including briefing on the Oversight Board’s motion to stay, pending resolution of the
 renewed remand motion. Plaintiffs filed their renewed motion to remand on May 10, 2019.
 Briefing of this motion is pending. On June 7, 2019, AAFAF filed a motion to intervene, which
 the Court granted. On June 27, 2019, the Court issued an order referring the matter to Magistrate
 Judge Dein. On July 31, 2019, the Court issued an order denying Plaintiffs’ motion to remand.
 On August 13, 2019, the Court issued an order continuing the stay of the proceeding until the
 resolution of the appeal.


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            5.        General Background

         A dominant issue in the Commonwealth Title III Case was the dispute regarding ownership
 of the SUTs purportedly transferred by the Commonwealth to COFINA to secure repayment of
 certain indebtedness of COFINA (the “Commonwealth-COFINA Dispute”). If such revenues
 were property of COFINA, then there would be approximately $750 million less available per year
 (which annual amount will increase over time) to pay the Commonwealth Debtor’s liabilities and
 expenses.

            6.        The Commonwealth-COFINA Dispute and the Lex Claims Litigation

          On July 20, 2016, certain holders of the GO Bonds commenced an action in the U.S.
 District Court for the District of Puerto Rico against the Commonwealth and several of its officials,
 including the Governor. Lex Claims, LLC v. García-Padilla, Case No. 16-2374-FAB (D.P.R. June
 20, 2016).263 Plaintiffs argued, among other things, that (i) the Commonwealth Constitution
 requires the Commonwealth to pay the GO Debt ahead of any other expenditure, and (ii) the SUTs
 purportedly transferred to COFINA are an “available resource” pursuant to article VI, section 8 of
 the Commonwealth Constitution, which provides that if Puerto Rico’s “available resources” are
 insufficient to meet all its appropriations, “interest on the public debt and amortization thereof
 shall first be paid, and other disbursements shall thereafter be made in accordance with the order
 of priorities established by law.” P.R. Const. art. VI, section 8.

            7.        Stipulation and Order Approving Procedure to Resolve Commonwealth-
                      COFINA Dispute

          On August 10, 2017, the Title III Court entered an order (the “Procedures Order”) [ECF
 No. 996], which, among other things, provided that (a) the Oversight Board authorized the UCC
 to serve as the agent for the Oversight Board, as representative of the Commonwealth in the
 Commonwealth Title III Case, to litigate and/or settle the Commonwealth-COFINA Dispute on
 behalf of the Commonwealth (the “Commonwealth Agent”); and (b) the Oversight Board
 authorized Bettina Whyte to serve as the agent for the Oversight Board, as representative of
 COFINA in its Title III case, to litigate and/or settle the Commonwealth-COFINA Dispute on
 behalf of COFINA (the “COFINA Agent” and together with the Commonwealth Agent, the
 “Agents”).264 The Procedures Order also expressly acknowledged that the Oversight Board
 retained its authority to separately develop a settlement to the Commonwealth-COFINA Dispute
 and propose plans of adjustment for the Commonwealth and COFINA. Procedures Order ¶ 4(n).
 The Procedures Order was agreed to by all the major stakeholders after the mediators worked
 tirelessly to craft a consensus.




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       The Lex Claims Litigation has been dismissed pursuant to the settlement and compromise of the Commonwealth-
       COFINA Dispute and confirmation of the COFINA plan of adjustment.
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       Following the entry of the Procedures Order, the Agents, along with certain creditor parties, engaged in confidential
       mediation with Chief Bankruptcy Judge Barbara Houser.
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            8.       Official Committee of Unsecured Creditors v. Whyte, Adv. Proc. No. 17-
                     00257265

        On September 8, 2017, the UCC,266 as Commonwealth Agent, commenced an adversary
 proceeding to prosecute the Commonwealth-COFINA Dispute, Adv. Proc. No. 17-00257. On
 September 15, 2017, the COFINA Agent filed her answer to the Complaint (the “Answer and
 Counterclaims”) [ECF No. 27].

        In addition to the claims asserted by the Commonwealth Agent and the COFINA Agent,
 multiple groups of COFINA and GO bondholders, as well as other parties that had been permitted
 to intervene in the adversary proceeding, filed counterclaims and cross-claims regarding
 ownership of the applicable portion of the SUT. On February 21, 2018, the Commonwealth Agent,
 the COFINA Agent, and several of the intervening parties, filed cross-motions for summary
 judgment.

          Concurrently with the litigation in the adversary proceeding, the Agents participated in
 court-sanctioned mediation to settle the Commonwealth-COFINA Dispute. Through the auspices
 of the Mediation Team, the Agents reached an understanding set forth in that certain Agreement
 in Principle on a settlement of the Commonwealth-COFINA Dispute. On June 7, 2018, the Agents
 announced the terms of their Agreement in Principle, which contemplates, among other things,
 that, starting in fiscal year 2019, the Commonwealth and COFINA will share the Pledged Sales
 Tax Base Amount, on a 46.35% and 53.65% basis, respectively. [Adv. Proc. No. 17-00257, ECF
 No. 486].

        On September 27, 2018, in light of the agreements and compromises set forth in the
 COFINA plan of adjustment and related settlement, the Title III Court, sua sponte, entered an order
 terminating the pending summary judgment motions without prejudice to restoration of the
 motions on or after October 3, 2018. [Adv. Proc. No. 17-00257, ECF No. 544].

        On February 20, 2019, following the occurrence of the effective date of the COFINA plan
 of adjustment, the parties to the adversary proceeding filed a joint stipulation to dismiss the case
 with prejudice, which the Title III Court approved.

            9.       Compromise and Settlements

         On February 4, 2019, the Title III Court entered the Memorandum Opinion and Order
 Approving Settlement Between Commonwealth of Puerto Rico and Puerto Rico Sales Tax
 Financing Corporation [ECF No. 5045] (the “Settlement Order”). On the same day, the Court
 confirmed the COFINA plan of adjustment, approving the entry into a settlement agreement with
 respect to COFINA. [ECF Nos. 5047, 5048, 5053, 5055]. On February 12, 2019, the COFINA


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       Pursuant to the settlement and compromise of the Commonwealth-COFINA Dispute and confirmation of the
       COFINA plan of adjustment, on February 20, 2019, the parties filed a joint stipulation of dismissal with prejudice,
       which was entered on February 21, 2019.
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       The UCC is the statutory committee of unsecured creditors appointed in the Commonwealth Title III Case, ERS
       Title III Case, and HTA Title III Case.
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 plan of adjustment was substantially consummated and became effective (the “Effective Date of
 the COFINA Plan of Adjustment”) [ECF No. 5104].

      Pursuant to the Settlement Order and section 2.1 of the COFINA plan of adjustment, the
 Commonwealth-COFINA Dispute was compromised and settled as follows:

                               COFINA Interests

         COFINA was granted an ownership interest in the COFINA Pledged Taxes and all rights
 thereto, including the right to receive the COFINA Pledged Taxes pursuant to the First Dollars
 Funding267 in an amount up to fifty-three and sixty-five one hundredths percent (53.65%) of a
 certain minimum fixed amount of the SUT revenues (“Fixed Income”) in any given fiscal year
 until the COFINA Senior Lien Bonds have been paid or satisfied in full in accordance with their
 terms (the “COFINA Portion”).

                               Commonwealth Interests

         The Commonwealth was granted an ownership interest that is second in priority of
 payment, funding and collections, in the COFINA Pledged Taxes and all rights thereto subject to
 the First Dollars Funding. This ownership interest includes the right to receive (a) the residual
 amount of the COFINA Pledged Taxes in the amount, if any, in excess of the COFINA Portion in
 any given fiscal year of the Commonwealth, and (b) all COFINA Pledged Taxes after the COFINA
 Senior Lien Bonds have been paid or satisfied in full in accordance with their terms. The
 Commonwealth shall have no ownership interest in the COFINA Portion, and the Commonwealth
 Portion268 shall exclude the COFINA Portion.



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       The “First Dollars Funding” is defined as the allocation of “first dollars” collected from COFINA Pledged Taxes,
       including, without limitation, the criteria set forth in section 16.5 of the COFINA Plan required to be satisfied in
       order to permit, among other things, quarterly deposits of “first dollars” collected from COFINA Pledged Taxes.
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       The “Commonwealth Portion” is defined as, collectively, an interest that is second in priority of payment, funding
       and collections, in all circumstances, subject and pursuant to the First Dollars Funding, in the COFINA Pledged
       Taxes and all rights thereto including the right to receive (a) the residual amount of the COFINA Pledged Taxes
       in the amount, if any, in excess of the COFINA Portion in any given fiscal year, and (b) all COFINA Pledged
       Taxes after the COFINA Senior Lien Bonds have been paid or satisfied in full in accordance with their terms;
       provided, however, that, under all circumstances, the Commonwealth Portion shall exclude in its entirety the
       COFINA Portion, and the Commonwealth shall have no ownership interest in the COFINA Portion; and, provided,
       further, that (y) subject to the provisions regarding the Additional Bonds Test and the First Dollars Funding set
       forth in sections 16.3 and 16.5 of the COFINA Plan, respectively, the Commonwealth shall have no right to receive
       any revenues or collections generated by the COFINA Pledged Taxes for a fiscal year unless and until COFINA
       has received the COFINA Portion and (z) the Commonwealth shall have no right to receive Debt Service Savings
       in any fiscal year unless and until all debt service payments on the COFINA Senior Lien Bonds required to be
       made or set aside in such fiscal year, including any overdue debt service payments from all prior fiscal years, are
       made as required, in accordance with the provisions regarding the Additional Bonds Test set forth in section 16.3
       of the COFINA Plan; and, provided, further, that the COFINA Portion shall not, now or hereafter, be property of
       the Commonwealth, and, in the event of any subsequent Title III case or similar or other proceedings of the
       Commonwealth, in any forum, the COFINA Portion shall not be subject to the automatic stay in any such
       Commonwealth proceeding.
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                        Distribution of Amounts Held in BNYM Debt Service, Reserve, and
                        Other Accounts

                        (i)     Pre-Fiscal Year 2019 BNYM Deposits

         Of the $78,355,837.63 of the funds on deposit prior to July 1, 2018 in the debt service,
 reserve and such other accounts and any earnings thereon held by BNYM, as the Existing COFINA
 Bond trustee, for the benefit of the bondholders (collectively, the “Pre-FY2019 BNYM Deposits”)
 in accordance with the adversary proceeding, $33,355,837.63 was distributed to the
 Commonwealth.

                        (ii)    Fiscal Year 2019 BNYM Deposits

         As of the Effective Date of the COFINA Plan of Adjustment, COFINA received, for
 purposes of distribution in accordance with the plan of adjustment, one hundred percent (100%)
 of the funds deposited on or after July 1, 2018 to the debt service, reserve and such other accounts
 (collectively, the “FY2019 BNYM Deposits”), on a first dollars basis up to the amount of fifty-
 three and sixty-five one hundredths percent (53.65%) of the Fixed Income, plus any earnings
 thereon (collectively, the “COFINA FY2019 BNYM Deposits”) held by BNYM in accordance
 with the Adversary Proceeding.

                        (iii)   Residual Fiscal Year 2019 BNYM Deposits

     Any remaining FY2019 BNYM Deposits after distribution of the COFINA FY2019
 BNYM Deposits was to be distributed to the Commonwealth.

                        First Dollars Funding

        The COFINA Portion will be funded annually from “first dollars” collected from the
 COFINA Pledged Taxes until the COFINA Senior Lien Bonds have been paid or satisfied in full
 in accordance with their terms.

          Beginning in fiscal year 2024 of the Commonwealth, if (i) for any date of determination at
 which time the Oversight Board or any successor is in existence, (1) the prior and then-current
 fiscal year budgets are balanced, as determined by the Oversight Board (or its successor in
 interest), and (2) the Commonwealth is current on its continuing disclosure requirements relating
 to its audited financial statements; (ii) quarterly bucketing of twenty-five percent (25%) of the
 COFINA Portion associated with the then-current fiscal year of the Commonwealth is shown to
 be necessary to avoid intra-fiscal year tax revenue anticipation notes borrowing; and (iii) collection
 of prior fiscal year COFINA Pledged Taxes provided a two times (2x) coverage of the COFINA
 Portion, then, in each quarter, until the COFINA Senior Lien Bonds have been paid or satisfied in
 full in accordance with their terms:

                (a)     the “first dollars” collected from the COFINA Pledged Taxes up to twenty-
                        five percent (25%) of the COFINA Portion associated with the then-current



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                              fiscal year of the Commonwealth will be deposited into the Revenue Fund
                              for transfer to the Debt Service Fund269 (the “Post-FY24 Deposits”); and

                     (b)      thereafter, the remaining quarterly collection from the COFINA Pledged
                              Taxes shall be deposited in accordance with the “Flow of Funds”
                              established in the COFINA Junior Lien Bond Indenture.

         However, in any quarter in which there is a shortfall in the amounts required to be deposited
 under the Post-FY24 Deposits, then such shortfall will be added to the amount required to be paid
 in accordance with the Post-FY24 Deposits in the following quarter until the entire amount of the
 cumulative shortfall has been deposited into the “Debt Service Fund” held by the trustee for the
 benefit of, and payment of debt service with respect to, the COFINA Senior Lien Bonds.

                              Additional Terms of Compromise and Settlement

        The Commonwealth will have no right to receive any revenues or collections generated by
 the COFINA Pledged Taxes for a fiscal year of the Commonwealth unless and until COFINA has
 received the COFINA Portion. The Commonwealth will have no right to receive Debt Service
 Savings270 in any fiscal year of the Commonwealth unless and until all debt service payments on
 the COFINA Senior Lien Bonds required to be made or set aside in such fiscal year of the
 Commonwealth, including any overdue debt service payments from all prior fiscal years of the
 Commonwealth, are made as required. The COFINA Portion will not be property of the
 Commonwealth, and if there is any subsequent Title III case or similar or other proceeding of the
 Commonwealth, in any forum, it shall not be subject to the automatic stay.

                              Compromise Date

         The effective date of the compromise and settlement is retroactive to July 1, 2018 and, in
 addition to receipt of the net Pre-FY 2019 BNYM Deposits and the COFINA FY19 BNYM
 Deposits on the Effective Date of the COFINA Plan of Adjustment, COFINA owns and is entitled
 to receive, the COFINA Portion commencing as of fiscal year 2019.

                                   [Remainder of Page Left Intentionally Blank]




 269
       The “Debt Service Fund” is defined as the account established pursuant to the New Bond Indenture in the name of
       the trustee for the COFINA Bonds, which account shall be for the purpose of receiving, holding and distributing
       funds for the benefit and payment of debt service with respect to the COFINA Senior Lien Bonds.
 270
       “Debt Service Savings” are defined as, for each fiscal year, the difference between (a) principal and interest due
       on COFINA Bonds and COFINA refunding bonds, then outstanding, prior to the issuance of COFINA refunding
       bonds and/or Reorganized COFINA’s purchase of COFINA Bonds and COFINA refunding bonds in the open
       market and (b) principal and interest due on COFINA Bonds and COFINA refunding bonds that will remain
       outstanding after the issuance of such COFINA refunding bonds and/or Reorganized COFINA’s purchase of such
       COFINA Bonds and COFINA reorganized bonds.
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                                    VI.        The Title III Plan of Adjustment

 A.         General

            1.       Filing of a Plan of Adjustment

        A plan of adjustment provides for the treatment and discharge of the debts of the Title III
 Debtor. Only the Oversight Board may file a plan of adjustment, either with the petition or by the
 time set by the court, and it may only do so if it determines, in its sole discretion, that the Plan is
 consistent with the applicable certified Fiscal Plan.271 The Oversight Board may modify the Plan
 at any time before confirmation, provided that the modified plan meets the requirements of
 PROMESA Title III.272

            2.       Contents of a Plan of Adjustment

         Notwithstanding otherwise applicable nonbankruptcy law, among other things, a plan of
 adjustment (i) designates classes of claims (claims in a class must be “substantially similar”),273
 (ii) specifies any classes of claims that are not impaired under the plan of adjustment and specifies
 the treatment accorded to classes of claims or interests that are impaired, (iii) provides the same
 treatment for each claim of a particular class unless the holder of a particular claim agrees to less
 favorable treatment, and (iv) provides adequate means for the plan of adjustment’s implementation
 through, for example the retention of property by the Title III Debtor, the transfer or sale of
 property to another entity, the satisfaction or modification of any lien or indenture, and the curing
 or waiving of any default.274

          A class of claims is impaired under a plan of adjustment, unless the plan of adjustment
 either (i) leaves unaltered the legal, equitable, and contractual rights to which such claim or interest
 entitles the holder of such a claim or interest; or (ii) notwithstanding applicable nonbankruptcy
 law that entitles the holder of the claim or interest to demand or receive accelerated payment after
 default the plan of adjustment cures the default, reinstates the maturity of the claim or interest,
 compensates the holder for damages incurred as a result of any reasonable reliance by such holder
 on such applicable nonbankruptcy law and (for failures to perform nonmonetary obligations)
 compensates the holder for any actual pecuniary loss incurred by such holder, and does not
 otherwise alter the legal, equitable, or contractual rights to which such claim or interest entitles the
 holder.275




 271
       PROMESA §§ 312(a)-(b), 104(j)(3).
 272
       PROMESA § 313.
 273
       In determining whether claims are “substantially similar,” the Oversight Board is to consider whether such claims
       are secured and whether such claims have priority over other claims. PROMESA § 301(e).
 274
       11 U.S.C. §§ 1123(a)(1)-(5), 1122(a).
 275
       11 U.S.C. § 1124.
                                                           270
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            3.       Acceptance of a Plan of Adjustment

         The holder of an allowed claim may vote to accept or reject a plan of adjustment.
 PROMESA specifically excludes from the definition of “holder of a claim or interest” for such
 purpose any “Issuer” or “Authorized Instrumentality of the Territory Government Issuer” (as
 defined in PROMESA Title VI) or a corporation, trust or other legal entity that is controlled by the
 Issuer or an Authorized Territorial Instrumentality of the Territory Government Issuer, provided
 that the other beneficiaries of such claims are not excluded, and provided that with respect to
 insured bonds, such “holder of a claim or interest” will be the monoline insurer insuring such bonds
 to the extent such insurer is granted the right to vote insured bonds for purposes of directing
 remedies or consenting to proposed amendments or modifications as provided in the applicable
 documents.276

         A class that is not impaired under the plan of adjustment is conclusively presumed to accept
 the plan, and a class that is not entitled under the plan of adjustment to receive or retain any
 property on account of the holders’ claims is deemed not to have accepted the plan of
 adjustment.277 A class of claims accepts a plan of adjustment if it has been accepted by creditors
 that hold at least two-thirds in amount and more than one-half in number of the allowed claims of
 such class (other than those designated as not in good faith under Bankruptcy Code section
 1126(e)).278

            4.       Solicitation of Acceptances of Plan of Adjustment

         Prior to soliciting acceptances or rejections from the holders of claims, the Oversight Board
 is required to issue, and have the court approve, a disclosure statement providing adequate
 information to holders of claims and interests in order to solicit acceptances for the Plan.279 The
 type of adequate information provided should enable a hypothetical investor of the relevant class
 to make an informed judgment about the Plan. The same disclosure statement must be transmitted
 to each holder of a claim of a particular class, but alternate disclosure statements differing in the
 amount or kind of information provided may be transmitted to different classes.280

 B.         Overview of the Plan of Adjustment

      THE FOLLOWING SUMMARY HIGHLIGHTS CERTAIN OF THE SUBSTANTIVE
 PROVISIONS OF THE PLAN, AND IS NOT, NOR IS IT INTENDED TO BE, A COMPLETE
 DESCRIPTION OR A SUBSTITUTE FOR A FULL AND COMPLETE REVIEW OF THE
 PLAN. THE DEBTORS URGE ALL HOLDERS OF CLAIMS TO CAREFULLY READ AND
 STUDY THE PLAN, A COPY OF WHICH IS ATTACHED HERETO AS EXHIBIT A.


 276
       PROMESA § 301(c)(3).
 277
       11 U.S.C. §§ 1126(f)-(g).
 278
       11 U.S.C. § 1126(c).
 279
       11 U.S.C. §§ 1125, 1126(b).
 280
       11 U.S.C. § 1126(c).
                                                  271
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         Bankruptcy Code section 1123, made applicable to the Title III Case by PROMESA,
 provides that except for administrative claims, a plan of adjustment must categorize claims against
 a debtor into individual classes. Although PROMESA and the Bankruptcy Code give the Debtors
 significant flexibility in classifying claims, Bankruptcy Code section 1122 dictates that a plan of
 adjustment may only place a claim into a class containing claims that are substantially similar.

         The Plan identifies 52 Classes of Claims (certain of which encompass numerous individual
 series of the relevant debt, as set forth on the Exhibits to the Plan). These Classes take into account
 the differing nature and priority of Claims against the Debtors. Administrative Claims are not
 classified for purposes of voting or receiving distributions under the Plan (as is required by
 Bankruptcy Code section 1123(a)(1)) but are treated separately as unclassified Claims.

        The Plan provides specific treatment for each Class of Claims. Only certain holders of
 Claims that are impaired under the Plan are entitled to vote and receive Distributions under the
 Plan.

         For all purposes of the Plan, including, without limitation, for purposes of distributions
 pursuant to the terms and provisions of Article LIX of the Plan, the “holder” of a Claim means any
 Entity who, directly or indirectly, has investment power with respect to any Claim, which includes
 the power to dispose or to direct the disposition of such Claim. Solely for purposes of Article LXII
 of the Plan and section 1126 of the Bankruptcy Code, the “holder” of any Bond Claims will be
 determined in accordance with Section 301(c)(3) of PROMESA and any law or governing
 documents applicable to such Bond Claims.

        Unless otherwise provided in the Plan or the Confirmation Order, the treatment of any
 Claim under the Plan will be in full satisfaction, settlement, release and discharge of, and in
 exchange for, such Claim. Upon Confirmation, the Plan will be binding on all holders of a Claim
 regardless of whether such holders voted on the Plan or voted to accept the Plan.

          The following discussion sets forth the classification and treatment of all Claims against
 the Debtors. It is qualified in its entirety by the terms of the Plan, which is attached hereto as
 Exhibit A, and which should be read carefully by you in considering whether to vote to accept or
 reject the Plan.

 C.     Compromise and Settlement of Disputes / Restructuring of Entities

        1.      Litigation Resolution

        The Plan sets forth the terms and conditions for the global compromise and integrated
 settlement of the following disputes:

            The Debt Related Objections challenging, among other things, the validity, priority,
             secured status, and related rights of the 2011 CW Bond Claims, 2011 CW Series




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                  D/E/PIB Bond Claims, 2012 CW Bond Claims, 2014 CW Bond Claims, 2011 PBA
                  Bond Claims, 2012 PBA Bond Claims, and PRIFA BANs281

                 The Invalidity Actions282

                 The Lien Challenge Actions283

                 Disputes raised by certain holders of GO Bond Claims asserting rights to receive
                  revenues historically conditionally appropriated to CCDA, HTA, MBA, and PRIFA, as
                  applicable284

                 Disputes between the Commonwealth and PBA regarding (i) the PBA Litigation, (ii)
                  the amount of the Rent Claim, if any, and (iii) the ownership of the PBA Property and
                  claims PBA may assert against the Commonwealth under leases, agreements, and
                  applicable law285

                 The PRIFA BANs Litigation286

             2.       Allowance of Bond Claims

        For purposes of confirmation and consummation of the Plan, and distributions to be made
 under the Plan, on the Effective Date, the following claims will be allowed or disputed in the
 following amounts:287

                 Vintage PBA Bond Claims and Vintage PBA Bond Claims (Insured) will be allowed
                  in the aggregate amount of $2,661,239,877.06

                 2011 PBA Bond Claims will be allowed in the aggregate amount of $1,335,422,892.78

                 2012 PBA Bond Claims will be allowed in the aggregate amount of $674,308,470.06

                 Vintage CW Bond Claims and Vintage CW Bond Claims (Insured) will be allowed in
                  the aggregate amount of $5,842,761,317.99


 281
       See section III.B.1.a)of this Disclosure Statement for a summary of such dispute.
 282
       See section V.I.5 of this Disclosure Statement for a summary of such dispute.
 283
       See section V.F.2 of this Disclosure Statement for a summary of such dispute.
 284
       See section V.F.5 of this Disclosure Statement for a summary of such disputes..
 285
       See section III.B.1.c)(ii) of this Disclosure Statement for a summary of such dispute.
 286
       See section V.H.7of this Disclosure Statement for a summary of such dispute.
 287
       Amounts below include principal and accrued and unpaid interest up to, but not including, the Commonwealth
       Petition, HTA Petition Date, ERS Petition Date, or PBA Petition Date, as applicable.

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            ERS Bond Claims will be disputed in the aggregate amount of $3,168,698,777.00

            2011 CW Bond Claims will be allowed in the aggregate amount of $476,425,522.88

            2011 CW Series D/E/PIB Bond Claims will be allowed in the aggregate amount of
             $645,673,111.48

            2012 CW Bond Claims will be allowed in the amount of $2,938,901,920.90

            2014 CW Bond Claims will be allowed in the amount of $3,836,611,111.11

            2014 CW Guarantee Bond Claims will be allowed in the amount of $345,380,885.83

        3.      Releases, Injunctions and Exculpation

         The releases, injunctions, and exculpation provided in Article LXXIV of the Plan are
 integral to obtaining the value provided under the settlements in the Plan. The releases,
 injunctions, and exculpation under the Plan and the Plan Support Agreements constitute an
 essential component of the compromises reached and are not severable from the other provisions
 of the Plan.

        4.      Purchase and Sale of Certain ERS Assets

         On the Effective Date, the Commonwealth will purchase all of ERS’s right, title, and
 interest in ERS’s assets subject to a valid and perfected lien or security interest for an aggregate
 purchase price in an amount equal to the sum of (a) 100% of cash in ERS accounts as of the
 Effective Date, (b) 95% of the face amount of performing employee loans as of the Effective Date,
 (c) 100% of the market price of the COFINA Senior Lien Bonds held by ERS as of the Effective
 Date, and (d) 50% of the book value of the ERS portfolio of private equity interests held by ERS
 as of the Effective Date.

        5.      Conveyance of the Conveyed Commonwealth Share

        On the Effective Date, pursuant to the Confirmation Order and the COFINA Junior Lien
 Bonds Legislation, the Commonwealth will transfer the Conveyed Commonwealth Share to
 COFINA in consideration for the issuance of, and performance with respect to, the COFINA Junior
 Lien Bonds. From and after the Effective Date and until such time as the COFINA Junior Lien
 Bonds and any securities issued to refinance the COFINA Junior Lien Bonds, together with such
 other amounts as may be due and owing in accordance with the COFINA Junior Lien Bonds
 Indenture, have been paid or satisfied in full in accordance with the terms and provisions of the
 COFINA Junior Lien Bonds Indenture, COFINA will be the sole and exclusive owner of the
 Conveyed Commonwealth Share.            Upon such payment or satisfaction, the Conveyed




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 Commonwealth Share will be transferred to the Commonwealth, as evidenced by a residual
 certificate to be executed and delivered on the Effective Date.

 D.     Provisions for Payment of Administrative Expense Claims

        Administrative Expense Claims and Professional Claims are not classified and therefore
 are excluded from the classes outlined in Article IV of the Plan.

        1.      Administrative Expense Claims

         On either the Effective Date or the date on which an Administrative Expense Claim
 becomes an allowed claim, whichever date is later, the Debtors will pay in full the Administrative
 Expense Claim or satisfy the Allowed Administrative Expense Claim with an agreement between
 the Debtors and claimant. However, if the Allowed Administrative Expense Claim was incurred
 in the ordinary course by the Debtors before the Effective Date, the claim will be paid in full and
 performed by the Debtors in accordance with the terms of any agreement or documents governing
 the transactions. Furthermore, if any ordinary course expense is not billed, or a written request for
 payment is not made, within one hundred twenty (120) days after the Effective Date, the ordinary
 course expense will be barred and the holder of the claim will not be entitled to receive payment
 for the expense.

        2.      Professional Compensation and Reimbursement Claims

         All entities awarded compensation or reimbursement will be paid in full in the amount
 allowed by the Title III Court as soon as reasonably practicable on the later of (i) the Effective
 Date and (ii) the date of the Final Order from the Court allowing the claims or upon mutually
 agreed upon terms. However, to qualify for repayment, each professional must file an application
 to be compensated for the professional services rendered and expenses charged within 120 days
 after the Effective Date. The Debtors will compensate for professional services and reimburse
 expenses incurred after the Effective Date in the ordinary course and without the need for Title III
 Court approval.

        3.      Consummation Costs

         In order to compensate certain parties for the cost of negotiation, confirmation, and
 consummation of the PSA and the Plan, each Initial PSA Creditor will be entitled to receive a pro
 rata share of cash, in the form of an Allowed Administrative Expense Claim, in an amount equal
 to 1.25% of the aggregate amount of PBA Bond Claims, CW Bond Claims, and CW Guarantee
 Bond Claims (insured or otherwise), without duplication. Such holder’s pro rata share will be
 based on the holder’s respective position as of 5:00pm (EST) on February 9, 2020.

        4.      AFSCME Professional Fees

         AFSCME will be reimbursed its reasonable professional fees and expenses incurred in
 order to compensate AFSCME for the cost of negotiation, confirmation, and consummation of the
 AFSCME Term Sheet and the Plan, and the resolution of issues pertaining to pensions.

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        5.      PSA Restriction Fee

         In exchange for executing and delivering the PSA (or the Joinder Agreement or Annex
 Agreement, as applicable) and agreeing to all of its terms and conditions, including the agreement
 to “lock-up” their bonds, each of the PSA Restriction Fee Creditors will be entitled to receive the
 PSA Restriction Fee in the form of an allowed administrative expense claim, payable in Cash, at
 the time of consummation of the Plan. The Restriction Fee available to each PSA Restriction Fee
 Creditor will equal the Restriction Fee Percentage times the aggregate amount of PBA Bond
 Claims, CW Bond Claims, and CW Guarantee Bond Claims (without duplication, and to the extent
 any such Claims are Monoline-insured, solely to the extent a PSA Restriction Fee Creditor is
 authorized to vote any such Claim) held by such PSA Restriction Fee Creditor as of the expiration
 of the PSA Restriction Fee Period.

         Each PSA Restriction Fee Creditor who acquired any PBA Bond Claims, CW Bond
 Claims, or CW Guarantee Bond Claims (without duplication, and, to the extent such claims are
 Monoline-insured, solely to the extent a PSA Restriction Fee Creditor is authorized to vote any
 such Claim) after the Joinder Deadline will be entitled to receive such PSA Restriction Fee equal
 to: the Restriction Fee Percentage times the aggregate amount of CW Bond Claims, PBA Bond
 Claims, and CW Guarantee Bond Claims (without duplication, and to the extent any such Claims
 are Monoline-insured, solely to the extent a PSA Restriction Fee Creditor is authorized to vote any
 such Claim) held by such PSA Restriction Fee Creditor as of the earlier to occur of the PSA
 Threshold Attainment and the entry of the Confirmation Order.

         If a PSA Restriction Fee Creditor sold any PBA Bond Claims, CW Bond Claims, or CW
 Guarantee Bond Claims (without duplication, and, to the extent such claims are Monoline-insured,
 solely to the extent a PSA Restriction Fee Creditor is authorized to vote any such Claim) for which
 it would have been entitled to receive the PSA Restriction Fee, the purchasing party will be entitled
 to receive the PSA Restriction Fee on account of such sold bonds.

        The aggregate PSA Restriction Fee and Consummation Costs cannot exceed
 $350,000,000.00.

         If the PSA is terminated pursuant to Section 7.1(c)(i) of the PSA or the Oversight Board
 terminates the PSA for any reason (other than (i) a breach of the PSA by a non-Governmental
 Party, or (ii) the denial of confirmation of the Plan), Consummation Costs up to $100,000,000.00
 will be paid, ratably, in cash, as an allowed administrative expense claim under the plan of
 adjustment for the Commonwealth.

         In all other circumstances, upon termination of the PSA, no Consummation Costs or PSA
 Restriction Fee will be payable to the party to the PSA terminating the PSA.

        6.      Retail Support Fee

         If a Class of Retail Investors (Classes 3, 7, 12, 25, 26, 29, and 35) votes to accept the Plan,
 the members of such Class will be entitled to receive their pro rata share of such Class’s allocable
 share of the aggregate Retail Support Fee of up to $50,000,000.00 in the amount equal to: the
 Restriction Fee Percentage times the aggregate amount of Retail CW Bond Claims, and Retail
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 PBA Bond Claims (without duplication, and to the extent any such Claims are Monoline-insured,
 solely to the extent a Retail Investor is authorized to vote any such Claim ), and, to the extent any
 such Claims are Monoline-insured, solely to the extent a Retail Investor is authorized to vote any
 such Claim in accordance with the definitive issuance documents and applicable law held by such
 accepting Class of Retail Investors.

        If the entire $50,000,000.00 of the Retail Support Fee is not fully allocated, the balance of
 the Retail Support Fee will be reallocated to PSA Restriction Fee Creditors and those Retail
 Investors that are members of Classes that voted to accept the Plan.

            7.      Non-Severability

         The allowance and payment of the Consummation Costs and PSA Restriction Fees
 provided in the Plan compensate the PSA Restriction Fee Creditors for value received and
 constitute an essential component of the compromises and settlements embodied in the Plan and
 are not severable from the other terms and provisions set forth in the Plan.

 E.         Classification and Treatment of Claims

  Class 1:                   Classification: Class 1 consists of all claims against PBA on account of
                             Vintage PBA Bonds that are (a) not insured by Ambac, Assured, FGIC,
  Vintage PBA
                             or National, and (b) not held by a Retail Investor288 in the aggregate
  Bond Claims
                             amount equal to or less than $1,000,000.00.

                             The Vintage PBA Bonds include the following:

                                                                                                  Issue Date
                                      Government Facilities Revenue Refunding Bonds, Series C        1/30/02
                                      Government Facilities Revenue Bonds, Series D                  1/30/02
                                      Government Facilities Revenue Refunding Bonds, Series F       10/24/02
                                      Government Facilities Revenue Bonds, Series G                 10/24/02
                                      Government Facilities Revenue Refunding Bonds, Series H        4/03/03
                                      Government Facilities Revenue Bonds, Series I                  6/10/04
                                      Government Facilities Revenue Refunding Bonds, Series K        5/27/04
                                      Government Facilities Revenue Bonds, Series L                  6/01/93
                                      Government Facilities Revenue Refunding Bonds, Series M-1     12/20/07
                                      Government Facilities Revenue Refunding Bonds, Series M-2     12/20/07
                                      Government Facilities Revenue Refunding Bonds, Series M-3     12/20/07
                                      Government Facilities Revenue Bonds, Series N                 12/20/07
                                      Government Facilities Revenue Refunding Bonds, Series P        7/01/09


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       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.

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                                     Government Facilities Revenue Refunding Bonds, Series Q   10/28/09


                             Treatment: On the Effective Date, each holder of an Allowed Vintage
                             PBA Bond Claim will receive its Pro Rata Share of the Vintage PBA
                             Bond Recovery,289 consisting of $611,331,186.05 in Cash.

                             Voting: Class 1 is Impaired by the Plan. Class 1 and each holder of an
                             Allowed Vintage PBA Bond Claim are entitled to vote to accept or reject
                             the Plan.

                             Allowed Amount of Claims: $2,257,221,339.10290

                             Projected Recovery from PBA: 23.0%. Total recovery on account of
                             both an Allowed Vintage PBA Bond Claim, and an Allowed Vintage
                             CW Guarantee Bond Claim, or an Allowed Vintage CW Guarantee Bond
                             Claim (Taxable Election), as applicable, is approximately 77.582%.

  Class 2:                   Classification: Class 2 consists of all claims against PBA on account of
  Vintage PBA                Vintage PBA Bonds, of which the payment of principal and interest has
                             been insured by Ambac, Assured, FGIC, or National.
  Bond Claims
  (Insured)                  Treatment: On the Effective Date, each holder of an Allowed Vintage
                             PBA Bond Claim (Insured) will receive its Pro Rata Share of the Vintage
                             PBA Bond Recovery,291 consisting of $611,331,186.05 in Cash.

                             Voting: Class 2 is Impaired by the Plan. Class 2 and each holder of an
                             Allowed Vintage PBA Bond Claim (Insured) are entitled to vote to
                             accept or reject the Plan.

                             Allowed Amount of Claims: $404,018,537.96

                             Projected Recovery from PBA: 23.0%. Total recovery on account of
                             both an Allowed Vintage PBA Bond Claim (Insured), and an Allowed
                             Vintage CW Guarantee Bond Claim (Insured) is approximately 77.582%.




 289
        The Vintage PBA Bond Recovery is shared among the Vintage PBA Bond Claims, Vintage PBA Bond Claims
       (Insured), and Retail Vintage PBA Bond Claims.
 290
       Includes Retail Vintage PBA Bond Claims.
 291
        The Vintage PBA Bond Recovery is shared among the Vintage PBA Bond Claims, Vintage PBA Bond Claims
       (Insured), and Retail Vintage PBA Bond Claims.

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  Class 3:                    Classification: Class 3 consists of all claims against PBA on account of
  Retail Vintage              Vintage PBA Bonds held by a Retail Investor292 in the aggregate amount
                              equal to or less than $1,000,000.00.
  PBA Bond Claims
                              Treatment: On the Effective Date, each holder of an Allowed Retail
                              Vintage PBA Bond Claim will receive its Pro Rata Share of (a) the
                              Vintage PBA Bond Recovery,293 consisting of $611,331,186.05 in Cash,
                              and (b) the Retail Support Fee,294 consisting of $50,000,000.00 in Cash.

                              If Class 3 votes to reject the Plan, holders of Retail Vintage PBA Bond
                              Claims in Class 3 will not receive the Retail Support Fee, which will be
                              reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                              are members of Classes that voted to accept the Plan.

                              Voting: Class 3 is Impaired by the Plan. Class 3 and each holder of an
                              Allowed Retail Vintage PBA Bond Claim are entitled to vote to accept or
                              reject the Plan.

                              Allowed Amount of Claims: (Amount Included in Vintage PBA Bond
                              Claims)

                              Projected Recovery from PBA: 23.0%.295 Total recovery on account of
                              both a Retail Vintage PBA Bond Claim, and (x) an Allowed Vintage CW
                              Guarantee Bond Claim or (y) an Allowed Vintage CW Guarantee Bond
                              Claim (Taxable Election), as applicable, is approximately 77.582%.

  Class 4:                    Classification: Class 4 consists of all claims against PBA on account of
                              2011 PBA Bonds that are not held by a Retail Investor in the aggregate
  2011 PBA Bond
                              amount equal to or less than $1,000,000.00.
  Claims
                              The 2011 PBA Bonds include the following:

                                                                                            Issue Date
                                            Government Facilities Revenue Bonds, Series R       8/24/11
                                            Government Facilities Revenue Bonds, Series S       8/24/11


 292
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.
 293
        The Vintage PBA Bond Recovery is shared among the Vintage PBA Bond Claims, Vintage PBA Bond Claims
       (Insured), and Retail Vintage PBA Bond Claims.
 294
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.
 295
       Does not account for Retail Support Fee.

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                                           Government Facilities Revenue Bonds, Series T    12/22/11


                             Treatment: On the Effective Date, each holder of an Allowed 2011 PBA
                             Bond Claim will receive its Pro Rata Share of the 2011 PBA Bond
                             Recovery,296 consisting of $306,768,911.72 in Cash.

                             Voting: Class 4 is Impaired by the Plan. Class 4 and each holder of an
                             Allowed 2011 PBA Bond Claim are entitled to vote to accept or reject
                             the Plan.

                             Allowed Amount of Claims: $1,335,422,892.78

                             Projected Recovery from PBA: 23.0%. Total recovery on account of
                             both an Allowed 2011 PBA Bond Claim, and (x) an Allowed 2011 CW
                             Guarantee Claim or (y) an Allowed 2011 CW Guarantee Bond Claim
                             (Taxable Election), as applicable, is approximately 76.810%.

  Class 5:                   Classification: Class 5 consists of all claims against PBA on account of
                             2011 PBA Bonds held by a Retail Investor297 in the aggregate amount
  Retail 2011 PBA
                             equal to or less than $1,000,000.00.
  Bond Claims
                             Treatment: On the Effective Date, each holder of an Allowed Retail
                             2011 PBA Bond Claim will receive its Pro Rata Share of (a) the 2011
                             PBA Bond Recovery,298 consisting of $306,768,911.72 in Cash, and (b)
                             the Retail Support Fee,299 consisting of $50,000,000.00 in Cash.

                             If Class 5 votes to reject the Plan, holders of Retail 2011 PBA Bond
                             Claims in Class 5 will not receive the Retail Support Fee, which will be
                             reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                             are members of Classes that voted to accept the Plan.

                             Voting: Class 5 is Impaired by the Plan. Class 5 and each holder of an
                             Allowed Retail 2011 PBA Bond Claim are entitled to vote to accept or
                             reject the Plan.



 296
       The 2011 PBA Bond Recovery is shared among the 2011 PBA Bond Claims and Retail 2011 PBA Bond Claims.
 297
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.
 298
       The 2011 PBA Bond Recovery is shared among the 2011 PBA Bond Claims and Retail 2011 PBA Bond Claims.
 299
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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                              Allowed Amount of Claims: (Amount Included in 2011 PBA Bond
                              Claims)

                              Projected Recovery from PBA: 23.0%.300 Total recovery on account of
                              both a Retail 2011 PBA Bond Claim, and (x) an Allowed 2011 CW
                              Guarantee Bond Claim, or (y) an Allowed 2011 CW Guarantee Bond
                              Claim (Taxable Election), as applicable, is approximately 76.810%.

  Class 6:                    Classification: Class 6 consists of all claims against PBA on account of
                              2012 PBA Bonds that are not held by a Retail Investor in the aggregate
  2012 PBA Bond
                              amount equal to or less than $1,000,000.00.
  Claims
                              The 2012 PBA Bonds include the following:

                                                                                                 Issue Date
                                       Government Facilities Revenue Refunding Bonds, Series U       6/21/12


                              Treatment: On the Effective Date, each holder of an Allowed 2012 PBA
                              Bond Claim will receive its Pro Rata Share of the 2012 PBA Bond
                              Recovery,301 consisting of $154,899,902.23 in Cash.

                              Voting: Class 6 is Impaired by the Plan. Class 4 and each holder of an
                              Allowed 2012 PBA Bond Claim are entitled to vote to accept or reject
                              the Plan.

                              Allowed Amount of Claims: $674,308,470.06

                              Projected Recovery from PBA: 23.0%. Total recovery on account of
                              both an Allowed 2012 PBA Bond Claim and (x) an Allowed 2012 CW
                              Guarantee Claim, or (y) an Allowed 2012 CW Guarantee Bond Claim
                              (Taxable Election), as applicable, is approximately 72.217%.

  Class 7:                    Classification: Class 7 consists of all claims against PBA on account of
                              2012 PBA Bonds held by a Retail Investor302 in the aggregate amount
  Retail 2012 PBA
                              equal to or less than $1,000,000.00.
  Bond Claims
                              Treatment: On the Effective Date, each holder of an Allowed Retail
                              2012 PBA Bond Claim will receive its Pro Rata Share of (a) the 2012



 300
       Does not account for Retail Support Fee.
 301
       The 2012 PBA Bond Recovery is shared among the 2012 PBA Bond Claims and Retail 2012 PBA Bond Claims.
 302
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.

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                             PBA Bond Recovery,303 consisting of $154,899,902.23 in Cash, and (b)
                             the Retail Support Fee,304 consisting of $50,000,000.00 in Cash.

                             If Class 7 votes to reject the Plan, holders of Retail 2012 PBA Bond
                             Claims in Class 7 will not receive the Retail Support Fee, which will be
                             reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                             are members of Classes that voted to accept the Plan.

                             Voting: Class 7 is Impaired by the Plan. Class 7 and each holder of an
                             Allowed Retail 2012 PBA Bond Claim are entitled to vote to accept or
                             reject the Plan.

                             Allowed Amount of Claims: (Amount Included in 2012 PBA Bond
                             Claims)

                             Projected Recovery from PBA: 23.0%. Total recovery on account of
                             both a Retail 2012 PBA Bond Claim, and (x) an Allowed 2012 CW
                             Guarantee Bond Claim, or (y) an Allowed 2012 CW Guarantee Bond
                             Claim (Taxable Election), as applicable, is approximately 72.217%.

  Class 8:                   Classification: Class 8 consists of all claims against PBA on account of
                             the loan allegedly made by GDB to PBA, which, as of the PBA Petition
  PBA/DRA
                             Date, were in the outstanding principal amount of $66,222,028.00, the
  Secured Claim
                             repayment of which is asserted to be secured by the proceeds of the sale
                             or disposition of certain PBA Property and subordinated to all rights and
                             recoveries with respect to the PBA Bonds.

                             Treatment: PBA/DRA Secured Claims will not receive a distribution
                             pursuant to the Plan.

                             Voting: Class 8 is Impaired by the Plan. Class 8 and the holder of the
                             PBA/DRA Secured Claim are deemed to have rejected the Plan.

                             Allowed Amount of Claims: $66,222,028.00

                             Projected Recovery from PBA: 0%

  Class 9:                   Classification: Class 9 consists of all claims against PBA that are not
                             Vintage PBA Bond Claims, Vintage PBA Bond Claims (Insured), Retail
                             Vintage PBA Bond Claims, 2011 PBA Bond Claims, Retail 2011 PBA

 303
       The 2012 PBA Bond Recovery is shared among the 2012 PBA Bond Claims and Retail 2012 PBA Bond Claims.
 304
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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 PBA General        bond Claims, 2012 PBA Bond Claims, Retail 2012 PBA Bond Claims,
 Unsecured Claims   PBA/DRA Secured Claims, or PBA/DRA Unsecured Claims.

                    PBA General Unsecured Claims include claims held by an employee of
                    PBA related to ordinary course employment matters, including, a claim
                    related to termination, holiday pay, vacation, sick leave, back-pay, or
                    other similar claims, but do not include claims related to retiree benefits.

                    Treatment: On the Effective Date, Allowed PBA General Unsecured
                    Claims will be unimpaired, and each holder of an Allowed PBA General
                    Unsecured Claim will be entitled to receive:

                           (a) restatement of the claim, including payments of cash
                               necessary to satisfy the requirement of reinstatement under
                               Bankruptcy Code section 1124(2),

                           (b) payment of the allowed amount of such holder’s claim, in
                               full, in cash, on or as soon as practicable after the latest to
                               occur of (1) the Effective Date, (2) the date on which such
                               PBA General Unsecured Claim becomes allowed, (3) the
                               date on which such Allowed PBA General Unsecured Claim
                               is otherwise due and payable, and (4) such other date as may
                               be mutually agreed to by such holder and Reorganized PBA,
                               or

                           (c) such other treatment as may be mutually agreed to by and
                               among such holder and Reorganized PBA.

                    Voting: Class 9 is Unimpaired by the Plan. Class 9 and each holder of an
                    Allowed PBA General Unsecured Claim are deemed to accept the Plan.

                    Allowed Amount of Claims: [___]

                    Projected Recovery from PBA: 100%

 Class 10:          Classification: Class 10 consists of all claims against PBA on account
                    of the subordinated loans allegedly made by GDB to PBA, which, as of
 PBA/DRA
                    the PBA Petition Date, were in the outstanding principal amount of
 Unsecured Claim
                    $134,357,498.00.

                    Treatment: PBA/DRA Unsecured Claims will not receive a distribution
                    pursuant to the Plan.

                    Voting: Class 10 is Impaired by the Plan. Class 5 and the holder of the
                    PBA/DRA Unsecured Claim are deemed to have rejected the Plan.



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                   Allowed Amount of Claims: $134,357,498.00

                   Projected Recovery from PBA: 0%

 Class 11:         Classification: Class 11 consists of all claims against the
                   Commonwealth on account of Vintage CW Bonds that are (a) not
 Vintage CW Bond
                   insured by Ambac, Assured, FGIC, National, or Syncora, and (b) not
 Claims
                   held by a Retail Investor in the aggregate amount equal to or less than
                   $1,000,000.00.

                   The Vintage CW Bonds include the following:

                                                                                Issue Date
                           Public Improvement Bonds of 1998                     3/15/98
                           Public Improvement Bonds of 1999                     12/01/98
                           Public Improvement Bonds of 2001, Series A           6/07/01
                           Public Improvement Bonds of 2002, Series A           10/25/01
                           Public Improvement Bonds of 2003, Series A           8/08/02
                           Public Improvement Bonds of 2004, Series A           10/16/03
                           Public Improvement Bonds of 2005, Series A           10/07/04
                           Public Improvement Bonds of 2006, Series A           8/10/06
                           Public Improvement Bonds of 2006, Series B           8/30/06
                           Public Improvement Bonds of 2007, Series A           10/04/07
                           Public Improvement Bonds of 2008, Series A           9/18/08
                           Public Improvement Refunding Bonds, Series 1998      1/29/98
                           Public Improvement Refunding Bonds, Series 2000      4/05/00
                           Public Improvement Refunding Bonds, Series 2001      6/07/01
                           Public Improvement Refunding Bonds, Series 2002A     10/25/01
                           Public Improvement Refunding Bonds, Series 2003A     8/08/02
                           Public Improvement Refunding Bonds, Series 2003C-7   5/06/03
                           Public Improvement Refunding Bonds, Series 2006A     6/23/06
                           Public Improvement Refunding Bonds, Series 2006B     8/10/06
                           Public Improvement Refunding Bonds, Series 2007A     10/16/07
                           Public Improvement Refunding Bonds, Series 2007A-4   10/16/07
                           Public Improvement Refunding Bonds, Series 2008A     5/07/08
                           Public Improvement Refunding Bonds, Series 2008C     5/07/08
                           Public Improvement Refunding Bonds, Series 2009A     9/17/09
                           Public Improvement Refunding Bonds, Series 2009B     11/17/09
                           Public Improvement Refunding Bonds, Series 2009C     12/16/09
                           Public Improvement Refunding Bonds, Series 2011A     2/17/11


                   Treatment: On the Effective Date, each holder of an Allowed Vintage
                   CW Bond Claim will receive its Pro Rata Share of the Vintage CW Bond

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                               Recovery,305 consisting of $818,976,245.16 in Cash, $1,777,813,107.26
                               in New GO Bonds, and $1,777,919,756.81 in COFINA Junior Lien
                               Bonds.

                               Taxable Election: Each holder of an Allowed Vintage CW Bond Claim
                               that is a Puerto Rico Investor306 may elect to have its Allowed Vintage CW
                               Bond Claim treated as a Vintage CW Bond Claim (Taxable Election) in
                               Class 14 and have its distribution modified by the Vintage Taxable Bond
                               Distribution. As a general matter, residents of Puerto Rico are not subject
                               to U.S. federal income taxes. Residents of Puerto Rico should read Section
                               IX of the Disclosure Statement, entitled “Material United States Federal
                               Income Tax Considerations—Puerto Rico Individuals and Puerto Rico
                               Corporations” for a discussion of important limitations to this general rule.

                               Voting: Class 11 is Impaired by the Plan. Class 11 and each holder of
                               an Allowed Vintage CW Bond Claim are entitled to vote to accept or
                               reject the Plan.

                               Allowed Amount of Claims: $4,109,703,562.03

                               Projected Recovery from CW – Taxable Election: 74.874%

                               Projected Recovery from CW – No Taxable Election: 74.874%

  Class 12:         Classification: Class 12 consists of all claims against the
  Retail Vintage CW Commonwealth       on account of Vintage CW Bonds held by a Retail
                             307
                    Investor     in the aggregate amount equal to or less than $1,000,000.00.
  Bond Claims
                               Treatment: On the Effective Date, each holder of an Allowed Retail
                               Vintage CW Bond Claim will receive its Pro Rata Share of (a) the
                               Vintage CW Bond Recovery,308 consisting of $818,976,245.16 in Cash,
                               $1,777,813,107.26 in New GO Bonds, and $1,777,919,756.81 in




 305
        The Vintage CW Bond Recovery is shared among the Vintage CW Bond Claims, Vintage CW Bond Claims
       (Insured), and Retail Vintage CW Bond Claims.
 306
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).
 307
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.
 308
        The Vintage CW Bond Recovery is shared among the Vintage CW Bond Claims, Vintage CW Bond Claims
       (Insured), and Retail Vintage CW Bond Claims.

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                             COFINA Junior Lien Bonds, and (b) the Retail Support Fee,309
                             consisting of $50,000,000.00 in Cash.

                             If Class 12 votes to reject the Plan, holders of Retail Vintage CW Bond
                             Claims in Class 12 will not receive the Retail Support Fee, which will be
                             reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                             are members of Classes that voted to accept the Plan.

                             Taxable Election: Each holder of an Allowed Retail Vintage CW Bond
                             Claim that is a Puerto Rico Investor may elect to have its Allowed Retail
                             Vintage CW Bond Claim treated as a Vintage CW Bond Claim (Taxable
                             Election) in Class 14 and have its distribution modified by the Vintage
                             Taxable Bond Distribution. As a general matter, residents of Puerto Rico
                             are not subject to U.S. federal income taxes. Residents of Puerto Rico
                             should read Section IX of the Disclosure Statement, entitled “Material
                             United States Federal Income Tax Considerations—Puerto Rico
                             Individuals and Puerto Rico Corporations” for a discussion of important
                             limitations to this general rule.

                             Voting: Class 12 is Impaired by the Plan. Class 12 and each holder of
                             an Allowed Retail Vintage CW Bond Claim are entitled to vote to accept
                             or reject the Plan.

                             Allowed Amount of Claims: (Amount Included in Vintage CW Bond
                             Claims)

                             Projected Recovery from CW: 74.874%

  Class 13:                  Classification: Class 13 consists of all claims against the
                             Commonwealth on account of Vintage CW Bonds that are insured by
  Vintage CW Bond
                             Ambac, Assured, FGIC, National, or Syncora.
  Claims (Insured)
                             Treatment: On the Effective Date, each holder of an Allowed Vintage
                             CW Bond Claim (Insured) will receive its Pro Rata Share of the Vintage
                             CW Bond Recovery,310 consisting of $818,976,245.16 in Cash,
                             $1,777,813,107.26 in New GO Bonds, and $1,777,919,756.81 in
                             COFINA Junior Lien Bonds.



 309
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.
 310
        The Vintage CW Bond Recovery is shared among the Vintage CW Bond Claims, Vintage CW Bond Claims
       (Insured), and Retail Vintage CW Bond Claims.

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                   Voting: Class 13 is Impaired by the Plan. Class 13 and each holder of
                   an Allowed Vintage CW Bond Claim (Insured) are entitled to vote to
                   accept or reject the Plan.

                   Allowed Amount of Claims: $1,733,057,755.96

                   Projected Recovery from CW: 74.874%

 Class 14:         Classification: Class 14 consists of all claims against the
                   Commonwealth by a holder of an Allowed Vintage CW Bond Claim or
 Vintage CW Bond
                   an Allowed Retail Vintage CW Bond Claim that elects, deemed or
 Claims (Taxable
                   otherwise, to receive a Taxable Bond Distribution and the holder is a
 Election)
                   Puerto Rico Investor.

                   If the Taxable Bond Distributions elected by Puerto Rico Investors
                   holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                   Maximum Taxable Bond Election Amount, such Vintage CW Bond
                   Claim or Retail Vintage CW Bond Claim will be a Vintage CW Bond
                   Claim (Taxable Election) up to such Vintage CW Bond Claim’s or Retail
                   Vintage CW Bond Claim’s, as applicable, ratable share of the Maximum
                   Taxable Bond Election Amount, and the remainder will be a Vintage CW
                   Bond Claim or Retail Vintage CW Bond Claim (as applicable).

                   Treatment: On the Effective Date, each holder of an Allowed Vintage
                   CW Bond Claim (Taxable Election) will receive its Pro Rata Share of the
                   Vintage Taxable Bond Distribution.

                   Voting: Class 14 is Impaired by the Plan. However, holders of Claims
                   in Class 14 elected to be treated in such Class and, therefore, are deemed
                   to accept the Plan.

                   Allowed Amount of Claims: The amount of Claims in Class 14 entitled
                   to a distribution depends upon how many holders of Vintage CW Bond
                   Claims in Class 11 elect to be treated under Class 14.

                   Projected Recovery from CW: 74.874%

 Class 15:         Classification: Class 15 consists of all claims against the
                   Commonwealth on account of the Commonwealth’s guarantee of
 Vintage CW
                   Vintage PBA Bonds, including, any obligation for which the
 Guarantee Bond
                   Commonwealth has pledged its good faith, and credit as authorized by
 Claims
                   the Legislature on or prior to December 31, 2012 (but not including any
                   Vintage CW Guarantee Bond Claim (Insured)).

                   Treatment: On the Effective Date, each holder of an Allowed Vintage
                   CW Guarantee Bond Claim will receive its Pro Rata Share of the Vintage

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                             CW Guarantee Bond Recovery,311 consisting of $272,070,193.05 in
                             Cash, $590,603,156.26 in New GO Bonds, and $590,638,586.06 in
                             COFINA Junior Lien Bonds.

                             Taxable Election: Each holder of an Allowed Vintage CW Guarantee
                             Bond Claim that is a Puerto Rico Investor may elect to have its Allowed
                             Vintage CW Guarantee Bond Claim treated as a Vintage CW Guarantee
                             Bond Claim (Taxable Election) in Class 17 and have its distribution
                             modified by the Vintage Taxable Bond Distribution. As a general
                             matter, residents of Puerto Rico are not subject to U.S. federal income
                             taxes. Residents of Puerto Rico should read Section IX of the Disclosure
                             Statement, entitled “Material United States Federal Income Tax
                             Considerations—Puerto Rico Individuals and Puerto Rico Corporations”
                             for a discussion of important limitations to this general rule.

                             Voting: Class 15 is Impaired by the Plan. Class 15 and each holder of
                             an Allowed Vintage CW Guarantee Bond Claim are entitled to vote to
                             accept or reject the Plan.

                             Allowed Amount of Claims: $1,738,699,949.76

                             Projected Recovery from CW: 70.896%. Total recovery on account of
                             both an Allowed Vintage PBA Bond Claim and an Allowed Vintage CW
                             Guarantee Bond Claim is approximately 77.582%.

  Class 16:                  Classification: Class 16 consists of all claims against the
                             Commonwealth on account of the Commonwealth’s guarantee of
  Vintage CW
                             Vintage PBA Bonds that are insured by Ambac, Assured, FGIC, or
  Guarantee Bond
                             National.
  Claims (Insured)
                             Treatment: On the Effective Date, each holder of an Allowed Vintage
                             CW Guarantee Bond Claim (Insured) will receive its Pro Rata Share of
                             the Vintage CW Guarantee Bond Recovery,312 consisting of
                             $272,070,193.05 in Cash, $590,603,156.26 in New GO Bonds, and
                             $590,638,586.06 in COFINA Junior Lien Bonds.

                             Voting: Class 16 is Impaired by the Plan. Class 16 and each holder of
                             an Allowed Vintage CW Guarantee Bond Claim (Insured) are entitled to
                             vote to accept or reject the Plan.



 311
       The Vintage CW Guarantee Bond Recovery is shared among the Vintage CW Guarantee Bond Claims and Vintage
       CW Guarantee Bond Claims (Insured).
 312
       The Vintage CW Guarantee Bond Recovery is shared among the Vintage CW Guarantee Bond Claims and Vintage
       CW Guarantee Bond Claims (Insured).

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                   Allowed Amount of Claims: $311,208,741.24

                   Projected Recovery from CW: 70.896%. Total recovery on account of
                   both an Allowed Vintage PBA Bond Claim (Insured) and an Allowed
                   Vintage CW Guarantee Bond Claim (Insured) is approximately 77.582%.

 Class 17:         Classification: Class 17 consists of all claims against the
                   Commonwealth by a holder of an Allowed Vintage CW Guarantee Bond
 Vintage CW
                   Claim that elects, deemed or otherwise, to receive a Taxable Bond
 Guarantee Bond
                   Distribution and the holder is a Puerto Rico Investor.
 Claims (Taxable
 Election)         If the Taxable Bond Distributions elected by Puerto Rico Investors
                   holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                   Maximum Taxable Bond Election Amount, such Vintage CW Guarantee
                   Bond Claim will be a Vintage CW Guarantee Bond Claim (Taxable
                   Election) up to such Vintage CW Guarantee Bond Claim’s ratable share
                   of the Maximum Taxable Bond Election Amount, and the remainder will
                   be a Vintage CW Guarantee Bond Claim.

                   Treatment: On the Effective Date, each holder of an Allowed Vintage
                   CW Guarantee Bond Claim (Taxable Election) will receive its Pro Rata
                   Share of the Vintage Taxable Bond Distribution.

                   Voting: Class 17 is Impaired by the Plan. However, holders of Claims
                   in Class 17 elected to be treated in such Class and, therefore, are deemed
                   to accept the Plan.

                   Allowed Amount of Claims: The amount of Claims in Class 17 entitled
                   to a distribution depends upon how many holders of Vintage CW
                   Guarantee Bond Claims in Class 15 elect to be treated under Class 17.

                   Projected Recovery from CW: 70.896%. Total recovery on account of
                   both an Allowed Vintage PBA Bond Claim and an Allowed Vintage CW
                   Guarantee Bond Claim (Taxable Election) is approximately 77.582%.

 Class 18:         Classification: Class 18 consists of all claims against the
                   Commonwealth on account of 2011 CW Bonds that are (a) not insured
 2011 CW Bond
                   by Assured, and (b) not held by a Retail Investor in the aggregate amount
 Claims
                   equal to or less than $1,000,000.00.

                   The 2011 CW Bonds include the following:

                                                                              Issue Date
                           Public Improvement Refunding Bonds, Series 2011A   7/12/11
                           Public Improvement Refunding Bonds, Series 2011C   3/17/11



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                             Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                             Bond Claim will receive its Pro Rata Share of the 2011 CW Bond
                             Recovery,313 consisting of $62,790,793.58 in Cash, $136,304,680.98 in
                             New GO Bonds, and $136,312,857.80 in COFINA Junior Lien Bonds.

                             Taxable Election: Each holder of an Allowed 2011 CW Bond Claim that
                             is a Puerto Rico Investor may elect to have its Allowed 2011 CW Bond
                             Claim treated as a 2011 CW Bond Claim (Taxable Election) in Class 21
                             and have its distribution modified by the 2011 Taxable Bond Distribution.
                             As a general matter, residents of Puerto Rico are not subject to U.S. federal
                             income taxes. Residents of Puerto Rico should read Section IX of the
                             Disclosure Statement, entitled “Material United States Federal Income
                             Tax Considerations—Puerto Rico Individuals and Puerto Rico
                             Corporations” for a discussion of important limitations to this general rule.

                             Voting: Class 18 is Impaired by the Plan. Class 18 and each holder of
                             an Allowed 2011 CW Bond Claim are entitled to vote to accept or reject
                             the Plan.

                             Allowed Amount of Claims: $250,507,930.17

                             Projected Recovery from CW – Taxable Election: 70.401%.

                             Projected Recovery from CW – No Taxable Election: 70.401%.

  Class 19:                  Classification: Class 19 consists of all claims against the
                             Commonwealth on account of 2011 CW Bonds held by a Retail Investor
  Retail 2011 CW
                             in the aggregate amount equal to or less than $1,000,000.00.
  Bond Claims
                             Treatment: On the Effective Date, each holder of an Allowed Retail
                             2011 CW Bond Claim will receive its Pro Rata Share of (a) the 2011 CW
                             Bond Recovery,314 consisting of $62,790,793.58 in Cash,
                             $136,304,680.98 in New GO Bonds, and $136,312,857.80 in COFINA
                             Junior Lien Bonds, and (b) the Retail Support Fee,315 consisting of
                             $50,000,000.00 in Cash.



 313
       The 2011 CW Bond Recovery is shared among the 2011 CW Bond Claims, 2011 CW Bond Claims (Insured), and
       Retail 2011 CW Bond Claims.
 314
       The 2011 CW Bond Recovery is shared among the 2011 CW Bond Claims, 2011 CW Bond Claims (Insured), and
       Retail 2011 CW Bond Claims.
 315
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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                            If Class 19 votes to reject the Plan, holders of Retail 2011 CW Bond
                            Claims in Class 19 will not receive the Retail Support Fee, which will be
                            reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                            are members of Classes that voted to accept the Plan.

                            Taxable Election: Each holder of an Allowed Retail 2011 CW Bond
                            Claim that is a Puerto Rico Investor may elect to have its Allowed Retail
                            2011 CW Bond Claim treated as a 2011 CW Bond Claim (Taxable
                            Election) in Class 21 and have its distribution modified by the 2011
                            Taxable Bond Distribution. As a general matter, residents of Puerto Rico
                            are not subject to U.S. federal income taxes. Residents of Puerto Rico
                            should read Section IX of the Disclosure Statement, entitled “Material
                            United States Federal Income Tax Considerations—Puerto Rico
                            Individuals and Puerto Rico Corporations” for a discussion of important
                            limitations to this general rule.

                            Voting: Class 19 is Impaired by the Plan. Class 19 and each holder of
                            an Allowed Retail 2011 CW Bond Claim are entitled to vote to accept or
                            reject the Plan.

                            Allowed Amount of Claims: (Amount Included in 2011 CW Bond
                            Claims)

                            Projected Recovery from CW – Taxable Election: 70.401%

                            Projected Recovery from CW – No Taxable Election: 70.401%

  Class 20:                 Classification: Class 20 consists of all claims against the
                            Commonwealth on account of 2011 CW Bonds that are insured by
  2011 CW Bond
                            Assured.
  Claims (Insured)
                            Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                            Bond Claim (Insured) will receive its Pro Rata Share of the 2011 CW
                            Bond Recovery,316 consisting of $62,790,793.58 in Cash,
                            $136,304,680.98 in New GO Bonds, and $136,312,857.80 in COFINA
                            Junior Lien Bonds.

                            Voting: Class 20 is Impaired by the Plan. Class 20 and each holder of
                            an Allowed 2011 CW Bond Claim (Insured) are entitled to vote to accept
                            or reject the Plan.

                            Allowed Amount of Claims: $225,917,592.71


 316
       The 2011 CW Bond Recovery is shared among the 2011 CW Bond Claims, 2011 CW Bond Claims (Insured), and
       Retail 2011 CW Bond Claims.

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                   Projected Recovery from CW: 70.401%.

 Class 21:         Classification: Class 21 consists of all claims against the
                   Commonwealth by a holder of an Allowed 2011 CW Bond Claim or an
 2011 CW Bond
                   Allowed Retail 2011 CW Bond Claim that elects, deemed or otherwise,
 Claims (Taxable
                   to receive a Taxable Bond Distribution and the holder is a Puerto Rico
 Election)
                   Investor.

                   If the Taxable Bond Distributions elected by Puerto Rico Investors
                   holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                   Maximum Taxable Bond Election Amount, such 2011 CW Bond Claim
                   or Retail 2011 CW Bond Claim will be a 2011 CW Bond Claim (Taxable
                   Election) up to such 2011 CW Bond Claim’s or Retail 2011 CW Bond
                   Claim’s, as applicable, ratable share of the Maximum Taxable Bond
                   Election Amount, and the remainder will be a 2011 CW Bond Claim or
                   Retail 2011 CW Bond Claim, as applicable.

                   Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                   Bond Claim (Taxable Election) will receive its Pro Rata Share of the
                   2011 Taxable Bond Distribution.

                   Voting: Class 21 is Impaired by the Plan. However, holders of Claims
                   in Class 21 elected to be treated in such Class and, therefore, are deemed
                   to accept the Plan.

                   Allowed Amount of Claims: The amount of Claims in Class 21 entitled
                   to a distribution depends upon how many holders of 2011 CW Bond
                   Claims in Class 18 and Retail 2011 CW Bond Claims in Class 19 elect to
                   be treated under Class 21.

                   Projected Recovery from CW: 70.401%

 Class 22:         Classification: Class 22 consists of all claims against the
                   Commonwealth on account of the Commonwealth’s good faith, credit
 2011 CW
                   and taxing power guarantee of (a) an affiliate, agency, or instrumentality
 Guarantee Bond
                   indebtedness, which guarantee was executed, delivered or enacted
 Claims
                   pursuant to legislation or resolution during the period from January 1,
                   2011 up to and including December 31, 2011, and (b) the 2011 PBA
                   Bonds.

                   Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                   Guarantee Bond Claim will receive its Pro Rata Share of the 2011 CW
                   Guarantee Bond Recovery, consisting of $134,596,119.40 in Cash,
                   $292,177,882.65 in New Go Bonds, and $292,195,410.17 in COFINA
                   Junior Lien Bonds.


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                   Taxable Election: Each holder of an Allowed 2011 CW Guarantee
                   Bond Claim that is a Puerto Rico Investor may elect to have its Allowed
                   2011 CW Guarantee Bond Claim treated as a 2011 CW Guarantee Bond
                   Claim (Taxable Election) in Class 23 and have its distribution modified
                   by the 2011 CW Guarantee Taxable Bond Distribution. As a general
                   matter, residents of Puerto Rico are not subject to U.S. federal income
                   taxes. Residents of Puerto Rico should read Section IX of the Disclosure
                   Statement, entitled “Material United States Federal Income Tax
                   Considerations—Puerto Rico Individuals and Puerto Rico Corporations”
                   for a discussion of important limitations to this general rule.

                   Voting: Class 22 is Impaired by the Plan. Class 22 and each holder of
                   an Allowed 2011 CW Guarantee Bond Claim are entitled to vote to
                   accept or reject the Plan.

                   Allowed Amount of Claims: $1,028,653,981.05

                   Projected Recovery from CW: 69.894%. Total recovery on account of
                   both an Allowed 2011 PBA Bond Claim and an Allowed 2011 CW
                   Guarantee Claim is approximately 76.810%.

 Class 23:         Classification: Class 23 consists of all claims against the
 2011 CW           Commonwealth by a holder of an Allowed 2011 CW Guarantee Bond
 Guarantee Bond    Claim that elects, deemed or otherwise, to receive a Taxable Bond
                   Distribution and the holder is a Puerto Rico Investor.
 Claims (Taxable
 Election)         If the Taxable Bond Distributions elected by Puerto Rico Investors
                   holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                   Maximum Taxable Bond Election Amount, such 2011 CW Guarantee
                   Bond Claim will be a 2011 CW Guarantee Bond Claim (Taxable
                   Election) up to such 2011 CW Guarantee Bond Claim’s ratable share of
                   the Maximum Taxable Bond Election Amount, and the remainder will be
                   a 2011 CW Guarantee Bond Claim.

                   Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                   Guarantee Bond Claim (Taxable Election) will receive its Pro Rata Share
                   of the 2011 CW Guarantee Taxable Bond Distribution.

                   Voting: Class 23 is Impaired by the Plan. However, holders of Claims
                   in Class 23 elected to be treated in such Class and, therefore, are deemed
                   to accept the Plan.

                   Allowed Amount of Claims: The amount of Claims in Class 23 entitled
                   to a distribution depends upon how many holders of 2011 CW Guarantee
                   Bond Claims in Class 22 elect to be treated under Class 23.


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                            Projected Recovery from CW: 69.894%. Total recovery on account of
                            both an Allowed 2011 PBA Bond Claim and an Allowed 2011 CW
                            Guarantee Bond Claim (Taxable Election) is approximately 76.810%.

  Class 24:                 Classification: Class 24 consists of all claims against the
  2011 CW Series            Commonwealth on account of 2011 CW Series D/E/PIB Bonds that are
                            (a) not insured by Assured, and (b) not held by a Retail Investor in the
  D/E/PIB Bond
                            aggregate amount equal to or less than $1,000,000.00.
  Claims
                            The 2011 CW Series D/E/PIB Bonds include the following:

                                                                                         Issue Date
                                     Public Improvement Bonds of 2011                   7/12/11
                                     Public Improvement Refunding Bonds, Series 2011D   7/12/11
                                     Public Improvement Refunding Bonds, Series 2011E   7/12/11


                            Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                            Series D/E/PIB Bond Claim will receive its Pro Rata Share of the 2011
                            CW Series D/E/PIB Bond Recovery,317 consisting of $89,205,408.70 in
                            Cash, $193,644,865.49 in New GO Bonds, and $193,656,482.08 in
                            COFINA Junior Lien Bonds.

                            Taxable Election: Each holder of an Allowed 2011 CW Series D/E/PIB
                            Bond Claim that is a Puerto Rico Investor may elect to have its Allowed
                            2011 CW D/E/PIB Bond Claim treated as a 2011 CW Series D/E/PIB
                            Bond Claim (Taxable Election) in Class 26 and have its distribution
                            modified by the 2011 CW Series D/E/PIB Taxable Bond Distribution. As
                            a general matter, residents of Puerto Rico are not subject to U.S. federal
                            income taxes. Residents of Puerto Rico should read Section IX of the
                            Disclosure Statement, entitled “Material United States Federal Income
                            Tax Considerations—Puerto Rico Individuals and Puerto Rico
                            Corporations” for a discussion of important limitations to this general rule.

                            Voting: Class 24 is Impaired by the Plan. Class 24 and each holder of
                            an Allowed 2011 CW Series D/E/PIB Bond Claim are entitled to vote to
                            accept or reject the Plan.

                            Allowed Amount of Claims: $634,719,627.45

                            Projected Recovery from CW – Taxable Election: 73.800%.

                            Projected Recovery from CW – No Taxable Election: 73.800%.



 317
       The 2011 CW Series D/E/PIB Bond Recovery is shared among the 2011 Series D/E/PIB Bond Claims, 2011 CW
       Series D/E/PIB Bond Claims (Insured), and Retail 2011 CW Series D/E/PIB Bond Claims.

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  Class 25:                  Classification: Class 25 consists of all claims against the
                             Commonwealth on account of 2011 CW Series D/E/PIB Bonds that are
  2011 CW Series
                             insured by Assured.
  D/E/PIB Bond
  Claims (Insured)           Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                             Series D/E/PIB Bond Claim (Insured) will receive its Pro Rata Share of
                             the 2011 CW Series D/E/PIB Bond Recovery, consisting of
                             $89,205,408.70 in Cash, $193,644,865.49 in New GO Bonds, and
                             $193,656,482.08 in COFINA Junior Lien Bonds.

                             Voting: Class 25 is Impaired by the Plan. Class 25 and each holder of
                             an Allowed 2011 CW Series D/E/PIB Bond Claim (Insured) are entitled
                             to vote to accept or reject the Plan.

                             Allowed Amount of Claims: $10,953,484.03

                             Projected Recovery from CW: 73.800%

  Class 26:                  Classification: Class 26 consists of all claims against the
                             Commonwealth on account of 2011 CW Series D/E/PIB Bonds held by a
  Retail 2011 CW
                             Retail Investor in the aggregate amount equal to or less than
  Series D/E/PIB
                             $1,000,000.00.
  Bond Claims
                             Treatment: On the Effective Date, each holder of an Allowed Retail
                             2011 CW Series D/E/PIB Bond Claim will receive its Pro Rata Share of
                             (a) the 2011 CW Series D/E/PIB Bond Recovery,318 consisting of
                             $89,205,408.70 in Cash, $198,644,865.49 in New GO Bonds, and
                             $193,656,482.08 in COFINA Junior Lien Bonds and (d) the Retail
                             Support Fee,319 consisting of $50,000,000.00 in Cash.

                             If Class 26 votes to reject the Plan, holders of Retail 2011 CW Series
                             D/E/PIB Bond Claims in Class 26 will not receive the Retail Support
                             Fee, which will be reallocated to the PSA Restriction Fee Creditors and
                             Retail Investors that are members of Classes that voted to accept the
                             Plan.

                             Taxable Election: Each holder of an Allowed Retail 2011 CW Series
                             D/E/PIB Bond Claim that is a Puerto Rico Investor may elect to have its
                             Allowed Retail 2011 CW Series D/E/PIB Bond Claim treated as a 2011

 318
       The 2011 CW Series D/E/PIB Bond Recovery is shared among the 2011 Series D/E/PIB Bond Claims, 2011 CW
       Series D/E/PIB Bond Claims (Insured), and Retail 2011 CW Series D/E/PIB Bond Claims.
 319
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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                               CW Series D/E/PIB Bonds Claim (Taxable Election) in Class 27 and have
                               its distribution modified by the 201 CW Series D/E/PIB Taxable Bond
                               Distribution. As a general matter, residents of Puerto Rico are not subject
                               to U.S. federal income taxes. Residents of Puerto Rico should read Section
                               IX of the Disclosure Statement, entitled “Material United States Federal
                               Income Tax Considerations—Puerto Rico Individuals and Puerto Rico
                               Corporations” for a discussion of important limitations to this general rule.

                               Voting: Class 26 is Impaired by the Plan. Class 26 and each holder of
                               an Allowed Retail 2011 CW Series D/E/PIB Bond Claim are entitled to
                               vote to accept or reject the Plan.

                               Allowed Amount of Claims: (Amount Included in 2011 CW Series
                               D/E/PIB Bond Claims)

                               Projected Recovery from CW – Taxable Election: 73.800%.

                               Projected Recovery from CW – No Taxable Election: 73.800%.

  Class 27:                    Classification: Class 27 consists of all claims against the
                               Commonwealth by a holder of an Allowed 2011 CW Series D/E/PIB
  2011 CW Series
                               Bond Claim or an Allowed Retail 2011 CW Series D/E/PIB Bond Claim
  D/E/PIB Bond
                               that elects, deemed or otherwise, to receive a Taxable Bond Distribution
  Claims (Taxable
                               and the holder is a Puerto Rico Investor.320
  Election)
                               If the Taxable Bond Distributions elected by Puerto Rico Investors
                               holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                               Maximum Taxable Bond Election Amount, such 2011 CW Series
                               D/E/PIB Bond Claim or Retail 2011 CW Series D/E/PIB Bond Claim
                               will be a 2011 CW Series D/E/PIB Bond Claim (Taxable Election) up to
                               such 2011 CW Series D/E/PIB Bond Claim’s or Retail 2011 CW Series
                               D/E/PIB Bond Claim’s, as applicable, ratable share of the Maximum
                               Taxable Bond Election Amount, and the remainder will be a 2011 CW
                               Bond Claim or Retail 2011 CW Bond Claim (as applicable).

                               Treatment: On the Effective Date, each holder of an Allowed 2011 CW
                               Bond Series D/E/PIB Claim (Taxable Election) will receive its Pro Rata
                               Share of the 2011 CW Series D/E/PIB Taxable Bond Distribution.




 320
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                            Voting: Class 27 is Impaired by the Plan. However, holders of Claims
                            in Class 27 elected to be treated in such Class and, therefore, are deemed
                            to accept the Plan.

                            Allowed Amount of Claims: The amount of Claims in Class 27 entitled
                            to a distribution depends upon how many holders of 2011 CW Series
                            D/E/PIB Bond Claims in Class 23 and Retail 2011 CW Series D/E/PIB
                            Bond Claims in Class 26 elect to be treated under Class 27.

                            Projected Recovery from CW: 73.800%

  Class 28:                 Classification: Class 28 consists of all claims against the
                            Commonwealth on account of 2012 CW Bonds that are (a) not insured
  2012 CW Bond
                            by Assured, and (b) not held by a Retail Investor in the aggregate amount
  Claims
                            equal to or less than $1,000,000.00.

                            The 2012 CW Bonds include the following:

                                                                                         Issue Date
                                     Public Improvement Refunding Bonds, Series 2012A    4/03/12
                                     Public Improvement Refunding Bonds, Series 2012B    3/29/12
                                     The loan extended pursuant to that certain Credit
                                     Agreement, dated as of December 26, 2013, between
                                     the General Services Administration of the
                                     Commonwealth and Scotiabank de Puerto Rico,
                                     which, as of the Commonwealth Petition Date, was
                                     in the aggregate outstanding principal amount of
                                     approximately $23,764,000.00
                                     Hacienda loans (Loan ID Nos. 200017-215-001-003-
                                     53 and 200017-215-001-003-56), which, as of the
                                     Commonwealth Petition Date, were in the aggregate
                                     outstanding principal amount of $198,203,767.00


                            Treatment: On the Effective Date, each holder of an Allowed 2012 CW
                            Bond Claim will receive its Pro Rata Share of the 2012 CW Bond
                            Recovery,321 consisting of $384,506,437.66 in Cash, $834,676,938.11 in
                            New GO Bonds, and $834,727,009.69 in COFINA Junior Lien Bonds.

                            Taxable Election: Each holder of an Allowed 2012 CW Bond Claim that
                            is a Puerto Rico Investor may elect to have its Allowed 2012 Bond Claim
                            treated as a 2012 CW Bond Claim (Taxable Election) in Class 31 and have
                            its distribution modified by the 2012 CW Taxable Bond Distribution. As
                            a general matter, residents of Puerto Rico are not subject to U.S. federal
                            income taxes. Residents of Puerto Rico should read Section IX of the

 321
       The 2012 CW Bond Recovery is shared among the 2012 CW Bond Claims, 2012 CW Bond Claims (Insured), and
       Retail 2012 CW Bond Claims.

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                             Disclosure Statement, entitled “Material United States Federal Income
                             Tax Considerations—Puerto Rico Individuals and Puerto Rico
                             Corporations” for a discussion of important limitations to this general rule.

                             Voting: Class 28 is Impaired by the Plan. Class 28 and each holder of
                             an Allowed 2012 CW Bond Claim are entitled to vote to accept or reject
                             the Plan.

                             Allowed Amount of Claims: $2,545,325,618.54

                             Projected Recovery from CW – Taxable Election: 69.887%

                             Projected Recovery from CW – No Taxable Election: 69.887%

  Class 29:                  Classification: Class 29 consists of all claims against the
                             Commonwealth on account of 2012 CW Bonds held by a Retail
  Retail 2012 CW
                             Investor322 in the aggregate amount equal to or less than $1,000,000.00.
  Bond Claims
                             Treatment: On the Effective Date, each holder of an Allowed Retail
                             2012 CW Bond Claim will receive its Pro Rata Share of (a) the 2012 CW
                             Bond Recovery,323 consisting of $384,506,437.66 in Cash,
                             $834,676,938.11 in New GO Bonds, and $834,727,009.69 in COFINA
                             Junior Lien Bonds, and (b) the Retail Support Fee,324 consisting of
                             $50,000,000.00 in Cash.

                             If Class 29 votes to reject the Plan, holders of Retail 2012 CW Bond
                             Claim in Class 29 will not receive the Retail Support Fee, which will be
                             reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                             are members of Classes that voted to accept the Plan.

                             Taxable Election: Each holder of an Allowed Retail 2012 CW Bond
                             Claim that is a Puerto Rico Investor may elect to have its Allowed Retail
                             2012 Bond Claim treated as a 2012 CW Bond Claim (Taxable Election)
                             in Class 31 and have its distribution modified by the 2012 CW Taxable
                             Bond Distribution. As a general matter, residents of Puerto Rico are not
                             subject to U.S. federal income taxes. Residents of Puerto Rico should read
                             Section IX of the Disclosure Statement, entitled “Material United States

 322
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.
 323
       The 2012 CW Bond Recovery is shared among the 2012 CW Bond Claims, 2012 CW Bond Claims (Insured), and
       Retail 2012 CW Bond Claims.
 324
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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                               Federal Income Tax Considerations—Puerto Rico Individuals and Puerto
                               Rico Corporations” for a discussion of important limitations to this general
                               rule.

                               Voting: Class 29 is Impaired by the Plan. Class 29 and each holder of
                               an Allowed Retail 2012 CW Bond Claim are entitled to vote to accept or
                               reject the Plan.

                               Allowed Amount of Claims: (Amount Included in 2012 CW Bond
                               Claims)

                               Projected Recovery from CW – Taxable Election: 69.887%

                               Projected Recovery from CW – No Taxable Election: 69.887%

  Class 30:                    Classification: Class 30 consists of all claims against the
                               Commonwealth on account of 2012 CW Bonds that are insured by
  2012 CW Bond
                               Assured.
  Claims (Insured)
                               Treatment: On the Effective Date, each holder of an Allowed 2012 CW
                               Bond Claim (Insured) will receive its Pro Rata Share of the 2012 CW
                               Bond Recovery,325 consisting of $384,506,437.66 in Cash,
                               $834,676,938.11 in New GO Bonds, and $834,727,009.69 in COFINA
                               Junior Lien Bonds.

                               Voting: Class 30 is Impaired by the Plan. Class 30 and each holder of
                               an Allowed 2012 CW Bond Claim (Insured) are entitled to vote to accept
                               or reject the Plan.

                               Allowed Amount of Claims: $393,576,302.36

                               Projected Recovery from CW: 69.887%

  Class 31:                    Classification: Class 31 consists of all claims against the
                               Commonwealth by a holder of an Allowed 2012 CW Bond Claim or an
  2012 CW Bond
                               Allowed Retail 2012 CW Bond Claim that elects, deemed or otherwise,
  Claims (Taxable
                               to receive a Taxable Bond Distribution and the holder is a Puerto Rico
  Election)
                               Investor.326




 325
       The 2012 CW Bond Recovery is shared among the 2012 CW Bond Claims, 2012 CW Bond Claims (Insured), and
       Retail 2012 CW Bond Claims.
 326
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                               If the Taxable Bond Distributions elected by Puerto Rico Investors
                               holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                               Maximum Taxable Bond Election Amount, such 2012 CW Bond Claim
                               or Retail 2012 CW Bond Claim will be a 2012 CW Bond Claim (Taxable
                               Election) up to such 2012 CW Bond Claim’s or Retail 2012 CW Bond
                               Claim’s, as applicable, ratable share of the Maximum Taxable Bond
                               Election Amount, and the remainder will be a 2012 CW Bond Claim or
                               Retail 2012 CW Bond Claim (as applicable).

                               Treatment: On the Effective Date, each holder of an Allowed 2012 CW
                               Bond Claim (Taxable Election) will receive its Pro Rata Share of the
                               2012 Taxable Bond Distribution.

                               Voting: Class 31 is Impaired by the Plan. However, holders of Claims
                               in Class 31 elected to be treated in such Class and, therefore, are deemed
                               to accept the Plan.

                               Allowed Amount of Claims: The amount of Claims in Class 31 entitled
                               to a distribution depends upon how many holders of 2012 CW Bond
                               Claims in Class 28 and Retail 2012 CW Bond Claims in Class 29 elect to
                               be treated under Class 31.

                               Projected Recovery from CW: 69.887%

  Class 32:                    Classification: Class 32 consists of all claims against the
  2012 CW                      Commonwealth on account of the Commonwealth’s good faith, credit
                               and taxing power guarantee, as authorized by action, legislation, or
  Guarantee Bond
                               resolution of the Legislature, of (a) an affiliate, agency, or
  Claims
                               instrumentality indebtedness, which guarantee was executed, delivered,
                               or enacted pursuant to legislation or resolution between January 1, 2012
                               to and including December 31, 2013, and (b) 2012 PBA Bonds.

                               Treatment: On the Effective Date, each holder of an Allowed 2012 CW
                               Guarantee Bond Claim will receive its Pro Rata Share the 2012 CW
                               Guarantee Bond Recovery, consisting of $62,164,981.71 in Cash,
                               $134,946,184.28 in New GO Bonds, and $134,954,279.60 in COFINA
                               Junior Lien Bonds.

                               Taxable Election: Each holder of an Allowed 2012 CW Guarantee
                               Bond Claim that is a Puerto Rico Investor327 may elect to have its
                               Allowed 2012 CW Guarantee Bond Claim treated as a 2012 CW
                               Guarantee Bond Claim (Taxable Election) in Class 33 and have its

 327
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                               distribution modified by the 2012 CW Guarantee Taxable Bond
                               Distribution. As a general matter, residents of Puerto Rico are not
                               subject to U.S. federal income taxes. Residents of Puerto Rico should
                               read Section IX of the Disclosure Statement, entitled “Material United
                               States Federal Income Tax Considerations—Puerto Rico Individuals and
                               Puerto Rico Corporations” for a discussion of important limitations to
                               this general rule.

                               Voting: Class 32 is Impaired by the Plan. Class 32 and each holder of
                               an Allowed 2012 CW Guarantee Bond Claim are entitled to vote to
                               accept or reject the Plan.

                               Allowed Amount of Claims: $519,408,567.83

                               Projected Recovery from CW: 63.931%. Total recovery on account of
                               both an Allowed 2012 PBA Bond Claim and an Allowed 2012 CW
                               Guarantee Claim is approximately 72.217%.

  Class 33:                    Classification: Class 33 consists of all claims against the
                               Commonwealth by a holder of an Allowed 2012 CW Guarantee Bond
  2012 CW
                               Claim that elects, deemed or otherwise, to receive a Taxable Bond
  Guarantee Bond
                               Distribution and the holder is a Puerto Rico Investor.328
  Claims (Taxable
  Election)                    If the Taxable Bond Distributions elected by Puerto Rico Investors
                               holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                               Maximum Taxable Bond Election Amount, such 2012 CW Guarantee
                               Bond Claim will be a 2012 CW Guarantee Bond Claim (Taxable
                               Election) up to such 2012 CW Guarantee Bond Claim’s ratable share of
                               the Maximum Taxable Bond Election Amount, and the remainder will be
                               a 2012 CW Guarantee Bond Claim.

                               Treatment: On the Effective Date, each holder of an Allowed 2012 CW
                               Guarantee Bond Claim (Taxable Election) will receive its Pro Rata Share
                               of the 2012 Taxable Bond Distribution.

                               Voting: Class 33 is Impaired by the Plan. However, holders of Claims
                               in Class 33 elected to be treated in such Class and, therefore, are deemed
                               to accept the Plan.




 328
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                            Allowed Amount of Claims: The amount of Claims in Class 33 entitled
                            to a distribution depends upon how many holders of 2012 CW Guarantee
                            Bond Claims in Class 32 elect to be treated under Class 33.

                            Projected Recovery from CW: 63.931%. Total recovery on account of
                            both an Allowed 2012 PBA Bond Claim and an Allowed 2012 CW
                            Guarantee Bond Claim (Taxable Election) is approximately 72.217%.

  Class 34:                 Classification: Class 34 consists of all claims against the
                            Commonwealth on account of 2014 CW Bonds that are not held by a
  2014 CW Bond
                            Retail Investor in the aggregate amount equal to or less than
  Claims
                            $1,000,000.00.

                            The 2014 CW Bonds include the following:

                                                                                       Issue Date
                                      General Obligation Bonds of 2014, Series A       3/17/14


                            Treatment: On the Effective Date, each holder of an Allowed 2014 CW
                            Bond Claim will receive its Pro Rata Share of the 2014 CW Bond
                            Recovery,329 consisting of $511,689,820.74 in Cash, $1,110,763,438.54
                            in New GO Bonds, and $1,110,830,072.33 in COFINA Junior Lien
                            Bonds.

                            Taxable Election: Each holder of an Allowed 2014 CW Bond Claim that
                            is a Puerto Rico Investor may elect to have its Allowed 2014 Bond Claim
                            treated as a 2014 CW Bond Claim (Taxable Election) in Class 36 and have
                            its distribution modified by the 2014 CW Taxable Bond Distribution. As
                            a general matter, residents of Puerto Rico are not subject to U.S. federal
                            income taxes. Residents of Puerto Rico should read Section IX of the
                            Disclosure Statement, entitled “Material United States Federal Income
                            Tax Considerations—Puerto Rico Individuals and Puerto Rico
                            Corporations” for a discussion of important limitations to this general rule.

                            Voting: Class 34 is Impaired by the Plan. Class 34 and each holder of
                            an Allowed 2014 CW Bond Claim are entitled to vote to accept or reject
                            the Plan.

                            Allowed Amount of Claims: $3,836,611,111.11330



 329
       The 2014 CW Bond Recovery is shared among the 2014 CW Bond Claims, Retail 2014 CW Bond Claims, and
       2014 CW Guarantee Bond Claims.
 330
       Includes Retail 2014 CW Bond Claims.

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                             Projected Recovery from CW – Taxable Election: 65.358%

                             Projected Recovery from CW – No Taxable Election: 65.358%

  Class 35:                  Classification: Class 35 consists of all claims against the
                             Commonwealth on account of 2014 CW Bonds held by a Retail
  Retail 2014 CW
                             Investor331 in the aggregate amount equal to or less than $1,000,000.00.
  Bond Claims
                             Treatment: On the Effective Date, each holder of an Allowed Retail
                             2014 CW Bond Claim will receive its Pro Rata Share of (a) the 2014 CW
                             Bond Recovery,332 consisting of $511,689,820.74 in Cash,
                             $1,110,763,438,54 in New GO Bonds, and $1,110,830,072.33 in
                             COFINA Junior Lien Bonds, and (b) the Retail Support Fee,333
                             consisting of $50,000,000.00 in Cash.

                             If Class 35 votes to reject the Plan, holders of Retail 2014 CW Bond
                             Claim in Class 35 will not receive the Retail Support Fee, which will be
                             reallocated to the PSA Restriction Fee Creditors and Retail Investors that
                             are members of Classes that voted to accept the Plan.

                             Taxable Election: Each holder of an Allowed Retail 2014 CW Bond
                             Claim that is a Puerto Rico Investor may elect to have its Allowed Retail
                             2014 Bond Claim treated as a 2014 CW Bond Claim (Taxable Election)
                             in Class 36 and have its distribution modified by the 2014 CW Taxable
                             Bond Distribution. As a general matter, residents of Puerto Rico are not
                             subject to U.S. federal income taxes. Residents of Puerto Rico should read
                             Section IX of the Disclosure Statement, entitled “Material United States
                             Federal Income Tax Considerations—Puerto Rico Individuals and Puerto
                             Rico Corporations” for a discussion of important limitations to this general
                             rule.

                             Voting: Class 35 is Impaired by the Plan. Class 35 and each holder of
                             an Allowed Retail 2014 CW Bond Claim are entitled to vote to accept or
                             reject the Plan.

                             Projected Recovery from CW – Taxable Election: 65.358%


 331
       A “Retail Investor” means an individual who purchased GO Bonds and/or PBA Bonds for his or her own brokerage
       account, trust account, custodial account or in a separately managed account.
 332
       The 2014 CW Bond Recovery is shared among the 2014 CW Bond Claims, Retail 2014 CW Bond Claims, and
       2014 CW Guarantee Bond Claims.
 333
       The Retail Support Fee is shared among the Retail Vintage PBA Bond Claims, Retail 2011 PBA Bond Claims,
       Retail 2012 PBA Bond Claims, Retail Vintage CW Bond Claims, Retail 2011 CW bond Claims, Retail 2011 CW
       Series D/E/PIB Bond Claims, Retail 2012 CW Bond Claims, and Retail 2012 CW Bond Claims, to the extent the
       Class for such Claims votes to accept the Plan.

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                               Projected Recovery from CW – No Taxable Election: 65.358%

  Class 36:                    Classification: Class 36 consists of all claims against the
                               Commonwealth by a holder of an Allowed 2014 CW Bond Claim or an
  2014 CW Bond
                               Allowed Retail 2014 CW Bond Claim that elects, deemed or otherwise,
  Claims (Taxable
                               to receive a Taxable Bond Distribution and the holder is a Puerto Rico
  Election)
                               Investor.334

                               If the Taxable Bond Distributions elected by Puerto Rico Investors
                               holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                               Maximum Taxable Bond Election Amount, such 2014 CW Bond Claim
                               or Retail 2014 CW Bond Claim will be a 2014 CW Bond Claim (Taxable
                               Election) up to such 2014 CW Bond Claim’s or Retail 2014 CW Bond
                               Claim’s, as applicable, ratable share of the Maximum Taxable Bond
                               Election Amount, and the remainder will be a 2014 CW Bond Claim or
                               Retail 2014 CW Bond Claim (as applicable).

                               Treatment: On the Effective Date, each holder of an Allowed 2014 CW
                               Bond Claim (Taxable Election) will receive its Pro Rata Share of the
                               2014 Taxable Bond Distribution.

                               Voting: Class 36 is Impaired by the Plan. However, holders of Claims
                               in Class 36 elected to be treated in such Class and, therefore, are deemed
                               to accept the Plan.

                               Allowed Amount of Claims: The amount of Claims in Class 36 entitled
                               to a distribution depends upon how many holders of 2014 CW Bond
                               Claims in Class 34 and Retail 2014 CW Bond Claims in Class 35 elect to
                               be treated under Class 36.

                               Projected Recovery from CW: 65.358%

  Class 37:                    Classification: Class 37 consists of all claims against the
                               Commonwealth on account of the Commonwealth’s good faith, credit
  2014 CW
                               and taxing power guarantee, as authorized by action, legislation, or
  Guarantee Bond
                               resolution of the Commonwealth Legislature, of (a) an affiliate, agency,
  Claims
                               or instrumentality indebtedness, which guarantee was executed,
                               delivered, or enacted pursuant to legislation or resolution between
                               January 1, 2014 to but not including the Commonwealth Petition Date,
                               (b) the Ports of the Americas Authority bond, which, as of the
                               Commonwealth Petition Date, was in the outstanding principal amount
                               of $225,543,000.00, and (c) PRIFA Bond Anticipation Notes, Series

 334
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                               2015, which, as of the Commonwealth Petition Date, were in the
                               outstanding principal amount of $78,145,000.00.

                               Treatment: On the Effective Date, each holder of an Allowed 2014 CW
                               Guarantee Bond Claim will receive its Pro Rata Share of the 2014 CW
                               Bond Recovery,335 consisting of $511,689,820.74 in Cash,
                               $1,110,763,438,54 in New GO Bonds, and $1,110,830,072.33 in
                               COFINA Junior Lien Bonds.

                               Taxable Election: Each holder of an Allowed 2014 CW Guarantee
                               Bond Claim that is a Puerto Rico Investor336 may elect to have its
                               Allowed 2014 CW Guarantee Bond Claim treated as a 2014 CW
                               Guarantee Bond Claim (Taxable Election) in Class 38 and have its
                               distribution modified by the 2014 CW Guarantee Taxable Bond
                               Distribution. As a general matter, residents of Puerto Rico are not
                               subject to U.S. federal income taxes. Residents of Puerto Rico should
                               read Section IX of the Disclosure Statement, entitled “Material United
                               States Federal Income Tax Considerations—Puerto Rico Individuals and
                               Puerto Rico Corporations” for a discussion of important limitations to
                               this general rule.

                               Voting: Class 37 is Impaired by the Plan. Class 37 and each holder of
                               an Allowed 2014 CW Guarantee Bond Claim are entitled to vote to
                               accept or reject the Plan.

                               Allowed Amount of Claims: $345,380,885.83

                               Projected Recovery from CW: 65.358%

  Class 38:                    Classification: Class 38 consists of all claims against the
  2014 CW                      Commonwealth by a holder of an Allowed 2014 CW Guarantee Bond
  Guarantee Bond               Claim that elects, deemed or otherwise, to receive a Taxable Bond
                               Distribution and the holder is a Puerto Rico Investor.337
  Claims (Taxable
  Election)                    If the Taxable Bond Distributions elected by Puerto Rico Investors
                               holding CW Bond Claims and CW Guarantee Bond Claims exceeds the
                               Maximum Taxable Bond Election Amount, such 2014 CW Guarantee

 335
       The 2014 CW Bond Recovery is shared among the 2014 CW Bond Claims, Retail 2014 CW Bond Claims, and
       2014 CW Guarantee Bond Claims.
 336
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).
 337
       A “Puerto Rico Investor” is an entity that is, or what is wholly owned by or the sole beneficial owner of which is,
       a natural person(s) and resident(s) of the Commonwealth for purposes of payment of Puerto Rico personal income
       taxes (as determined by the Oversight Board in its sole and absolute discretion).

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                  Bond Claim will be a 2014 CW Guarantee Bond Claim (Taxable
                  Election) up to such 2014 CW Guarantee Bond Claim’s ratable share of
                  the Maximum Taxable Bond Election Amount, and the remainder will be
                  a 2014 CW Guarantee Bond Claim.

                  Treatment: On the Effective Date, each holder of an Allowed 2014 CW
                  Guarantee Bond Claim (Taxable Election) will receive its Pro Rata Share
                  of the 2014 Taxable Bond Distribution.

                  Voting: Class 38 is Impaired by the Plan. However, holders of Claims
                  in Class 38 elected to be treated in such Class and, therefore, are deemed
                  to accept the Plan.

                  Allowed Amount of Claims: The amount of Claims in Class 38 entitled
                  to a distribution depends upon how many holders of 2014 CW Guarantee
                  Bond Claims in Class 37 elect to be treated under Class 38.

                  Projected Recovery from CW: 65.358%

 Class 39A:       Classification: Class 39A consists of:
 Retiree Claims          (a)     All claims against ERS on account of being or having
                         been a participant in ERS for retiree benefits that accrued as of
                         July 1, 2013,

                         (b)     All claims against JRS on account of being or having been
                         a participant in JRS for (i) pension benefits accrued as of May 4,
                         2017, and (b) any additional retiree benefits in JRS that such
                         participant would be entitled to receive upon the participant’s
                         future retirement, and

                         (c)     All claims against TRS on account of being or having
                         been a participant in TRS for (i) pension benefits accrued as of
                         May 4, 2017, and (b) any additional retiree benefits in TRS that
                         such participant would be entitled to receive upon the
                         participant’s future retirement,

                   held by a person who, as of July 1, 2019 receives a pension or annuity
                   as a participant or a beneficiary of a participant in ERS, JRS, or TRS
                   (excluding any participant in ERS whose hire date was on or after
                   January 1, 2000 and any former employee of the Government of Puerto
                   Rico who left public service and was not reimbursed for such person’s
                   contributions and/or any accrued benefit up to and including the date of
                   separation).

                  Treatment:

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                                Adjustment of Benefits. Each holder of an Allowed Retiree Claim will
                                receive, beginning on the Benefit Reduction Date,338 monthly payments
                                as modified by Exhibit E to the Plan and detailed below.

                                Benefits Earned Before May 4, 2017: All accrued pension benefits
                                earned by participants before May 4, 2017 will be subject to reduction as
                                follows:

                                The Total Monthly Benefit (which includes the Monthly Base Pension,
                                Monthly Christmas Bonus, Monthly Summer Bonus, and Monthly
                                Medicine Bonus) cannot be reduced below $1,200.00 per month and any
                                participant receiving $1,200.00 or less per month will not be affected.
                                The minimum benefit thresholds will remain at $1,200, $1,000, and $600
                                as applicable. Accrued pension amounts and threshold will not be
                                indexed for any reason in the future, except for Pension Benefit
                                Restoration provisions.

                                For all calculation purposes, and until certified financial information for
                                the period after July 1, 2016 is provided, Retiree pension and other
                                benefit information as of July 1, 2016 will be used for calculation of
                                benefits in the Plan.

                                The Total Monthly Benefit will be reduced until the lesser of the
                                following (the “Maximum Reduction”):

                                     (a) 8.5% of the Total Monthly Benefit has been reduced;

                                     (b) the Total Monthly Benefit has reached $1,200.00 per month; or

                                     (c) 25% of the difference of the Total Monthly Benefit plus the
                                         Monthly Medical Insurance benefit, if any, minus either (i)
                                         $1,000 for those Retirees without access Social Security when
                                         accruing their pension or (ii) $600 per month for those Retirees
                                         with access to Social Security when accruing their pension.

                                If Class 39A votes to reject the Plan, the total reduction will be the lesser
                                of 10% or reduction of the Total Monthly Benefit to $1,200.00.

                                The Total Monthly Benefit will be reduced in the following order:

                                   (a) Reduction of Christmas Bonus: First, the Monthly Christmas
                                   Bonus will be reduced until the Total Monthly Benefit reaches the


 338
       The Benefit Reduction Date is the later to occur of (a) July 1, 2020, and (b) the first July 1 after the Effective Date.
       However, if the first July 1 after the Effective Date is less than 180 days from the Effective Date, the “Benefit
       Reduction Date” will be the first day of the month that is 180 days after the Effective Date.

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                     Maximum Reduction or the Monthly Christmas Bonus has been
                     eliminated;

                     (b) Reduction of Summer Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, second, the
                     Monthly Summer Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Summer
                     Bonus has been eliminated;

                     (c) Reduction of Medicine Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, third, the
                     Monthly Medicine Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Medicine
                     Bonus has been eliminated;

                     (d) Reduction of Base Pension: If the reduction of the Total Monthly
                     Benefit has not reached the Maximum Reduction, fourth, the Monthly
                     Base Pension will be reduced until the Total Monthly Benefit reaches
                     the Maximum Reduction.

                  The receipt of Social Security benefits and the Monthly Medical Benefit
                  will not affect the reductions above.

                  Benefits Earned On or After May 4, 2017: Accrued pension benefits
                  earned by participants on and after May 4, 2017 will not be reduced.

                  Benefit Restoration. During the period from the Benefit Reduction Date
                  up to and including the conclusion of fiscal year 2033, if in a particular
                  fiscal year, the Excess Cash Surplus is equal to or greater than One
                  Hundred Million Dollars ($100,000,000.00), then ten percent (10%) of
                  such Excess Cash Surplus will be (a) allocated and applied pro rata to
                  each participant based on the amount of total reductions experienced by
                  each such participant during such fiscal year, and (b) paid to any such
                  participant on or before October 1 following the conclusion of such fiscal
                  year. However, such Benefit Restoration will be capped at the Monthly
                  Benefit Reduction times twelve (12) for each such participant for a
                  particular fiscal year.

                  Preemption: All provisions of the Commonwealth Constitution,
                  Commonwealth statutes, executive orders, rules, regulations, and policies
                  in effect as of the Confirmation Date that create, require or enforce
                  employee pension and other benefits that are modified by the Plan, to the
                  extent inconsistent with the treatment of Allowed Retiree Claims in the
                  Plan, are preempted as inconsistent with PROMESA.



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                                Voting: Class 39A is Impaired by the Plan. Class 39A and each holder
                                of an Allowed Retiree Claim are entitled to vote to accept or reject the
                                Plan.

                                Allowed Amount of Claims: [___]

                                Projected Recovery from CW: [___]

  Class 39B:                    Classification: Class 39B consists of all claims against ERS by
  Active ERS                    employees hired before January 1, 2000 on account of being or having
                                been a participant in ERS for retiree benefits that accrued as of July 1,
  Participant Claims
                                2013, held by a person who, as of July 1, 2019, does not receive a
                                pension or annuity as a participant in ERS (either active or as a deferred
                                annuity). Active ERS Participant Claims do not include Claims held by
                                a participant, whose hire date was on or after January 1, 2000, based on
                                participation in System 2000.

                                Treatment:

                                Adjustment of Benefits. Each holder of an Allowed Active ERS
                                Participant Claim will receive, beginning on the later to occur of the
                                Benefit Reduction Date339 or the first payment of retirement benefits
                                after such holder’s pension commencement date, monthly payments as
                                modified detailed below.

                                Benefits Earned Before May 4, 2017: All accrued pension benefits
                                earned by participants before May 4, 2017 under Act 1 and Act 477 will
                                be subject to reduction as follows:

                                The Total Monthly Benefit (which includes the Monthly Base Pension,
                                Monthly Christmas Bonus, Monthly Summer Bonus, and Monthly
                                Medicine Bonus) cannot be reduced below $1,200.00 per month and any
                                participant receiving $1,200.00 or less per month will not be affected.
                                The minimum benefit thresholds will remain at $1,200, $1,000, and $600
                                as applicable. Accrued pension amounts and threshold will not be
                                indexed for any reason in the future, except for Pension Benefit
                                Restoration provisions.

                                For all calculation purposes, and until certified financial information for
                                the period after July 1, 2016 is provided, Retiree pension and other
                                benefit information as of July 1, 2016 will be used for calculation of
                                benefits in the Plan.


 339
       The Benefit Reduction Date is the later of (a) July 1, 2020, and (b) the first July 1 after the Effective Date. However,
       if the first July 1 after the Effective Date is less than 180 days from the Effective Date, the “Benefit Reduction
       Date” will be the first day of the month that is 180 days after the Effective Date.

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                  The Total Monthly Benefit will be reduced until the lesser of the
                  following (the “Maximum Reduction”):

                      (a) 8.5% of the Total Monthly Benefit has been reduced;

                      (b) the Total Monthly Benefit has reached $1,200.00 per month; or

                      (c) 25% of the difference of the Total Monthly Benefit plus the
                          Monthly Medical Insurance benefit, if any, minus either (i)
                          $1,000 for those Retirees without access Social Security when
                          accruing their pension or (ii) $600 per month for those Retirees
                          with access to Social Security when accruing their pension.

                  If Class 39B votes to reject the Plan, the total reduction will be the lesser
                  of 10% or reduction of the Total Monthly Benefit to $1,200.00.

                  The Total Monthly Benefit will be reduced in the following order:

                     (a) Reduction of Christmas Bonus: First, the Monthly Christmas
                     Bonus will be reduced until the Total Monthly Benefit reaches the
                     Maximum Reduction or the Monthly Christmas Bonus has been
                     eliminated;

                     (b) Reduction of Summer Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, second, the
                     Monthly Summer Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Summer
                     Bonus has been eliminated;

                     (c) Reduction of Medicine Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, third, the
                     Monthly Medicine Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Medicine
                     Bonus has been eliminated;

                     (d) Reduction of Base Pension: If the reduction of the Total Monthly
                     Benefit has not reached the Maximum Reduction, fourth, the Monthly
                     Base Pension will be reduced until the Total Monthly Benefit reaches
                     the Maximum Reduction.

                  The receipt of Social Security benefits and the Monthly Medical Benefit
                  will not affect the reductions above.




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                      Benefits Earned On or After May 4, 2017: Accrued pension benefits
                      earned by participants from and after May 4, 2017 will not be reduced.

                      Exemption from cut formula: The portion of the calculated pension
                      related to annuitized Law 3 contributions plus interest accrued at the rate
                      provided therefor by Puerto Rico law on such contributions through May
                      3, 2017 will be exempt from the benefit reduction formula. Allowed
                      Active ERS Participant Claims who have already retired and converted
                      their contributions to a system paid annuity are not eligible for the
                      treatment described in this class, but will be subject to the pension
                      reduction applicable to other Participants in accordance with Class 39A.

                      Benefit Restoration. During the period from the Benefit Reduction Date
                      up to and including the conclusion of fiscal year 2033, if in a particular
                      fiscal year, the Excess Cash Surplus is equal to or greater than One
                      Hundred Million Dollars ($100,000,000.00), then ten percent (10%) of
                      such Excess Cash Surplus will be (a) allocated and applied pro rata to
                      each participant based on the amount of total reductions experienced by
                      each such participant during such fiscal year, and (b) paid to any such
                      participant on or before October 1 following the conclusion of such fiscal
                      year. However, such Benefit Restoration will be capped at the Monthly
                      Benefit Reduction times twelve (12) for each such participant for a
                      particular fiscal year.

                      Preemption: All provisions of the Commonwealth Constitution,
                      Commonwealth statutes, executive orders, rules, regulations, and policies
                      in effect as of the Confirmation Date that create, require or enforce
                      employee pension and other benefits that are modified by the Plan, to the
                      extent inconsistent with the treatment of Allowed Active ERS Participant
                      Claims in the Plan, are preempted as inconsistent with PROMESA.

                      Voting: Class 39B is Impaired by the Plan. Class 39B and each holder
                      of an Allowed Active ERS Participant Claim are entitled to vote to
                      accept or reject the Plan.

                      Allowed Amount of Claims: [___]

                      Projected Recovery: [___]

 Class 39C:           Classification: Class 39C consists of all claims against JRS on account
                      of being or having been a participant in JRS for (i) retiree benefits
 Active JRS
                      accrued as of May 4, 2017, and (b) any additional retiree benefits in JRS
 Participant Claims
                      that such participant would be entitled to receive upon the participant’s
                      future retirement, held by a person who, as of July 1, 2019, does not
                      receive a pension or annuity as a participant in JRS (either active or
                      entitled to a deferred annuity).

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                                Treatment:

                                Adjustment of Benefits. Each holder of an Allowed Active JRS
                                Participant Claim will receive, beginning on the later to occur of the
                                Benefit Reduction Date,340 or the first payment of pension benefits after
                                such holder’s pension commencement date, monthly payments] as
                                modified by Exhibit F of the Plan and further detailed below.

                                Benefits Earned Before May 4, 2017: All accrued pension benefits
                                earned by participants before May 4, 2017 will be subject to reduction as
                                follows:

                                The Total Monthly Benefit (which includes the Monthly Base Pension,
                                Monthly Christmas Bonus, Monthly Summer Bonus, and Monthly
                                Medicine Bonus) cannot be reduced below $1,200.00 per month and any
                                participant receiving $1,200.00 or less per month will not be affected.

                                For all calculation purposes, and until certified financial information for
                                the period after July 1, 2016 is provided, Retiree pension and other
                                benefit information as of July 1, 2016 will be used for calculation of
                                benefits in the Plan.

                                The Total Monthly Benefit will be reduced until the lesser of the
                                following (the “Maximum Reduction”):

                                     (a) 8.5% of the Total Monthly Benefit has been reduced;

                                     (b) the Total Monthly Benefit has reached $1,200.00 per month; or

                                     (c) 25% of the difference of the Total Monthly Benefit plus the
                                         Monthly Medical Insurance benefit, if any, minus either (i)
                                         $1,000 for those Retirees without access Social Security when
                                         accruing their pension or (ii) $600 per month for those Retirees
                                         with access to Social Security when accruing their pension.

                                If Class 39C votes to reject the Plan, the total reduction will be the lesser
                                of 10% or reduction of the Total Monthly Benefit to $1,200.00.

                                The Total Monthly Benefit will be reduced in the following order:

                                   (a) Reduction of Christmas Bonus: First, the Monthly Christmas
                                   Bonus will be reduced until the Total Monthly Benefit reaches the


 340
       The Benefit Reduction Date is the later of (a) July 1, 2020, and (b) the first July 1 after the Effective Date. However,
       if the first July 1 after the Effective Date is less than 180 days from the Effective Date, the “Benefit Reduction
       Date” will be the first day of the month that is 180 days after the Effective Date.

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                     Maximum Reduction or the Monthly Christmas Bonus has been
                     eliminated;

                     (b) Reduction of Summer Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, second, the
                     Monthly Summer Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Summer
                     Bonus has been eliminated;

                     (c) Reduction of Medicine Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, third, the
                     Monthly Medicine Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Medicine
                     Bonus has been eliminated;

                     (d) Reduction of Base Pension: If the reduction of the Total Monthly
                     Benefit has not reached the Maximum Reduction, fourth, the Monthly
                     Base Pension will be reduced until the Total Monthly Benefit reaches
                     the Maximum Reduction.

                  The receipt of Social Security benefits and the Monthly Medical Benefit
                  will not affect the reductions above.

                  Benefits Earned On or After May 4, 2017: Additional benefits for service
                  on or after May 4, 2017 will be frozen as of the Effective Date so such
                  participant is no longer able to accrue pension benefits after such date.

                  Future pension benefits will be calculated using service and pay accrued
                  through the Effective Date of the Plan. Participants who were not
                  eligible to retire as of the Effective Date of the plan will have retirement
                  eligibility delayed up to 3 years. The retirement benefits for service on
                  or after the Effective Date (including limitations on service transfer,
                  defining the accrued benefit for those not vested at the freeze, COLA
                  elimination, DC and Social Security benefits, and benefit eligibility /
                  definition for different cohorts based on age and service) will be
                  modified consistent with the terms and conditions set forth on the term
                  sheet attached as Exhibit F to the Plan.

                  Benefit Restoration. During the period from the Benefit Reduction Date
                  up to and including the conclusion of fiscal year 2033, if in a particular
                  fiscal year, the Excess Cash Surplus is equal to or greater than One
                  Hundred Million Dollars ($100,000,000.00), then ten percent (10%) of
                  such Excess Cash Surplus will be (a) allocated and applied pro rata to
                  each participant based on the amount of total reductions experienced by
                  each such participant during such fiscal year, and (b) paid to any such
                  participant on or before October 1 following the conclusion of such fiscal

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                                year. However, such Benefit Restoration will be capped at the Monthly
                                Benefit Reduction times twelve (12) for each such participant for a
                                particular fiscal year.

                                Preemption: All provisions of the Commonwealth Constitution,
                                Commonwealth statutes, executive orders, rules, regulations, and policies
                                in effect as of the Confirmation Date that create, require or enforce
                                employee pension and other benefits that are modified by the Plan, to the
                                extent inconsistent with the treatment of Allowed Active JRS Participant
                                Claims in the Plan, are preempted as inconsistent with PROMESA.

                                Voting: Class 39C is Impaired by the Plan. Class 39C and each holder of
                                an Allowed Active JRS Participant Claim are entitled to vote to accept or
                                reject the Plan.

                                Allowed Amount of Claims: [___]

                                Projected Recovery: [___]

  Class 39D:                    Classification: Class 39D consists of all claims against TRS on account
                                of being or having been a participant in TRS for (i) retiree benefits
  Active TRS
                                accrued as of May 4, 2017, and (b) any additional retiree benefits in TRS
  Participant Claims
                                that such participant would be entitled to receive upon the participant’s
                                future retirement, held by a person who, as of July 1, 2019, does not
                                receive a pension or annuity as a participant in TRS (either active or
                                entitled to a deferred annuity).

                                Treatment:

                                Adjustment of Benefits. Each holder of an Allowed Active TRS
                                Participant Claim will receive, beginning on the later to occur of the
                                Benefit Reduction Date,341 or the first payment of pension benefits after
                                such holder’s pension commencement date, monthly payments as
                                modified by Exhibit G of the Plan and detailed below.

                                Benefits Earned Before May 4, 2017: All accrued pension benefits
                                earned by participants before May 4, 2017 will be subject to reduction as
                                follows:

                                The Total Monthly Benefit (which includes the Monthly Base Pension,
                                Monthly Christmas Bonus, Monthly Summer Bonus, and Monthly
                                Medicine Bonus) cannot be reduced below $1,200.00 per month and any
                                participant receiving $1,200.00 or less per month will not be affected.

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       The Benefit Reduction Date is the later of (a) July 1, 2020, and (b) the first July 1 after the Effective Date. However,
       if the first July 1 after the Effective Date is less than 180 days from the Effective Date, the “Benefit Reduction
       Date” will be the first day of the month that is 180 days after the Effective Date.

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                  The minimum benefit thresholds will remain at $1,200, $1,000, and $600
                  as applicable. Accrued pension amounts and threshold will not be
                  indexed for any reason in the future, exccept for Pension Benefit
                  Restoration provisions.

                  For all calculation purposes, and until certified financial information for
                  the period after July 1, 2016 is provided, Retiree pension and other
                  benefit information as of July 1, 2016 will be used for calculation of
                  benefits in the Plan.

                  The Total Monthly Benefit will be reduced until the lesser of the
                  following (the “Maximum Reduction”):

                      (a) 8.5% of the Total Monthly Benefit has been reduced;

                      (b) the Total Monthly Benefit has reached $1,200.00 per month; or

                      (c) 25% of the difference of the Total Monthly Benefit plus the
                          Monthly Medical Insurance benefit, if any, minus either (i)
                          $1,000 for those Retirees without access Social Security when
                          accruing their pension or (ii) $600 per month for those Retirees
                          with access to Social Security when accruing their pension.

                  If Class 39D votes to reject the Plan, the total reduction will be the lesser
                  of 10% or reduction of the Total Monthly Benefit to $1,200.00.

                  The Total Monthly Benefit will be reduced in the following order:

                     (a) Reduction of Christmas Bonus: First, the Monthly Christmas
                     Bonus will be reduced until the Total Monthly Benefit reaches the
                     Maximum Reduction or the Monthly Christmas Bonus has been
                     eliminated;

                     (b) Reduction of Summer Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, second, the
                     Monthly Summer Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Summer
                     Bonus has been eliminated;

                     (c) Reduction of Medicine Bonus: If the reduction of the Total
                     Monthly Benefit has not reached the Maximum Reduction, third, the
                     Monthly Medicine Bonus will be reduced until the Total Monthly
                     Benefit reaches the Maximum Reduction, or the Monthly Medicine
                     Bonus has been eliminated;

                     (d) Reduction of Base Pension: If the reduction of the Total Monthly
                     Benefit has not reached the Maximum Reduction, fourth, the Monthly
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                     Base Pension will be reduced until the Total Monthly Benefit reaches
                     the Maximum Reduction.

                  The receipt of Social Security benefits and the Monthly Medical Benefit
                  will not affect the reductions above.

                  Benefits Earned On or After May 4, 2017: Additional benefits for service
                  on or after May 4, 2017 will be frozen as of the Effective Date so that
                  participants are no longer able to accrue pension benefits after such date.
                  Future pension benefits will be calculated using service and pay accrued
                  through the Effective Date of the plan.

                  Participants who were not eligible to retire as of the Effective Date of the
                  plan will become eligible to retire with a DB benefit upon attaining age
                  63 and 10 years of service. The retirement benefits for service on or after
                  the Effective Date (including limitations on service transfer, DC and
                  Social Security benefits, and benefit eligibility / definition for different
                  cohorts based on age and service) will be modified consistent with the
                  terms and conditions set forth on the term sheet attached as Exhibit G to
                  the Plan.

                  Benefit Restoration. During the period from the Benefit Reduction Date
                  up to and including the conclusion of fiscal year 2033, if in a particular
                  fiscal year, the Excess Cash Surplus is equal to or greater than One
                  Hundred Million Dollars ($100,000,000.00), then ten percent (10%) of
                  such Excess Cash Surplus will be (a) allocated and applied pro rata to
                  each participant based on the amount of total reductions experienced by
                  each such participant during such fiscal year, and (b) paid to any such
                  participant on or before October 1 following the conclusion of such fiscal
                  year. However, such Benefit Restoration will be capped at the Monthly
                  Benefit Reduction times twelve (12) for each such participant for a
                  particular fiscal year.

                  Preemption: All provisions of the Commonwealth Constitution,
                  Commonwealth statutes, executive orders, rules, regulations, and policies
                  in effect as of the Confirmation Date that create, require or enforce
                  employee pension and other benefits that are modified by the Plan, to the
                  extent inconsistent with the treatment of Allowed Active TRS Participant
                  Claims in the Plan, are preempted as inconsistent with PROMESA.

                  Voting: Class 39D is Impaired by the Plan. Class 39D and each holder
                  of an Allowed Active TRS Participant Claim are entitled to vote to
                  accept or reject the Plan.

                  Allowed Amount of Claims: [___]


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                      Projected Recovery: [___]

 Class 39E:           Classification: Class 39E consists of claims by holders of accrued
                      benefits under System 2000 or Act 3, whose hire date was on or after
 System 2000
                      January 1, 2000.
 Participant Claims
                      Treatment:

                      Holders of Allowed System 2000 Participant Claims will receive the
                      amount of their contributions to these plans from 2000 through June 30,
                      2017, plus interest accrued at the rate provided therefor by Puerto Rico
                      law on such contributions through May 3, 2017. Such amount will be
                      deposited into the defined contribution accounts established under Act
                      106-2017.

                      If the total amount of contributions to these plans plus interest on such
                      contributions through the Petition Date is less than or equal to
                      $1,500,000,000.00, on the Effective Date, each holder of an Allowed
                      System 2000 Participant Claim will such holder’s Pro Rata share of such
                      aggregate amount.

                      If the total amount of contributions plus interest accrued through the
                      Petition Date exceeds $1,500,000,000.00, the Oversight Board and
                      AFSCME will develop a payment plan mutually acceptable to both
                      parties to pay out the remaining balance of the contributions in excess of
                      $1,500,000,000.00. In all events, the full amount of contributions will be
                      paid to all holders of Allowed System 2000 Participant Claims not later
                      than December 31, 2025.

                      As of the Effective Date, holders of Allowed System 2000 Participant
                      Claims with System 2000 contributions from 2000 through June 30,
                      2017 who are ineligible for benefits under Act 1 and Act 447 will no
                      longer be entitled to future system administered benefits, such as death
                      and disability benefits paid or administered by the retirement system
                      (including Act 127 benefits).

                      Allowed System 2000 Participant Claims who have already retired and
                      converted their contributions to a system paid annuity are not eligible for
                      the treatment described in this class and will not receive a cash payment,
                      but will be subject to the pension reduction applicable to other
                      Participants in accordance with Class 39A.

                      Preemption: All provisions of the Commonwealth Constitution,
                      Commonwealth statutes, executive orders, rules, regulations, and policies
                      in effect as of the Confirmation Date that create, require or enforce
                      employee pension and other benefits that are modified and/or preserved
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                              in whole or in part by the Plan, to the extent inconsistent with the
                              treatment of Allowed System 2000 Participant Claims in the Plan, are
                              preempted as inconsistent with PROMESA.

                              Voting: Class 39E is Impaired by the Plan. Class 39E and each holder of
                              an Allowed System 2000 Participant Claim are entitled to vote to accept
                              or reject the Plan.

                              Allowed Amount of Claims: [___]

                              Projected Recovery: [___]

  Class 40:                   Classification: Class 40 consists of all claims against the
                              Commonwealth related to those certain collective bargaining agreements
  AFSCME
  Employee Claims             between AFSCME and the Commonwealth, listed on Exhibit L to the
                              Plan.

                              Treatment:

                              Rejection of AFSCME Collective Bargaining Agreements. On the
                              Effective Date, the existing collective bargaining agreements between
                              the Commonwealth, its applicable agencies and instrumentalities, on the
                              one hand, and AFSCME and its related union affiliates, on the other
                              hand, will be rejected pursuant to Bankruptcy Code section 365 and
                              replaced with modified collective bargaining agreements to be entered
                              into in accordance with the terms and conditions set forth on Exhibit J to
                              the Plan.342 Such modifications include (i) a term of five (5) years
                              beginning as of the Effective Date, (ii) provisions regarding layoffs and
                              downsizing, (iii) terms regarding System 2000, and (iv) terms for sharing
                              Excess Cash Surplus.

                              Each holder of an Allowed AFSCME Employee Claim will receive the
                              following in full consideration, satisfaction, release and exchange of such
                              holder’s Allowed AFSCME Employee Claim resulting from such
                              rejection:

                              Additional AFSCME Distributions: On or as soon after the Effective
                              Date, AFSCME and its member employees will receive the following
                              additional payments and distributions set forth in Appendix II to Exhibit
                              H of the Plan: (i) a one-time payment of $500 to each of the Union
                              represented participants; (ii) a one-time payment of $5,000,000.00 to
                              AFSCME to be distributed as a one-time cash bonus to its member



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       See section II.B.1.b) of this Disclosure Statement for a summary of the terms of the AFSCME PSA.

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                           employees; and (iii) a one-time payment of $5,000,000.00 to AFSCME
                           as a support fee.

                           Pre-Petition Arbitration and Grievance Claims: Any distributions on
                           account of Claims for liquidated damage amounts from the disposition of
                           a pre-petition action brought due to a grievance and arbitration
                           procedures under the CBA between the Commonwealth and AFSCME
                           must be made by the Commonwealth to the claimant in each instance on
                           such date that is the later of (i) 30 days after the disposition and (ii) 60
                           days after the Effective Date.

                           Preemption: All provisions of the Commonwealth Constitution,
                           Commonwealth statutes, executive orders, rules, regulations, and policies
                           in effect as of the Confirmation Date that create, require or enforce
                           employee pension and other benefits that are modified by the Plan, to the
                           extent inconsistent with the treatment of Allowed AFSCME Employee
                           Claims in the Plan, are preempted as inconsistent with PROMESA.

                           Voting: Class 40 is Impaired by the Plan. Class 40 and each holder of an
                           Allowed AFSCME Employee Claim are entitled to vote to accept or
                           reject the Plan.

                           Allowed Amount of Claims: [___]

                           Projected Recovery from CW: [___]

  Class 41:                Classification: Class 41 consists of all claims against the
                           Commonwealth, except (a) any Claim treated in any other Class under
  CW General
                           the Plan, (b) an Inter-Instrumentality Claim, (c) any Claim subject to the
  Unsecured Claims
                           provisions of the ACR Order, or (d) any Claim determined by the Title
                           III Court not to be a CW General Unsecured Claim.

                           Treatment: On the Effective Date, each holder of an Allowed CW
                           General Unsecured Claim will receive its Pro Rata Share of the CW
                           GUC Recovery343 comprised of (a) $263,364,746.43 in New GO Bonds,
                           (b) $263,380,545.46 in COFINA Junior Lien Bonds, and (c) net
                           recoveries by the Avoidance Actions Trust allocable to the Avoidance
                           Actions CW Interests.

                           Distributions to a holder of an Allowed CW General Unsecured Claim
                           cannot exceed 100% of such holder’s Allowed CW General Unsecured
                           Claim. If Allowed CW General Unsecured Claims have been paid in
                           full, the excess value in the CW GUC Recovery will be redistributed, on

 343
       The CW GUC Recovery is shared among the CW General Unsecured Claims, CW/HTA Claims, CW/Convention
       Center Claims, CW/PRIFA Rum Tax Claims, and CW/MBA Claims.

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                           a pro rata basis, to the benefit of holders of Allowed CW/Convention
                           Claims, Allowed CW/HTA Claims, Allowed CW/PRIFA Rum Tax
                           Claims, and Allowed CW/MBA Claims.

                           Voting: Class 41 is Impaired by the Plan. Class 41 and each holder of
                           an Allowed CW General Unsecured Claim are entitled to vote to accept
                           or reject the Plan.

                           Estimated Allowed Amount of Claims: [$5,566,100,716]

                           Projected Recovery from CW: 3.9%

                           Election to be Treated as Convenience Claim (Class 52): Any holder of
                           an Allowed CW General Unsecured Claim may elect to (a) reduce the
                           amount of such Allowed CW General Unsecured Claim to $10,000.00,
                           and (b) have such reduced claim be treated pursuant to Class 52
                           (Convenience Claims), receiving a projected recovery of 100% of such
                           reduced claim. Any holder of multiple Allowed CW General Unsecured
                           Claims may elect to (a) reduce the amount of such multiple Allowed CW
                           General Unsecured Claims to an aggregate amount of $20,000.00, and
                           (b) have such reduced claims be treated pursuant to Class 52
                           (Convenience Claims), receiving a projected recovery of 100% of such
                           reduced claims.

                           Such election must be made on the ballot and receive by the Debtors on
                           or prior to the Ballot Date. Any election received on the Debtors after
                           the Ballot Date will not be binding on the Debtors.

  Class 42:                Classification: Class 42 consists of all claims against the
                           Commonwealth arising from or related to the Commonwealth’s retention
  CW/HTA Claims
                           of certain funds historically transferred to HTA pursuant to the
                           provisions of the Commonwealth Constitution, any statute, regulation, or
                           executive order including, without limitation, claims related to the rights
                           or obligations arising under (a) Section 8 of Article VI of the
                           Commonwealth Constitution, 9 L.P.R.A. §2021, 13 L.P.R.A. §31751
                           (a)(3)(C), 23 L.P.R.A. §104(c), and Commonwealth of Puerto Rico
                           Administrative Bulletin Nos. OE-2015-46, OE-2016-14, OE-2016-18,
                           OE-2016-30 and OE-2016-31 and (b) the indebtedness issued by HTA
                           pursuant to that certain (i) Resolution No. 68-18, adopted June 13, 1968,
                           and (ii) Resolution No. 98-06, adopted February 26, 1998.

                           Treatment: On the Effective Date, each holder of an Allowed CW/HTA
                           Claim will receive its Pro Rata Share of the CW GUC Recovery344

 344
       The CW GUC Recovery is shared among the CW General Unsecured Claims, CW/HTA Claims, CW/Convention
       Center Claims, CW/PRIFA Rum Tax Claims, and CW/MBA Claims.

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                           comprised of (a) $263,364,746.43 in New GO Bonds, (b)
                           $263,380,545.46 in COFINA Junior Lien Bonds, and (c) net recoveries
                           by the Avoidance Actions Trust allocable to the Avoidance Actions CW
                           Interests.

                           Voting: Class 42 is Impaired by the Plan. Class 42 and each holder of
                           an Allowed CW/HTA Claim are entitled to vote to accept or reject the
                           Plan.

                           Allowed Amount of Claims: $5,786,167,494

                           Projected Recovery from CW: 3.9%

  Class 43:                Classification: Class 43 consists of all claims against the
  CW/Convention            Commonwealth arising from or related to the Commonwealth’s retention
                           of certain funds historically transferred to CCDA pursuant to the
  Center Claims
                           provisions of the Commonwealth Constitution, any statute, regulation, or
                           executive order including, without limitation, claims related to the rights
                           or obligations arising under (a) Section 8 of Article VI of the
                           Commonwealth Constitution, 13 L.P.R.A. §2271v, 23 L.P.R.A. §104(c),
                           and the Commonwealth of Puerto Rico Administrative Bulletin Nos. OE-
                           2015-46, OE-2016-14, and OE-2016-31 and (b) the indebtedness issued
                           by CCDA pursuant to that certain Trust Agreement, dated as of March
                           24, 2006, between CCDA and JPMorgan Chase Bank, N.A., as trustee.

                           Treatment: On the Effective Date, each holder of an Allowed
                           CW/Convention Center Claim will receive its Pro Rata Share of the CW
                           GUC Recovery345 comprised of (a) $263,364,746.43 in New GO Bonds,
                           (b) $263,380,545.46 in COFINA Junior Lien Bonds, and (c) net
                           recoveries by the Avoidance Actions Trust allocable to the Avoidance
                           Actions CW Interests.

                           Voting: Class 43 is Impaired by the Plan. Class 43 and each holder of
                           an Allowed CW/Convention Claim are entitled to vote to accept or reject
                           the Plan.

                           Allowed Amount of Claims: $414,393,096

                           Projected Recovery from CW: 3.9%

  Class 44:                Classification: Class 44 consists of all claims against the
                           Commonwealth arising from or related to the Commonwealth’s retention
  CW/PRIFA Rum
                           of certain funds historically transferred to PRIFA pursuant to the
  Tax Claims

 345
       The CW GUC Recovery is shared among the CW General Unsecured Claims, CW/HTA Claims, CW/Convention
       Center Claims, CW/PRIFA Rum Tax Claims, and CW/MBA Claims.

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                           provisions of the Commonwealth Constitution, any statute, regulation, or
                           executive order including, without limitation, claims related to the rights
                           or obligations arising under (a) Section 8 of Article VI of the
                           Commonwealth Constitution, 3 L.P.R.A. §1914, and Commonwealth of
                           Puerto Rico Administrative Bulletin Nos. OE-2015-46, OE-2016-27, and
                           OE-2016-30, and (b) the indebtedness issued by PRIFA pursuant to that
                           certain Trust Agreement, dated as of October 1, 1988, between PRIFA
                           and U.S. Bank Trust National Association, as successor trustee.

                           Treatment: On the Effective Date, each holder of an Allowed
                           CW/PRIFA Rum Tax Claim will receive its Pro Rata Share of the CW
                           GUC Recovery346 comprised of (a) $263,364,746.43 in New GO Bonds,
                           (b) $263,380,545.46 in COFINA Junior Lien Bonds, and (c) net
                           recoveries by the Avoidance Actions Trust allocable to the Avoidance
                           Actions CW Interests.

                           Voting: Class 44 is Impaired by the Plan. Class 44 and each holder of
                           an Allowed CW/PRIFA Rum Tax Claim are entitled to vote to accept or
                           reject the Plan.

                           Allowed Amount of Claims: $1,892,926,265

                           Projected Recovery from CW: 3.9%

  Class 45:                Classification: Class 45 consists of all claims against the
                           Commonwealth arising from or related to the Commonwealth’s retention
  CW/MBA Claims
                           of certain funds historically transferred to MBA related to the rights or
                           obligations arising under the provisions of the Commonwealth
                           Constitution, any statute, regulation, or executive order.

                           Treatment: On the Effective Date, each holder of an Allowed CW/MBA
                           Claim will receive its Pro Rata Share of the CW GUC Recovery347
                           comprised of (a) $263,364,746.43 in New GO Bonds, (b)
                           $263,380,545.46 in COFINA Junior Lien Bonds, and (c) net recoveries
                           by the Avoidance Actions Trust allocable to the Avoidance Actions CW
                           Interests.

                           Voting: Class 45 is Impaired by the Plan. Class 45 and each holder of
                           an Allowed CW/MBA Claim are entitled to vote to accept or reject the
                           Plan.


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       The CW GUC Recovery is shared among the CW General Unsecured Claims, CW/HTA Claims, CW/Convention
       Center Claims, CW/PRIFA Rum Tax Claims, and CW/MBA Claims.
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       The CW GUC Recovery is shared among the CW General Unsecured Claims, CW/HTA Claims, CW/Convention
       Center Claims, CW/PRIFA Rum Tax Claims, and CW/MBA Claims.

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                   Allowed Amount of Claims: $28,903,666

                   Projected Recovery from CW: 3.9%

 Class 46:         Classification: Class 46 consists of all claims against the
                   Commonwealth arising from or related to (a) indebtedness payable from
 CW
 Appropriations    appropriations of the Commonwealth Legislature under existing loans or
                   legislative resolutions (including notes held by PFC for the repayment of
 Claims
                   PFC indebtedness), and (b) loans payable from appropriations by the
                   Commonwealth Legislature under existing laws or legislative resolutions
                   held by the GDB Restructuring Authority or the GDB Public Entity
                   Trust.

                   Treatment: Allowed CW Appropriations Claims will not receive a
                   distribution pursuant to the Plan.

                   Voting: Class 46 is Impaired by the Plan. Class 46 and each holder of
                   an Allowed CW Appropriations Claim are deemed to have rejected the
                   Plan.

                   Estimated Allowed Amount of Claims: [___]

                   Projected Recovery from CW: 0%

 Class 47:         Classification: Class 47 consists of all claims, to the extent determine
                   pursuant to a final order, against the Debtors or their assets arising from
 CW 510(b)
                   or relating to (a) rescission of a purchase or sale of an existing security of
 Subordinated
                   a Debtor or an affiliate of a Debtor, (b) purchase, sale, or retention of
 Claims
                   such a security, or (c) reimbursement, indemnification, or contribution
                   allowed under Bankruptcy Code section 502 on account of such claim.

                   Treatment: Allowed CW 510(b) Subordinated Claims will not receive a
                   distribution pursuant to the Plan.

                   Voting: Class 47 is Impaired by the Plan. Class 47 and each holder of a
                   CW 510(b) Subordinated Claim are deemed to have rejected the Plan.

                   Estimated Allowed Amount of Claims: $0

                   Projected Recovery from CW: 0%

 Class 48:         Classification: Class 48 consists of all claims against ERS arising from
                   or related to the ERS Bonds, including interest accrued thereon during
 ERS Bond Claims
                   the period up to, but not including, the ERS Petition Date.

                   The ERS Bonds include the following:


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                                                                             Issue Date
                             Senior Pension Funding Bonds, Series 2008A      1/31/08
                             Senior Pension Funding Bonds, Series 2008B      6/02/08
                             Senior Pension Funding Bonds, Series 2008C      6/30/08



                     Election to Settle ERS Bond Claim: Each holder of an ERS Bond Claim
                     may elect to have its ERS Bond Claim be treated as a Settling ERS Bond
                     Claim (Class 48) and receive a Pro Rata Share of the ERS Bond
                     Settlement.

                     If a holder of an ERS Bond Claim elects, deemed or otherwise, to accept
                     the ERS Bond Settlement, such claim will be deemed to be a Settling
                     ERS Bond Claim and the holder will (a) have relinquished its rights to
                     receive distributions in accordance with Class 48, (b) release and
                     discharge the Commonwealth and the United States of America from any
                     and all claims and causes of action asserted, or which could have been
                     asserted, in the ERS Takings Action and the ERS Litigation, and (c) be
                     deemed to accept the Plan as a holder of a claim in Class 49.

                     If a holder of an ERS Bond Claim elects not to accept the ERS Bond
                     Settlement, such holder will be a participant in the ERS Litigation. On
                     the Effective Date, such holder’s Pro Rata Share of the ERS Bond Cash
                     will be placed in the ERS Reserve as if such claim had been an Allowed
                     ERS Bond Claim as of the Effective Date, pending the entry of a final,
                     non-appealable order resolving or settling the ERS Litigation.

                     Treatment: On the Effective Date, if the claimholder shall have
                     prevailed in the ERS Litigation, each holder of an Allowed ERS Bond
                     Claim will receive its Pro Rata Share of ERS Cash determined to be the
                     collateral for payment of the ERS Bonds after any collateral has been
                     sold to the Commonwealth in accordance with the Plan.

                     Voting: Class 48 is Impaired by the Plan. Class 48 and each holder of
                     an Allowed ERS Bond Claim are entitled to vote to accept or reject the
                     Plan.

                     Amount of Claims: $3,168,698,777.00 (disputed)

                     Projected Recovery from ERS: [___]

 Class 49:         Classification: Class 49 consists of all claims against ERS by a holder
 Settling ERS Bond of an ERS Bond Claim that elects, deemed or otherwise, to participate in
                   the ERS Bond Settlement.
 Claims


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                    Treatment: On the Effective Date, each holder of an Allowed Settling
                    ERS Bond Claim will (i) receive ERS Cash determined to be the
                    collateral for payment of the ERS Bonds after any collateral has been
                    sold to the Commonwealth in accordance with the Plan, (ii) release and
                    discharge the Commonwealth and the United States of America from any
                    and all claims and causes of action asserted, or which could have been
                    asserted, in the ERS Takings Action and the ERS Litigation, and (iii) be
                    released from all claims and causes of action set forth in the ERS
                    Invalidity Actions.

                    Voting: Class 49 is Impaired by the Plan. However, holders of Claims
                    in Class 49 elected to be treated in such Class and, therefore, are deemed
                    to accept the Plan.

                    Allowed Amount of Claims: The amount of Claims in Class 49 entitled
                    to a distribution depends upon how many holders of ERS Bond Claims in
                    Class 48 elect to be treated under Class 49.

                    Projected Recovery from ERS: 12.7%

 Class 50:          Classification: Class 50 consists of all claims against ERS that are not
                    an ERS Bond Claim or Settling ERS Bond Claim.
 ERS General
 Unsecured Claims   Treatment: On the Effective Date, each holder of an Allowed ERS
                    General Unsecured Claim will receive its Pro Rata Share of the ERS
                    GUC Pool. The ERS GUC Pool consists of (a) $5,000,000 in original
                    principal amount of New GO Bonds plus (b) the net recoveries of the
                    Avoidance Actions Trust. The total amount in the ERS GUC Pool
                    available for distribution may not exceed $10,000,000. Distributions to a
                    holder of an Allowed ERS General Unsecured Claim cannot exceed
                    100% of such holder’s Allowed ERS General Unsecured Claim.

                    Amounts in the ERS GUC Pool in excess of the aggregate amount of
                    Allowed ERS General Unsecured Claims, or $10,000,000 will be
                    reallocated, on a pro rata basis, to holders of Allowed CW/Convention
                    Center Claims, Allowed CW/HTA Claims, Allowed CW/MBA Claims,
                    and Allowed CW/PRIFA Rum Tax Claims.

                    Voting: Class 50 is Impaired by the Plan. Class 50 and each holder of
                    an Allowed ERS General Unsecured Claim are entitled to vote to accept
                    or reject the Plan.

                    Estimated Allowed Amount of Claims: [___]

                    Projected Recovery from ERS: [___]


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                  Election to be Treated as Convenience Claim (Class 52): Any holder of
                  an Allowed ERS General Unsecured Claim in an amount greater than
                  $10,000.00 may elect to (a) reduce the amount of such Allowed ERS
                  General Unsecured Claim to $10,000.00, and (b) have such reduced
                  claim be treated pursuant to Class 52 (Convenience Claims), receiving a
                  projected recovery of 100% of such reduced claim.

                  Any holder of multiple Allowed ERS General Unsecured Claims may
                  elect to (a) reduce the amount of such multiple Allowed ERS General
                  Unsecured Claims to an aggregate amount of $20,000.00, and (b) have
                  such reduced claims be treated pursuant to Class 52 (Convenience
                  Claims), receiving a projected recovery of 100% of such reduced claims.

                  Such election must be made on the ballot and receive by the Debtors on
                  or prior to the Ballot Date. Any election received on the Debtors after
                  the Ballot Date will not be binding on the Debtors.

 Class 51:        Classification: Class 51 consists of all claims against the
                  Commonwealth by a member of the class of vehicle owners who
 Gracia Gracia
                  purchased private insurance after paying the compulsory insurance
 Claims
                  premium, certified in the Gracia Gracia CW Action and Gracia Gracia
                  Federal Action.

                  Treatment: On the Effective Date, the settlement reached and approved
                  in (a) the Gracia Gracia CW Action pursuant to that certain Joint Motion
                  on Partial Agreement and Stipulation, dated March 29, 2016, as
                  approved pursuant to that certain Partial Judgment, dated July 8, 2016,
                  and (b) the Gracia Gracia Federal Action pursuant to that certain
                  Stipulation for Permanent Injunction, dated February 29, 2016, as
                  approved pursuant to that certain judgment dated March 1, 2016, will be
                  assumed.

                  Member of the class certified in the Gracia Gracia CW Action and the
                  Gracia Gracia Federal Action, and the counsel to such classes, will
                  receive funds in accordance with the terms and provisions of the
                  settlements assumed above. Pursuant to the Confirmation Order, all
                  pending motions, applications, litigations, and appeals with respect to the
                  Gracia Gracia CW Action and the Gracia Gracia Federal Action will be
                  withdrawn with prejudice.

                  Voting: Class 51 is unimpaired by the Plan. Class 51 and each holder of
                  an Allowed Gracia Gracia Claim are deemed to have accepted the Plan.

                  Allowed Amount of Claims: [___]

                  Projected Recovery from CW: 100%

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  Class 52:       Classification: Class 52 consists of (a) all Allowed CW General
  Convenience     Unsecured Claims or Allowed ERS General Unsecured Claim that are
                  equal to or less than $10,000.00, (b) claims held by holders of Allowed
  Claims
                  CW General Unsecured Claims or Allowed ERS General Unsecured
                  Claims, as applicable, that have elected to reduce the amount of such
                  Allowed CW General Unsecured Claim to $10,000.00. In addition,
                  Class 52 includes claims by holders of multiple Allowed CW General
                  Unsecured Claims or Allowed ERS General Unsecured Claims that have
                  elected to reduce all such Claims to an aggregate amount of $20,000.00.

                  Treatment: On the Effective Date (or the date the Convenience Claim
                  becomes an Allowed Claim), each holder of an Allowed Convenience
                  Claim will receive the full amount of such Allowed Convenience Claim,
                  in cash.

                  Voting: Class 52 is unimpaired by the Plan. Class 52 and each holder of
                  an Allowed Convenience Claim are deemed to have accepted the Plan.
                  Holders of Claims that have elected to have their Claim reduced and be
                  treated as a Convenience Claim are deemed to accept the Plan.

                  Estimated Allowed Amount of Claims: [___]

                  Projected Recovery from the Debtors: 100%


 F.    Provisions Regarding the New GO Bonds, COFINA Junior Lien Bonds, and
       Additional Indebtedness

      THE NEW GO BONDS WILL BE ISSUED PURSUANT TO THE TERMS AND
 PROVISIONS OF THE NEW GO BONDS INDENTURE. THE NEW GO BONDS
 INDENTURE CONSTITUTES PART OF THE PLAN SUPPLEMENT AND WILL BE
 FILED SEPARATELY WITH THE TITLE III COURT AS SOON AS PRACTICABLE
 (BUT IN NO EVENT LATER THAN SEVEN (7) DAYS) PRIOR TO THE VOTING
 DEADLINE, OR ON SUCH OTHER DATE AS THE TITLE III COURT ESTABLISHES,
 IN ACCORDANCE WITH THE DISCLOSURE STATEMENT ORDER. PURSUANT TO
 THE PLAN SUPPORT AGREEMENT, THE NEW GO BONDS INDENTURE WILL BE
 CONSISTENT WITH THE PLAN SUPPORT AGREEMENT IN ALL RESPECTS AND
 OTHERWISE BE IN FORM AND SUBSTANCE REASONABLY SATISFACTORY TO
 EACH PARTY TO THE PLAN SUPPORT AGREEMENT. THE DESCRIPTION OF THE
 TERMS AND PROVISIONS OF THE NEW GO BONDS AND THE NEW GO BONDS
 INDENTURE IN THIS SECTION VI.F OF THE DISCLOSURE STATEMENT
 REPRESENTS THE DEBTORS’ BEST AVAILABLE DESCRIPTION AS OF THE DATE
 HEREOF, AND THE ACTUAL TERMS AND PROVISIONS OF THE NEW GO BONDS
 AND THE NEW GO BONDS INDENTURE ARE SUBJECT TO MATERIAL CHANGE
 WITHOUT FURTHER NOTICE BY THE DEBTORS EXCEPT AS PROVIDED IN THE
 PLAN SUPPLEMENT. TO THE EXTENT THERE IS ANY CONFLICT BETWEEN THE

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 DESCRIPTION IN THIS SECTION VI.F OF THE DISCLOSURE STATEMENT AND
 THE NEW GO BONDS INDENTURE, THE NEW GO BONDS INDENTURE GOVERNS
 IN ALL RESPECTS.

      THE COFINA JUNIOR LIEN BONDS WILL BE ISSUED PURSUANT TO THE
 TERMS AND PROVISIONS OF THE COFINA JUNIOR LIEN BONDS INDENTURE.
 THE COFINA JUNIOR LIEN BONDS INDENTURE CONSTITUTES PART OF THE
 PLAN SUPPLEMENT AND WILL BE FILED SEPARATELY WITH THE TITLE III
 COURT AS SOON AS PRACTICABLE (BUT IN NO EVENT LATER THAN SEVEN (7)
 DAYS) PRIOR TO THE VOTING DEADLINE, OR ON SUCH OTHER DATE AS THE
 TITLE III COURT ESTABLISHES, IN ACCORDANCE WITH THE DISCLOSURE
 STATEMENT ORDER. PURSUANT TO THE PLAN SUPPORT AGREEMENT, THE
 COFINA JUNIOR LIEN BONDS INDENTURE WILL BE CONSISTENT WITH THE
 PLAN SUPPORT AGREEMENT IN ALL RESPECTS AND OTHERWISE BE IN FORM
 AND SUBSTANCE REASONABLY SATISFACTORY TO EACH PARTY TO THE PLAN
 SUPPORT AGREEMENT. THE DESCRIPTION OF THE TERMS AND PROVISIONS
 OF THE COFINA JUNIOR LIEN BONDS AND THE COFINA JUNIOR LIEN BONDS
 INDENTURE IN THIS SECTION VI.F OF THE DISCLOSURE STATEMENT
 REPRESENTS THE DEBTORS’ BEST AVAILABLE DESCRIPTION AS OF THE DATE
 HEREOF, AND THE ACTUAL TERMS AND PROVISIONS OF THE COFINA JUNIOR
 LIEN BONDS AND THE COFINA JUNIOR LIEN BONDS INDENTURE ARE SUBJECT
 TO MATERIAL CHANGE WITHOUT FURTHER NOTICE BY THE DEBTORS
 EXCEPT AS PROVIDED IN THE PLAN SUPPLEMENT. TO THE EXTENT THERE IS
 ANY CONFLICT BETWEEN THE DESCRIPTION IN THIS SECTION VI.F OF THE
 DISCLOSURE STATEMENT AND THE COFINA JUNIOR LIEN BONDS INDENTURE,
 THE COFINA JUNIOR LIEN BONDS INDENTURE GOVERNS IN ALL RESPECTS.

        1.      General

        The New GO Bonds will be issued pursuant to the terms and provisions of the New GO
 Bonds Indenture and will be distributed as set forth in the Plan. The definitive documentation
 governing the New GO Bonds generally shall provide for the terms set forth in this summary,
 subject to the results of any election permitted by the Plan and other adjustments permitted or
 required by the Plan.

         The COFINA Junior Lien Bonds will be issued pursuant to the terms and provisions of the
 COFINA Junior Lien Bonds Indenture and will be distributed as set forth in the Plan. The
 definitive documentation governing the COFINA Junior Lien Bonds generally shall provide for
 the terms set forth in this summary, subject to the results of any election permitted by the Plan and
 other adjustments permitted or required by the Plan.

         This summary does not purport to be complete and is subject to, and is qualified in its
 entirety by reference to, all the provisions of the New GO Bonds, the New GO Bonds Indenture,
 the COFINA Junior Lien Bonds, the COFINA Junior Lien Bonds Indenture and the Plan.



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        2.      The New GO Bonds

        On the Effective Date, Reorganized Commonwealth shall issue the New GO Bonds as
 current interest bonds with seven (7) different maturity dates, having an aggregate original
 principal amount of $5,334,295,000. The New GO Bonds will be secured by a statutory first lien
 and pledge of the Debt Service Reserve Fund and the Debt Service Fund and a pledge of the
 Commonwealth’s good faith, credit and taxing powerin accordance with Article VI, Section 2 of
 the Commonwealth Constitution and applicable laws of the Commonwealth as of the Effective
 Date. The New GO Bonds will be dated as of, and will accrue interest from, March 1, 2020.

      The principal amounts, maturities, interest rates, and amortization schedules for the
 New GO Bonds are as shown in Exhibit I to the Plan.

         Interest on the New GO Bonds will be paid on [July 1, 2020 and each January 1 and July
 1 thereafter] until the New GO Bonds have been paid or satisfied in full in accordance with their
 terms. All debt service on the New GO Bonds that is not paid when due, whether at or prior to
 final scheduled maturity, shall remain due and outstanding until paid in full and shall be paid.
 Interest shall accrue on such overdue debt service at the regular coupon rate, and shall compound
 semi-annually, until the applicable New GO Bonds are paid or satisfied in full in accordance with
 their terms. Interest on the New GO Bonds will be computed on the basis of a 360-day year
 consisting of twelve 30-day months. The New GO Bonds will not carry any default rate of interest.
 The New GO Bonds will be issued as fully registered bonds in denominations to be specified in
 the New GO Bonds Indenture.

        Notwithstanding anything contained in the Plan to the contrary, to the extent that Taxable
 New GO Bonds are issued, such Taxable New GO Bonds shall be distributed to holders of Allowed
 Claims in the following order of priority: (1) first, to holders of Allowed Taxable Election CW
 Claims, and (2) second, pro rata to all other holders of Allowed Claims which are recipients of
 New GO Bonds, without duplication.

                        Call Provisions/Optional Redemption

         The New GO Bonds maturing on July 1, 2021, July 1, 2023, July 1, 2025, July 1, 2027 and
 July 1, 2029 are not subject to redemption prior to maturity.

         The New GO Bonds maturing on and after July 1, 2030 are subject to redemption prior to
 maturity, at the election or direction of Reorganized Commonwealth, in whole or in part (and, if
 in part, in an authorized denomination provided for under the New GO Bonds Indenture), in any
 order of maturity, on any date that is on or after July 1, 2030, upon thirty (30) days’ prior written
 notice, on and after July 1, 2029, at a redemption price equal to the par amount thereof, plus
 accrued interest to the redemption date.

        The New GO Bonds are subject to mandatory sinking fund redemption as set forth in
 Exhibit I of the Plan.

        The call prices for New GO Bonds maturing on July 1, 2033 and July 1, 2039 are as
 follows: (i) July 1, 2030 through and including to June 30, 2031 is 103% of Par, (ii) July 1, 2031
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 through and including June 30, 2032 is 102% of Par, (iii) July 1, 2032 through and including June
 30, 2033 is 101% of Par, and (iv) July 1, 2033 onwards is 100% of Par.

        If less than all the New GO Bonds of a particular tenor are called for redemption prior to
 maturity, Reorganized Commonwealth will select the maturity or maturities of such tenor of the
 New GO Bonds to be redeemed, and the Depository Trust Company, on behalf of the New GO
 Bonds Trustee, will select the New GO Bonds within the same maturity of such series to be
 redeemed by means of a random lottery.

        The New GO Bonds are not subject to redemption prior to maturity at the election of the
 holders thereof.

                       Deemed Annual Allocation

         Until the New GO Bonds have been paid or satisfied in full in accordance with their terms,
 each fiscal year, the Commonwealth shall satisfy its obligations to holders of New GO Bonds, by
 allocating to the payment of principal and interest with respect to the New GO Bonds issued to
 such holders, first, the 1.03% property tax levied pursuant to Act 83-1991 and collected by the
 Municipal Revenues Collection Center with respect to the New GO Bonds until the total amount
 of such property taxes shall have been paid to holders of the New GO Bonds, second, the monies
 arising from the operation of Article VI, Section 8 of the Commonwealth Constitution until the
 total amount of such monies shall have been paid to holders of the New GO Bonds, and, third,
 other resources of the Commonwealth.

                       Monthly Deposits of Interest and Principal

         Until the New GO Bonds have been paid or satisfied in full in accordance with their terms,
 on the first (1st) Business Day of each calendar month, the Reorganized Commonwealth shall
 deposit Cash in the Debt Service Fund with the New GO Bonds Trustee in the aggregate amount
 equal to (i) one-sixth (1/6) of the Reorganized Commonwealth’s semi-annual obligation with
 respect to the payment of interest to accrue on the New GO Bonds through the next interest
 payment date, and (ii) one twelfth (1/12) of the Reorganized Commonwealth’s annual obligation
 with respect to the payment of principal on the New GO Bonds. Upon deposit thereof, the New
 GO Bond Trustee, on behalf of the holders of New GO Bonds, shall have a valid and perfected
 statutory lien and security interest on such monies deposited, which monies shall be held in trust
 for the benefit of the New GO Bonds. On the Effective Date, the Commonwealth will deposit into
 the Debt Service Fund such amounts as may be necessary to account for the New GO Bonds being
 issued as of the Deemed Issuance Date.

                       Certain Covenants of Reorganized Commonwealth Relating to the
                       New GO bonds

        The Definitive Documents, including the New GO Bonds Indenture, the New GO Bond
 Legislation and/or the Confirmation Order, will contain customary terms, conditions and
 covenants, including, without limitation, covenants by Reorganized Commonwealth that it will,
 among other things:

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                          (i)     take no action that would (A) impair the monthly deposits of
                  interest and principal referred to in Section 57.1(e) of the Plan, (B) limit or alter
                  the rights vested in the Debtors or Reorganized Debtors in accordance with the
                  Plan and the Confirmation Order to fulfill the terms of any agreements with the
                  holders of the New GO Bonds, or (C) impair the rights and remedies of the
                  holders of the New GO Bonds; and

                          (ii)   do and perform all acts and things permitted by law and reasonably
                  necessary or desirable to assure that interest paid to holders of any federally tax-
                  exempt New GO Bonds shall be and remain excludable from gross income for
                  federal income tax purposes.

                       Debt Service Reserve Fund

         The New GO Bonds shall have a Debt Service Reserve Fund into which the Debt Service
 Reserve Fund Requirement (i) shall be funded (A) on the Effective Date or (B) in five (5) equal
 annual installments over an initial five-year period from and after the Effective Date, which
 election shall be made, in the joint and absolute discretion of the Oversight Board and the
 Commonwealth, on or prior to the Effective Date, (ii) once deposited, shall be held in trust by the
 New GO Bonds Trustee for the benefit of holders of New GO Bonds, and (iii) shall be subject to
 a statutory lien once deposited with the New GO Bonds Trustee for the benefit of holders of New
 GO Bonds.

                       Rights of Acceleration

        The New GO Bonds shall not have rights of acceleration.

                       Residual Interest of the Commonwealth

         Any funds held by the New GO Bonds Trustee in excess of the required deposits pursuant
 to the New GO Bonds Indenture will be released from the New GO Bonds Indenture to, or at the
 discretion of, the Commonwealth, including to the extent funds remain in the Debt Service Reserve
 Fund upon payment or satisfaction in full of the New GO Bonds in accordance with their terms,
 such amounts will revert and be distributed to, or at the direction of, the Commonwealth.

                       Direct Right of Action

         Pursuant to the New GO Bonds Indenture, and subject to such additional rights as provided
 therein, the New GO Bonds Trustee shall have a direct right of action to enforce the terms of the
 New GO Bonds Indenture, including, without limitation, with respect to funding deposits in the
 Debt Service Fund and the Debt Service Reserve Fund and seeking specific performance remedies
 for any breach of covenants in the New GO Bonds Indenture.

                       New GO Bonds Indenture

        Provisions governing, among other things, amendments of or supplements to the New GO
 Bonds Indenture, events of default, remedies, priority of payments after default under the New GO
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 Bonds Indenture, and defeasance under the New GO Bonds Indenture will be set forth in the New
 GO Bonds Indenture. The New GO Bonds Indenture will be executed and delivered on or prior
 to the Effective Date.

                       Governing Law

         The New GO Bonds Indenture and the New GO Bonds issued thereunder will be governed
 by the laws of the State of New York, without giving effect to principals of conflicts of law.

        3.      Issuance of COFINA Junior Lien Bonds

         On the Effective Date, Reorganized Commonwealth shall cause COFINA to issue the
 COFINA Junior Lien Bonds, consisting of CIBs, as current interest bonds with seven (7) different
 maturity dates, having an aggregate original principal amount of $5,334,615,000. The COFINA
 Junior Lien Bonds will be securities payable from the Conveyed Commonwealth Share and shall,
 in all respects, be subject to the First Dollars Funding obligations with respect to the COFINA
 Senior Lien Bonds. The COFINA Junior Lien Bonds will be dated as of, and will accrue interest
 from, March 1, 2020. Repayment of the COFINA Junior Lien Bonds shall be secured by a second
 lien on the COFINA Pledged Taxes that is subordinated in all respects, including, without
 limitation, in respect of payment, funding and remedies, to the COFINA Senior Lien Bonds.
 Repayment of the COFINA Junior Lien Bonds shall not be payable from the COFINA Revenues.

 The principal amounts, maturities, interest rates, and amortization schedules for the COFINA
 Junior Lien Bonds are as shown in Exhibit J to the Plan.

         Interest on the COFINA Junior Lien Bonds will be paid on [July 1, 2020 and each January
 1 and July 1 thereafter] until the COFINA Junior Lien Bonds are paid or satisfied in full in
 accordance with their terms. All debt service on the COFINA Junior Lien Bonds that is not paid
 when due, whether at or prior to final scheduled maturity, shall remain due and outstanding until
 paid in full and shall be paid. Interest shall accrue on such overdue debt service at the regular
 coupon rate, and shall compound semi-annually, until the applicable COFINA Junior Lien Bonds
 are paid or satisfied in full in accordance with their terms. Interest on the COFINA Junior Lien
 Bonds will be computed on the basis of a 360-day year consisting of twelve 30-day months. The
 COFINA Junior Lien Bonds will not carry any default rate of interest. The COFINA Junior Lien
 Bonds will be issued as fully registered bonds in denominations to be specified in the COFINA
 Junior Lien Bonds Indenture.

         To the extent the Government Parties, each acting in its sole and absolute discretion,
 determine to apply for ratings on the COFINA Junior Lien Bonds, the Government Parties shall
 use their commercially reasonable best efforts to obtain ratings on the COFINA Junior Lien Bonds,
 including promptly responding in good faith to documentary or other requests, following
 consultation with up to two (2) Initial PSA Creditors jointly designated by the Constitutional Debt
 Group, the GO Group, the LCDC and the QTCB Group, each of which shall have executed a
 confidentiality agreement in form and substance satisfactory to the Oversight Board and restricting
 such Initial PSA Creditors from trading New GO Bonds and COFINA Junior Lien Bonds,
 including based upon the Government Parties’ judgment with respect to expected benefits.

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         Notwithstanding anything contained in the Plan to the contrary, to the extent that Taxable
 COFINA Junior Lien Bonds are issued, such Taxable COFINA Junior Lien Bonds shall be
 distributed to holders of Allowed Claims in the following order of priority: (1) first, to holders of
 Allowed Taxable Election CW Claims, and (2) second, pro rata to all other holders of Allowed
 Claims and recipients of COFINA Junior Lien Bonds, without duplication.

                        Call Provisions/Optional Redemption

        The COFINA Junior Lien Bonds maturing on July 1, 2021, July 1, 2023, July 1, 2025, July
 1, 2027 and July 1, 2029 are not subject to optional redemption prior to maturity.

         The COFINA Junior Lien Bonds maturing on and after July 1, 2030 are subject to
 redemption prior to maturity, at the election or direction of Reorganized Commonwealth, in whole
 or in part (and, if in part, in an authorized denomination provided for under the COFINA Junior
 Lien Bonds Indenture), in any order of maturity, on any date that is on and after July 1, 2030, upon
 thirty (30) days’ prior written notice at a redemption price equal to the par amount thereof, plus
 accrued interest to the redemption date.

         The COFINA Junior Lien Bonds are subject to mandatory sinking fund redemption as set
 forth in Exhibit J to the Plan.

        The call prices for the COFINA Junior Lien Bonds maturing on July 1, 2033 and July 1,
 2039 are as follows: (i) July 1, 2030 through and including June 30, 2031 is 103% of Par, (ii) July
 1, 2031 through and including June 30, 2032 is 102% of Par, (iii) July 1, 2032 through and
 including June 30, 2033 is 101% of Par and (iv) July 1, 2033 onwards is 100% of Par.

                        Certain Covenants for COFINA Junior Lien Bonds

        The Definitive Documents, including the COFINA Junior Lien Bonds Indenture and the
 COFINA Junior Lien Bond Legislation, will contain customary terms, conditions and covenants
 for similarly structured bonds, including, without limitation, covenants by Reorganized
 Commonwealth that it will:

                          (i)     take no action that would (A) impair COFINA’s right to receive
                  the COFINA Pledged Taxes, including the Conveyed Commonwealth Share, (B)
                  limit or alter the rights vested in Reorganized Commonwealth or COFINA in
                  accordance with the Plan and the Confirmation Order to fulfill the terms of any
                  agreements with the holders of the COFINA Junior Lien Bonds, (C) materially
                  and adversely impair the collection of the COFINA Pledged Taxes in any fiscal
                  year, or (D) impair the rights and remedies of the holders of the COFINA Junior
                  Lien Bonds with respect to the COFINA Pledged Taxes; and

                         (ii)    do and perform all acts and things permitted by law and reasonably
                  necessary or desirable to assure that interest paid to holders of any federally tax-
                  exempt COFINA Junior Lien Bonds shall be and remain excludable from gross
                  income for federal income tax purposes.

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                            Rights of Acceleration

          The COFINA Junior Lien Bonds shall not have rights of acceleration.

                            COFINA Junior Lien Bonds Indenture

        Provisions governing, among other things, amendments of or supplements to the COFINA
 Junior Lien Bonds Indenture, events of default, remedies, priority of payments after default under
 the COFINA Junior Lien Bonds Indenture, and defeasance under the COFINA Junior Lien Bonds
 Indenture will be set forth in the COFINA Junior Lien Bonds Indenture. The COFINA Junior Lien
 Bonds Indenture will be executed as of the Effective Date.

                            Governing Law

        The COFINA Junior Lien Bonds Indenture and the COFINA Junior Lien Bonds issued
 thereunder will be governed by the laws of the State of New York, without giving effect to
 principals of conflicts of law.

          4.       Sharing of Benefits Regarding Tax-Exempt Treatment of the New GO Bonds
                   and COFINA Junior Lien Bonds

         Notwithstanding the terms and provisions of Sections 57.1 and 57.2 in the Plan, in the event
 that the Government Parties obtain a determination from the IRS or an opinion from Section 103
 Bond Counsel that the ratio of the aggregate amount of all taxable New GO Bonds and taxable
 COFINA Junior Lien Bonds to be issued on the Effective Date to the total aggregate amount of all
 New GO Bonds and all COFINA Junior Lien Bonds is less than twelve percent (12%), the benefits
 of such determination shall be shared as described in Section 57.3 of the Plan.

          5.       Provisions Regarding Additional Indebtedness of Reorganized
                   Commonwealth, its Agencies and Public Corporations

                            Comprehensive Cap on All Net Tax-Supported Debt

         During the Debt Policy Period,348 in addition to the limit on the Commonwealth's
 incurrence of good faith, credit and taxing power set forth in the Commonwealth Constitution,
 (a) the Commonwealth shall adopt and maintain a Debt Management Policy that includes a
 comprehensive cap on the Maximum Annual Debt Service349 payable on Net Tax-Supported



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   Debt Policy Period: The period commencing on the first (1st) calendar day immediately following the Effective
 Date and ending on the date on which there are no New GO Bonds Outstanding.
 349
    Maximum Annual Debt Service: The maximum scheduled annual debt service (including principal and interest
 payments due and payable on bonds bearing current interest and, in the case of capital appreciation bonds or similar
 instruments, the maturity value due and payable on such instruments) for any fiscal year on Net Tax-Supported Debt;
 provided, however, that, in the case of variable rate debt, the calculation shall assume that such debt bears interest at
 the maximum annual rate permitted by law; and, provided, further, that, to the extent no provision or clarification
 increases the Comprehensive Cap, including the secured and/or securitized debt sublimit above the levels set forth in
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 Debt,350 and (b) the Commonwealth and its instrumentalities (including COFINA) shall not incur
 additional Net Tax-Supported Debt if the proposed issuance thereof would cause the ratio of (i)
 Maximum Annual Debt Service due in any future fiscal year on all Net Tax-Supported Debt
 Outstanding to (ii) the average of the annual Debt Policy Revenues351 during the immediately
 preceding two (2) fiscal years, as certified by the Secretary of the Treasury of the Commonwealth
 (the “Secretary of Treasury”), to exceed nine and sixteen one hundredths percent (9.16%),
 including a secured and/or securitized debt sublimit of twenty-five one hundredths percent (0.25%)
 of Debt Policy Revenues above and beyond the percentage of Debt Policy Revenues required to
 pay the COFINA Senior Lien Bonds and the COFINA Junior Lien Bonds. Such debt limitation

 Section 57.4 of the Plan, the Debt Management Policy may establish additional provisions or clarifications regarding
 the calculation of the Maximum Annual Debt Service.
 350
     Net Tax-Supported Debt: Any Tax-Supported Debt, excluding any (a) debt guaranteed by the good faith, credit
 and taxing power of the Commonwealth that is not payable from or secured by Debt Policy Revenues requiring its
 continued payment from non-Debt Policy Revenues, to the extent that the Commonwealth’s guarantee has not been
 drawn upon in the five (5) most recently completed fiscal years, and (b) debt being refinanced through the proceeds
 of the proposed bond or note issuance.

 Tax-Supported Debt: Collectively, without duplication, (a) direct debt of the Commonwealth for the payment of
 which the good faith, credit and taxing power of the Commonwealth has been pledged (including the New GO Bonds),
 (b) debt issued by any Entity and guaranteed by the good faith, credit and taxing power of the Commonwealth, (c)
 debt issued by any Entity (including the COFINA Senior Lien Bonds and the COFINA Junior Lien Bonds), whether
 or not guaranteed by the Commonwealth, that is secured by or payable from (i) Debt Policy Revenues, or (ii) lease
 agreements with the Commonwealth or any agency thereof, whether or not subject to annual or periodic legislative
 appropriations and (d) any other debt identified as Tax-Supported Debt in the Debt Management Policy; provided,
 however, that the following shall not be considered Tax Supported Debt: (A) tax and revenue anticipation notes with
 a final maturity occurring within the same fiscal year of their issuance; and (B) debt issued to respond directly to
 damage or destruction and associated risks to the health, safety and welfare of the people of Puerto Rico caused by
 hurricanes, earthquakes or other natural disasters, pandemics, terrorism and similar emergencies; and, provided,
 further, and without limiting the foregoing, “Tax-Supported Debt” excludes (x) revenue bonds of an Entity payable
 solely from user charges or securitization and transition charges imposed upon customers or former customers of a
 utility or transportation system, including the self-supporting debt of PRASA, PREPA, HTA or any related
 securitization entity, and (y) any other debt that is not payable from Debt Policy Revenues, pursuant to the Debt
 Management Policy, in each case, to the extent such debt is not guaranteed by the good faith, credit and taxing power
 of the Commonwealth; and, provided, further, that, to the extent no provision or clarification increases the
 Comprehensive Cap, including the secured and/or securitized debt sublimit above the levels set forth in Section 57.4
 of the Plan, the Debt Management Policy may contain additional provisions and clarifications regarding which debt
 is considered Tax-Supported Debt..
 351
    Debt Policy Revenues: Collectively, without duplication, (a) revenues derived from taxes, fees, permits, licenses,
 fines or other charges imposed, approved or authorized by the Commonwealth Legislature, including, without
 limitation, any such revenue assigned to, or owned by, COFINA or any other instrumentality of the Commonwealth
 (b) all other revenues or monies deposited in the General Fund or any debt service or other governmental fund of the
 Commonwealth and (c) all other revenues identified as “Debt Policy Revenues” in the Debt Management Policy;
 provided, however, that “Debt Policy Revenues” shall exclude (x) revenues and funds generated or assessed and
 collected by (i) the Entities listed on Exhibit 79 to the CW Fiscal Plan, (ii) Commonwealth municipalities, and (iii)
 the Puerto Rico Municipal Finance Corporation, (y) proceeds from the issuance of bonds and other borrowings
 permitted under applicable law, [and (z) funds transferred or received from the federal government other than federal
 excise tax revenues from rum produced in the Commonwealth and covered over to the General Fund]; and, provided,
 further, that, for purposes of illustration, with respect to FY2019, and as reflected in the CW Fiscal Plan, “Debt Policy
 Revenues” were Sixteen Billion Seven Hundred Eight Million Seventy Thousand Dollars ($16,708,070,000.00),
 including, without limitation, all Sales Taxes.

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 shall be in addition to any other limitations imposed by applicable law and nothing herein shall be
 construed as superseding, amending or repealing the additional debt limitation imposed by the
 Commonwealth Constitution on public debt and guarantees backed by the Commonwealth’s good
 faith, credit and taxing power. The Secretary of Treasury’s certification of compliance with the
 debt limit pursuant to this subsection (a) shall be conclusive and binding absent manifest error;
 provided, however, that, in issuing such certification, with respect to the calculation of the revenues
 of public corporations included as Debt Policy Revenues, the Secretary of Treasury may rely on
 certifications from officers of such public corporations.

         Article VI, Section 2 of the Commonwealth Constitution provides, among other things, (i)
 that no direct obligations of the Commonwealth for money borrowed directly by the
 Commonwealth evidenced by bonds or notes for the payment of which the good faith, credit and
 taxing power of the Commonwealth shall be pledged shall be issued by the Commonwealth if the
 total of (A) the amount of principal of and interest on such bonds and notes, together with the
 amount of principal of and interest on all such bonds and notes theretofore issued by the
 Commonwealth and then outstanding, payable in any fiscal year, and (B) any amounts paid by the
 Commonwealth in the fiscal year next preceding the then current fiscal year for principal or interest
 on account of any outstanding obligations evidenced by bonds or notes guaranteed by the
 Commonwealth, shall exceed fifteen percent (15%) of the average of the total amount of the annual
 revenues raised under the provisions of Commonwealth legislation and covered into the Treasury
 of Puerto Rico in the two (2) fiscal years next preceding the then current fiscal year, and (ii) that
 the Commonwealth shall not guarantee any obligations evidenced by bonds or notes if the total of
 the amount payable in any fiscal year on account of principal of and interest on all the direct
 obligations referred to above theretofore issued by the Commonwealth and then outstanding and
 the amounts referred to in item (B) above exceeds fifteen percent (15%) of the average of the total
 amount of such annual revenues.

                b)         Adoption and Maintenance of a Debt Management Policy

         During the Debt Policy Period, the Commonwealth shall maintain and comply with a Debt
 Management Policy designed to ensure that certain past debt issuance practices of the
 Commonwealth are not repeated. While the Commonwealth may revise and update its Debt
 Management Policy to reflect changing bond market conditions and standards (including, but not
 limited to, related changes to collections, revenues, taxes, fees, etc.), the Debt Management Policy
 shall, unless otherwise approved, in writing, by the Oversight Board, at all times include the
 following principles and limitations:

                     (i)     Long-Term Borrowing for Capital Improvements Only: To ensure the
                             Commonwealth achieves and maintains a structurally balanced budget
                             consistent with PROMESA’s requirement that Puerto Rico return to fiscal
                             responsibility, Tax-Supported Debt issued after the Effective Date may only
                             be incurred to finance Capital Improvements,352 as determined by the issuer



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    Capital Improvements: Any project or projects funded, or proposed to be funded, in whole or in part, by or
 through public monies, to construct, reconstruct, restore, rehabilitate or purchase any equipment, property or facilities,
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                            of such debt approved by AAFAF, or to refinance Tax-Supported Debt in
                            accordance with subsection (iv) below. Proceeds derived from any such
                            issuance may be used to cover any and all direct and indirect expenses that,
                            in the issuer’s reasonable discretion, are necessary to carry out such Capital
                            Improvements, including any and all expenses incurred in connection with
                            the issuance itself.

                   (ii)     30-Year Maturity Limitation on All Tax-Supported Borrowing: No Tax-
                            Supported Debt issued on or after the Effective Date may have a legal final
                            maturity later than thirty (30) years from the date of its original issuance,
                            and no such debt may be refinanced by any debt extending such legal final
                            maturity date beyond such original maturity date limitation; provided,
                            however, that, the foregoing shall not apply to (A) Tax-Supported Debt
                            issued to finance public housing facilities, subject to the limitation
                            established in the Commonwealth Constitution, or (B) Tax-Supported Debt
                            issued to refinance debt that was Outstanding prior to the Effective Date
                            and had a legal maturity of more than thirty (30) years, subject to subsection
                            (iv) below.

                   (iii)    Required Principal Amortization: No series of Tax-Supported Debt issed
                            from and after the Effective Date may be issued unless its principal
                            commences to amortize within two (2) years of its original issuance date, or
                            such other period not to exceed five (5) years from original issuance as may
                            be permitted under the U.S. Internal Revenue Code for tax exempt
                            financings of new construction or reconstruction of Capital Improvements,
                            and continues amortizing in each and every year until such debt is no longer
                            outstanding.

                   (iv)     Refinancings Permitted only for Cash Flow Savings in every fiscal year:
                            Refinancings of Tax-Supported Debt are permitted only if (A) there is no
                            increase in the amount of bond principal and interest payable in any fiscal
                            year, and (B) such refinancing produces positive present value savings, after
                            taking into consideration transaction expenses, at the levels specified by the
                            Commonwealth in its Debt Management Policies; provided, however, that
                            refinancings without cash flow savings in every fiscal year are permitted if
                            the refinancing is completed in direct response to a hurricane, earthquake,
                            pandemic, terrorism or other natural disaster and similar emergencies and
                            the debt service due in any future fiscal year does not increase by more than
                            ten percent (10%) and the financing is required by its terms to be repaid in
                            full within ten (10) years.

        Notwithstanding the foregoing, nothing contained herein shall prohibit the Commonwealth
 from adopting, maintaining and complying with a Debt Management Policy that is more restrictive

 including buildings, park facilities, infrastructure, information technology systems or other equipment that is funded
 on a necessarily non-repeating basis that is to be used as a public asset or for the public benefit.

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 than the requirements set forth above. The Debt Management Policy shall be in addition to any
 other limitations imposed by law and nothing herein shall be construed as superseding, amending,
 or repealing any additional restrictions imposed by the Commonwealth Constitution.

 G.      Treatment of Executory Contracts and Unexpired Leases

         All executory contracts and leases of nonresidential real property with any Debtor will be
 treated as follows:

                Category                                                 Treatment
  Executory Contract or Unexpired         Treatment. Will be unaffected by the Plan. The order of Title III Court
  Lease Rejected or Assumed and           with respect to such executory contract or unexpired lease will continue
  Assigned by an Order of the Title III   to govern.
  Court Entered Before the
  Confirmation Date

  Executory Contract or Unexpired         Treatment. The Plan Supplement will include a schedule of executory
  Lease Listed in Schedule to Plan        contracts and unexpired leases that will be assumed, or assumed and
  Supplement                              assigned as of the Effective Date. The scheduled may be amended at
                                          any time before the Confirmation Date. Pursuant to the Bankruptcy
                                          Code, as a condition of assumption of an executory contract, the debtor
                                          must promptly cure any defaults, and if there is a default, provide
                                          adequate assurance that the debtor will continue to perform under the
                                          contract.

                                          Notice and Cure of Defaults. At least 20 days before the Confirmation
                                          Hearing, the Debtors will file and serve a notice to parties to such
                                          contracts or leases. The notice will include the amount to be paid by the
                                          Debtors to cure any default for each executory contract or unexpired
                                          lease.

                                          Objections. Any party to such executory contract or unexpired lease
                                          will have 20 days from the date of service of the notice to file and serve
                                          any objection to the cure amounts listed and to any proposed adequate
                                          assurance of future performance the debtor may provide. If there are
                                          any objections filed, the Title III Court will hold a hearing on the
                                          objection.

  Collective Bargaining Agreements        Except as provided in Articles XXX and XXVII of the Plan (Provisions
                                          for Treatment of Active Employee Claims), none of the Debtors’
                                          collective bargaining agreements will be (a) treated as executory
                                          contracts, or (b) assumed or rejected or otherwise treated under the Plan.

                                          The Debtors’ collective bargaining agreements will remain in effect
                                          subject to Puerto Rico Law and Articles XXX and XXVII of the Plan
                                          regarding the payment and ongoing treatment of pension and related
                                          claims and obligations.

  Executory Contracts and Unexpired       Treatment. Will be unaffected by the Plan.
  Leases of PBA and relating to the
  lease or sublease of PBA Property


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               Category                                                  Treatment
  Executory Contracts and Unexpired       Treatment. Will be unaffected by the Plan.
  Leases that have been registered with
  the Office of the Comptroller of
  Puerto Rico

  All Other Executory Contracts and       Treatment. Will be rejected by the Debtors as of the Effective Date.
  Unexpired Leases
                                          Notice. Notice of any executory contract or unexpired lease to be
                                          rejected will be served on parties to such contract or lease.

                                          Rejection Damages. Any party seeking to assert a claim for damages
                                          resulting from the rejection of an executory contract or unexpired lease
                                          must file a proof of claim on or before 30 days after (i) the Confirmation
                                          Date, or (ii) the date of the entry of an order by the Title III Court
                                          approving the rejection of such executory contract or unexpired lease,
                                          whichever is later.

                                          If a party fails to file a proof of claim for damages resulting from the
                                          rejection of an executory contract or unexpired lease within the deadline
                                          above, such claim will be forever barred and unenforceable against the
                                          Debtors.


         Insurance Policies. Each of the Debtors’ insurance policies and any related agreements,
 documents, or instruments will be treated as executory contracts under the Plan. However, such
 treatment will not discharge or relieve Ambac, Assured, FGIC, National, or Syncora of their
 respective obligations to holders of claims under policies of insurance and applicable law and
 governing documents with respect thereto.

         Indemnification and Reimbursement Obligations. Any obligation of the Debtors to
 indemnify and reimburse its directors or officers that were directors or officers on or prior to the
 relevant petition date (including any director and officer insurance policies) will be assumed as of
 the Effective Date.

         Any indemnification obligation of the Debtors arising from conduct of officers and
 directors from and after the relevant petition date will be treated as Administrative Expense
 Claims. Under no circumstances will the Debtors or the Reorganized Debtors, as the case may be,
 be responsible for any indemnification obligation, cost, or expense associated with the gross
 negligence, intentional fraud or willful misconduct of their respective officers or directors. See
 section VI.D of this Disclosure Statement for a summary of the treatment of Administrative
 Expense Claims.

          Disputes Regarding Executory Contracts and Unexpired Leases. If there is a dispute
 regarding whether a contract or lease is or was executory or unexpired at the time of assumption,
 the Debtors will have 45 days following the entry of a final order resolving such dispute to alter
 their treatment of such contract or lease.


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         PRASA Guarantee. On the Effective Date, the Commonwealth will assume all of its
 obligations (including the guarantee of payment of principal, interest, and any premium) in
 connection with (a) PRASA Revenue Refunding Bonds, 2008 Series A, issued in the original
 principal amount of $159,055,000.00 and (b) PRASA Revenue Refunding Bonds, 2008 Series B,
 issued in the original principal amount of $125,700,000.00.

 H.     Rights and Powers of Disbursing Agent

        The disbursing agent will be the Commonwealth or an entity/ies designated by the
 Oversight Board and AAFAF on or before the Effective Date to make or facilitate distributions in
 accordance with the Plan.

         Powers of the Disbursing Agent. The Disbursing Agent will be empowered to (a) take all
 steps and execute all instruments and documents necessary to effectuate the Plan, (b) make
 distributions contemplated by the Plan, (c) comply with the Plan and the obligations of the Plan,
 and (d) exercise any other powers vested in the Disbursing Agent by an order of the Title III Court,
 pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
 implement the Plan.

        Fees and Expenses Incurred From and After the Effective Date. The reasonable fees and
 expenses incurred by the Disbursing Agent from and after the Effective Date, and any reasonable
 compensation and expense reimbursement claims (e.g., reasonable fees and expenses of counsel)
 incurred by the Disbursing Agent will be paid in cash without further order of the Title III Court.

         Exculpation. The Disbursing Agent will be exculpated by all entities (including holders
 of claims and other parties in interest) from any and all claims, causes of action, and other
 assertions of liability arising out of the discharge of the powers and duties conferred upon the
 Disbursing Agent, except for actions or omissions to act arising out of gross negligence or willful
 misconduct of the Disbursing Agent. No holders of a claim or other party in interest may have or
 pursue any claim or cause of action against the Disbursing Agent for making payments in
 accordance with the Plan or for implementing the provisions of the Plan.

 I.     Provisions Governing Distributions

        Time and Manner of Distributions.

         Distributions to Holders of Claims. The Disbursing Agent will make distributions to
 holders of the following claims within ten (10) business days after the Effective Date. See section
 VI.E of the Disclosure Statement for the applicable distributions to be made to holders of such
 claims.

           Allowed PBA Bond Claims

           Allowed CW Bond Claims

           Allowed CW Guarantee Bond Claims

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           Allowed ERS Bond Claims

           Allowed CW General Unsecured Claims

           Allowed ERS General Unsecured Claims

        Distribution of the Retail Support Fee, if any, to a holder of an Allowed PBA Bond Claim
 or Allowed CW Bond Claim is subject to the delivery, on or before the Voting Deadline, of such
 holder’s applicable bonds through the Automatic Tender Offer Program at The Depository Trust
 Company with a certification that such holder is a Retail Investor.

        Distributions to Holders of Allowed PBA General Unsecured Claims. The Disbursing
 Agent will make distributions to holders of Allowed PBA General Unsecured Claims in the
 treatment provided for holders of Allowed PBA General Unsecured Claims in Class 9.

          Distributions of Cash to Holders of Certain Other Claims. Distributions to holders of
 Allowed Administrative Expense Claims will be made in cash as soon as practicable after the later
 of (i) the Effective Date, or (ii) the date on which the claim becomes an allowed claim.

         Timeliness of Payments. Any payment or distribution made within ten (10) business days
 after the date specified in the Plan will be considered timely made. When a distribution is due on
 a day other than a business day, such distribution will be made on the next business day, without
 interest, and will be considered to have been made on the date due.

        Distributions by the Disbursing Agent. All distributions under the plan will be made by
 the Disbursing Agent, unless otherwise specified. The Disbursing Agent will hold all property to
 be distributed under the Plan in trust for all entities entitled to receive such property. The
 Disbursing Agent will not hold an economic or beneficial interest in such property.

         Manner of Payment under the Plan. Cash payments will be made by either check or wire
 transfer. However, no cash payment will be made until the amount payable is equal to or greater
 than ten dollars ($10.00).

         Delivery of Distributions. Distributions and deliveries to holders of allowed claims will
 be made (a) at the address of the applicable holder in the schedules filed with the Title III Court,
 unless the holder filed a proof of claim with an updated address, or the Debtors have been notified
 in writing of a change of address, or (b) through The Depository Trust Company.

         However, initial distributions for holders of the following claims may be made to the
 trustee or fiscal agent, as applicable, for such obligation in accordance with the applicable
 governing documents for Allowed Bond Claims.

        Distributions of the PSA Restriction Fees, Retail Support Fee, Retail Support Fee Return,
 and Consummation Costs in cash will be made to the applicable parties in a manner mutually
 agreed upon between such party and the Disbursing Agent. The trustee or fiscal agent for each
 such obligation will, in turn, deliver the distribution to holders in the manner provided for in the
 applicable governing documents.
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         The Debtors, its agents and servicers, and the Disbursing Agent have no obligation to
 recognize any transfer of Bond Claims after the Distribution Record Date. However, the New GO
 Bonds and COFINA Junior Lien Bonds will be transferable and recognized if made in accordance
 with the terms and conditions of the New GO Bonds Indenture and the COFINA Junior Lien Bonds
 Indenture, respectively.

         Cancellation of Notes, Instruments, Certificates, and Other Documents. On the Effective
 Date, the PBA Bonds, ERS Bonds, GO Bonds and all instruments and documents related thereto
 will be cancelled, terminated and of no further force or effect against the Debtors. The Debtors
 and the applicable trustee, paying agent, or fiscal agent will have no continuing obligations or
 duties and responsibilities under the PBA Bonds, ERS Bonds, and GO Bonds. The obligations of
 the parties to the Debtors under the PBA Bonds and GO Bonds and all related instruments and
 documents will be discharged.

       However, the PBA Bonds, ERS Bonds, and GO Bonds and related instruments and
 documents will continue in effect for the limited purposes below:

                (i)     to allow the Disbursing Agent to make any distributions as set forth in the
                        Plan and to perform related necessary administrative or other functions,

                (ii)    to allow holders of Allowed Bond Claims to receive distributions in
                        accordance with the terms and provisions of the Plan,

                (iii)   for any trustee, agent, contract administrator or similar entity under all
                        instruments and related documents to perform necessary functions,
                        including making distributions, in accordance with the Plan and to have the
                        benefit of all the rights and protections and other provisions of such
                        instruments and documents, as applicable, and all other related agreements,

                (iv)    to set forth the terms and conditions applicable to parties to such documents
                        and instruments other than the Debtors, or

                (v)     as may be necessary to preserve any claims under the respective insurance
                        policies and related documents issued by a monoline insurer.

          The Oversight Board will request that the Commonwealth and PBA use their reasonable
 efforts to (1) maintain the existing CUSIP numbers for the monoline-insured GO Bonds and PBA
 Bonds, respectively, and (2) take such other reasonable steps as may be necessary to preserve and
 effectuate such Claims.

        Undeliverable/Reserved Distributions.

         Holding of Undeliverable Distributions by the Disbursing Agent. If any distribution to any
 holder is returned to the Disbursing Agent as undeliverable, no further distribution will be made
 until the Disbursing Agent is notified, in writing, of such holder’s then-current address.
 Undeliverable distributions will remain in the possession of the Disbursing Agent until the
 distribution becomes deliverable. All entities ultimately receiving previously undeliverable cash
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 will not be entitled to any interest or other accruals thereon of any kind. The Disbursing Agent is
 not required to locate any holder of an allowed claim.

          Failure to Claim Undeliverable Distributions. The Disbursing Agent will file a list with
 the Title III Court setting forth the names of any entity for which checks have been issued, but
 have not been cashed, or for which any other distribution has been returned as undeliverable. Such
 list will be filed within 180 days after the Effective Date (or within 180 days after a claim has been
 allowed, whichever is later).

          Any holder of an allowed claim on such list will have six (6) months from the date the list
 is filed to identify itself and assert its right to receive a distribution. After six (6) months, such
 holder will be barred from asserting any entitlement to the undeliverable distribution.

         Withholding and Reporting Requirements. All distributions under the Plan will be subject
 to any withholding and reporting requirements imposed by any United States federal, state or local
 tax law or tax authority. Each holder of an allowed claim that will receive a distribution under the
 Plan will be responsible for paying any taxes imposed on such holder on account of such
 distribution, including income, withholding and other tax obligations.

         Any party issuing any instrument or making any distribution under the Plan has the right,
 but not the obligation, to not make a distribution until the holder of an allowed claim has made
 arrangements for payment of any withholding tax obligations. If the party issuing any instrument
 or making any distribution under the Plan fails to withhold a distribution, and is later held liable
 for the amount of such withholding, the holder must reimburse such party.

        The Disbursing Agent may require, as a condition to the receipt of a distribution, that the
 holder complete the appropriate Form W-8 or Form W-9. If the holder fails to comply with such
 a request within one year, the distribution shall be deemed an Unclaimed Distribution.

         Time Bar to Cash Payments. Checks issued by the Disbursing Agent will be null and void
 if not cashed within one hundred twenty (120) days from and after the date of issuance. Requests
 for reissuance of any check must be made directly to the Disbursing Agent.

         Any claim related to a voided check must be made on or before the later of (i) the first
 (1st) anniversary of the Effective Date or (ii) ninety (90) days after the date of issuance of the
 check, if the check represents a final distribution. After such date, all claims related to voided
 checks will be discharged and forever barred and the Disbursing Agent will retain all monies for
 such check to redistribution to holders of allowed claims in accordance with the terms and
 provisions of the Plan.

         Distributions After Effective Date. Distributions made after the Effective Date to holders
 of claims that are not allowed claims as of the Effective Date, but which later become allowed
 claims, will be deemed to have been made in accordance with the terms and provisions of the Plan.

        Setoffs. The Disbursing Agent may set off against any allowed claim and the distributions
 to be made pursuant to the Plan, the claims, rights, and causes of action of any nature that the
 Debtors or Reorganized Debtors may hold against the holder of such allowed claim.
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         However, neither the failure to effect such a setoff nor the allowance of any claim will
 constitute a waiver or release by the Debtors or Reorganized Debtors of any such claims, rights,
 and causes of action that the Debtors or the Reorganized Debtors may possess against such holder.

        Allocation of Plan Distributions Between Principal and Interest. To the extent that any
 allowed claim entitled to a distribution under the Plan consists of indebtedness and other amounts
 (such as accrued but unpaid interest thereon), distributions will be allocated first, to interest
 accrued and unpaid as of the date immediately preceding the Commonwealth Petition Date, the
 ERS Petition Date, or the PBA Petition Date, as applicable, second, to the principal amount of the
 claim (as determined for federal income tax purposes), and then to the extent the consideration
 exceeds the principal amount of the claim to other amounts (such as accrued but unpaid interest).

        However, the Debtors or Reorganized Debtor’s treatment of any distributions for its tax
 purposes will not be binding on any creditor as to the treatment of such distributions for any
 regulatory, tax or other purposes.

         Payment of Trustee Fees and Expenses. At least five (5) days before the Effective Date,
 trustees will provide invoice summaries and supporting documentation to the Oversight Board and
 AAFAF, on behalf of the Debtors, relating to all incurred and unpaid trustee claims as of such
 date, together with an estimate of trustee claims to be incurred from such date up to and including
 the Effective Date. Within fifteen (15) Business Days after receipt of such invoice summaries, the
 Debtors will notify the trustee, in writing, of any dispute relating to the reasonableness of any
 portion of the trustee claims. Any portion of the trustee claims that is not disputed by the Debtors
 will be paid by the Debtors on the Effective Date without further approval of the Title III Court.
 Upon notification of a dispute, trustees (a) must submit an application to the Title III Court seeking
 a resolution of such dispute by the Title III Court or (b) waive, in writing, payment of such disputed
 amount. Upon the entry of an order of the Title III Court authorizing payment of any disputed
 amount, the Debtors will pay such allowed portion of such trustee claims.

        To the extent any trustee claim is incurred from and after the Effective Date, Reorganized
 Debtors will be responsible and, upon presentation of supporting documentation in form and
 substance satisfactory to Reorganized Debtors, will satisfy such post-Effective Date trustee claims.
 Under no circumstance will the Disbursing Agent, the Debtors or Reorganized Debtors be
 responsible for any indemnification obligation, cost, or expense of Trustees associated with the
 gross negligence, intentional fraud or willful misconduct of Trustees in making any distribution
 pursuant to the Plan.

        Beneficial Owner. For all purposes of the Plan, including for purposes of distributions
 pursuant to the Plan, except with respect to Claims arising from bonds insured by Suncora, the
 “holder” of a Claim means any Entity who, directly or indirectly, has investment power with
 respect to any Claim, which includes the power to dispose or to direct the disposition of such
 Claim.

        However, solely for purposes of Article LXII of the Plan and section 1126 of the
 Bankruptcy Code, the “holder” of any Bond Claims will be determined in accordance with Section
 301(c)(3) of PROMESA and any law or governing documents applicable to such Bond Claims.

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        Value of Distributions. For purposes of calculating the value of distributions made to
 holders of Allowed Claims, (a) Cash will be valued in the amount distributed and (b) the New GO
 Bonds and the COFINA Junior Lien Bonds will be valued at the original principal amount thereof.

 J.     Avoidance Actions Trust

        1.      Execution of Avoidance Actions Trust Agreement

         On or before the Effective Date, the Debtors and the Avoidance Actions Trustee will
 execute the Avoidance Actions Trust Agreement and establish the Avoidance Actions Trust and
 the Avoidance Actions Trust Interests. The Avoidance Actions Trust and the Avoidance Actions
 Trust Interests will be for the benefit of the Avoidance Actions Trust Beneficiaries, whether their
 claims are allowed before or after the Effective Date.

        The Avoidance Actions Trust Agreement may provide powers, duties, and authorities in
 addition to those stated in the Plan, but only to the extent that they do not affect the status of the
 Avoidance Actions Trust as a “liquidating trust” for federal income tax purposes.

        2.      Purpose of the Avoidance Actions Trust

         The Avoidance Actions Trust will be established for the sole purpose of litigating or
 settling the Avoidance Actions and distributing its assets in accordance with Treasury Regulation
 section 301.7701-4(d).

        3.      Avoidance Actions Trust Assets

         The Avoidance Actions Trust Assets consist of the Avoidance Actions and such other
 actions that have been brought by or on behalf of the Debtors seeking affirmative recoveries, and
 which actions are set forth on Exhibit F to the Plan.

         On the Effective Date, the Debtors will transfer all of the Avoidance Actions Trust Assets
 to the Avoidance Actions Trust. The Avoidance Actions Trust Assets may be transferred subject
 to certain liabilities as provided in the Plan or the Avoidance Actions Trust Agreement. The
 transfer will be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or other
 similar Tax pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the Avoidance
 Actions Trust Assets to the Avoidance Actions Trust, the Debtors and their predecessors,
 successors and assigns, and each other Entity will be released pursuant to Section 74.2 of the Plan,
 and will be discharged and released from all liability with respect to the delivery.

        4.      Administration of the Avoidance Actions Trust

         The Avoidance Actions Trust will be administered by the Avoidance Actions Trustee
 according to the Avoidance Actions Trust Agreement and the Plan. If there are inconsistencies
 between the Plan and the Avoidance Actions Trust Agreement, the Avoidance Actions Trust
 Agreement will govern.



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        5.      The Avoidance Actions Trustee and the Avoidance Actions Trust Board

         If the Avoidance Actions Trustee dies, is terminated, or resigns for any reason, the
 Avoidance Actions Trust Board will designate a successor. The Avoidance Actions Trustee cannot
 be a director or officer of any affiliate of the Avoidance Actions Trust.

         The Avoidance Actions Trust Board will consist of three (3) members appointed as of the
 Effective Date to govern the Avoidance Actions Trust, with two (2) directors selected by the UCC,
 and one (1) director selected by the Oversight Board.

        6.      Role of the Avoidance Actions Trustee

        The Avoidance Actions Trustee will have the rights, powers, and duties to:

                       hold, manage, convert to cash, and distribute the Avoidance Actions Trust
                       Assets, including resolving the claims belonging to the Avoidance Actions
                       Trust;

                       hold the Avoidance Actions Trust Assets for the benefit of the Avoidance
                       Actions Trust Beneficiaries, regardless of when their claims are allowed;

                       investigate, prosecute, settle and/or abandon rights, causes of action, or
                       litigation of the Avoidance Actions Trust;

                       file all tax and regulatory forms, returns, reports, and other documents
                       required with respect to the Avoidance Actions Trust;

                       control, prosecute, and/or settle objections to claims on behalf of the
                       Avoidance Actions Trust; and

                       hold, manage, and distribute cash or non-cash Avoidance Actions Trust
                       Assets obtained through the exercise of its power and authority.

        The Avoidance Actions Trustee will act in the best interests of all Avoidance Actions Trust
 Beneficiaries and in furtherance of the purpose of the Avoidance Actions Trust.

        7.      Avoidance Actions Trustee’s Tax Power for Debtors

         From and after the Effective Date, the Avoidance Actions Trustee will prepare and file all
 tax returns required to be filed or that the Avoidance Actions Trustee otherwise deems appropriate
 on behalf of the Debtors.

        8.      Transferability of Avoidance Actions Trust Interests

          The Avoidance Actions Trust Interests will not be transferable or assignable except for by
 will, intestate succession, or operation of law.


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        9.      Cash

         The Avoidance Actions Trustee may invest cash as permitted by section 345 of the
 Bankruptcy Code. The investments must be investments permitted to be made by a liquidating
 trust within the meaning of Treasury Regulation section 301.7701-4(d), or under IRS guidelines,
 rulings, or other controlling authorities.

        10.     Distribution of Avoidance Action Trust Assets

         The Avoidance Actions Trustee will distribute to the holders of allowed claims on account
 of their Avoidance Actions Trust Interests, on a semi-annual basis, all unrestricted cash on hand.
 This includes any cash received from the Debtors on the Effective Date, and treating any
 permissible investment as cash for purposes of distribution.

        However, this semi-annual distribution will not include:

                        Cash reserved pursuant to the Avoidance Actions Trust Agreement to fund
                        the activities of the Avoidance Actions Trust;

                        Amounts retained in connection with Disputed Claims in accordance with
                        Section 64.3 of the Plan to pay reasonable incurred or anticipated expenses
                        (e.g., taxes imposed on or payable by the Avoidance Actions Trust in
                        respect of the Avoidance Actions Trust Assets).

          The Avoidance Actions Trustee will not be required to make a semi-annual distribution if
 (i) the aggregate, net amount of unrestricted cash available for distribution (taking into account the
 exclusions above) would make the distribution impracticable as reasonably determined by the
 Avoidance Actions Trustee, with the consent of the Avoidance Actions Trust Board, in accordance
 with applicable law, and (ii) such aggregate amount is less than Twenty-Five Million Dollars
 ($25,000,000.00). The Avoidance Actions Trustee, with the consent of the Avoidance Actions
 Trust Board, may decide to forego the first quarterly distribution to holders of Avoidance Actions
 Trust Interests if the Avoidance Actions Trustee is not prepared to make the distribution. If this
 occurs, the distribution will be made to such holders as soon as practicable after the Avoidance
 Actions Trustee is administratively prepared to do so.

        11.     Funding, Costs, and Expenses of the Avoidance Actions Trust

       On the Effective Date, the Avoidance Actions Trust will be funded on a one-time basis in
 an amount of $5,000,000.00.

        The reasonable costs and expenses of the Avoidance Actions Trust, which include the fees
 and expenses of the Avoidance Actions Trustee and its retained professionals, will be paid out of
 the Avoidance Actions Trust Assets. Fees and expenses incurred in connection with the
 prosecution and settlement of any claims will be considered costs and expenses of the Avoidance
 Actions Trust.

        12.     Compensation of the Avoidance Actions Trustee
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         The Avoidance Actions Trustee will be entitled to reasonable compensation consistent
 with that of similar functionaries in similar roles, the payment of which will be subject to the
 approval of the Title III Court, but subject to approval and consent of the Avoidance Actions Trust
 Board.

        13.     Retention of Professionals/Employees by the Avoidance Actions Trustee

        The Avoidance Actions Trustee may retain and compensate attorneys, other professionals,
 and employees to assist the Avoidance Actions Trust Board, if the Avoidance Actions Trustee
 deems it appropriate, without Title III Court approval and subject to consent of the Avoidance
 Actions Trust Board.

        14.     Federal Income Tax Treatment of the Avoidance Actions Trust

                        Avoidance Actions Trust Assets Treated as Owned by Creditors.

        For federal income tax purposes, all parties will treat the transfer of the Avoidance Actions
 Trust Assets to the Avoidance Actions Trust as

                        (i)    a transfer of the Avoidance Actions Trust Assets directly to the
                               Avoidance Actions Trust Beneficiaries and, to the extent Avoidance
                               Actions Trust Assets are allocable to Disputed Claims, to the
                               Avoidance Actions Trust Claims Reserve, followed by

                        (ii)   the transfer of the Avoidance Actions Trust Assets (other than the
                               Avoidance Actions Trust Assets allocable to the Avoidance Actions
                               Trust Claims Reserve) by the beneficiaries to the Avoidance Actions
                               Trust in exchange for Avoidance Actions Trust Interests.

         The Avoidance Actions Trust Beneficiaries will be treated as the grantors and owners of
 their respective share of the Avoidance Actions Trust Assets for federal income tax purposes (other
 than Avoidance Actions Trust Assets that are allocable to the Avoidance Actions Trust Claims
 Reserve). This will also apply to state and local income tax purposes, to the extent allowed by law.

                        Tax Reporting.

                        (i)    The Avoidance Actions Trustee will file Tax Returns for the
                               Avoidance Actions Trust, treating the Avoidance Actions Trust as a
                               grantor trust pursuant to Treasury Regulation section 1.671-4(a) and
                               in accordance with Section 60.14 of the Plan. The Avoidance
                               Actions Trustee also will annually send a separate statement
                               regarding the receipts and expenditures of the Avoidance Actions
                               Trust as relevant for U.S. federal income tax purposes to each holder
                               of an Avoidance Actions Trust Interest. The statement will instruct
                               all holders to use the statement in preparing their U.S. federal
                               income tax returns or to forward the appropriate information to the
                               holder’s beneficial holders, with instructions to use the statement in
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                         preparing their U.S. federal income tax returns. The Avoidance
                         Actions Trustee shall also file (or cause to be filed) any other
                         statement, return or disclosure relating to the Avoidance Actions
                         Trust that is required by any governmental unit.

                  (ii)   Pursuant to the Plan, the Avoidance Actions Trustee, in consultation
                         with the Avoidance Actions Board, will, in good faith, value the
                         Avoidance Actions Assets. The Avoidance Actions Trustee shall
                         make the respective values of the Avoidance Actions Assets
                         available from time to time, to the extent relevant, and all parties to
                         the Avoidance Actions Trust (including, without limitation, the
                         Debtors, the Avoidance Actions Trustee and Avoidance Actions
                         Trust Beneficiaries) must consistently use the value of the assets
                         transferred to the Avoidance Actions Trust provided by the Debtors
                         or the Avoidance Actions Trustee pursuant to the Plan for all U.S.
                         federal income tax purposes.




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                  (iii)   Allocations of Avoidance Actions Trust taxable income among the
                          Avoidance Actions Trust Beneficiaries (other than taxable income
                          allocable to the Avoidance Actions Trust Claims Reserve) will be
                          determined by: reference to the manner in which an amount of cash
                          representing the taxable income would be distributed (were the cash
                          allowed to be distributed at the time) if, immediately prior to the
                          distribution, the Avoidance Actions Trust had distributed all its
                          assets (valued at their tax book value, and other than assets allocable
                          to the Avoidance Actions Trust Claims Reserve) to the holders of
                          the Avoidance Actions Trust Interests. The value will be adjusted
                          for prior taxable income and loss and take into account all prior and
                          concurrent distributions from the Avoidance Actions Trust. Taxable
                          loss of the Avoidance Actions Trust will be allocated by: reference
                          to the manner in which an economic loss would be borne
                          immediately after a hypothetical liquidating distribution of the
                          remaining Avoidance Actions Trust Assets. The tax book value of
                          the Avoidance Actions Trust Assets will be equal their fair market
                          value on the Effective Date, adjusted with IRC tax accounting
                          principles, Treasury Regulations, and other applicable authorities.

                  (iv)    Subject to guidance from the IRS or a court of competent
                          jurisdiction to the contrary (including the receipt by the Avoidance
                          Actions Trustee of a private letter ruling if the Avoidance Actions
                          Trustee so requests one, or the receipt of an adverse determination
                          by the IRS upon audit if not contested by the Avoidance Actions
                          Trustee), the Avoidance Actions Trustee will

                          (1)    elect to treat any Avoidance Actions Trust Claims Reserve
                                 as a “disputed ownership fund” governed by Treasury
                                 Regulation section 1.468B-9

                          (2)    to the extent permitted by applicable law, report consistently
                                 with the foregoing for state and local income tax purposes.
                                 All other parties (including, without limitation, the Debtors
                                 and the Avoidance Actions Trust Beneficiaries) must report
                                 for United States federal, state and local income tax purposes
                                 consistently with the foregoing.




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                        (v)    The Avoidance Actions Trustee will be responsible for payment of
                               any Taxes imposed on the trust or its assets, including the Avoidance
                               Actions Trust Claims Reserve, out of the Avoidance Actions Trust
                               Assets. If any Cash retained on account of Disputed Claims in the
                               Avoidance Actions Trust Claims Reserve is insufficient to pay the
                               portion of Taxes attributable to the taxable income arising from the
                               assets allocable to, or retained on account of, Disputed Claims
                               (including any income that may arise upon the distribution of the
                               assets of the Avoidance Actions Trust Claims Reserve), the Taxes
                               may be (i) reimbursed from any subsequent Cash amounts retained
                               on account of Disputed Claims, or (ii) to the extent the Disputed
                               Claims have been resolved, deducted from any amounts otherwise
                               distributable by the Avoidance Actions Trustee as a result of the
                               resolution of the Disputed Claims.

                        Tax Withholdings by Avoidance Actions Trustee.

         The Avoidance Actions Trustee may withhold and pay taxes on all amounts required to be
 withheld pursuant to the IRC or foreign, state or local tax law with respect to any payment or
 distribution to the holders of Avoidance Actions Trust Interests. All amounts withheld and paid
 (or placed in escrow pending resolution of the need to withhold) will be treated as amounts
 distributed to holders of Avoidance Actions Trust Interests for all purposes of the Avoidance
 Actions Trust Agreement. The Avoidance Actions Trustee will be authorized to collect tax
 information from the holders of Avoidance Actions Trust Interests (including social security
 numbers or other tax identification numbers) that it deems necessary to effectuate the Plan, the
 Confirmation Order, and the Avoidance Actions Trust Agreement. In order to receive distributions
 under the Plan, all holders of Avoidance Actions Trust Interests will be required to identify
 themselves to the Avoidance Actions Trustee and provide tax information and the specifics of their
 holdings to the extent the Avoidance Actions Trustee deems appropriate. This identification
 requirement applies to all holders, including those who hold their securities in street name. The
 Avoidance Actions Trustee may refuse to distribute to any holder of an Avoidance Actions Trust
 Interest who fails to provide it the information in a timely fashion, and until the information is
 delivered, may treat the holder’s Avoidance Actions Trust Interests as disputed. If the information
 is not given to the Avoidance Actions Trustee within six (6) months of the original request to
 provide it, no further distributions will be made to the holder of the Avoidance Actions Trust
 Interest. Upon the delivery of the information by a holder of an Avoidance Actions Trust Interest,
 the Avoidance Actions Trustee will make a distribution to which the holder of the Avoidance
 Actions Trust Interest is entitled, without additional interest occasioned by the delay in providing
 tax information. If the Avoidance Actions Trustee fails to withhold amounts received or
 distributable with respect to the holder and the Avoidance Actions Trustee is later held liable for
 the amount of the withholding, such holder will reimburse the Avoidance Actions Trustee to the
 extent the amounts were actually distributed to such holder.




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                       The Avoidance Actions Trustee and the Avoidance Actions Trust will
                       be discharged or dissolved, upon the earlier to occur of

                       (i)     all of the Avoidance Actions Trust Assets have been distributed
                               pursuant to the Plan and the Avoidance Actions Trust Agreement;

                       (ii)    the Avoidance Actions Trustee determines, with the consent of the
                               Trust Advisory Board, that the administration of any remaining
                               Avoidance Actions Trust Assets is not likely to yield sufficient
                               additional Avoidance Actions Trust proceeds to justify further
                               pursuit; or

                       (iii)   all distributions required to be made by the Avoidance Actions
                               Trustee under the Plan and the Avoidance Actions Trust Agreement
                               have been made. The Avoidance Actions Trust may not be dissolved
                               later than three (3) years from the Effective Date unless the Title III
                               Court, upon motion six-months prior to the third (3rd) anniversary
                               (or within the six-month period prior to the end of an extension
                               period), determines that a fixed period extension is necessary to
                               facilitate or complete the recovery and liquidation of the Avoidance
                               Actions Trust Assets. The extension is not to exceed three (3) years,
                               together with any prior extensions, without a favorable private letter
                               ruling from the IRS or an opinion of counsel satisfactory to the
                               Avoidance Actions Trustee and the Trust Advisory Board that any
                               further extension would not adversely affect the status of the trust as
                               an Avoidance Actions trust for United States federal income tax
                               purposes. If at any time the Avoidance Actions Trustee determines,
                               in reliance upon its retained professionals, that the expense of
                               administering the Avoidance Actions Trust so as to make a final
                               distribution to its beneficiaries is likely to exceed the value of the
                               assets remaining in the Avoidance Actions Trust, the Avoidance
                               Actions Trustee may apply to the Title III Court for authority to

                               (1)    (i) reserve any amount necessary to dissolve the Avoidance
                                      Actions Trust, (ii) donate any balance to a charitable
                                      organization (A) described in section 501(c)(3) of the IRC

                               (2)    exempt from United States federal income tax under section
                                      501(a) of the IRC, and

                               (3)    dissolve the Liquating Trust.

        15.     Indemnification of Avoidance Actions Trustee

         The Avoidance Actions Trustee and its employees, agents and professionals (i) will not be
 liable to the Avoidance Actions Trust Beneficiaries for actions taken or omitted in their capacity
 as, or on behalf of, the Avoidance Actions Trustee, except acts arising out of their own willful
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 misconduct or gross negligence, and (ii) will be entitled to indemnification and reimbursement for
 fees and expenses in defending actions or inactions in their capacity as, or on behalf of, the
 Avoidance Actions Trustee, except for any actions or inactions involving willful misconduct or
 gross negligence. Any indemnification claim of the parties entitled to indemnification will be paid
 solely from the Avoidance Actions Trust Assets and will be entitled to a priority distribution, ahead
 of the Avoidance Actions Trust Interests and any other claim to or interest. The Avoidance Actions
 Trustee will be entitled to rely, in good faith, on the advice of its retained professionals.

 K.     Prosecution and Extinguishment of Claims Held by the Debtors

         From and after the Effective Date, the Avoidance Actions Trustee will have the exclusive
 right and power to (a) litigate any avoidance, recovery, subordination, or other actions or remedies
 identified on Exhibit E to the Plan under sections 510, 544, 545, 547, 548, 549, 550, 551, 552 and
 553 of the Bankruptcy Code, or under non-bankruptcy law, and (b) compromise and settle such
 claims with the approval of the Title III Court. The net proceeds of any such litigation or settlement
 will be transferred to the Avoidance Actions Trust for distribution in accordance with the Plan and
 the Avoidance Actions Trust Agreement.

 L.     Acceptance or Rejection of the Plan, Effect of Rejection by One or More Classes of
        Claims

         Impaired Classes to Vote. As of the Voting Record Date (June 3, 2020), each holder of a
 claim in the impaired classes below are entitled to vote separately to accept or reject the Plan.

          Acceptance by Class of Creditors. An impaired class accepts the Plan if (i) at least two-
 thirds (2/3) in dollar amount of the Allowed Claims of such class who have voted accept the Plan,
 and (ii) more than one-half (1/2) in the number of the Allowed Claims of such class that have voted
 accept the Plan.

        Cramdown. If any impaired class of claims reject, or fail to accept, the Plan, the Debtors
 may (i) request the Title III Court to confirm the Plan in accordance with the “cramdown”
 provisions of the Bankruptcy Code, or (ii) subject to the consent of the PSA Creditors, amend the
 Plan. For a summary of the “cramdown” provisions under the Bankruptcy Code, see section
 VII.C.1 of this Disclosure Statement.

 M.     Rights and Powers of Disbursing Agent

        The disbursing agent will be the Commonwealth or an entity designated by the Oversight
 Board and the Commonwealth on or before the Effective Date to make or facilitate distributions
 in accordance with the Plan.

         Powers of the Disbursing Agent. The Disbursing Agent will be empowered to (a) take all
 steps and execute all instruments and documents necessary to effectuate the Plan, (b) make
 distributions contemplated by the Plan, (c) comply with the Plan and the obligations of the Plan,
 and (d) exercise any other powers vested in the Disbursing Agent by an order of the Title III Court,
 pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
 implement the Plan.
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        Fees and Expenses Incurred From and After the Effective Date. The reasonable fees and
 expenses incurred by the Disbursing Agent from and after the Effective Date, and any reasonable
 compensation and expense reimbursement claims (e.g., reasonable fees and expenses of counsel)
 incurred by the Disbursing Agent will be paid in cash without further order of the Title III Court.

         Exculpation. The Disbursing Agent will be exculpated by all entities (including holders
 of claims and other parties in interest) from any and all claims, causes of action, and other
 assertions of liability arising out of the discharge of the powers and duties conferred upon the
 Disbursing Agent, except for actions or omission to act arising out of gross negligence or willful
 misconduct of the Disbursing Agent. No holders of a claim or other party in interest may have or
 pursue any claim or cause of action against the Disbursing Agent for making payments in
 accordance with the Plan or for implementing the provisions of the Plan.

 N.     Procedures for Treatment of Disputed Claims

         Objections to Claims; Prosecution of Disputed Claims. The Reorganized Debtors, by and
 through the Oversight Board, and in consultation with AAFAF, will file and serve any objections
 to claims no later than 180 days following the Effective Date, or such later date as approved by
 the Title III Court. All objections, affirmative defenses, and counterclaims will be litigated to final
 order. The Reorganized Debtors, by and through the Oversight Board, and in consultation with
 AAFAF, will have the authority to file, settle, compromise, or withdraw any objections to claims,
 without approval of the Title III Court.

        Any Bond Claim filed by any entity for amounts due under existing securities will be
 disallowed, expunged, and removed from the claims registry on the Effective Date.

        Claims subject to resolution pursuant to the ADR Procedures and ADR Procedures Order
 will continue to be addressed under such procedures.

        Estimation of Claims. On and after the Effective Date, the Reorganized Debtors may
 request the Title III Court to estimate for final distribution purposes any contingent, unliquidated,
 or disputed claim, regardless of whether the Debtors previously objected to or sought to estimate
 such claim.

        The Title III Court will retain jurisdiction to consider any request to estimate any claim.

         If the Title III Court estimates any contingent, unliquidated, or disputed claim, the
 estimated amount will be either the allowed amount of such claim, or a maximum limitation on
 such claim, as determined by the Title III Court. If the estimate constitutes the maximum limitation
 on such claim, the Reorganized Debtors may in the future object to the ultimate allowance of such
 claim.

         Disputed Claims Holdback. The Reorganized Debtors will hold, for the benefit of each
 holder of a disputed claim, the distribution such holders would receive if the disputed claim were
 allowed, until the disputed claim is settled, estimated by the Title III Court, or allowed. The
 amount of the distribution held back will be the lesser of (i) the liquidated amount stated in the
 filed proof of claim relating to such disputed claim, (ii) the amount of the disputed claim estimated
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 by the Title III Court as the maximum amount in which such claim may ultimately become an
 allowed claim, or (iii) such other amount agreed upon by the holder of such disputed claim and
 Reorganized Debtors. The recovery of any holder of a disputed claim cannot exceed the lesser of
 (i), (ii), or (iii) above.

         To the extent that Reorganized Debtors retain the New GO Bonds or COFINA Junior Lien
 Bonds on behalf of disputed claims holders, Reorganized Debtors shall exercise voting or consent
 rights with respect to such bonds until such bonds are distributed.

         Allowance of Disputed Claims. When a disputed claim becomes an allowed claim (in
 whole or in part), the Reorganized Debtors will make distributions pursuant to the treatment
 specific under the Plan to the holder of such claim, to the extent the claim is allowed. Such
 distribution will be made no more than 90 days after such claim is determined to be allowed. With
 respect to the PBA Bond Distribution, Vintage CW Bond Distribution, and the New Bonds held
 back, any earnings that have accrued on such distribution will also be distributed.

         Non-Accrual of Interest. No holder of a claim (allowed or otherwise) will be entitled to
 interest accruing on or after the relevant petition date on any claim or right. Interest will not accrue
 or be paid on any disputed claim with respect to the period from the Effective Date to the date of
 final distribution, if such disputed claim becomes an allowed claim.

        Disallowance of Claims. If (a) an entity is liable to turn over any property or monies to
 the Debtors, and (b) such entity has failed to turn over such property or monies to the Debtors by
 the applicable deadline, all claims of such entity will be disallowed.

        Authority to Amend List of Creditors. Except with respect to Bond Claims, the Debtors
 may amend the List of Creditors with respect to any claim and to make distributions based on such
 amended List of Creditors without approval of the Title III Court. If any amendment reduces the
 amount of a claim or changes the nature or priority of a claim, the Debtors will provide the holder
 of such claim with notice of the amendment. Such holder will have 20 days to file an objection to
 the amendment with the Title III Court. If no objection is filed, distributions will be made based
 on such amended List of Creditors without approval of the Title III Court.

 O.     Governance and Provisions Regarding Pension Reserve

       Formation and Responsibilities of Pension Reserve. On or before the Effective Date, the
 Commonwealth will take all necessary steps to establish the Pension Reserve Trust, a reserve trust
 which will be utilized to secure the Commonwealth’s pension obligations under Act 106.

         Funding of the Pension Reserve. On the Effective Date, the Commonwealth will
 contribute to the Pension Reserve Five Million Dollars ($5,000,000.00) to fund the initial
 administrative fees, costs, and expenses of the Pension Reserve Trust. From and after fiscal year
 2020 until fiscal year 2027, the Reorganized Commonwealth will make annual contributions
 before October 1st in the amount equal to (a) the Base Contribution, (b) an additional amount
 calculated as the lower of the primary surplus for the fiscal year and the projected Fiscal Plan
 primary surplus for such fiscal year, minus the sum of (i) the Base Contribution for the fiscal year,
 plus (ii) the Commonwealth debt service obligation under the Plan for the fiscal year, plus (iii)
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 Two Hundred Million ($200,000,000); provided, however, that the additional amount cannot be
 lower than zero dollars, and (c) subject to applicable laws (including PROMESA Titles I and II),
 such additional amounts as the Reorganized Commonwealth, in its discretion, elects to deposit into
 the Pension Reserve Trust. The Pension Reserve Trust will be managed by an independent entity
 whose members must meet the independent, professionalism, experience, and qualification
 standards set forth in the Pension Reserve Deed of Trust, and will be subject to all government
 contracting, ethics, and conflicts of interest laws and regulations.

          Non-Impairment Covenant. The Commonwealth will covenant in the Pension Reserve
 Deed of Trust for the benefit of all participants that, payments and other obligations owed to
 participants under the Plan (including PayGo obligations and all components of the Total Monthly
 Retirement Benefit after any adjustment pursuant to the Plan) will remain in place and unaltered
 until all obligations have been satisfied in full in accordance with the provisions of the Plan and
 the Definitive Documents and the New GO Bond Legislation. Such obligations are enforceable
 by the Oversight Board, and any affected ERS Participant, JRS Participant, or TRS Participant.
 With respect to any such provision, the Pension Reserve Deed of Trust cannot be amended or
 modified by the Commonwealth (i) without the express prior written consent of the Oversight
 Board (if in existence), and a majority in number of the ERS Participant, JRS Participant, or TRS
 Participant receiving benefits pursuant to the Plan, the Definitive Documents, the New GO Bond
 Legislation, and the COFINA Junior Lien Bonds Legislation at the time of the proposed
 modification or (ii) pursuant to a new Title III case for the Commonwealth and a confirmed and
 effective plan of adjustment.

 P.     Conditions Precedent to Confirmation of the Plan

         Conditions Precedent to Confirmation of the Plan. The following conditions must be
 satisfied before the Plan may be confirmed:

        1.      Fiscal Plan Certification: The Oversight Board must certify that a Fiscal Plan is
                consistent with the Plan, and certify the submission of the Plan (including any
                modification to the Plan through the Confirmation Date).

        2.      Required Orders: The Title III Court must have entered orders providing for the
                following:

                       Approving the disclosure statement as containing “adequate information”
                       pursuant to Bankruptcy Code section 1125;

                       Authorizing the solicitation of votes and elections with respect to the Plan;

                       Determining that all votes and elections or deemed elections are binding
                       and have been properly tabulated;

                       Confirming and giving effect to the terms and provisions of the Plan,
                       including the releases set forth in Article LXXIV of the Plan;


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                      Determining that the compromises and settlements set forth in the Plan are
                      appropriate, reasonable and approved and authorizing the transactions
                      contemplated therein;

                      Determining that all applicable tests, standards, and burdens in connection
                      with the Plan have been duly satisfied and met by the Oversight Board, the
                      Debtors, and the Plan;

                      Approving the documents in the Plan Supplement, other than the New GO
                      Bonds Legislation and the COFINA Junior Lien Bonds Legislation (to the
                      extent included in the Plan Supplement) and the Reorganized Debtors By-
                      Laws, and determining that such documents are valid and binding on
                      parties;

                      Determining that the New GO Bonds Legislation and the COFINA Junior
                      Lien Bonds Legislation, each to the extent enacted, are a valid means for
                      the implementation of the Plan and the issuance of the New GO Bonds and
                      COFINA Junior Lien Bonds, respectively; and

                      Authorizing the Reorganized Debtors to execute, enter into, and deliver the
                      documents in the Plan Supplement, and to execute, implement, and take all
                      actions otherwise necessary or appropriate to give effect to the transactions
                      contemplated by the Plan, and the documents in the Plan Supplement.

        3.     Form of Orders: The Confirmation Order and the Plan must be in a form and in
               substance reasonably acceptable to the Oversight Board, the Debtors, and the Initial
               PSA Creditors.

        4.     Confirmation Order: The Confirmation Order must include (i) determinations that
               all of the settlements and compromises contained in the Plan satisfy the applicable
               standards under Bankruptcy Code sections 365, 1123(b)(3), and 1129, and
               Bankruptcy Rule 9019, (ii) the releases, exculpations, and injunctions set forth in
               Article LXXIV of the Plan, and (ii) the provisions set forth in Section 67.1(b) of
               the Plan.

         Waiver of Conditions Precedent to Confirmation. Subject to the provisions of the Plan
 Support Agreements, the Oversight Board may waive each of the conditions above, in whole or in
 part, by filing a notice with the Title III Court at any time.

 Q.     Conditions Precedent to the Effective Date

         Conditions Precedent to the Effective Date. The following conditions must be satisfied
 before the occurrence of the Effective Date and the substantial consummation of the Plan:

        1.     Fiscal Plan Certification: The Oversight Board must determine that the Plan is
               consistent with the Debtors’ Fiscal Plan, and certify the submission of the Plan
               (including any modification to the Plan through the Confirmation Date). The Fiscal
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            Plan certified as of the Effective Date shall include provisions for the payment of
            principal and interest with respect to the New GO Bonds.

      2.    Entry of the Confirmation Order: The Title III Court must enter the Confirmation
            Order providing for the following:

                   Authorizing the Debtors and the Reorganized Debtors to take all actions
                   necessary to enter into, implement, and consummate the contracts,
                   instruments, releases, leases, indentures, and other agreements or
                   documents created in connection with the Plan;

                   Decreeing that the provisions of the Confirmation Order and the Plan are
                   nonseverable and mutually dependent;

                   Authorizing the Debtors and Reorganized Debtors to (1) make all
                   distributions and issuances as required under the Plan, and (2) enter into any
                   agreements and transactions, as set forth in the Plan Supplement;

                   Determining the New GO Bonds and the covenants by the Commonwealth,
                   for the benefit of the holders of the New GO Bonds, as provided in the New
                   GO Bonds Legislation and the New GO Bonds Indenture or the
                   Confirmation Order, constitute valid, binding, legal and enforceable
                   obligations of the Commonwealth, under Puerto Rico and federal law;

                   Determining that the Commonwealth shall have pledged its good faith,
                   credit and taxing power under the Commonwealth Constitution and
                   applicable Puerto Rico law for the payment of principal and interest on the
                   New GO Bonds;

                   Determining that, pursuant to the New GO Bonds Legislation, upon deposit
                   of monies in the Debt Service Fund and the Debt Service Reserve Fund,
                   there shall be statutory liens on such monies for the purposes of securing
                   payment of the New GO Bonds, which statutory liens on such monies shall
                   remain in full force and effect until the New GO Bonds have been paid or
                   satisfied in full in accordance with their terms;

                   Authorizing the sale, transfer and conveyance of the Conveyed
                   Commonwealth Share to COFINA in consideration for the Allowed Claims
                   and the issuance of, and performance with respect to, the COFINA Junior
                   Lien Bonds;

                   Determining that the COFINA Junior Lien Bonds and the covenants by
                   COFINA, and the Commonwealth, as applicable, and the liens on, and
                   pledges of, the COFINA Pledged Taxes (and all other provisions made to
                   pay or secure payment of the COFINA Junior Lien Bonds) for the benefit
                   of the holders of the COFINA Junior Lien Bonds, as provided in the
                   COFINA Junior Lien Bonds Legislation and the COFINA Junior Lien
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                  Bonds Indenture or the Confirmation Order, constitute valid, binding, legal
                  and enforceable obligations of COFINA and the Commonwealth, as
                  applicable, under Puerto Rico and federal law;

                  Determining the Conveyed Commonwealth Share (and any substituted
                  collateral on the terms and conditions provided for herein or in the COFINA
                  Junior Lien Bonds Legislation) is the property of COFINA, free and clear
                  of all liens, claims, encumbrances, and other interests of creditors of the
                  Commonwealth or any instrumentality of the Commonwealth, other than
                  (1) the Commonwealth’s right to receive in the Conveyed Commonwealth
                  Share upon the payment or satisfaction of the COFINA Junior Lien Bonds
                  and any securities issued to refinance the COFINA Junior Lien Bonds, in
                  full in accordance with their terms, (2) liens and claims afforded to holders
                  of COFINA Senior Lien Bonds under the COFINA Senior Lien Bonds
                  Legislation, the COFINA Plan, the COFINA Confirmation Order, and the
                  COFINA Senior Lien Bond Indenture, and (3) the holders of the COFINA
                  Junior Lien Bonds under the Plan and the Confirmation Order, and shall not
                  be “available resources” or “available revenues” of the Government of
                  Puerto Rico, as used in Section 8 of Article VI of the Commonwealth
                  Constitution or as otherwise used in the Commonwealth Constitution
                  (whether construed pursuant to the Spanish or English version of the Puerto
                  Rico Constitution);

                  Determining that, pursuant to the COFINA Junior Lien Bonds Legislation,
                  the COFINA Junior Lien Bonds have been granted and are secured by a
                  statutory second lien on the COFINA Pledged Taxes as described in Section
                  57.2 of the Plan, which lien shall remain in full force and effect until the
                  COFINA Junior Lien Bonds have been paid or satisfied in full in accordance
                  with their terms;

                  Determining that the statutory lien on the COFINA Pledged Taxes, as
                  provided in the COFINA Junior Lien Bonds Legislation, and all other
                  provisions to pay or secure payment of the COFINA Junior Lien Bonds are
                  valid, binding, legal and enforceable, including, without limitation,
                  covenants not to impair such property, maintain available tax exemption
                  and provide for the conditions regarding substitution of collateral as
                  provided in the COFINA Confirmation Order;

                  Determining that the transfer of the Conveyed Commonwealth Share (and
                  any substitution of collateral on the terms and conditions provided for herein
                  or in the COFINA Junior Lien Bond Legislation) pursuant to the COFINA
                  Junior Lien Bonds Legislation and the Plan is appropriate and binding and
                  specifically enforceable against COFINA, the Commonwealth, and the
                  Reorganized Commonwealth, their respective creditors, subject to (1) the
                  claims and liens of the holders of the COFINA Senior Lien Bonds and (2)
                  the Commonwealth’s right to receive the Conveyed Commonwealth Share
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                  upon payment or satisfaction of the COFINA Junior Lien Bonds in full in
                  accordance with their terms, and is a valid provision made to pay or secure
                  payment of the COFINA Junior Lien Bonds;

                  Determining the Confirmation Order is full, final, complete, conclusive and
                  binding upon and shall not be subject to collateral attack or other challenge
                  in any court or other forum by (1) the Debtors, (2) Reorganized Debtors,
                  (3) the Commonwealth and its instrumentalities, (4) COFINA, (5) each
                  entity asserting claims or other rights against the Commonwealth or any
                  other Commonwealth instrumentality, including bondholders and holders
                  of beneficial interests in bonds issued by the Debtors, COFINA, or any
                  Commonwealth agency or with respect to any trustee, any collateral agent,
                  any indenture trustee, any fiscal agent, and any bank that receives or holds
                  funds related to such bonds, whether or not such claim or other rights are
                  impaired pursuant to the Plan (and if impaired, whether or not such person
                  or entity accepted the Plan), (6) any other entity, and (7) any heirs,
                  successors, assigns, agents or other similar parties of such persons or
                  entities;

                  Providing that each Fiscal Plan, certified as of, or subsequent to, the
                  Effective Date, shall include provisions for the principal and interest
                  payable on the New GO Bonds;

                  Determining that the statutory first lien on funds once deposited into the
                  Debt Service Fund and the Debt Service Reserve Fund, as provided for in
                  the New GO Bonds Legislation, and all other provisions to pay the New GO
                  Bonds are valid, binding, legal and enforceable, including, without
                  limitation, covenants not to impair such property, maintain available tax
                  exemption and provide for the conditions regarding substitution of
                  collateral (including, without limitation, the statutory lien thereon as
                  adequate protection for the property rights herein and in the Confirmation
                  Order;

                  Providing that the automatic stay in any future insolvency proceeding
                  commenced on behalf of the Commonwealth (whether under Title III of
                  PROMESA or otherwise) shall be deemed waived with respect to monies
                  on deposit in the Debt Service Fund and the Debt Service Reserve Fund as
                  of the commencement thereof;

                  Determining that, for purposes of Section 209 of PROMESA, the discharge
                  of debt to occur as of the Effective Date is necessary for the Oversight Board
                  to certify that expenditures do not exceed revenues for the Commonwealth
                  as determined in accordance with modified accrual accounting standards;

                  Providing that the compromises and settlements set forth in the Plan and the
                  Confirmation Order with respect to the priority of the New GO Bonds under

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                       PROMESA, the Commonwealth Constitution or other applicable law shall
                       not be binding on any party in interest (including any successor to the
                       Oversight Board) in a subsequent Title III (or other insolvency) proceeding;
                       and

                       Determining the Plan is consistent with the Debtors’ Fiscal Plans and
                       satisfies section 314(b)(7) of PROMESA.

        3.     No Injunction: The Confirmation Order must not be stayed in any respect.

        4.     Authorizations: All (1) authorizations, consents, regulatory approvals, rulings, or
               documents that are necessary to implement and effectuate the Plan (including the
               New GO Bonds Legislation and the COFINA Junior Lien Bonds Legislation) have
               been obtained or enacted or entered and not revoked or reversed, and
               (2) completion of any other required legislative or other governmental action
               required to consummate the Plan.

        5.     Execution of Documents; Other Actions: The Definitive Documents and all actions
               and all contracts, instruments, settlements, releases and other agreements or
               documents necessary to implement the terms and provisions of the Plan are effected
               or executed and delivered are in full force and effect.

        6.     Opinions: Usual and customary legal opinions for issuances of the type similar to
               the New GO Bonds and the COFINA Junior Lien Bonds by outside counsel to the
               Debtors covering matters not expressly addressed in the Confirmation Order, in
               form and substance reasonably acceptable to the Initial PSA Creditors, must be
               delivered to the applicable trustee or other parties regarding the Definitive
               Documents and the Plan.

        7.     Constitutional Claims: The Title III Court must have entered an order finding that
               any Claim asserted against the Debtors, the Reorganized Debtors, and any other
               public corporation or instrumentality of the Commonwealth based on any bonds
               issued or guaranteed by or loans made to or guaranteed by any such entity will be
               determined to be a Claim arising before the Petition Date and classified in Classes
               ____________ (except Allowed ERS Bond Claims to the extent secured) and will
               be dischargeable and discharged pursuant to the Plan or Confirmation Order and
               the Debtors, the Reorganized Debtors, and any other public corporation or
               instrumentality of the Commonwealth will have no liability on account of such
               claim.

         Waiver of Conditions Precedent. Subject to the provisions of the Plan Support
 Agreements, the Oversight Board may waive each of the conditions above at any time without any
 notice to any party, other than the PSA Creditors and the Government Parties, and without further
 notice to or action by the Title III Court.



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         Effect of Non-Occurrence of Conditions to Effective Date. If the Confirmation Order is
 vacated by a final order before the Effective Date, the Plan will be null and void in all respects,
 unless the order vacating the Confirmation Order provides otherwise.

 R.         Modification, Revocation, or Withdrawal of the Plan

        Modification of the Plan. The Oversight Board may alter, amend, or modify the Plan or
 Exhibits at any time prior to or after the Confirmation Date, but before the Effective Date.353 A
 holder of a claim that has accepted the Plan will be deemed to have accepted the Plan as altered,
 amended, or modified so long as the proposed alteration, amendment, or modification does not
 materially and adversely change the treatment of the claim of such holder.

       Revocation or Withdrawal of the Plan. Subject to the terms and provisions of the Plan
 Support Agreements, the Oversight Board may revoke or withdraw the Plan at any time before the
 Confirmation Date.

        If the Plan is revoked or withdrawn prior to the Confirmation Date, or if the Plan does not
 become effective for any reason whatsoever, then the Plan will be null and void, and nothing in
 the Plan will constitute a waiver or release of any claim by the Debtors or any other entity, or
 prejudice the rights of the Debtors or any other entity in any further proceeding involving the
 Debtors.

        Amendment of Plan Documents. From and after the Effective Date, the right to make any
 amendment, modification, or supplement to the Plan Supplement, Exhibits to the Plan Supplement,
 or Exhibits to the Plan will be governed by the terms of such document.

         No Admission of Liability. The submission of the Plan is not intended to be and will not
 be construed as an admission or evidence in any pending or subsequent suit, action, proceeding or
 dispute regarding any liability, wrongdoing, or obligation whatsoever (including as to the merits
 of any claim or defense) by any entity with respect to any of the matters addressed in the Plan.

          The Plan and any settlement entered, act performed, or document executed in connection
 with the Plan (i) may not be used as an admission or evidence of the validity of any claim, or any
 allegation made in any of the Related Actions or of any wrongdoing or liability of any entity; (ii)
 may not be used as an admission or evidence of any liability, fault or omission of any entity in any
 civil, criminal or administrative proceeding in any court, administrative agency or other tribunal;
 and (iii) may not be used as an admission or evidence against Reorganized Debtors, the Debtors,
 or any other person or entity with respect to the validity of any Claim.

         The Plan and any settlement entered, act performed, or document executed in connection
 with the Plan will not be admissible in any proceeding for any purposes, except to carry out the
 terms of the Plan. However, once the Plan is confirmed, any entity may file the Plan in any action
 for any purpose, including, but not limited to, in order to support a defense or counterclaim based

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       Any such alteration, amendment, or modification is subject to the requirements of sections 104(j) and 313 of
       PROMESA, Bankruptcy Code sections 942 and 1127(d), and the terms of the Plan Support Agreements.

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 on the principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar
 or reduction or any other theory of claim preclusion or issue preclusion or similar defense of
 counterclaim.

 S.     Corporate Governance and Management of Reorganized Debtors

         Corporate Action. On the Effective Date, all matters under the Plan that would require
 approval of the directors of the Debtors or Reorganized Debtors (including the authorization to
 issue the New GO Bonds, the COFINA Junior Lien Bonds, the authorization to enter into the
 Definitive Documents, the adoption of Reorganized Debtors By-Laws, and the election or
 appointment of directors and officers of Reorganized Debtors pursuant to the Plan) will be
 authorized and approved in accordance with the New GO Bonds Legislation, the COFINA Junior
 Lien Bonds Legislation, and the new corporate governance documents and without further action
 by any entity under any other applicable law, regulation, order, or rule.

        Matters provided under the Plan involving the corporate structure of the Reorganized
 Debtors or corporate action by Reorganized Debtors will be authorized and in effect in accordance
 with the New GO Bonds Legislation and the COFINA Junior Lien Bonds Legislation and the new
 corporate governance documents. After the Confirmation Date, the Debtors and Reorganized
 Debtors will take any and all actions deemed appropriate in order to consummate the transactions
 contemplated in the Plan in accordance with the New GO Bonds Legislation, the COFINA Junior
 Lien Bonds Legislation, and the new corporate governance documents, as applicable.

         Amendment of By-Laws. To the extent applicable, the by-laws of the Reorganized Debtors
 will be amended as of the Effective Date to provide substantially as set forth in the Reorganized
 Debtors By-Laws.

         Dissolution of ERS. On or as soon as practicable after the Effective Date, ERS will be
 dissolved and all existing directors and officers of ERS will be relieved of any further duties and
 obligations. Upon such dissolution, all remaining assets of ERS will be transferred to the
 Commonwealth.

       Officers of Reorganized Debtors. To the extent applicable, the board of directors of
 Reorganized Debtors will elect officers of Reorganized Debtors as of or after the Effective Date.

         PBA Governance Structure. No changes to the PBA Governance structure or PBA
 collective bargaining agreements will be implemented during or after the PBA Title III Case,
 unless approved by the Oversight Board upon consultation with AAFAF.

 T.     Provisions Regarding Oversight Board and Compliance with PROMESA

         Effect of Confirmation. Nothing in the Plan or the Confirmation Order will discharge,
 substitute, alter, or otherwise modify the powers and responsibilities of the Oversight Board
 pursuant to PROMESA or the obligations of each Reorganized Debtor under PROMESA.
 Beginning on the Effective Date, the Reorganized Debtors will be required to comply with all of
 the terms and conditions of PROMESA, including Title III of PROMESA.

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         Ongoing Role of the Oversight Board. Nothing in the Plan or the Confirmation Order will
 discharge any or all obligations of each Debtor under PROMESA. From and after the Effective
 Date, the Oversight Board’s power and responsibilities under PROMESA will continue and the
 Debtors’ duties and obligations will continue and be unaffected by the Plan and the consummation
 of the Plan.

         Preemption of Laws. As of the Effective Date, and to the extent not previously preempted
 pursuant to an order of the Title III Court, all laws of the Commonwealth, other than budgets
 certified by the Oversight Board, inconsistent with PROMESA, will be preempted. Such
 preempted laws include, without limitation, laws enacted prior to June 30, 2016 that transfer,
 appropriate or require appropriations from the Commonwealth or one of its instrumentalities to
 any agency or instrumentality, whether to enable such agency or instrumentality to pay or satisfy
 indebtedness or for any other purpose, and such laws will not be enforceable to facilitate payment
 of such indebtedness, and will not be enforceable if enforcement of such laws would be
 inconsistent with any provision of PROMESA having continuing applicability and effectiveness.
 A list of Commonwealth laws preempted by PROMESA is attached as Exhibit K to the Plan.
 Certain litigation relating to any of the statutes or Commonwealth Constitution provisions listed
 in such exhibit preempted by PROMESA will be dismissed, with prejudice, as of the Effective
 Date. The list of Commonwealth laws in Exhibit K to the Plan may not include all Commonwealth
 laws that are preempted by PROMESA. Parties may in the future litigate issues regarding the
 preemption by PROMESA of Commonwealth laws not specifically listed in Exhibit K to the Plan
 or Section 71.3 of the Plan.

 U.     Provisions Regarding Committees

        Dissolution of Committees. On the Effective Date, each of the UCC and the Retiree
 Committee will be dissolved and will have satisfied all of its respective duties and obligations.
 The committees will be released and discharged from any action or activity taken, or required to
 be taken, in connection with the Title III Cases.

         To the extent that, as of the date immediately prior to the Effective Date, either the UCC
 or the Retiree Committee was a party to a contested matter or adversary proceeding in connection
 with the Title III Cases, including, the Debt Related Litigation, the PBA Litigation, the Invalidity
 Actions, the Lien Challenge Actions, the ERS Litigation, the Appointments Clause Litigation and
 any claim objection, beginning on the Effective Date, the Reorganized Debtors or the Avoidance
 Actions Trustee will be deemed to have assumed such role and responsibility in connection with
 the contested matter. Upon assumption, the UCC or the Retiree Committee will be relieved of any
 role, responsibility or obligation with respect to the contested matter.

        Retention of Jurisdiction

        Retention of Jurisdiction. The Title III Court will retain exclusive jurisdiction over any
 matter arising under PROMESA or related to the Title III Cases and the Plan, or the following:

        1.      Matters to allow, disallow, determine, liquidate, classify, estimate, or establish the
                priority, secured or unsecured status, or amount of any claim not comprompised
                or settled pursuant to the Plan (including matters addressing the resolution of
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            request for payment of any claim and objections to the secured or unsecured
            status, priority, amount, or allowance of claims);

      2.    Matters related to Executory Contracts or Unexpired Leases. This includes (i) the
            assumption or assumption and assignment of any Executory Contract or
            Unexpired Lease; (ii) any potential contractual obligation under any Executory
            Contract or Unexpired Lease that is assumed or assumed and assigned; and
            (iii) any dispute regarding whether a contract or lease is or was executory or
            expired;

      3.    Ensuring that distributions to holders of allowed claims are accomplished under
            the provisions of the Plan and adjudicating any and all disputes arising from or
            relating to distributions under the Plan;

      4.    Adjudicating, deciding, or resolving any motions, adversary proceedings,
            contested or litigated matters, and any other matters, and grant or deny any
            applications involving the Debtors or Reorganized Debtors that may be pending
            on the Effective Date or brought after the Effective Date;

      5.    Deciding and resolving all matters related to the granting and denying any
            applications for allowance of compensation or reimbursement of expenses to
            professionals authorized under to PROMESA, the Plan or orders entered by the
            Title III Court;

      6.    Entering and implementing orders that are either necessary or appropriate to
            execute, implement, consummate, or enforce the provisions of (i) contracts,
            instruments, releases, indentures, and other agreements or documents approved by
            Final Order in the Title III Cases and (ii) the Plan, the Confirmation Order,
            Definitive Documents and any other contracts, instruments, securities, releases,
            indentures, and other agreements or documents created in connection with the
            Plan;

      7.    Resolving cases, controversies, suits, disputes or any other challenges that may
            arise in connection with the consummation, interpretation or enforcement of the
            Plan, the Confirmation Order, Definitive Dcouments or any other contract,
            instrument, security, release or other agreement or document that is entered into
            or delivered pursuant to the Plan or any entity’s rights arising from or obligations
            incurred in connection with the Plan or such documents;

      8.    Approving any modification of the Plan, the Confirmation Order, or any contract,
            instrument, security, release or other agreement or document created in
            connection with the Plan or the Confirmation Order;

      9.    Remedying any defect or omission or reconciling any inconsistency in any order,
            the Plan, the Confirmation Order or any contract, instrument, security, release or
            other agreement or document created in connection with the Plan or the
            Confirmation Order, or entering any order in aid of confirmation pursuant to
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                sections 945 and 1142(b) of the Bankruptcy Code, in a manner as may be
                necessary or appropriate to consummate the Plan;

        10.     Adjudicating, deciding, or resolving any matters relating to the Debtors’
                compliance with the Plan and the Confirmation Order consistent with section 945
                of the Bankruptcy Code;

        11.     Determining matters that may arise in connection with or relate to the Plan, the
                Disclosure Statement, the Confirmation Order or any contract, instrument, release
                or other agreement or document entered into or delivered in connection with the
                Plan, the Disclosure Statement or the Confirmation Order. The Title III Court
                will only have jurisdiction to the extent that any related document does not
                provide for another court or courts to have exclusive jurisdiction;

        12.     Adjudicating all controversies, suits or issues that may arise regarding the validity
                of any actions taken by any entity pursuant to or in furtherance of the Plan or
                Confirmation Order, including issuance of the New GO Bonds and the COFINA
                Junior Lien Bonds, and entering any necessary or appropriate orders or relief in
                connection with such adjudication. The Title III Court will only have jurisdiction
                to the extent that any related document does not provide for another court or
                courts to have exclusive jurisdiction;

        13.     Entering and implementing orders that are necessary or appropriate to enforce the
                Plan and Definitive Documents entered to advance rate covenants and non-
                impairment covenants referenced in Article LV of the Plan;

        14.     Entering and implementing any orders as are necessary or appropriate if the
                Confirmation Order is for any reason modified, stayed, reversed, revoked, or
                vacated;

        15.     Entering an order or final decree concluding or closing the Title III Cases
                pursuant to section 945(b) of the Bankruptcy Code;

        16.     Enforcing and clarifying any orders previously entered by the Title III Court in
                the Title III Cases; and

        17.     Hearing any other matter over which the Title III Court has jurisdiction under
                Sections 305 and 306 of PROMESA.

 V.     Miscellaneous Provisions

        1.      Title to Assets

          On the Effective Date, title to all assets and properties of the Debtors enumerated in the
 Plan will be vested in Reorganized Debtors. Such assets and properties will be free and clear of
 all liens, except as provided in the Plan and Confirmation Order.


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      2.    Discharge and Release of Claims and Causes of Action

                  Distributions provided under the Plan will be in exchange for, and in
                  complete satisfaction, settlement, discharge and release of all claims or
                  causes of action (including any interest on such claims or causes of action
                  from and after the Petition Date) against the Released Parties that arose
                  prior to the Effective Date relating to the Title III Cases, Debtors or
                  Reorganized Debtors or any of their respective assets or interests of any
                  nature, whether or not any property will be distributed or retained pursuant
                  to the Plan.

                  On the Effective Date, the Debtors and Reorganized Debtors will be
                  discharged and released from any and all claims, causes of action and any
                  other debts that arose prior to the Effective Date (including prior to the
                  Petition Date), and all debts of the type specified in sections 502(g),
                  502(h) or 502(i) of the Bankruptcy Code, whether or not (a) a proof of
                  claim based upon such debt is filed, (b) a claim based upon such debt is
                  allowed under section 502 of the Bankruptcy Code (or is otherwise
                  resolved), or (c) the holder of a claim voted to accept the Plan.

                  The Confirmation Order will be a judicial determination, as of the
                  Effective Date, of the discharge and release of all claims, causes of action
                  or debt of or against the Debtors and the Reorganized Debtors pursuant to
                  sections 524 and 944 of the Bankruptcy Code. The Confirmation Order’s
                  discharge will void any judgment obtained against the Debtors or
                  Reorganized Debtors and their respective assets, and property at any time
                  to the extent such judgment is related to a discharged claim, debt or
                  liability. As of the Effective Date, each holder of a claim in any Class
                  under the Plan will release, waive and discharge against the Debtors and
                  Reorganized Debtors, and their respective assets, all such claims.

                  Each of the PSA Creditors and their respective Related Persons, solely in
                  their capacity as Creditors of the Debtors, will:

                  (i)    be deemed to have released and agreed not to sue or seek to recover
                         damages or any other type of relief against any of the Government
                         Releases based upon, arising from or relating to the Government
                         Released Claims or any of the claims or causes of action asserted or
                         which could have been asserted in the Actions;

                  (ii)   not aid any person in taking any action with respect to the
                         Government Released Claims that is prohibited by section 74.2 of
                         the Plan.




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        3.      Injunction on Claims

          Except as otherwise provided in the Plan, the Confirmation Order or other Final Order of
 the Title III Court, any party who has held, holds, or might hold claims or any other debt or liability
 that is released pursuant to the Plan are permanently enjoined from:

                        commencing or continuing any action on any such Claim or other debt or
                        liability that is discharged pursuant to the Plan against any of the Released
                        Parties or any of their assets or property;

                        enforcing, attaching, collecting or recovering any judgment, award, decree
                        or order against any of the Released Parties or any of their respective
                        assets or property on account of any Claim or other debt or liability that is
                        discharged pursuant to the Plan;

                        creating, perfecting, or enforcing any encumbrance of any kind against
                        any of the Released Parties or any of their respective assets or property on
                        account of any Claim or other debt or liability that is discharged pursuant
                        to the Plan; and

                        asserting any right of setoff, subrogation or recoupment of any kind
                        against any obligation due from any of the Released Parties or any of their
                        respective assets or property, with respect to any such Claim or other debt
                        or liability that is discharged pursuant to the Plan, except to the extent
                        provided, permitted or preserved by sections 553, 555, 556, 559, or 560 of
                        the Bankruptcy Code or pursuant to the common law right of recoupment.
                        This injunction extends to all successors and assigns of the Released
                        Parties and their respective assets and property.

        4.      Integral to Plan

         The discharge, injunction, exculpation, and releases in Article LXXIV of the Plan is
 essential to the implementation of the Plan. Each of the released parties may independently seek
 enforcement of every provision of Article LXXIV.

        5.      Releases by the Debtors and Reorganized Debtors

         On the Effective Date, each of the Debtors, Reorganized Debtors and the Disbursing Agent
 will irrevocably and unconditionally, fully, finally and forever waive, release, acquit, and
 discharge the Released Parties from any and all claims or causes of action that the Debtors,
 Reorganized Debtors, and the Disbursing Agent have or may claim in the future. This applies to
 anyone claiming through the Debtors, Reorganized Debtors or the Disbursing Agent, on their
 behalf, or for their benefit and includes causes of action for damages, indemnification,
 contribution, costs, fees or any other basis in law or equity.




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        6.      Injunction Related to Releases

       As of the Effective Date, all entities that have held, currently hold, or may hold a Released
 Claim will be permanently barred from the following actions regarding such Released Claim:

                        commencing, conducing or continuing in any manner, directly or
                        indirectly, any suit, action or other proceeding (including any judicial,
                        arbitral, administrative or other proceeding) in any forum;

                        enforcing, attaching (including any prejudgment attachment), collecting,
                        or in any way seeking to recover any judgment, award, decree, or other
                        order;

                        creating, perfecting or in any way enforcing in any matter, directly or
                        indirectly, any lien;

                        setting off, seeking reimbursement or contributions from, or subrogation
                        against, or otherwise recouping in any manner, directly or indirectly, any
                        amount against any liability or obligation owed to any entity released
                        under section 74.5 of the Plan; or

                        continuing in any manner, in any place of any judicial, arbitration or
                        administrative proceeding in any forum that does not comply with or is
                        inconsistent with the provisions of the Plan or the Confirmation Order.

        7.      Exculpation

          Government Parties. The Oversight Board, AAFAF, the Debtors, COFINA, and each of
 their respective Related Persons, solely acting in its capacity as such at any time up to and including
 the Effective Date, will not have or incur any liability to any entity for any act taken in connection
 with:

                        the Title III Cases;

                        the formulation, preparation, dissemination, implementation, confirmation
                        or approval of the Plan or any compromises or settlements contained
                        therein;

                        the Disclosure Statement; and

                        any contract, instrument, release or other agreement or document provided
                        for in connection with the consummation of the transactions set forth in
                        the Plan.

         The exculpation provision in section 74.7 of the Plan will not affect the liability of any
 entity from any such act or omission that constitutes intentional fraud or willful misconduct. The
 exculpation provision in section 74.7(a) of the Plan will not prejudice the right of any of the

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 Government Parties, and the Government Parties’ officers and directors serving at any time up to
 and including the Effective Date, and each of their respective professionals, to assert reliance upon
 advice of counsel as a legal defense.

         PSA Creditors. Each of the PSA Creditors solely in its capacity as a party to the PSA and
 a Creditor, from the Petition Date up to and including the Effective Date, and each of their
 respective Related Persons will not have any liability to any entity for any act taken or omitted to
 be taken in connection with:

                        the Title III Cases;

                        the mediation;

                        the negotiation, formation, preparation, dissemination, implementation,
                        confirmation or approval of the Plan or any compromises or settlements
                        contained therein;

                        the Disclosure Statement;

                        the Plan Support Agreement;

                        the Definitive Documents; and

                        any contract, instrument, release or other agreement or document provided
                        for or contemplated in connection with the consummation of the
                        transaction set forth in the Plan.

         The provisions of section 74.7(b) of the Plan do not affect the liability of any entity
 resulting from any intentional fraud or willful misconduct.

         Retiree Committee. Each of the Retiree Committee members, solely in its capacity as a
 member of the Retiree Committee and a Creditor and each of the Retiree Committee’s Related
 Persons will not have any liability to any entity for any act taken or omitted to be taken, from the
 Petition Date up to and including the Effective Date, in connection with:

                        the Title III Cases;

                        the formation, preparation, dissemination, implementation, confirmation
                        or approval of the Plan or any compromises or settlements contained
                        therein;

                        the Disclosure Statement;

                        the Retiree Committee Plan Support Agreement; and

                        any contract, instrument, release or other agreement or document provided
                        for or contemplated in connection with the consummation of the
                        transaction set forth in the Plan and the Settlement Agreement.
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         The provisions of section 74.7(c) of the Plan do not affect the liability of any entity
 resulting from any intentional fraud or willful misconduct.

         AFSCME. Each of AFSCME solely in its capacity as a party to the AFSCME Plan Support
 Agreement and a Creditor, from the Petition Date up to and including the Effective Date, and each
 of their respective Related Persons will not have any liability to any entity for any act taken or
 omitted to be taken in connection with:

                        the Title III Cases;

                        the formation, preparation, dissemination, implementation, confirmation
                        or approval of the Plan or any compromises or settlements contained
                        therein;

                        the Disclosure Statement;

                        the Settlement Agreement; and

                        any contract, instrument, release or other agreement or document provided
                        for or contemplated in connection with the consummation of the
                        transaction set forth in the Plan and the Settlement Agreement.

         The provisions of section 74.7(d) of the Plan do not affect the liability of any entity
 resulting from any intentional fraud or willful misconduct.

        8.      Appointments Related Litigation

         If a Final Order is entered in connection with the Appointments Related Litigation
 subsequent to entry of the Confirmation Order, any entity receiving distributions pursuant to the
 Plan agrees that such Final Order will not in any way reverse, affect, or modify the transactions
 contemplated in the Plan and the Confirmation Order, including the releases, exculpations, and
 injunctions provided in Article LXXIV of the Plan.

        9.      Bar Order

          To the extent provided in the Plan, all entities are permanently barred from pursuing or
 litigating in any manner any and all claims, demands, rights, liabilities, or causes of action of any
 and every kind against any of the Released Parties relating in any way to any of the Released
 Claims, confirmation and consummation of the Plan, the negotiation and consummation of the
 Plan Support Agreement, or any claim, act, fact, transaction, occurrence, statement or omission in
 connection with or alleged or that could have been alleged in the Title III Cases. This bar includes
 any claim, demand, right, liability or cause of action for indemnification, contribution, or any other
 basis in law or equity for damages, costs or fees incurred arising from the Title III Cases, either
 directly or indirectly by any person for the benefit of any Released Party arising from the claims,
 acts, facts, transactions, occurrences, statements or omissions that are or could have been in the
 Title III Cases or any other action brought on behalf of any of the Released Parties (whether arising
 under federal, state or foreign law, and regardless of where asserted).
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        10.     No Waiver

        The releases and injunctions set forth in sections 74.5 and 74.6 of the Plan will not limit,
 abridge or otherwise affect the rights of the Oversight Board, AAFAF, Reorganized Debtors or the
 PSA Creditors to enforce, sue on, settle or compromise the rights, claims and other matters
 expressly retained by any of them.

        11.     Supplemental Injunction

         All entities who have held or asserted, currently hold or assert, or may hold or assert, any
 Released Claims against any of the Released Parties based upon or relating to the Title III Cases,
 any claim against the Debtors, whenever and wherever asserted, anywhere in the world, sounding
 in any theory of law, will be permanently stayed, restrained and enjoined from taking any action
 against any of the Released Parties for the purpose of collecting, recovering or receiving any
 payment with respect to any Released Claims arising prior to the Effective Date (including prior
 to the Petition Date), including:

                        Commencing or continuing in any manner any action or other proceeding
                        of any kind with respect to any such Released Claim against any of the
                        Released Parties or the assets or property of any Released Party;

                        Enforcing, attaching, collecting or recovering, by any manner or means,
                        any judgment, award, decree or order against any of the Released Parties
                        or the assets or property of any Released Party with respect to any such
                        Released Claim;

                        Creating, perfecting or enforcing any lien of any kind against any of the
                        Released Parties or the assets or property of any Released Party with
                        respect to any such Released Claim;

                        Asserting, implementing or effectuating any setoff, contribution or
                        recoupment of any kind against any obligation due to any of the Released
                        Parties or against the property of any Released Party with respect to any
                        such Released Claim; and

                        Taking any act that does not conform to the provisions of the Plan, the
                        Confirmation Order.

        12.     Post-Effective Date Fees and Expenses

         After the Effective Date, Reorganized Debtors may retain professionals and pay reasonable
 professional fees and expenses incurred related to implementation and consummation of the Plan
 without further approval from Title III Court. Without limiting the foregoing, from and after the
 Effective Date, Reorganized Debtors shall, in the ordinary course of business and without the
 necessity for any approval by the Title III Court, but in no event later than forty-five (45) days
 following the submission of invoices or statements with respect to the incurrence of fees and
 expenses to the Reorganized Debtors, pay the fees and reimburse the expenses of the Oversight
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 Board and its professionals related to the implementation and consummation of the Plan and in
 connection with its duties and responsibilities pursuant to PROMESA and the terms and provisions
 of the Plan.

         13.     Securities Act Exemption

       The offering, issuance, and distribution of the New GO Bonds and COFINA Junior Lien
 Bonds pursuant to the terms hereof will be exempt from registration under:

                         the Securities Act;

                         any state or local law requiring registration for the offer, issuance or
                         distribution of securities, including, but not limited to, the registration
                         requirements of section 5 of the Securities Act; and

                         any other applicable state or federal law requiring registration and/or
                         prospectus delivery or qualification prior to the offering, issuance,
                         distribution, or sale of securities.

         14.     Severability

          Subject to the terms and provisions of the PSA, if the Title III Court determines before the
 Confirmation Date that any term or provision of the Plan is invalid, void, or unenforceable, the
 Title III Court may alter or interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable. The Title III Court’s alteration will be consistent with the original
 purpose of the term or provision held to be invalid, void or unenforceable, and such term or
 provision shall then be applicable as altered or interpreted.

         15.     Governing Law

         The rights, duties, and obligations arising under the Plan shall be governed by PROMESA
 (including the provisions of the Bankruptcy Code made applicable under section 301 of
 PROMESA) and the laws of the Commonwealth (to the extent not inconsistent with PROMESA),
 unless other federal law is applicable or expressly provided otherwise.

         16.     Closing Case

         The Oversight Board will file with the Title III Court all documents required by Bankruptcy
 Rule 3022 and any applicable order of the Title III Court promptly upon the full administration of
 the Title III Cases. The Title III Court will continue to retain jurisdiction over all matters in Article
 LXXIII of the Plan after the closing of the Title III Cases.

         17.     Inconsistencies

        If there is any inconsistency between the information contained in the Disclosure Statement
 and the terms of the Plan, the terms of the Plan will govern.


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        If there is any inconsistency between the terms of the Plan and the terms of the
 Confirmation Order, the terms of the Confirmation Order will govern and be considered a
 modification of the Plan, unless the Confirmation Order modifies the economic terms of the Plan.

        18.     Document Retention

        From and after the Effective Date, the Debtors may maintain documents in accordance with
 their standard document retention policy, which can be altered, amended, modified, or
 supplemented by the Debtors.

        19.     Immediate Binding Effect

         On the Effective Date, the terms of the Plan and the Plan Supplement will be immediately
 effective and enforceable and deemed binding on any and all holders of claims and their respective
 successors and assigns (whether or not the claim of any such holder is impaired under the Plan or
 such holder has accepted the Plan). The releases, exculpations, and settlements effected under the
 Plan will be operative and subject to enforcement by the Title III Court from the Effective Date.

         Once approved by the Title III Court, the compromises and settlements embodied in the
 Plan, along with the treatment of any associated allowed claims, will not be subject to collateral
 attack or other challenge by any entity in any court or other forum. As such, any entity that opposes
 the terms of any compromise and settlement set forth in the Plan must (a) challenge such
 compromise and settlement before the Plan is confirmed, and (b) demonstrate appropriate standing
 to object and that the subject compromise and settlement does not meet the standards governing
 settlements under Bankruptcy Rule 9019 and other applicable law.

        20.     Additional Documents

         On or before the Effective Date, the Oversight Board may file agreements and other
 documents to evidence the terms and conditions of the Plan. The Debtors and all holders of claims
 receiving distributions pursuant to the Plan and all other parties in interest may prepare, execute,
 and deliver any agreements or documents and take any other actions as may be necessary to
 implement the provisions and intent of the Plan.

        21.     Reservation of Rights

        The Plan will have no force or effect unless the Title III Court enters the Confirmation
 Order. The filing of the Plan, any statement or provision contained in the Plan, or the taking of
 any action by the Debtors with respect to the Plan, the Disclosure Statement, or the Plan
 Supplement will not be deemed to be an admission or waiver of any rights of the Debtors with
 respect to the holders of claims prior to the Effective Date. The rights and powers of the
 Government under the Commonwealth Constitution and PROMESA, including sections 303 and
 305 of PROMESA, are expressly reserved (subject to any limitation imposed by the
 Commonwealth Constitution, the U.S. Constitution or PROMESA), and nothing in the Plan will
 be deemed a waiver of any such rights and powers except as expressly set forth in the Plan.


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        22.     Successors and Assigns

          The rights, benefits, and obligations of any entity named or referred to in the Plan or the
 Confirmation Order will be binding on, any heir, executor, administrator, successor or assign,
 affiliate, officer, director, agent, representative, attorney, beneficiaries, or guardian of each entity
 except as expressly provided otherwise in the Plan.

        23.     Term of Injunctions or Stay

         All injunctions or stays in effect in the Title III Cases and existing on the Confirmation
 Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order) will
 remain in full force and effect until the Effective Date, the Plan or the Confirmation Order provides
 otherwise. All injunctions or stays contained in the Plan or the Confirmation Order will remain in
 full force and effect in accordance with their terms.

        24.     Plan Supplement

         All documents included in the Plan Supplement are incorporated into and are a part of the
 Plan as if they were included in the Plan. When the Plan Supplement is filed, copies of the
 documents will be available (1) upon written request to the Oversight Board’s counsel at the
 address on the cover page of this Disclosure Statement, (2) by downloading such documents from
 https://cases.primeclerk.com/puertorico/, or (3) on the Title III Court’s website, available via
 PACER. The terms of the Plan will govern over the terms of any document in the Plan
 Supplement, to the extent there are any inconsistencies. With respect to matters governed by the
 New GO Bond Indenture, to the extent that any provisions of the Plan are inconsistent with the
 New GO Bond Indenture or the COFINA Bond Indenture, the New GO Bond Indenture or the
 COFINA Bond Indenture, as the case may be, will control.




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                          VII.    Confirmation of the Plan of Adjustment

 A.     Confirmation Hearing

        PROMESA and the Bankruptcy Code require the Title III Court, after notice, to conduct a
 Confirmation Hearing at which it will hear arguments in support of the Plan, any objections to the
 Plan, and consider evidence with respect to whether the Plan should be confirmed. At the
 Confirmation Hearing, the Title III Court will confirm the Plan only if all of the requirements of
 PROMESA section 314 described below are met.

        On ______________, the Title III Court entered the _________________ [ECF No. ___]
 (the “Scheduling Order”). Among other things, the Scheduling Order provides that the
 Confirmation Hearing will begin on __________, __________ (Atlantic Standard Time) before
 the Honorable Laura Taylor Swain, United States District Judge, at the Title III Court, Clemente
 Ruiz Nazario United States Courthouse, 150 Carlos Chardón Avenue, San Juan, P.R. 00918 at a
 courtroom to be later determined. The Confirmation Hearing may be adjourned from time to time
 by the Title III Court or the Debtors without further notice, except for an announcement of the
 adjourned date made at the Confirmation Hearing.

 B.     Deadlines to Object to Confirmation

         The Disclosure Statement Order establishes the objection deadline to confirmation of the
 Plan as _____________ at _____________ (Atlantic Standard Time). Objections to confirmation
 of the Plan must: (1) be in writing; (2) state the name and address of the objecting party and the
 nature of the Claim of such party; (3) state with particularity the basis and nature of any objection;
 and (4) be filed with the Title III Court, and served on the following parties so that they are received
 no later than the applicable deadline set forth above:

           the Office of the United States Trustee for the District of Puerto Rico, Edificio Ochoa,
            500 Tanca Street, Suite 301, San Juan, PR 00901 (re: In re: Commonwealth of Puerto
            Rico);

           the attorneys for the Oversight Board as representative of the Debtors, Proskauer Rose
            LLP, 11 Times Square, New York, New York 10036, Attn: Martin J. Bienenstock,
            Esq., and Brian Rosen, Esq.;

           the co-attorneys for the Oversight Board as representative of the Debtors, O’Neill &
            Borges LLC, 250 Muñoz Rivera Ave., Suite 800, San Juan, PR 00918-1813, Attn:
            Hermann D. Bauer, Esq.;

           the attorneys for the Puerto Rico Fiscal Agency and Financial Advisory Authority,
            O’Melveny & Myers LLP, Times Square Tower, 7 Times Square, New York, NY
            10036, Attn: John J. Rapisardi, Esq., Nancy Mitchell, Esq., and Maria J. DiConza, Esq.;

           the attorneys for the Puerto Rico Fiscal Agency and Financial Advisory Authority,
            Marini Pietrantoni Muniz, LLC, Luis C. Marini-Biaggi, Esq., MCS Plaza, Suite 500,
            255 Ponce de León Ave., San Juan PR 00917;
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         the attorneys for the Official Committee of Unsecured Creditors, Paul Hastings LLP,
          200 Park Ave., New York, NY 10166, Attn: Luc A. Despins, Esq., Andrew V. Tenzer,
          Esq., Michael E. Comerford, Esq., and G. Alexander Bongartz, Esq.;

         those creditors holding the 20 largest unsecured claims against the Debtors (on a
          consolidated basis);

         the attorneys for the Official Committee of Unsecured Creditors, Casillas, Santiago &
          Torres LLC, El Caribe Office Building, 53 Palmeras Street, Ste. 1601, San Juan, PR
          00901, Attn: Juan J. Casillas Ayala, Esq. and Alberto J.E. Añeses Negrón, Esq.;

         the attorneys for the Official Committee of Retired Employees, Jenner & Block LLP,
          919 Third Ave., New York, NY 10022, Attn: Robert Gordon, Esq. and Richard Levin,
          Esq., and Jenner & Block LLP, 353 N. Clark Street, Chicago, IL 60654, Attn: Catherine
          Steege, Esq. and Melissa Root, Esq.;

         the attorneys for the Official Committee of Retired Employees, Bennazar, García &
          Milián, C.S.P., Edificio Union Plaza, PH-A, 416 Ave. Ponce de León, Hato Rey, PR
          00918, Attn: A.J. Bennazar- Zequeira, Esq.;

         the attorneys for the LCDC, Quinn Emanuel Urquhart & Sullivan, LLP, 51 Madison
          Avenue, 22nd Floor, New York, NY 10010, Attn: Susheel Kirpalani, Esq., and Eric
          Kay, Esq.;

         the attorneys for the QTCB Group, Morgan, Lewis & Bockius LLP, One State Street,
          Hartford, CT 06103, Attn: Kurt A. Mayr, Esq., David L. Lawton, Esq., and Shannon
          B. Wolf;

         the attorneys for the Ad Hoc Group of Constitutional Debtholders, Morrison & Foerster
          LLP, 250 West 55th Street, New York, NY 10019, Attn: Gary S. Lee, Esq., James A.
          Newton, Esq., and Andrew Kissner, Esq.;

         the attorneys for the GO Group, (i) Paul, Weiss, Rifkind, Wharton & Garrison, LLP,
          1285 Avenue of the Americas, New York, NY 10019, Attn: Andrew Rosenberg, Esq.
          and Karen Zeituni, Esq.; (ii) Willkie, Farr & Gallagher LLP, 1875 K Street, NW,
          Washington, DC 20006, Attn: Mark Stancil, Esq.; and (iii) Robbins, Russell, Englert,
          Orseck, Untereiner & Sauber, LLP, 2000 K Street, NW, Washington, DC 20006, Attn:
          Donald Burke, Esq.;

         the attorneys for AFSCME, Stroock & Stroock & Lavan LLP, 180 Maiden Lane, New
          York, NY 10038, Attn: Kenneth Pasquale, Esq., and Sherry J. Millman, Esq.; and

         all parties that have requested notice pursuant to Rule 2002 of the Bankruptcy Rules.




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         For purposes of filing objections in these cases, the address of the Title III Court is: United
 States District Court for the Southern District of New York, Daniel Patrick Moynihan United
 States Courthouse, 500 Pearl St., Suite No. 3212, New York, New York 10007-1312

 C.     Requirements for Confirmation of the Plan of Adjustment

         At the Confirmation Hearing, the Title III Court will determine whether the Plan satisfies
 the requirements of PROMESA section 314. The Debtors believe that the Plan will satisfy all of
 the applicable statutory requirements of PROMESA and the Bankruptcy Code. Among the
 requirements for confirmation are that the Plan (1) is accepted by the requisite Holders of impaired
 Classes of Claims or, if not so accepted, is “fair and equitable” and does not discriminate unfairly
 as to the non-accepting class, (2) is in the “best interests” of creditors, (3) is feasible, and (4)
 complies with the applicable provisions of PROMESA and the Bankruptcy Code.

        1.      Acceptance or Cramdown

         A plan is accepted by an impaired class of claims if holders of two-thirds in dollar amount
 and a majority in number of allowed claims of that class vote to accept the plan. Only those holders
 of claims who actually vote to accept or reject the plan count in the tabulation. The impaired classes
 must accept the plan in order for the plan to be confirmed without application of the “cramdown”
 test contained in sections 1129(b)(i), (b)(2)(A) and (b)(2)(B) of the Bankruptcy Code.

                        Cramdown

         PROMESA and the Bankruptcy Code provide that the Title III Court may confirm a plan
 of adjustment that is not accepted by all impaired classes if at least one impaired class of claims
 accepts the plan and the so-called “cramdown” provisions set forth in sections 1129(b)(l),
 (b)(2)(A) and (b)(2)(B) of the Bankruptcy Code are satisfied. The plan of adjustment may be
 confirmed under the cramdown provisions if, in addition to satisfying the other requirements of
 section 943(b) of the Bankruptcy Code, it (i) is “fair and equitable” and (ii) does not discriminate
 unfairly with respect to each class of claims that is impaired under and has not accepted the plan.
 The Debtors believe that the Plan and the treatment of all Classes of Claims under the Plan satisfy
 the following requirements for nonconsensual confirmation of the Plan.

                         “Fair and Equitable”

         Uncertainty exists as to the contours of the “fair and equitable” requirement in Title III.
 Outside of the context of Title III, the “fair and equitable” requirement generally requires, among
 other things, that, unless a dissenting unsecured class of claims receives payment in full for its
 allowed claims, no holder of allowed claims in any class junior to that class may receive or retain
 any property on account of such claims. This is known as the “absolute priority rule.” Few
 published opinions have addressed the meaning of the “fair and equitable” requirement in chapter
 9 cases. Courts that have addressed this requirement in context of a chapter 9 case have indicated
 that, because there are no equity holders in chapter 9 cases (who, in theory, would be junior in
 priority to a debtor’s general unsecured creditors), the absolute priority rule cannot be applied in
 chapter 9 cases and, thus, in such cases, the “fair and equitable” requirement should not be
 interpreted as synonymous with the absolute priority rule. Instead, courts have held that the
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 requirement that the “fair and equitable” requirement in chapter 9 is understood as requiring that,
 where a debtor seeks nonconsensual confirmation of a plan of adjustment, the impaired creditors
 of such debtor, under the proposed plan, will receive all that they can reasonably expect under the
 circumstances.

         The Debtors believe that the Plan is “fair and equitable” with respect to Holders of Claims
 against the Debtors because it provides such Holders of Claims with all they reasonably can expect
 under the circumstances of the Title III Cases. The commencement of the Title III Cases was
 precipitated by the Debtors’ untenable debt burden, a severe cash shortage, and the economic
 decline and outmigration eroding the Debtors’ revenues. The Debtors believe that the Plan is “fair
 and equitable” because the creditor recoveries proposed therein have been calculated – and, in
 certain cases, negotiated – to reasonably compensate Holders of Claims while enabling the Debtors
 to (A) avoid a recurrence of the financial difficulties that led to the commencement of the Title III
 Cases and (B) institute desperately-needed reinvestment initiatives to ensure the Debtors’
 continued operation.

                               Unfair Discrimination

         A plan of adjustment does not “discriminate unfairly” if a dissenting class is treated
 substantially equally with respect to other classes similarly situated, and no class receives more
 than it is legally entitled to receive for its claims. The Debtors do not believe that the Plan
 discriminates unfairly against any impaired Class of Claims.

      IN THE EVENT OF REJECTION OF THE PLAN BY ONE OR MORE IMPAIRED
 CLASSES, THE OVERSIGHT BOARD RESERVES THE RIGHT TO REQUEST THE
 TITLE III COURT TO CONFIRM THE PLAN IN ACCORDANCE WITH PROMESA
 AND SECTION 1129(b)(1), (b)(2)(A) AND (b)(2)(B) OF THE BANKRUPTCY CODE. THE
 OVERSIGHT BOARD HAS RESERVED THE RIGHT TO MODIFY THE PLAN TO THE
 EXTENT, IF ANY, THAT CONFIRMATION OF THE PLAN UNDER SECTION 314 OF
 PROMESA AND SECTION 1129(b) OF THE BANKRUPTCY CODE REQUIRES
 MODIFICATION.

                               The “Best Interests of Creditors” Test

         Notwithstanding acceptance of the Plan by each impaired Class of Claims, the Title III
 Court also must determine that the Plan is in the best interests of creditors pursuant to PROMESA
 section 314(b)(6). The “best interests of creditors” test under PROMESA “shall require the court
 to consider whether available remedies under the non-bankruptcy laws and constitution of the
 territory would result in a greater recovery for the creditors than is provided by such plan.” The
 plain language of the test requires the court to consider the recoveries to all creditors collectively,
 not individual recoveries.354 The failure of plan confirmation and dismissal of a debtor’s title III

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       This interpretation is consistent with the approach taken by courts in chapter 9 cases, where Bankruptcy Code
       section 943(b)(7) requires the plan to be “in the best interests of creditors,” similarly using the plural “creditors.”
       See In re City of Detroit, 524 B.R. 147, 217 (Bankr. E.D. Mich. 2014). See also In re City of Stockton, 542 B.R.
       261, 283 (B.A.P. 9th Cir. 2015) (By its terms, the “best interests” test in chapter 9 is collective rather than
       individualized).
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 case, in most instances, would result in a race to the courthouse that would leave many creditors
 with no recovery at all.

         The best interests test analyses (the “Best Interests Test Reports”) the Title III Court
 considers—i.e., of recoveries creditors of each Debtor could expect based on available remedies
 under the non-bankruptcy laws and the Commonwealth Constitution—that were based on the May
 2019 Fiscal Plan are attached hereto as Exhibit L. The Debtors believe that the Plan satisfies the
 best interests of creditors test set forth in PROMESA section 314(b)(6).

        The Oversight Board intends to certify a new fiscal plan before the solicitation of this
 Disclosure Statement occurs.355 Accordingly, to the extent necessary, the Debtors will submit
 revised best interests test reports reflecting the new fiscal plan data.

                              Feasibility

          PROMESA section 314(b)(6) requires that a plan of adjustment be in the best interests of
 creditors and feasible. While the statute explains the best interests of creditors requirement means
 the Court shall consider what creditors would recover pursuant to available remedies outside Title
 III, the statute does not provide guidance as to what is meant by “feasible,” beyond the word itself.
 Chapter 9 of the Bankruptcy Code is the chapter available to municipalities of the States. It also
 imposes a feasibility requirement in its section 943(b)(7) without providing further guidance.
 Courts have interpreted the feasibility requirement in chapter 9 to mean the municipality will be
 viable, and the plan offers a reasonable prospect of success and is workable. The debtor must
 show it can satisfy the obligations in its plan. Unlike chapter 9, Title III also contains a requirement
 that the Title III Plan of Adjustment be consistent with the certified fiscal plan. Significantly,
 pursuant to PROMESA section 201(b)(1)(I), the certified fiscal plan must contain a debt
 sustainability analysis. Accordingly, the feasibility of the Title III Plan of Adjustment is at least
 partially determinable by whether the plan provides for an amount of ongoing debt within the range
 of the debt sustainability analysis in the certified fiscal plan.

         Commonwealth. Based on the debt sustainability analysis and projections in the May 2019
 Fiscal Plan, Reorganized Commonwealth should be able to pay its debts under the Plan when they
 come due and the Commonwealth should be viable. If needed, the Debtors will update the analysis
 when the new fiscal plan is certified, but expect that under the new fiscal plan, the Commonwealth
 will be able to pay its debts under the Plan when they come due.

         ERS. Pursuant to the Plan, ERS will no longer be responsible for the payment of pension
 obligations or debt service. ERS’s pension obligations are contained as expenditures within the
 Commonwealth’s May 2019 Fiscal Plan through the PayGo system to be funded from
 Commonwealth sources of revenue and municipal contributions. Therefore, pursuant to the Plan,
 ERS will not have material future payments.


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       The certification of a new Commonwealth fiscal plan is currently expected on April 30, 2020. Letter from Natalie
       A. Jaresko to Governor Vázquez Garced, President Rivera Schatz, and Speaker Méndez Núñez, Jan. 30, 2020,
       https://drive.google.com/file/d/1Y81ivGjzA8kqtIyqtRSIW9gkZs-1k_Ew/view.

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        PBA. Pursuant to the Plan, PBA will not have material future payments.

     Accordingly, the Debtors believe that the Plan meets the feasibility requirement of
 PROMESA section 314(b)(6).

                        Compliance with Applicable Provisions of PROMESA and the
                        Bankruptcy Code

     In addition to the foregoing, the Plan must comply with other applicable provisions of
 PROMESA and the Bankruptcy Code, as follows:

            The Plan must comply with the provisions of the Bankruptcy Code made applicable by
             PROMESA section 301 (PROMESA § 314(b)(1));

            The Plan must comply with the provisions of PROMESA Title III (PROMESA §
             314(b)(2));

            The Debtors must not be prohibited by law from taking any action necessary to carry
             out the Plan (PROMESA § 314(b)(3));

            Except to the extent that the holder of a particular claim has agreed to a different
             treatment of such claim, the Plan must provide that on the Effective Date each holder
             of a claim of a kind specified in 507(a)(2) of the Bankruptcy Code will receive on
             account of such claim cash equal to the allowed amount of such claim (PROMESA §
             314(b)(4));

            Any legislative, regulatory, or electoral approval necessary under applicable law in
             order to carry out any provision of the Plan must be obtained, or such provision must
             be expressly conditioned on such approval (PROMESA § 314(b)(5));

            The Plan must be consistent with the Fiscal Plan certified by the Oversight Board under
             Title III (PROMESA § 314(b)(7));

            The Debtors, as the proponents of the Plan by and through the Oversight Board, must
             have complied with all provisions of the Bankruptcy Code (11 U.S.C. § 1129(a)(2);
             PROMESA § 301(a)); and

            The Plan must have been proposed in good faith and not by any means forbidden by
             law (11 U.S.C. § 1129(a)(3); PROMESA § 301(a)).

        2.      Alternatives to Confirmation and Consummation of the Plan

         The Debtors have evaluated numerous alternatives to the Plan, including alternative
 structures and terms of the Plan and delaying the adoption thereof. While the Debtors have
 concluded that the Plan is the best alternative and will maximize recoveries by holders of Allowed
 Claims against the Debtors, if the Plan is not confirmed, the Debtors could attempt to formulate
 and propose a different plan of adjustment. The Debtors (or another party in interest) may also
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 move to dismiss the Title III cases pursuant to 11 U.S.C. § 930 (as incorporated by PROMESA
 § 301(a).

         The Plan was formulated after months of difficult negotiations among numerous creditor
 constituencies, including in connection with numerous mediation sessions ordered by the Title III
 Court (see section VI.E of this Disclosure Statement). Under the circumstances, the Debtors
 believe that the Plan provides the greatest and earliest possible recoveries to Creditors and that
 acceptance and confirmation of the Plan are in the best interests of the Debtors and all Creditors.
 The Debtors further believe that any alternative to the Plan would result in unnecessary delay,
 uncertainty, litigation, and expense, the net effect of which would result in recoveries to Creditors
 less than the distributions to be made to Creditors under the Plan. The Debtors, therefore, believe
 that confirmation and consummation of the Plan is preferable to potential alternatives.




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                          VIII. Certain Risk Factors to Be Considered

      AS WITH ANY INVESTMENT, RECOVERIES ON THE NEW BONDS INVOLVE
 RISKS. YOU SHOULD CAREFULLY CONSIDER THE RISK FACTORS SET FORTH
 BELOW REGARDING THE PLAN, AND THE NEW BONDS, AS WELL AS ALL OTHER
 INFORMATION CONTAINED OR INCORPORATED BY REFERENCE INTO THIS
 DISCLOSURE STATEMENT. THE FOLLOWING RISK FACTORS ARE NOT THE
 ONLY RISKS THE DEBTORS FACE, ARE NOT MEANT TO BE A COMPLETE LIST
 OF RISKS ASSOCIATED WITH THE PLAN OR THE NEW BONDS, AND DO NOT
 NECESSARILY REFLECT THE RELATIVE IMPORTANCE OF VARIOUS RISKS.
 ADDITIONAL RISKS AND UNCERTAINTIES NOT CURRENTLY KNOWN TO THE
 DEBTORS OR THAT THE DEBTORS DO NOT CURRENTLY CONSIDER TO BE
 MATERIAL, OR THAT ARE GENERALLY APPLICABLE TO ALL GOVERNMENTAL
 INSTRUMENTALITIES, ALSO MAY MATERIALLY AND ADVERSELY AFFECT THE
 DEBTORS AND THE DEBTORS’ ABILITY TO CONSUMMATE THE PLAN AND
 MAKE PAYMENTS ON THE NEW BONDS. YOU ARE ADVISED TO CONSIDER THE
 FOLLOWING RISK FACTORS, AMONG OTHERS, AND TO REVIEW THE OTHER
 INFORMATION CONTAINED OR INCORPORATED BY REFERENCE INTO THIS
 DISCLOSURE STATEMENT BEFORE MAKING ANY DECISIONS WITH RESPECT
 TO THE PLAN OR THE NEW BONDS. ANY ONE OR MORE OF THE FACTORS
 DISCUSSED HEREIN, AND OTHER FACTORS NOT DESCRIBED HEREIN, COULD
 AFFECT RECOVERIES UNDER THE PLAN OR LEAD TO A DECREASE IN THE
 MARKET VALUE AND THE LIQUIDITY OF THE NEW BONDS. THERE CAN BE NO
 ASSURANCE THAT OTHER RISK FACTORS NOT DISCUSSED BELOW WILL NOT
 BECOME MATERIAL IN THE FUTURE.

      NEITHER THE DEBTORS NOR ANY FEDERAL, STATE, OR
 COMMONWEALTH SECURITIES COMMISSION OR REGULATORY AUTHORITY
 HAS APPROVED OR DISAPPROVED THE NEW BONDS AND OTHER SECURITIES
 TO BE ISSUED PURSUANT TO THE PLAN OR PASSED ON THE ADEQUACY OR
 ACCURACY OF THIS DISCLOSURE STATEMENT.

 A.     Risks Related to the Title III Cases

 The Title III Court may not confirm the Plan.

          PROMESA section 314(b) and Bankruptcy Code section 1129 (in its incorporated parts)
 set forth the requirements for confirmation of a Title III plan of adjustment, and require the Title
 III Court to make a series of specified, independent findings. There can be no assurance that the
 Title III Court will find that the Plan meets all of these requirements and confirm the Plan. If the
 Plan is not confirmed, it is uncertain what recoveries, if any, holders would receive with respect to
 their Claims under an alternative plan of adjustment or under other applicable law if the Title III
 Court dismisses the Title III Cases. For additional information, see section VII.C of this Disclosure
 Statement, entitled “Requirements for Confirmation of the Plan of Adjustment.”



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 The Title III Court does not find the plan of adjustment is consistent with the applicable certified
 fiscal plan.

         Under PROMESA section 314(b)(7), the Plan must be consistent with the Commonwealth
 Fiscal Plan, certified by the Oversight Board. Although the Oversight Board has certified under
 PROMESA section 104(j)(3) that the Plan is consistent with the Commonwealth Fiscal Plan,356
 PROMESA section 314(b) requires that the Title III Court make an independent determination as
 to whether the Plan is consistent with the Commonwealth Fiscal Plan. Therefore, there can be no
 assurance that the Title III Court will find that the Plan is consistent with the Commonwealth Fiscal
 Plan. To be consistent with the certified fiscal plans, the Plan cannot provide for more debt than
 the certified fiscal plans’ debt sustainability analyses determines should be sustained by each
 reorganized entity.

 If any claimant is successful in prosecuting and obtaining an allowed (i) administrative
 expense claim, (ii) priority claim, (iii) secured claim, or (iv) non-dischargeable claim, and
 any such claim is not contemplated to be paid pursuant to the Plan, the Plan may not be
 confirmable.

        Various parties have asserted claims against the Debtors that they assert may be
 administrative expense claims, priority claims, secured claims, or non-dischargeable and that are
 not contemplated to be paid pursuant to the Plan. If such and other similar claims are ultimately
 allowed, the Plan may not be confirmable without amendments that may materially change its
 proposed distributions.

 The Title III Court may not approve the settlements and compromises in the Plan.

          The Debtors believe the significant compromises and settlements reflected in the Plan are
 fair, equitable, and reasonable. Such compromises and settlements are an integral part of the Plan,
 and they provide value and certainty for the Debtors and all Creditors by eliminating significant
 litigation risk and expenses, and providing a framework for the Debtors to emerge from Title III
 expeditiously.

        While parties to the Plan Support Agreements include holders of billions of dollars in
 Claims against the some of the Debtors, other parties in interest in the Title III Cases may object
 to those compromises and settlements, as incorporated in the Plan. If the compromises and
 settlements in the Plan Support Agreements are not approved in the Title III Cases, the Debtors
 may not be able to confirm the Plan.

        The Plan may also be contingent on the approval of other settlements and compromises
 resolved under the Plan. If the settlements and compromises contained in the Plan require
 approval, but are not approved, the Debtors may not be able to confirm the Plan.



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       The certification of a new Commonwealth fiscal plan is currently expected on April 30, 2020. Letter from Natalie
       A. Jaresko to Governor Vázquez Garced, President Rivera Schatz, and Speaker Méndez Núñez, Jan. 30, 2020,
       https://drive.google.com/file/d/1Y81ivGjzA8kqtIyqtRSIW9gkZs-1k_Ew/view.

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 The Effective Date may not occur.

         Article LVIII of the Plan provides for certain conditions that must be satisfied (or waived)
 prior to the occurrence of the Effective Date. Many of the conditions are outside of the control of
 the Debtors. As of the date of this Disclosure Statement, there can be no assurance that any or all
 of the conditions to effectiveness of the Plan will be satisfied (or waived). Accordingly, even if the
 Plan is confirmed by the Title III Court, there can be no assurance that the Plan will be
 consummated and the adjustment of the Debtors’ debts completed. See section VI.S. of this
 Disclosure Statement, entitled “Conditions Precedent to the Effective Date” (description of the
 conditions to the effectiveness of the Plan). In addition, certain agreements contemplated in the
 Plan impose conditions that must be satisfied as of the Effective Date. There can be no assurance
 that such conditions will be timely satisfied or waived.

 If the Plan Support Agreements are terminated, the ability of the Debtor to confirm the Plan
 may be materially and adversely affected.

         Each of the Plan Support Agreements contains a number of termination events, upon the
 occurrence of which certain parties to the Plan Support Agreements may terminate or withdraw
 from such agreement. For instance, creditor parties may terminate their respective Plan Support
 Agreement if the Debtors withdraw the Plan, the Disclosure Statement, or the motion seeking entry
 of an order approving the Disclosure Statement, or file any motion or pleading with the Title III
 Court, in each case, that is inconsistent with the subject Plan Support Agreement in any material
 respect and such motion or pleading has not been withdrawn within a specified period of time. If
 the respective Plan Support Agreement is terminated, each of the parties thereto will be released
 from their obligations in accordance with the terms of the respective Plan Support Agreement.
 The withdrawal of support by creditors from, or the termination of, a Plan Support Agreement may
 have a material adverse effect on the Debtor’s ability to confirm the Plan.

 B.     Risks Related to the Debtors

 The financial information contained herein is based upon the Debtors’ books and records and
 publicly available information as of the date hereof or the date to which such information
 relates, as applicable; no audit or independent examination of such information was performed.

         The financial information contained herein has not been, and will not be, audited or
 reviewed by any independent accounting firm or third party and is limited in scope. Although the
 Debtors believe that they have used their reasonable efforts to assure the accuracy of the financial
 information provided herein, there can be no assurance that the financial information contained
 herein is without material inaccuracies or inconsistencies. As a result, you are cautioned not to
 place undue reliance on any of the financial information contained herein.

 The Debtors have no duty to update the statements contained in this Disclosure Statement.

         The statements contained in this Disclosure Statement are made by the Debtors as of the
 date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
 that date does not imply that there has been no change in the information set forth herein since that

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 date. The Debtors have no duty to update this Disclosure Statement unless otherwise ordered to
 do so by the Title III Court or as required under the Bankruptcy Code or Bankruptcy Rules.

 No representations outside this Disclosure Statement are authorized.

         No representations concerning or related to the Debtors, the Title III Cases, or the Plan are
 authorized by the Title III Court, PROMESA, or the Bankruptcy Code, other than as set forth in
 this Disclosure Statement and any other Solicitation Materials that accompany this Disclosure
 Statement. Any representations or inducements made to secure your acceptance or rejection of the
 Plan that are other than as contained in, or included with, this Disclosure Statement should be
 relied upon by you at your own risk in arriving at your decision.

 The Oversight Board will terminate before Plan obligations are fully satisfied.

        After five years of balanced budgets, the Oversight Board terminates. This may occur
 many years before the obligations under the Plan are fully satisfied. Then, there will no longer be
 annual fiscal plans, budgets, and monitoring performed by people who are not politicians.

 When the Oversight Board terminates, the Government can eliminate controls, protections, and
 transparency the Oversight Board has created.

         Every legislature can change prior laws. There is no assurance the Oversight Board’s
 protections and systems will be continued by subsequent administrations, and the Government
 may object to measures the Oversight Board imposes, and may continue to do so once the
 Oversight Board is no longer present to enforce the reforms it has imposed. However, covenants
 and obligations in the Plan, the New GO Bonds Legislation, thee COFINA Junior Lien Bonds
 Legislation, and the Definitive Documents, inclusive of obligations impacting governmental or
 political powers pursuant to PROMESA section 305, may be enforced by parties in interest having
 standing to do so.

 Financial reporting going forward may not be completed on a timely basis.

        The most recent basic audited financial statements prepared by the Commonwealth, ERS,
 and PBA are for fiscal year 2016. No guaranty can be made as to the availability of current audited
 financial statements or the Debtors’ ability to provide financial reporting on a timely basis.

    C. Risks Related to the New GO Bonds

 The New GO Bonds may not trade at par and limited liquidity may make the New GO Bonds
 less attractive to investors.

         As a result of concerns with the Commonwealth’s current financial circumstances, holders
 of the New GO Bonds may encounter limited market acceptance upon any attempt to sell the New
 GO Bonds, making sales at or near par potentially difficult. Holders of the New GO Bonds after
 the Effective Date may not be able to sell such bonds for any price for some time. Alternatively,
 potential purchasers may demand discounts to the par amount of such bonds before a potential
 purchaser would be willing to purchase the New GO Bonds. There can be no assurance that a
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 secondary market will exist for any New GO Bonds. The absence of a secondary market for the
 New GO Bonds or a lack of liquidity in the secondary markets could limit bondholders’ ability to
 resell any New GO Bonds or adversely affect the market value of the New GO Bonds.

          The New GO Bonds and transactions described herein will be made on the basis of
 exemptions from registration provided in the Securities Act of 1933, as amended. The New GO
 Bonds have not been approved or disapproved by the United States Securities and Exchange
 Commission, any state or Commonwealth securities commission or any other regulatory authority,
 nor have any of the forgoing passed upon the accuracy or adequacy of this Disclosure Statement.
 Any representation to the contrary is a criminal offense. Therefore, the secondary market for the
 New GO Bonds may be limited, and bondholders may not be able to sell the New GO Bonds when
 they want to do so or obtain the price that they wish to receive for the New GO Bonds, and, as a
 result, could suffer significant losses.

         Given the unique nature of the Plan, certain closing conditions and closing deliverables,
 including legal opinions, with respect to the Plan will differ in type and scope from those typically
 required in municipal debt offering transactions that occur outside of a court-supervised
 restructuring process. In making their investment decision, investors should consider that certain
 actions, procedures or requirements of legal advisors and other third parties in connection with the
 Plan will differ materially from and be more limited than those typical requirements.

          Major disruptions in the global financial markets in recent years have caused a significant
 reduction in liquidity in the secondary market for securities. While conditions in the financial
 markets and the secondary markets have improved, periods of illiquidity could occur again and
 affect the secondary market, thereby materially adversely affecting the value of the New GO Bonds
 and limiting bondholders’ ability to sell the New GO Bonds. Concerns with the Commonwealth’s
 fiscal crisis may also adversely affect the market value and liquidity of the New GO Bonds.

 Limited Nature of Remedies.

        Upon any declaration of default under the New GO Bonds Indenture, Reorganized
 Commonwealth’s payment of the New GO Bonds cannot be accelerated. However, the New GO
 Bonds are secured by a statutory first lien on the Debt Service Reserve Fund and the Debt Service
 Fund to be held in trust by the New GO Bond Trustee for the benefit of holders of New GO Bonds,
 and are backed by the Commonwealth’s good faith, credit and taxing power in accordance with
 Article VI, Section 2 of the Commonwealth Constitution and applicable laws of the
 Commonwealth as of the Effective Date, but not by any further assets of the Commonwealth.

 Limited Nature of Ratings; Reductions, Suspension, or Withdrawal of a Rating.

          To the extent the Government Parties, each acting in its sole and absolute discretion,
 determine to apply for ratings on the New GO Bonds, the Government Parties have agreed to use
 commercially reasonable best efforts to obtain ratings on the New GO Bonds as soon as reasonably
 practicable as determined solely by the Government Parties following consultation with up to two
 (2) Initial PSA Creditors, jointly designated by the Constitutional Debt Group, the GO Group, the
 LCDC and the QTCB Group, each of which shall have executed a confidentiality agreement, in
 form and substance satisfactory to the Oversight Bond and restricting such Initial PSA Creditors
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 from trading New GO Bonds and COFINA Junior Lien Bonds, and to subsequently use their
 commercially reasonable best efforts to obtain the best possible ratings. The New GO Bonds
 Indenture will not include a covenant by the Government Parties to maintain a specific rating with
 respect to outstanding New GO Bonds.

         Any future rating assigned to the New GO Bonds by a rating agency will reflect such rating
 agency’s assessment of the likelihood of the payment of interest when due and principal of the
 New GO Bonds on their respective maturity dates. Any rating of the New GO Bonds is not a
 recommendation to purchase, hold or sell such New GO Bonds and such rating will not address
 the marketability of such New GO Bonds, their market price, or suitability for a particular investor.
 There is no assurance that any rating will remain for any given period of time or that any rating
 will not be lowered, suspended, or withdrawn entirely by a rating agency if, in such rating agency’s
 judgment, circumstances so warrant based on factors prevailing at the time, including, but not
 limited to, the evaluation by such rating agency of the financial outlook for Reorganized
 Commonwealth or the Commonwealth’s economy. Any such reduction, suspension or withdrawal
 of a rating, if it were to occur, could adversely affect the availability of a market or the market
 prices for the New GO Bonds.

 An adverse rating of the New GO Bonds could adversely affect the market price of the New
 GO Bonds.

         Notwithstanding that the Government Parties may not initially solicit a rating, a rating
 agency may issue an unsolicited rating on the New GO Bonds, employing quantitative and
 qualitative factors, including Reorganized Commonwealth’s actual or perceived financial strength,
 the prospects for payment of principal and interest on the New GO Bonds, the impact of the
 Commonwealth’s fiscal crisis, and other macroeconomic conditions in the Commonwealth.
 Ratings also reflect various methodologies and assumptions used by the rating agencies, which are
 subject to change without notice. Actions taken by the rating agencies can include initiating,
 maintaining, upgrading, downgrading or withdrawing a current rating of Reorganized
 Commonwealth’s indebtedness or placing Reorganized Commonwealth on negative outlook for
 possible future downgrading. Such action may be taken at any time and is beyond the
 Commonwealth’s control. The downgrade or withdrawal of any credit rating of Reorganized
 Commonwealth’s indebtedness, including the New GO Bonds, or placing Reorganized
 Commonwealth on negative outlook for possible future downgrading may have a negative effect
 on the value of the New GO Bonds.

 The New GO Bonds will not be subject to the Trust Indenture Act.

         The New GO Bonds will not be required to be and will not be issued under an indenture
 qualified under the Trust Indenture Act of 1939, as amended (the “TIA”). Accordingly, holders of
 the New GO Bonds will not have the benefit of the protections of the TIA with respect to their
 investment in the New GO Bonds.




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    D. Risks Related to the COFINA Junior Lien Bonds

 The COFINA Junior Lien Bonds are special, limited obligations of COFINA payable solely
 from, secured solely by, and having recourse solely to, the COFINA Pledged Taxes, subordinate
 to the statutory lien granted pursuant to the COFINA Senior Lien Bonds Legislation.

         The COFINA Junior Lien Bonds are not indebtedness or liabilities of the Commonwealth
 or any of the Commonwealth’s public instrumentalities or political subdivisions, other than
 COFINA. The COFINA Junior Lien Bonds are not secured by the good faith, credit and taxing
 power of the Commonwealth, nor are they payable or secured by any of the Commonwealth’s
 public instrumentalities or political subdivisions, other than COFINA. The COFINA Junior Bonds
 represent indebtedness solely of COFINA and will not be insured or guaranteed by the
 Commonwealth, the Trustee, or any of their respective affiliates, or any other Commonwealth
 government entity.

 The COFINA Junior Lien Bonds may not trade at par and limited liquidity may make the
 COFINA Junior Lien Bonds less attractive to investors.

         As a result of concerns with the Commonwealth’s current financial circumstances, holders
 of the New GO Bonds may encounter limited market acceptance upon any attempt to sell the New
 GO Bonds, making sales at or near par potentially difficult. Holders of the COFINA Junior Lien
 Bonds after the Effective Date may not be able to sell such bonds for any price for some time.
 Alternatively, potential purchasers may demand discounts to the par amount of such bonds before
 a potential purchaser would be willing to purchase the New GO Bonds. There can be no assurance
 that a secondary market will exist for any New GO Bonds. The absence of a secondary market for
 the New GO Bonds or a lack of liquidity in the secondary markets could limit bondholders’ ability
 to resell any New GO Bonds or adversely affect the market value of the New GO Bonds.

         The COFINA Junior Lien Bonds and transactions described herein will be made on the
 basis of exemptions from registration provided in the Securities Act of 1933, as amended. The
 COFINA Junior Lien Bonds have not been approved or disapproved by the United States
 Securities and Exchange Commission, any state or Commonwealth securities commission or any
 other regulatory authority, nor have any of the forgoing passed upon the accuracy or adequacy of
 this Disclosure Statement. Any representation to the contrary is a criminal offense. Therefore, the
 secondary market for the COFINA Junior Lien Bonds may be limited, and bondholders may not
 be able to sell the COFINA Junior Lien Bonds when they want to do so or obtain the price that
 they wish to receive for the COFINA Junior Lien Bonds, and, as a result, could suffer significant
 losses.

         Given the unique nature of the Plan, certain closing conditions and closing deliverables,
 including legal opinions, with respect to the Plan will differ in type and scope from those typically
 required in municipal debt offering transactions that occur outside of a court-supervised
 restructuring process. In making their investment decision, investors should consider that certain
 actions, procedures or requirements of legal advisors and other third parties in connection with the
 Plan will differ materially from and be more limited than those typical requirements.


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         Major disruptions in the global financial markets in recent years have caused a significant
 reduction in liquidity in the secondary market for securities. While conditions in the financial
 markets and the secondary markets have improved, periods of illiquidity could occur again and
 affect the secondary market, thereby materially adversely affecting the value of the COFINA
 Junior Lien Bonds and limiting bondholders’ ability to sell the COFINA Junior Lien Bonds.
 Concerns with the Commonwealth’s fiscal crisis may also adversely affect the market value and
 liquidity of the COFINA Junior Lien Bonds.

 Limited Nature of Remedies.

        Upon any declaration of default under the COFINA Junior Lien Bonds Indenture,
 COFINA’s payment of the COFINA Junior Lien Bonds cannot be accelerated. Moreover, the
 COFINA Junior Lien Bonds are not secured by a lien on any property of the Commonwealth (other
 than the Conveyed Commonwealth Share, which will be transferred by the Commonwealth to
 COFINA).

         Repayment of the COFINA Junior Lien Bonds shall be secured by a second lien on the
 COFINA Pledged Taxes that is subordinated in all respects, including, without limitation, in
 respect of payment, funding and remedies, to the COFINA Senior Lien Bonds. Repayment of the
 COFINA Junior Lien Bonds shall not be payable from the COFINA Revenues.

 Limited Nature of Ratings; Reductions, Suspension, or Withdrawal of a Rating.

         To the extent the Government Parties, each acting in its sole and absolute discretion,
 determine to apply for ratings on the COFINA Junior Lien Bonds, the Government Parties shall
 use commercially reasonable best efforts to obtain ratings on the COFINA Junior Lien Bonds as
 soon as reasonably practicable as determined solely by the Government Parties following
 consultation with up to two (2) Initial PSA Creditors jointly designated by the Constitutional Debt
 Group, the GO Group, the LCDC and the QTCB Group, each of which shall have executed a
 confidentiality agreement in form and substance satisfactory to the Oversight Board and restricting
 such Initial PSA Creditors from trading New GO Bonds and COFINA Junior Lien Bonds, and
 shall subsequently use their commercially reasonable best efforts to obtain the best possible
 ratings. The COFINA Junior Lien Bonds Indenture will not include a covenant by the Government
 Parties to maintain a specific rating with respect to outstanding COFINA Junior Lien Bonds.

         Any future rating assigned to the COFINA Junior Lien Bonds by a rating agency will
 reflect such rating agency’s assessment of the likelihood of the payment of interest when due and
 principal of the COFINA Junior Lien Bonds on their respective maturity dates. Any rating of the
 COFINA Junior Lien Bonds is not a recommendation to purchase, hold or sell such COFINA
 Junior Lien Bonds and such rating will not address the marketability of such COFINA Junior Lien
 Bonds, their market price, or suitability for a particular investor. There is no assurance that any
 rating will remain for any given period of time or that any rating will not be lowered, suspended,
 or withdrawn entirely by a rating agency if, in such rating agency’s judgment, circumstances so
 warrant based on factors prevailing at the time, including, but not limited to, the evaluation by
 such rating agency of the financial outlook for COFINA or the Commonwealth’s economy. Any


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 such reduction, suspension or withdrawal of a rating, if it were to occur, could adversely affect the
 availability of a market or the market prices for the COFINA Junior Lien Bonds.

 An adverse rating of the COFINA Junior Lien Bonds could adversely affect the market price
 of the COFINA Junior Lien Bonds.

         A rating agency may issue an unsolicited rating on the COFINA Junior Lien Bonds,
 employing quantitative and qualitative factors, including COFINA’s actual or perceived financial
 strength, the prospects for payment of principal and interest on the COFINA Junior Lien Bonds,
 the impact of the Commonwealth’s fiscal crisis, and other macroeconomic conditions in the
 Commonwealth relating to the collection of sales tax revenue. Ratings also reflect various
 methodologies and assumptions used by the rating agencies, which are subject to change without
 notice. Actions taken by the rating agencies can include initiating, maintaining, upgrading,
 downgrading or withdrawing a current rating of COFINA’s indebtedness or placing COFINA on
 negative outlook for possible future downgrading. Such action may be taken at any time and is
 beyond COFINA’s control. The downgrade or withdrawal of any credit rating of COFINA’s
 indebtedness, including the COFINA Junior Lien Bonds, or placing COFINA on negative outlook
 for possible future downgrading may have a negative effect on the value of the COFINA Junior
 Lien Bonds.

 The COFINA Junior Lien Bonds will not be subject to the Trust Indenture Act.

        The COFINA Junior Lien Bonds will not be required to be and will not be issued under an
 indenture qualified under the TIA. Accordingly, holders of the COFINA Junior Lien Bonds will
 not have the benefit of the protections of the TIA with respect to their investment in the COFINA
 Junior Lien Bonds.

 E.          Risks Related to Projections in Revenues and Expenses in the Commonwealth Fiscal
             Plan

         The May 2019 Fiscal Plan357 and its underlying financial projections are the result of
 several months of working sessions, dialogue, stakeholder engagement, research and in-depth
 analysis, as well as Oversight Board and the Commonwealth Government collaboration, that
 created a deep and rich fact base to underpin the presented macroeconomic trends and revenue and
 expenditure forecasts. However, the aforementioned have been built upon a set of factors that are
 subject to external and internal risks that could materially impact the expected outcomes. To
 recognize such risks, the following outlines those that could affect the macroeconomic and 30 year
 financial projections contained in the May 2019 Fiscal Plan.




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       The Oversight Board may certify a revised fiscal plan at any time. The certification of a new Commonwealth
       fiscal plan is currently expected on April 30, 2020. Letter from Natalie A. Jaresko to Governor Vázquez Garced,
       President Rivera Schatz, and Speaker Méndez Núñez, Jan. 30, 2020,
       https://drive.google.com/file/d/1Y81ivGjzA8kqtIyqtRSIW9gkZs-1k_Ew/view.

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 The Fiscal Plan model relies on historical data to project GNP and inflation and does not take
 into account potential external shocks not already experienced.

         The Fiscal Plan model relies on historical data on a key set of economic variables (e.g., oil
 prices, food prices, output gap, capital growth, net federal transfers) to project GNP and inflation—
 and layers on the effects of Hurricanes Maria and Irma as well as the resulting disaster relief
 funding projected to be received by Puerto Rico. It does not take into account potential future
 external shocks such as unforeseen economic crises, natural disasters, or other changes in global
 (or local) economic activity that are not currently projected. Because future projections take into
 account past performance, if economic growth (or inflation) for the United States or Puerto Rico
 is materially higher or lower than projected, that could significantly affect the accuracy of the
 subsequent GNP and inflation projections in the Fiscal Plan and thus the accuracy of the revenue
 and expense projections. Additionally, delayed or ineffective implementation of structural reforms
 on labor, energy, ease of doing business and education—which are currently assumed to drive a
 GNP growth uptick of 1.02%—could impact GNP growth and in consequence, overall revenue
 performance.

 The Fiscal Plan model does not incorporate major demographic shifts not currently apparent.

         Population projections in the Fiscal Plan model are driven by projected future economic
 growth, as well as several demographic factors—such as projected fertility rates and net
 outmigration—based on the latest available data. Major demographic shifts not currently apparent
 (e.g., major changes in fertility rates, age-mix of the population, migration patterns) could
 significantly change the accuracy of population estimates underlying the Fiscal Plan model. Since
 population serves as an input for certain revenue and expense estimates (e.g., cigarette tax
 revenues, healthcare costs, education costs), changes in population projections would impact the
 accuracy of projected surplus.

 Healthcare projections assume current federal and Puerto Rico healthcare law and policy, as
 well as the latest projections regarding healthcare costs.

          The Fiscal Plan healthcare estimates are based on the current laws and public policies
 adopted by both the federal government and Puerto Rico government. As a result, changes to
 policy could impact the accuracy of current expenditure estimates. For example, if Medicaid
 eligibility is revised such that a greater number of people are eligible for Medicaid coverage than
 projected, the Government may bear additional expenses. If federal funding for Medicaid changes
 significantly, the accuracy of Fiscal Plan projections would also be impacted.

         Similarly, projected healthcare expenditures take into account current long-term estimates
 related to healthcare inflation. If national projections related to healthcare inflation (e.g., due to
 structural changes to the healthcare market) drastically change, then the accuracy of healthcare
 expenditure projections would also be affected.




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 The Fiscal Plan uses current data and policies to project the magnitude and roll out of federal
 funds for disaster relief and other major federal programs.

         The projections in the Fiscal Plan rely on the efficient and timely implementation of receipt
 and disbursement of federal and private disaster relief funds. This assumes both federal and local
 government processes to apply for and disburse funds will continue on their current pace (with
 potential to speed up slightly after fiscal year 2019) and that the latest federal estimates in terms
 of overall magnitude of funding and roll out are accurate. The projections are also built on current
 legislation and federal policies governing the use of these funds. If overall local or federal
 government efficiency levels or processes change, or there are changes to the appropriations or
 governing policies (i.e., changes made by Congress, FEMA, HUD, USDA, or other federal
 agencies), there could be direct impacts on the accuracy of revenue and expenditure projections
 given disaster relief funds impact GNP growth estimates (which then impact population
 projections) as well as estimates regarding local government cost share.

         Projected funding levels for standard federal programs and transfers (e.g., TANF, NAP,
 Title I Funding) are based on the latest federal legislation as well as funding formulas for each
 program. Similar to disaster relief funds and healthcare federal funds, if the federal formulas or
 funding levels for other major social programs change, the accuracy of projected revenues and
 expenditures could materially change.

         Moreover, several governmental entities in Puerto Rico are classified as high-risk grantees,
 imposing additional compliance and controls before federal funds are released. The intent of these
 additional conditions is to ensure effective implementation of federal programs through
 appropriate fiscal management and responsibility. This also, however, has the potential to delay
 implementation of projects funded by federal dollars. The lack of substantial reform process at
 the local Department of Education, for instance, recently led federal officials to withhold
 disbursement of federal dollars to the department until substantial reforms are implemented. The
 inability to access federal funds on a timely basis consistent with projections in the Fiscal Plan
 could impact the ability to achieve Fiscal Plan targets.

 The Fiscal Plan assumes current Puerto Rico and U.S. tax law and effective revenue measure
 implementation.

        The Fiscal Plan projections take into account current U.S. and Puerto Rico tax laws and
 assume timely and effective implementation of revenue measures, including establishment of new
 revenue streams from taxes and fees and increased tax compliance.

         Changes in Puerto Rico and U.S. tax law could therefore impact revenues, as could
 decisions that large businesses (including multinationals) make regarding their scale of operations
 in Puerto Rico, and their global tax planning. Further, if revenue measures are not effectively
 implemented, or if they exceed expected revenue yield, revenues could differ materially from those
 in the Fiscal Plan projections.




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 The Fiscal Plan assumes agency efficiency measures are implemented to achieve savings
 without adverse impact on economic conditions.

         Expense measures assume that the achievement of savings will generally be achieved
 through reforms that improve government efficiency while maintaining a level of services
 commensurate with the needs of the population and facilitate economic growth. However, if such
 savings are captured via simple attrition or expensive buy-out programs, there would be increased
 risk that efficiencies are not achieved and that the lower level of expenditures compromise the
 government’s delivery of services, adversely impacting economic sustainability and poverty
 levels.

 The Fiscal Plan assumes effective and timely implementation of revenue and expense measures.

         The Fiscal Plan projections rely on the effective and timely implementation of various
 revenue and expense measures. This assumes that any subsequent policy changes or departures
 from the Fiscal Plan targets and objectives will adhere to the revenue-neutrality and overall
 spending limits contemplated by the Fiscal Plan and related certified Budgets. In order to assure
 effective implementation and credibility to the Fiscal Plan objective and projections, the Oversight
 Board requires the Government to provide periodic reports on financial performance and
 implementation progress. The Oversight Board has also developed a monitoring mechanism on
 its website, which can provide further transparency and accountability to the public on the
 Government’s efforts relating to the Fiscal Plan milestones and achievements. Delays or
 departures from the revenue and expense measure targets, milestones, and reporting specified in
 the Fiscal Plan could materially alter the Fiscal Plan projections.

 The Fiscal Plan model is based on historical data reported by the Commonwealth, much of
 which has not been audited or independently reviewed.

        The Fiscal Plan model is based on the input of historical macroeconomic, revenue and
 expense data reported by the Commonwealth. The Government has faced challenges in the past
 in reporting complete and accurate data, and much of the financial information provided by the
 Government has not been audited or reviewed by any independent accounting firm or third party.
 Any material inaccuracies or inconsistencies in the data could impact the accuracy of projections
 based on that data.

 The Fiscal Plan model is based on current data and information to project capital improvement
 program needs and impact.

         The Fiscal Plan projections incorporate capital expenditure based on current and projected
 future assessment of capital improvement program needs. The capital expenditure plans may need
 to be revised periodically due to various factors including, but not limited to, changes in legislative
 policy, changes in public sector operations, need for acceleration or deferrals of planned
 improvements, interaction with other governmental agencies, instrumentalities, municipalities,
 and private investors and financing sources, and other macroeconomic factors. Needs for
 quantification or increase in structural reform relating to public infrastructure may also impact the
 capital expenditure projections in the Fiscal Plan. Changes in these expenditure projections as
 well as any deviations from the projected impact of such capital improvements could also impact
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 the timing and achievement of other financial projections that are inter-dependent on effective
 accomplishment and existence of underlying framework and infrastructure.

 The Fiscal Plan does not assume major changes in the current political climate in Puerto Rico
 or the United States subsequent to its certification.

         The Fiscal Plan policies and financial projections are driven by the executive commitment
 and legislative policies in the United States and Puerto Rico political climate which existed at the
 time of the Fiscal Plan certification. Much of the financial projections are closely tied to federal
 funding availability and local political commitment. The Fiscal Plan does not take into account
 future changes in the political environment – such as those from the Puerto Rican administration,
 Puerto Rican legislative and regulatory direction, federal appropriations and funding policies,
 federal tax exemptions, or Puerto Rico’s statehood or relationship with the federal government.

 F.     Risks Related to the Collection of Revenues Supporting the Payment of New GO
        Bonds

 The Commonwealth has recently enacted new tax legislation which will have an uncertain
 impact on future tax revenue.

         In December 2018, the Commonwealth enacted Act 257-2018 which made numerous
 amendments to the 2011 Code including to modify the SUT and to modify the alternative basic
 tax (“ABT”) and alternative minimum tax (“AMT”). In addition, Act 257-2018 eliminated certain
 categories of purchases from the SUT base and reduced rates on other categories. Act 257-2018
 also legalized certain categories of gambling game machines. Additionally, the Commonwealth
 enacted Act 60-2019, the Puerto Rico Incentives Tax Code, that made additional changes affecting
 those persons benefiting from the lower rates, accelerated deductions, grants and tax credits made
 available under Act 60-2019. The Commonwealth has been unable to certify that that Act 257 is
 compliant with the fiscal plan. With respect to Act 60, the Commonwealth has certified under
 section 204 of PROMESA that the act is not “significantly inconsistent” with the fiscal plan.
 Accordingly, both laws lack certification as to their fiscal plan compliance casting uncertainty on
 forecasted income tax revenue.

 The Commonwealth may enact future tax legislation, the effect of which is unknown.

         The Commonwealth may enact other legislation that could adversely affect tax revenue.
 For example, in 2019, the Commonwealth recently enacted three laws that amended the Internal
 Revenue Code, enacted Act 81-2019 to legalize physical and online sports betting and establish a
 gaming revenue tax upon such activities, and the aforementioned Act 60-2019. The
 Commonwealth has not certified fiscal plan compliance with respect to any of these laws.
 Accordingly, there is uncertainty as to whether these laws could have a negative effect on future
 tax revenue.




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 The Commonwealth generates significant revenue from a small set of non-resident persons
 through Act 154 excise taxes and non-resident withholdings, the financial impact of which is
 has been expected to decline.

         In previous years, the Puerto Rico Department of Treasury had expected that from 2017 to
 2023, revenue from Act 154 and non-resident withholdings (NRW) would decline 42% and 12%,
 respectively. It was anticipated that the decline would be the result of pending expirations of
 pharmaceutical patents, supply chain diversification, and U.S. federal tax. While Act 154 and
 NRW revenue from 2017 to 2019 have not declined as was expected, the fiscal plan assumes that
 the revenue will decline due in part from the drivers referenced above. It is uncertain how quickly
 and to what degree these or other risks will impact the taxes paid by this small group of taxpayers.

 The Internal Revenue Service has to date not challenged the creditability against federal income
 of the Act 154 excise taxes paid to Puerto Rico, however, the issue of creditability has not been
 fully resolved.

         Taxpayers that are foreign to Puerto Rico but that are otherwise United States taxpayers
 have benefited by crediting the Act 154 excise taxes paid to Puerto Rico as taxes in lieu of income
 taxes against these taxpayers’ federal income taxes. The IRS has issued Notice 2011-29 to
 articulate its view that while the creditability issues need resolution, any resolution against the
 credit would only be prospective. Such resolution is still pending and it is uncertain how or when
 the IRS will address creditability and which taxpayers will be materially affected by such a change.
 An adverse change to the creditability could result in certain taxpayers restructuring their
 operations in Puerto Rico and impacting the long-term economic outlook of Puerto Rico taxes.

 There is no assurance the Government will be able to replace the loss of Act 154 revenues on a
 timely or substantive basis.

         In September 2019, U.S. Treasury Secretary Steve Mnuchin asked Governor Wanda
 Vázquez to present a transition plan to eliminate the temporary credit that has allowed foreign
 companies to fully deduct the 4 percent tax imposed by Act 154. Following the meeting, Puerto
 Rico’s government announced that a working group consisting of government and private sector
 individuals would be formed to identify potential alternatives to the tax. There is no assurance
 these efforts will lead to the successful development and implementation of a reform process that
 replaces revenues from Act 154 on a timely or substantive basis.

 The recent transaction with one large taxpayer may materially reduce future corporate income,
 and other, tax collections.

         In July 2019, one of Puerto Rico’s largest tax filers completed a one-time corporate
 transaction, which is contributing to more than $500 million in out-performance of corporate
 income tax collections, relative to the fiscal plan forecast. The long term implications are still
 being evaluated by the Department of Treasury.

 Natural disasters may impact the ability of the government to collect revenue.


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        It is possible that natural disasters disrupt the ability to collect revenues as forecast and
 could lead to additional outmigration that would also potentially reduce revenues and economic
 growth.

 G.     Risk Factors Related to Future Judicial Actions

 The Bonds are being issued in connection with the Plan that is subject to confirmation pursuant
 to PROMESA Title III, which is newly enacted legislation that has not been previously used for
 financial restructuring, and substantial uncertainties related to its construction exists, including
 uncertainties due to the lack of judicial decisions interpreting PROMESA Title III.

          The Plan is effected pursuant to PROMESA Title III. PROMESA is a new federal statute
 signed into law in 2016, and a plan of adjustment pursuant to Title III thereof has not yet been
 confirmed by any court or consummated by any party. As a result, there are uncertainties relating
 to the successful confirmation and consummation of a plan of adjustment pursuant to PROMESA
 Title III. For example, it is uncertain to what extent an order of the Title III Court confirming the
 Plan can be appealed or its effectiveness delayed. While courts likely will borrow from existing
 precedents from chapters 9 and 11 of the Bankruptcy Code, there can be no assurances that courts
 would do so or consider other factors when interpreting the provisions of PROMESA. Such
 uncertainties may affect, among other things, market perception and, therefore, the trading value
 of the Bonds.

         In addition, there is uncertainty associated with the consummation of a plan of adjustment
 pursuant to PROMESA Title III because there is no judicial experience interpreting the provisions
 of a plan of adjustment confirmed pursuant to PROMESA Title III. Judicial interpretations of a
 plan of adjustment confirmed pursuant to PROMESA Title III, including those related to the
 successful consummation of a plan of adjustment, could affect the value of the bonds issued under
 the Plan.

 PROMESA is subject to challenges regarding its constitutionality.

         For example, certain parties have challenged the constitutionality of PROMESA on the
 grounds that appointment of the members of the Oversight Board violates the Appointments
 Clause and the separation-of-powers principles of the United States Constitution because the
 members were not appointed by the President with the advice and consent of the U.S. Senate.
 These parties seek to dismiss the Commonwealth Title III Case and seek declaratory judgments
 that PROMESA violates the Appointments Clause and that all of the Oversight Board’s acts to
 date are invalid. These parties also seek to enjoin the Oversight Board from exercising any
 authority granted to it by PROMESA. The Title III Court entered an opinion and order holding
 that there is no constitutional defect in the method of appointment. The parties challenging
 PROMESA appealed to the First Circuit, which reversed the Title III Court and held that the
 method of appointment was defective. Certiorari was granted by the Supreme Court on this issue,
 and oral argument took place on October 15, 2019. For additional information, see section V.F of
 this Disclosure Statement, entitled “Significant Adversary Proceedings and Related Litigation.”



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 The Debtors may be subject to future claims and legal actions.

         The Debtors may be subject to various claims and legal actions arising in the ordinary
 course of its activities that arise after the Effective Date. The Debtors are not able to predict the
 nature and extent of any such claims and actions and cannot guarantee that the ultimate resolution
 of such claims and actions will not have a material adverse effect on the Debtors after their
 emergence from Title III.

 The enforcement of rights under the New GO Bonds, New GO Bond Indenture, and New Bond
 Legislation may be limited to the extent Reorganized Commonwealth is subject to a subsequent
 case under Title III of PROMESA.

          The holders of New GO Bonds may be unable to enforce rights under the New GO Bonds,
 New Bond Indenture, and New Bond Legislation to the extent Reorganized Commonwealth are
 subject to a subsequent case under Title III of PROMESA as a result of the application of the
 automatic stay on enforcement of remedies that would become effective upon the filing of the
 Title III petition.

 Certain closing conditions and closing deliverables with respect to the Plan may differ in type
 and scope from those described herein.

          Certain closing conditions and closing deliverables with respect to the Plan may differ in
 type and scope from those described herein if the Title III Court enters a Confirmation Order that
 is different than expected.

 H.     Risk Factors Related to Legislative Action

          The Plan contemplates legislation will be enacted by the Government on or prior to the
 Effective Date authorizing the transactions contemplated in the Plan, including the issuance of the
 New GO Bonds. There is no certainty such legislation will be enacted, and if it is not, the Oversight
 Board will seek judicial relief in lieu thereof pursuant to PROMESA Section 305, allowing the
 Title III Court to interfere with governmental and political powers in a plan of adjustment or with
 the consent of the Oversight Board and to cause the issuance of the New GO Bonds. There is no
 certainty the Title III court will grant the foregoing judicial relief, or that it would be upheld on
 appeal.

          If the legislation authorizing the transactions contemplated in the Plan is enacted, future
 action by the Legislature could change the pertinent legislation in ways that affect the New GO
 Bonds. While the legislation authorizing the New GO Bonds will include, among other things, a
 non-impairment covenant, any action of the Government to amend the legislation, as well as the
 litigation that likely would ensue, might adversely affect the value of the New GO Bonds, and the
 recoveries on the New GO Bonds. Furthermore, the enforcement of any rights against the
 Commonwealth under the Commonwealth’s statutory non-impairment covenant may be subject to
 the exercise of judicial discretion and limitations on legal remedies against the Commonwealth or
 the enforcement of the non-impairment covenant.


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         In addition, other future actions by the Legislature could also materially adversely
 affect the value of the New GO Bonds and the recoveries on such bonds

 I.     Risk Factors Related to Tax Treatment of New GO Bonds and COFINA Junior Lien
        Bonds

 The proportion of New GO Bonds and COFINA Junior Lien Bonds that will be tax-exempt
 for U.S. federal income tax purposes is uncertain.

         The New GO Bonds and COFINA Junior Lien Bonds will be issued as Tax-Exempt New
 GO Bonds and Tax-Exempt COFINA Junior Lien Bonds (as defined in “Certain Material United
 States Federal Income Tax Considerations”) or Taxable New GO Bonds and Taxable COFINA
 Junior Lien Bonds (as defined in “Certain Material United States Federal Income Tax
 Considerations”), as applicable. The tax status of the New GO Bonds and COFINA Junior Lien
 Bonds has not been determined as of the date of this Disclosure Statement, including (i) whether
 a portion of the interest on the New GO Bonds and/or the COFINA Junior Lien Bonds will be
 eligible to be excluded from gross income for U.S. federal income tax purposes or (ii) the ratio of
 the aggregate amount of all Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds to
 be issued on the Effective Date to the total aggregate amount of all New GO Bonds and all
 COFINA Junior Lien Bonds. See “Certain Material United States Federal Income Tax
 Considerations—U.S. Holders—Tax Treatment of Allowed Claims— Holders of Vintage CW Bond
 Claims (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond
 Claims (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond
 Claims (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims
 (Class 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond
 Claims (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured)
 (Class 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and
 2014 CW Guarantee Bond Claims (Class 37)—Taxation of New GO Bonds and COFINA Junior
 Lien Bonds.”

 [The manner in which interest accruals should be calculated with respect to the New GO
 Bonds and COFINA Junior Lien Bonds for U.S. federal income tax purposes is uncertain.

         The Debtors do not intend to treat the New GO Bonds or COFINA Junior Lien Bonds as
 “contingent payment debt instruments” under the applicable Treasury Regulations (as defined in
 “Certain Material United States Federal Income Tax Considerations”). However, there is limited
 authority as to the treatment of the New GO Bonds and COFINA Junior Lien Bonds, and there can
 be no assurances that the IRS will respect such treatment. U.S. Holders are urged to consult their
 own tax advisors regarding the treatment of New GO Bonds and COFINA Junior Lien Bonds as
 contingent payment debt instruments, including any limitation under those rules on the amount of
 tax-exempt interest on the Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien
 Bonds that may be excluded from gross income for U.S. federal income tax purposes. See “Certain
 Material United States Federal Income Tax Considerations—U.S. Holders—Tax Treatment of
 Allowed Claims— Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims
 (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee
 Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims

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 (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond
 Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond
 Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims
 (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—
 Taxation of New GO Bonds and COFINA Junior Lien Bonds.”]

 U.S. Holders may be required to report income in certain years in excess of the amount of cash
 received by such holders in those years, resulting in “phantom income” for U.S. federal income
 tax purposes.

         If, for U.S. federal income tax purposes, the Taxable New GO Bonds or Taxable COFINA
 Junior Lien Bonds, as applicable, (as defined in “Certain Material United States Federal Income
 Tax Considerations”) are issued with more than a de minimis amount of original issue discount,
 generally, 0.25% of the stated redemption price at maturity multiplied by the number of complete
 years to maturity, then a U.S. Holder of such bonds must include original issue discount in income
 as it accrues (regardless of the holder’s regular method of tax accounting) using a constant yield
 method under the accrual rules for original issue discount. If interest accruals exceed the cash
 payments on the Taxable New GO Bonds or Taxable COFINA Junior Lien, as applicable, in any
 year, a U.S. Holder will have “phantom income” in that year, i.e., taxable income in excess of the
 cash received, which may be substantial.

        In the event of a sale or other taxable disposition of a New GO Bond or COFINA Junior
 Lien Bond, as applicable, with accrued market discount, a U.S. Holder must recognize ordinary
 income (in lieu of capital gain) to the extent of accrued market discount, unless the U.S. Holder
 previously elected to include the market discount in income as it accrued. See “Certain Material
 United States Federal Income Tax Considerations—U.S. Holders—Tax Treatment of Allowed
 Claims— Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims (Insured)
 (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee Bond Claims
 (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims (Insured) (Class
 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond Claims (Class
 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond Claims (Class
 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims (Class 32),
 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—Taxation
 of New GO Bonds and COFINA Junior Lien Bonds.”

      ALL HOLDERS SUBJECT TO UNITED STATES TAXATION SHOULD READ THE
 DISCUSSION OF THE UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF
 THE PURCHASE, OWNERSHIP AND DISPOSITION OF THE NEW GO BONDS THAT IS
 CONTAINED IN THIS DISCLOSURE STATEMENT UNDER THE HEADING “CERTAIN
 MATERIAL UNITED STATES FEDERAL INCOME TAX CONSIDERATIONS.”



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          IX.     Certain Material United States Federal Income Tax Considerations

 A.     General

         A general description of certain material U.S. federal income tax consequences of the Plan
 to holders of certain Claims is provided below. This description is based on the U.S. Internal
 Revenue Code of 1986, as amended (the “IRC”), regulations (including temporary and proposed
 regulations) promulgated under the IRC (the “Treasury Regulations”), judicial decisions and
 administrative determinations, all as in effect on the date of this Disclosure Statement and all of
 which are subject to change, possibly with retroactive effect. Changes in any of these authorities
 or in their interpretation could cause some, or all, of the U.S. federal income tax consequences of
 the Plan to differ materially from the consequences described below.

        The U.S. federal income tax consequences of the Plan are complex, and may vary based
 on the Class of Claims held by a holder. As of the date of this Disclosure Statement, no ruling has
 been requested from the Internal Revenue Service (the “IRS”) as to any aspect of the Plan; no
 opinion has been requested from the Debtors’ counsel concerning any tax consequence of the Plan
 except as specifically set forth therein; and no tax opinion is given by this Disclosure Statement.

         The description that follows does not cover all aspects of U.S. federal income taxation that
 may be relevant to holders of Claims. For example, the description does not address issues of
 special concern to certain types of taxpayers (e.g., regulated investment companies, real estate
 investment trusts, banks and certain other financial institutions, insurance companies, tax-exempt
 organizations, retirement plans, individual retirement and other tax-deferred accounts, holders that
 are, or hold their Claims through, S corporations, partnerships or other pass-through entities for
 U.S. federal income tax purposes, persons whose functional currency for tax purposes is not the
 U.S. dollar, dealers in securities or foreign currency, traders that mark-to-market their securities,
 persons subject to the alternative minimum tax, individuals receiving Social Security or Railroad
 Retirement benefits, and persons whose claims are part of a straddle, hedging, constructive sale,
 or conversion transaction). In addition, the description does not address U.S. federal taxes other
 than income taxes, nor does it apply to any person that acquires New GO Bonds or COFINA Junior
 Lien Bonds in the secondary market. Furthermore, the description does not discuss state, territorial
 (including Puerto Rico), local or non-U.S. income or other tax consequences (including estate or
 gift tax consequences). Finally, this discussion does not address the U.S. federal income tax
 consequences to holders of Claims who are deemed to have rejected the Plan.

          For these reasons, the description that follows is not a substitute for careful tax planning
 and professional tax advice based upon the individual circumstances of each holder of a Claim.
 Holders of Claims are urged to consult with their own tax advisors regarding the U.S. federal,
 state, territorial (including Puerto Rico), local and non-U.S. tax consequences of the Plan.

        The Puerto Rico tax consequences of the Plan to holders that are bona fide residents
 of the Commonwealth, and others who may be subject to tax on a gross or net basis by the
 Commonwealth are not discussed in this section. Such holders should review the section
 “Certain Material Puerto Rico Income Tax Considerations” below.


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 B.     U.S. Holders

        1.      Definition of U.S. Holder

         Unless otherwise noted, the discussion below applies only to U.S. Holders. As used herein,
 the term “U.S. Holder” means a beneficial owner of GO Bonds, ERS Bonds and/or PBA Bonds
 (together, “Existing Securities”) on the Effective Date of the Plan that is, for U.S. federal income
 tax purposes:

            an individual who is a citizen or resident of the United States;

            a corporation, or other entity taxable as a corporation for U.S. federal income tax
             purposes, created or organized in or under the laws of the United States, any state
             thereof or the District of Columbia;

            an estate, the income of which is subject to U.S. federal income taxation regardless of
             its source; or

            a trust, if a court within the United States is able to exercise primary jurisdiction over
             its administration and one or more U.S. persons have authority to control all of its
             substantial decisions, or if the trust has a valid election in effect under applicable U.S.
             Treasury regulations to be treated as a U.S. person.

        If a partnership or other entity or arrangement taxable as a partnership for U.S. federal
 income tax purposes holds Existing Securities, the U.S. federal income tax treatment of a partner
 in such partnership generally will depend upon the status of the partner and the activities of the
 partnership. Partners in such a partnership holding Existing Securities are urged to consult their
 tax advisors.

        The term “U.S. Holder” does not include a Puerto Rico Individual or a Puerto Rico
 Corporation, each as defined below under “—Puerto Rico Individuals and Puerto Rico
 Corporations.” Puerto Rico Individuals and Puerto Rico Corporations should review the certain
 U.S. federal income tax consequences of the Plan discussed under “— Puerto Rico Individuals and
 Puerto Rico Corporations.”

         In addition, solely for purposes of holders of (i) Active and Retired Employee Benefits
 Claims (Class 39A – 39E), and (ii) AFSCME Employee Claims (Class 40), the term “U.S. Holder”
 does not include any individual that was a Puerto Rico Individual and is now a citizen or resident
 of the United States.

         A U.S. Holder who holds Allowed Claims of more than one Class may have different U.S.
 federal income tax consequences for each Class of Allowed Claims. U.S. Holders should carefully
 review the sections of this discussion applicable to each Class of Allowed Claims such U.S. Holder
 holds, and U.S. Holders of more than one Class of Allowed Claims should consult their own tax
 advisors as to the potential interaction of the U.S. federal income tax consequences of each Class
 of Allowed Claims such U.S. Holder holds.

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        Certain U.S. Holders that use the accrual method of accounting for U.S. federal income tax
 purposes generally will be required to include certain amounts in income with respect to the
 Allowed Claims no later than the time that such amounts are reflected on certain financial
 statements of such U.S. Holders. Such U.S. Holders should consult their own tax advisors
 regarding the U.S. federal income tax consequences of the Plan in their individual circumstances.

        2.      Tax Treatment of Allowed Claims

                        Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond
                        Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims
                        (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16),
                        2011 CW Bond Claims (Class 18), 2011 CW Bond Claims (Insured)
                        (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW
                        Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB
                        Bond Claims (Insured) (Class 25), 2012 CW Bond Claims (Class 28),
                        2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee
                        Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014
                        CW Guarantee Bond Claims (Class 37)

         The Debtors expect that, pursuant to the Plan, each U.S. Holder of any of the following: (i)
 Vintage CW Bond Claims (Class 11); (ii) Vintage CW Bond Claims (Insured) (Class 13); (iii)
 Vintage CW Guarantee Bond Claims (Class 15); (iv) Vintage CW Guarantee Bond Claims
 (Insured) (Class 16); (v) 2011 CW Bond Claims (Class 18); (vi) 2011 CW Bond Claims (Insured)
 (Class 20); (vii) 2011 CW Guarantee Bond Claims (Class 22); (viii) 2011 CW Series D/E/PIB
 Bond Claims (Class 24); (ix) 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25); (x) 2012
 CW Bond Claims (Class 28); (xi) 2012 CW Bond Claims (Insured) (Class 30); (xii) 2012 CW
 Guarantee Bond Claims (Class 32); (xiii) 2014 CW Bond Claims (Class 34); and (xiv) 2014 CW
 Guarantee Bond Claims (Class 37) will be treated as exchanging such U.S. Holder’s GO Bonds
 that are the subject of these Classes of Allowed Claims for New GO Bonds, COFINA Junior Lien
 Bonds and Cash for U.S. federal income tax purposes. The Debtors intend to report the transaction
 consistently with this treatment to the IRS, and the remainder of this discussion assumes the
 expected treatment will be followed by each U.S. Holder.

                        (i)    Tax Treatment of Exchange

         The tender of the GO Bonds for the New GO Bonds, COFINA Junior Lien Bonds and
 Cash, as applicable, pursuant to the Plan will be considered an exchange under Section 1001 of
 the IRC. A U.S. Holder will recognize gain or loss in an amount equal the difference between (i)
 the sum of any Cash received (other than Cash received attributable to accrued but unpaid interest
 on the GO Bonds) plus the “issue price” for U.S. federal income tax purposes (determined in the
 manner described below under “—Issue Price”) for any New GO Bonds and COFINA Junior Lien
 Bonds received and (ii) the U.S. Holder’s adjusted tax basis in the GO Bonds that were tendered
 therefore (such adjusted tax basis calculated as described below). Subject to the discussion under
 “—Market Discount,” any gain or loss that a U.S. Holder recognizes upon the exchange of the GO
 Bonds for the New GO Bonds, COFINA Junior Lien Bonds and Cash, as applicable, pursuant to
 the exchange will generally be capital gain or loss and, if the U.S. Holder’s holding period of the

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 GO Bonds surrendered is more than one year, long-term capital gain or loss. Long-term capital
 gain is generally taxable at preferential rates to non-corporate U.S. Holders. The deductibility of
 capital losses is subject to limitations.

         A U.S. Holder’s holding period for any New GO Bonds and COFINA Junior Lien Bonds
 received will begin the day after the exchange. A U.S. Holder’s tax basis in the New GO Bonds
 and COFINA Junior Lien Bonds received in the exchange will generally be equal to the issue price
 of the New GO Bonds and COFINA Junior Lien Bonds (determined in the manner described below
 under “—Issue Price”).

                        (ii)    Tax Treatment of Receipt of Cash

                                (1)     Cash

         Cash is expected to be treated as a payment on the GO Bonds for U.S. federal income tax
 purposes, other than Cash received that is attributable to accrued but unpaid interest. The Plan
 provides that, to the extent applicable, distributions to a holder of a Claim will be allocated first to
 any applicable accrued but unpaid interest as of the date immediately preceding the
 Commonwealth Petition Date, the ERS Petition Date or the PBA Petition Date, as applicable,
 second, to the principal amount of the Claim (as determined for federal income tax purposes) and
 then, to the extent the consideration exceeds the principal amount of the Claim, to such other
 amounts (such as any accrued but unpaid interest other than described in the preceding clauses).
 Legislative history of the Bankruptcy Tax Act of 1980 indicates that Congress intended for an
 allocation of consideration between principal and interest provided in certain reorganizations under
 the United States Bankruptcy Code to be binding for U.S. federal income tax purposes. Consistent
 with such allocation under the Plan, the Treasury Regulations generally treat payments on
 indebtedness as allocated first to accrued but unpaid interest. While the Debtors intend to report
 distributions to a U.S. Holder in accordance with the Plan, and the Debtors believe that such
 reporting is consistent with applicable law and congressional intent, there can be no assurance that
 the IRS will respect those allocations with respect to payment on the GO Bonds. U.S. Holders
 should consult their tax advisors to determine the appropriate characterization of payments
 received.

          Subject to the discussion in the previous paragraph, if any of the Cash received is
 attributable to accrued but unpaid interest on the GO Bonds, the treatment of such Cash paid to a
 U.S. Holder will depend on whether the accrued but unpaid interest on such U.S. Holder’s Claim
 is, or is not, tax-exempt for U.S. federal income tax purposes. In general, a U.S. Holder that was
 not previously required to include in taxable income any accrued but unpaid interest on a Claim
 that is not tax-exempt may be required to include such amount of Cash received as interest income
 for U.S. federal income tax purposes upon receipt of a distribution with respect to such interest. A
 U.S. Holder that was previously required to include in taxable income any accrued but unpaid
 interest on a Claim that is not tax-exempt may be entitled to recognize a deductible loss, to the
 extent that such interest is not satisfied under the Plan. However, a U.S Holder of a tax-exempt
 Claim will not be entitled to recognize a deductible loss with respect to any unpaid interest if such
 U.S. Holder never included such unpaid interest in U.S. gross income. Additionally, a U.S. Holder
 that receives a distribution of accrued but unpaid interest on a Claim that is tax-exempt will not be

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 required to include such amount as interest income for U.S. federal income tax purposes upon
 receipt of a distribution with respect to such interest. Although U.S. Holders generally will not be
 required to include the foregoing amounts in computing U.S. taxable income, U.S. Holders will
 likely have to report such amounts to the IRS.

         For tax-exempt GO Bonds that are capital appreciation bonds, where the accrual of the
 original issue discount is treated as tax exempt interest, the amount of such accrual would have
 increased the tax basis of a bondholder, thereby increasing a bondholder’s investment in such
 capital appreciation bond. Such increase in tax basis is generally considered an increase in the
 principal amount of the capital appreciation bond. U.S. Holders of Claims on which such interest
 has accrued are urged to consult their own tax advisors regarding the tax treatment of distributions
 under the Plan and the deductibility of any accrued but unpaid interest for U.S. federal income tax
 purposes.

                                (2)    Consummation Costs and PSA Restriction Fee

         The U.S. federal income tax treatment of the Consummation Costs and the PSA Restriction
 Fee is unclear. The Debtors intend to treat the receipt of the Consummation Costs and PSA
 Restriction Fee in the same manner as discussed above under “—Cash.” It is possible, however,
 that the Consummation Costs and the PSA Restriction Fee could instead be treated as a separate
 fee that would be reported as ordinary income, rather than an amount paid under the GO Bonds
 and such ordinary income generally would not be tax-exempt regardless of whether the underlying
 GO Bonds were tax-exempt for U.S. federal income tax purposes. These fees may also be treated
 as additional consideration paid to holders that would be taken into account in calculating a
 holder’s gain or loss. U.S. Holders should consult their own tax advisors regarding the U.S. federal
 income tax treatment of the Consummation Costs and the PSA Restriction Fee.

                        (iii)   Market Discount

        If a U.S. Holder acquired the GO Bonds for less than the “adjusted issue price” of the GO
 Bonds and the difference between the U.S. Holder’s cost and the “adjusted issue price” exceeded
 a de minimis threshold (equal to 0.25 percent of the sum of all remaining payments to be made on
 the debt instrument, excluding qualified stated interest, multiplied by the number of remaining
 complete years to maturity), such difference will generally be treated as “market discount.”

         Any gain recognized on the exchange will generally be treated as ordinary income to the
 extent of any accrued market discount not previously included in ordinary income with respect to
 the GO Bonds. To the extent gain is recognized pursuant to the exchange of GO Bonds for New
 GO Bonds and COFINA Junior Lien Bonds, a U.S. Holder must include as ordinary income any
 gain that would have otherwise been treated as capital gain to the extent of the accrued market
 discount on the GO Bonds, unless the U.S. Holder previously elected to include the market
 discount in income as it accrued. See below “—Taxation of New GO Bonds and COFINA Junior
 Lien Bonds—Sale, Retirement or Other Disposition of New GO Bonds and COFINA Junior Lien
 Bonds” for a further discussion regarding the election to include market discount in income as it
 accrues. U.S. Holders should consult their own tax advisors regarding the tax treatment of market


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 discount pursuant to the exchange, including the interaction of the market discount, original issue
 discount (“OID”) and acquisition premium rules.

                       (iv)    Taxation of New GO Bonds and COFINA Junior Lien Bonds

         The New GO Bonds and COFINA Junior Lien Bonds will be issued either as bonds the
 interest on which is excluded from gross income for U.S. federal income tax purposes (the “Tax-
 Exempt New GO Bonds” and the “Tax-Exempt COFINA Junior Lien Bonds,” respectively); or,
 bonds the interest on which is not excluded from gross income for U.S. federal income tax purposes
 (the “Taxable New GO Bonds” and the “Taxable COFINA Junior Lien Bonds,” respectively). The
 tax status of the New GO Bonds and COFINA Junior Lien Bonds has not been determined as of
 the date of this Disclosure Statement, including (i) whether a portion of the New GO Bonds and
 COFINA Junior Lien Bonds will be eligible to be excluded from gross income for U.S. federal
 income tax purposes or (ii) the ratio of the aggregate amount of all Taxable New GO Bonds and
 all Taxable COFINA Junior Lien Bonds to be issued on the Effective Date to the total aggregate
 amount of all New GO Bonds and all COFINA Junior Lien Bonds.

                               (1)     Issue Price

          The Debtors expect that the issue price of the New GO Bonds and COFINA Junior Lien
 Bonds should equal the fair market value of the New GO Bonds and COFINA Junior Lien Bonds
 on the date of the exchange. This determination is based on the Debtors’ conclusion that the GO
 Bonds as well as the New GO Bonds and COFINA Junior Lien Bonds should be treated as
 “publicly traded” within the meaning of the applicable Treasury Regulations. The fair market value
 of the New GO Bonds and COFINA Junior Lien Bonds will be determined by the “trading price”
 of such Bonds on or about the date of the exchange. There is no specific guidance on how to
 determine the trading price as of a specific time; however, related Treasury Regulations suggest
 that a taxpayer may use any consistently applied, reasonable method to determine fair market value
 when there is more than one sales price or quoted price. The Debtors’ determination that the GO
 Bonds and the New GO Bonds and COFINA Junior Lien Bonds are “publicly traded” will be
 binding on all holders, unless a holder discloses its contrary position in the manner required by
 applicable Treasury Regulations. The rules regarding the determination of issue price are complex,
 and U.S. Holders should consult their own tax advisors regarding the determination of the issue
 price of the New GO Bonds and COFINA Junior Lien Bonds for U.S. federal income tax purposes.

                               (2)     Interest Including OID

         The U.S. federal income tax rules used to determine what amounts are treated as interest
 are complex. U.S. Holders are urged to consult their own tax advisors regarding what amounts will
 be treated as interest for U.S. federal income tax purposes in their individual circumstances.

                               i.      Tax-Exempt New GO Bonds and Tax-Exempt COFINA
                                       Junior Lien Bonds

         The IRC imposes certain requirements that must be met subsequent to the issuance and
 delivery of the Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds for
 interest thereon to be and remain excluded from gross income for U.S. federal income tax purposes
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 pursuant to Section 103 of the IRC. Noncompliance with such requirements could cause the
 interest on the Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds to be
 included in gross income for U.S. federal income tax purposes retroactive to the date of issue of
 the Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds. When the Tax-
 Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds are issued on the Effective
 Date, Reorganized Commonwealth will, pursuant to the Definitive Documents, including the New
 GO Bond Legislation and COFINA Junior Lien Bond Legislation, covenant to do and perform all
 acts and things permitted by law and reasonably necessary or desirable to assure that interest paid
 to the holders of any Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds
 shall be and remain excludable from gross income for U.S. federal income tax purposes pursuant
 to Section 103 of the IRC. However, as noted above, the tax status of the New GO Bonds and
 COFINA Junior Lien Bonds has not been determined as of the date of this Disclosure Statement.

        Amounts allocable to pre-issuance accrued interest on the Tax-Exempt New GO Bonds
 and Tax-Exempt COFINA Junior Lien Bonds will not be treated as tax-exempt interest under
 Section 103 of the IRC.
                                     ii.    Taxable New GO Bonds and Taxable COFINA
                                     Junior Lien Bonds

         If interest on the New GO Bonds or COFINA Junior Lien Bonds (or a portion of them) is
 not treated as exempt from gross income for U.S. federal income tax purposes, then payments or
 accruals of “qualified stated interest” (as defined below) on the New GO Bonds or COFINA Junior
 Lien Bonds (or the relevant portion of them) will be taxable to such U.S. Holder as ordinary interest
 income at the time received or accrued, in accordance with such U.S. Holder’s regular method of
 accounting for U.S. federal income tax purposes. The term “qualified stated interest” generally
 means stated interest that is unconditionally payable in cash or property (other than debt
 instruments of the issuer) at least annually during the entire term of the debt instrument at a single
 fixed rate of interest, or, subject to certain conditions, based on one or more interest indices. Stated
 interest payments on the New GO Bonds and COFINA Junior Lien Bonds [generally] are expected
 to be qualified stated interest for this purpose.

                                        iii.    OID

         The amount of OID on the New GO Bonds and COFINA Junior Lien Bonds, if any, will
 be equal to the excess of the sum of all principal [and stated interest payments (other than qualified
 stated interest)] provided by such New GO Bonds or COFINA Junior Lien Bonds (initially taking
 into account the payment schedule as described below) over the issue price (determined in the
 manner described above under “—Issue Price”) of such New GO Bonds or COFINA Junior Lien
 Bonds. Furthermore, the Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds would
 bear OID only if the issue price of the New GO Bonds or COFINA Junior Lien Bonds, as
 applicable, is less than its principal amount by more than a de minimis amount. OID will be
 considered de minimis if it is less than 0.25% of the stated redemption price at maturity multiplied
 by the number of remaining complete years to maturity of such New GO Bonds or COFINA Junior
 Lien Bonds. U.S. Holders, whether on the cash or accrual method of accounting for U.S. federal
 income tax purposes, must include the OID on Taxable New GO Bonds and Taxable COFINA
 Junior Lien bonds in gross income as ordinary income as it accrues on a constant yield to maturity
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 basis, regardless of whether cash attributable to such OID is received at such time. However, the
 New GO Bonds and COFINA Junior Lien Bonds may be subject to the acquisition premium rules
 (described below under “—Acquisition Premium”), which could reduce the amount of OID
 includible in gross income.

          For Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds, the amount of OID
 includible in gross income by a U.S. Holder in any taxable year generally is the sum of the daily
 portions of OID with respect to a Taxable New GO Bond or Taxable COFINA Junior Lien Bond,
 as applicable, for each day during such taxable year or portion of such taxable year on which the
 U.S. Holder holds the Taxable New GO Bond or Taxable COFINA Junior Lien Bond. The daily
 portion is determined by allocating to each day in any accrual period a pro rata portion of the OID
 allocable to that accrual period. The accrual period for a Taxable New GO Bond and Taxable
 COFINA Junior Lien Bond may be of any length and may vary in length over the term of the
 Taxable New GO Bond or Taxable COFINA Junior Lien Bond, as applicable, provided that each
 accrual period is no longer than one year and each scheduled payment of principal or interest
 occurs on either the first day or the final day of an accrual period. The amount of OID allocable to
 any accrual period, subject to the possible adjustments described below, will be an amount equal
 to the product of the Taxable New GO Bond’s or Taxable COFINA Junior Lien Bond’s adjusted
 issue price at the beginning of the accrual period and its yield to maturity (less payments of
 qualified stated interest allocable to that period). The yield to maturity of the Taxable New GO
 Bonds and Taxable COFINA Junior Lien Bonds is the discount rate that, when used in computing
 the present value (as of the issue date) of all principal and interest payments to be made on the
 Taxable New GO Bonds or Taxable COFINA Junior Lien Bonds, as applicable, produces an
 amount equal to the issue price of such Taxable New GO Bonds or Taxable COFINA Junior Lien
 Bonds. The amount of OID allocable to the final accrual period is the difference between the
 amount payable at maturity (other than a payment of qualified stated interest) and the adjusted
 issue price at the beginning of the final accrual period. The adjusted issue price of a Taxable New
 GO Bond and Taxable COFINA Junior Lien Bond at the beginning of any accrual period is equal
 to its issue price, increased by the accrued OID for each prior accrual period and reduced by any
 payments made on the Taxable New GO Bond or Taxable COFINA Junior Lien Bond, as
 applicable, during the prior accrual periods (other than payments of qualified stated interest).

        For Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds, the
 amount of OID is excluded from gross income for U.S. federal income tax purposes to the same
 extent as interest on the Tax-Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien
 Bonds, as applicable, is so expected to be excluded. The OID accruals are computed in the same
 manner as described above for Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds,
 but such accruals will be added to the holder’s tax basis for the Tax-Exempt New GO Bonds and
 COFINA Junior Lien Bonds, as applicable. The accrual of OID may be taken into account as an
 increase in the amount of tax-exempt income for purposes of determining various other tax
 consequences of owning the Tax-Exempt New GO Bonds and COFINA Junior Lien Bonds, as
 applicable, even though there will not be a corresponding cash payment. Owners of the Tax-
 Exempt New GO Bonds and Tax-Exempt COFINA Junior Lien Bonds with OID are urged to
 consult with their own advisors with respect to the tax consequences of owning such Tax-Exempt
 New GO Bonds or Tax-Exempt COFINA Junior Lien Bonds.

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         The rules regarding OID are complex and the rules described above may not apply in all
 cases. If other rules apply instead, U.S. Holders receiving the New GO Bonds and COFINA Junior
 Lien Bonds could be treated differently than described above. U.S. Holders receiving the New GO
 Bonds and COFINA Junior Lien Bonds should consult their own tax advisors regarding the
 potential application of the OID and related U.S. federal income tax rules to the New GO Bonds
 and COFINA Junior Lien Bonds.

        [This disclosure assumes that the New GO Bonds and COFINA Junior Lien Bonds will not
 be considered contingent payment debt instruments within the meaning of the applicable Treasury
 Regulations. However, there is limited authority as to the treatment of the New GO Bonds and
 COFINA Junior Lien Bonds, and there can be no assurances that the IRS will respect such
 treatment. U.S. Holders are urged to consult their own tax advisors regarding the treatment of New
 GO Bonds and COFINA Junior Lien Bonds as contingent payment debt instruments, including
 any limitation under those rules on the amount of tax-exempt interest on the Tax-Exempt New GO
 Bonds and Tax-Exempt COFINA Junior Lien Bonds that may be excluded from gross income for
 U.S. federal income tax purposes.]

                               (3)     Acquisition Premium

         A New GO Bond or COFINA Junior Lien Bond would be treated as acquired with
 acquisition premium if the U.S. Holder’s initial basis in the New GO Bond or COFINA Junior
 Lien Bond is (a) less than or equal to the sum of all amounts payable on the New GO Bond or
 COFINA Junior Lien Bond (other than payments of qualified stated interest) and (b) greater than
 such bond’s adjusted issue price for U.S. federal income tax purposes. If a Taxable New GO Bond
 or Taxable COFINA Junior Lien Bond was acquired with acquisition premium, a U.S. Holder
 generally would reduce the amount of OID that otherwise would be included in income for each
 accrual period by an amount equal to (i) the amount of OID otherwise includible in income
 multiplied by (ii) a fraction, the numerator of which is the excess of the adjusted tax basis of the
 Taxable New GO Bond or Taxable COFINA Junior Lien Bond, as applicable, immediately after
 its acquisition by the U.S. Holder over the adjusted issue price of the Taxable New GO Bond or
 Taxable COFINA Junior Lien Bond, as applicable, and the denominator of which is the excess of
 the sum of all amounts payable on the Taxable New GO Bond or Taxable COFINA Junior Lien
 Bond, as applicable, after the purchase date, other than payments of qualified stated interest, over
 the Taxable New GO Bond’s or Taxable COFINA Junior Lien Bond’s, as applicable, adjusted
 issue price. If a Tax-Exempt New GO Bond or Tax-Exempt COFINA Junior Lien Bond were
 acquired with acquisition premium, a U.S. Holder will reduce the Tax-Exempt New GO Bond’s
 or Tax-Exempt COFINA Junior Lien Bond’s, as applicable, tax basis during each accrual period
 using the same method described above for a Taxable New GO Bond and Taxable COFINA Junior
 Lien Bond.

        As an alternative to reducing the amount of OID that otherwise would be included in
 income during an accrual period or reducing the tax basis of the Tax-Exempt New GO Bond or
 Tax-Exempt COFINA Junior Lien Bond, the U.S. Holder may elect to compute OID accruals by
 applying the constant yield method described above; provided, however, that if a U.S. Holder
 chooses to make such election, the election shall also apply with respect to all other bonds held by
 such U.S. Holder at the beginning of the taxable year to which the election applies and to any
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 bonds thereafter acquired, and such election generally may not be revoked. U.S. Holders who
 acquire New GO Bonds and COFINA Junior Lien Bonds with acquisition premium should consult
 their own tax advisors as to the consequences of such an election in their individual circumstances.

                               (4)     Sale, Retirement or Other Disposition of New GO Bonds
                                       and COFINA Junior Lien Bonds

          A U.S. Holder will generally recognize taxable gain or loss on the sale, exchange,
 retirement (including redemption) or other taxable disposition of a New GO Bond or COFINA
 Junior Lien Bond equal to the difference, if any, between (i) the amount realized upon such
 disposition (other than cash received attributable to accrued but unpaid interest) and (ii) the
 adjusted tax basis of such New GO Bond or COFINA Junior Lien Bond. A U.S. Holder’s adjusted
 tax basis in a New GO Bond or COFINA Junior Lien Bond will generally equal such U.S. Holder’s
 tax basis on such New GO Bond or COFINA Junior Lien Bond on the date the U.S. Holder
 acquired such New GO Bond or COFINA Junior Lien Bond, increased by any OID previously
 accrued by the U.S. Holder, and decreased by the amount of any Cash payments (other than
 payments of qualified stated interest) previously received on such New GO Bond or COFINA
 Junior Lien Bond by the U.S. Holder. U.S. Holders should consult with their own tax advisors as
 to the tax basis of their New GO Bonds and COFINA Junior Lien Bonds on the date of acquisition.

         Subject to the discussion of market discount below, any gain or loss that a U.S. Holder
 recognizes upon the sale or other taxable disposition of a New GO Bond or COFINA Junior Lien
 Bond should generally constitute capital gain or loss and will be long-term capital gain or loss if
 such holder’s holding period in the New GO Bond or COFINA Junior Lien Bond is greater than
 one year. A U.S. Holder’s holding period in New GO Bonds and COFINA Junior Lien Bonds
 received pursuant to the exchange will begin the day after the exchange. Long-term capital gain is
 generally taxable at preferential rates to non-corporate U.S. Holders. The deductibility of capital
 losses is subject to limitations. Upon a taxable disposition of the New GO Bonds or COFINA
 Junior Lien Bonds, a U.S. Holder must recognize ordinary income (in lieu of capital gain) to the
 extent of accrued market discount, unless the U.S. Holder previously elected to include the market
 discount in income as it accrued. A U.S. Holder can elect to include market discount in income as
 it accrues, in which case such income would be treated as ordinary interest income at the time it is
 recognized and the U.S. Holder would increase its basis in the New GO Bonds or COFINA Junior
 Lien Bonds, as applicable, by the amount of the market discount recognized. Such election is made
 by including market discount in income on a timely filed U.S. federal income tax return and
 attaching a statement to the return providing that such election has been made.

       If such election is made, the election applies to all market discount bonds acquired by the
 U.S. Holder during the year for which the election is made and all subsequent years.

                        Holders of Retail Vintage CW Bond Claims (Class 12), Retail 2011
                        CW Bond Claims (Class 19), Retail 2011 CW Series D/E/PIB Bond




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                       Claims (Class 26), Retail 2012 CW Bond Claims (Class 29), and Retail
                       2014 CW Bond Claims (Class 35)

         The Debtors expect that pursuant to the Plan, each U.S. Holder of any of the following: (i)
 Retail Vintage CW Bond Claims (Class 12); (ii) Retail 2011 CW Bond Claims (Class 19); (iii)
 Retail 2011 CW Series D/E/PIB Bond Claims (Class 26); (iv) Retail 2012 CW Bond Claims (Class
 29); and (v) Retail 2014 CW Bond Claims (Class 35) will be treated as exchanging such U.S.
 Holder’s GO Bonds that are the subject of these Classes of Allowed Claims for New GO Bonds,
 COFINA Junior Lien Bonds, and Cash for U.S. federal income tax purposes. The remainder of
 this discussion assumes this will be the case.

                       (i)     Tax Treatment of Exchange

        Generally, the Debtors expect that the U.S. federal income tax consequences to each of the
 above-mentioned U.S. Holders for the exchange of a portion of such U.S. Holder’s GO Bonds for
 New GO Bonds and COFINA Junior Lien Bonds and Cash should be as described above under
 “—Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims (Insured) (Class
 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee Bond Claims
 (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims (Insured) (Class
 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond Claims (Class
 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond Claims (Class
 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims (Class 32),
 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—Tax
 Treatment of Exchange.”

                       (ii)    Tax Treatment of Receipt of Cash

         The Debtors expect that, to the extent that any of the above-mentioned U.S. Holders
 receives its pro rata share of Cash under the Plan, the U.S. federal income tax consequences to
 such U.S. Holder should be as described above under “—Holders of Vintage CW Bond Claims
 (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims
 (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims
 (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class
 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims
 (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class
 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014
 CW Guarantee Bond Claims (Class 37)—Tax Treatment of Receipt of Cash.” To the extent that
 such U.S. Holder voted to accept the Plan and thereby receives its pro rata share of Retail Support
 Fees, although, not free from doubt, the Debtors expect that Retail Support Fees generally shall be
 treated similarly to the description above of Consummation Costs under “—Tax Treatment of
 Receipt of Cash—Consummation Costs and PSA Restriction Fee.”

                       (iii)   Taxation of New GO Bonds and COFINA Junior Lien Bonds

         The Debtors expect that the New GO Bonds and COFINA Junior Lien Bonds should be
 treated for U.S. federal income tax purposes as described above under “—Holders of Vintage CW
 Bond Claims (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee
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 Bond Claims (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW
 Bond Claims (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond
 Claims (Class 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB
 Bond Claims (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims
 (Insured) (Class 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class
 34), and 2014 CW Guarantee Bond Claims (Class 37)—Taxation of New GO Bonds and COFINA
 Junior Lien Bonds.”

                       Holders of Vintage CW Bond Claims (Taxable Election) (Class 14),
                       Vintage CW Guarantee Bond Claims (Taxable Election) (Class 17),
                       2011 CW Bond Claims (Taxable Election) (Class 21), 2011 CW
                       Guarantee Bond Claims (Taxable Election) (Class 23), 2011 CW
                       Series D/E/PIB Bond Claims (Taxable Election) (Class 27), 2012 CW
                       Bond Claims (Taxable Election) (Class 31), 2012 CW Guarantee Bond
                       Claims (Taxable Election) (Class 33), 2014 CW Bond Claims (Taxable
                       Election) (Class 36), and 2014 CW Guarantee Bond Claims (Taxable
                       Election) (Class 38)

          In general, this discussion does not apply to holders of (i) Vintage CW Bond Claims
 (Taxable Election) (Class 14); (ii) Vintage CW Guarantee Bond Claims (Taxable Election) (Class
 17); (iii) 2011 CW Bond Claims (Taxable Election) (Class 21); (iv) 2011 CW Guarantee Bond
 Claims (Taxable Election) (Class 23); (v) 2011 CW Series D/E/PIB Bond Claims (Taxable
 Election) (Class 27); (vi) 2012 CW Bond Claims (Taxable Election) (Class 31); (vii) 2012 CW
 Guarantee Bond Claims (Taxable Election) (Class 33); (viii) 2014 CW Bond Claims (Taxable
 Election) (Class 36); and (ix) 2014 CW Guarantee Bond Claims (Taxable Election) (Class 38).
 Any holder of any such Claim that files a U.S. federal income tax return should consult their tax
 advisor regarding the U.S. federal income tax consequences of holding such Claim and making a
 taxable bond election. As described above, the term “U.S. Holders” as defined herein does not
 include Puerto Rico Individuals and Puerto Rico Corporations, each as defined below under “—
 Puerto Rico Individuals and Puerto Rico Corporations.” Puerto Rico Individuals and Puerto Rico
 Corporations should see the discussion below under “—Puerto Rico Individuals and Puerto Rico
 Corporations.”

                       Holders of ERS Bond Claims (Class 48)

         The Debtors expect that pursuant to the Plan, each U.S. Holder of ERS Bond Claims will
 be treated as exchanging such U.S. Holder’s ERS Bonds that are the subject of this Class of
 Allowed Claims for Cash, which shall be placed in the ERS Reserve as if such Claim had been an
 Allowed ERS Bond Claim as of the Effective Date, pending entry of a final, non-appealable order
 resolving or settling the ERS Litigation. The remainder of this discussion assumes this will be the
 case.

        Any actual or constructive distributions from the ERS Reserve to U.S. Holders of Allowed
 Claims shall be treated for U.S. federal income tax purposes as if received directly from the
 Debtors on behalf of the holder’s original Claim.


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        Accordingly, the Debtors expect that the U.S. federal income tax consequences to the U.S.
 Holders of Allowed ERS Bond Claims for the exchanges of ERS Bonds for ERS Bond Collateral
 Cash should be as described above under “—Holders of Vintage CW Bond Claims (Class 11),
 Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15),
 Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18),
 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011
 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured)
 (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012
 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW
 Guarantee Bond Claims (Class 37)—Tax Treatment of Receipt of Cash.”

                       Holders of Settling ERS Bond Claims (Class 49)

        The Debtors expect that pursuant to the Plan, each U.S. Holder of a Settling ERS Bond
 Claim should be treated as exchanging such U.S. Holder’s ERS Bonds that are the subject of this
 Class of Allowed Claims for Cash for U.S. federal income tax purposes. The remainder of this
 discussion assumes this will be the case.

        The tender of the ERS Bonds in exchange for the ERS Bond Settlement Distribution, which
 is comprised of ERS Bond Collateral Cash, will be treated as a taxable exchange of the ERS Bonds
 for Cash for U.S. federal income tax purposes. The Debtors expect that the U.S. federal income
 tax consequences to the U.S. Holders of Settling ERS Bonds Claims of such exchange should be
 as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond
 Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW
 Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond
 Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),
 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Tax Treatment of Receipt of Cash.”

                       Holders of Vintage PBA Bond Claims (Class 1), Vintage PBA Bond
                       Claims (Insured) (Class 2), 2011 PBA Bond Claims (Class 4), and
                       2012 PBA Bond Claims (Class 6)

        The Debtors expect that pursuant to the Plan, each U.S. Holder of any of the following: (i)
 Vintage PBA Bond Claims (Class 1); (ii) Vintage PBA Bond Claims (Insured) (Class 2); (iii) 2011
 PBA Bond Claims (Class 4); and (iv) 2012 PBA Bond Claims (Class 6) will be treated as
 exchanging such U.S. Holder’s PBA Bonds for Cash, for U.S. federal income tax purposes.

        Generally, the Debtors expect that the U.S. federal income tax treatment of receipt of Cash
 should be as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage
 CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage
 CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW
 Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),

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 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Tax Treatment of Receipt of Cash.”

                        Holders of Retail Vintage PBA Bond Claims (Class 3), Retail 2011
                        PBA Bond Claims (Class 5), and Retail 2012 PBA Bond Claims (Class
                        7)

         The Debtors expect that pursuant to the Plan, each U.S. Holder of any of the following: (i)
 Retail Vintage PBA Bond Claims (Class 3); (ii) Retail 2011 PBA Bond Claims (Class 5); and (iii)
 Retail 2012 PBA Bond Claims (Class 7) will be treated as exchanging such U.S. Holder’s PBA
 Bonds for Cash for U.S. federal income tax purposes.

        Generally, the Debtors expect that the U.S. federal income tax treatment of receipt of Cash
 should be as described above under, “—Holders of Holders of Vintage CW Bond Claims (Class
 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class
 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18),
 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011
 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured)
 (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012
 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW
 Guarantee Bond Claims (Class 37)—Tax Treatment of Receipt of Cash.” To the extent that such
 U.S. Holder voted to accept the Plan and thereby receives its pro rata share of Retail Support Fees,
 although, not the matter is not free from doubt, the Debtors expect that Retail Support Fees
 generally should be treated similarly to the description above of Consummation Costs under “—
 Tax Treatment of Receipt of Cash—Consummation Costs and PSA Restriction Fee.”

                        Holders of PBA General Unsecured Claims (Class 9), CW General
                        Unsecured Claims (Class 41), CW/HTA Claims (Class 42),
                        CW/Convention Center Claims (Class 43), CW/PRIFA Rum Tax
                        Claims (Class 44), CW/MBA Claims (Class 45), ERS General
                        Unsecured Claims (Class 50), Gracia Gracia Claims (Class 51), and
                        Convenience Claims (Class 52)

         The Debtors expect that pursuant to the Plan, each U.S. Holder of any of the following: (i)
 PBA General Unsecured Claims (Class 9); (ii) CW General Unsecured Claims (Class 41); (iii)
 CW/HTA Claims (Class 42); (iv) CW/Convention Center Claims (Class 43); (v) CW/PRIFA Rum
 Tax Claims (Class 44); (vi) CW/MBA Claims (Class 45); (vii) ERS General Unsecured Claims
 (Class 50); (viii) Gracia Gracia Claims (Class 51); and (ix) Convenience Claims (Class 52) will be
 treated as receiving a distribution in full consideration, satisfaction, release, and exchange of such
 holder’s Claims that are the subject of these Classes of Allowed Claims. The consequences of the
 receipt of such distribution will vary depending on the U.S. Holders individual circumstances. U.S
 Holders are urged to consult their tax advisors regarding the tax consequences of the receipt of
 such distribution in their individual circumstances.



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                         Holders of Active and Retired Employee Retirement Benefits Claims
                         (Class 39A-39E) and AFSCME Employee Claims (Class 40)

        In general, this discussion does not apply to holders of (i) Active and Retired Employee
 Retirement Benefits Claims (Class 39A-39E) and (ii) AFSCME Employee Claims (Class 40). Any
 holder of any such Claim that files a U.S. federal income tax return should consult their tax advisor
 regarding the U.S. federal income tax consequences of holding such Claim.

         3.      Bad Debt and/or Worthless Securities Deduction

         A U.S. Holder who, under the Plan, receives in respect of an Allowed Claim an amount
 less than the U.S. Holder’s tax basis in the Allowed Claim may be entitled in the year of receipt
 (or in an earlier or later year) to a bad debt deduction or a worthless securities deduction. The rules
 governing the character, timing and amount of bad debt or worthless securities deductions place
 considerable emphasis on the facts and circumstances of the U.S. Holder, the obligor and the
 instrument with respect to which a deduction is claimed. U.S. Holders of Allowed Claims should
 consult their tax advisors with respect to their ability to take such a deduction and as to what
 taxable year.

         4.      Medicare Tax

         A U.S. Holder of Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds that
 is an individual, estate or trust that does not fall into a special class of trusts that is exempt from
 such tax, is subject to a 3.8% Medicare surtax on the lesser of (1) the U.S. Holder’s “net investment
 income” (or “undistributed net investment income” in the case of an estate or trust) for the relevant
 taxable year, which includes, among other items, interest (including original issue discount) on
 debt and capital gains from the sale or other taxable disposition of debt, and (2) the excess of the
 U.S. Holder’s modified adjusted gross income (or adjusted gross income in the case of an estate
 or trust) for the taxable year over a certain threshold (which in the case of individuals is between
 $125,000 and $250,000, depending on the individual’s circumstances). A U.S. Holder that is an
 individual, estate or trust should consult its own tax advisors regarding the applicability of the
 Medicare surtax to its income and gains in respect of its exchanges and their ownership of the New
 GO Bonds and COFINA Junior Lien Bonds.

         5.      Information Reporting and Backup Withholding

       Information reporting will generally apply to (i) payments in respect of the exchange; (ii)
 payments of principal and interest and OID, if any, on the New GO Bonds and COFINA Junior
 Lien Bonds; and (iii) payments of proceeds of the sale or other disposition of the New GO Bonds
 and COFINA Junior Lien Bonds.

         Additionally, backup withholding may apply to any payments if such U.S. Holder (a) fails
 to provide an accurate taxpayer identification number, (b) furnishes an incorrect taxpayer
 identification number, (c) is notified by the IRS that it has failed to report all interest and dividends
 required to be shown on its U.S. federal income tax returns, or (d) fails to certify under penalties
 of perjury that the U.S. Holder has furnished a correct taxpayer identification number and that the
 IRS has not notified the U.S. Holder that the U.S. Holder is subject to backup withholding. The
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 application for exemption is available by providing a properly completed IRS Form W-9 (or
 suitable substitute).

         Backup withholding is not an additional tax. A U.S. Holder generally may obtain a refund
 of any amounts withheld under the backup withholding rules that exceed its U.S. federal income
 tax liability by timely filing a refund claim with the IRS.

         Certain U.S. Holders are not subject to information reporting and backup withholding in
 some cases, provided they properly identify themselves as exempt. U.S. Holders should consult
 their own tax advisors regarding their qualification for an exemption from backup withholding and
 the procedures for obtaining such an exemption.

 C.     Puerto Rico Individuals and Puerto Rico Corporations

        1.      Definition of Puerto Rico Individuals and Puerto Rico Corporations

         As used herein, the term “Puerto Rico Individual” means a beneficial owner of a Bond
 Claim, a New GO Bond or COFINA Junior Lien Bond that is an individual and a bona fide resident
 of the Commonwealth within the meaning of Section 937 of the IRC and the Treasury Regulations
 for the entire taxable year that includes the Effective Date. As used herein, the term “Puerto Rico
 Corporation” means a beneficial owner of a Bond Claim, a New GO Bond or COFINA Junior Lien
 Bond that is a corporation organized under the laws of the Commonwealth.

         The following discussion includes only certain U.S. federal income tax consequences of
 the Plan to Puerto Rico Individuals and Puerto Rico Corporations. The discussion does not include
 any non-U.S. (including Puerto Rico) tax considerations. A Puerto Rico Individual or a Puerto
 Rico Corporation should review the Section “Certain Material Puerto Rico Income Tax
 Considerations” below for the Puerto Rico tax consequences of the Plan.

        The rules governing the U.S. federal income tax consequences to Puerto Rico Individuals
 and Puerto Rico Corporations are complex. Puerto Rico Individuals and Puerto Rico Corporations
 should consult their own tax advisors regarding the U.S. federal, state and local, and the foreign
 tax consequences of the consummation of the Plan in their own circumstances.

        2.      Tax Treatment of Exchange

         A Puerto Rico Individual generally will not be subject to U.S. federal income tax with
 respect to any gain realized on the exchange of an Allowed Claim pursuant to the Plan. A Puerto
 Rico Corporation generally would not be subject to U.S. federal income tax with respect to any
 gain realized on the exchange of an Allowed Claim pursuant to the Plan, unless such gain is
 effectively connected with such Puerto Rico Corporation’s conduct of a trade or business in the
 United States, in which case the gain will be subject to tax in the same manner as effectively
 connected income as described below under “—Sale, Retirement or Other Disposition of New GO
 Bonds and COFINA Junior Lien Bonds.”




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        3.      Taxation of New GO Bonds and COFINA Junior Lien Bonds

                        Treatment of Interest

         Payments of interest on a New GO Bond and COFINA Junior Lien Bond, including OID,
 to a Puerto Rico Individual or a Puerto Rico Corporation, generally, would not be subject to U.S.
 federal income tax unless, in the case of a Puerto Rico Corporation, the Puerto Rico Corporation
 is deemed to be engaged in a trade or business in the United States and such income is effectively
 connected with the conduct of a trade or business within the United States.

        If a Puerto Rico Corporation is treated as engaged in a trade or business in the United States
 and interest (including OID) on the Taxable New GO Bonds and Taxable COFINA Junior Lien
 Bonds is “effectively connected” with the conduct of that trade or business, then the Puerto Rico
 Corporation would be subject to U.S. federal income tax on that interest (including OID) on a net
 income basis generally in the same manner as if it were a U.S. Holder. In addition, a Puerto Rico
 Corporation may be subject to a branch profits tax with respect to such effectively connected
 income.

                        Sale, Retirement or Other Disposition of New GO Bonds and
                        COFINA Junior Lien Bonds

        Gain realized upon a sale, retirement or other disposition of a New GO Bond or COFINA
 Junior Lien Bond by a Puerto Rico Individual or a Puerto Rico Corporation generally would not
 be subject to U.S. federal income tax unless, in the case of a Puerto Rico Corporation, the Puerto
 Rico Corporation is deemed to be engaged in a trade or business in the United States and such
 income is effectively connected with the conduct of a trade or business within the United States.

         If a Puerto Rico Corporation is treated as engaged in a trade or business in the United
 States and gain realized upon a sale, retirement or other disposition of a New GO Bond or
 COFINA Junior Lien Bond by the Puerto Rico Corporation is “effectively connected” with the
 conduct of that trade or business, then the Puerto Rico Corporation would be subject to U.S.
 federal income tax on that gain on a net income basis generally in the same manner as if it were
 a U.S. Holder. In addition, a Puerto Rico Corporation may be subject to a branch profits tax with
 respect to such effectively connected income.

        Certain tax consequences of the Plan to Puerto Rico Individuals and Puerto Rico
 Corporations are uncertain. Puerto Rico Individuals and Puerto Rico Corporations should
 consult their tax advisors regarding the particular tax consequences to them of the
 transactions contemplated by the Plan.

        4.      Information Reporting and Backup Withholding

       Information reporting will generally apply to (i) payments in respect of the exchange, (ii)
 payments of principal and interest and OID, if any, on the New GO Bonds and COFINA Junior
 Lien Bonds, and (iii) payments of proceeds of the sale or other disposition of the New GO Bonds
 and COFINA Junior Lien Bonds.

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         In general, a Puerto Rico Individual will not be subject to backup withholding with respect
 to any payments on the New GO Bonds and COFINA Junior Lien Bonds if it provides a validly
 completed IRS Form W-9 (or suitable substitute) unless such Puerto Rico Individual (a) fails to
 provide an accurate taxpayer identification number, (b) furnishes an incorrect taxpayer
 identification number, (c) is notified by the IRS that it has failed to report all interest and dividends
 required to be shown on its U.S. federal income tax returns, or (d) fails to certify under penalties
 of perjury that the U.S. Holder has furnished a correct taxpayer identification number and that the
 IRS has not notified the U.S. Holder that the U.S. Holder is subject to backup withholding.

         A Puerto Rico Corporation, generally, will not be subject to backup withholding with
 respect to payments in respect of the exchange or payments of principal and interest and OID, if
 any, on the New GO Bonds and COFINA Junior Lien Bonds, provided that the Puerto Rico
 Corporation has provided a validly completed IRS Form W-8BEN-E (or other applicable form)
 establishing that it is not a U.S. person as defined in the IRC (or it satisfies certain documentary
 evidence requirements for establishing that it is not a U.S. person). Information reporting and,
 depending on the circumstances, backup withholding will apply to payments of proceeds of the
 sale or other disposition of the New GO Bonds and COFINA Junior Lien Bonds made within the
 United States or conducted through certain United States-related financial intermediaries, unless
 the Puerto Rico Corporation certifies to the payor under penalties of perjury that it is not a U.S.
 person (and the payor does not have actual knowledge or reason to know that such Puerto Rico
 Corporation is a U.S. person), or otherwise establishes an exemption.

        Backup withholding is not an additional tax. A Puerto Rico Individual or Puerto Rico
 Corporation, as applicable, generally may obtain a refund of any amounts withheld under the
 backup withholding rules that exceed its U.S. federal income tax liability by timely filing a refund
 claim with the IRS.

         Certain Puerto Rico Individuals and Puerto Rico Corporations are not subject to
 information reporting and backup withholding in specific circumstances, provided they properly
 identify themselves as exempt. Puerto Rico Individuals and Puerto Rico Corporations should
 consult their own tax advisors regarding their qualification for an exemption from backup
 withholding and the procedures for obtaining such an exemption.

 D.      Non-U.S. Holders

         1.      Definition of Non-U.S. Holder

         Unless otherwise noted, the discussion below applies only to Non-U.S. Holders. As used
 herein, the term “Non-U.S. Holder” means a beneficial owner of Existing Securities that is not (i)
 a U.S. Holder, (ii) a partnership or other entity treated as a partnership or other pass-through entity
 for U.S. federal income tax purposes or (iii) a Puerto Rico Individual or a Puerto Rico Corporation.

        The following discussion includes only certain U.S. federal income tax consequences of
 the Plan to Non-U.S. Holders. The discussion does not include any non-U.S. tax considerations.
 The rules governing the U.S. federal income tax consequences to Non-U.S. Holders are complex.
 Non-U.S. Holders should consult their own tax advisors regarding the U.S. federal, state and local,
 and the foreign tax consequences of the Plan in their individual circumstances.
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        2.      Treatment of Exchange

         A Non-U.S. Holder generally would not be subject to U.S. federal income tax with respect
 to any gain realized on the exchange of an Allowed Claim pursuant to the Plan, unless (i) such
 gain is effectively connected with such Non-U.S. Holder’s conduct of a trade or business in the
 United States (and, if an income tax treaty applies, such gain is attributable to a permanent
 establishment or fixed base maintained by such Non-U.S. Holder in the United States), in which
 case the gain will be subject to tax in the same manner as effectively connected income as
 described above, for New GO Bonds and COFINA Junior Lien Bonds, under “—Sale, Retirement
 or Other Disposition of New GO Bonds and COFINA Junior Lien Bonds” or (ii) such Non-U.S.
 Holder is a nonresident alien individual who holds the New GO Bonds and COFINA Junior Lien
 Bonds as a capital asset and is present in the United States for 183 days or more in the taxable year
 of the exchange and such gain is derived from sources within the United States.

        3.      Taxation of New GO Bonds and COFINA Junior Lien Bonds

                        Treatment of Interest

        Payments of interest on a New GO Bond and COFINA Junior Lien Bond, including OID,
 to a Non-U.S. Holder, which will be foreign source income for U.S. federal income tax purposes,
 generally would not be subject to U.S. federal income tax so long as the Non-U.S. Holder is not
 deemed to be engaged in a trade or business in the United States and such income is not effectively
 connected with the conduct of a trade or business within the United States.

         If a Non-U.S. Holder is treated as engaged in a trade or business in the United States and
 interest (including OID) on the Taxable New GO Bonds and Taxable COFINA Junior Lien Bonds
 is “effectively connected” with the conduct of that trade or business, then the Non-U.S. Holder
 will be subject to U.S. federal income tax on that interest (including OID) on a net income basis
 generally in the same manner as if it were a U.S. Holder unless an applicable income tax treaty
 provides otherwise. In addition, if the Non-U.S. Holder is a corporation, it may be subject to a
 branch profits tax with respect to such effectively connected income unless an applicable income
 tax treaty applies to reduce such rate.

                        Sale, Retirement or Other Disposition of New GO Bonds and COFINA
                        Junior Lien Bonds

         Gain realized upon a sale, retirement or other disposition of a New GO Bond or COFINA
 Junior Lien Bond by a Non-U.S. Holder generally would not be subject to U.S. federal income tax
 so long as the Non-U.S. Holder is not deemed to be engaged in a trade or business in the United
 States and such gain is not effectively connected with the conduct of a trade or business within the
 United States.

        If a Non-U.S. Holder is treated as engaged in a trade or business in the United States and
 gain realized upon a sale, retirement or other disposition of a New GO Bond or COFINA Junior
 Lien Bond by the Non-U.S. Holder is “effectively connected” with the conduct of that trade or
 business, then the Non-U.S. Holder will be subject to U.S. federal income tax on that gain on a net
 income basis generally in the same manner as if it were a U.S. Holder unless an applicable income
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 tax treaty provides otherwise. In addition, if the Non-U.S. Holder is a corporation, it may be subject
 to a branch profits tax with respect to such effectively connected income unless an applicable
 income tax treaty applies to reduce such rate.

         The tax consequences of the Plan to the Non-U.S. Holders are uncertain. Non-U.S. Holders
 should consult their tax advisors regarding the particular tax consequences to them of the
 transactions contemplated by the Plan.

        4.      FATCA

         Pursuant to FATCA, foreign financial institutions (which term includes most foreign hedge
 funds, private equity funds, mutual funds, securitization vehicles and other investment vehicles)
 and certain other foreign entities generally must comply with certain new information reporting
 rules with respect to their U.S. account holders and investors or confront a new withholding tax
 on U.S.-source payments made to them (whether received as a beneficial owner or as an
 intermediary for another party). A foreign financial institution or such other foreign entity that
 does not comply with the FATCA reporting requirements generally would be subject to
 withholding tax with respect to any “withholdable payments.” For this purpose, “withholdable
 payments” are any U.S.-source payments of fixed or determinable, annual or periodic income,
 profits and income and certain “foreign passthru payments.” Withholding under FATCA generally
 should not apply to payments of interest (including OID) under a New GO Bond and COFINA
 Junior Lien Bond because such payment generally should be foreign source income. Foreign
 financial institutions located in jurisdictions that have an intergovernmental agreement with the
 United States governing FATCA may be subject to different rules. Holders should consult with
 their tax advisors as to the application of FATCA in their individual circumstances.



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               X.      Certain Material Puerto Rico Income Tax Considerations

 A.     General

         A general description of certain material Puerto Rico income tax consequences of the Plan
 to holders of certain Claims is provided below. This description is based on the Puerto Rico
 Internal Revenue Code of 2011, as amended (the “P.R. Code”), regulations promulgated under the
 P.R. Code, administrative pronouncements and judicial decisions, all as in effect on the date of
 this Disclosure Statement and all of which are subject to change, possibly with retroactive effect
 (collectively, “Applicable P.R. Tax Law”). Changes in Applicable P.R. Tax Law or in their
 interpretation could cause some or all of the Puerto Rico income tax consequences of the Plan to
 differ materially from the consequences described below.

        The Puerto Rico income tax consequences of the Plan are complex. As of the date of this
 Disclosure Statement, no ruling has been formally requested from the Puerto Rico Treasury
 Department (the “P.R. Treasury”); no opinion has been requested from the Debtors’ counsel
 concerning any tax consequence of the Plan except as specifically set forth therein; and no tax
 opinion is given by this Disclosure Statement.

         The description that follows does not cover all aspects of Puerto Rico income taxation that
 may be relevant to Holders of Claims. For example, the description does not address issues of
 special concern to certain types of taxpayers (e.g., regulated investment companies, real estate
 investment trusts, banks and certain other financial institutions, insurance companies, tax-exempt
 organizations, retirement plans, individual retirement and other tax-deferred accounts, holders that
 are, or hold their Claims through, corporations of individuals, partnerships or other pass-through
 entities for Puerto Rico income tax purposes, and persons whose Claims are part of a straddle,
 hedging, constructive sale, or conversion transaction). In addition, the description assumes that a
 Holder holds Existing Securities and New Bonds only as a “capital asset” within the meaning of
 Section 1034.01(a)(1) of the P.R. Code. This description does not address Puerto Rico taxes other
 than Commonwealth income taxes, nor does it apply to any person that acquires New Bonds in the
 secondary market. Finally, this discussion does not address the Puerto Rico income tax
 consequences to Holders of Claims who are deemed to have rejected the Plan.

        For these reasons, the description that follows is not a substitute for careful tax planning
 and professional tax advice based upon the individual circumstances of each Holder of a Claim.
 Holders of Claims are urged to consult with their own tax advisors regarding the Puerto Rico tax
 consequences of the Plan.

 B.     P.R. Holders

        1.      Definition of P.R. Holder

         Unless otherwise noted, the discussion below applies only to P.R. Holders. As used herein,
 the term “P.R. Holder” means a beneficial owner of Existing Securities on the Effective Date of
 the Plan that is, for P.R. income tax purposes:


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            An individual who for the entire taxable year is a bona fide resident of Puerto Rico
             for purposes of Section 933 of the U.S. Internal Revenue Code of 1986, as amended
             (as determined under Section 937(a) of such Code) and a resident of Puerto Rico for
             purposes of the P.R. Code;

            a corporation or other entity organized under the laws of Puerto Rico that is treated as
             a corporation for Puerto Rico income tax purposes, excluding a corporation or any
             other type of entity subject to pass through tax treatment or any other special tax
             regime under the P.R. Code;

            an estate, the income of which is subject to Puerto Rico income taxation regardless of
             its source; or

            a trust (other than a business trust), all of the beneficiaries of which are individual
             residents of Puerto Rico, as described above.

        If a partnership or other entity or arrangement taxable as a partnership for Puerto Rico
 income tax purposes holds Existing Securities, the Puerto Rico income tax treatment of a partner
 in such partnership generally will depend upon the status of the partner and the activities of the
 partnership. Partners in such a partnership holding Existing Securities are urged to consult their
 tax advisors.

         A P.R. Holder who holds Allowed Claims of more than one Class may have different
 Puerto Rico income tax consequences for each Class of Allowed Claims. P.R. Holders should
 carefully review the sections of this discussion applicable to each Class of Allowed Claims such
 P.R. Holder holds, and P.R. Holders of more than one Class of Allowed Claims should consult
 their own tax advisors as to the potential interaction of the Puerto Rico income tax consequences
 of each Class of Allowed Claims such P.R. Holder holds.

        2.      Tax Treatment of Allowed Claims

                        Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond
                        Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims
                        (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16),
                        2011 CW Bond Claims (Class 18), 2011 CW Bond Claims (Insured)
                        (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW
                        Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond
                        Claims (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012
                        CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond
                        Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW
                        Guarantee Bond Claims (Class 37)

        The Debtors expect that pursuant to the Plan, each P.R. Holder of any of the following: (i)
 Vintage CW Bond Claims, (ii) Vintage CW Bond Claims (Insured), (iii) Vintage CW Guarantee
 Bond Claims, (iv) Vintage CW Guarantee Bond Claims (Insured), (v) 2011 CW Bond Claims, (vi)
 2011 CW Bond Claims (Insured), (vii) 2011 CW Guarantee Bond Claims, (viii) 2011 CW Series

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 D/E/PIB Bond Claims, (ix) 2011 CW Series D/E/PIB Bond Claims (Insured), (x) 2012 CW Bond
 Claims, (xi) 2012 CW Bond Claims (Insured), (xii) 2012 CW Guarantee Bond Claims, (xiii) 2014
 CW Bond Claims, and (xiv) 2014 CW Guarantee Bond Claims (Class 37) will be treated as
 exchanging such P.R. Holder’s GO Bonds that are the subject of these Classes of Allowed Claims
 for New Bonds (including New GO Bonds and COFINA Junior Lien Bonds) and Cash.

                        (i)     Tax Treatment of Exchange

         The Debtors expect that, and intend to take the position that, the exchange should not
 qualify as a recapitalization because neither Debtors nor Reorganized Debtors should be classified
 as a corporation for Puerto Rico income tax purposes. If, consistent with Debtors’ expectation, the
 exchange of a portion of the GO Bonds for the New Bonds pursuant to the Plan does not qualify
 as a recapitalization, then the exchange will be considered a taxable exchange under the P.R. Code.
 Therefore, a P.R. Holder will recognize gain or loss equal to the difference between the amount
 realized on the exchange and the P.R. Holder’s adjusted tax basis in the GO Bonds on the date of
 the exchange. The amount realized on the exchange of GO Bonds will equal the fair market value
 of each New Bond plus any Cash received (except for any portion attributable to accrued and
 unpaid interest). Please refer to the discussion below related to Cash payments for Consummation
 Costs and the PSA Restriction Fee.

         Gain or loss on the exchange of GO Bonds for New Bonds will be a capital gain or loss
 and may be a long-term capital gain or loss if the P.R. Holder’s holding period for the GO Bonds
 is longer than one year. Long-term capital gains recognized by P.R. Holders that are individuals,
 estate and trusts may be subject to a maximum Puerto Rico income tax rate of 15% (or a maximum
 of 24% if the alternate basic tax is applicable). The long-term capital gains of P.R. Holders that
 are taxable as corporations may be subject to a maximum Puerto Rico income tax rate of 20%.

         P.R. Holders may deduct capital losses realized in the exchange of the GO Bonds for New
 Bonds against capital gains realized during the taxable year, and non-corporate P.R. Holders may
 deduct any excess net capital losses of up to $1,000 against ordinary income. Excess net capital
 losses may be carried forward as short-term capital losses for seven taxable years and may be used
 to offset up to 80% of the capital gains realized during any such taxable years.

        To the extent that any consideration (i.e. New Bonds or portion thereof, plus any Cash
 payment) received by a P.R. Holder in exchange for GO Bonds is attributable to accrued and
 unpaid interest on the GO Bonds, that amount of consideration will be considered exempt interest
 income for Puerto Rico income tax purposes. In that event, the portion allocated to accrued and
 unpaid interest will reduce the amount realized by the P.R. Holder to compute gain or loss on the
 exchange.

         The Plan provides that, to the extent applicable, distributions to a holder of a Claim will be
 allocated first to any applicable accrued but unpaid interest as of the date immediately preceding
 the Commonwealth Petition Date, the ERS Petition Date or the PBA Petition Date, as applicable,
 second, to the principal amount of the Claim (as determined for federal income tax purposes) and
 then, to the extent the consideration exceeds the principal amount of the Claim, to such other
 amounts (such as any accrued but unpaid interest other than described in the preceding clauses).

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 Legislative history of the Bankruptcy Tax Act of 1980 indicates that Congress intended for an
 allocation of consideration between principal and interest provided in certain reorganizations under
 the United States Bankruptcy Code to be binding for U.S. federal income tax purposes. Consistent
 with such allocation under the Plan, the Treasury Regulations generally treat payments on
 indebtedness as allocated first to accrued but unpaid interest. There is no specific Applicable P.R.
 Tax Law that considers how payments must be applied in our situation. While the Debtors intend
 to report distributions to a P.R. Holder in accordance with the Plan, and the Debtors believe that
 such reporting is consistent with applicable law and congressional intent, there can be no assurance
 that the P.R. Treasury will respect those allocations with respect to payment on the GO Bonds.

         P.R. Holders should consult their own tax advisors regarding the tax treatment of
 distributions received under the Plan.

                        (ii)    Taxation of New Bonds

        Interest. Interest paid or accrued to P.R. Holders on the New Bonds will not be subject to
 Puerto Rico income tax, including the alternate basic tax. The excess of the principal amount of
 the New Bonds due at maturity over its initial issue price, if any, will not be subject to Puerto Rico
 income tax, including the alternate basic tax.

       Ownership of the New Bonds may result in a portion of the interest paid or accrued by a
 P.R. Holder and other expenses incurred by the P.R. Holder attributable to interest on the New
 Bonds being disallowed as deductions for Puerto Rico income tax purposes.

        Sale, Exchange or Retirement of the New Bonds. Gain or loss on the sale or exchange of
 New Bonds will be a capital gain or loss and may be a long-term capital gain or loss if the P.R.
 Holder’s holding period for the New Bonds is longer than one year. Long-term capital gains
 recognized by P.R. Holders that are individuals, estate and trusts may be subject to a maximum
 Puerto Rico income tax rate of 15% (or a maximum of 24% if the alternate basic tax is applicable).
 The long-term capital gains of P.R. Holders that are taxable as corporations may be subject to a
 maximum Puerto Rico income tax rate of 20%.

         P.R. Holders may deduct capital losses realized in the sale or exchange of the New Bonds
 against capital gains realized during the taxable year, and non-corporate P.R. Holders may deduct
 any excess net capital losses of up to $1,000 against ordinary income. Excess net capital losses
 may be carried forward as short-term capital losses for seven taxable years and may be used to
 offset up to 80% of the capital gains realized during any such taxable years.

                        Holders of Retail Vintage CW Bond Claims (Class 12), Retail 2011 CW
                        Bond Claims (Class 25), Retail 2011 CW Series D/E/PIB Bond Claims
                        (Class 26), Retail 2012 CW Bond Claims (Class 29), and Retail 2014
                        CW Bond Claims (Class 35)

         The Debtors expect that pursuant to the Plan, each P.R. Holder of (i) Retail Vintage CW
 Bond Claims, (ii) Retail 2011 CW Bond Claims, (iii) Retail 2011 CW Series D/E/PIB Bond
 Claims, (iv) Retail 2012 CW Bond Claims, and (v) and Retail 2014 CW Bond Claims will be
 treated as exchanging such P.R. Holder’s GO Bonds that are the subject of these Classes of
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 Allowed Claims for New Bonds (including New GO Bonds and COFINA Junior Lien Bonds) and
 Cash. These Holders may also receive Cash payments of Retail Support Fee.

                        (i)     Tax Treatment of Exchange

         Generally, the Debtors expect that the Puerto Rico income tax consequences to the P.R.
 Holders of (i) Retail Vintage CW Bond Claims, (ii) Retail 2011 CW Bond Claims, (iii) Retail 2011
 CW Series D/E/PIB Bond Claims, (iv) Retail 2012 CW Bond Claims, and (v) and Retail 2014 CW
 Bond Claims for the exchanges of GO Bonds for New Bonds and Cash should be as described
 above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims
 (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee
 Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims
 (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond
 Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond
 Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims
 (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—
 Tax Treatment of Exchange.”

         Therefore, a P.R. Holder will recognize gain or loss equal to the difference between the
 amount realized on the exchange and the P.R. Holder’s adjusted tax basis in the GO Bonds on the
 date of the exchange. The amount realized on the exchange of GO Bonds will equal the fair market
 value of each New Bond plus any Cash received (except for any portion attributable to accrued
 and unpaid interest).

                                (1)     Retail Support Fee

         The Puerto Rico income tax treatment of the Retail Support Fee is unclear. The Debtors
 intend to treat the receipt of the Retail Support Fee similar to the treatment adopted for U.S. federal
 income tax purposes, thus, they will be part of your amount realized on the exchange and subject
 to Puerto Rico income taxes as described above under “—Holders of Vintage CW Bond Claims
 (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims
 (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims
 (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class
 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims
 (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class
 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014
 CW Guarantee Bond Claims (Class 37)—Tax Treatment of Exchange.” However, P.R. Treasury
 may not agree and consider such payments (or some of them) as a separate payment taxable as
 ordinary income.

          P.R. Holders of (i) Retail Vintage CW Bond Claims, (ii) Retail 2011 CW Bond Claims,
 (iii) Retail 2011 CW Series D/E/PIB Bond Claims, (iv) Retail 2012 CW Bond Claims, and (v) and
 Retail 2014 CW Bond Claims should consult their own tax advisors regarding the Puerto Rico
 income tax treatment of distributions received under the Plan, including Cash received as Retail
 Support Fee.


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                       (ii)    Taxation of New Bonds

        The Debtors expect that the New Bonds should be treated for Puerto Rico income tax
 purposes as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage
 CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage
 CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW
 Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),
 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Taxation of New Bonds.”

                       Holders of Vintage CW Bond Claims (Taxable Election) (Class 14),
                       Vintage CW Guarantee Bond Claims (Taxable Election) (Class 17),
                       2011 CW Bond Claims (Taxable Election) (Class 20), 2011 CW
                       Guarantee Bond Claims (Taxable Election) (Class 22), 2011 CW Series
                       D/E/PIB Bond Claims (Taxable Election) (Class 27), 2012 CW Bond
                       Claims (Taxable Election) (Class 31), 2012 CW Guarantee Bond
                       Claims (Taxable Election) (Class 33), 2014 CW Bond Claims (Taxable
                       Election) (Class 36), and 2014 CW Guarantee Bond Claims (Taxable
                       Election) (Class 38)

        The Debtors expect that pursuant to the Plan, each P.R. Holder of any of the following: (i)
 Vintage CW Bond Claims (Taxable Election), (ii) Vintage CW Guarantee Bond Claims (Taxable
 Election), (iii) 2011 CW Bond Claims (Taxable Election), (iv) 2011 CW Guarantee Bond Claims
 (Taxable Election), (v) 2011 CW Series D/E/PIB Bond Claims (Taxable Election), (vi) 2012 CW
 Bond Claims (Taxable Election), (vii) 2012 CW Guarantee Bond Claims (Taxable Election), (viii)
 2014 CW Bond Claims (Taxable Election), and (ix) 2014 CW Guarantee Bond Claims (Taxable
 Election) will be treated as exchanging such P.R. Holder’s GO Bonds that are the subject of these
 Classes of Allowed Claims for New Bonds (including New GO Bonds and COFINA Junior Lien
 Bonds) and Cash.

                       (i)     Tax Treatment of Exchange

        Generally, the Debtors expect that the Puerto Rico income tax consequences to the P.R.
 Holders of (i) Vintage CW Bond Claims (Taxable Election), (ii) Vintage CW Guarantee Bond
 Claims (Taxable Election), (iii) 2011 CW Bond Claims (Taxable Election), (iv) 2011 CW
 Guarantee Bond Claims (Taxable Election), (v) 2011 CW Series D/E/PIB Bond Claims (Taxable
 Election), (vi) 2012 CW Bond Claims (Taxable Election), (vii) 2012 CW Guarantee Bond Claims
 (Taxable Election), (viii) 2014 CW Bond Claims (Taxable Election), and (ix) 2014 CW Guarantee
 Bond Claims (Taxable Election) for the exchanges of GO Bonds for New Bonds and Cash should
 be as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage CW
 Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW
 Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond
 Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),

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 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Tax Treatment of Exchange.”

         P.R. Holders of (i) Vintage CW Bond Claims (Taxable Election), (ii) Vintage CW
 Guarantee Bond Claims (Taxable Election), (iii) 2011 CW Bond Claims (Taxable Election), (iv)
 2011 CW Guarantee Bond Claims (Taxable Election), (v) 2011 CW Series D/E/PIB Bond Claims
 (Taxable Election), (vi) 2012 CW Bond Claims (Taxable Election), (vii) 2012 CW Guarantee
 Bond Claims (Taxable Election), (viii) 2014 CW Bond Claims (Taxable Election), and (ix) 2014
 CW Guarantee Bond Claims (Taxable Election) that are eligible to make a taxable election should
 consult their own tax advisors regarding the Puerto Rico income tax consequences of making such
 election and distributions received under the Plan.

                        (ii)   Taxation of New Bonds

        The Debtors expect that the New Bonds should be treated for Puerto Rico income tax
 purposes as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage
 CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage
 CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW
 Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),
 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Taxation of New Bonds.”

                        Holders of ERS Bond Claim (Class 48)

         Pursuant to the Plan, each P.R. Holder of ERS Bond Claims, shall be entitled to receive
 such P.R. Holder’s pro-rata share of ERS Bond Collateral Cash, which shall be placed in the ERS
 Reserve as if such Claim had been an Allowed ERS Bond Claim as of the Effective Date, pending
 entry of a final, non-appealable order resolving or settling the ERS Bonds Claim.

        Any actual or constructive distributions from the ERS Reserve to P.R. Holders of Allowed
 Claims shall be treated for Puerto Rico income tax purposes as if received directly from the Debtors
 on behalf of the holder’s original Claim.

         Accordingly, the Debtors expect that the Puerto Rico income tax consequences to the P.R.
 Holders of Allowed ERS Bond Claims for the exchanges of ERS Bonds for ERS Bond Collateral
 Cash upon any actual or constructive distributions from the ERS Reserve should be as described
 above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims
 (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee
 Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims
 (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond
 Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond
 Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims
 (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—
 Tax Treatment of Exchange.” Therefore, a P.R. Holder will recognize gain or loss equal to the
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 difference between the ERS Bond Cash (except for any portion attributable to accrued and unpaid
 interest) and the P.R. Holder’s adjusted tax basis in the ERS Bonds on the date of the exchange.

                       Holders of Settling ERS Bond Claims (Class 49)

        The Debtors expect that pursuant to the Plan, each P.R. Holder of a Settling ERS Bond
 Claim should be treated as exchanging such P.R. Holder’s ERS Bonds that are the subject of this
 Class of Allowed Claims for Cash for Puerto Rico income tax purposes. The remainder of this
 discussion assumes this will be the case.

        The tender of the ERS Bonds in exchange for the ERS Bond Settlement Distribution, which
 is comprised of ERS Bond Collateral Cash, will be treated as a taxable exchange of the ERS Bonds
 for Cash for Puerto Rico income tax purposes. The Debtors expect that the Puerto Rico income
 tax consequences to the P.R. Holders of Settling ERS Bonds Claims of such exchange for Cash
 should be as described above under “—Holders of Vintage CW Bond Claims (Class 11), Vintage
 CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims (Class 15), Vintage
 CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims (Class 18), 2011 CW
 Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class 22), 2011 CW Series
 D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims (Insured) (Class 25),
 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class 30), 2012 CW
 Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014 CW Guarantee
 Bond Claims (Class 37)—Tax Treatment of Exchange.”

                       Holders of Vintage PBA Bond Claims (Class 1), Vintage PBA Bond
                       Claims (Insured) (Class 2), Retail Vintage PBA Bond Claims (Class 3),
                       2011 PBA Bond Claims (Class 4), Retail 2011 PBA Bond Claims (Class
                       5), 2012 PBA Bond Claims (Class 6), and Retail 2012 PBA Bond Claims
                       (Class 7)

         The Debtors expect that pursuant to the Plan, each P.R. Holder of any of the following: (i)
 PBA Bond Claims, (ii) PBA Bond Claims (Insured), (iii) Retail Vintage PBA Bond Claims, (iv)
 2011 PBA Bond Claims, (v) Retail 2011 PBA Bond Claims, (vi) 2012 PBA Bond Claims, and
 (vii) and Retail 2012 PBA Bond Claims will be treated as exchanging such P.R. Holder’s Allowed
 Claim for Cash, plus the Retail Support Fee in the case of P.R. Holders of (i) Retail Vintage PBA
 Bond Claims, (ii) Retail 2011 PBA Bond Claims, and (iii) and Retail 2012 PBA Bond Claims.

        Generally, the Debtors expect that the Puerto Rico income tax treatment of the receipt of
 Cash (see treatment of Retail Support Fee below) should be as described above under “—Holders
 of Vintage CW Bond Claims (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage
 CW Guarantee Bond Claims (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class
 16), 2011 CW Bond Claims (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW
 Guarantee Bond Claims (Class 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW
 Series D/E/PIB Bond Claims (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW
 Bond Claims (Insured) (Class 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond
 Claims (Class 34), and 2014 CW Guarantee Bond Claims (Class 37)—Tax Treatment of
 Exchange.”

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        Generally, the Debtors expect that the Puerto Rico income tax treatment of the receipt of
 the Retail Support Fee should be as described above under “—Holders of Retail Vintage CW Bond
 Claims (Class 12), Retail 2011 CW Bond Claims (Class 25), Retail 2011 CW Series D/E/PIB Bond
 Claims (Class 26), Retail 2012 CW Bond Claims (Class 29), and Retail 2014 CW Bond Claims
 (Class 35)—Tax Treatment of Exchange—Retail Support Fee.”

        Therefore, a P.R. Holder will recognize gain or loss equal to the difference between the
 amount realized (except for any portion of Cash attributable to accrued and unpaid interest) and
 the P.R. Holder’s adjusted tax basis in the PBA Bonds on the date of the exchange.

                        Holders of PBA General Unsecured Claims (Class 9), CW General
                        Unsecured Claims (Class 41), CW/HTA Claims (Class 42),
                        CW/Convention Center Claims (Class 43), CW/PRIFA Rum Tax
                        Claims (Class 44), CW/MBA Claims (Class 45), Settling ERS Bond
                        Claims (Class 49), ERS General Unsecured Claims (Class 50), Gracia
                        Gracia Claims (Class 51), Convenience Claims (Class 52)

         The Debtors expect that pursuant to the Plan, each P.R. Holder of any of the following: (i)
 PBA General Unsecured Claims; (ii) CW General Unsecured Claims; (iii) CW/HTA Claims; (iv)
 CW/Convention Center Claims; (v) CW/PRIFA Rum Tax Claims; (vi) CW/MBA Claims; (vii)
 Settling ERS Bond Claims; (viii) ERS General Unsecured Claims; (ix) Gracia Gracia Claims; and
 (x) Convenience Claims will be treated as receiving a distribution in full consideration,
 satisfaction, release, and exchange of such holder’s Claims that are the subject of these Classes of
 Allowed Claims. The consequences of the receipt of such distribution will vary depending on the
 P.R. Holders individual circumstances and the nature of assets being distributed. P.R. Holders are
 urged to consult their tax advisors regarding the tax consequences of the receipt of such distribution
 based on their individual circumstances.

                        Active and Retired Employee Benefits Claims (Classes 39A-39E), and
                        AFSCME Employee Claims (Class 40)

         The Debtors expect that pursuant to the Plan, each P.R. Holder of an Active and Retired
 Employee Benefits Claim, and AFSCME Employee Claim will receive modified monthly
 payments in accordance with the terms and provisions of the Plan. The reduction on the amounts
 of the monthly payments in accordance with the Plan does not constitute a taxable event and no
 gain or loss shall be recognized by the P.R. Holders for Puerto Rico income tax purposes as a result
 of such reductions.

        The Puerto Rico tax treatment of the monthly modified payments will not be affected by
 the adjustments under the Plan. Any P.R. Holders of i) Active and Retired Employee Benefits
 Claims, and ii) AFSCME Employee Claims that files a Puerto Rico income tax return should
 consult their tax advisor regarding the Puerto Rico income tax consequences upon the receipt of
 any payment from such claims.




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        3.      Tax Treatment of Consummation Costs and PSA Restriction Fee

         Certain Holders of Claims may receive Cash payments of Consummation Costs and/or the
 PSA Restriction Fee. The Puerto Rico income tax treatment of Cash payments of Consummation
 Costs and the PSA Restriction Fee is unclear. The Debtors intend to treat the receipt of the
 Consummation Costs and PSA Restriction Fee similar to the treatment adopted for U.S. federal
 income tax purposes, thus, they will be part of your amount realized on the exchange and subject
 to Puerto Rico income taxes as described above under “—Holders of Vintage CW Bond Claims
 (Class 11), Vintage CW Bond Claims (Insured) (Class 13), Vintage CW Guarantee Bond Claims
 (Class 15), Vintage CW Guarantee Bond Claims (Insured) (Class 16), 2011 CW Bond Claims
 (Class 18), 2011 CW Bond Claims (Insured) (Class 20), 2011 CW Guarantee Bond Claims (Class
 22), 2011 CW Series D/E/PIB Bond Claims (Class 24), 2011 CW Series D/E/PIB Bond Claims
 (Insured) (Class 25), 2012 CW Bond Claims (Class 28), 2012 CW Bond Claims (Insured) (Class
 30), 2012 CW Guarantee Bond Claims (Class 32), 2014 CW Bond Claims (Class 34), and 2014
 CW Guarantee Bond Claims (Class 37)—Tax Treatment of Exchange.” However, P.R. Treasury
 may not agree and consider such payments (or some of them) as a separate payment taxable as
 ordinary income.

         P.R. Holders should consult their own tax advisors regarding the tax treatment of
 distributions received under the Plan, including Cash received as Consummation Costs and PSA
 Restriction Fee.

 C.     Non-P.R. Holders

        1.      Definition of Non-P.R. Holders

         Unless otherwise noted, the discussion below applies only to Non-P.R. Holders. As used
 herein, the term “Non-P.R. Holder” means a beneficial owner of Existing Securities, or New Bonds
 that is not (i) a P.R. Holder or (ii) a partnership or other entity treated as a partnership or other
 pass-through entity for Puerto Rico income tax purposes.

         If a partnership or other entity or arrangement taxable as a partnership for Puerto Rico
 income tax purposes holds Existing Securities, or New Bonds, the Puerto Rico income tax
 treatment of a partner in such partnership generally will depend upon the status of the partner and
 the activities of the partnership. Partners in such a partnership are urged to consult their tax
 advisors.

        The following discussion includes only certain Puerto Rico income tax consequences of
 the Plan to Non-P.R. Holders. The discussion does not include any non-Puerto Rico tax
 considerations. Non-P.R. Holders should consult their own tax advisors regarding the Puerto Rico
 and foreign tax consequences of the Plan under their individual circumstances.

        2.      Tax Treatment of Exchange

         A Non-P.R. Holder that is not engaged in trade or business in Puerto Rico would not be
 subject to Puerto Rico income tax with respect to any gain realized on the exchange of an Allowed
 Claim pursuant to the Plan, including any amount allocated to accrued and unpaid interest. On the
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 other hand, Non-P.R. Holders that are corporations (or treated as corporations under the P.R. Code)
 and nonresident aliens that are engaged in trade or business in Puerto Rico for income tax purposes
 will be subject to Puerto Rico income tax as a P.R. Holder on any such gain if it is effectively
 connected with their Puerto Rico trade or business.

        3.      Taxation of New Bonds

                        Treatment of Interest

         Interest paid or accrued on a New Bond to a Non-P.R. Holder will not be subject to Puerto
 Rico income tax, including the alternate basic tax. The excess of the principal amount of the New
 Bond due at maturity over its initial issue price, if any, will not be subject to Puerto Rico income
 tax, including the alternate basic tax.

        The deductions for Puerto Rico income tax purposes of a Non-P.R. Holder engaged in a
 trade or business in Puerto Rico that are related to interest paid or accrued and other expenses
 incurred that are attributable to interest on the New Bonds may be disallowed.

                        Sale, Retirement or Other Disposition of New Bonds

         Gain realized on the sale, retirement or other disposition of a New Bond by a Non-P.R.
 Holder that is not engaged in a trade or business in Puerto Rico will not be subject to Puerto Rico
 income tax, by way of withholding or otherwise. On the other hand, Non-P.R. Holders that are
 corporations (or treated as corporations under the P.R. Code) and nonresident aliens that are
 engaged in trade or business in Puerto Rico for Puerto Rico income tax purposes will be subject
 to Puerto Rico income tax on any such gain if it is effectively connected with their Puerto Rico
 trade or business in the same manner as a P.R. Holder. In addition, a corporation may be subject
 to a branch profits tax with respect to such effectively connected income.



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                 XI.     Applicability of Certain Federal and State Securities Laws

 A.     New GO Bonds

        1.      Registration of Securities

         In general, securities issued by Reorganized Commonwealth such as the New GO Bonds
 are exempt from the registration requirements of the Securities Act under section 3(a)(2) of the
 Securities Act.

         In addition to exemptions provided to governmental entities such as Reorganized
 Commonwealth and government agencies and instrumentalities thereof under the Securities Act,
 Bankruptcy Code section 1145(a)(1), made applicable to the Title III Cases pursuant to
 PROMESA section 301, provides an exemption from the registration requirements of the
 Securities Act and from any requirements arising under state securities laws for the offer or sale
 under a plan of adjustment of securities of the debtor, an affiliate of the debtor participating in a
 joint plan of adjustment with the debtor, or a successor of the debtor. The Bankruptcy Code
 provides that certain creditors, which are deemed “underwriters” within the meaning of the
 Bankruptcy Code, may not resell such securities without registration under the Securities Act or
 pursuant to an exemption therefrom. Since obligations of the Commonwealth are exempt from
 registration under generally applicable securities law, this exception is not relevant to securities of
 Reorganized Commonwealth although the provisions of Bankruptcy Code section 1145 which
 suspend the operation of securities laws may not be available to “underwriters” within the meaning
 of the Bankruptcy Code. Creditors of the Debtors who believe they meet the definition of
 “underwriter” within the meaning of the Bankruptcy Code should consult qualified counsel with
 respect to their obligations under relevant federal and state securities laws.

         Like the exemption from registration provided to the Commonwealth under section 3(a)(2)
 of the Securities Act, generally applicable securities laws provide an exemption from qualification
 for certain trust indentures entered into by governmental entities. Therefore, each trust indenture,
 ordinance, resolution and other written actions of the Commonwealth or Reorganized
 Commonwealth relating to the New GO Bonds will be exempt from qualification under section
 304(a)(4) of the TIA.

        2.      Market Disclosure

                        Initial Offer and Sale

         Although exempt from registration, securities issued by Reorganized Commonwealth are
 subject to the anti-fraud provisions of federal securities laws. Sections 10(b) and 17(a) of the
 Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated by the SEC
 under the Securities Act generally prohibit fraud in the purchase and sale of securities. Therefore,
 each publicly offered sale of Reorganized Commonwealth obligations typically is accompanied
 by an offering document that is referred to as an “Official Statement” and contains disclosure of
 material information regarding the issuer and the securities being sold so that investors may make
 an informed investment decision as to whether to purchase the securities being offered.
 Bankruptcy Code section 1125(d), which has been adopted by PROMESA, provides that the
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 adequacy of any disclosure to creditors and hypothetical investors typical of holders of Claims in
 this case is not subject to principals of any otherwise applicable non-bankruptcy law, rule or
 regulation, which includes federal securities laws. Instead, Bankruptcy Code section 1125(b),
 which has been adopted by PROMESA, provides disclosure regulation by requiring that adequate
 information be provided to the various classes of creditors of the Debtors and to hypothetical
 investors in obligations of the Debtors through a disclosure statement such as this Disclosure
 Statement.

                         Continuing Disclosure

         Publicly offered securities of Reorganized Commonwealth generally are subject to the
 requirements of Rule 15c2-12 under the Exchange Act (the “Rule”), promulgated by the SEC
 under the Securities Act, unless such securities meet certain exemptions provided for in the Rule.
 Among other requirements, the Rule requires underwriters participating in an offering to obtain an
 agreement imposing ongoing market disclosure requirements upon an issue of municipal
 securities, such as Reorganized Commonwealth.

        The delivery of the New GO Bonds pursuant to the Plan is not covered by the Rule because
 the New GO Bonds are proposed to be issued in exchange for a claimholder’s Claim without the
 involvement of an underwriter as defined in the Rule.

         State securities laws generally provide registration exemptions for subsequent transfers by
 a bona fide owner for the owner's own account and subsequent transfers to institutional or
 accredited investors. Such exemptions generally are expected to be available for subsequent
 transfers of the New GO Bonds.

 B.      COFINA Junior Lien Bonds.

         1.      Registration of Securities

        In general, securities issued by Reorganized COFINA such as the COFINA Junior Lien
 Bonds are exempt from the registration requirements of the Securities Act under section 3(a)(2) of
 the Securities Act.

         In addition to exemptions provided to government agencies and instrumentalities such as
 Reorganized COFINA under the Securities Act, Bankruptcy Code section 1145(a)(1), made
 applicable to the Title III Case pursuant to PROMESA section 301, provides an exemption from
 the registration requirements of the Securities Act and from any requirements arising under state
 securities laws for the offer or sale under a plan of adjustment of securities of the debtor, an affiliate
 of the debtor participating in a joint plan of adjustment with the debtor, or a successor of the debtor.
 The Bankruptcy Code provides that certain creditors, which are deemed “underwriters” within the
 meaning of the Bankruptcy Code, may not resell such securities without registration under the
 Securities Act or pursuant to an exemption therefrom. Since obligations of COFINA are exempt
 from registration under generally applicable securities law, this exception is not relevant to
 securities of Reorganized COFINA, although the provisions of Bankruptcy Code section 1145
 which suspend the operation of securities laws may not be available to “underwriters” within the
 meaning of the Bankruptcy Code. Creditors of COFINA who believe they meet the definition of
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 “underwriter” within the meaning of the Bankruptcy Code should consult qualified counsel with
 respect to their obligations under relevant federal and state securities laws.

         Like the exemption from registration provided to COFINA under section 3(a)(2) of the
 Securities Act, generally applicable securities laws provide an exemption from qualification for
 certain trust indentures entered into by governmental entities. Therefore, each trust indenture,
 ordinance, resolution and other written actions of COFINA relating to the COFINA Junior Lien
 Bonds will be exempt from qualification under section 304(a)(4) of the Trust Indenture Act.

        2.      Market Disclosure

                (a)     Initial Offer and Sale

         Although exempt from registration, securities issued by COFINA are subject to the anti-
 fraud provisions of federal securities laws. Section 10(b) of the Securities Act and Rule 10b-5
 promulgated by the SEC under the Exchange Act generally prohibit fraud in the purchase and sale
 of securities. Therefore, each publicly offered sale of COFINA obligations typically is
 accompanied by an offering document that is referred to as an “Official Statement” and contains
 disclosure of material information regarding the issuer and the securities being sold so that
 investors may make an informed investment decision as to whether to purchase the securities being
 offered. Bankruptcy Code section 1125(d), which has been adopted by PROMESA, provides that
 the adequacy of any disclosure to creditors and hypothetical investors typical of holders of Claims
 in this case is not subject to principals of any otherwise applicable non-bankruptcy law, rule or
 regulation, which includes federal securities laws. Instead, Bankruptcy Code section 1125(b),
 which has been adopted by PROMESA, provides disclosure regulation by requiring that adequate
 information be provided to the various classes of creditors of COFINA and to hypothetical
 investors in obligations of COFINA through a disclosure statement such as this Disclosure
 Statement.

                (b)     Continuing Disclosure

          Publicly offered securities of COFINA generally are subject to the requirements of the Rule
 (that is, Rule 15c2-12 under the Exchange Act (as defined above)), promulgated by the SEC under
 the Securities Act, unless such securities meet certain exemptions provided for in the Rule. Among
 other requirements, the Rule requires underwriters participating in an offering to obtain an
 agreement imposing ongoing market disclosure requirements upon an issue of municipal
 securities, such as COFINA.

        The delivery of the COFINA Junior Lien Bonds pursuant to the Plan is not covered by the
 Rule because the COFINA Junior Lien Bonds are proposed to be issued in exchange for a
 claimholder’s Claim without the involvement of an underwriter as defined in the Rule.

         State securities laws generally provide registration exemptions for subsequent transfers by
 a bona fide owner for the owner's own account and subsequent transfers to institutional or
 accredited investors. Such exemptions generally are expected to be available for subsequent
 transfers of the COFINA Junior Lien Bonds.

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                                 XI.      Financial Information and Projections

 A.          Historical Financial Reporting

             1.       Commonwealth Financial Statements

         The Commonwealth has entered into several continuing disclosure undertakings in
 accordance with Rule 15c2-12 of the SEC in connection with its bond issuances. In accordance
 with such Rule, the Commonwealth has covenanted to file with the MSRB through EMMA, within
 305 days after the end of each fiscal year, core financial information and operating data for the
 prior fiscal year, including: (1) audited financial statements and (2) a Financial Information and
 Operating Data Report (the “Commonwealth Report”) which provides financial information and
 operating data on revenues, expenditures, financial operations, and indebtedness of the type
 generally found in the Commonwealth’s Official Statements prepared in connection with its bond
 issuances.

         The most recent basic audited financial statements prepared by the Commonwealth are for
 fiscal year 2016. These financial statements were filed by the Commonwealth with the Municipal
 Securities Rulemaking Board (the “MSRB”) through its Electronic Municipal Markets Access
 System (“EMMA”) on May 6, 2019. The latest Commonwealth Report is dated December 18,
 2016, and sets forth unaudited financial information as of June 30, 2016.358

          The financial statements for fiscal year 2016 were audited by KPMG LLP, which did not
 audit the financial statements of certain activities, funds, and component units identified separately
 in its report dated May 3, 2019, which report and express qualified and unmodified opinions359
 and include emphasis of matter paragraphs regarding going concern considerations relating to the
 Commonwealth, the Retirement Systems, GDB, HTA, PREPA, PRASA, and UPR.

        According to reports published in April 2019, the Commonwealth expected to finalize its
 2017 financial statements by September 30, 2019, and its 2018 financial statements by March 31,
 2020.

         On June 20, 2019, in connection with a request of information by federal law enforcement
 agencies, the Government announced the cancellation of certain contracts that the Treasury
 Department or the OCFO had awarded to the accounting firm BDO Puerto Rico, including a
 contract related to assisting with the completion of the Commonwealth’s 2017 and 2018 financial
 statements. On June 24, 2019, the Treasury Secretary and Chief Financial Officer, who is the
 official in charge of preparing the Commonwealth’s financial statements, was removed from his



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       The GAO found in its 2019 GAO Report that timely release of audited financial information has long been a
       problem for Puerto Rico; Puerto Rico’s fiscal years 2015 and 2016 financial statements were both released more
       than 1,000 days after the end of those fiscal years.
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       A qualified opinion is a statement issued after an audit is completed suggesting that the information being provided
       is limited in scope; an unmodified opinion is the opinion where auditor expresses an opinion that financial
       statements are presented, in all material respects, in accordance with applicable financial reporting framework.
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 position. These events are likely to cause delays to the Commonwealth’s expected completion
 date of its financial statements.

         Late Filing of Financial Reports. As mentioned above, the Commonwealth has not filed
 its 2018 or 2017 financial statements or its 2018 or 2017 Commonwealth Report. Although the
 Commonwealth has filed all the financial statements and Commonwealth Reports required to be
 filed for prior years, some of these filings have been made after the Commonwealth’s filing
 deadline, which is normally May 1.360

      Below is a brief summary of the reasons that have caused filing delays with respect to the
 Commonwealth Report or the financial statements for fiscal year 2008 and onward.

        Fiscal year 2018. On May 1, 2019, the Commonwealth gave notice that its audited
 financial statements and the Commonwealth Report for fiscal year 2018 would not be filed by the
 May 1, 2019 deadline. According to the notice filed on EMMA, the Commonwealth will file such
 documents as soon as the information is available.

         Fiscal year 2017. On May 1, 2018, the Commonwealth gave notice that its audited
 financial statements and the Commonwealth Report for fiscal year 2017 would not be filed by the
 May 1, 2018 deadline. According to the notice filed on EMMA, the delay was primarily caused
 by the revisions to the fiscal plans for the Commonwealth and certain instrumentalities requested
 by the Oversight Board after Hurricanes Irma and Maria devastated the island, which fiscal plans
 were needed in final form in order to complete the Commonwealth Report.




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       The delay was caused by various reasons. The audited financial statements and Commonwealth Report for fiscal
       year 2017 were delayed primarily because of the revisions to the fiscal plans for the Commonwealth and certain
       instrumentalities requested by the Oversight Board after Hurricanes Irma and Maria devastated the island, which
       fiscal plans were needed in final form in order to complete the Commonwealth Report. The audited financial
       statements and Commonwealth Report for fiscal year 2015 were delayed primarily because of: (a) significant delay
       on engagement of the Commonwealth audit firm due to significant increase in audit risk and liabilities to the audit firm,
       (b) implementation of GASB 68, GASB 69 and GASB 72, (c) issues of liquidity and going concern considerations of
       the Commonwealth and its component units, (d) enhanced analysis over the insolvency of the Retirement Systems, (e)
       impairment analyses of deposits held at GDB and accounts receivable balances of the Primary Government and
       component units, (f) delays in the issuance of audited financial statements for significant component units, such as GDB,
       PREPA, HTA, the Puerto Rico Automobile Accident Compensation Administration, Special Communities Trust, the
       PR National Guard Trust, the Puerto Rico Agricultural Insurance Authority and the Retirement Systems, among others,
       (g) significant changes in the composition of the Commonwealth reporting unit, through the inclusion of approximately
       10 entities as blended component units instead of discretely presented component units, and (h) a delay in the issuance
       of the PREPA financial statements related to the actuarial reports and financial statements of the utility’s retirement
       system, which in turn delayed the financial statements of the Commonwealth. The audited financial statements and
       Commonwealth Report for fiscal year 2014 were delayed primarily because of: (a) liquidity and going concern
       considerations of the Commonwealth and its component units, (b) required enhanced and complex analysis over a
       GDB loan reserve, (c) implementation of GASB 67 in the Retirement Systems, (d) enhanced analysis over the
       depletion date of the Retirement Systems, (d) delays in the issuance of certain component units, (e) enhanced and
       extended audit procedures performed by the Commonwealth auditors and (f) significant adjustments and
       modifications required to the financial statements relating to going concern considerations of the Commonwealth
       and its instrumentalities.
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        Fiscal year 2016. On April 27, 2017, the Commonwealth gave notice that its audited
 financial statements for fiscal year 2016 would not be filed by the May 1, 2018 deadline.

         Fiscal year 2015. The audited financial statements of the Commonwealth for fiscal year
 2015 were filed after the Commonwealth’s filing deadline. The delay was primarily caused by: (a)
 significant delay on engagement of the Commonwealth audit firm due to significant increase in
 audit risk and liabilities to the audit firm, (b) implementation of GASB 68, GASB 69 and GASB
 72, (c) issues of liquidity and going concern considerations of the Commonwealth and its
 component units, (d) enhanced analysis over the insolvency of the Retirement Systems, (e)
 impairment analyses of deposits held at GDB and accounts receivable balances of the Primary
 Government and component units, (f) delays in the issuance of audited financial statements for
 significant component units, such as GDB, PREPA, HTA, the Puerto Rico Automobile Accident
 Compensation Administration, Special Communities Trust, the PR National Guard Trust, the
 Puerto Rico Agricultural Insurance Authority and the Retirement Systems, among others, (g)
 significant changes in the composition of the Commonwealth reporting unit, through the inclusion
 of approximately 10 entities as blended component units instead of discretely presented component
 units, and (h) a delay in the issuance of the PREPA financial statements related to the actuarial
 reports and financial statements of the utility’s retirement system, which in turn delayed the
 financial statements of the Commonwealth.

         Fiscal year 2014. The financial statements of the Commonwealth for fiscal year 2014 were
 filed after the Commonwealth’s filing deadline. The delay was primarily caused by: (a) liquidity
 and going concern considerations of the Commonwealth and its component units, (b) required
 enhanced and complex analysis over a GDB loan reserve, (c) implementation of GASB 67 in the
 Retirement Systems, (d) enhanced analysis over the depletion date of the Retirement Systems, (d)
 delays in the issuance of certain component units, (e) enhanced and extended audit procedures
 performed by the Commonwealth auditors and (f) significant adjustments and modifications
 required to the financial statements relating to going concern considerations of the Commonwealth
 and its instrumentalities.

         Fiscal year 2013. The financial statements of the Commonwealth for fiscal year 2013 were
 filed after the Commonwealth’s filing deadline. Initially, the delay was primarily caused by (i) a
 delay in the commencement of the financial close and audit process for fiscal year 2013, which
 did not commence until the completion of the financial statement for fiscal year 2012 on September
 16, 2013 (delays in the audit of the 2012 financial statements were principally caused by the
 government transition process after the November 2012 elections), (ii) delays related to the change
 of the Commonwealth’s external auditors, and (iii) the implementation of GASB Statement No.
 61, The Financial Reporting Entity, which changed the Commonwealth’s financial reporting
 entity. Although the Commonwealth addressed these issues by dedicating additional resources to
 the financial close and audit process for fiscal year 2013, the Commonwealth was unable to finalize
 the 2013 financial statements due to certain additional unanticipated delays attributable to (i)
 additional procedures required as part of the audit, (ii) delays in the issuance of the audited
 financial statements of the three Commonwealth retirement systems resulting from the pension
 reform legislation enacted in 2013 and the subsequent judicial modification of such reforms, and
 (iii) delays in the issuance of the audited financial statements of certain other blended and
 discretely presented component units.
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         Fiscal Year 2012. The Commonwealth’s audited financial statements for the fiscal year
 ended June 30, 2012 were filed after the Commonwealth’s filing deadline due to delays in the audit
 of such financial statements as a result of the government transition process, as a new
 administration entered office in January of 2013, and the failure of certain discretely presented
 component units to finalize their audited financial statements. The Commonwealth Report for
 fiscal year 2012 was also filed after the Commonwealth’s filing deadline.

        Fiscal year 2009. The Commonwealth’s audited financial statements for the fiscal year
 ended June 30, 2009 were filed after the Commonwealth’s filing deadline due to delays in the
 engagement and transition of new external auditors, the implementation of new government
 accounting pronouncements, and the restatement of the financial statements of certain discretely
 presented component units of the Commonwealth.

        Fiscal year 2008. The Commonwealth’s audited financial statements for the fiscal year
 ended June 30, 2008 (and certain prior years) were filed after the Commonwealth’s filing deadline,
 because various governmental agencies did not submit their audited financial statements to the
 Central Government’s external auditors on time, thereby delaying submission of the
 Commonwealth’s audited financial statements. The Commonwealth Report for fiscal year 2008
 was also filed after the Commonwealth’s filing deadline.

            2.        ERS Financial Statements

         In accordance with Rule 15c2-12 of the SEC and in connection with its bond issuances,
 ERS has covenanted to file within 305 days after the end of each fiscal year, with the MSRB
 through EMMA, core financial information and operating data for the prior fiscal year, including:
 (1) audited financial statements and (2) an Annual Financial Information and Operating Data
 Report, which provides financial information and operating data on revenues, expenditures,
 financial operations, and indebtedness generally found in the Official Statements prepared in
 connection with its bond issuances.

         The most recent basic audited financial statements prepared by ERS are for fiscal year
 2016. These financial statements were filed by ERS with the MSRB through EMMA on November
 13, 2018. The financial statements of ERS for fiscal year 2017 and fiscal year 2018 have not been
 finalized. The most recent Annual Financial Information and Operating Data Report of ERS was
 published on May 1, 2019 and sets forth unaudited financial information as of June 30, 2018.

        The financial statements for fiscal year 2016 were audited by KPMG LLP, whose report
 includes an emphasis of matter paragraph361 regarding the uncertainty about the ability of ERS to
 continue as a going concern.

        Late Filing of Financial Reports. As mentioned above, ERS has not filed its 2018 or
 2017 financial statements, which have not been finalized. And although ERS has filed all the



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       An emphasis of matter paragraph is a paragraph directing the attention of users of financial statements to a matter
       the auditor believes is fundamental to the users’ understanding of the financial statements.
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 reports and financial statements required to be filed for prior fiscal years, some of these filings
 have been made after ERS’s filing deadline, which is normally May 1.

        3.      PBA Financial Statements

         In accordance with Rule 15c2-12 of the SEC and in connection with its bond issuances,
 PBA has covenanted to file within 305 days after the end of each fiscal year, with the MSRB
 through EMMA, core financial information and operating data for the prior fiscal year, including:
 (1) audited financial statements and (2) an Annual Financial Information and Operating Data
 Report, which provides financial information and operating data on revenues, expenditures,
 financial operations, and indebtedness generally found in the Official Statements prepared in
 connection with its bond issuances.

        The most recent basic audited financial statements prepared by PBA are for fiscal year
 2016. These financial statements were filed by PBA with the MSRB through EMMA on April 8,
 2019. The most recent Annual Financial Information and Operating Data Report of PBA was
 published on April 28, 2017 and sets forth unaudited financial information as of June 30, 2016.

         The financial statements for fiscal year 2016 were audited by BDO Puerto Rico, PSC. The
 auditors’ report expresses a qualified opinion given that PBA has not implemented the
 requirements of GASB Statement No. 68 – “Accounting and Financial Reporting for Pensions, an
 amendment to GASB Statement No. 27 (Statement 68)” and the financial statements do not
 disclose the pension cost information required by GASB Statement No. 68. Therefore, PBA has
 not been able to determine its proportionate share of net pension liability, deferred inflow of
 resources and deferred outflow of resources related to pension costs. GAAP require that pension
 related liability, deferred outflow of resources and deferred inflow of resources, as applicable, be
 recognized in accordance with the parameters established by Statement No. 68, as well as the effect
 of current period changes of the such amounts that must be recognized in pension expense during
 the current period. Recognition of these amounts would increase liabilities, increase deferred
 outflow of resources, increase deferred inflow of resources, increase the deficit, and change the
 pension expense.

         The report includes an emphasis of matter paragraph regarding the financial deterioration
 of the Commonwealth and GDB and possible effects therefrom on PBA. The auditor’s report also
 includes another matter paragraph concerning required supplementary information related to the
 Schedules of PBA’s Proportionate Share of Net Pension Liability and Contributions to the
 Employee’s Pension Plan, which is required by GAAP but was omitted.

       PBA Late Filing of Financial Reports. PBA has not filed its 2018 or 2017 audited
 financial statements, which have not been finalized.

        4.      COFINA Financial Statements

        The certified COFINA Fiscal Plan, certified COFINA budget for fiscal year 2020, and the
 most recent COFINA annual report are attached hereto as Exhibit M, N, and O respectively.


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           B.       Commonwealth Fiscal Plan and Projections

         Attached to this Disclosure Statement as Exhibit E is a copy of the Commonwealth Fiscal
 Plan, certified by the Oversight Board on May 9, 2019. The Commonwealth Fiscal Plan provides
 details regarding the Commonwealth’s and ERS’s projected operations under the Plan, subject to
 the assumptions and qualifications set forth in the certified Commonwealth Fiscal Plan.362

         It is important to note the projections described in the Commonwealth Fiscal Plan may
 differ from actual performance and are highly dependent on significant assumptions concerning
 the future economic and financial condition of the Commonwealth and its instrumentalities,
 including ERS, which are affected by various legal, financial, social, economic, environmental,
 governmental and political factors. These factors can be very complex, may vary from one fiscal
 year to the next and are frequently the result of actions taken or not taken, not only by the
 Government, the Oversight Board, and other third-party entities such as the government of the
 United States.

        The financial projections included in the Commonwealth Fiscal Plan assume the successful
 implementation of the Plan. The financial projections included in the Commonwealth Fiscal Plan
 should be reviewed in conjunction with the assumptions, notes, and qualifications included in the
 Commonwealth Fiscal Plan and the assumptions, qualifications, and explanations set forth in this
 Disclosure Statement, including in the sections titled “Overview of the Debtors,” “The Title III
 Plan of Adjustment,” “Certain Risk Factors to Be Considered,” “Certain Material United States
 Federal Income Tax Considerations,” “Certain Material Puerto Rico Income Tax Considerations,”
 and “Applicability of Certain Federal and State Securities Laws.”

         The Commonwealth Fiscal Plan do not constitute an audit conducted in accordance with
 generally accepted auditing standards, an examination of internal controls or other attestation or
 review services in accordance with standards established by the American Institute of Certified
 Public Accountants or any other organization. Accordingly, the Oversight Board cannot express
 an opinion or any other form of assurance on the financial statements or any financial or other
 information or the internal controls of the Government or ERS and the information contained
 herein.




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       The Debt Sustainability Analysis (“DSA”) in the Commonwealth Fiscal Plan was intended to provide a framework
       for assessing the long-term capacity of the Government to pay debt service on its bonded debt. The DSA included
       a comparison of existing debt levels between Puerto Rico and U,S. states, finding that Puerto Rico’s existing debt
       levels are far higher than that of peer U.S. States. The DSA also included a comparison of existing debt levels
       between Puerto Rico and certain European Union (“EU”) sovereigns, again finding that Puerto Rico’s existing debt
       levels are far higher than that of the selected EU sovereigns. The DSA included a further analysis of key debt ratios
       of the ten lowest indebted states, ten highest indebted states, and the mean for all U.S. states to determine a range
       of implied debt capacity based on debt and fixed cost metrics. The DSA concluded that Puerto Rico must develop
       and adhere to structurally balanced budgets reflecting ongoing discipline, timely publicize audited financial
       statements, and restructure its debt load to a sustainable level.

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         In deciding whether to vote to accept or reject the Plan, holders of Claims must make their
 own determinations as to the reasonableness of the assumptions and the reliability of the financial
 projections and should consult with their own advisors.



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                                   XII.    Additional Information

         Any statements in this Disclosure Statement concerning the provisions of any document
 are not necessarily complete, and in each instance reference is made to such document for the full
 text thereof. Certain documents described or referred to in this Disclosure Statement have not been
 attached as Exhibits because of the impracticability of furnishing copies of these documents to all
 recipients of this Disclosure Statement. All Exhibits to the Plan will be filed with the Title III Court
 and available for review, free of charge, on the Document Website at
 https://cases.primeclerk.com/puertorico prior to the Voting Deadline. Copies of all Exhibits to the
 Plan also may be obtained, free of charge, by contacting the Solicitation Agent, Prime Clerk LLC,
 by telephone at (844) 822-9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for
 international callers), available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish
 available), or by email at puertoricoballots@primeclerk.com and reference “Commonwealth Plan
 of Adjustment Exhibits” in the subject line. Please note that Prime Clerk LLC is not authorized to
 provide, and will not provide, legal advice.

                                          XIII. Conclusion

         The Oversight Board and the Debtors believe that the Plan is in the best interests of all
 creditors and urge the Holders of Impaired Claims entitled to vote on the Plan to vote to accept the
 Plan and to evidence the acceptance by timely returning their Ballots marked to accept the Plan by
 the Voting Deadline.




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